USCA Case #24-1216          Document #2061464                Filed: 06/24/2024       Page 1 of 164



                       IN THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                                      :
NATIONAL WASTE & RECYCLING                            :
ASSOCIATION                                           :
                                                      :
                              Petitioner,             :
                                                      :
v.                                                    :              Case No. 24-1216
                                                      :
UNITED STATES ENVIRONMENTAL                           :
PROTECTION AGENCY, and                                :
MICHAEL S. REGAN, in his official                     :
Capacity as Administrator, United States              :
Environmental Protection Agency,                      :
                                                      :
                              Respondents.            :
                                                      :

                                   PETITION FOR REVIEW

       Pursuant to Section 307(b) of the Clean Air Act, 42 U.S.C. § 7607(b), Section 702 of the

Administrative Procedure Act, 5 U.S.C. § 702, Rule 15(a) of the Federal Rules of Appellate

Procedure, and Rule 15(a) of the D.C. Circuit Rules, Petitioner National Waste & Recycling

Association hereby petitions this Court for review of the final rule of the United States

Environmental Protection Agency (EPA) published in the Federal Register at 89 Fed. Reg.

31802 (April 25, 2024) and titled “Revisions and Confidentiality Determinations for Data

Elements Under the Greenhouse Gas Reporting Rule.”

       Pursuant to 42 U.S.C. § 7607(b)(1), this Court has jurisdiction and venue is proper for

this action. This filing is timely because it is made within the 60-day period established by 42

U.S.C. § 7607(b)(1).




                                                 1
USCA Case #24-1216     Document #2061464        Filed: 06/24/2024      Page 2 of 164



Dated: June 24, 2024               Respectfully submitted,

                                   /s/ Carol F. McCabe
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                                   Kelly A. Hanna
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                                   Bala Cynwyd, PA 19004
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                                   Counsel for Petitioner National Waste &
                                   Recycling Association




                                      2
USCA Case #24-1216          Document #2061464              Filed: 06/24/2024      Page 3 of 164



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NATIONAL WASTE & RECYCLING                          :
ASSOCIATION                                         :
                                                    :
                                                    :
                             Petitioner,            :
                                                    :
v.                                                  :              Case No. 24-1216
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UNITED STATES ENVIRONMENTAL                         :
PROTECTION AGENCY, and                              :
MICHAEL S. REGAN, in his official                   :
Capacity as Administrator, United States            :
Environmental Protection Agency,                    :
                                                    :
                             Respondents.           :
                                                    :

                           RULE 26.1 DISCLOSURE STATEMENT

       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Circuit Rule 26.1,

Petitioner National Waste & Recycling Association hereby files the following corporate

disclosure statement:

       The National Waste & Recycling Association (the Association) is a trade association that

represents private sector waste and recycling companies in the United States, and manufacturers

and service providers who do business with those companies. Its members operate in all 50 states

and the District of Columbia. The Association provides leadership, education, research,

advocacy, and safety expertise to promote North American waste and recycling industries, serve

as their voice, and create a climate where members prosper and provide safe, economically

sustainable, and environmentally sound services. The Association has no parent corporation, and

no publicly held company has 10% or greater ownership in the Association.




                                               3
USCA Case #24-1216     Document #2061464        Filed: 06/24/2024      Page 4 of 164



Dated: June 24, 2024               Respectfully submitted,

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                                      4
USCA Case #24-1216          Document #2061464               Filed: 06/24/2024       Page 5 of 164



                                CERTIFICATE OF SERVICE

       Pursuant to Rule 15(c) and 25 of the Federal Rules of Appellate Procedure and Circuit

Rule 15(a) and 25, I hereby certify that on June 24, 2024, I will cause copies of the foregoing

Petition for Review and Rule 26.1 Disclosure Statement to be served via UPS overnight

delivery on each of the following:

The Honorable Michael S. Regan
Administrator
U.S. Environmental Protection Agency
Office of the Administrator (Mail Code 1101A)
1200 Pennsylvania Avenue NW
Washington, D.C. 20460

Associate General Counsel for the Air and Radiation Law Office
U.S. Environmental Protection Agency
Office of General Counsel (Mail Code 2344A)
1200 Pennsylvania Avenue NW
Washington, DC 20464

The Honorable Merrick B. Garland
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, D.C. 20530-0001

Correspondence Control Unit
U.S. Environmental Protection Agency
Office of General Counsel (Mail Code 2310A)
1200 Pennsylvania Avenue NW
Washington, D.C. 20460

Dated: June 24, 2024                         Respectfully submitted,

                                             /s/ Carol F. McCabe
                                             Carol F. McCabe

                                             Counsel for Petitioner National Waste &
                                             Recycling Association




                                                 5
USCA Case #24-1216   Document #2061464   Filed: 06/24/2024   Page 6 of 164




                           Exhibit A




                                   6
                                                    USCA Case #24-1216                                   Document #2061464                                            Filed: 06/24/2024              Page 7 of 164
                                            31802                  Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            ENVIRONMENTAL PROTECTION                                           updates to applicability estimation                               p.m., Monday through Friday, excluding
                                            AGENCY                                                             methodologies, simplifying calculation                            legal holidays. The telephone number
                                                                                                               and monitoring methodologies,                                     for the Public Reading Room is (202)
                                            40 CFR Parts 9 and 98                                              streamlining recordkeeping and                                    566–1744 and the telephone number for
                                            [EPA–HQ–OAR–2019–0424; FRL–7230–01–                                reporting, and other minor technical                              the Air Docket is (202) 566–1742.
                                            OAR]                                                               corrections or clarifications. This action
                                                                                                                                                                                 FOR FURTHER INFORMATION CONTACT:
                                                                                                               also establishes and amends
                                            RIN 2060–AU35                                                                                                                        Jennifer Bohman, Climate Change
                                                                                                               confidentiality determinations for the
                                                                                                                                                                                 Division, Office of Atmospheric
                                            Revisions and Confidentiality                                      reporting of certain data elements to be
                                                                                                                                                                                 Programs (MC–6207A), Environmental
                                            Determinations for Data Elements                                   added or substantially revised in these
                                                                                                                                                                                 Protection Agency, 1200 Pennsylvania
                                            Under the Greenhouse Gas Reporting                                 amendments.
                                                                                                                                                                                 Ave., NW, Washington, DC 20460;
                                            Rule                                                               DATES: This rule is effective January 1,                          telephone number: (202) 343–9548;
                                                                                                               2025. The incorporation by reference of                           email address: GHGReporting@epa.gov.
                                            AGENCY: Environmental Protection                                   certain material listed in this final rule
                                            Agency (EPA).                                                                                                                        For technical information, please go to
                                                                                                               is approved by the Director of the                                the Greenhouse Gas Reporting Program
                                            ACTION: Final rule.                                                Federal Register beginning January 1,                             (GHGRP) website, www.epa.gov/
                                            SUMMARY: The EPA is amending specific
                                                                                                               2025. The incorporation by reference of                           ghgreporting. To submit a question,
                                            provisions in the Greenhouse Gas                                   certain other material listed in the rule                         select Help Center, followed by
                                            Reporting Rule to improve data quality                             was approved by the Director of the                               ‘‘Contact Us.’’
                                            and consistency. This action updates                               Federal Register as of January 1, 2018.
                                                                                                                                                                                    World Wide Web (WWW). In addition
                                            the General Provisions to reflect revised                          ADDRESSES: The EPA has established a                              to being available in the docket, an
                                            global warming potentials; expands                                 docket for this action under Docket ID                            electronic copy of this final rule will
                                            reporting to additional sectors; improves                          No. EPA–HQ–OAR–2019–0424. All                                     also be available through the WWW.
                                            the calculation, recordkeeping, and                                documents in the docket are listed in                             Following the Administrator’s signature,
                                            reporting requirements by updating                                 the www.regulations.gov index.                                    a copy of this final rule will be posted
                                            existing methodologies; improves data                              Although listed in the index, some                                on the EPA’s GHGRP website at
                                            verifications; and provides for collection                         information is not publicly available,                            www.epa.gov/ghgreporting.
                                            of additional data to better inform and                            e.g., confidential business information
                                            be relevant to a wide variety of Clean                             (CBI) or other information whose                                  SUPPLEMENTARY INFORMATION:
                                            Air Act provisions that the EPA carries                            disclosure is restricted by statute.                                Regulated entities. These final
                                            out. This action adds greenhouse gas                               Certain other material, such as                                   revisions affect certain entities that must
                                            monitoring and reporting for five source                           copyrighted material, is not placed on                            submit annual greenhouse gas (GHG)
                                            categories including coke calcining;                               the internet and will be publicly                                 reports under the GHGRP (codified at 40
                                            ceramics manufacturing; calcium                                    available only in hard copy. Publicly                             CFR part 98). These are amendments to
                                            carbide production; caprolactam,                                   available docket materials are available                          existing regulations and will affect
                                            glyoxal, and glyoxylic acid production;                            either electronically in                                          owners or operators of certain industry
                                            and facilities conducting geologic                                 www.regulations.gov or in hard copy at                            sectors that are suppliers and direct
                                            sequestration of carbon dioxide with                               the EPA Docket Center, WJC West                                   emitters of GHGs. Regulated categories
                                            enhanced oil recovery. These revisions                             Building, Room 3334, 1301 Constitution                            and entities include, but are not limited
                                            also include changes that will improve                             Ave. NW, Washington, DC. This Docket                              to, those listed in table 1 of this
                                            implementation of the rule such as                                 Facility is open from 8:30 a.m. to 4:30                           preamble:

                                                                                              TABLE 1—EXAMPLES OF AFFECTED ENTITIES BY CATEGORY
                                                                                                                                     North American
                                                                                                                                        Industry
                                                                               Category                                               Classification                   Examples of facilities that may be subject to part 98:+
                                                                                                                                         System
                                                                                                                                        (NAICS)

                                            General Stationary Fuel Combustion Sources ........................                    ..............................   Facilities operating boilers, process heaters, incinerators,
                                                                                                                                                           211        turbines, and internal combustion engines.
                                                                                                                                                                    Extractors of crude petroleum and natural gas.
                                                                                                                                                    321             Manufacturers of lumber and wood products.
                                                                                                                                                    322             Pulp and paper mills.
                                                                                                                                                    325             Chemical manufacturers.
                                                                                                                                                    324             Petroleum refineries, and manufacturers of coal products.
                                                                                                                                          316, 326, 339             Manufacturers of rubber and miscellaneous plastic products.
                                                                                                                                                    331             Steel works, blast furnaces.
                                                                                                                                                    332             Electroplating, plating, polishing, anodizing, and coloring.
                                                                                                                                                    336             Manufacturers of motor vehicle parts and accessories.
                                                                                                                                                    221             Electric, gas, and sanitary services.
                                                                                                                                                    622             Health services.
                                                                                                                                                    611             Educational services.
lotter on DSK11XQN23PROD with RULES2




                                            Electric Power Generation .......................................................                     2211              Generation facilities that produce electric energy.
                                            Adipic Acid Production .............................................................                325199              All other basic organic chemical manufacturing: Adipic acid
                                                                                                                                                                      manufacturing.
                                            Aluminum Production ...............................................................                     331313          Primary aluminum production facilities.
                                            Ammonia Manufacturing ..........................................................                        325311          Anhydrous ammonia manufacturing facilities.
                                            Calcium Carbide Production ....................................................                         325180          Other basic inorganic chemical manufacturing: calcium car-
                                                                                                                                                                      bide manufacturing.



                                       VerDate Sep<11>2014       19:27 Apr 24, 2024     Jkt 262001     PO 00000      Frm 00002      Fmt 4701       Sfmt 4700        E:\FR\FM\25APR2.SGM   25APR2
                                                    USCA Case #24-1216                                      Document #2061464                                   Filed: 06/24/2024               Page 8 of 164
                                                                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                         31803

                                                                                      TABLE 1—EXAMPLES OF AFFECTED ENTITIES BY CATEGORY—Continued
                                                                                                                                        North American
                                                                                                                                           Industry
                                                                                 Category                                                Classification          Examples of facilities that may be subject to part 98:+
                                                                                                                                            System
                                                                                                                                           (NAICS)

                                            Carbon Dioxide Enhanced Oil Recovery Projects ..................                                      211120      Oil and gas extraction projects using carbon dioxide en-
                                                                                                                                                                hanced oil recovery.
                                            Caprolactam, Glyoxal, and Glyoxylic Acid Production ............                                      325199      All other basic organic chemical manufacturing.
                                            Cement Production ..................................................................                  327310      Cement manufacturing.
                                            Ceramics Manufacturing ..........................................................                     327110      Pottery, ceramics, and plumbing fixture manufacturing.
                                                                                                                                                  327120      Clay building material and refractories manufacturing.
                                            Coke Calcining .........................................................................              299901      Coke; coke, petroleum; coke, calcined petroleum.
                                            Electronics Manufacturing .......................................................                     334111      Microcomputers manufacturing facilities.
                                                                                                                                                  334413      Semiconductor, photovoltaic (PV) (solid-state) device manu-
                                                                                                                                                                facturing facilities.
                                                                                                                                                  334419      Liquid crystal display (LCD) unit screens manufacturing fa-
                                                                                                                                                                cilities; Microelectromechanical (MEMS) manufacturing fa-
                                                                                                                                                                cilities.
                                            Electrical Equipment Manufacture or Refurbishment ..............                                        33531     Power transmission and distribution switchgear and specialty
                                                                                                                                                                transformers manufacturing facilities.
                                            Electricity generation units that report through 40 CFR part                                          221112      Electric power generation, fossil fuel (e.g., coal, oil, gas).
                                              75.
                                            Electrical Equipment Use ........................................................                     221121      Electric bulk power transmission and control facilities.
                                            Electrical transmission and distribution equipment manufac-                                            33361      Engine, Turbine, and Power Transmission Equipment Manu-
                                              ture or refurbishment.                                                                                            facturing.
                                            Ferroalloy Production ...............................................................                 331110      Ferroalloys manufacturing.
                                            Fluorinated Greenhouse Gas Production ................................                                325120      Industrial gases manufacturing facilities.
                                            Geologic Sequestration ...........................................................                        NA      CO2 geologic sequestration sites.
                                            Glass Production .....................................................................                327211      Flat glass manufacturing facilities.
                                                                                                                                                  327213      Glass container manufacturing facilities.
                                                                                                                                                  327212      Other pressed and blown glass and glassware manufac-
                                                                                                                                                                turing facilities.
                                            HCFC–22 Production ...............................................................                    325120      Industrial gas manufacturing: Hydrochlorofluorocarbon
                                                                                                                                                                (HCFC) gases manufacturing.
                                            HFC–23 destruction processes that are not collocated with a                                           325120      Industrial gas manufacturing: Hydrofluorocarbon (HFC)
                                               HCFC–22 production facility and that destroy more than                                                           gases manufacturing.
                                               2.14 metric tons of HFC–23 per year.
                                            Hydrogen Production ...............................................................                   325120      Hydrogen manufacturing facilities.
                                            Industrial Waste Landfill ..........................................................                  562212      Solid waste landfills.
                                            Industrial Wastewater Treatment .............................................                         221310      Water treatment plants.
                                            Injection of Carbon Dioxide .....................................................                        211      Oil and gas extraction.
                                            Iron and Steel Production ........................................................                    333110      Integrated iron and steel mills, steel companies, sinter
                                                                                                                                                                 plants, blast furnaces, basic oxygen process furnace
                                                                                                                                                                 (BOPF) shops.
                                            Lead Production .......................................................................                  331      Primary metal manufacturing.
                                            Lime Manufacturing .................................................................                  327410      Lime production.
                                            Magnesium Production ............................................................                     331410      Nonferrous metal (except aluminum) smelting and refining:
                                                                                                                                                                 Magnesium refining, primary.
                                            Nitric Acid Production ..............................................................                 325311      Nitrogenous fertilizer manufacturing: Nitric acid manufac-
                                                                                                                                                                 turing.
                                            Petroleum and Natural Gas Systems ......................................                              486210      Pipeline transportation of natural gas.
                                                                                                                                                  221210      Natural gas distribution facilities.
                                                                                                                                                  211120      Crude petroleum extraction.
                                                                                                                                                  211130      Natural gas extraction.
                                            Petrochemical Production ........................................................                     324110      Petrochemicals made in petroleum refineries.
                                            Petroleum Refineries ...............................................................                  324110      Petroleum refineries.
                                            Phosphoric Acid Production ....................................................                       325312      Phosphatic fertilizer manufacturing.
                                            Pulp and Paper Manufacturing ................................................                         322110      Pulp mills.
                                                                                                                                                  322120      Paper mills.
                                                                                                                                                  322130      Paperboard mills.

                                            Miscellaneous Uses of Carbonate ...........................................                Facilities included elsewhere.

                                            Municipal Solid Waste Landfills ...............................................                       562212      Solid waste landfills.
                                                                                                                                                  221320      Sewage treatment facilities.
                                            Silicon Carbide Production ......................................................                     327910      Silicon carbide abrasives manufacturing.
lotter on DSK11XQN23PROD with RULES2




                                            Soda Ash Production ...............................................................                   325180      Other basic inorganic chemical manufacturing: Soda ash
                                                                                                                                                                manufacturing.
                                            Suppliers of Carbon Dioxide ....................................................                      325120      Industrial gas manufacturing facilities.
                                            Suppliers of Industrial Greenhouse Gases .............................                                325120      Industrial greenhouse gas manufacturing facilities.
                                            Titanium Dioxide Production ....................................................                      325180      Other basic inorganic chemical manufacturing: Titanium di-
                                                                                                                                                                oxide manufacturing.
                                            Underground Coal Mines .........................................................                      212115      Underground coal mining.



                                       VerDate Sep<11>2014        19:27 Apr 24, 2024       Jkt 262001     PO 00000       Frm 00003     Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                    USCA Case #24-1216                                      Document #2061464                                   Filed: 06/24/2024              Page 9 of 164
                                            31804                    Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                                                      TABLE 1—EXAMPLES OF AFFECTED ENTITIES BY CATEGORY—Continued
                                                                                                                                       North American
                                                                                                                                          Industry
                                                                                 Category                                               Classification           Examples of facilities that may be subject to part 98:+
                                                                                                                                           System
                                                                                                                                          (NAICS)

                                            Zinc Production ........................................................................              331410      Nonferrous metal (except aluminum) smelting and refining:
                                                                                                                                                                Zinc refining, primary.
                                            Suppliers of Coal-based Liquid Fuels .....................................                            211130      Coal liquefaction at mine sites.
                                            Suppliers of Natural Gas and Natural Gas Liquids .................                                    221210      Natural gas distribution facilities.
                                                                                                                                                  211112      Natural gas liquid extraction facilities.
                                            Suppliers of Petroleum Products .............................................                         324110      Petroleum refineries.
                                            Suppliers of Carbon Dioxide ....................................................                      325120      Industrial gas manufacturing facilities.
                                            Suppliers of Industrial Greenhouse Gases .............................                                325120      Industrial greenhouse gas manufacturing facilities.
                                            Importers and Exporters of Pre-charged Equipment and                                                  423730      Air-conditioning equipment (except room units) merchant
                                              Closed-Cell Foams.                                                                                  333415        wholesalers.
                                                                                                                                                              Air-conditioning equipment (except motor vehicle) manufac-
                                                                                                                                                                turing.
                                                                                                                                                  423620      Air-conditioners, room, merchant wholesalers.
                                                                                                                                                  449210      Electronics and appliance retailers.
                                                                                                                                                  326150      Polyurethane foam products manufacturing.
                                                                                                                                                  335313      Circuit breakers, power, manufacturing.
                                                                                                                                                  423610      Circuit breakers and related equipment merchant whole-
                                                                                                                                                                salers.



                                              Table 1 of this preamble is not                                     CBI confidential business information                    HCFC hydrochlorofluorocarbon
                                            intended to be exhaustive, but rather                                 CBP U.S. Customs and Border Protection                   HCFE hydrochlorofluoroether
                                            provides a guide for readers regarding                                CCS carbon capture and sequestration                     HFC hydrofluorocarbon
                                                                                                                  CECS combustion emissions control system                 HFE hydrofluoroether
                                            facilities likely to be affected by this                              CEMS continuous emissions monitoring                     HHV high heating value
                                            action. This table lists the types of                                   system                                                 HTF heat transfer fluid
                                            facilities that the EPA is now aware                                  CFC chlorofluorocarbon                                   HTS Harmonized Tariff System
                                            could potentially be affected by this                                 CFR Code of Federal Regulations                          ICR Information Collection Request
                                            action. Other types of facilities than                                CF4 perfluoromethane                                     IPCC Intergovernmental Panel on Climate
                                            those listed in the table could also be                               CGA cylinder gas audit                                     Change
                                            subject to reporting requirements. To                                 CHP combined heat and power                              ISO International Standards Organization
                                            determine whether you will be affected                                CH4 methane                                              IVT Inputs Verification Tool
                                                                                                                  CKD cement kiln dust                                     k first order decay rate
                                            by this action, you should carefully                                  CO2 carbon dioxide                                       kg kilogram
                                            examine the applicability criteria found                              CO2e carbon dioxide equivalent                           kV kilovolt
                                            in 40 CFR part 98, subpart A (General                                 COF2 carbonic difluoride                                 LCD liquid crystal display
                                            Provisions) and each source category.                                 CRA Congressional Review Act                             LDC local distribution company
                                            Many facilities that are affected by 40                               CSA CSA Group                                            LMOP Landfill Methane Outreach Program
                                            CFR part 98 have greenhouse gas                                       DAC direct air capture                                   MEMS Microelectromechanical systems
                                            emissions from multiple source                                        DCU delayed coking unit                                  MgO magnesium oxide
                                            categories listed in table 1 of this                                  DOC degradable organic carbon                            mmBtu million British thermal units
                                                                                                                  DOE U.S. Department of Energy                            MRV monitoring, reporting, and
                                            preamble. If you have questions                                       DRE destruction or removal efficiency                      verification plan
                                            regarding the applicability of this action                            EAF electric arc furnace                                 MW molecular weight
                                            to a particular facility, consult the                                 EDC ethylene dichloride                                  MSW municipal solid waste
                                            person listed in the preceding FOR                                    EF emission factor                                       mt metric tons
                                            FURTHER INFORMATION CONTACT section.                                  EGU electricity generating unit                          mtCO2e metric tons carbon dioxide
                                              Acronyms and abbreviations. The                                     e-GGRT electronic Greenhouse Gas                           equivalent
                                            following acronyms and abbreviations                                    Reporting Tool                                         MTBS Mean Time Between Service
                                            are used in this document.                                            EG emission guidelines                                   NAICS North American Industry
                                                                                                                  EOR enhanced oil recovery                                  Classification System
                                            ACE Automated Commercial Environment                                  EPA U.S. Environmental Protection Agency                 NIST National Institute of Standards and
                                            AIM American Innovation and                                           EREF Environmental Research and                            Technology
                                              Manufacturing Act of 2020                                             Education Foundation                                   NSPS new source performance standards
                                            ANSI American National Standards                                      F–GHG fluorinated greenhouse gas                         N2O nitrous oxide
                                              Institute                                                           F–HTF fluorinated heat transfer fluids                   OAR Office of Air and Radiation
                                            API American Petroleum Institute                                      FLIGHT Facility Level Information on                     OMB Office of Management and Budget
                                            ASME American Society of Mechanical                                     Greenhouse Gases Tool                                  OMP operations management plan
                                              Engineers                                                           FR Federal Register                                      PFC perfluorocarbon
                                            ASTM ASTM, International                                              FTIR Fourier Transform Infrared                          POU point of use
                                            BAMM best available monitoring methods                                GCCS gas collection and capture system                   POX partial oxidation
lotter on DSK11XQN23PROD with RULES2




                                            BCFCs bromochlorofluorocarbons                                        GHG greenhouse gas                                       ppmv parts per million volume
                                            BEF byproduct emission factor                                         GHGRP Greenhouse Gas Reporting Program                   PRA Paperwork Reduction Act
                                            BFCs bromofluorocarbons                                               GIE gas-insulated equipment                              PSA pressure swing absorption
                                            CAA Clean Air Act                                                     GWP global warming potential                             psi pounds per square inch
                                            CaO calcium oxide (lime)                                              HBCFC hydrobromochlorofluorocarbon                       psia pounds per square inch, absolute
                                            CARB California Air Resources Board                                   HBFC hydrobromofluorocarbon                              PV photovoltaic
                                            CAS Chemical Abstracts Service                                        HC hydrocarbon                                           QA/QC quality assurance/quality control



                                       VerDate Sep<11>2014        19:27 Apr 24, 2024       Jkt 262001     PO 00000       Frm 00004     Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 10 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31805

                                            RFA Regulatory Flexibility Act                            EE. Subpart ZZ—Ceramics Manufacturing               revisions and how the revisions are
                                            RPC remote plasma cleaning                              IV. Final Revisions to 40 CFR Part 9                  required to be implemented in reporting
                                            RY reporting year                                       V. Effective Date of the Final Amendments             year (RY) 2024 and RY2025 reports.
                                            scf standard cubic feet                                 VI. Final Confidentiality Determinations
                                                                                                                                                          Section VI. of this preamble discusses
                                            SEM surface-emissions monitoring                          A. EPA’s Approach to Assessing Data
                                            SF6 sulfur hexafluoride                                      Elements                                         the final confidentiality determinations
                                            SMR steam methane reforming                               B. Final Confidentiality Determinations             for new or substantially revised (i.e.,
                                            SSM startup, shutdown, and malfunction                       and Emissions Data Designations                  requiring additional or different data to
                                            TSD technical support document                            C. Final Reporting Determinations for               be reported) data reporting elements, as
                                            UMRA Unfunded Mandates Reform Act of                         Inputs to Emission Equations                     well as for certain existing data
                                              1995                                                  VII. Impacts and Benefits of the Final                elements for which the EPA is finalizing
                                            UNFCCC United Nations Framework                              Amendments                                       a new determination. Section VII. of this
                                              Convention on Climate Change                          VIII. Statutory and Executive Order Reviews           preamble discusses the impacts of the
                                            U.S. United States                                        A. Executive Order 12866: Regulatory
                                            VCM vinyl chloride monomer                                                                                    final amendments. Finally, section VIII.
                                                                                                         Planning and Review and Executive
                                            WGS water gas shift                                          Order 14094: Modernizing Regulatory              of this preamble describes the statutory
                                            WMO World Meteorological Organization                        Review                                           and Executive order requirements
                                            WWW World Wide Web                                        B. Paperwork Reduction Act                          applicable to this action.
                                                                                                      C. Regulatory Flexibility Act (RFA)
                                            Table of Contents                                                                                             B. Executive Summary
                                                                                                      D. Unfunded Mandates Reform Act
                                            I. Background                                                (UMRA)                                              The EPA is finalizing certain
                                               A. How is this preamble organized?                     E. Executive Order 13132: Federalism                proposed revisions to part 98 included
                                               B. Executive Summary                                   F. Executive Order 13175: Consultation              in the 2022 Data Quality Improvements
                                               C. Background on This Final Rule                          and Coordination With Indian Tribal              Proposal and the 2023 Supplemental
                                               D. Legal Authority                                        Governments                                      Proposal, with some changes made after
                                            II. Overview of Final Revisions to 40 CFR                 G. Executive Order 13045: Protection of
                                                  Part 98 and 40 CFR Part 9
                                                                                                                                                          consideration of public comments. The
                                                                                                         Children From Environmental Health
                                            III. Final Revisions to Each Subpart of Part                 Risks and Safety Risks                           final amendments include
                                                  98 and Summary of Comments and                      H. Executive Order 13211: Actions That              improvements to requirements that,
                                                  Responses                                              Significantly Affect Energy Supply,              broadly, will enhance the quality and
                                               A. Subpart A—General Provisions                           Distribution, or Use                             the scope of information collected,
                                               B. Subpart B—Energy Consumption                        I. National Technology Transfer and                 clarify elements of the rule, and
                                               C. Subpart C—General Stationary Fuel                      Advancement Act and 1 CFR Part 51                streamline elements of reporting and
                                                  Combustion                                          J. Executive Order 12898: Federal Actions           recordkeeping. These final revisions
                                               D. Subpart F—Aluminum Production                          To Address Environmental Justice in
                                               E. Subpart G—Ammonia Manufacturing
                                                                                                                                                          include a comprehensive update to the
                                                                                                         Minority Populations and Low-Income              global warming potentials (GWPs) in
                                               F. Subpart H—Cement Production                            Populations
                                               G. Subpart I—Electronics Manufacturing                                                                     table A–1 to subpart A of part 98;
                                                                                                      K. Congressional Review Act
                                               H. Subpart N—Glass Production                          L. Judicial Review                                  updates to provide for collection of
                                               I. Subpart P—Hydrogen Production                                                                           additional data to understand new
                                               J. Subpart Q—Iron and Steel Production               I. Background                                         source categories or new emission
                                               K. Subpart S—Lime Production                                                                               sources for specific sectors; updates to
                                               L. Subpart U—Miscellaneous Uses of                   A. How is this preamble organized?
                                                                                                                                                          emission factors to more accurately
                                                  Carbonate                                           Section I. of this preamble contains
                                               M. Subpart X—Petrochemical Production
                                                                                                                                                          reflect industry emissions; refinements
                                                                                                    background information on the June 21,                to existing emissions calculation
                                               N. Subpart Y—Petroleum Refineries
                                               O. Subpart AA—Pulp and Paper                         2022 proposed rule (87 FR 36920,                      methodologies to reflect an improved
                                                  Manufacturing                                     hereafter referred to as ‘‘2022 Data                  understanding of emissions sources and
                                               P. Subpart BB—Silicon Carbide Production             Quality Improvements Proposal’’) and                  end uses of GHGs; additions or
                                               Q. Subpart DD—Electrical Transmission                the May 22, 2023 supplemental                         modifications to reporting requirements
                                                  and Distribution Equipment Use                    proposed rule (88 FR 32852, hereafter                 in order to eliminate data gaps and
                                               R. Subpart FF—Underground Coal Mines                 referred to as ‘‘2023 Supplemental                    improve verification of reported
                                               S. Subpart GG—Zinc Production                        Proposal’’). This section also discusses
                                               T. Subpart HH—Municipal Solid Waste
                                                                                                                                                          emissions; revisions that address prior
                                                  Landfills
                                                                                                    the EPA’s legal authority under the CAA               commenter concerns or clarify
                                               U. Subpart OO—Suppliers of Industrial                to promulgate (including subsequent                   requirements; and editorial corrections
                                                  Greenhouse Gases                                  amendments to) the GHG Reporting                      that are intended to improve the
                                               V. Subpart PP—Suppliers of Carbon                    Rule, codified at 40 CFR part 98                      public’s understanding of the rule. The
                                                  Dioxide                                           (hereinafter referred to as ‘‘part 98’’),             final amendments also include
                                               W. Subpart QQ—Importers and Exporters                and the EPA’s legal authority to make                 streamlining measures such as revisions
                                                  of Fluorinated Greenhouse Gases                   confidentiality determinations for new                to applicability for certain industry
                                                  Contained in Pre-Charged Equipment                or revised data elements corresponding                sectors to account for changes in usage
                                                  and Closed-Cell Foams
                                               X. Subpart RR—Geologic Sequestration of
                                                                                                    to these amendments or for existing data              of certain GHGs or instances where the
                                                  Carbon Dioxide                                    elements for which the EPA is finalizing              current applicability estimation
                                               Y. Subpart SS—Electrical Equipment                   a new determination. Section II. of this              methodology may overestimate
                                                  Manufacture or Refurbishment                      preamble describes the types of                       emissions; revisions that provide
                                               Z. Subpart UU—Injection of Carbon                    amendments included in this final rule.               flexibility for or simplify monitoring
                                                  Dioxide                                           Section III. of this preamble is organized            and calculation methods; and revisions
                                               AA. Subpart VV—Geologic Sequestration                by part 98 subpart and contains detailed              to streamline reported data elements or
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                                                  of Carbon Dioxide With Enhanced Oil               information on the final new                          recordkeeping where the current
                                                  Recovery Using ISO 27916
                                               BB. Subpart WW—Coke Calciners
                                                                                                    requirements for, or revisions to, each               requirements are redundant, where
                                               CC. Subpart XX—Calcium Carbide                       subpart. Section IV. of this preamble                 reported data are not currently useful
                                                  Production                                        describes the final revisions to 40 CFR               for verification or analysis, or for which
                                               DD. Subpart YY—Caprolactam, Glyoxal,                 part 9. Section V. of this preamble                   continued collection of the data at the
                                                  and Glyoxylic Acid Production                     explains the effective date of the final              same frequency would not likely


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 11 of 164
                                            31806              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            provide new insights or knowledge of                    electricity generating unit, the estimated            new emission sources for specific
                                            the industry sector, emissions, or trends               decimal fraction of total emissions                   sectors, such as the addition of captive
                                            at this time. This action also finalizes                attributable to the electricity generating            (non-merchant) hydrogen production
                                            confidentiality determinations for the                  unit. Similarly, we are not taking final              facilities. The final revisions will affect
                                            reporting of data elements added or                     action at this time on certain data                   approximately 254 new reporters across
                                            substantially revised in these final                    elements that were proposed to be                     13 source categories, including the
                                            amendments, and for certain existing                    added to subparts A (General                          hydrogen production, petroleum and
                                            data elements for which no                              Provisions), F (Aluminum Production),                 natural gas systems, petroleum
                                            confidentiality determination has been                  G, H (Cement Production), P, S, HH, OO                refineries, electrical transmission and
                                            made previously or for which the EPA                    (Suppliers of Industrial Greenhouse                   distribution systems, industrial
                                            proposed to revise the existing                         Gases), and QQ (Importers and                         wastewater treatment, municipal solid
                                            determination.                                          Exporters of Fluorinated Greenhouse                   waste landfills, fluorinated GHG
                                               In some cases, and as further                        Gases Contained in Pre-Charged                        suppliers, and industrial waste landfills
                                            described in section III. of this                       Equipment and Closed-Cell Foams).                     source categories, as well as the new
                                            preamble, the EPA is not taking final                   Additional proposed revisions that EPA                source categories added in these final
                                            action in this final rule on certain                    is not taking final action on at this time            revisions. The EPA anticipates some
                                            proposed revisions included in the 2022                 are discussed in section III. of this                 decrease in burden where the final
                                            Data Quality Improvements Proposal                      preamble.                                             revisions will adjust or improve the
                                                                                                       This final rule also includes an                   estimation methodologies for
                                            and the 2023 Supplemental Proposal.
                                                                                                    amendment to 40 CFR part 9 to include                 determining applicability, simplify
                                            For example, after review of comments
                                                                                                    the Office of Management and Budget                   calculation methodologies or
                                            received in response to the proposed
                                                                                                    (OMB) control number issued under the                 monitoring requirements, or simplify
                                            requirements to report purchased
                                                                                                    Paperwork Reduction Act (PRA) for the                 the data that must be reported. In
                                            electricity and thermal energy
                                                                                                    information collection request for the                several cases, we are also finalizing
                                            consumption information under the
                                                                                                    GHGRP.                                                changes where we anticipate increased
                                            proposed subpart B (Energy                                 The final amendments will become
                                            Consumption), the EPA is not taking                                                                           clarity or more flexibility for reporters
                                                                                                    effective on January 1, 2025. As                      that could result in a potential decrease
                                            action at this time on those proposed                   provided under the existing regulations               in burden. The incremental
                                            provisions. The EPA believes additional                 in subpart A of part 98, the GWP                      implementation labor costs for all
                                            time is needed to consider the                          amendments to table A–1 to subpart A                  subparts include $2,684,681 in RY2025,
                                            comments received before taking final                   will apply to reports submitted by                    and $2,671,831 in each subsequent year
                                            action. Similarly, the EPA is not taking                current reporters that are submitted in               (RY2026 and RY2027). The incremental
                                            final action at this time on certain                    calendar year 2025 and subsequent                     implementation labor costs over the
                                            proposed changes for some subparts. In                  years (i.e., starting with reports                    next three years (RY2025 through
                                            some cases, e.g., for subparts G                        submitted for RY2024 on March 31,                     RY2027) total $8,028,343. There is an
                                            (Ammonia Production), P (Hydrogen                       2025). All other final revisions, which               additional incremental burden of
                                            Production), S (Lime Production), and                   apply to both existing and new                        $2,733,937 for capital and operation and
                                            HH (Municipal Solid Waste Landfills),                   reporters, will be implemented for                    maintenance (O&M) costs in RY2025
                                            we are not taking final action at this                  reports prepared for RY2025 and                       and in each subsequent year (RY2026
                                            time on certain revisions to the                        submitted March 31, 2026. Reporters                   and RY2027), which reflects changes to
                                            calculation or monitoring                               who are newly subject to the rule will                applicability and monitoring for
                                            methodologies that would have revised                   be required to implement all                          subparts with new or additional
                                            how data are collected and reported in                  requirements to collect data, including               reporters. The incremental non-labor
                                            the EPA’s electronic greenhouse gas                     any required monitoring and                           costs for RY2025 through RY2027 total
                                            reporting tool (e-GGRT). In several                     recordkeeping, on January 1, 2025.                    $8,201,812 over the next three years.
                                            cases, we are also not taking final action                 These final amendments are
                                            at this time on proposed revisions to                   anticipated to result in an overall                   C. Background on This Final Rule
                                            add reporting requirements. For                         increase in burden for part 98 reporters                The GHGRP requires annual reporting
                                            example, under subpart C (General                       in cases where the amendments expand                  of GHG data and other relevant
                                            Stationary Fuel Combustion), we are not                 current applicability, add or revise                  information from large facilities and
                                            taking final action at this time on                     reporting requirements, or require                    suppliers in the United States. In its
                                            proposed revisions to the requirements                  additional emissions data to be                       2022 Data Quality Improvements
                                            for units in either an aggregation of                   reported. The primary burden                          Proposal, the EPA proposed
                                            units or common pipe configuration that                 associated with the final rule is due to              amendments to specific provisions of
                                            would have required reporters to                        revisions to applicability, including                 part 98 where we identified
                                            provide additional information such as                  revisions to the global warming                       opportunities to improve the quality of
                                            the unit type, maximum rated heat                       potentials in table A–1 to subpart A of               the data collected under the rule. This
                                            input capacity, and fraction of the actual              part 98, that will change the number of               included revisions that would provide
                                            total heat input for each unit in the                   reporters currently at or near the 25,000             for the collection of additional data that
                                            aggregation or the common pipe                          metric tons carbon dioxide equivalent                 may be necessary to better understand
                                            configuration. Also under subpart C, we                 (mtCO2e) threshold; revisions to                      emissions from specific sectors or
                                            are not taking final action at this time                establish requirements for new source                 inform future policy decisions under the
                                            on proposed requirements that would                     categories for coke calcining, calcium                CAA; update emission factors; and
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                                            have required reporters to identify, for                carbide, caprolactam, glyoxal, and                    refine emissions estimation
                                            any configuration, whether the unit is                  glyoxylic acid production, ceramics                   methodologies. The proposed rule also
                                            an electricity generating unit, and, for                manufacturing, and facilities conducting              included revisions that provided for the
                                            group configurations (i.e., common                      geologic sequestration of carbon dioxide              collection of additional data that would
                                            stack/duct, common pipe, and                            with enhanced oil recovery; and                       be useful to improve verification of
                                            aggregation of units) that contain an                   revisions to expand reporting to include              collected data and complement or


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                Page 12 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                31807

                                            inform other EPA programs. These                        Supplemental Proposal also clarified or               (Petroleum and Natural Gas Systems) in
                                            proposed revisions included the                         corrected specific proposed provisions                the 2022 Data Quality Improvements
                                            incorporation of a new source category                  of the 2022 Data Quality Improvements                 Proposal, these were developed prior to
                                            to add calculation and reporting                        Proposal. The amendments included in                  the Congressional direction provided in
                                            requirements for quantifying geologic                   the 2023 Supplemental Proposal were                   CAA section 136. The EPA noted in the
                                            sequestration of CO2 in association with                proposed as part of the EPA’s continued               preamble to the 2023 Supplemental
                                            enhanced oil recovery (EOR) operations.                 efforts to address potential data gaps                Proposal (see section I.B., 88 FR 32855)
                                            In several cases, the 2022 Data Quality                 and improve the quality of the data                   that we intend to issue one or more
                                            Improvements Proposal included                          collected in the GHGRP. The EPA also                  separate actions to implement the
                                            revisions that would resolve gaps in the                proposed confidentiality determinations               requirements of CAA section 136,
                                            current coverage of the GHGRP that                      for new or substantially revised data                 including revisions to certain
                                            leave out potentially significant sources               reporting elements that would be                      requirements of subpart W.
                                            of GHG emissions or end uses. The EPA                   revised under the supplemental                        Subsequently, the EPA published a
                                            also proposed revisions that clarified or               proposed amendments. The EPA                          proposed rule for subpart W on August
                                            updated provisions that may be unclear,                 received comments on the 2023                         1, 2023 (88 FR 50282, hereinafter
                                            and that would streamline calculation,                  Supplemental Proposal from May 22,                    referred to as the ‘‘2023 Subpart W
                                            monitoring, or reporting in specific                    2023, through July 21, 2023.                          Proposal’’), as well as a proposed rule to
                                            provisions in part 98 to provide                           The revisions included in the 2022                 implement CAA section 136(c), ‘‘Waste
                                            flexibility or increase the efficiency of               Data Quality Improvements Proposal                    Emissions Charge,’’ that was signed by
                                            data collection. The EPA included a                     and the 2023 Supplemental Proposal                    the Administrator on January 12, 2024
                                            request for comment on expanding the                    were based on the EPA’s assessment of                 and published on January 26, 2024 (89
                                            GHGRP to include several new source                     advances in scientific understanding of               FR 5318),1 to comply with CAA section
                                            categories (see section IV. of the                      GHG emissions sources, updated                        136. As discussed in the 2023 Subpart
                                            preamble to the 2022 Data Quality                       guidance on GHG estimation methods,                   W Proposal, the EPA considered the
                                            Improvements Proposal at 87 FR 37016)                   and a review of the data collected and                2022 Data Quality Improvements
                                            and requested comment on potential                      emissions trends established following                Proposal as well as additional proposed
                                            future amendments to add new                            more than 10 years of implementation of               revisions in the development of the
                                            calculation, monitoring, and reporting                  the program. The EPA is finalizing                    2023 Subpart W Proposal. Accordingly,
                                            requirements for these categories. The                  amendments and confidentiality                        the EPA is not taking final action on the
                                            EPA also proposed confidentiality                       determinations in this action, with                   revisions to subpart W, including
                                            determinations for new or substantially                 certain changes from the proposed rules               harmonizing revisions to subparts A
                                            revised data reporting elements that                    following consideration of comments                   (General Provisions) and C (General
                                            would be amended under the proposed                     submitted and based on the EPA’s                      Stationary Fuel Combustion Sources)
                                            rule, as well as for certain existing data              updated assessment. The revisions                     related to subpart W, that were
                                            elements for which the EPA proposed a                   reflect the EPA’s efforts to update and               proposed in the 2022 Data Quality
                                            new or revised determination. The EPA                   improve the GHGRP by better capturing                 Improvements Proposal in this final
                                            received comments on the 2022 Data                      the changing landscape of GHG                         rule.
                                            Quality Improvements Proposal from                      emissions, providing for more complete
                                                                                                    coverage of U.S. GHG emission sources,                D. Legal Authority
                                            June 21, 2022, through October 6, 2022.                                                                         The EPA is finalizing these rule
                                                                                                    and providing a more comprehensive
                                               The EPA subsequently proposed                        approach to understanding GHG                         amendments under its existing CAA
                                            additional amendments to part 98 where                  emissions. Responses to major                         authority provided in CAA section 114.
                                            the Agency had received or identified                   comments submitted on the proposed                    As stated in the preamble to the
                                            new information to further improve the                  amendments from the 2022 Data Quality                 Mandatory Reporting of Greenhouse
                                            data collected under the GHGRP. The                     Improvement Proposal and the 2023                     Gases final rule (74 FR 56260, October
                                            2023 Supplemental Proposal included                     Supplemental Proposal considered in                   30, 2009), CAA section 114(a)(1)
                                            amendments that were informed by a                      the development of this final rule can be             provides the EPA authority to require
                                            review of comments and information                      found in sections III. and VI. of this                the information gathered by this rule
                                            provided by stakeholders on the 2022                    preamble. Documentation of all                        because such data will inform and are
                                            Data Quality Improvements Proposal, as                  comments received as well as the EPA’s                relevant to the EPA’s carrying out of a
                                            well as newly proposed amendments                       responses can be found in the document                variety of CAA provisions. Thus, when
                                            that the EPA had identified from                        ‘‘Summary of Public Comments and                      promulgating amendments to the
                                            program implementation, e.g., where                     Responses for 2024 Final Revisions and                GHGRP, the EPA has assessed the
                                            additional data would improve                           Confidentiality Determinations for Data               reasonableness of requiring the
                                            verification of data reported to the                    Elements under the Greenhouse Gas                     information to be provided and
                                            GHGRP or would further aid our                          Reporting Rule,’’ available in the docket             explained how the data are relevant to
                                            understanding of changing industry                      to this rulemaking, Docket ID. No. EPA–               the EPA’s ability to carry out the
                                            emission trends. The 2023                               HQ–OAR–2019–0424.                                     provisions of the CAA. See the
                                            Supplemental Proposal included a                           This final rule does not address                   preambles to the proposed GHG
                                            proposed comprehensive update to the                    implementation of provisions of the
                                            GWPs in table A–1 to subpart A of part                  Inflation Reduction Act, which was                       1 CAA section 136(c), ‘‘Waste Emissions Charge,’’

                                            98; proposed amendments to establish                    signed into law on August 16, 2022.                   directs the Administrator to impose and collect a
                                                                                                                                                          charge on methane (CH4) emissions that exceed
                                            new subparts with specific reporting                    Section 60113 of the Inflation Reduction
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                                          statutorily specified waste emissions thresholds
                                            provisions under part 98 for five new                   Act amended the CAA by adding                         from an owner or operator of an applicable facility
                                            source categories; and several proposed                 section 136, ‘‘Methane Emissions and                  that reports more than 25,000 metric tons carbon
                                            revisions where the EPA had identified                  Waste Reduction Incentive Program for                 dioxide equivalent pursuant to the Greenhouse Gas
                                                                                                                                                          Reporting Rule’s requirements for the petroleum
                                            new data supporting improvements to                     Petroleum and Natural Gas Systems.’’                  and natural gas systems source category (codified as
                                            the calculation, monitoring, and                        Although the EPA proposed                             subpart W in EPA’s Greenhouse Gas Reporting Rule
                                            recordkeeping requirements. The 2023                    amendments to subpart W of part 98                    regulations).



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 13 of 164
                                            31808              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Reporting Rule (74 FR 16448, April 10,                  to as ‘‘the Inventory’’) and other                       The revisions included in this final
                                            2009) and the final GHG Reporting Rule                  analyses produced by the EPA;                         rule will advance the EPA’s goal of
                                            (74 FR 56260, October 30, 2009) for                        • Revisions to expand source                       updating the GHGRP to reflect advances
                                            further discussion of this authority.                   categories or add new source categories               in scientific knowledge, better reflect
                                            Additionally, in enacting CAA section                   to address potential gaps in reporting of             the EPA’s current understanding of U.S.
                                            136 (discussed above in preamble                        data on U.S. GHG emissions or supply                  GHG emissions and trends and improve
                                            section I.C.), Congress implicitly                      in order to improve the accuracy and                  data collection and reporting to better
                                            recognized EPA’s appropriate use of                     completeness of the data provided by                  understand emissions from specific
                                            CAA authority in promulgating the                       the GHGRP;                                            sectors or inform future policy decisions
                                            GHGRP. The provisions of CAA section                       • Amendments to update emission                    under the CAA. The types of
                                            136 reference and are in part based on                  factors to incorporate new measurement                streamlining revisions we are finalizing
                                            the Greenhouse Gas Reporting Rule                       data that more accurately reflect                     will simplify requirements while
                                            requirements under subpart W for the                    industry emissions;                                   maintaining the quality of the data
                                            petroleum and natural gas systems                          • Revisions to refine existing                     collected under part 98, where
                                            source category and require further                     emissions calculation methodologies to                continued collection of information
                                            revisions to subpart W for purposes of                  reflect an improved understanding of                  assists in evaluation and support of EPA
                                            supporting implementation of section                    emissions sources and end uses of                     programs and policies.
                                            136.                                                    GHGs, or to incorporate more recent                      The EPA has frequently considered
                                              The Administrator has determined                      research on GHG emissions or                          and relied on data collected under the
                                            that this action is subject to the                      formation;                                            GHGRP to carry out provisions of the
                                            provisions of section 307(d) of the CAA                    • Additions or modifications to                    CAA; to inform policy options; and to
                                            (see also section VIII.L. of this                       reporting requirements to eliminate data              support regulatory and non-regulatory
                                            preamble). Section 307(d) contains a set                gaps and improve verification of                      actions. For example, GHGRP landfill
                                            of procedures relating to the issuance                  emissions estimates; and                              data from subpart HH of part 98
                                            and review of certain CAA rules.                           • Revisions that clarify requirements              (Municipal Solid Waste Landfills) were
                                              In addition, pursuant to sections 114,                                                                      previously analyzed to inform the
                                                                                                    that reporters have previously found
                                            301, and 307 of the CAA, the EPA is                                                                           development of the 2016 new source
                                                                                                    vague to ensure that accurate data are
                                            publishing final confidentiality                                                                              performance standards (NSPS) and
                                                                                                    being collected, and editorial
                                            determinations for the new or                                                                                 emission guidelines (EG) for landfills
                                                                                                    corrections or harmonizing changes that
                                            substantially revised data elements                                                                           (89 FR 59322; August 29, 2016).
                                            required by these amendments. Section                   will improve the public’s understanding
                                                                                                                                                          Specifically, the EPA used data from
                                            114(c) requires that the EPA make                       of the rule.
                                                                                                                                                          part 98 reporting to update the
                                            information obtained under section 114                     Second, the EPA identified revisions
                                                                                                                                                          characteristics and technical attributes
                                            available to the public, except for                     that would streamline the calculation,
                                                                                                                                                          of over 1,200 landfills in the EPA’s
                                            information (excluding emission data)                   monitoring, or reporting requirements of
                                                                                                                                                          landfills data set, as well as to estimate
                                            that qualifies for confidential treatment.              part 98 to provide flexibility or increase            emission reductions and costs, to inform
                                                                                                    the efficiency of data collection. In the             the revised performance standards. Most
                                            II. Overview of Final Revisions to 40                   2022 Data Quality Improvements
                                            CFR Part 98 and 40 CFR Part 9                                                                                 recently, the EPA used GHGRP data
                                                                                                    Proposal and the 2023 Supplemental                    collected under subparts RR (Geologic
                                               Relevant to this final rule, the EPA                 Notice, the EPA identified several                    Sequestration of Carbon Dioxide) and
                                            previously proposed revisions to part 98                streamlining revisions that we are                    UU (Injection of Carbon Dioxide) of part
                                            in two separate documents: the 2022                     finalizing in this rule, as follows:                  98 to inform the development of the
                                            Data Quality Improvements Proposal                         • Revisions to applicability criteria              proposed NSPS and EG for GHG
                                            (June 21, 2022, 87 FR 36920) and the                    for certain industry sectors without the              emissions from fossil fuel-fired electric
                                            2023 Supplemental Proposal (May 22,                     25,000 mtCO2e per year reporting                      generating units (EGUs) (88 FR 33240,
                                            2023, 88 FR 32852). In the proposed                     threshold to account for changes in                   May 23, 2023, hereafter ‘‘EGU NSPS/EG
                                            rules, the EPA identified two primary                   usage of certain GHGs, or where the                   proposed rule’’), including to assess the
                                            categories of revisions that we are                     current applicability estimation                      geographic availability of geologic
                                            finalizing in this rule. First, the EPA                 methodology may overestimate                          sequestration and enhanced oil
                                            identified revisions that would modify                  emissions;                                            recovery. These final revisions to the
                                            the rule to improve the quality of the                     • Revisions that provide flexibility for           GHGRP will, as discussed herein,
                                            data collected and better inform the                    and simplify monitoring and calculation               improve the GHG emissions data and
                                            EPA’s understanding of U.S. GHG                         methods where further monitoring and                  supplier data that is collected under the
                                            emissions sources. Specifically, the EPA                data collection will not likely                       GHGRP to better inform the EPA in
                                            identified six types of revisions to                    significantly improve our understanding               carrying out provisions of the CAA
                                            improve the quality of the data collected               of emission sources at this time, or                  (such as providing a better
                                            under part 98 that we are finalizing in                 where we currently allow similar less                 understanding of upstream production,
                                            this rule, as follows:                                  burdensome methodologies for other                    downstream emissions, and potential
                                               • Revisions to table A–1 to the                      sources; and                                          impacts) and otherwise supporting the
                                            General Provisions of part 98 to update                    • Revisions to reported data elements              continued development of climate and
                                            GWPs to reflect advances in scientific                  or recordkeeping where the current                    air quality standards under the CAA.
                                            knowledge and better characterize the                   requirements are redundant or where                      As the EPA has explained since the
                                            climate impacts of certain GHGs, by                     reported data are not currently useful                GHGRP was first promulgated, the data
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                                            including values agreed to under the                    for verification or analysis, or for which            also will inform the EPA’s
                                            United Nations Framework Convention                     continued collection of the data at the               implementation of CAA section 103(g)
                                            on Climate Change, and to maintain                      same frequency will not likely provide                regarding improvements in
                                            comparability and consistency with the                  new insights or knowledge of the                      nonregulatory strategies and
                                            Inventory of U.S. Greenhouse Gas                        industry sector, emissions, or trends at              technologies for preventing or reducing
                                            Emissions and Sinks (hereafter referred                 this time.                                            air pollutants (e.g., EPA’s voluntary


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 14 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31809

                                            GHG reduction programs such as the                      newly submitted data from the 2017 and                  and establishing new source categories
                                            non-CO2 partnership programs and                        2020 technology assessment reports                      that will add calculation, monitoring,
                                            ENERGY STAR) (74 FR 56265). The                         submitted under the GHGRP with                          reporting, and recordkeeping
                                            final rule will support the overall goals               RY2016 and RY2019 annual reports, as                    requirements for certain sectors of the
                                            of the GHGRP to collect high-quality                    well as consideration of new emission                   economy. The final revisions add five
                                            GHG data and to incorporate metrics                     factors available in the 2019 Refinement                new source categories, including coke
                                            and methodologies that reflect scientific               to the 2006 IPCC Guidelines for                         calcining; ceramics manufacturing;
                                            updates. For example, we are finalizing                 National Greenhouse Gas Inventories                     calcium carbide production;
                                            revisions to table A–1 to subpart A of                  (hereafter ‘‘2019 Refinement’’).4                       caprolactam, glyoxal, and glyoxylic acid
                                            part 98 to update the chemical-specific                    In other cases, we are finalizing                    production; and facilities conducting
                                            GWP values of certain GHGs to (1)                       updates to calculation methodologies to                 geologic sequestration of carbon dioxide
                                            reflect GWPs from the                                   incorporate updates that are based on an                with enhanced oil recovery. These
                                            Intergovernmental Panel on Climate                      improved understanding of emission                      source categories were identified upon
                                            Change (IPCC) Fifth Assessment Report                   sources. For example, for subpart I of                  evaluation of emission sources that
                                            (hereinafter referred to as ‘‘AR5’’); 2 (2)             part 98 (Electronics Manufacturing), the                potentially contribute significant GHG
                                            for certain GHGs that do not have                       EPA is implementing emissions                           emissions that are not currently
                                            chemical-specific GWPs listed in AR5,                   estimation improvements from the 2019                   reported or where facilities
                                            to adopt GWP values from the IPCC                       Refinement such as updates to the                       representative of these source categories
                                            Sixth Assessment Report (hereinafter                    method used to calculate the fraction of                may currently report under another part
                                            referred to as ‘‘AR6’’); 3 and (3) to revise            fluorinated input gases and byproducts                  98 source category using methodologies
                                            and expand the set of default GWPs                      exhausted from tools with abatement                     that may not provide complete or
                                            which are applied to GHGs for which                     systems during stack tests; revising                    accurate emissions. Additionally, the
                                            peer-reviewed chemical-specific GWPs                    equations that calculate the weighted                   inclusion of certain source categories
                                            are not available.                                      average DREs for individual fluorinated                 will improve the completeness of the
                                               In several cases, we are finalizing                  greenhouse gases (F–GHGs) across                        emissions estimates presented in the
                                            updates to emissions and default factors                process types; requiring that all stack                 Inventory, such as collection of data on
                                            where we have received or identified                    systems be tested if the stack test                     ceramics manufacturing; calcium
                                            updated measurement data. For                           method is used; and updating a set of                   carbide production; and caprolactam,
                                            example, we are finalizing updates to                   equations that will more accurately                     glyoxal, and glyoxylic acid production.
                                            the default biogenic fraction for tire                  account for emissions when pre-control                  The EPA is also finalizing updates to
                                            combustion in subpart C of part 98                      emissions of a F–GHG approach or                        certain subparts to add reporting of new
                                            (General Stationary Fuel Combustion)                    exceed the consumption of that gas                      emissions or emissions sources for
                                            based on updated data obtained by the                   during the test period. For subpart Y                   existing sectors to address potential
                                            EPA on the weighted average                             (Petroleum Refineries), we are amending                 gaps in reporting. For example, we are
                                            composition of natural rubber in tires,                 the calculation methodology for delayed                 adding requirements for the monitoring,
                                            allowing for the estimation of an                       coking units to more accurately reflect                 calculation, and reporting of F–GHGs
                                            emission factor that is more                            the activities conducted at certain                     other than sulfur hexafluoride (SF6) and
                                            representative of these sources.                        facilities that were not captured by the                perfluorocarbons (PFCs) under subparts
                                            Similarly, we are finalizing updates to                 current emissions estimation                            DD (Electrical Equipment and
                                            the emission factors and default                        methodology, which relies on a steam                    Distribution Equipment Use) and SS
                                            destruction and removal efficiency                      generation model. The incorporation of                  (Electrical Equipment Manufacture or
                                            values in subpart I of part 98                          updated metrics and methodologies will                  Refurbishment) to account for the
                                            (Electronics Manufacturing). The                        improve the quality and accuracy of the                 introduction of alternative technologies
                                            updated emission factors are based on                   data collected under the GHGRP,                         and replacements for SF6.
                                                                                                    increase the Agency’s understanding of
                                                                                                                                                               Likewise, we are finalizing revisions
                                               2 IPCC, 2013: Climate Change 2013: The Physical      the relative distribution of GHGs that
                                            Science Basis. Contribution of Working Group I to                                                               that will improve reporting under
                                                                                                    are emitted, and better inform EPA
                                            the Fifth Assessment Report of the                                                                              subpart HH to better account for CH4
                                                                                                    policy and programs under the CAA.
                                            Intergovernmental Panel on Climate Change
                                                                                                       The improvements to part 98 will                     emissions from these facilities.
                                            [Stocker, T.F., D. Qin, G.-K. Plattner, M. Tignor,                                                              Following review of recent studies
                                            S.K. Allen, J. Boschung, A. Nauels, Y. Xia, V. Bex      further provide a more comprehensive,
                                            and P.M. Midgley (eds.)]. Cambridge University          nationwide GHG emissions profile                        indicating that CH4 emissions from
                                            Press, Cambridge, United Kingdom and New York,
                                                                                                    reflective of the origin and distribution               landfills may be considerably higher
                                            NY, USA, 1535 pp. The GWPs are listed in table
                                                                                                    of GHG emissions in the United States                   than what is currently reported to part
                                            8.A.1 of Appendix 8.A: Lifetimes, Radiative                                                                     98 due in part to emissions from poorly
                                            Efficiencies and Metric Values, which appears on        and will more accurately inform EPA
                                            pp. 731–737 of Chapter 8, ‘‘Anthropogenic and           policy options for potential regulatory                 operating gas collection systems or
                                            Natural Radiative Forcing.’’
                                                                                                    or non-regulatory CAA programs. The                     destruction devices, we are revising the
                                               3 Smith, C., Z.R.J. Nicholls, K. Armour, W.
                                                                                                    EPA is finalizing several amendments                    calculation methodologies in subpart
                                            Collins, P. Forster, M. Meinshausen, M.D. Palmer,                                                               HH to better account for these scenarios.
                                            and M. Watanabe, 2021: The Earth’s Energy Budget,       that will reduce gaps in the reporting of
                                            Climate Feedbacks, and Climate Sensitivity              GHG emissions and supply from                           These changes are necessary for the EPA
                                            Supplementary Material. In Climate Change 2021:         specific sectors, including the                         to continue to analyze the relative
                                            The Physical Science Basis. Contribution of
                                                                                                    broadening of existing source categories;               emissions and distribution of emissions
                                            Working Group I to the Sixth Assessment Report of                                                               from specific industries, improve the
                                            the Intergovernmental Panel on Climate Change
                                                                                                                                                            overall quality of the data collected
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                                            [Masson-Delmotte, V., P. Zhai, A. Pirani, S.L.            4 Intergovernmental Panel on Climate Change.

                                            Connors, C. Péan, S. Berger, N. Caud, Y. Chen, L.      2019 Refinement to the 2006 IPCC Guidelines for         under the GHGRP, and better inform
                                            Goldfarb, M.I. Gomis, M. Huang, K. Leitzell, E.         National Greenhouse Gas Inventories, Calvo              future EPA policy and programs under
                                            Lonnoy, J.B.R. Matthews, T.K. Maycock, T.               Buendia, E., Tanabe, K., Kranjc, A., Baasansuren, J.,   the CAA. For example, the final
                                            Waterfield, O. Yelekçi, R. Yu, and B. Zhou (eds.)].    Fukuda, M., Ngarize, S., Osako, A., Pyrozhenko, Y.,
                                            Available from www.ipcc.ch/ The AR6 GWPs are            Shermanau, P. and Federici, S. (eds). Published:
                                                                                                                                                            revisions to subpart HH will be used to
                                            listed in table 7.SM.7, which appears on page 16 of     IPCC, Switzerland. 2019. https://www.ipcc-nggip.        further improve the data in the EPA’s
                                            the Supplementary Material.                             iges.or.jp/public/2019rf/index.html.                    landfills data set by providing more


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 15 of 164
                                            31810              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            comprehensive and accurate                              cullet used can lead to variations in                 analyzed, including locations of
                                            information on landfill emissions and                   emissions from the production of                      emissions sources. GHGRP data are
                                            the efficacy of gas collection systems                  different glass types, the annual                     easily accessible to the public via the
                                            and destruction devices.                                quantities of cullet used will provide a              EPA’s online data publication tool, also
                                               The final revisions also help ensure                 useful metric for understanding                       known as FLIGHT at: https://ghgdata.
                                            that the data collected in the GHGRP                    variations and differences in emissions               epa.gov/ghgp/main.do. FLIGHT allows
                                            can be compared to the data collected                   estimates as well as improve the                      users to view and sort GHG data for
                                            and presented by other EPA programs                     analysis, transparency, and accuracy of               every reporting year starting with 2010
                                            under the CAA. For example, we are                      the glass manufacturing sector in the                 from over 8,000 entities in a variety of
                                            finalizing several revisions to the                     Inventory and other EPA programs.                     ways including by location, industrial
                                            reporting requirements for subpart HH,                  Likewise, the addition of reporting for               sector, and type of GHG emitted. This
                                            including more clearly identifying                      new source categories will improve the                powerful data resource provides a
                                            reporting elements associated with each                 completeness of the emissions estimates               critical tool for communities to identify
                                            gas collection system, each                             presented in the Inventory, such as                   nearby sources of GHGs and provide
                                            measurement location within a gas                       collection of data on ceramics                        information to state and local
                                            collection system, and each control                     manufacturing, calcium carbide                        governments. Overall, the final revisions
                                            device associated with a measurement                    production, and caprolactam, glyoxal,                 in this action will improve the quality
                                            location in subpart HH of part 98. These                and glyoxylic acid production.                        of the data collected under the program
                                            revisions can be used to estimate the                      The EPA is finalizing several                      and available to communities.
                                            relative volume of gas flared versus sent               amendments to improve verification of                    These final revisions will, as such,
                                            to landfill-gas-to-energy projects to                   the annual GHG reports. For example,                  maximize the effectiveness of part 98.
                                            better understand the amount of                         we are finalizing amendments to                       Section III. of this preamble describes
                                            recovered CH4 that is beneficially used                 subpart H (Cement Production) to                      the specific changes that we are
                                            in energy recovery projects.                            collect additional data including annual              finalizing for each subpart to part 98 in
                                            Understanding the energy recovery of                    averages for certain chemical                         more detail. Additional discussion of
                                            these facilities is critical for evaluating             composition input data on a facility-                 the benefits of the final rule are in
                                            and identifying progress towards                        basis, which the Agency will use to                   section VII. of this preamble.
                                            renewable energy targets. Specifically,                 build verification checks. These edits                   Additionally, we are finalizing a
                                            these data will allow the Agency to                     will provide the EPA the ability to                   technical amendment to 40 CFR part 9
                                            identify industry-specific trends of                    check reported emissions data from                    to update the table that lists the OMB
                                            beneficial use of landfill gas,                         subpart H reporters using both the mass               control numbers issued under the PRA
                                            communicate best operating practices                    balance and direct measurement                        to include the information collection
                                            for reducing GHG emissions, and                         estimation methods, allowing the EPA                  request (ICR) for 40 CFR part 98. This
                                            evaluate options for expanding the use                  to back-estimate process emissions,                   amendment satisfies the display
                                            of these best practices or other potential              which will result in more accurate                    requirements of the PRA and OMB’s
                                            policy options under the CAA.                           reporting. Similarly, we are amending                 implementing regulations at 5 CFR part
                                               Similarly, we are finalizing revisions               subparts OO (Suppliers of Industrial                  1320 and is further described in section
                                            to clarify subpart RR (Geologic                         Greenhouse Gases) and QQ (Importers                   IV. of this preamble.
                                            Sequestration of Carbon Dioxide) and                    and Exporters of Fluorinated
                                            add subpart VV (Geologic Sequestration                                                                        III. Final Revisions to Each Subpart of
                                                                                                    Greenhouse Gases Contained in Pre-
                                            of Carbon Dioxide With Enhanced Oil                                                                           Part 98 and Summary of Comments and
                                                                                                    Charged Equipment or Closed-Cell
                                            Recovery Using ISO 27916) to part 98.                   Foams) of part 98 to require reporting of             Responses
                                            Subpart VV provides for the reporting of                the Harmonized Tariff System code for                    This section summarizes the final
                                            incidental CO2 storage associated with                  each F–GHG, fluorinated heat transfer                 amendments to each part 98 subpart, as
                                            enhanced oil recovery based on the CSA                  fluid (F–HTF), or nitrous oxide (N2O)                 generally described in section II. of this
                                            Group (CSA)/American National                           shipped, which will reduce instances of               preamble. Major changes to the final
                                            Standards Institute (ANSI) International                reporting where the data provided is                  rule as compared to the proposed
                                            Standards Organization (ISO) 27916:19.                  unclear or unable to be compared to                   revisions are identified in this section.
                                               In the EGU NSPS/EG proposed rule,                    outside data sources for verification.                The amendments to each subpart are
                                            the EPA proposed that any affected EGU                     Lastly, the changes in this final rule             followed by a summary of the major
                                            that employs CCS technology that                        will further advance the ability of the               comments on those amendments, and
                                            captures enough CO2 to meet the                         GHGRP to provide access to quality data               the EPA’s responses to those comments.
                                            proposed standard and injects the CO2                   on greenhouse gas emissions. Since its                Other minor corrections and
                                            underground must assure that the CO2                    implementation, the collection of data                clarifications are reflected in the final
                                            is managed at a facility reporting under                under the GHGRP has allowed the                       redline regulatory text in the docket for
                                            subpart RR or new subpart VV of part                    Agency and relevant stakeholders to                   this rulemaking (Docket ID. No. EPA–
                                            98. As such, this final rule complements                identify changes in industry and                      HQ–OAR–2019–0424).
                                            the EGU NSPS/EG proposed rule.                          emissions trends, such as transitions in
                                               In other cases, the revisions include                equipment technology or use of                        A. Subpart A—General Provisions
                                            collection of data that could be                        alternative lower-GWP greenhouses                       The EPA is finalizing several
                                            compared to other national and                          gases, that may be beneficial for                     amendments to subpart A of part 98
                                            international inventories, improving, for               informing other EPA programs under                    (General Provisions) as proposed. In
                                            example, the estimates provided to the                  the CAA. The GHGRP provides an                        some cases, we are finalizing the
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                                            Inventory. For instance, we are                         important data resource for                           proposed amendments with revisions.
                                            finalizing revisions to subpart N (Glass                communities and the public to                         Section III.A.1. of this preamble
                                            Production) to require reporting of the                 understand GHG emissions. Since                       discusses the final revisions to subpart
                                            annual quantities of cullet (i.e., recycled             facilities are required to use prescribed             A. The EPA received several comments
                                            scrap glass) used as a raw material.                    calculation and monitoring methods,                   on the proposed subpart A revisions
                                            Because differences in the quantities of                emissions data can be compared and                    which are discussed in section III.A.2.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                 Page 16 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                 31811

                                            of this preamble. We are not finalizing                 table A–1 to subpart A of part 98, which               do not have chemical-specific GWPs
                                            the proposed confidentiality                            includes unsaturated PFCs, unsaturated                 listed in AR5, to adopt GWP values from
                                            determinations for data elements that                   HFCs, unsaturated                                      the IPCC AR6.8 We proposed to adopt
                                            were included in the proposed revisions                 hydrochlorofluorocarbons (HCFCs),                      the AR5 and AR6 GWPs based on a 100-
                                            to subpart A, as described in section VI.               unsaturated halogenated ethers,                        year time horizon. We also proposed to
                                            of this preamble.                                       unsaturated halogenated esters,                        revise and expand the set of default
                                                                                                    fluorinated aldehydes, and fluorinated                 GWPs in table A–1 for GHGs for which
                                            1. Summary of Final Amendments to
                                                                                                    ketones, to include additional                         peer-reviewed chemical-specific GWPs
                                            Subpart A
                                                                                                    unsaturated fluorocarbons. Given the                   are not available, including adding two
                                               This section summarizes the final                    very short atmospheric lifetimes of                    new fluorinated GHG groups for
                                            amendments to subpart A. Major                          unsaturated GHGs and review of                         saturated chlorofluorocarbons (CFCs)
                                            changes in this final rule as compared                  available evaluations of individual                    and for cyclic forms of unsaturated
                                            to the proposed revisions are identified                unsaturated chlorofluorocarbons and                    halogenated compounds, modifying the
                                            in this section. The rationale for these                unsaturated bromofluorocarbons in the                  ninth F–GHG group to more clearly
                                            and any other changes to 40 CFR part                    2018 WMO Scientific Assessment, we                     apply to non-cyclic unsaturated
                                            98, subpart A can be found in section                   proposed to add unsaturated                            halogenated compounds, and updating
                                            III.A.2. of this preamble. Additional                   bromofluorocarbons, unsaturated
                                            information for these amendments and                                                                           the existing default GWP values to
                                                                                                    chlorofluorocarbons, unsaturated                       reflect values estimated from the
                                            their supporting basis is available in the              bromochlorofluorocarbons, unsaturated
                                            preamble to the 2022 Data Quality                                                                              chemical-specific GWPs that we
                                                                                                    hydrobromofluorocarbons, and                           proposed to adopt from AR5 and AR6.
                                            Improvements Proposal and 2023                          unsaturated
                                            Supplemental Proposal.                                                                                         See sections II.A. and III.A.1. of the
                                                                                                    hydrobromochlorofluorocarbons to this
                                                                                                                                                           preamble to the 2023 Supplemental
                                            a. Revisions to Global Warming                          F–GHG group, which will apply a
                                                                                                                                                           Proposal for additional information.
                                            Potentials                                              default GWP of 1 to these compounds.
                                                                                                    Additional information on these                           As proposed, we are amending table
                                               As proposed, we are revising table A–                amendments and their supporting basis                  A–1 to subpart A of part 98 to update
                                            1 to subpart A of part 98 to reflect more               is available in section III.A.1. of the                and add chemical-specific and default
                                            accurate GWPs to better characterize the                preamble to the 2022 Data Quality                      GWPs. Consistent with the 2021
                                            climate impacts of individual GHGs and                  Improvements Proposal.                                 UNFCCC decision, we are updating
                                            to ensure continued consistency with                       As the 2022 Data Quality                            table A–1 to use, for GHGs with GWPs
                                            other U.S. climate programs, including                  Improvements Proposal was nearing                      in AR5, the AR5 GWP values in table
                                            the Inventory. The amendments to the                    publication, the Parties to the United                 8.A.1 (that reflect the climate-carbon
                                            GWPs in table A–1 that we are finalizing                Nations Framework Convention on                        feedbacks of CO2 but not the GHG
                                            in this document are discussed in this                  Climate Change (UNFCCC) fully                          whose GWP is being evaluated), and for
                                            section of this preamble. The EPA’s                     specified which GWPs countries should                  CH4, the GWP that is not the GWP for
                                            response to comments received on the                    use for purposes of GHG reporting.6 The                fossil CH4 in table 8.A.1 (i.e., the GWP
                                            proposed revisions to table A–1 are in                  EPA subsequently proposed a                            for CH4 that does not reflect either the
                                            section III.A.2.a. of this preamble.                    comprehensive update to table A–1 to                   climate-carbon feedbacks for CH4 or the
                                               In the 2022 Data Quality                             subpart A of part 98 in the 2023                       atmospheric CO2 that would result from
                                            Improvements Proposal, the EPA                          Supplemental Proposal, consistent with                 the oxidation of CH4 in the atmosphere).
                                            proposed two updates to table A–1 to                    recent science and the UNFCCC                          We are also updating table A–1 to adopt
                                            subpart A of part 98 to update GWP                      decision. This update carried out the                  AR6 GWP values for 31 F–GHGs that
                                            values to reflect advances in scientific                intent that the EPA expressed at the                   have GWPs listed in AR6 but not AR5.
                                            knowledge. First, we proposed to adopt                  time the GHGRP was first promulgated                   Table 2 of this preamble lists the final
                                            a chemical-specific GWP of 0.14 for                     and in subsequent updates to part 98 to
                                            carbonic difluoride (COF2) using the                                                                           GWP values for each GHG.
                                                                                                    periodically update table A–1 as science
                                            atmospheric lifetime and radiative                      and UNFCCC decisions evolve.                           Press, Cambridge, United Kingdom and New York,
                                            efficiency published by the World                       Specifically, the EPA proposed                         NY, USA, 1535 pp. The GWPs are listed in table
                                            Meteorological Organization (WMO) in                    revisions to table A–1 to update the                   8.A.1 of Appendix 8.A: Lifetimes, Radiative
                                            its Scientific Assessment of Ozone                      chemical-specific GWPs values of                       Efficiencies and Metric Values, which appears on
                                            Depletion.5 We also proposed to expand                                                                         pp. 731–737 of Chapter 8, ‘‘Anthropogenic and
                                                                                                    certain GHGs to reflect values from the                Natural Radiative Forcing.’’
                                            one of the F–GHG groups to which a                      IPCC AR5 7 and, for certain GHGs that                     8 Smith, C., Z.R.J. Nicholls, K. Armour, W.
                                            default GWP is assigned. Default GWPs                                                                          Collins, P. Forster, M. Meinshausen, M.D. Palmer,
                                            are applied to GHGs for which peer-                       6 As explained in section III.A.1. of the preamble   and M. Watanabe, 2021: The Earth’s Energy Budget,
                                            reviewed chemical-specific GWPs are                     to the 2023 Supplemental Proposal, the Parties to      Climate Feedbacks, and Climate Sensitivity
                                                                                                    the UNFCCC specified the agreed-on GWPs in             Supplementary Material. In Climate Change 2021:
                                            not available. Specifically, we proposed                                                                       The Physical Science Basis. Contribution of
                                                                                                    November 2021, which was too late to allow the
                                            to expand the ninth F–GHG group in                      EPA to consider proposing a comprehensive GWP          Working Group I to the Sixth Assessment Report of
                                                                                                    update in the 2022 Data Quality Improvement            the Intergovernmental Panel on Climate Change
                                              5 WMO. Scientific Assessment of Ozone                 Proposal.                                              [Masson-Delmotte, V., P. Zhai, A. Pirani, S.L.
                                            Depletion: 2018, Global Ozone Research and                7 IPCC, 2013: Climate Change 2013: The Physical      Connors, C. Pe´an, S. Berger, N. Caud, Y. Chen, L.
                                            Monitoring Project–Report No. 58, 588 pp., Geneva,      Science Basis. Contribution of Working Group I to      Goldfarb, M.I. Gomis, M. Huang, K. Leitzell, E.
                                            Switzerland, 2018. www.esrl.noaa.gov/csd/               the Fifth Assessment Report of the                     Lonnoy, J.B.R. Matthews, T.K. Maycock, T.
                                            assessments/ozone/2018/downloads/                       Intergovernmental Panel on Climate Change              Waterfield, O. Yelekçi, R. Yu, and B. Zhou (eds.)].
                                            018OzoneAssessment.pdf. Retrieved July 29, 2019.        [Stocker, T.F., D. Qin, G.-K. Plattner, M. Tignor,     Available from: www.ipcc.ch/. The AR6 GWPs are
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                                            Available in the docket for this rulemaking, Docket     S.K. Allen, J. Boschung, A. Nauels, Y. Xia, V. Bex     listed in table 7.SM.7, which appears on page 16 of
                                            ID. No. EPA–HQ–OAR–2019–0424.                           and P.M. Midgley (eds.)]. Cambridge University         the Supplementary Material.




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                    USCA Case #24-1216                                                  Document #2061464                                                  Filed: 06/24/2024                                Page 17 of 164
                                            31812                         Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                                                       TABLE 2—REVISED CHEMICAL-SPECIFIC GWPS FOR COMPOUNDS IN TABLE A–1
                                                                                                                                                                                                                                                                       GWP
                                                                                                      Name                                                                          CAS No.                          Chemical formula                                (100-year)

                                                                                                                                                     Chemical-Specific GWPs

                                            Carbon dioxide .............................................................................................................               124–38–9    CO2 ...........................................................             1
                                            Methane .......................................................................................................................             74–82–8    CH4 ...........................................................            28
                                            Nitrous oxide ................................................................................................................           10024–97–2    N2O ...........................................................           265

                                                                                                                                                       Fully Fluorinated GHGs

                                            Sulfur hexafluoride .......................................................................................................               2551–62–4    SF6 ...........................................................        23,500
                                            Trifluoromethyl sulphur pentafluoride ...........................................................................                          373–80–8    SF5CF3 .....................................................           17,400
                                            Nitrogen trifluoride ........................................................................................................             7783–54–2    NF3 ...........................................................        16,100
                                            PFC–14 (Perfluoromethane) ........................................................................................                          75–73–0    CF4 ...........................................................         6,630
                                            PFC–116 (Perfluoroethane) .........................................................................................                         76–16–4    C2F6 ..........................................................        11,100
                                            PFC–218 (Perfluoropropane) .......................................................................................                          76–19–7    C3F8 ..........................................................         8,900
                                            Perfluorocyclopropane .................................................................................................                    931–91–9    c-C3F6 .......................................................          9,200
                                            PFC–3–1–10 (Perfluorobutane) ...................................................................................                           355–25–9    C4F10 ........................................................          9,200
                                            PFC–318 (Perfluorocyclobutane) .................................................................................                           115–25–3    c-C4F8 .......................................................          9,540
                                            Perfluorotetrahydrofuran ..............................................................................................                    773–14–8    c-C4F8O ....................................................           13,900
                                            PFC–4–1–12 (Perfluoropentane) .................................................................................                            678–26–2    C5F12 ........................................................          8,550
                                            PFC–5–1–14 (Perfluorohexane, FC–72) .....................................................................                                  355–42–0    C6F14 ........................................................          7,910
                                            PFC–6–1–12 ................................................................................................................                335–57–9    C7F16; CF3(CF2)5CF3 ...............................                     7,820
                                            PFC–7–1–18 ................................................................................................................                307–34–6    C8F18; CF3(CF2)6CF3 ...............................                     7,620
                                            PFC–9–1–18 ................................................................................................................                306–94–5    C10F18 .......................................................          7,190
                                            PFPMIE (HT–70) ..........................................................................................................                        NA    CF3OCF(CF3)CF2OCF2OCF3 ..................                               9,710
                                            Perfluorodecalin (cis) ...................................................................................................               60433–11–6    Z–C10F18 ..................................................             7,240
                                            Perfluorodecalin (trans) ................................................................................................                60433–12–7    E–C10F18 ..................................................             6,290
                                            Perfluorotriethylamine ..................................................................................................                  359–70–6    N(C2F5)3 ...................................................           10,300
                                            Perfluorotripropylamine ................................................................................................                   338–83–0    N(CF2CF2CF3)3 ........................................                  9,030
                                            Perfluorotributylamine ..................................................................................................                  311–89–7    N(CF2CF2CF2CF3)3 ..................................                     8,490
                                            Perfluorotripentylamine ................................................................................................                   338–84–1    N(CF2CF2CF2CF2CF3)3 ...........................                         7,260

                                                                                                      Saturated Hydrofluorocarbons (HFCs) With Two or Fewer Carbon-Hydrogen Bonds

                                            (4s,5s)-1,1,2,2,3,3,4,5-octafluorocyclopentane ............................................................                             158389–18–5    trans-cyc (-CF2CF2CF2CHFCHF-) ...........                                 258
                                            HFC–23 ........................................................................................................................             75–46–7    CHF3 .........................................................         12,400
                                            HFC–32 ........................................................................................................................             75–10–5    CH2F2 .......................................................             677
                                            HFC–125 ......................................................................................................................             354–33–6    C2HF5 .......................................................           3,170
                                            HFC–134 ......................................................................................................................             359–35–3    C2H2F4 ......................................................           1,120
                                            HFC–134a ....................................................................................................................              811–97–2    CH2FCF3 ..................................................              1,300
                                            HFC–227ca ..................................................................................................................            220732–84–8    CF3CF2CHF2 ............................................                 2,640
                                            HFC–227ea ..................................................................................................................               431–89–0    C3HF7 .......................................................           3,350
                                            HFC–236cb ..................................................................................................................               677–56–5    CH2FCF2CF3 ............................................                 1,210
                                            HFC–236ea ..................................................................................................................               431–63–0    CHF2CHFCF3 ...........................................                  1,330
                                            HFC–236fa ...................................................................................................................              690–39–1    C3H2F6 ......................................................           8,060
                                            HFC–329p ....................................................................................................................              375–17–7    CHF2CF2CF2CF3 ......................................                    2,360
                                            HFC–43–10mee ...........................................................................................................                138495–42–8    CF3CFHCFHCF2CF3 ................................                        1,650

                                                                                                      Saturated Hydrofluorocarbons (HFCs) With Three or More Carbon-Hydrogen Bonds

                                            1,1,2,2,3,3-hexafluorocyclopentane .............................................................................                        123768–18–3    cyc (-CF2CF2CF2CH2CH2-) ......................                            120
                                            1,1,2,2,3,3,4-heptafluorocyclopentane .........................................................................                        1073290–77–4    cyc (-CF2CF2CF2CHFCH2-) .....................                             231
                                            HFC–41 ........................................................................................................................            593–53–3    CH3F .........................................................            116
                                            HFC–143 ......................................................................................................................             430–66–0    C2H3F3 ......................................................             328
                                            HFC–143a ....................................................................................................................              420–46–2    C2H3F3 ......................................................           4,800
                                            HFC–10732 ..................................................................................................................               624–72–6    CH2FCH2F ................................................                  16
                                            HFC–10732a ................................................................................................................                 75–37–6    CH3CHF2 ..................................................                138
                                            HFC–161 ......................................................................................................................             353–36–6    CH3CH2F ..................................................                  4
                                            HFC–245ca ..................................................................................................................               679–86–7    C3H3F5 ......................................................             716
                                            HFC–245cb ..................................................................................................................              1814–88–6    CF3CF2CH3 ..............................................                4,620
                                            HFC–245ea ..................................................................................................................             24270–66–4    CHF2CHFCHF2 ........................................                      235
                                            HFC–245eb ..................................................................................................................               431–31–2    CH2FCHFCF3 ...........................................                    290
                                            HFC–245fa ...................................................................................................................              460–73–1    CHF2CH2CF3 ............................................                   858
                                            HFC–263fb ...................................................................................................................              421–07–8    CH3CH2CF3 ..............................................                   76
                                            HFC–272ca ..................................................................................................................               420–45–1    CH3CF2CH3 ..............................................                  144
                                            HFC–365mfc ................................................................................................................                406–58–6    CH3CF2CH2CF3 .......................................                      804

                                                                                 Saturated Hydrofluoroethers (HFEs) and Hydrochlorofluoroethers (HCFEs) With One Carbon-Hydrogen Bond

                                            HFE–125 ......................................................................................................................            3822–68–2    CHF2OCF3 ...............................................               12,400
                                            HFE–227ea ..................................................................................................................              2356–62–9    CF3CHFOCF3 ...........................................                  6,450
                                            HFE–329mcc2 ..............................................................................................................              134769–21–4    CF3CF2OCF2CHF2 ...................................                      3,070
                                            HFE–329me3 ...............................................................................................................              428454–68–6    CF3CFHCF2OCF3 ....................................                      4,550
                                            1,1,1,2,2,3,3-Heptafluoro-3-(1,2,2,2-tetrafluoroethoxy)-propane .................................                                         3330–15–2    CF3CF2CF2OCHFCF3 ..............................                         6,490
lotter on DSK11XQN23PROD with RULES2




                                                                                                                      Saturated HFEs and HCFEs With Two Carbon-Hydrogen Bonds

                                            HFE–134 (HG–00) .......................................................................................................                   1691–17–4    CHF2OCHF2 .............................................                 5,560
                                            HFE–236ca ..................................................................................................................             32778–11–3    CHF2OCF2CHF2 .......................................                    4,240
                                            HFE–236ca12 (HG–10) ...............................................................................................                    7807322–47–1    CHF2OCF2OCHF2 ....................................                      5,350
                                            HFE–236ea2 (Desflurane) ...........................................................................................                      57041–67–5    CHF2OCHFCF3 ........................................                    1,790
                                            HFE–236fa ...................................................................................................................            20193–67–3    CF3CH2OCF3 ...........................................                    979



                                       VerDate Sep<11>2014            19:27 Apr 24, 2024            Jkt 262001         PO 00000         Frm 00012          Fmt 4701           Sfmt 4700   E:\FR\FM\25APR2.SGM          25APR2
                                                     USCA Case #24-1216                                                  Document #2061464                                                   Filed: 06/24/2024                            Page 18 of 164
                                                                          Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                                     31813

                                                                          TABLE 2—REVISED CHEMICAL-SPECIFIC GWPS FOR COMPOUNDS IN TABLE A–1—Continued
                                                                                                                                                                                                                                                                    GWP
                                                                                                       Name                                                                           CAS No.                        Chemical formula                             (100-year)

                                            HFE–338mcf2 ..............................................................................................................                156053–88–2    CF3CF2OCH2CF3 .....................................                  929
                                            HFE–338mmz1 ............................................................................................................                   26103–08–2    CHF2OCH(CF3)2 ......................................               2,620
                                            HFE–338pcc13 (HG–01) ..............................................................................................                       188690–78–0    CHF2OCF2CF2OCHF2 .............................                     2,910
                                            HFE–43–10pccc (H-Galden 1040x, HG–11) ...............................................................                                        E1730133    CHF2OCF2OC2F4OCHF2 .........................                       2,820
                                            HCFE–235ca2 (Enflurane) ...........................................................................................                        13838–16–9    CHF2OCF2CHFCl .....................................                  583
                                            HCFE–235da2 (Isoflurane) ..........................................................................................                        26675–46–7    CHF2OCHClCF3 .......................................                 491
                                            HG–02 ..........................................................................................................................          205367–61–9    HF2C-(OCF2CF2)2-OCF2H .......................                      2,730
                                            HG–03 ..........................................................................................................................          173350–37–3    HF2C-(OCF2CF2)3-OCF2H .......................                      2,850
                                            HG–20 ..........................................................................................................................          249932–25–0    HF2C-(OCF2)2-OCF2H .............................                   5,300
                                            HG–21 ..........................................................................................................................          249932–26–1    HF2C-OCF2CF2OCF2OCF2O-CF2H .........                               3,890
                                            HG–30 ..........................................................................................................................          188690–77–9    HF2C-(OCF2)3-OCF2H .............................                   7,330
                                            1,1,3,3,4,4, 6,6,7,7,9,9, 10,10,12,12, 13,13,15, 15-eicosafluoro-2,5,8,11,14-                                                             173350–38–4    HCF2O(CF2CF2O)4CF2H .........................                      3,630
                                              Pentaoxapentadecane.
                                            1,1,2-Trifluoro-2-(trifluoromethoxy)-ethane ..................................................................                             84011–06–3    CHF2CHFOCF3 ........................................               1,240
                                            Trifluoro(fluoromethoxy)methane .................................................................................                           2261–01–0    CH2FOCF3 ...............................................             751

                                                                                                               Saturated HFEs and HCFEs With Three or More Carbon-Hydrogen Bonds

                                            HFE–143a ....................................................................................................................                421–14–7    CH3OCF3 ..................................................            523
                                            HFE–245cb2 ................................................................................................................                22410–44–2    CH3OCF2CF3 ...........................................                654
                                            HFE–245fa1 .................................................................................................................               84011–15–4    CHF2CH2OCF3 .........................................                 828
                                            HFE–245fa2 .................................................................................................................                1885–48–9    CHF2OCH2CF3 .........................................                812
                                            HFE–254cb1 ................................................................................................................                  425–88–7    CH3OCF2CHF2 .........................................                301
                                            HFE–263fb2 .................................................................................................................                 460–43–5    CF3CH2OCH3 ...........................................                  1
                                            HFE–263m1; R–E–143a ..............................................................................................                           690–22–2    CF3OCH2CH3 ...........................................                 29
                                            HFE–347mcc3 (HFE–7000) .........................................................................................                             375–03–1    CH3OCF2CF2CF3 .....................................                  530
                                            HFE–347mcf2 ..............................................................................................................                171182–95–9    CF3CF2OCH2CHF2 ..................................                    854
                                            HFE–347mmy1 ............................................................................................................                 2200732–84–2    CH3OCF(CF3)2 .........................................               363
                                            HFE–347mmz1 (Sevoflurane) ......................................................................................                         2807323–86–6    (CF3)2CHOCH2F ......................................                 216
                                            HFE–347pcf2 ...............................................................................................................                  406–78–0    CHF2CF2OCH2CF3 ..................................                    889
                                            HFE–356mec3 .............................................................................................................                    382–34–3    CH3OCF2CHFCF3 ....................................                   387
                                            HFE–356mff2 ...............................................................................................................                  333–36–8    CF3CH2OCH2CF3 .....................................                    17
                                            HFE–356mmz1 ............................................................................................................                   13171–18–1    (CF3)2CHOCH3 .........................................                 14
                                            HFE–356pcc3 ...............................................................................................................               160620–20–2    CH3OCF2CF2CHF2 ..................................                    413
                                            HFE–356pcf2 ...............................................................................................................                50807–77–7    CHF2CH2OCF2CHF2 ................................                     719
                                            HFE–356pcf3 ...............................................................................................................                35042–99–0    CHF2OCH2CF2CHF2 ................................                     446
                                            HFE–365mcf2 ..............................................................................................................               2200732–81–9    CF3CF2OCH2CH3 .....................................                    58
                                            HFE–365mcf3 ..............................................................................................................                   378–16–5    CF3CF2CH2OCH3 .....................................                  0.99
                                            HFE–374pc2 ................................................................................................................                  512–51–6    CH3CH2OCF2CHF2 ..................................                    627
                                            HFE–449s1 (HFE–7100) Chemical blend ...................................................................                                   163702–07–6    C4F9OCH3 ................................................             421
                                                                                                                                                                                      163702–08–7    (CF3)2CFCF2OCH3.
                                            HFE–569sf2 (HFE–7200) Chemical blend ..................................................................                                   163702–05–4    C4F9OC2H5 ...............................................             57
                                                                                                                                                                                      163702–06–5    (CF3)2CFCF2OC2H5.
                                            HFE–7300 ....................................................................................................................             132182–92–4    (CF3)2CFCFOC2H5CF2CF2CF3 ................                            405
                                            HFE–7500 ....................................................................................................................             297730–93–9    n-C3F7CFOC2H5CF(CF3)2 .......................                         13
                                            HG′-01 ..........................................................................................................................          73287–23–7    CH3OCF2CF2OCH3 ..................................                    222
                                            HG′-02 ..........................................................................................................................         485399–46–0    CH3O(CF2CF2O)2CH3 ..............................                     236
                                            HG′-03 ..........................................................................................................................         485399–48–2    CH3O(CF2CF2O)3CH3 ..............................                     221
                                            Difluoro(methoxy)methane ...........................................................................................                         359–15–9    CH3OCHF2 ...............................................             144
                                            2-Chloro-1,1,2-trifluoro-1-methoxyethane ....................................................................                                425–87–6    CH3OCF2CHFCl .......................................                 122
                                            1-Ethoxy-1,1,2,2,3,3,3-heptafluoropropane ..................................................................                               22052–86–4    CF3CF2CF2OCH2CH3 ..............................                       61
                                            2-Ethoxy-3,3,4,4,5-pentafluorotetrahydro-2,5-bis[1,2,2,2-tetrafluoro-1-                                                                   920979–28–8    C12H5F19O2 ..............................................             56
                                              (trifluoromethyl)ethyl]-furan.
                                            1-Ethoxy-1,1,2,3,3,3-hexafluoropropane ......................................................................                                380–34–7    CF3CHFCF2OCH2CH3 .............................                         23
                                            Fluoro(methoxy)methane .............................................................................................                         460–22–0    CH3OCH2F ...............................................               13
                                            1,1,2,2-Tetrafluoro-3-methoxy-propane; Methyl 2,2,3,3-tetrafluoropropyl ether ..........                                                   60598–17–6    CHF2CF2CH2OCH3 ..................................                    0.49
                                            1,1,2,2-Tetrafluoro-1-(fluoromethoxy)ethane ...............................................................                                37031–31–5    CH2FOCF2CF2H .......................................                 871
                                            Difluoro(fluoromethoxy)methane ..................................................................................                            461–63–2    CH2FOCHF2 .............................................              617
                                            Fluoro(fluoromethoxy)methane ....................................................................................                            462–51–1    CH2FOCH2F .............................................              130

                                                                                                                                            Saturated Chlorofluorocarbons (CFCs)

                                            E–R316c .......................................................................................................................             3832–15–3    trans-cyc (-CClFCF2CF2CClF-) ................                      4,230
                                            Z–R316c .......................................................................................................................             3934–26–7    cis-cyc (-CClFCF2CF2CClF-) ....................                    5,660

                                                                                                                                                          Fluorinated Formates

                                            Trifluoromethyl formate ................................................................................................                   85358–65–2    HCOOCF3 ................................................             588
                                            Perfluoroethyl formate ..................................................................................................                 313064–40–3    HCOOCF2CF3 ..........................................                580
                                            1,2,2,2-Tetrafluoroethyl formate ...................................................................................                      481631–19–0    HCOOCHFCF3 .........................................                 470
                                            Perfluorobutyl formate ..................................................................................................                 197218–56–7    HCOOCF2CF2CF2CF3 .............................                       392
                                            Perfluoropropyl formate ................................................................................................                  271257–42–2    HCOOCF2CF2CF3 ....................................                   376
                                            1,1,1,3,3,3-Hexafluoropropan-2-yl formate ..................................................................                              856766–70–6    HCOOCH(CF3)2 .......................................                 333
lotter on DSK11XQN23PROD with RULES2




                                            2,2,2-Trifluoroethyl formate ..........................................................................................                    32042–38–9    HCOOCH2CF3 ..........................................                 33
                                            3,3,3-Trifluoropropyl formate ........................................................................................                   1344118–09–7    HCOOCH2CH2CF3 ...................................                     17

                                                                                                                                                          Fluorinated Acetates

                                            Methyl 2,2,2-trifluoroacetate .........................................................................................                      431–47–0    CF3COOCH3 ............................................                52
                                            1,1-Difluoroethyl 2,2,2-trifluoroacetate .........................................................................                       1344118–13–3    CF3COOCF2CH3 ......................................                   31
                                            Difluoromethyl 2,2,2-trifluoroacetate ............................................................................                          2024–86–4    CF3COOCHF2 ..........................................                 27



                                       VerDate Sep<11>2014             19:27 Apr 24, 2024            Jkt 262001         PO 00000          Frm 00013          Fmt 4701           Sfmt 4700   E:\FR\FM\25APR2.SGM         25APR2
                                                    USCA Case #24-1216                                                 Document #2061464                                                   Filed: 06/24/2024                                Page 19 of 164
                                            31814                        Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                                         TABLE 2—REVISED CHEMICAL-SPECIFIC GWPS FOR COMPOUNDS IN TABLE A–1—Continued
                                                                                                                                                                                                                                                                       GWP
                                                                                                      Name                                                                         CAS No.                            Chemical formula                               (100-year)

                                            2,2,2-Trifluoroethyl 2,2,2-trifluoroacetate .....................................................................                         407–38–5      CF3COOCH2CF3 ......................................                           7
                                            Methyl 2,2-difluoroacetate ............................................................................................                   433–53–4      HCF2COOCH3 ..........................................                         3
                                            Perfluoroethyl acetate ..................................................................................................              343269–97–6      CH3COOCF2CF3 ......................................                           2
                                            Trifluoromethyl acetate .................................................................................................               74123–20–9      CH3COOCF3 ............................................                        2
                                            Perfluoropropyl acetate ................................................................................................              1344118–10–0      CH3COOCF2CF2CF3 ................................                              2
                                            Perfluorobutyl acetate ..................................................................................................              209597–28–4      CH3COOCF2CF2CF2CF3 .........................                                  2
                                            Ethyl 2,2,2-trifluoroacetate ...........................................................................................                  383–63–1      CF3COOCH2CH3 ......................................                           1

                                                                                                                                                         Carbonofluoridates

                                            Methyl carbonofluoridate ..............................................................................................                  1538–06–3      FCOOCH3 ................................................                  95
                                            1,1-Difluoroethyl carbonofluoridate ..............................................................................                    1344118–11–1      FCOOCF2CH3 ..........................................                     27

                                                                                                                           Fluorinated Alcohols Other Than Fluorotelomer Alcohols

                                            Bis(trifluoromethyl)-methanol .......................................................................................                     920–66–1      (CF3)2CHOH .............................................                 182
                                            2,2,3,3,4,4,5,5-Octafluorocyclopentanol .......................................................................                         16621–87–7      cyc (-(CF2)4CH(OH)-) ...............................                       13
                                            2,2,3,3,3-Pentafluoropropanol ......................................................................................                      422–05–9      CF3CF2CH2OH .........................................                      19
                                            2,2,3,3,4,4,4-Heptafluorobutan-1-ol .............................................................................                         375–01–9      C3F7CH2OH .............................................                    34
                                            2,2,2-Trifluoroethanol ...................................................................................................                 75–89–8      CF3CH2OH ...............................................                   20
                                            2,2,3,4,4,4-Hexafluoro-1-butanol ..................................................................................                       382–31–0      CF3CHFCF2CH2OH .................................                           17
                                            2,2,3,3-Tetrafluoro-1-propanol .....................................................................................                       76–37–9      CHF2CF2CH2OH ......................................                        13
                                            2,2-Difluoroethanol .......................................................................................................               359–13–7      CHF2CH2OH ............................................                      3
                                            2-Fluoroethanol ............................................................................................................              371–62–0      CH2FCH2OH .............................................                   1.1
                                            4,4,4-Trifluorobutan-1-ol ...............................................................................................                 461–18–7      CF3(CH2)2CH2OH ....................................                      0.05

                                                                                                                                 Non-Cyclic, Unsaturated Perfluorocarbons (PFCs)

                                            PFC–1114; TFE ...........................................................................................................                    116–14–3   CF2=CF2; C2F4 .........................................                0.004
                                            PFC–1216; Dyneon HFP .............................................................................................                           116–15–4   C3F6; CF3CF=CF2 ....................................                    0.05
                                            Perfluorobut-2-ene .......................................................................................................                   360–89–4   CF3CF=CFCF3 .........................................                   1.82
                                            Perfluorobut-1-ene .......................................................................................................                   357–26–6   CF3CF2CF=CF2 ........................................                   0.10
                                            Perfluorobuta-1,3-diene ................................................................................................                     685–63–2   CF2=CFCF=CF2 .......................................                   0.003

                                                                                              Non-Cyclic, Unsaturated Hydrofluorocarbons (HFCs) and Hydrochlorofluorocarbons (HCFCs)

                                            HFC–1132a; VF2 .........................................................................................................                   75–38–7      C2H2F2, CF2=CH2 ....................................                    0.04
                                            HFC–1141; VF .............................................................................................................                 75–02–5      C2H3F, CH2=CHF .....................................                    0.02
                                            (E)-HFC–1225ye ..........................................................................................................                5595–10–8      CF3CF=CHF(E) ........................................                   0.06
                                            (Z)-HFC–1225ye ..........................................................................................................              507328–43–8      CF3CF=CHF(Z) ........................................                   0.22
                                            Solstice 1233zd(E) .......................................................................................................             102687–65–0      C3H2ClF3; CHCl=CHCF3 ..........................                         1.34
                                            HCFO–1233zd(Z) .........................................................................................................                99728–16–2      (Z)-CF3CH=CHCl ......................................                   0.45
                                            HFC–1234yf; HFO–1234yf ...........................................................................................                        754–12–1      C3H2F4; CF3CF=CH2 ...............................                       0.31
                                            HFC–1234ze(E) ...........................................................................................................                1645–83–6      C3H2F4; trans-CF3CH=CHF .....................                           0.97
                                            HFC–1234ze(Z) ............................................................................................................              29118–25–0      C3H2F4; cis-CF3CH=CHF; CF3CH=CHF                                        0.29
                                            HFC–1243zf; TFP ........................................................................................................                  677–21–4      C3H3F3, CF3CH=CH2 ...............................                       0.12
                                            (Z)-HFC–1336 ..............................................................................................................               692–49–9      CF3CH=CHCF3(Z) ....................................                     1.58
                                            HFO–1336mzz(E) ........................................................................................................                 66711–86–2      (E)-CF3CH=CHCF3 ..................................                        18
                                            HFC–1345zfc ...............................................................................................................               374–27–6      C2F5CH=CH2 ............................................                 0.09
                                            HFO–1123 ....................................................................................................................             359–11–5      CHF=CF2 ..................................................             0.005
                                            HFO–1438ezy(E) .........................................................................................................                14149–41–8      (E)-(CF3)2CFCH=CHF ..............................                         8.2
                                            HFO–1447fz .................................................................................................................              355–08–8      CF3(CF2)2CH=CH2 ...................................                     0.24
                                            Capstone 42–U ............................................................................................................              19430–93–4      C6H3F9, CF3(CF2)3CH=CH2 .....................                           0.16
                                            Capstone 62–U ............................................................................................................            2073291–17–2      C8H3F13, CF3(CF2)5CH=CH2 ...................                            0.11
                                            Capstone 82–U ............................................................................................................            2160732–58–4      C10H3F17, CF3(CF2)7CH=CH2 ..................                            0.09
                                            (e)-1-chloro-2-fluoroethene ..........................................................................................                    460–16–2      (E)-CHCl=CHF ..........................................                0.004
                                            3,3,3-trifluoro-2-(trifluoromethyl)prop-1-ene .................................................................                           382–10–5      (CF3)2C=CH2 ............................................                0.38

                                                                                                                                                Non-Cyclic, Unsaturated CFCs

                                            CFC–1112 ....................................................................................................................                598–88–9   CClF=CClF ...............................................               0.13
                                            CFC–1112a ..................................................................................................................                  79–35–6   CCl2=CF2 ..................................................            0.021

                                                                                                                                     Non-Cyclic, Unsaturated Halogenated Ethers

                                            PMVE; HFE–216 ..........................................................................................................                 1187–93–5      CF3OCF=CF2 ...........................................                   0.17
                                            Fluoroxene ...................................................................................................................            406–90–6      CF3CH2OCH=CH2 ....................................                       0.05
                                            Methyl-perfluoroheptene-ethers ...................................................................................                             N/A      CH3OC7F13 ...............................................                  15

                                                                                                                                     Non-Cyclic, Unsaturated Halogenated Esters

                                            Ethenyl 2,2,2-trifluoroacetate .......................................................................................                       433–28–3   CF3COOCH=CH2 .....................................                     0.008
                                            Prop-2-enyl 2,2,2-trifluoroacetate .................................................................................                         383–67–5   CF3COOCH2CH=CH2 ..............................                         0.007
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                            Cyclic, Unsaturated HFCs and PFCs

                                            PFC C–1418 ................................................................................................................               559–40–0      c-C5F8 .......................................................             2
                                            Hexafluorocyclobutene .................................................................................................                   697–11–0      cyc (-CF=CFCF2CF2-) ..............................                       126
                                            1,3,3,4,4,5,5-heptafluorocyclopentene .........................................................................                          1892–03–1      cyc (-CF2CF2CF2CF=CH-) .......................                            45
                                            1,3,3,4,4-pentafluorocyclobutene .................................................................................                        374–31–2      cyc (-CH=CFCF2CF2-) .............................                         92
                                            3,3,4,4-tetrafluorocyclobutene ......................................................................................                    2714–38–7      cyc (-CH=CHCF2CF2-) .............................                         26




                                       VerDate Sep<11>2014            19:27 Apr 24, 2024            Jkt 262001        PO 00000          Frm 00014         Fmt 4701           Sfmt 4700    E:\FR\FM\25APR2.SGM           25APR2
                                                    USCA Case #24-1216                                                Document #2061464                                                  Filed: 06/24/2024                                 Page 20 of 164
                                                                         Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                                        31815

                                                                         TABLE 2—REVISED CHEMICAL-SPECIFIC GWPS FOR COMPOUNDS IN TABLE A–1—Continued
                                                                                                                                                                                                                                                                      GWP
                                                                                                     Name                                                                        CAS No.                            Chemical formula                                (100-year)

                                                                                                                                                     Fluorinated Aldehydes

                                            3,3,3-Trifluoro-propanal ................................................................................................                  460–40–2   CF3CH2CHO .............................................                    0.01

                                                                                                                                                       Fluorinated Ketones

                                            Novec 1230 (perfluoro (2-methyl-3-pentanone)) .........................................................                                    756–13–8   CF3CF2C(O)CF(CF3)2 ..............................                           0.1
                                            1,1,1-trifluoropropan-2-one ...........................................................................................                    421–50–1   CF3COCH3 ...............................................                   0.09
                                            1,1,1-trifluorobutan-2-one .............................................................................................                   381–88–4   CF3COCH2CH3 ........................................                      0.095

                                                                                                                                                            Fluorotelomer

                                            3,3,4,4,5,5,6,6,7,7,7-Undecafluoroheptan-1-ol .............................................................                          185689–57–0      CF3(CF2)4CH2CH2OH ..............................                           0.43
                                            3,3,3-Trifluoropropan-1-ol .............................................................................................               2240–88–2      CF3CH2CH2OH ........................................                       0.35
                                            3,3,4,4,5,5,6,6,7,7,8,8,9,9,9-Pentadecafluorononan-1-ol .............................................                                   755–02–2      CF3(CF2)6CH2CH2OH ..............................                           0.33
                                            3,3,4,4,5,5,6,6,7,7,8,8,9,9,10,10,11,11,11-Nonadecafluoroundecan-1-ol ....................                                            87017–97–8      CF3(CF2)8CH2CH2OH ..............................                           0.19

                                                                                                                                  Fluorinated GHGs With Carbon-Iodine Bond(s)

                                            Trifluoroiodomethane ...................................................................................................               2314–97–8      CF3I ..........................................................             0.4

                                                                                                                       Remaining Fluorinated GHGs with Chemical-Specific GWPs

                                            Dibromodifluoromethane (Halon 1202) ........................................................................                             75–61–6      CBr2F2 ......................................................               231
                                            2-Bromo-2-chloro-1,1,1-trifluoroethane (Halon-2311/Halothane) ................................                                          151–67–7      CHBrClCF3 ...............................................                    41
                                            Heptafluoroisobutyronitrile ............................................................................................              42532–60–5      (CF3)2CFCN .............................................                  2,750
                                            Carbonyl fluoride ..........................................................................................................            353–50–4      COF2 ........................................................              0.14



                                               As proposed, we are also amending                                                      TABLE 3—FLUORINATED GHG                                                    TABLE 3—FLUORINATED GHG
                                            table A–1 to subpart A of part 98 to                                                    GROUPS AND DEFAULT GWPS FOR                                                GROUPS AND DEFAULT GWPS FOR
                                            revise the default GWPs. We are                                                         TABLE A–1—Continued                                                        TABLE A–1—Continued
                                            modifying the default GWP groups to
                                            add a group for saturated CFCs and a                                                                                                             GWP                                                                         GWP
                                            group for cyclic forms of unsaturated                                                          Fluorinated GHG group                             (100-                    Fluorinated GHG group                              (100-
                                            halogenated compounds. Based on the                                                                                                              year)                                                                       year)
                                            numerical differences between the GWP                                                                                                                         Fluorinated aldehydes, fluorinated                            1
                                                                                                                               Saturated hydrofluoroethers (HFEs)                           6,600
                                            for cyclic unsaturated halogenated                                                   and hydrochlorofluoroethers                                                ketones, and non-cyclic forms of
                                            compounds and non-cyclic unsaturated                                                 (HCFEs) with one carbon-hydro-                                             the following: unsaturated PFCs,
                                            halogenated compounds, we are also                                                   gen bond.                                                                  unsaturated HFCs, unsaturated
                                            modifying the ninth F–GHG group to                                                 Saturated HFEs and HCFEs with two                            2,900           CFCs, unsaturated HCFCs, un-
                                            reflect non-cyclic forms of unsaturated                                              carbon-hydrogen bonds.                                                     saturated BFCs, unsaturated
                                            halogenated compounds. The                                                         Saturated HFEs and HCFEs with                                320             BCFCs, unsaturated HBFCs, un-
                                            amendments update the default GWPs                                                   three or more carbon-hydrogen                                              saturated HBCFCs, unsaturated
                                                                                                                                 bonds.                                                                     halogenated ethers, and unsatu-
                                            of each group based on the average of
                                                                                                                               Saturated chlorofluorocarbons                                4,900           rated halogenated esters.
                                            the updated chemical-specific GWPs                                                                                                                            Fluorotelomer alcohols ......................                 1
                                            (adopted from either the IPCC AR5 or                                                 (CFCs).
                                                                                                                                                                                                          Fluorinated GHGs with carbon-iodine                           1
                                            AR6) for the compounds that belong to                                              Fluorinated formates ..........................              350
                                                                                                                                                                                                            bond(s).
                                            that group. We are also finalizing our                                             Cyclic forms of the following: unsatu-                       58            Remaining fluorinated GHGs .............                      1,800
                                                                                                                                 rated perfluorocarbons (PFCs), un-
                                            proposal to rename the fluorinated GHG                                               saturated HFCs, unsaturated
                                            group ‘‘Other fluorinated GHGs’’ to                                                  CFCs, unsaturated                                                        b. Other Revisions To Improve the
                                            ‘‘Remaining fluorinated GHGs.’’ The                                                  hydrochlorofluorocarbons (HCFCs),                                        Quality of Data Collected for Subpart A
                                            new and revised fluorinated GHG                                                      unsaturated bromofluorocarbons                                              The EPA is finalizing several
                                            groups and their new and revised GWPs                                                (BFCs), unsaturated                                                      revisions to improve the quality of data
                                            are listed in table 3 of this preamble.                                              bromochlorofluorocarbons
                                                                                                                                                                                                          collected for subpart A as proposed. In
                                                                                                                                 (BCFCs), unsaturated
                                                                                                                                 hydrobromofluorocarbons                                                  some cases, we are finalizing the
                                                  TABLE 3—FLUORINATED GHG                                                        (HBFCs), unsaturated                                                     proposed amendments with revisions.
                                                GROUPS AND DEFAULT GWPS FOR                                                      hydrobromochlorofluorocarbons                                            First, we are clarifying in 40 CFR
                                                TABLE A–1                                                                        (HBCFCs), unsaturated halo-                                              98.2(i)(1) and (2), as proposed, that the
                                                                                                                                 genated ethers, and unsaturated                                          provision to allow cessation of reporting
                                                                                                                GWP              halogenated esters.                                                      or ‘‘off-ramping,’’ due to meeting either
                                                       Fluorinated GHG group                                    (100-          Fluorinated acetates,                                        25            the 15,000 mtCO2e level or the 25,000
                                                                                                                year)            carbonofluoridates, and fluorinated                                      mtCO2e level for the number of years
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                 alcohols other than fluorotelomer                                        specified in 40 CFR 98.2(i), is based on
                                            Fully fluorinated GHGs ......................                      9,200             alcohols.
                                            Saturated hydrofluorocarbons (HFCs)                                3,000                                                                                      the CO2e reported, calculated in
                                              with two or fewer carbon-hydrogen                                                                                                                           accordance with 40 CFR 98.3(c)(4)(i)
                                              bonds.                                                                                                                                                      (i.e., the annual emissions report value
                                            Saturated HFCs with three or more                                  840                                                                                        as specified in that provision). The final
                                              carbon-hydrogen bonds.                                                                                                                                      amendments also clarify that after an


                                       VerDate Sep<11>2014           19:27 Apr 24, 2024            Jkt 262001        PO 00000         Frm 00015         Fmt 4701           Sfmt 4700    E:\FR\FM\25APR2.SGM           25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 21 of 164
                                            31816              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            owner or operator off-ramps, the owner                     The EPA is finalizing several                         • Adding the acronym ‘‘(GHGs)’’ after
                                            or operator must use equation A–1 to                    revisions to subpart A to incorporate                 the term ‘‘fluorinated greenhouse gas’’
                                            subpart A and follow the requirements                   new and revised source categories. We                 both in the definition of ‘‘greenhouse
                                            of 40 CFR 98.2(b)(4) (the emission                      are revising tables A–3 and A–4 to                    gas or GHG’’ and in the definition of
                                            estimation methods used for                             subpart A to clarify the reporting                    ‘‘fluorinated greenhouse gas’’ to avoid
                                            determination of applicability) in                      applicability for facilities included in              redundancy and potential confusion
                                            subsequent years to determine if                        the new source categories of coke                     between the definitions of ‘‘greenhouse
                                            emissions exceed the 25,000 mtCO2e                      calcining; ceramics manufacturing;                    gas’’ and ‘‘fluorinated greenhouse gas.’’
                                            applicability threshold and whether the                 calcium carbide production;                              • Consistent with the revisions of the
                                            facility or supplier must resume                        caprolactam, glyoxal, and glyoxylic acid              fluorinated GHG groups used to assign
                                            reporting.                                              production; and facilities conducting                 default GWPs discussed in section
                                               Additionally, the EPA is amending 40                 geologic sequestration of carbon dioxide              III.A.1.a. of this preamble, adding a
                                            CFR 98.2(f)(1) and adding new                           with enhanced oil recovery. We are                    definition of ‘‘cyclic’’ as it applies to
                                            paragraph (k) as proposed to clarify the                revising table A–3 to subpart A to add                molecular structures of various
                                            calculation of GHG quantities for                       new subparts that are ‘‘all-in’’ source               fluorinated GHGs; adding definitions of
                                            comparison to the 25,000 mtCO2e                         categories, including subpart VV                      ‘‘unsaturated chlorofluorocarbons
                                            threshold for importers and exporters of                (Geologic Sequestration of Carbon                     (CFCs),’’ ‘‘saturated chlorofluorocarbons
                                            industrial greenhouse gases. The final                  Dioxide with Enhanced Oil Recovery                    (CFCs),’’ ‘‘unsaturated
                                            amendments to 40 CFR 98.2(f)(1) state                   Using ISO 27916) (section III.AA. of this             bromofluorocarbons (BFCs),’’
                                            that importers and exporters must                       preamble), subpart WW (Coke Calciners)                ‘‘unsaturated bromochlorofluorocarbons
                                            include the F–HTFs that are imported or                 (section III.BB. of this preamble),                   (BCFCs),’’ ‘‘unsaturated
                                            exported during the year. New                           subpart XX (Calcium Carbide                           hydrobromofluorocarbons (HBFCs),’’
                                            paragraph (k) specifies how to calculate                Production) (section III.CC. of this                  and ‘‘unsaturated
                                            the quantities of F–GHGs and F–HTFs                     preamble), and subpart YY                             hydrobromochlorofluorocarbons
                                            destroyed for purposes of comparing                     (Caprolactam, Glyoxal, and Glyoxylic                  (HBCFCs)’’; and revising the definition
                                            them to the 25,000 mtCO2e threshold for                 Acid Production) (section III.DD. of this             of ‘‘fluorinated greenhouse (GHG)
                                            stand-alone industrial F–GHG or F–HTF                   preamble). We are revising table A–4 to               group’’ to include the new and revised
                                            destruction facilities. The EPA is also                 add new subpart ZZ (Ceramics                          groups.
                                            finalizing as proposed revisions to 40                  Manufacturing) and assign a threshold                    • Revising the term ‘‘other fluorinated
                                            CFR 98.3(h)(4) to limit the total number                of 25,000 mtCO2e, as proposed. As                     GHGs’’ to ‘‘remaining fluorinated
                                            of days a reporter can request to extend                discussed in section III.EE. of this                  GHGs’’ and to revise the definition of
                                            the time period for resolving a                         preamble, subpart ZZ to part 98 applies               the term to reflect the new and revised
                                            substantive error, either by submitting a               to certain ceramics manufacturing                     fluorinated GHG groups discussed in
                                            revised report or providing information                 processes that exceed a minimum                       section III.A.1.a. of this preamble.
                                            demonstrating that the previously                       production level (i.e., annually consume                 • Revising the definition of
                                            submitted report does not contain the                   at least 2,000 tons of carbonates, either             ‘‘fluorinated heat transfer fluids’’ and
                                            substantive error, to 180 days.                         as raw materials or as a constituent in               moving it from 40 CFR 98.98 to 98.6 to
                                            Specifically, the Administrator will only               clay, heated to a temperature sufficient              harmonize with changes to subpart OO
                                            approve extension requests for a total of               to allow the calcination reaction to                  of part 98 (Suppliers of Industrial
                                            180 days from the initial notification of               occur) and that exceed the 25,000                     Greenhouse Gases) (see section III.U. of
                                            a substantive error. See section III.A.1.               mtCO2e threshold. The revisions to                    this preamble). The revised definition
                                            of the preamble to the 2022 Data Quality                tables A–3 and A–4 to subpart A clarify               (1) explicitly includes industries other
                                            Improvements Proposal for additional                    that these new source categories apply                than electronics manufacturing, and (2)
                                            information on these revisions and their                in RY2025 and future years.                           excludes most HFCs which are widely
                                            supporting basis.                                          The EPA is finalizing several                      used as heat transfer fluids outside of
                                               We are finalizing minor clarifications               revisions to defined terms in 40 CFR                  electronics manufacturing and are
                                            to the reporting and special provisions                 98.6 as proposed to provide further                   regulated under the AIM regulations at
                                            for best available monitoring methods in                clarity. These revisions to definitions               40 CFR part 84.
                                            40 CFR 98.3(k) and (l) as proposed,                     include:                                                 • Consistent with final revisions to
                                            which apply to owners or operators of                      • Revising the definition of ‘‘bulk’’ to           subpart PP (Suppliers of Carbon
                                            facilities or suppliers that first become               clarify that the import and export of gas             Dioxide) (see section III.V. of this
                                            subject to any subpart of part 98 due to                includes small containers and does not                preamble), we are finalizing revisions to
                                            amendment(s) to table A–1 to subpart A.                 exclude a minimum container size                      40 CFR 98.6 to add a definition for
                                            The final requirements revise the term                  below which reporting will not be                     ‘‘Direct air capture’’ and to amend the
                                            ‘‘published’’ to add ‘‘in the Federal                   required (except for small shipments                  definition of ‘‘Carbon dioxide stream.’’
                                            Register as a final rulemaking’’ to clarify             (i.e., those including less than 25                      The EPA is making one revision to the
                                            the EPA’s intent that the requirements                  kilograms)), and to align with the                    definitions in the final rule from
                                            apply to facilities or suppliers that are               definition of ‘‘bulk’’ under the American             proposed to correct the definition of
                                            first subject to the GHGRP in the year                  Innovation and Manufacturing Act of                   ‘‘ASTM’’. This change updates the
                                            after the year the GWP is published as                  2020 (AIM) regulations at 40 CFR part                 definition to include the current name
                                            part of a final rule.                                   84.                                                   of the standards organization, ‘‘ASTM,
                                               The EPA is finalizing an additional                     • Revising the definition of                       International’’.
                                            edit to subpart A to the electronic                     ‘‘greenhouse gas or GHG’’ to clarify the                 Consistent with final revisions to
lotter on DSK11XQN23PROD with RULES2




                                            reporting provisions of 40 CFR 98.5(b).                 treatment of fluorinated greenhouse                   subparts Q (Iron and Steel Production),
                                            The revisions clarify that 40 CFR 98.5(b)               gases by removing the partial list of                 VV (Geologic Sequestration of Carbon
                                            applies to any data that is specified as                fluorinated GHGs currently included in                Dioxide with Enhanced Oil Recovery
                                            verification software records in a                      the definition and to simply refer to the             Using ISO 27916), WW (Coke Calciners),
                                            subpart’s applicable recordkeeping                      definition of ‘‘fluorinated greenhouse                and XX (Calcium Carbide Production),
                                            section.                                                gas (GHG).’’                                          we are finalizing revisions to 40 CFR


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 22 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31817

                                            98.7 to incorporate by reference ASTM                   is not taking final action on subpart B               8.A.1 from the IPCC AR5, and for
                                            International (ASTM) E415–17,                           at this time.                                         certain GHGs without GWP values listed
                                            Standard Test Method for Analysis of                                                                          in AR5, to adopt values from the IPCC
                                                                                                    c. Revisions To Streamline and Improve
                                            Carbon and Low-Alloy Steel by Spark                                                                           AR6. Commenters remarked that the
                                                                                                    Implementation for Subpart A
                                            Atomic Emission Spectrometry (2017)                                                                           updates to the GWP values will be more
                                            (subpart Q); CSA/ANSI ISO 27916:19,                        The EPA is finalizing several                      accurate, align with UNFCCC guidance
                                            Carbon dioxide capture, transportation                  revisions to subpart A proposed in the                and the Inventory, and provide
                                            and geological storage—Carbon dioxide                   2022 Data Quality Improvements                        consistency to reporters who may also
                                            storage using enhanced oil recovery                     Proposal that will streamline and                     report under various voluntary
                                                                                                    improve implementation for part 98.                   standards, such as the GHG Protocol or
                                            (CO2–EOR) (2019) (subpart VV) (as
                                                                                                    First, we are revising tables A–3 and                 Sustainability Accounting Standards
                                            proposed in the 2023 Supplemental
                                                                                                    table A–4 to subpart A to revise the                  Board.
                                            Proposal); ASTM D3176–15 Standard
                                                                                                    applicability of subparts DD (Electrical                 Some commenters requested that the
                                            Practice for Ultimate Analysis of Coal                  Transmission and Distribution                         EPA clarify the effects of changing the
                                            and Coke (2015), ASTM D5291–16                          Equipment Use) and SS (Electrical                     GWP (particularly for CH4) on the
                                            Standard Test Methods for Instrumental                  Equipment Manufacture of                              reported total CO2e emissions, despite
                                            Determination of Carbon, Hydrogen,                      Refurbishment) of part 98 as proposed.                any actual change in mass emissions.
                                            and Nitrogen in Petroleum Products and                  For subpart DD, the final revisions to                The commenters asserted that it is
                                            Lubricants (2016), ASTM D5373–21                        table A–3 change the threshold such                   important to inform stakeholders that
                                            Standard Test Methods for                               that facilities must account for the total            future increases in CO2e emissions due
                                            Determination of Carbon, Hydrogen,                      estimated emissions from F–GHGs, as                   to the change in GWP are not reflective
                                            and Nitrogen in Analysis Samples of                     determined under 40 CFR 98.301                        of any actual mass emission increases
                                            Coal and Carbon in Analysis Samples of                  (subpart DD), for comparison to a                     and may obscure decreases in annual
                                            Coal and Coke (2021), and NIST HB 44–                   threshold equivalent to 25,000 mtCO2e                 mass emissions. The commenters also
                                            2023: Specifications, Tolerances, and                   or more per year. We are also moving                  recommended that the EPA
                                            Other Technical Requirements For                        subpart SS from table A–3 to table A–                 acknowledge how combustion CO2e
                                            Weighing and Measuring Devices, 2023                    4 to subpart A and specifying that                    emissions will be affected.
                                            edition (subpart WW); and ASTM                          subpart SS facilities must account for                   Response: In the final rule, the EPA is
                                            D5373–08 Standard Test Methods for                      emissions of F–GHGs, as determined                    finalizing its proposal (in the 2023
                                            Instrumental Determination of Carbon,                   under the requirements of 40 CFR                      Supplemental Proposal) to adopt the
                                            Hydrogen, and Nitrogen in Laboratory                    98.451 (subpart SS), for comparison to                100-year GWPs from AR5, and for
                                            Samples of Coal (2008) and ASTM C25–                    a threshold equivalent to 25,000 mtCO2e               certain GHGs without GWPs listed in
                                            06, Standard Test Methods for Chemical                  or more per year. The final rule updates              AR5, to adopt values from AR6.
                                            Analysis of Limestone, Quicklime, and                   the threshold of subparts DD and SS to                Regarding the commenters’ concern that
                                            Hydrated Lime (2006) (subpart XX). The                  be consistent with the threshold set for              the change in GWPs may result in
                                            EPA has revised the regulatory text of 40               the majority of subparts under part 98,               apparent, but not real, upward or
                                            CFR 98.7 from proposal to incorporate                   and accounts for additional fluorinated               downward trends in the data, the EPA
                                            these revisions and to reorganize the                   gases (including F–GHG mixtures)                      has always published emissions using
                                            existing referenced ASTM standards in                   reported by industry. For subpart DD,                 consistent GWPs for every year and will
                                            alphanumeric order.                                     these final changes also focus Agency                 continue to do so. Prior to publication,
                                                                                                    resources on the substantial emission                 the EPA updates all reported CO2e
                                               The EPA is not finalizing proposed
                                                                                                    sources within the sector by excluding                values to reflect the current GWP values
                                            amendments to subpart A from the 2022
                                                                                                    facilities or operations that may report              in table A–1 to subpart A of part 98. The
                                            Data Quality Improvements Proposal
                                                                                                    emissions that are consistently and                   CO2e published by the EPA are based on
                                            that correlate with proposed
                                                                                                    substantially below 25,000 mtCO2e per                 the same GWP values across all
                                            amendments to subpart W of part 98                                                                            reporting years. Hence, there will be no
                                            (Petroleum and Natural Gas Systems)                     year. See sections III.Q. and III.Y. of this
                                                                                                    preamble for additional information.                  apparent upward or downward trend in
                                            from the 2022 Data Quality                                                                                    emissions that are due only to a change
                                            Improvements Proposal in this action.                   2. Summary of Comments and                            in a GWP value.
                                            As noted in section I.C. of this                        Responses on Subpart A                                   Comment: A number of commenters
                                            preamble, the EPA has issued a                             This section summarizes the major                  supported the continued use of a 100-
                                            subsequent proposed rule for subpart W                  comments and responses related to the                 year GWP; one commenter stated that
                                            on August 1, 2023, and has reproposed                   proposed amendments to subpart A. See                 the 100-year GWP is consistent with
                                            related amendments to subpart A in that                 the document ‘‘Summary of Public                      Article 2 of the UNFCCC and that any
                                            action. Additionally, the EPA is not                    Comments and Responses for 2024 Final                 movement to a framework that reduces
                                            taking final action at this time on                     Revisions and Confidentiality                         the mitigation focus on CO2 emissions
                                            proposed amendments to subpart A                        Determinations for Data Elements under                and adds to long-term warming
                                            from the 2023 Supplemental Proposal                     the Greenhouse Gas Reporting Rule’’ in                potential compared to the 100-year GWP
                                            that were proposed harmonizing                          Docket ID. No. EPA–HQ–OAR–2019–                       framework would not be well justified.
                                            revisions intended to integrate proposed                0424 for a complete listing of all                    Several commenters specifically
                                            subpart B (Energy Consumption),                         comments and responses related to                     commented on the proposed GWP for
                                            including proposed reporting and                        subpart A.                                            CH4; a number of commenters generally
                                            recordkeeping under 40 CFR 98.2(a)(1),                                                                        supported revising the CH4 GWP value
lotter on DSK11XQN23PROD with RULES2




                                            98.3(c)(4), and 98.3(g)(5). Finally, we are             a. Comments on Revisions To Global                    from 25 to 28 using the 100-year GWP.
                                            not taking final action, at this time, on               Warming Potentials                                    Other commenters recommended that
                                            proposed amendments to 40 CFR 98.7 to                      Comment: Several commenters                        the EPA consider incorporating GWP
                                            incorporate by reference standards for                  supported the proposed revisions to                   values on multiple time horizons in the
                                            electric metering. As discussed in                      table A–1 to subpart A to update the                  reporting requirement, or when
                                            section III.B. of this document, the EPA                GWP values to use values from table                   publicizing reported emissions. One


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 23 of 164
                                            31818              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            commenter stated that the 100-year                      widely accepted by the international                  program. One commenter requested the
                                            GWP does not capture the near-term                      community. If the EPA were to adopt a                 EPA restart the 180-day extension
                                            potency of short-lived gases like                       20-year GWP solely for CH4, or for                    request opportunity for each instance in
                                            methane and hydrogen and is                             certain other compounds, it would                     which an operator is notified of a
                                            insufficient to reflect a pollutant’s                   introduce a metric that is inconsistent               substantive error or rejected correction
                                            warming power over time. Commenters                     with both the GWPs used for the                       (e.g., if a correction is rejected, if
                                            requested that the EPA incorporate the                  remaining table A–1 gases and with the                additional corrections are requested, if
                                            use of additional time horizons, such as                reporting guidelines issued by the                    corrections span more than one
                                            the 20-year GWP, to acknowledge the                     UNFCCC and used by the Inventory and                  reporting year, or if EPA responses to
                                            near-term warming potency of short-                     other EPA programs. Additionally, the                 operator questions are delayed).
                                            lived gases such as CH4, because they                   EPA and other Federal agencies, which                    Response: The EPA expects that 180
                                            play a critical role in driving the rate of             calculate the impact of short-lived GHGs              days is a reasonable amount of time for
                                            warming for the near future.                            using 100-year GWPs, are making                       a facility to examine company records,
                                            Commenters argued that the 20-year                      reduction of short-lived GHGs a priority,             gather additional data, and/or perform
                                            GWP more accurately represents the                      such as through the U.S. Global                       recalculations to submit a revised report
                                            powerful, short-term impact of methane                  Methane Initiative. In addition, it is                or provide the necessary information
                                            on the atmosphere. Commenters noted                     beneficial for both regulatory agencies               such that the report may be verified.
                                            that this would also align with several                 and industry to use the same GWP                      This represents more than four 30-day
                                            state regulatory programs, including                    values for these GHG compounds                        additional extensions beyond the initial
                                            California, New York, and New Jersey,                   because it allows for more efficient                  45-day period. As noted in the preamble
                                            that currently consider 20-year GWPs.                   review of data collected through the                  to the final rule promulgated on October
                                            Commenters stressed that adopting                       GHGRP and other U.S. climate                          30, 2009 (74 FR 52620, hereafter
                                            short-lived climate pollutant strategies                programs, reduces potential errors that               referred to as the ‘‘2009 Final Rule’’),
                                            and emissions controls to limit near-                   may arise when comparing multiple                     the EPA concluded that this initial 45-
                                            term warming is critical from a policy                  data sets or converting GHG emissions                 day period would be sufficient since
                                            perspective and directly relevant to the                or supply based on separate GWPs, and                 facilities have three months from the
                                            EPA’s efforts under the Clean Air Act.                  reduces the burden for reporters and                  end of a reporting period to submit the
                                            Commenters also requested that historic                 agencies to keep track of separate GWPs.              initial annual report and have already
                                            inventories be updated to reflect the role              For the reasons described above, the                  collected and retained data needed for
                                            that short-lived climate pollutants play                EPA is retaining a 100-year time horizon              the analyses, so revisions to address a
                                            and to demonstrate that near-term CH4                   as the standard metric for defining                   known error would likely require less
                                            emissions reductions are as important as                GWPs in the GHGRP.                                    time (see 74 FR 56278). A subsequent
                                            long-term CO2 reductions.                                                                                     series of extensions of up to an
                                                                                                    b. Comments on Other Revisions To                     additional 135 days is a reasonable
                                               Response: As has been the case since                 Improve the Quality of Data Collected                 amount of time to accommodate any
                                            the inception of the GHGRP, we are                      for Subpart A                                         additional changes that may be needed
                                            finalizing 100-year GWPs for all GHGs.                     Comment: Several commenters                        to the revision.
                                            As noted in the ‘‘Response to Comments                  opposed the EPA’s proposed revisions
                                            on Final Rule, Volume 3: General                        to 40 CFR 98.3(h)(4) to limit the total               B. Subpart B—Energy Consumption
                                            Monitoring Approach, the Need for                       number of days a reporter can request to                 The EPA is not taking final action on
                                            Detailed Reporting, and Other General                   extend the time period for resolving a                the proposed addition of subpart B of
                                            Rationale Comments’’ (see Docket ID.                    substantive error, either by submitting a             part 98 (Energy Consumption) in this
                                            No. EPA–HQ–OAR–2008–0508–2260),                         revised report or providing information               final rule. The EPA received a number
                                            the EPA selected the 100-year GWPs                      demonstrating that the previously                     of comments for proposed subpart B.
                                            because these values are the                            submitted report does not contain the                 See the document ‘‘Summary of Public
                                            internationally accepted standard for                   substantive error, to 180 days.                       Comments and Responses for 2024 Final
                                            reporting GHG emissions. For example,                   Commenters requested that the Agency                  Revisions and Confidentiality
                                            the parties to the UNFCCC agreed to use                 not put an inflexible cap on the number               Determinations for Data Elements under
                                            GWPs that are based on a 100-year time                  of days to resolve reporting issues; the              the Greenhouse Gas Reporting Rule’’ in
                                            period for preparing national                           commenters asserted that the extensions               Docket ID. No. EPA–HQ–OAR–2019–
                                            inventories, and the reports submitted                  can be helpful for newly affected                     0424 for a complete listing of all
                                            by other signatories to the UNFCCC use                  sources, when there is a change in                    comments and responses related to
                                            GWPs based on a 100-year time period,                   facility ownership, and in other                      proposed subpart B.
                                            including the GWP for CH4 and certain                   situations. One commenter stated that                    In the 2022 Data Quality
                                            GHGs identified as short-lived climate                  the proposed revision may result in                   Improvements Proposal, the EPA
                                            pollutants. These values were                           arbitrarily short time-periods in which               requested comment on collecting data
                                            subsequently adopted and used in                        an operator may correct an error,                     on energy consumption in order to
                                            multiple EPA climate initiatives,                       especially in cases where the correction              improve the quality of the data collected
                                            including the EPA’s Significant New                     may not be accepted. The commenter                    under the GHGRP. Specifically, we
                                            Alternatives Policy (SNAP) program and                  contended that the EPA must add                       provided background on the EPA’s
                                            the Inventory, as well as EPA voluntary                 additional language to clarify that the               original request for comment on the
                                            reduction partnerships (e.g., Natural Gas               180-day limit will restart if the                     collection of data related to electricity
                                            STAR). Human-influenced climate                         correction is not accepted. Commenters                consumption in the development of part
lotter on DSK11XQN23PROD with RULES2




                                            change occurs on both short (decadal)                   also requested that the EPA increase the              98 and the EPA’s response in the 2009
                                            and long (millennial) time scales. While                limit of the total number of days a                   Final Rule, and requested comment on
                                            there is no single best way to value both               reporter can request an extension                     whether and how the EPA should
                                            short- and long-term impacts in a single                beyond the proposed 180 days to                       collect energy consumption data in
                                            metric, the 100-year GWP is a                           provide reporters more time to work                   order to support data analyses related to
                                            reasonable approach that has been                       through the new provisions in the                     informing voluntary energy efficiency


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 24 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31819

                                            programs, provide information on                        related to energy consumption in a                    weight of the fuel, in order to convert
                                            industrial sectors where currently little               future rulemaking. Therefore, none of                 the fuel flow to the appropriate units of
                                            data are reported to GHGRP, and inform                  the proposed requirements related to                  measure. The final rule includes
                                            quality assurance/quality control (QA/                  subpart B are included in this final rule.            corrections to the proposed paragraph
                                            QC) of the Inventory. We requested                      The EPA is also not taking final action               references included in the definition of
                                            comment on specific considerations for                  on related amendments to subpart A                    the variable ‘‘MW’’ (i.e., molecular
                                            the potential addition of the energy                    (General Provisions) of part 98 that were             weight) to equation C–5.
                                            consumption source category (see                        proposed harmonizing changes for the                     The EPA is also finalizing as proposed
                                            section IV.F. of the preamble to the 2022               implementation subpart B, including                   revisions to provisions pertaining to the
                                            Data Quality Improvements Proposal for                  reporting requirements, as discussed in               calculation of biogenic emissions from
                                            additional information).                                section III.A.1.b. of this preamble.                  tire combustion. These revisions
                                               Following consideration of comments                                                                        include:
                                            received in response to the EPA’s                       C. Subpart C—General Stationary Fuel                     • Removing the additional provision
                                            request for comment, we subsequently                    Combustion                                            in 40 CFR 98.33(b)(1)(vii) on how to
                                            proposed, in the 2023 Supplemental                         The EPA is finalizing several                      apply the threshold to only municipal
                                            Proposal, the addition of subpart B to                  amendments to subpart C of part 98                    solid waste (MSW) fuel when MSW and
                                            part 98. At that time, we reiterated our                (General Stationary Fuel Combustion) as               tires are both combusted and the
                                            interest in collecting data on energy                   proposed. In some cases, we are                       reporter elects not to separately
                                            consumption to gain an improved                         finalizing the proposed amendments                    calculate and report biogenic CO2
                                            understanding of the energy intensity                   with revisions. In other cases, we are                emissions from the combustion of tires,
                                            (i.e., the amount of energy required to                 not taking final action on the proposed               since biogenic CO2 emissions from tire
                                            produce a given level of product or                     amendments. Section III.C.1. of this                  combustion must now be calculated and
                                            activity, both through on-site energy                   preamble discusses the final revisions to             reported in all cases;
                                            produced from fuel combustion and                       subpart C. The EPA received several                      • Removing the language in 40 CFR
                                            purchased energy) of specific facilities                comments on the proposed subpart C                    98.33(e) and 98.36(e)(2)(xi) referring to
                                            or sectors, and to better inform our                    revisions which are discussed in section              optional biogenic CO2 emissions
                                            understanding of energy needs and the                   III.C.2. of this preamble. We are also                reporting from tire combustion;
                                            potential indirect GHG emissions                        finalizing as proposed confidentiality                   • Removing the restriction in 40 CFR
                                            associated with certain sectors. The                    determinations for new data elements                  98.33(e)(3)(iv) that the default factor that
                                            proposed rule included specific                         resulting from the final revisions to                 is used to determine biogenic CO2
                                            monitoring and reporting requirements                   subpart C, as described in section VI. of             emissions may only be used to estimate
                                            for direct emitting facilities that report              this preamble.                                        the annual biogenic CO2 emissions from
                                            under part 98 and purchase metered                                                                            the combustion of tires if the
                                                                                                    1. Summary of Final Amendments to                     combustion of tires represents ‘‘no more
                                            electricity or metered thermal energy
                                                                                                    Subpart C                                             than 10 percent annual heat input to a
                                            products. In the proposed rule, the EPA
                                            outlined a source category definition,                     This section summarizes the final                  unit’’;
                                            rationale for the proposed applicability                amendments to subpart C. Major                           • Revising 40 CFR 98.33(e)(3)(iv)(A)
                                            of the subpart to direct emitting                       changes to the final rule as compared to              so that total annual CO2 emissions will
                                            facilities in lieu of a threshold, and                  the proposed revisions are identified in              be calculated using the applicable
                                            specific monitoring, missing data,                      this section. The rationale for these and             methodology in 40 CFR 98.33(a)(1)
                                            recordkeeping, and reporting                            any other changes to 40 CFR part 98,                  through (3) for units using Tier 1
                                            requirements. The EPA did not propose                   subpart C can be found in this section                through 3 for purposes of 40 CFR
                                            requirements for facilities to calculate or             and section III.C.2. of this preamble.                98.33(a), and using the Tier 1
                                            report indirect emissions estimates                     Additional rationale for these                        calculation methodology in 40 CFR
                                            associated with purchased metered                       amendments is available in the                        98.33(a)(1) for units using the Tier 4 or
                                            electricity or metered thermal energy                   preamble to the 2022 Data Quality                     part 75 calculation methodologies for
                                            products. Additional information on the                 Improvements Proposal and 2023                        purposes of 40 CFR 98.33(a), when
                                            proposed amendments is available in                     Supplemental Proposal.                                determining the biogenic component of
                                            the preamble to the 2023 Supplemental                   a. Revisions To Improve the Quality of                MSW and/or tires under 40 CFR
                                            Proposal.                                               Data Collected for Subpart C                          98.33(e)(3)(iv);
                                               In response to the 2022 Data Quality                                                                          • Revising 40 CFR 98.33(e)(3)(iv)(B)
                                            Improvements Proposal and the 2023                         The EPA is finalizing several                      to update the default factor that is used
                                            Supplemental Proposal, the EPA                          revisions to improve the quality of data              to determine biogenic CO2 emissions
                                            received many comments on the                           collected for subpart C. First, the EPA is            from the combustion of tires from 0.20
                                            proposed subpart from a variety of                      finalizing modifications to the Tier 3                to 0.24; and
                                            stakeholders providing input on the                     calculation methodology, including                       • Correcting 40 CFR 98.34(d) to
                                            definition, applicability criteria,                     revisions to 40 CFR 98.33(a)(3)(iii) to               reference 40 CFR 98.33(e)(3)(iv) instead
                                            monitoring, reporting, recordkeeping,                   provide new equations C–5A and C–5B,                  of 40 CFR 98.33(b)(1)(vi) and (vii) and
                                            and additional requirements of the                      as proposed. The updated equations                    correcting 40 CFR 98.33(e)(1) to delete
                                            source category, as proposed, as well as                provide for calculating a weighted                    the parenthetical clause ‘‘(except MSW
                                            a number of comments on the EPA’s                       annual average carbon content and a                   and tires).’’
                                            authority to collect the energy                         weighted annual average molecular                        These final revisions will update the
                                            consumption data proposed under                         weight, respectively, and correct the                 default factor to be based on more recent
lotter on DSK11XQN23PROD with RULES2




                                            subpart B. The EPA is not taking final                  calculation method for Tier 3 gaseous                 data collected on the average
                                            action on proposed subpart B at this                    fuels. The new equations incorporate                  composition of natural rubber in tires,
                                            time. The EPA intends to further review                 the molar volume conversion factor at                 remove potentially confusing or
                                            and consider these comments and other                   standard conditions (as defined at 40                 conflicting requirements, and result in a
                                            relevant information and may consider                   CFR 98.6) and, for annual average                     more accurate characterization of
                                            any next steps on the collection of data                carbon content, the measured molecular                biogenic emissions from these sources.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 25 of 164
                                            31820              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            See section III.B.1. of the preamble to                 reporters who do not use the electronic               amendments to subpart W (Petroleum
                                            the 2022 Data Quality Improvements                      inputs verification tool (IVT) within the             and Natural Gas Systems). As noted in
                                            Proposal for additional information on                  e-GGRT). We are finalizing revisions to               section I.C. of this preamble, the EPA
                                            these revisions and their supporting                    the 40 CFR 98.37(b) introductory                      has issued a subsequent proposed rule
                                            basis. The EPA is also finalizing one                   paragraph and paragraphs (b)(9) through               for subpart W on August 1, 2023 and
                                            additional revision related to the                      (11), (14), (18), (20), (22), and (23) to             has reproposed related amendments to
                                            estimation of biogenic emissions after                  specify recordkeeping data that is                    subpart C in that separate action.
                                            consideration of comments received on                   currently contained in the file generated
                                                                                                                                                          b. Revisions To Streamline and Improve
                                            the 2022 Data Quality Improvements                      by the verification software that is
                                                                                                                                                          Implementation for Subpart C
                                            Proposal. Commenters requested that                     already required to be retained by
                                            the EPA expand the monitoring                           reporters under 40 CFR 98.37(b). These                   The EPA is finalizing all revisions to
                                            requirements at 40 CFR 98.34(e) to                      revisions correct omissions that                      streamline and improvement
                                            include all combined biomass and fossil                 currently exist in the verification                   implementation for subpart C as
                                            fuels and to allow for testing at one                   software recordkeeping requirements                   proposed. Specifically, the EPA is
                                            source when a common fuel is                            specific to equations C–2a, C–2b, C–3,                finalizing (1) amendments to 40 CFR
                                            combusted. The EPA agrees that testing                  C–4, and C–5. They also align the                     98.34(c)(6) to allow cylinder gas audits
                                            one emission source is reasonable when                  verification software recordkeeping                   (CGAs) to be performed using
                                            multiple combustion units are fed from                  requirements with the final revisions to              calibration gas concentrations of 40–60
                                            a common fuel source. Accordingly, the                  equation C–5 at 40 CFR 98.33(a)(3)(iii).              percent and 80–100 percent of CO2
                                            EPA is revising 40 CFR 98.34(e) to allow                   In the 2022 Data Quality                           span, whenever the required CO2 span
                                            for quarterly ASTM D6866–16 and                         Improvements Proposal, we proposed                    value for a flue gas does is not
                                            ASTM D7459–08 testing of one                            additional reporting requirements, for                appropriate for the prescribed audit
                                            representative unit for a common fuel                   each unit greater than or equal to 10                 ranges in appendix F of 40 CFR part 60;
                                            source for all combined biomass (or                     mmBtu/hour in either an aggregation of                and (2) amendments to provisions in 40
                                            fuels with a biomass component) and                     units or common pipe configuration.                   CFR 98.36(c)(1)(vi) and 98.36(c)(3)(vi) to
                                            fossil fuels. See section III.C.2. of this              The proposed reporting included, for                  remove language requiring that facilities
                                            preamble for additional information on                  each individual unit with maximum                     with the aggregation of units or common
                                            related comments and the EPA’s                          rated heat input capacity greater than or             pipe configuration types report the total
                                            response.                                               equal to 10 mmBtu/hour included in the                annual CO2 mass emissions from all
                                               We are finalizing corrections to the                 group, the unit type, maximum rated                   fossil fuels combined. See section
                                            variable ‘‘R’’ in equation C–11. The term               heat input capacity, and an estimate of               III.B.2. of the preamble to the 2022 Data
                                            ‘‘R’’ is currently defined as ‘‘The                     the fraction of the total group annual                Quality Improvements Proposal for
                                            number of moles of CO2 released upon                    heat input attributable to each unit                  additional information on these changes
                                            capture of one mole of the acid gas                     (proposed 40 CFR 98.36(c)(1)(ii) and                  and their supporting basis.
                                            species being removed (R = 1.00 when                    (c)(3)(xi)). Following consideration of
                                                                                                                                                          2. Summary of Comments and
                                            the sorbent is CaCO3 and the targeted                   public comments, the EPA is not taking
                                                                                                    final action on the proposed reporting                Responses on Subpart C
                                            acid gas species is SO2)’’ and is being
                                            amended to ‘‘The number of moles of                     requirements (i.e., identifying the unit                 This section summarizes the major
                                            CO2 released per mole of sorbent used                   type, maximum rated heat input                        comments and responses related to the
                                            (R = 1.00 when the sorbent is CaCO3 and                 capacity, and fraction of the total annual            proposed amendments to subpart C. See
                                            the targeted acid gas species is SO2).’’                heat input for each unit in the                       the document ‘‘Summary of Public
                                            We are finalizing amendments to 40                      aggregation of unit or common pipe).                  Comments and Responses for 2024 Final
                                            CFR 98.33(c)(6)(i), (ii), (ii)(A), and                  See section III.C.2. of this preamble for             Revisions and Confidentiality
                                            (iii)(C), and to remove and reserve 40                  a summary of the related comments and                 Determinations for Data Elements under
                                            CFR 98.33(c)(6)(iii)(B) (to clarify the                 the EPA’s response.                                   the Greenhouse Gas Reporting Rule’’ in
                                            methods used to calculate CH4 and N2O                      In the 2023 Supplemental Proposal,                 Docket ID. No. EPA–HQ–OAR–2019–
                                            emissions for blended fuels when heat                   the EPA proposed to add a requirement                 0424 for a complete listing of all
                                            input is determined after the fuels are                 to report whether the unit is an EGU for              comments and responses related to
                                            mixed and combusted), as proposed.                      each configuration that reports                       subpart C.
                                               The EPA identified one additional                    emissions, under either the individual                   Comment: One commenter provided a
                                            minor correction to subpart C in review                 unit provisions at 40 CFR 98.36(b)(12)                correction to the proposed revisions to
                                            of changes for the final rule.                          or the multi-unit provisions at 40 CFR                equation C–5 related to the revisions to
                                            Subsequently, we are correcting the                     98.36(c)(1)(xii), (c)(2)(xii), and                    the Tier 3 calculation methodology. The
                                            definition of the term emission factor                  (c)(3)(xii). For multi-unit reporting                 commenter noted that the proposed
                                            ‘‘EF’’ in equation C–10 from ‘‘Fuel-                    configurations, we also proposed adding               revisions to variable ‘‘MW’’ of equation
                                            specific emission factor for CH4 or N2O,                a requirement for facilities to report an             C–5 which specify the procedures to be
                                            from table C–2 of this section’’ to ‘‘Fuel-             estimated decimal fraction of total                   used to determine the annual average
                                            specific emission factor for CH4 or N2O,                emissions from the group that are                     molecular weight included an incorrect
                                            from table C–2 to this subpart.’’                       attributable to EGU(s) included in the                reference to paragraphs (a)(3)(iii)(A)(3)
                                               The EPA is finalizing as proposed two                group. Following consideration of                     and (4), and should point to
                                            additional clarifications to the reporting              public comments, the EPA is not taking                (a)(3)(iii)(B)(1) and (2).
                                            and recordkeeping requirements. We are                  final action on the proposed revisions to                Response: We agree that the proposal
                                            revising the first sentence of 40 CFR                   the reporting requirements in this rule.              inadvertently contained incorrect cross-
lotter on DSK11XQN23PROD with RULES2




                                            98.36(e)(2)(ii)(C) to clarify that both the             See section III.C.2. of this preamble for             references for the variable ‘‘MW’’ of
                                            annual average, and where applicable,                   a summary of the related comments and                 equation C–5, and the EPA has
                                            monthly high heat values are required to                the EPA’s response.                                   corrected these cross-references in the
                                            be reported. This change clarifies that                    The EPA is also not taking final action            final rule.
                                            the annual average high heat value is                   in this final rule on proposed revisions                 Comment: Commenters generally
                                            also a reporting requirement (for                       to subpart C correlated with proposed                 supported the EPA’s proposed revisions


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 26 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31821

                                            to update the calculation methodology                   of industrial sectors. One commenter                  actual heat input may vary based on age
                                            for biogenic emissions from tire                        asserted that the requirement should be               of the unit; how it is utilized in
                                            combustion. One commenter requested                     extended to facilities that report using              processes for steam, cooling, or other
                                            that the EPA consider expanding the                     the common stack configuration or the                 purposes; and the high heating value of
                                            requirements of 40 CFR 98.34(e), which                  alternative part 75 configuration, which              fuel during certain operating periods.
                                            requires quarterly testing to determine                 would ensure that all emissions under                 Another commenter questioned whether
                                            biogenic CO2 when biomass and non-                      the subpart are similarly affected by the             the estimation technique proposed
                                            biogenic fuels are co-fired in a unit. The              proposed revisions and would provide a                would likely undermine the reported
                                            commenter noted that 40 CFR 98.34(e)                    full picture of the GHG abatement                     data or compromise the integrity of
                                            currently allows for testing of a single                potential of various source categories.               actual values that are currently reported.
                                            representative unit for facilities with                 Commenters also requested the EPA                     Commenters asserted that the
                                            multiple units in which tires are the                   consider lowering or eliminate the size               requirements would have potentially
                                            primary fuel combusted and the units                    threshold below 10 mmBtu/hour; the                    very limited value and may detract from
                                            are fed from a common fuel source. The                  commenter stated that although smaller                the GHG emission estimates that
                                            commenter noted that for facilities with                units do not account for a large share of             regulated facilities produce for the EPA
                                            multiple units combusting the same                      total capacity, they often present the                or other proposed Federal rules.
                                            fuel, testing each source quarterly                     most viable opportunities for                            Commenters also expressed that the
                                            imposes an additional burden without                    greenhouse gas emissions abatement                    proposed requirements would be overly
                                            enhancing the accuracy of reported                      such as electrification with heat pump                burdensome and significantly increase
                                            emissions. The commenter requested                      technology.                                           the recordkeeping and reporting burden.
                                            that the EPA expand the provisions to                                                                         One commenter specifically referred to
                                                                                                       Other commenters opposed the
                                            include all combined biomass and fossil                                                                       the requirement for facilities to estimate
                                                                                                    proposed requirements. Opposing
                                            fuels and to allow for testing one                                                                            the total annual input of each unit
                                                                                                    commenters stated that the EPA’s
                                            representative unit when fuel from a                                                                          expressed as a decimal fraction based on
                                                                                                    explanation for collecting the data was
                                            common fuel source is combusted.                                                                              the actual heat input of each unit
                                                                                                    ambiguous and did not sufficiently
                                              Response: The EPA acknowledges the                                                                          compared to the whole; the commenter
                                                                                                    explain what data gaps are missing or
                                            commenter’s support for the proposed                                                                          stated that this requirement would
                                                                                                    how the collection of the additional
                                            revisions. The EPA agrees with the                                                                            essentially negate the time efficiencies
                                                                                                    information would resolve issues within               gained by reporting the aggregated
                                            commenter that testing one emission
                                            source when multiple emission sources                   the currently collected data. One                     group, especially for reporters using the
                                            are fed from a common fuel source                       commenter opposed disaggregating total                common pipe configuration. The
                                            should be allowed for all combined                      emissions from the grouped combustion                 commenter stated that this would
                                            biomass (or fuels with a biomass                        equipment, asserting that aggregating                 essentially require that heat inputs be
                                            component) and fossil fuels.                            the emissions by individual equipment                 calculated for each piece of equipment
                                            Accordingly, the EPA has finalized                      (excluding units rated less than 10                   each year and could result in a ten-fold
                                            quarterly ASTM D6866–16 and ASTM                        mmBtu/hour) using estimation                          increase in burden for reporters using
                                            D7459–08 testing of one representative                  techniques would not provide useful                   the common pipe method. Commenters
                                            unit for multiple units fed from a                      information. Several commenters                       urged that the maximum rated heat
                                            common fuel source, for all combined                    asserted that the proposed approach                   input of each unit in the aggregated
                                            biomass (or fuels with a biomass                        could not reliably provide accurate                   group and operating hours should
                                            component) and fossil fuels.                            estimates of actual heat input and is                 provide enough information for the EPA
                                              Comment: Some commenters                              likely not to be technically feasible. For            to reasonably approximate emissions for
                                            supported the EPA’s proposal to revise                  example, one commenter stated that the                individual equipment.
                                            40 CFR 98.36(c)(1) and (3) to require                   physical configuration of certain lime                   Response: Upon careful
                                            reporting of additional information for                 plants would preclude accurate unit-                  consideration, the EPA has decided not
                                            each unit in either an aggregation of                   specific estimates of actual heat input,              to take final action on the proposed
                                            units or common pipe configuration                      as the facilities lack certified calibrated           reporting requirements for each unit
                                            (excluding units with maximum rated                     meters on a kiln-by-kiln basis and rely               greater than or equal to 10 mmBtu/hour
                                            heat input capacity less than 10 mmBtu/                 on quantifying solid fuel usage based on              in either an aggregation of units or
                                            hour), including the unit type,                         surveys of on-site stockpiles. The                    common pipe configuration (the unit
                                            maximum rated heat input capacity, and                  commenter added that facility-wide                    type, maximum rated heat input
                                            an estimate of the fraction of the total                reporting of combustion emissions                     capacity, and an estimate of the fraction
                                            annual heat input to the unit. These                    satisfies the EPA’s objective of                      of the total annual heat input
                                            commenters agreed that unit-specific                    developing facility-wide emissions                    attributable to each unit in the group)
                                            data is necessary to understand both the                information, and additional unit-level                (proposed 40 CFR 98.36(c)(1)(ii) and
                                            distribution of emissions across unit                   information is superfluous and of                     (c)(3)(xi)) at this time. We note that the
                                            types and sizes, but also the abatement                 limited value. Other commenters stated                EPA disagrees that estimating the
                                            potential through various                               that individual fuel meters are not                   fraction of the actual total annual heat
                                            decarbonization strategies (e.g., certain               common, asserting that annual heat                    input for each unit in the group, based
                                            abatement strategies may be better                      input for individual units is often                   on company records, will be overly
                                            suited for certain unit types and uses).                estimated based on the maximum high                   burdensome to reporters. ‘‘Company
                                            The commenters stated that the                          heat input rating and operating hours.                records’’ is defined in the existing part
                                            requested data could assist the EPA in                  One commenter stated that the heat                    98 regulations at 40 CFR 98.6 to mean,
lotter on DSK11XQN23PROD with RULES2




                                            the development of NSPS or EG under                     input records maintained by facilities                ‘‘in reference to the amount of fuel
                                            CAA section 111. The commenters                         do not necessarily correspond to the                  consumed by a stationary combustion
                                            noted that, given the prevalence of                     actual heat input of a unit, especially for           unit (or by a group of such units), a
                                            reporting using combined                                industries that use batching with                     complete record of the methods used,
                                            configurations, this data would fill large              different process equipment for different             the measurements made, and the
                                            data gaps in the current characterization               products. That commenter asserted that                calculations performed to quantify fuel


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 27 of 164
                                            31822              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            usage. Company records may include,                        Two commenters supported the EPA’s                 determination of the portion of GHG
                                            but are not limited to, direct                          proposed requirement to allow                         emissions that are attributable to the
                                            measurements of fuel consumption by                     operators to use an engineering estimate              combustion unit(s) producing the steam
                                            gravimetric or volumetric means, tank                   of the percentage of combustion                       that is used in an on-site EGU (among
                                            drop measurements, and calculated                       emissions attributable to facility                    other processes) would additionally
                                            values of fuel usage obtained by                        electricity generation. However, another              require the estimation of the type and
                                            measuring auxiliary parameters such as                  commenter disagreed, stating that the                 quantity of fuel used by each
                                            steam generation or unit operating                      EPA did not describe how a reporter                   combustion unit for the purposes of
                                            hours. Fuel billing records obtained                    would identify such a fraction. The                   producing the steam used to generate
                                            from the fuel supplier qualify as                       commenter added that the EPA failed to                electricity. For this reason we are not
                                            company records.’’ The broad definition                 take into account that emissions from a               taking final action on these
                                            of company records would afford                         single combustion unit might provide                  requirements in this rule.
                                            reporters considerable flexibility when                 steam to multiple consumers for                       D. Subpart F—Aluminum Production
                                            it comes to estimating the fraction of the              multiple purposes, only a portion of
                                            actual total annual heat input for each                 which includes on-site electricity                       We are not taking final action on any
                                            unit in the group. The EPA may                          generation. The commenter expressed                   proposed amendments to subpart F of
                                            consider such reporting requirements in                 concerns that, if the rule is finalized as            part 98 (Aluminum Production) in this
                                            future rulemakings.                                     proposed, the methods to determine                    action. In the 2022 Data Quality
                                               Comment: Two commenters stated                       electricity-related emissions by fraction             Improvements Proposal, the EPA
                                            that EGUs should not be reported under                  could become subject to numerous other                requested comment on several issues
                                            subpart C and are already reported                      requirements, such as calculations for                related to determining emissions from
                                            under subpart D (Electricity                            GHG emissions, monitoring and QA/QC                   aluminum production. Specifically, the
                                            Generation); one commenter asserted                     requirements, data reporting, and record              EPA requested information on the
                                            that it is unclear from the proposal how                retention obligations.                                extent to which low voltage emissions
                                            reporting these emissions under subpart                                                                       have been characterized, if data are
                                                                                                       Response: The EPA is not taking final              available to develop guidance on low
                                            C would not be duplicative. One of the
                                                                                                    action on the proposed addition of a                  voltage emission measurements, and on
                                            two commenters additionally stated that
                                                                                                    new indicator that would identify units               the use of the non-linear method as an
                                            EGUs are not specifically defined in
                                                                                                    as electricity generating units at this               alternative to the slope coefficient and
                                            subparts A or C of part 98, and that the
                                            EPA should provide clarification on the                 time. Furthermore, the EPA is not taking              overvoltage methods currently allowed
                                            definition of EGUs. The commenter                       final action on the additional                        in subpart F. The EPA received
                                            added that the proposed requirement                     requirement for reporting an estimate of              comments on these issues but is not
                                            would impose burden and regulatory                      a group’s total reported emissions                    taking final action on any changes to the
                                            confusion because of the conflicting                    attributable to electricity generation at             measurement methodology for subpart F
                                            definitions in, and applicability of,                   this time. As discussed in the preamble               at this time.
                                            other EPA regulatory programs which                     to the 2023 Supplemental Proposal,                       In the 2023 Supplemental Proposal,
                                            traditionally have regulated EGUs                       under the current subpart C reporting                 the EPA proposed revisions to the
                                            separately from non-EGU combustion                      requirements, the EPA cannot currently                reporting requirements at 40 CFR
                                            sources. The commenter stated that 40                   determine the quantity of EGU                         98.66(a) and (g) to require that facilities
                                            CFR 98.36(f) already requires sources to                emissions included in the reported total              report the facility’s annual production
                                            identify if they are tied to an entity                  emissions for the subpart. Although                   capacity and annual days of operation
                                            regulated by any public utility                         some facilities currently indicate                    for each potline. We noted at that time
                                            commission.                                             whether certain stationary fuel                       that the capacity of the facility and
                                               Another commenter suggested a                        combustion sources are connected to a                 capacity utilization would provide
                                            definition for EGUs that aligns with a                  fuel-fired electric generator in 40 CFR               useful information for understanding
                                            footnote to table A–7 to subpart A that                 98.36(f), this requirement only captures              variations in annual emissions and
                                            defines EGUs for sources reporting                      a subset of subpart C EGU emissions.                  emission trends across the sector. The
                                            under subpart C as ‘‘a fuel-fired electric              The EPA therefore intended the                        EPA received several comments on the
                                            generator owned or operated by an                       proposed reporting requirements to                    proposed subpart F revisions. Following
                                            entity that is subject to regulation of                 identify other EGUs reporting under                   consideration of comments received, we
                                            customer billing rates by the public                    subpart C in order to improve our                     are not taking final action on the
                                            utilities commission (excluding                         understanding of subpart C EGU GHG                    proposed revisions at this time.
                                            generators connected to combustion                      emissions and the attribution of GHG                  However, the EPA may consider similar
                                            units subject to 40 CFR part 98, subpart                emissions to the power plant sector.                  changes to reporting requirements in a
                                            D) and that are located at a facility for               However, we agree with commenters                     future rulemaking. See the document
                                            which the sum of the nameplate                          that the proposed requirements could                  ‘‘Summary of Public Comments and
                                            capacities for all such electric generators             require additional burden not                         Responses for 2024 Final Revisions and
                                            is greater than or equal to 1 megawatt                  contemplated by the proposed rule.                    Confidentiality Determinations for Data
                                            electric output.’’                                      Specifically, as noted by commenters,                 Elements under the Greenhouse Gas
                                               One commenter requested                              we recognize that there could be                      Reporting Rule’’ in Docket ID. No. EPA–
                                            clarification that waste heat generation                scenarios in which a single combustion                HQ–OAR–2019–0424 for a complete
                                            is not included; the commenter added                    unit or group of units may provide                    listing of all comments and responses
                                            that requiring facilities to report                     steam for multiple purposes, only a                   related to subpart F.
lotter on DSK11XQN23PROD with RULES2




                                            emissions from the generation of                        portion of which includes on-site
                                            electricity using waste heat recovery                   electricity generation. In this case,                 E. Subpart G—Ammonia Manufacturing
                                            would be double counting. Other                         although a facility may know the                        We are finalizing amendments to
                                            commenters requested clarification that                 quantity of electricity generated and                 subpart G of part 98 (Ammonia
                                            emergency generators are exempt from                    could estimate the quantity of steam                  Manufacturing) as proposed. In some
                                            the proposed requirements.                              required to generate the electricity,                 cases, we are finalizing the proposed


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 28 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31823

                                            amendments with revisions. In other                     captured and used in other products.                  amendments is available in the
                                            cases, we are not taking final action on                We have revised new equation G–4 in                   preamble to the 2022 Data Quality
                                            the proposed amendments. This section                   the final rule to remove the proposed                 Improvements Proposal.
                                            discusses the final revisions to subpart                equation terms related to CO2 collected                  The EPA is finalizing several
                                            G. The EPA received only supportive                     and consumed on-site for urea                         revisions to improve the quality of data
                                            comments for the proposed revisions to                  production and the mass of methanol                   collected for subpart H. First, we are
                                            subpart G. See the document ‘‘Summary                   intentionally produced as a desired                   finalizing the addition of several new
                                            of Public Comments and Responses for                    product, and removed text related to                  data reporting elements to subpart H
                                            2024 Final Revisions and                                ‘‘net’’ CO2 process emissions. The EPA                under 40 CFR 98.86(a) and (b) to
                                            Confidentiality Determinations for Data                 is also not taking final action at this               enhance the quality and accuracy of the
                                            Elements under the Greenhouse Gas                       time on the addition of related monthly               data collected. In the 2022 Data Quality
                                            Reporting Rule’’ in Docket ID. No. EPA–                 recordkeeping data elements that were                 Improvements Proposal, the EPA
                                            HQ–OAR–2019–0424 for a complete                         proposed as verification software                     proposed to add several data reporting
                                            listing of all comments and responses                   records. See section III.K.2. of this                 elements based on annual average
                                            related to subpart G. Additional                        preamble for a summary of related                     chemical composition data for facilities
                                            rationale for these amendments is                       comments and the EPA’s response.                      using either the direct measurement
                                            available in the preamble to the 2022                      We are finalizing as proposed one                  (using a continuous emission
                                            Data Quality Improvements Proposal                      amendment to subpart G from the 2023                  monitoring system (CEMS))
                                            and 2023 Supplemental Proposal.                         Supplemental Proposal to include a                    methodology or the mass balance
                                               In the 2022 Data Quality                             requirement for facilities to report the              methodology, in order to assist in
                                            Improvements Proposal, the EPA                          annual quantity of excess hydrogen                    improving verification of reported data.
                                            proposed several revisions to subpart G                 produced that is not consumed through                 The proposed data elements included
                                            to require reporters to report the GHG                  the production of ammonia at 40 CFR                   (for both facilities that report CEMS data
                                            emissions that occur directly from the                  98.76(b)(16). This is a harmonizing                   and those that report using a mass
                                            ammonia manufacturing process (i.e.,                    change to ensure that the final revisions             balance method) the annual arithmetic
                                            net CO2 process emissions) after                        to subpart P (Hydrogen Production) to                 average weight fraction of: the total
                                            subtracting out carbon or CO2 captured                  exclude reporting from any process unit               calcium oxide (CaO) content, non-
                                            and used in other products. The                         for which emissions are reported under                calcined CaO content, total magnesium
                                            proposed revisions included combining                   another subpart of part 98, including                 oxide (MgO) content, and non-calcined
                                            equation G–4 and equation G–5 into a                    ammonia production units that report                  MgO content of clinker at the facility
                                            new equation G–4 and several                            emissions under subpart G (see section                (proposed 40 CFR 98.86(a)(4) through
                                            harmonizing revisions to 40 CFR                         III.I. of this preamble), will not result in          (a)(7) and (b)(19) through (b)(22)); and
                                            98.72(a); revisions to the introductory                 the exclusion of reporting of any excess              the total CaO content of cement kiln
                                            paragraph of 40 CFR 98.73; the removal                  hydrogen production at facilities that                dust (CKD) not recycled to the kiln(s),
                                            of § 98.73(b)(5); revisions to the                      are subject to subpart G.                             non-calcined CaO content of CKD not
                                            introductory paragraph of 40 CFR 98.76;                    We are also finalizing as proposed                 recycled to the kiln(s), total MgO
                                            and revisions to the reported data                      related confidentiality determinations                content of CKD not recycled to the
                                            elements at 40 CFR 98.76(b)(1) and (13),                for data elements resulting from the                  kiln(s), and non-calcined MgO content
                                            as described in section III.C. of the                   revisions to subpart G, as described in               of CKD not recycled to the kiln(s) at the
                                            preamble to the 2022 Data Quality                       section VI. of this preamble.                         facility (proposed 40 CFR 98.86(a)(8)
                                            Improvements Proposal.                                                                                        through (11) and (b)(23) through (26)).
                                               The EPA is finalizing minor edits to                 F. Subpart H—Cement Production                        The EPA also proposed to collect other
                                            40 CFR 98.72(a), the introductory                          We are finalizing several amendments               data (from both facilities using CEMS
                                            paragraph of 40 CFR 98.73, the                          to subpart H of part 98 (Cement                       and those that report using the mass
                                            introductory paragraph to 40 CFR 98.76,                 Production) as proposed. In some cases,               balance method), including annual
                                            and 40 CFR 98.76(b)(1) to clarify the                   we are finalizing the proposed                        facility CKD not recycled to the kiln(s)
                                            term ‘‘ammonia manufacturing unit,’’ as                 amendments with revisions. Section                    in tons (proposed 40 CFR 98.86(a)(12)
                                            well as clarifying edits to 40 CFR                      III.F.1. of this preamble discusses the               and (b)(27)) and raw kiln feed consumed
                                            98.76(b)(13) to clearly identify any CO2                final revisions to subpart H. The EPA                 annually at the facility in tons (dry
                                            used in the production of urea and                      received several comments on the                      basis) (proposed 40 CFR 98.86(a)(13)
                                            carbon bound in methanol that is                        proposed subpart H revisions which are                and (b)(28)), for both verification and to
                                            intentionally produced as a desired                     discussed in section III.F.2. of this                 improve the methodologies of the
                                            product. Additionally, we are finalizing                preamble. We are also finalizing                      Inventory.
                                            clarifying amendments to equation G–1,                  confidentiality determinations for new                   The EPA is finalizing the proposed
                                            equation G–2, and equation G–3 to                       data elements resulting from the                      requirements to report the annual
                                            simplify the equations by removing the                  revisions to subpart H, as described in               arithmetic average weight fraction of the
                                            process unit ‘‘k’’ designation in the                   section VI. of this preamble.                         total CaO content, non-calcined CaO
                                            terms ‘‘CO2,G,k,’’ ‘‘CO2,L,k,’’ and                                                                           content, total MgO content, and non-
                                            ‘‘CO2,S,k.’’ We are also finalizing the                 1. Summary of Final Amendments to                     calcined MgO content of clinker at the
                                            removal of § 98.73(b)(5) and equation G–                Subpart H                                             facility (proposed 40 CFR 98.86(a)(4)
                                            5, consistent with our intent at proposal                  This section summarizes the final                  through (7) and (b)(19) through (22)),
                                            to require reporting of emissions by                    amendments to subpart H. Major                        and the annual facility CKD not
                                            ammonia manufacturing unit.                             changes in this final rule as compared                recycled to the kiln(s) (proposed 40 CFR
lotter on DSK11XQN23PROD with RULES2




                                               Following consideration of comments                  to the proposed revisions are identified              98.86(a)(12) and (b)(27), finalized as 40
                                            received on similar changes proposed                    in this section. The rationale for these              CFR 98.86(a)(8) and (b)(27),
                                            for subpart S (Lime Manufacturing), the                 and any other changes to 40 CFR part                  respectively), for both facilities that use
                                            EPA is not taking final action at this                  98, subpart H can be found in this                    CEMS and those that report using the
                                            time on the proposed revisions to allow                 section and section III.F.2. of this                  mass balance method. We are also
                                            facilities to subtract out carbon or CO2                preamble. Additional rationale for these              finalizing, for facilities using the mass


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024               Page 29 of 164
                                            31824              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            balance method, the total CaO content                   ‘‘CKDncMgO,’’ respectively, to align with             (2) in reference to the proposed CKD
                                            of CKD not recycled to the kiln(s), non-                the parameters defined in the equation.               reporting requirement, calculating the
                                            calcined CaO content of CKD not                                                                               CKD not recycled and the quantity of
                                                                                                    2. Summary of Comments and
                                            recycled to the kiln(s), total MgO                                                                            raw kiln feed at all kilns within a
                                                                                                    Responses on Subpart H
                                            content of CKD not recycled to the                                                                            facility would add burden without
                                            kiln(s), and non-calcined MgO content                      This section summarizes the major                  providing any additional information
                                            of CKD not recycled to the kiln(s) at the               comments and responses related to the                 about industry GHG emissions. The
                                            facility (proposed 40 CFR 98.86(b)(23)                  proposed amendments to subpart H. See                 commenter also questioned the need for
                                            through (26)), and the amount of raw                    the document ‘‘Summary of Public                      the additional data, stating that the EPA
                                            kiln feed consumed annually (proposed                   Comments and Responses for 2024 Final                 did not provide an explanation of how
                                                                                                    Revisions and Confidentiality                         the additional data would be used
                                            40 CFR 98.86(b)(28)). Finalizing these
                                                                                                    Determinations for Data Elements under                separately from potentially verifying
                                            data elements will improve the EPA’s
                                                                                                    the Greenhouse Gas Reporting Rule’’ in                process emissions. The commenter also
                                            ability to verify reported emissions (e.g.,
                                                                                                    Docket ID. No. EPA–HQ–OAR–2019–                       expressed concern that the addition of
                                            the EPA will be able to create a rough                  0424 for a complete listing of all
                                            estimate of process emissions at the                                                                          these data elements would justify
                                                                                                    comments and responses related to                     regulatory overreach from other
                                            facility and compare that to the reported               subpart H.                                            programs.
                                            total emissions, and check whether the                     Comment: One commenter objected to                   Response: We disagree with the
                                            ratio is within expected ranges). For                   the EPA’s proposed addition of data                   commenter’s statement that reporting
                                            facilities using CEMS, the finalized data               reporting requirements for facilities                 additional data from facilities using
                                            elements will enable the EPA to                         reporting using the CEMS methodology.                 CEMS will not enhance the EPA’s
                                            estimate process emissions from                         The commenter asserted that the new                   verification of the facility reported
                                            facilities to provide a more accurate                   data requirements would add                           values. The EPA has encountered
                                            national-level cement emissions profile                 unnecessary burden without providing                  occasional instances of mistakes in
                                            and the Inventory. Following                            additional insight into cement industry               reported CEMS data (e.g., from data
                                            consideration of public comments, we                    GHG emissions or improving the quality                entry mistakes), resulting in significant
                                            are not taking final action on certain                  or accuracy of the emissions data                     errors in reported emissions. Fuel use
                                            proposed data elements for facilities                   provided. The commenter stated that,                  data are not provided to the EPA for
                                            that report using CEMS. Specifically,                   under the new provisions, the EPA                     cement plants that report emissions
                                            the EPA is not taking final action on the               would essentially be requiring kilns that             using CEMS. Currently, fuel use data are
                                            proposed requirements to report the                     are currently using CEMS to report their              entered into the IVT to calculate CH4
                                            annual arithmetic average of the total                  emissions to verify their data by using               and N2O emissions from combustion for
                                            CaO content of CKD not recycled to the                  the mass balance method, with                         kilns with CEMS, as the process and
                                            kiln(s), non-calcined CaO content of                    associated reporting and recordkeeping.               combustion emissions are both vented
                                            CKD not recycled to the kiln(s), total                  The commenter noted that CEMS are                     through the same stack. These IVT data
                                            MgO content of CKD not recycled to the                  already required to meet extensive                    are not directly reported to the EPA, so
                                            kiln(s), and non-calcined MgO content                   quality assurance and quality control                 the EPA cannot use them to verify the
                                            of CKD not recycled to the kiln(s) at the               requirements and have been determined                 accuracy of reported emissions.
                                            facility (proposed 40 CFR 98.86(a)(8)                   as the most accurate means of                           Furthermore, we are not persuaded by
                                            through (11)). We are also not taking                   measuring stack emissions. Further, the               the commenter’s assertion that process
                                            final action on the reporting of the                    commenter reasoned that the EPA can                   emissions represent 60 percent of kiln
                                            amount of raw kiln feed consumed                        accurately determine process emissions                emissions. Cement kilns can have very
                                            annually (proposed 40 CFR                               using already reported data, total kiln               different process and combustion
                                            98.86(a)(13)). See section III.F.2. of this             stack emissions data, and combustion                  emissions depending on the input
                                            preamble for a summary of the related                   emissions data, which they stated is                  materials, the fuel or energy source
                                            comments and the EPA’s response.                        included in the confidential monthly                  used, etc., and an average process
                                                                                                    clinker production data and fuel use                  emissions factor would not be
                                               The EPA is finalizing as proposed                    data provided using the Tier 4
                                            several clarifications and corrections to                                                                     representative of all facilities in subpart
                                                                                                    methodology in subpart C. The                         H. Furthermore, the commenter does
                                            equations H–1, H–4, and H–5 included                    commenter stated that it is well
                                            in the 2022 Data Quality Improvements                                                                         not provide additional information
                                                                                                    established by the scientific community               about how this statistic was calculated
                                            Proposal. The final revisions to equation               that process emissions represent 60
                                            H–1 add brackets to clarify the                                                                               and whether it is representative of
                                                                                                    percent of CO2 emissions from the kiln                cement manufacturing plants in the
                                            summation of clinker and raw material                   based on the standard chemistry of the
                                            emissions for each kiln, and update the                                                                       United States. The commenter did not
                                                                                                    cement manufacturing process, and that                specify where this statistic can be found
                                            definition of parameter ‘‘CO2 rm’’ to                   the currently reported data should be
                                            ‘‘CO2 rm,m’’ and clarify the raw material                                                                     in the cited source (‘‘Getting the
                                                                                                    sufficient.                                           Numbers Right Database, Global Cement
                                            input is on a per-kiln basis. The final                    The commenter also opposed the                     and Concrete Association’’ 9) and did
                                            revisions to equation H–5 revise the                    EPA’s proposed data reporting elements
                                                                                                                                                          not provide the underlying data to the
                                            inputs ‘‘rm,’’ ‘‘CO2 rm’’ (revised to ‘‘CO2             for facilities using the mass balance
                                                                                                                                                          EPA for review. Importantly, this
                                            rm,m’’), and ‘‘TOCrm,’’ and add brackets to             (non-CEMS) methodology, likewise
                                                                                                                                                          database contains information on global
                                            clarify that emissions are calculated as                insisting that the EPA can readily
                                                                                                                                                          cement production, and emissions
                                            the sum of emissions from all raw                       determine both process and combustion
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                                                                                                                                                          profiles at facilities in the United States
                                            materials or raw kiln feed used in the                  emissions from the existing reporting
                                                                                                                                                          can differ widely from those in other
                                            kiln. The final revisions to equation H–                requirements. The commenter explained
                                                                                                                                                          countries due to differences in input
                                            4 correct the defined parameters for the                that (1) the reporting of total and non-
                                            quarterly non-calcined CaO content and                  calcined CaO and MgO is irrelevant to                   9 Available at https://gccassociation.org/
                                            the quarterly non-calcined MgO content                  calculating CO2 process emissions as                  sustainability-innovation/gnr-gcca-in-numbers/.
                                            of CKD not recycled to ‘‘CKDncCaO’’ and                 they are inherently non-carbonate; and                Accessed January 9, 2024.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 30 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31825

                                            materials, fuels used, and emission                     balance calculations (e.g., by allowing               revising the stack testing calculation
                                            control systems that may be in place.                   us to create evidence-based verification              method, updating the calculation
                                            The EPA has reviewed data, such as                      checks for clinker composition data).                 methods used to estimate emission
                                            those from the UNFCCC, which suggest                    The final reporting elements will also                factors in the technology assessment
                                            that implied emissions rates may vary                   provide a more accurate national-level                report, updating existing default
                                            from 49–57 percent and change by                        emissions profile for the cement                      emission factors and destruction or
                                            country.10                                              industry and the Inventory. With                      removal efficiencies (DREs) based on
                                               Upon careful review and                              respect to the burden associated with                 new data, adding a calculation method
                                            consideration, the EPA has decided not                  these added reporting elements for                    for calculating byproducts produced in
                                            to adopt the proposed changes to                        reporters using the mass balance                      abatement systems, amending data
                                            require the chemical composition data                   reporting method, these data elements                 reporting requirements, and providing
                                            for CKD and amount of raw kiln feed                     are the annual arithmetic averages of                 clarification on reporting requirements.
                                            consumed annually for facilities                        either monthly or quarterly data                      In the 2023 Supplemental Proposal, the
                                            reporting with CEMS (proposed 40 CFR                    elements that these reporters already                 EPA subsequently proposed corrections
                                            98.86(a)(8) through (11) and (a)(13)). We               input into e-GGRT through the IVT.                    to specific revisions from the 2022 Data
                                            are not taking final action on these                    These data elements are currently                     Quality Improvements Proposal,
                                            elements after consideration of the                     entered into the IVT and used for                     including DRE values in table I–16 and
                                            comments and in an effort to reduce                     equations H–2 through H–5; but they are               gamma factors in proposed new table I–
                                            potential burden. The EPA is finalizing                 not reported to the EPA. Thus, the                    18 to subpart I of part 98.
                                            the remaining proposed reporting                        burden, if any, is expected to be                        The EPA is finalizing several
                                            requirements as these data elements will                minimal. There are no changes, as                     revisions to 40 CFR 98.93(i) to improve
                                            improve verification of reported                        compared to the proposal, to the final                the calculation methodology for stack
                                            emissions. For example, the EPA will be                 reporting requirements for facilities                 testing. These revisions include:
                                            able to create a rough estimate of                      using the mass balance methodology                       • Adding new equations I–24C and I–
                                            process emissions at the facility and                   after consideration of this comment.                  24D and a table of default weighting
                                            compare that to the reported total                                                                            factors (new table I–18) to calculate the
                                                                                                    G. Subpart I—Electronics                              fraction of fluorinated input gases
                                            emissions, and check whether the ratio                  Manufacturing
                                            is within expected ranges. We will also                                                                       exhausted from tools with abatement
                                            be able to build evidence-based                            We are finalizing several amendments               systems, ai,f, for use in equations I–19A
                                            verification checks on the clinker                      to subpart I of part 98 (Electronics                  through I–19C and I–21, and the fraction
                                            composition data that is entered by                     Manufacturing) as proposed. In some                   of byproducts exhausted from tools with
                                            facilities that do not use CEMS (we                     cases, we are finalizing the proposed                 abatement systems, ak,i,f, for use in
                                            currently have very little information on               amendments with revisions. In other                   equations I–20 and I–22.
                                            what chemical compositions are typical                  cases, we are not taking final action on                 • Revising equations I–24A and I–
                                            in cement kilns). The final reporting                   the proposed amendments. Section                      24B, which calculate the weighted
                                            elements will also enable the EPA to                    III.G.1. of this preamble discusses the               average DREs for individual F–GHGs
                                            estimate process emissions from CEMS                    final revisions to subpart I. The EPA                 across process types in each fab.
                                                                                                    received several comments on the                         • Revising 40 CFR 98.93(i)(3) to
                                            facilities to provide a more accurate
                                                                                                    proposed subpart I revisions which are                require that all stacks be tested if the
                                            national-level emissions profile for the
                                                                                                    discussed in section III.G.2. of this                 stack test method is used.
                                            cement industry and the Inventory.                                                                               • Replacing equation I–19 with a set
                                            Reporting average chemical composition                  preamble. We are also finalizing as
                                                                                                    proposed related confidentiality                      of equations (i.e., equations I–19A, I–
                                            data for the clinker is expected to be less                                                                   19B, and I–19C) that will more
                                            burdensome for facilities, as this data is              determinations for data elements
                                                                                                    resulting from the revisions to subpart I             accurately account for emissions when
                                            likely collected as a part of normal                                                                          pre-control emissions of an F–GHG
                                            business operations, while collection of                as described in section VI. of this
                                                                                                    preamble.                                             come close to or exceed the
                                            CKD data may be less common.                                                                                  consumption of that F–GHG during the
                                            Furthermore, we do not believe these                    1. Summary of Final Amendments to                     stack testing period.
                                            additional data elements constitute                     Subpart I                                                • Clarifying the definitions of the
                                            regulatory overreach as they are similar                                                                      variables dif and dkif, the average DREs
                                                                                                       This section summarizes the final
                                            to other data already collected under                                                                         for input gases and byproduct gases
                                                                                                    amendments to subpart I. Major changes
                                            subpart H and will be important for                                                                           respectively, in equations I–19A, I–19B,
                                                                                                    to the final rule as compared to the
                                            verification and our understanding of                                                                         I–19C, and I–19D, in equations I–20
                                                                                                    proposed revisions are identified in this
                                            process and combustion emissions.                                                                             through I–22, in equations I–24A and B,
                                                                                                    section. The rationale for these and any
                                               We also disagree that collecting                                                                           and in equation I–28 to subpart I.
                                                                                                    other changes to 40 CFR part 98, subpart
                                            additional data from facilities using the                                                                        These revisions will remove the
                                                                                                    I can be found in this section and
                                            mass balance method will not enhance                                                                          current requirements to apportion gas
                                                                                                    section III.G.2. of this preamble.
                                            the EPA’s verification of the facility                                                                        consumption to different process types,
                                                                                                    Additional rationale for these
                                            reported values. Currently clinker                                                                            to manufacturing tools equipped versus
                                                                                                    amendments is available in the
                                            composition data are entered into the                                                                         not equipped with abatement systems,
                                                                                                    preamble to the 2022 Data Quality
                                            IVT and are not included in the annual                                                                        and to tested versus untested stacks.
                                                                                                    Improvements Proposal and 2023
                                            report that is submitted to the EPA.                                                                          Equations I–24C and I–24D add the
                                                                                                    Supplemental Proposal.
                                            Reporting of these and additional data                                                                        option to calculate the fraction of each
lotter on DSK11XQN23PROD with RULES2




                                            elements will improve verification of                   a. Revisions To Improve the Quality of                input gas ‘‘i’’ and byproduct gas ‘‘k’’
                                            reported emissions and the mass                         Data Collected for Subpart I                          exhausted from tools with abatement
                                              10 United Nations Framework Convention on
                                                                                                       In the 2022 Data Quality                           systems based on the number of tools
                                            Climate Change. (2023). National inventory
                                                                                                    Improvements Proposal, the EPA                        that are equipped versus not equipped
                                            submissions 2023. https://unfccc.int/ghg-               proposed several revisions to subpart I               with abatement systems, along with
                                            inventories-annex-i-parties/2023.                       to improve data quality, including                    weighting factors that account for the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 31 of 164
                                            31826              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            different per-tool emission rates that                  that is destroyed once gas i (or                      by changing ratios of input gases) and
                                            apply to different process types. The                   byproduct gas k) is fed into abatement                are comparable to each other and to the
                                            weighting factors (gi,p for input gases                 systems. See section III.E.1.a. of the                emission factors already in the EPA’s
                                            and gk,i,p for byproduct gases, provided                preamble to the 2022 Data Quality                     database. The EPA proposed, and is
                                            in table I–18) are based on data                        Improvements Proposal for additional                  finalizing with a clarification,
                                            submitted by semiconductor                              information on these revisions and their              modifications to the all-input gas
                                            manufacturers during the process of                     supporting basis.                                     method to avoid an input gas emission
                                            developing the 2019 Refinement (as                         With some changes, the EPA is                      factor greater than 0.1 when multiple
                                            corrected in the 2023 Supplemental                      finalizing revisions to improve the                   gases are used. The modified method
                                            Proposal). We are finalizing revisions to               quality of the data submitted in the                  uses 0.8 as the maximum 1–U value,
                                            equations I–24A and I–24B, used to                      technology assessment reports in 40                   and as such, attributes emissions of each
                                            calculate the average DRE for each input                CFR 98.96(y) as proposed in the 2022                  F–GHG used as an input gas to that
                                            gas ‘‘i’’ and byproduct gas ‘‘k,’’ based on             Data Quality Improvements Proposal.                   input gas until the mass emitted equals
                                            tool counts and the same weighting                      Specifically, the EPA proposed to                     80 percent of the mass fed into the
                                            factors that will be used in equations I–               require that reporters who submit a                   process (i.e., until the 1–U factor equals
                                            24C and I–24D; this accounts for                        technology assessment report would use                0.8). The all-input gas method assigns
                                            operations in which a facility uses one                 three methods (the ‘‘all-input gas                    the remaining emissions of the F–GHG
                                            or more abatement systems with a                        method,’’ the ‘‘dominant gas method,’’                to the other input gases as a byproduct
                                            certified DRE value that is different from              and the ‘‘reference emission factor                   in proportion to the quantity of each
                                            the default to calculate and report                     method’’) to report the results of each               input gas used in the process. We are
                                                                                                    emissions test to estimate utilization
                                            controlled emissions. We are finalizing                                                                       finalizing this modified method with
                                                                                                    and byproduct formation emission rates.
                                            the requirement that all stack systems be                                                                     the clarification that the 0.8 maximum
                                                                                                    The EPA is finalizing a requirement to
                                            tested by removing 40 CFR 98.93(i)(1);                                                                        for the 1–U value only applies to
                                                                                                    report the results using two of the three
                                            this removes not only the need to                                                                             carbon-containing F–GHGs. As
                                                                                                    methods proposed, including the all-
                                            apportion gas usage to tested versus                                                                          discussed in the proposal, the
                                                                                                    input gas method, with a clarification,
                                            untested stack systems, but also the                                                                          modification to the all-input method
                                                                                                    and the reference emission factor
                                            requirement to perform a preliminary                                                                          was intended to avoid the situations
                                                                                                    method, and is allowing use of a third
                                            calculation of the emissions from each                                                                        where the historical methods would
                                                                                                    method of the reporter’s choice, as
                                            stack system. We are finalizing new                     follows:                                              violate the conservation of mass or fail
                                            equations I–19A, I–19B, and I–19C, with                    • All-input gas method. For input gas              to reflect the fact that some fraction of
                                            a clarification, which will more                        emission rates, this method attributes all            the input gas reacts with the film it is
                                            accurately account for emissions when                   emissions of each F–GHG that is an                    being used to etch or clean, which may
                                            emissions of an F–GHG prior to entering                 input gas to the input gas emission                   occur in situations where the input gas
                                            any abatement system (i.e., pre-control                 factor (1–U) factor for that gas, if the              is also generated in significant
                                            emissions) would approach or exceed                     input gas does not contain carbon or                  quantities as a by-product by the other
                                            the consumption of that F–GHG during                    until that 1–U factor reaches 0.8 if the              input gases. However, it is not expected
                                            the stack testing period. We are                        input gas does contain carbon, after                  that NF3 or SF6 could be generated as a
                                            clarifying that the 0.8 maximum for the                 which emissions of the F–GHG are                      by-product by a fluorocarbon used as an
                                            1–U value only applies to carbon-                       attributed to the other input gases. For              input gas. Therefore, this modification
                                            containing F–GHGs. As discussed in the                  byproduct formation rates, this method                is not appropriate and was not intended
                                            proposal, the modification to the stack                 attributes emissions of F–GHG                         to apply to SF6 or NF3 emissions when
                                            testing method was intended to                          byproducts that are not also input gases              calculating emission factors. The EPA is
                                            accurately account for the source of                    to all F–GHG input gases (kilogram (kg)               requiring use of the all-input gas
                                            emissions when the measured emissions                   of byproduct emitted/kg of all F–GHGs                 method to facilitate comparisons of new
                                            exceed the consumption of the F–GHG                     used).                                                data to historical data; the all-input gas
                                            during the stack testing period, which                     • Reference emission factor method.                method was the most commonly used
                                            may occur in situations where the input                 This method estimates emissions using                 method in the submitted data sets
                                            gas is also generated in significant                    the 1–U and the byproduct formation                   included in technology assessment
                                            quantities as a by-product by the other                 rates that are observed in single gas                 reports from 2013 and earlier. Following
                                            input gases. However, it is not expected                recipes and then adjusts both emission                consideration of comments received and
                                            that NF3 or SF6 could be generated as a                 factors based on the ratio between the                to reduce burden, the EPA is not taking
                                            by-product by a fluorocarbon used as an                 emissions calculated based on the                     final action on the proposed
                                            input gas. Therefore, this modification                 factors and the emissions actually                    requirement to report emission factors
                                            is not appropriate and was not intended                 observed in the multi-gas process.                    using the dominant gas method. The
                                            to apply to SF6 or NF3 emissions when                      • The EPA is finalizing an option for              dominant gas method calculates 1–U
                                            calculating emissions using the stack                   reporters to use, in addition to the                  factors in the same way as the all-input
                                            test method. The revised equations                      utilization and byproduct formation                   gas method, but it calculates byproduct
                                            improve upon the current equations                      rates calculated according to the                     formation rates differently, attributing
                                            because they account both for any                       required all-input gas method and the                 all emissions of F–GHG byproducts to
                                            control of the emissions and for some                   reference emission factor method, an                  the carbon-containing F–GHG input gas
                                            utilization of the input gas. Finally, we               alternative method of their choice to                 accounting for the largest share by mass
                                            are finalizing revisions to the definitions             calculate and report the utilization or               of the input gases. Additional
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                                            of the variables dif and dkif in equations              byproduct formation rates based on the                information on each of the three
                                            I–19A, I–19B, I–19C, and I– 19D, in                     collected data.                                       methods is available in section III.E.1.b.
                                            equations I–20 through I–22, in                            These revisions will ensure that the               of the preamble to the 2022 Data Quality
                                            equations I–24A and B, and in equation                  emission factors submitted in the                     Improvements Proposal and in the
                                            I–28 to clarify that these variables reflect            technology assessment reports are                     memorandum ‘‘Technical Support for
                                            the fraction of gas i (or byproduct gas k)              robust (for example, not unduly affected              Modifications to the Fluorinated


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 32 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31827

                                            Greenhouse Gas Emission Estimation                      in wafer cleaning or plasma etching                      • Revisions to the default DREs in
                                            Method Option for Semiconductor                         processes, and results in not adding                  table I–16 to subpart I to reflect new
                                            Facilities under Subpart I,’’ available in              BEFs for COF2 and C2F4 for any input                  data and strengthening of abatement
                                            the docket to this rulemaking, Docket                   gas/process combination from the new                  system certification requirements. The
                                            ID. No. EPA–HQ–OAR–2019–0424. As                        data submitted as part of the 2017 and                final revisions assign chemical-specific
                                            noted in the proposed rule, the EPA                     2020 technology assessment reports).                  DREs to all commonly used F–GHGs for
                                            intends to make available a calculation                   • In cases where neither the input gas              the semiconductor manufacturing sub-
                                            workbook for the technology assessment                  nor the films being processed in the tool             sector without distinguishing between
                                            report that will calculate the two sets of              contain carbon, setting the BEF for the               process types.
                                            emission factors based on each of the                   carbon-containing byproducts to zero.                    Additional information on the EPA’s
                                            final methods using a single set of data                These provisions apply at the process                 derivation of the final emission factors
                                            entered by the reporter. The option to                  subtype level. For example, a BEF of                  and DREs is available in section
                                            calculate the emission factors using an                 zero will only be used for a combination              III.E.1.c. of the preamble to the 2022
                                            additional method provides flexibility                  of input gas and chamber cleaning                     Data Quality Improvements Proposal
                                            for reporters while enabling comparison                 process subtype (e.g., NF3 in remote                  and in the revised technical support
                                            between the results of the additional                   plasma cleaning (RPC)) if no carbon-                  document, ‘‘Revised Technical Support
                                            method and the results of the two                       containing materials were removed                     for Revisions to Subpart I: Electronics
                                            required methods. Where reporters                       using that combination of input gas and               Manufacturing,’’ available in the docket
                                            choose to submit emission factors using                 chamber cleaning process subtype                      for this rulemaking (Docket ID. No.
                                            the additional method, we will be able                  during the year and no carbon-                        EPA–HQ–OAR–2019–0424).
                                            to evaluate the reliability and robustness              containing input gases were used on                      The EPA is also finalizing revisions to
                                            of emission factors calculated using all                those tools. Otherwise, the default BEF               the conditions under which the default
                                            three methods. Additional information                   will be used for that combination of                  DRE may be claimed, with some
                                            on comments related to the calculation                  input gas and chamber cleaning process                revisions from the proposal so that the
                                            methods and the EPA’s response can be                   subtype for all of that gas consumed for              new documentation requirements apply
                                            found in section III.G.2.a. of this                     that subtype in the fab for the year. The             only to abatement systems purchased
                                            preamble.                                               EPA is making one modification to the                 and installed on or after January 1, 2025.
                                               The EPA is also finalizing two                       proposed equation to clarify that the                 For all abatement systems for which a
                                            additional requirements for the                         carbon-containing byproduct emission                  DRE is being claimed, including
                                            submitted technology assessment                         factors are zero when the combination                 abatement systems purchased and
                                            reports including requiring reporters to                of input gas and etching and wafer                    installed during or after 2025 and older
                                            specify (1) the method used to calculate                cleaning process type uses only non-                  abatement systems, the EPA is
                                            the reported utilization and byproduct                  carbon containing input gases (SF6, NF3,              maintaining the current certification
                                            formation rates and assign and provide                  F2 or other non-carbon input gases) and               and documentation requirements and is
                                            an identifying record number for each                   etches or cleans only films that do not               finalizing the proposed additional
                                            data set; and (2) for any DRE data                      contain carbon.                                       requirement that the certification must
                                            submitted, whether the abatement                          • Updates to the default emission                   contain a manufacturer-verified DRE
                                            system used for the measurement is                      factors for N2O used in all electronics               value. If the abatement system is
                                            specifically designed to abate the gas                  manufacturing in table I–8, including                 certified to abate the F–GHG or N2O at
                                            measured under the operating condition                  distinct utilization rates for                        a value equal to or higher than the
                                            used for the measurement. For reporters                 semiconductor manufacturing and LCD                   default DRE, the facility may claim the
                                            who opt to additionally provide                         manufacturing and, for semiconductor                  default DRE. If the abatement system is
                                            utilization and byproduct formation                     manufacturing, utilization rates by                   certified to abate the F–GHG or N2O but
                                            rates using an alternative method of                    wafer size;                                           at a value lower than the default DRE,
                                            their choice, reporters must provide this                 • Revisions to the calculation                      the facility may not claim the default;
                                            information and a description of the                    methodology for MEMS and PV                           however, the facility may claim the
                                            alternative method used.                                manufacturing to allow use of 40 CFR                  lower manufacturer-verified value.
                                               The EPA is finalizing revisions to                   98.93(a)(1), the current methodology for              (Site-specific measurements by the
                                            update the default emission factors and                 semiconductor manufacturing, for                      electronics manufacturer are still
                                            DREs in subpart I based on new data                     manufacture of MEMS and PV using                      required to claim a DRE higher than the
                                            submitted as part of the 2017 and 2020                  semiconductor tools and processes,                    default.) Based on annual reports
                                            technology assessment reports and the                   which applies the default emission                    submitted through RY2022, facilities
                                            2019 Refinement, as proposed in the                     factors in tables I–3 and I–4 to these                have historically been able to provide
                                            2022 Data Quality Improvements                          processes;                                            manufacturer-verified DRE values for all
                                            Proposal and corrected in the 2023                        • Revisions to 40 CFR 98.93(a)(6) to                abatement systems for which emission
                                            Supplemental Proposal. These revisions                  revise the utilization rate and byproduct             reductions have been claimed.
                                            include:                                                emission factor values assigned to gas/                  Additional requirements apply to
                                               • Updates to the utilization rates and               process combinations where no default                 abatement systems purchased and
                                            byproduct emission factors (BEFs) for                   utilization rate is available; these                  installed on or after January 1, 2025.
                                            F–GHGs used in semiconductor                            revisions account for the likely partial              Specifically, the EPA is finalizing
                                            manufacturing in tables I–3, I–4, I–11                  conversion of the input gas into CF4 and              revisions to the definition of operational
                                            and I–12;                                               C2F6. The final rule requires, for a gas/             mode in 40 CFR 98.98 to specify that for
                                               • Removal of byproduct emission                      process combination where no default                  abatement systems purchased and
lotter on DSK11XQN23PROD with RULES2




                                            factors from tables I–3 and I–4 where                   input gas emission factor is available in             installed during or after January 1, 2025,
                                            there is a combination of both a low BEF                tables I–3, I–4, I–5, I–6, and I–7,                   operational mode means that the system
                                            and a low GWP resulting in very low                     reporters will use an input gas emission              is operated within the range of
                                            reported emissions per metric ton of                    factor (1–U) equal to 0.8 (i.e., a default            parameters as specified in the DRE
                                            input gas used (removes the BEF for                     utilization rate or U equal to 0.2) with              certification documentation. The
                                            C4F6 and C5F8 for all input gases used                  BEFs of 0.15 for CF4 and 0.05 for C2F6.               specified parameters must include the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 33 of 164
                                            31828              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            highest total F–GHG or N2O flows and                    documentation of the DRE on abatement                 to the total number of process tools for
                                            highest total gas flows (with N2 dilution               systems for which a DRE is not being                  the gas-process combination) and
                                            accounted for) through the emissions                    claimed.                                              multiplying that mass by a CF4 emission
                                            control systems. Systems operated                          We are also clarifying that the list of            factor, ABCF4,F2, which has a value of
                                            outside the range of parameters                         abatement system manufacturer                         0.116. In related changes, the EPA is
                                            specified in the documentation                          specifications within which the                       finalizing a BEF for F2 from NF3 used in
                                            supporting the DRE certification may                    abatement system must be operated at                  remote plasma clean processes of 0.5.
                                            rely on a measured site-specific DRE                    40 CFR 98.96(q)(2) is intended to be                  For other gas and process combinations
                                            according to 40 CFR 98.94(f)(4) to be                   exemplary, adding ‘‘which may include,                where no data are available (listed as
                                            considered operational within the range                 for example,’’ before the list. This                  ‘‘NA’’ in tables I–3 and I–4), the EPA is
                                            of parameters used to develop a site-                   clarifies that some of the listed                     finalizing a BEF of 0.8 be used for F2 in
                                            specific DRE.                                           specifications or parameters may not be               equation I–9 for all process types.
                                               The EPA is also finalizing revisions to              specified by all abatement system                        The EPA is requiring that reporters
                                            40 CFR 98.94(f)(3) to modify the                        manufacturers for all abatement                       estimate CF4 emissions from all HC fuel
                                            conditions under which the default or                   systems, and leaves open the possibility              CECs that are purchased and installed
                                            lower DRE may be claimed for                            that some abatement system                            on or after January 1, 2025 and that are
                                            abatement systems purchased and                         manufacturers may include other                       not certified not to produce CF4, even if
                                            installed on or after January 1, 2025. For              specifications within which the                       reporters are not claiming DREs for
                                            systems purchased and installed on or                   abatement system must be operated.
                                                                                                                                                          those systems. However, as noted above,
                                            after January 1, 2025, reporters are                       Additionally, following consideration
                                                                                                                                                          the requirements apply only to HC fuel
                                            required to: (1) certify that the                       of comments received, we are clarifying
                                                                                                    how reporters account for uptime of the               CECs used on processes that use F2 as
                                            abatement device is able to achieve,                                                                          an input gas or to remote plasma
                                            under the worst-case flow conditions                    abatement device if suitable backup
                                                                                                    emissions control equipment or                        cleaning processes that use NF3 as an
                                            during which the facility is claiming                                                                         input gas. We are also finalizing a
                                            that the system is in operational mode,                 interlocking with the process tool is
                                                                                                    implemented for each emissions control                related definition of ‘‘hydrocarbon-fuel-
                                            a DRE equal to or greater than either the                                                                     based combustion emissions control
                                            default DRE value, or if the DRE claimed                system. The EPA is revising the
                                                                                                    definition of the term ‘‘UTij’’ in equation           system (HC fuel CECS),’’ which we have
                                            is lower than the default DRE value, a                                                                        revised from the proposed
                                            manufacturer-verified DRE equal to or                   I–15 and the definition of ‘‘UTf’’ in
                                                                                                    equation I–23 to clarify that if all the              ‘‘hydrocarbon-fuel-based emissions
                                            greater than the DRE claimed; and (2)                                                                         control system,’’ to align with the 2019
                                            provide supporting documentation.                       abatement systems for the relevant input
                                                                                                    gas and process type are interlocked                  Refinement and to clarify that the term
                                            Specifically, for POU abatement devices                                                                       includes systems used on processes that
                                                                                                    with all the tools feeding them, the
                                            purchased and installed on or after                                                                           have the potential to emit F2 or
                                                                                                    uptime may be set to one (1). We are
                                            January 1, 2025, reporters must certify                                                                       fluorinated GHGs, as recommended by
                                                                                                    also clarifying equations I–15 and I–23
                                            and document under 40 CFR                                                                                     commenters. As noted above, we have
                                                                                                    to reference the provisions in 40 CFR
                                            98.94(f)(3)(i) and (ii) that the abatement                                                                    also revised the final rule from proposal
                                                                                                    98.94(f)(4)(vi) when accounting for
                                            system has been tested by the abatement                                                                       to require these estimates from HC fuel
                                                                                                    uptime when redundant abatement
                                            system manufacturer using a                                                                                   CECS purchased and installed on or
                                                                                                    systems are used. See section III.G.2.a.
                                            scientifically sound, industry-accepted                                                                       after January 1, 2025. We are also
                                                                                                    of this preamble for additional
                                            measurement methodology that                                                                                  finalizing corresponding monitoring,
                                                                                                    information on related comments and
                                            accounts for dilution through the                                                                             reporting, and recordkeeping
                                                                                                    the EPA’s response.
                                            abatement system, such as EPA 430–R–                       The EPA is finalizing the addition of              requirements (see 40 CFR 98.94(e), 40
                                            10–003,11 and that the system has been                  a calculation methodology that                        CFR 98.96(o), and 40 CFR 98.97(b),
                                            verified to meet (or exceed) the                        estimates the emissions of CF4 produced               respectively) for facilities that use HC
                                            destruction or removal efficiency used                  in hydrocarbon-fuel based combustion                  fuel CECS purchased and installed
                                            for that fluorinated GHG or N2O under                   emissions control systems (‘‘HC fuel                  during or after 2025 to control emissions
                                            worst-case flow conditions (the highest                 CECs’’) that are not certified not to                 from tools that use either NF3 as an
                                            total F–GHG or N2O flows and highest                    generate CF4. Following consideration                 input gas in RPC processes or F2 as an
                                            total gas flows, with N2 dilution                       of public comments, the calculation will              input gas in any process and assume in
                                            accounted for). Because manufacturers                   be required only for HC fuel CECs                     equation I–9 that one or more of those
                                            routinely conduct DRE testing and are                   purchased and installed on or after                   systems do not form CF4 from F2. Under
                                            familiar with the protocols of EPA 430–                 January 1, 2025. To implement the new                 these requirements facilities must
                                            R–10–003, we anticipate this                            calculation methodology, we are adding                certify and document that the model for
                                            information will be readily available for               a new equation I–9 and renumbering the                each of the systems that the facility
                                            abatement systems purchased in                          previous equation I–9 as equation I–8B.               assumes does not form CF4 from F2 has
                                            calendar year 2025 or later. The EPA is                 Equation I–9 only applies to processes                been tested and verified to produce less
                                            finalizing that the new DRE                             that use F2 as an input gas or to remote              than 0.1 percent CF4 from F2, and that
                                            requirements will be implemented for                    plasma cleaning processes that use NF3                each of these systems is installed,
                                            reports prepared for RY2025 and                         as an input gas. Equation I–9 estimates               operated, and maintained in accordance
                                            submitted March 31, 2026, which                         the emissions of CF4 from generation in               with the directions of the HC fuel CECS
                                            provides over a year for reporters to                   emissions control systems by                          manufacturer. The facility may perform
                                            acquire the necessary documentation.                    calculating the mass of the fluorine                  the testing itself, or it may supply
lotter on DSK11XQN23PROD with RULES2




                                            Reporters are not required to maintain                  entering uncertified HC fuel CECs (the                documentation from the HC fuel CECS
                                                                                                    product of the consumption of the input               manufacturer that supports the
                                              11 Protocol for Measuring Destruction or Removal
                                                                                                    gas, the emission factor for fluorine, and            certification. Because the requirement to
                                            Efficiency of Fluorinated Greenhouse Gas
                                            Abatement Equipment in Electronics
                                                                                                    ai, where ai is the ratio of the number               quantify emissions of CF4 from F2 is
                                            Manufacturing, Version 1, March 2010 (‘‘EPA DRE         of tools with uncertified abatement                   being applied only to HC fuel CECS
                                            Protocol’’), as incorporated at 40 CFR 98.7.            devices for the gas-process combination               purchased and installed on or after


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 34 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31829

                                            January 1, 2025, we anticipate that most                changes as proposed. First, the final rule            assessment, from March 31, 2023, to
                                            HC fuel CECS will be tested by the HC                   revises the applicability of subpart I as             March 31, 2025. Because the EPA is not
                                            fuel CECS manufacturer. If the facility                 follows:                                              implementing the revisions in this final
                                            performs the testing, it is required to                    • Adds a second option in 40 CFR                   rule until January 1, 2025, we have
                                            measure the rate of conversion from F2                  98.91(a)(1) and (2) for estimating GHG                revised the provision in the final rule to
                                            to CF4 using a scientifically sound,                    emissions for semiconductor, MEMS,                    clarify that the first technology
                                            industry-accepted method that accounts                  and LCD manufacturers, for comparison                 assessment report due after January 1,
                                            for dilution through the abatement                      to the 25,000 mtCO2e per year emissions               2025 is due on March 31, 2028. Section
                                            device, such as the EPA DRE Protocol,                   threshold in 40 CFR 98.2(a)(2), that is               III.G.2.b. of this preamble provides
                                            adjusted to calculate the rate of                       based on gas consumption in lieu of                   additional information on the comments
                                            conversion from F2 to CF4 rather than                   production capacity. The revisions                    received related to the frequency of
                                            the DRE.                                                include new equations I–1B and I–2B to                submittal of the technology assessment
                                               The EPA is also finalizing related                   multiply gas consumption by a simple                  report and the EPA’s response.
                                            amendments to 40 CFR 98.94(j)(1)(i) to                  set of emission factors, the gas GWPs,                   We are also finalizing revisions to
                                            require that the uptime (i.e., the fraction             and a factor to account for heat transfer             restrict the reporting requirement in 40
                                            of time that abatement system is                        fluid to estimate emissions. The                      CFR 98.96(y) to facilities that emitted
                                            operational and maintained according to                 emission factors are included in new                  greater than 40,000 mtCO2e and
                                            the site maintenance plan for abatement                 table I–2 to subpart I of part 98 and are             produced wafer sizes greater than 150
                                            systems) during the stack testing period                the same as the emission factors for gas              mm (i.e., 200 mm or larger) during the
                                            average at least 90 percent for                         and process combinations for which                    period covered by the technology
                                            uncertified HC fuel CECS. Following                     there is no default in tables I–3, I–4, or            assessment report, as well as explicitly
                                            consideration of comments received, we                  I–5 to subpart I. Facilities that choose to           state that semiconductor manufacturing
                                            are clarifying in the final rule that these             use this option for their calculation                 facilities that manufacture only 150 mm
                                            provisions are limited to only those HC                 method will be required to track annual               or smaller wafers are not required to
                                            fuel CECS that were purchased and                       gas consumption by GHG but are not                    prepare and submit a technology
                                            installed on or after January 1, 2025,                  required to apportion consumption by                  assessment report. The final provisions
                                            that are used to control emissions from                 process type for the purposes of                      also clarify that a technology assessment
                                            tools that use either NF3 in remote                     assessing rule applicability.                         report need not be submitted by a
                                            plasma cleaning processes or F2 as an                      • Revises the current applicability                facility that has ceased (and has not
                                            input gas in any process type or sub-                   calculation for PV manufacturers to                   resumed) semiconductor manufacturing
                                            type, and that are not certified not to                 revise equation I–3 and refer to new                  before the last reporting year covered by
                                            form CF4. See section III.G.2.a. of this                table I–2, and delete the phrase ‘‘that               the technology assessment report (i.e.,
                                            preamble for additional information on                  have listed GWP values in table A–1,’’                no manufacturing at the facility for the
                                            related comments on HC fuel CECS and                    to increase the accuracy of the estimated             entirety of the year immediately before
                                            the EPA’s response.                                     emissions for determining applicability;              the year during which the technology
                                               Finally, the EPA is not taking final                 and                                                   assessment report is due).
                                            action on proposed revisions to the                        • Updates the emission factors in
                                            calibration requirements for abatement                  table I–1 to subpart I of part 98 used in             2. Summary of Comments and
                                            systems. In the 2022 Data Quality                       the current applicability calculations for            Responses on Subpart I
                                            Improvements Proposal, the EPA                          MEMS and LCD manufacturers based on                      This section summarizes the major
                                            proposed that a vacuum pump’s purge                     new Tier 1 emission factors in the 2019               comments and responses related to the
                                            flow indicators are calibrated every time               Refinement.                                           proposed amendments to subpart I. See
                                            a vacuum pump is serviced or                               Additional information on the EPA’s                the document ‘‘Summary of Public
                                            exchanged, with the expectation that                    revisions to applicability and the final              Comments and Responses for 2024 Final
                                            this requirement would require                          emission factors is available in section              Revisions and Confidentiality
                                            calibrations every one to six months,                   III.E.2.a. of the preamble to the 2022                Determinations for Data Elements under
                                            depending on the process. Following                     Data Quality Improvements Proposal.                   the Greenhouse Gas Reporting Rule’’ in
                                            review of input provided by                                The EPA additionally proposed, and                 Docket ID. No. EPA–HQ–OAR–2019–
                                            commenters, we are not taking final                     is finalizing, to revise the frequency and            0424 for a complete listing of all
                                            action on the proposed revisions.                       applicability of the technology                       comments and responses related to
                                            Removal of the proposed requirements                    assessment report requirements in 40                  subpart I.
                                            is anticipated to reduce the potential                  CFR 98.96(y), which applies to
                                                                                                    semiconductor manufacturing facilities                a. Comments on Revisions To Improve
                                            burden on reporters without any large
                                                                                                    with GHG emissions from subpart I                     the Quality of Data Collected for
                                            effects on data quality. Section III.G.2.a.
                                                                                                    processes greater than 40,000 mtCO2e                  Subpart I
                                            of this preamble provides additional
                                            information on the comments received                    per year. First, we are finalizing                       Comment: The EPA received several
                                            related to vacuum pump purge flow                       amendments to 40 CFR 98.96(y) to                      comments related to the proposed
                                            calibration and the EPA’s response.                     decrease the frequency of submission of               revisions to the stack testing calculation
                                                                                                    the reports from every three years to                 methodology in subpart I. Largely,
                                            b. Revisions To Streamline and Improve                  every five years. As we noted in the                  commenters objected to the EPA’s
                                            Implementation for Subpart I                            preamble to the 2022 Data Quality                     proposal that ‘‘all stacks’’ be tested. The
                                               In the 2022 Data Quality                             Improvements Proposal, revising the                   commenters questioned the use of the
                                            Improvements Proposal, the EPA                          frequency of submission to every five                 terminology ‘‘all stacks’’ within the
lotter on DSK11XQN23PROD with RULES2




                                            proposed several revisions intended to                  years will increase the likelihood that               proposed preamble and disagreed with
                                            streamline the calculation, monitoring,                 reports will include updates in                       the EPA’s assumption that the number
                                            or reporting in specific provisions in                  technology rather than conclusions that               of stacks at each fab is expected to be
                                            subpart I to provide flexibility or                     technology has not changed. At the time               small (e.g., one to two). The commenters
                                            increase the efficiency of data                         of proposal, this would have moved the                provided input from an industry survey
                                            collection. The EPA is finalizing these                 due date for the next technology                      of 33 fabs, suggesting that over 250


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                Page 35 of 164
                                            31830              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            stacks would require testing, as well as                calculate emission factors consistently               However, following consideration of the
                                            an additional 170 process stacks that do                with those already in the EPA’s data set.             comments raised, we are revising the
                                            not contain F–GHGs (e.g., general fab                   For the all-input gas method,                         final rule to require reporters to estimate
                                            exhausts). The commenters urged that                    commenters added that the cap of 0.8                  emission factors using two of the three
                                            adding stacks that do not have the                      for individual testing does not align                 proposed methods (the all-input gas
                                            potential to emit F–GHGs to the stack                   with the maximum seen within                          method and the reference emission
                                            testing scope would add an additional                   historical test data submitted by                     factor method) and to allow reporters to
                                            $60,000 to $200,000 per testing event                   industry, but is instead aligned with the             submit results using an additional
                                            and as much as $400,000 for large sites.                maximum average emission factor                       method of their choice. As noted in the
                                            The commenters requested the EPA                        across all gases. Commenters stated that              preamble to the proposed rule, we plan
                                            clarify that the testing is required for all            the modification to both methods may                  to provide a spreadsheet that will
                                            operating stacks or stack systems that                  amplify or obfuscate technology changes               automatically perform the calculations
                                            have the potential to emit F–GHGs, and                  by setting an artificial maximum                      for the two required methods using a
                                            that the rule retain the current                        emissions value.                                      single data set entered by the reporters,
                                            terminology of ‘‘stack system.’’                           The commenters also stated that it is              minimizing burden. As explained in
                                               Response: Even though the EPA                        unclear how the reference emission                    both section III.E.1.b. to the preamble to
                                            referred to ‘‘all stacks’’ in the proposal              factor method would be implemented.                   the 2022 Data Quality Improvements
                                            preamble, we agree that the testing is                  Specifically, commenters questioned                   proposal and the subpart I technical
                                            required only for all operating stack                   whether 1–U or the byproduct emission                 support document,12 the all-input gas
                                            systems. The proposed and final                         factors would be held constant,                       method is quite consistent with the
                                            regulatory text continue to use the term                maintaining that the method increases                 historically used methods, differing
                                            ‘‘stack system,’’ which is defined as                   the difficulty in comparing individual                from the historically used methods only
                                            ‘‘one or more stacks that are connected                 tests depending on what is held                       under circumstances where the
                                            by a common header or manifold,                         constant, and adding that if new gases                historically used methods are likely to
                                            through which a fluorinated GHG-                        or byproducts are used or measured, the               yield unrealistic results (e.g., where CF4
                                            containing gas stream originating from                  methodology will not have a reference                 is used as an input gas and accounts for
                                            one or more fab processes is, or has the                emission basis to apply. Commenters                   a small fraction of the mass of all input
                                            potential to be, released to the                        expressed that the additional burden                  gases, yielding CF4 input gas emission
                                            atmosphere. For purposes of this                        and complexity of calculating                         factors over 0.8). Of the three methods
                                            subpart, stack systems do not include                   technology emission factors three                     proposed, the reference emission factor
                                            emergency vents or bypass stacks                        different ways could be a disincentive to             method is somewhat less consistent
                                            through which emissions are not                         facility testing and would not improve                with the historically used methods, but
                                            usually vented under typical operating                  overall emissions accuracy.                           is expected to be more robust in that its
                                            conditions.’’ We are finalizing the                        The commenters requested that in                   results are less affected by changing
                                            proposed requirement that all stack                     lieu of the three calculation methods,                ratios of input gases. As discussed
                                            systems must be tested in accordance                    the EPA consider use of the ‘‘multi-gas               further below, both of these methods are
                                            with 40 CFR 98.93(i)(3)(ii).                            method,’’ which attributes all non-                   more consistent with the historical
                                               Comment: The EPA received                            carbon-containing GHGs, such as SF6                   methods and less affected by changing
                                            comments objecting to proposed                          and NF3, to the input of these non-                   input gas ratios than the method favored
                                            revisions to the technology assessment                  carbon-containing GHGs and attributes
                                                                                                                                                          by the commenter, the multi-gas
                                            report to require use of three proposed                 all carbon-containing F–GHG emissions
                                                                                                                                                          method.
                                            calculation methods (i.e., the dominant                 across all carbon-based input F–GHGs.                    After consideration of comments, the
                                            input gas method, all-input gas method,                 The commenters believe that the multi-                EPA is not taking final action on the
                                            and reference emission factor method)                   gas method would appropriately assign                 proposed requirement to report
                                            to develop utilization and byproduct                    emissions (especially for recipes                     emission factors calculated using the
                                            emission factors. The commenters                        running more than two gases at once),                 dominant gas method for several
                                            expressed that each of EPA’s proposed                   would eliminate concerns regarding                    reasons. First, the dominant gas method
                                            methods fails to meet the agency’s goals                emission factors that do not meet
                                                                                                                                                          estimates the input gas emission rate in
                                            for consistent implementation of                        conservation of mass principles, and is
                                                                                                                                                          the same way as the all-input gas
                                            emission factors across facilities and to               not reliant on past or assumed data to
                                                                                                                                                          method, making it redundant with the
                                            allow for comparability across the                      calculate emission factors or byproduct
                                                                                                                                                          all-input gas method for calculation of
                                            industry and in industry emission rates.                emission factors. Commenters explained
                                                                                                                                                          input gas emission rates. Second, the
                                            Specifically, the commenters asserted                   that high variability in single-gas
                                                                                                                                                          dominant gas method estimates the
                                            that the dominant input gas method and                  emission factors is due to a variety of
                                                                                                                                                          byproduct emission rate by assigning all
                                            all-input gas method violate the                        factors, including the amount or
                                                                                                                                                          emissions of F–GHG byproducts to the
                                            physical reality of conservation of mass                concentration of input gases, as well as
                                                                                                                                                          carbon-containing F–GHG input gas
                                            for plasma etch/wafer cleaning                          plasma and manufacturing tool
                                            processes when using multiple gases                     variables, and suggested that use of the              accounting for the largest share by mass
                                            and may lead to byproduct emission                      multi-gas method would generate                       of the input gases, which is anticipated,
                                            factors greater than 1. The commenters                  emission factors consistent and within                as noted by commenters, to be less
                                            continued that the dominant input gas                   the range of the existing emission factor             accurate in cases where input gases of
                                            method does not clearly define what gas                 data, while also being able to                        equal or near-equal mass are used.
                                            would be dominant in situations where                   accommodate new gases and changes in                  Third, in the historical data sets
lotter on DSK11XQN23PROD with RULES2




                                            gases of equal or near-equal mass are                   technology.                                           submitted to the EPA, the all-input gas
                                            used. For both of the all-input gas                        Response: The EPA disagrees with the               method was the most commonly used
                                            method and the dominant input gas                       commenter’s assessment of the three                     12 See document ‘‘Technical Support for
                                            method, the commenters criticized the                   proposed emission factor methods. We                  Proposed Revisions to Subpart I (2022),’’ available
                                            use of a ‘‘cap’’ value of 0.8 as                        also disagree that the proposed                       in the docket for this rulemaking, Docket ID. No.
                                            inconsistent with the agency’s goal to                  requirements are overly burdensome.                   EPA–HQ–OAR–2019–0424.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                Page 36 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                31831

                                            method; therefore, retaining this                       on the data and methodology used to                   result of technological changes in the
                                            approach rather than the dominant gas                   develop any proposed factors.                         semiconductor industry, and whether
                                            method will allow the EPA to more                          Regarding the comment that the                     the changes to the emission factors may
                                            reliably compare the new data                           proposed rule did not clarify how the                 justify further data collection to
                                            submitted to the historical data set.                   reference emission factor would be                    comprehensively update the default
                                            Finally, not requiring use of the                       implemented, including whether the 1–                 emission factors in tables I–3 and I–4.
                                            dominant gas method will reduce                         U or by-product emission factors would                To meet this goal, the emission factors
                                            burden on facilities that are required to               be adjusted, the proposed rule made it                submitted in the technology assessment
                                            submit technology assessment reports.                   clear that both the 1–U and byproduct                 reports should be calculated using
                                                                                                    emission factors would be adjusted                    methods that are similar to the methods
                                               As noted in the preamble to the 2022                 where the emitted gas was also an input               used to calculate the emission factors
                                            Data Quality Improvements proposal,                     gas. The preamble to the proposed rule                already in the EPA’s database;
                                            receiving results based on multiple                     stated, ‘‘the reference emission factor               otherwise, differences attributable to
                                            methods will enable the EPA: (1) to                     method calculates emissions using the                 differences in calculation methods may
                                            directly compare the new emission                       1–U and the BEFs [by-product emission                 amplify or obscure differences
                                            factor data to the emission factor data                 factors] that are observed in single gas              attributable to technology changes. The
                                            that are already in the EPA’s database                  recipes and then adjusts both factors                 multi-gas method assigns emissions of
                                            and that were calculated using the                      based on the ratio between the                        all carbon-containing F–GHGs to all
                                            historical method; and (2) to compare                   emissions calculated based on the                     carbon-containing F–GHG input gases,
                                            the results across the available emission               factors and the emissions actually                    regardless of species, yielding input gas
                                            factor calculation methods and to                       observed in the multi-gas process. This               emission factors that are equal to
                                            identify any systematic differences in                  approach uses all the information                     byproduct gas formation factors for each
                                            the results of the different methods for                available on utilization and by-product               emitted F–GHG. These input gas and
                                            each gas and process type. By                           generation rates from single-gas recipes              byproduct gas emission factors are
                                            identifying and quantifying systematic                  while avoiding assumptions about                      significantly different from the input gas
                                            differences in the results of the different             which of these are changing in the                    and byproduct gas emission factors
                                            methods, we will be better able to                      multi-gas recipe’’ (87 FR 36947). The                 yielded by the historically used
                                            distinguish these differences from                      proposed equations I–31A (for 1–U                     methods, making it difficult to discern
                                            differences attributable to technology                  factors, finalized as equation I–30A) and             the impact of technology changes as
                                            changes. Knowledge of these systematic                  I–31B (for by-product factors, finalized              opposed to calculation method changes
                                            differences will also be useful in the                  as equation I–30B) showed this in                     on the emission factors. In addition, our
                                            event that we ultimately require                        mathematical terms and also showed                    analysis indicated that the multi-gas
                                            facilities to submit emission factors                   how the method would apply where                      method results are highly sensitive to
                                            using one method only, particularly if                  more than two input gases were used.                  the ratios of the masses of input gases
                                            that method is not closely related to one               The proposed rule also clearly indicated              fed into the process, which appears
                                            of the methods used historically. We                    that where a by-product gas was not also              likely to affect the robustness and
                                            will also be able to evaluate how much                  an input gas, proposed equation I–30B                 reliability of emission factors calculated
                                            the results of each method vary for each                (finalized as equation I–29B) was to be               using that method.13 For these reasons,
                                            gas and process type; high variability                  used. Equation I–29B is the equation                  we have concluded that it would not be
                                            may indicate that the results of a                      used in the all-input-gas method as well              appropriate to require submission of
                                            method are being affected by varying                    as the reference emission factor method               emission factors using only the multi-
                                            input gas proportions rather than                       for by-products that are not also input               gas method.
                                            differences in gas behavior. On the other               gases. Equation I–29B would apply to                     However, we are providing an option
                                                                                                    newly observed as well as previously                  in the final rule for reporters to use, in
                                            hand, extremely low variability may
                                                                                                    observed by-product gases that were not               addition to the required all-input gas
                                            also indicate that a method is affected
                                                                                                    also input gases.                                     method and the reference emission
                                            by input gas proportions. For example,                     This leaves only the situation where               factor method, an alternative method of
                                            if the all-input-gas method yields a large              an input gas is used in a process type                their choice to calculate and report
                                            number of input gas emission factors                    for the first time along with other input             updated utilization or byproduct
                                            equal to 0.8, the maximum allowed                       gases. While we expect that this                      formation rates based on the collected
                                            value for input gas emission factors                    situation will be rare, we agree that it              data. Reporters will therefore have the
                                            under this method, this implies that                    should be addressed. We are clarifying                opportunity to provide emission factor
                                            some of the emissions being attributed                  in the final rule that where an input gas             data that are calculated using the multi-
                                            to the input gas are actually being                     is used in a process type with other                  gas method or other methodologies,
                                            generated as byproducts from other                      input gases and there is no 1–U factor                provided the reporter provides a
                                            input gases that are collectively more                  for that input gas in table I–19 or I–20,             complete, mathematical description of
                                            voluminous, conditions under which                      as applicable, the Reference Emission                 the alternative calculation method and
                                            the reference emission factor method                    Factor Method will not be used to                     labels the data calculated using that
                                            may yield the most reliable results.                    estimate the emission factors for that                method consistent with the
                                            Ultimately, these analyses will enable                  process.                                              requirements for the all-input gas
                                            us to more accurately characterize                         We are not specifying the multi-gas                method and the reference emission
                                            emissions from semiconductor                            method as the sole method for                         factor method. Submitting emission
                                            manufacturing by selecting the most                     calculating emission factors submitted                factors calculated using the multi-gas
lotter on DSK11XQN23PROD with RULES2




                                            robust emission factor data for updating                in the technology assessment report. As
                                            the default emission factors in tables I–               noted in the proposed rule, one of the                  13 Id. The EPA has included in the docket a memo

                                            3 and I–4. Note that the EPA would                      EPA’s goals in collecting emission factor             and spreadsheet showing the results of the different
                                            update the default emission factors                                                                           emission factor calculation methods using the same
                                                                                                    data through the technology assessment                data (see Docket ID. No. EPA–HQ–OAR–2019–
                                            using the rulemaking process, providing                 report is to better understand how                    0424–0142, memorandum and attachment 3 Excel
                                            an opportunity for industry to comment                  emission factors may be changing as a                 spreadsheet).



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 37 of 164
                                            31832              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            method along with the other two                         containing byproducts if neither the                  applying the requirements only to
                                            methods would allow us to compare the                   input gases nor the films being etched                equipment purchased after the reporting
                                            results of the multi-gas method to the                  contain carbon. We are therefore                      rule becomes effective. The commenter
                                            results of the other two (one of which                  finalizing an expanded version of the                 stated that verification testing would be
                                            is very similar to the primary                          proposed provision, setting carbon-                   especially burdensome; the commenter
                                            historically used method) and to                        containing byproduct emission factors                 estimated testing to take approximately
                                            identify any systematic differences. As                 to zero for etching and wafer cleaning                20 weeks per chemistry and stated it
                                            noted above, by identifying and                         processes as well as chamber-cleaning                 could take up to 2+ years for individual
                                            quantifying systematic differences in the               processes when these conditions are                   vendors to have required
                                            results of the different methods, we will               met. The revisions align the rule                     documentation. The commenter also
                                            be better able to distinguish these                     requirements with the 2019 Refinement.                expressed concern that the proposed
                                            differences from differences attributable                  Comment: Commenters expressed                      requirements could have cascading
                                            to technology changes. We may also be                   several concerns regarding the EPA’s                  impacts to facility manufacturing and
                                            able to relate the results of the historical            proposed revisions to the conditions                  operating permits based on state
                                            methods to the results of methods that                  under which the default DRE may be                    implementation of the Tailoring Rule,
                                            differ from those used historically.                    claimed. One commenter requested the                  which typically rely on GHGRP
                                            Receiving emission factors calculated                   EPA remove the requirement to provide                 protocols. Commenters supported
                                            using three methods would also allow                    supporting documentation for all                      aligning the emission control device
                                            us to better assess the robustness and                  abatement units using certified default               operational requirements for default
                                            reliability of the emission factors                     or lower than default DREs. The                       POU DREs with the following 2019
                                            calculated using all three methods, e.g.,               commenter also requested the EPA                      Refinement language: ‘‘. . . obtain a
                                            by seeing which methods yield highly                    clarify that reporters are not required to            certification by the emissions control
                                            variable emission factors within each                   maintain supporting documentation on                  system manufacturers that their
                                            input gas-process type combination.                     abatement units for which a DRE is not                emissions control systems are capable of
                                            Because the final rule does not require                 being claimed.                                        removing a particular gas to at least the
                                            reporters to submit emission factors                       Commenters also contended that the                 default DRE in the worst-case flow
                                            calculated using an alternative                         existing language in subpart I is                     conditions, as defined by each reporting
                                            methodology, the requirement to                         sufficient to ensure proper point-of-use              site.’’
                                            provide a complete, mathematical                        (POU) device performance while being                     The commenter also requested the
                                            description of the alternative calculation              consistent with the 2019 Refinement,                  EPA include language supporting full
                                            method used is not anticipated to add                   and the requirement to provide                        uptime for emission control devices
                                            significant burden.                                     supporting documentation of                           interlocked with manufacturing tools or
                                               Comment: Commenters supported the                    manufacturer certified POU DREs,                      with abatement redundancy. The
                                            proposal to remove BEFs for C4F6 and                    including testing method, is                          commenter supported 2019 Refinement
                                            C5F8 and the decision to not add COF2                   burdensome and may be unachievable,                   language that: ‘‘Inventory compilers
                                            and C2F4, as byproduct emissions of                     especially for older abatement units.                 should also note that UT [uptime] may
                                            them account for <<0.001% of overall                    One commenter expressed concern that                  be set to one (1) if suitable backup
                                            GHG emissions from semiconductor                        the proposed increase in certification                emissions control equipment or
                                            manufacturing operations. One                           and documentation requirements                        interlocking with the process tool is
                                            commenter also requested the EPA                        beyond existing POU operational                       implemented for each emissions control
                                            clarify that carbon-containing byproduct                requirements will dissuade                            system. Thus, using interlocked process
                                            emission factors are zero when                          semiconductor companies from                          tools or backup emissions control
                                            calculating emissions from non-carbon                   accounting for DREs from installed                    systems reduces uncertainty by
                                            containing input gases (SF6, NF3, F2, or                POU, resulting in an over-estimate of                 eliminating the need to estimate UT for
                                            other non-carbon input gases) and when                  emissions from the semiconductor                      the reporting facility.’’ The commenter
                                            the film being etched or cleaned does                   industry. The commenter also stated                   contended that such language will drive
                                            not contain carbon, as this would align                 that adding operational elements of fuel              further use of manufacturing tool
                                            the EPA final rule with the 2019                        and oxidizer settings, fuel gas flows and             interlocks or emission control system
                                            Refinement.                                             pressures, fuel calorific values, and                 redundancy while having the added
                                               Response: The EPA is finalizing the                  water quality, flow, and pressures to the             benefit of simplifying uptime tracking of
                                            rule as proposed to remove the BEFs for                 POU DRE requirements are outside the                  individual POU.
                                            C4F6 and C5F8. The EPA is also not                      manufacturer-specified requirements for                  Response: The EPA is clarifying in
                                            adding BEFs for COF2 or C2F4. For non-                  emissions control and are not necessary               this response that reporters are not
                                            carbon containing input gases used in                   to ensure accurate POU DREs.                          required to maintain documentation of
                                            cleaning processes, we proposed to set                  Commenters stated that abatement                      the DRE on abatement units for which
                                            carbon-containing byproduct emission                    equipment installed across the industry               a DRE is not being claimed. However,
                                            factors to zero when the combination of                 does not have manufacturer                            no regulatory changes are needed to
                                            input gas and chamber cleaning process                  specifications for all listed parameters,             reflect this clarification. For abatement
                                            sub-type is never used to clean chamber                 or the capability to track all listed                 units for which a DRE is being claimed,
                                            walls on manufacturing tools that                       parameters. Commenters concluded that                 reporters are still required to provide
                                            process carbon-containing films during                  these and other POU default DRE                       certification that the abatement systems
                                            the year (e.g., when NF3 is used in                     certification and documentation                       for which emissions are being reported
                                            remote plasma cleaning processes to                     requirements go above and beyond the                  were specifically designed for
lotter on DSK11XQN23PROD with RULES2




                                            only clean chambers that never process                  2019 Refinement and will make it more                 fluorinated GHG or N2O abatement, as
                                            carbon-containing films during the                      difficult for U.S. reporters to take credit           applicable, and support the certification
                                            year). We agree with the commenter that                 for installed and future emissions                    by providing abatement system supplier
                                            non-carbon-containing input gases used                  control devices, resulting in a less                  documentation stating that the system
                                            in etching processes are similarly not                  accurate, overestimated GHG emissions                 was designed for fluorinated GHG or
                                            expected to give rise to carbon-                        inventory. One commenter supported                    N2O abatement. The facility must certify


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 38 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31833

                                            that the DRE provided by the abatement                  sound, industry-accepted measurement                  specific exhaust stream during the
                                            system manufacturer is greater than or                  methodology that accounts for dilution                reporting year.’’ This provision achieves
                                            equal to the DRE claimed (either the                    through the abatement system, such as                 nearly the same objective as suggested
                                            default, if the certified DRE is greater                the EPA DRE Protocol (EPA 430–R–10–                   by the commenters. To clarify this
                                            than or equal to the default, or the                    003), and verified to meet (or exceed)                point, the EPA is revising the definition
                                            manufacturer-verified DRE itself, if the                the default destruction or removal                    of the terms ‘‘Tdijp’’ in equation I–15
                                            certified DRE is lower than the default                 efficiency for the fluorinated GHG or                 and ‘‘Tdpf’’ in equation I–23 to reference
                                            DRE). To use the default or lower                       N2O under worst-case flow conditions.                 the provision in 40 CFR 98.94(f)(4)(vi)
                                            manufacturer-verified destruction or                    Since manufacturers routinely conduct                 when accounting for uptime when
                                            removal efficiency values, operation of                 DRE testing and are familiar with the                 redundant abatement systems are used.
                                            the abatement system must be within                     protocols of EPA 430–R–10–003, this                      Comment: Commenters objected to
                                            the manufacturer’s specifications. It was               information would be readily available                the EPA’s proposed requirements to
                                            not the EPA’s intent to require that                    for abatement systems purchased in                    include a calculation methodology to
                                            certified abatement systems that operate                calendar year 2025 or later. Further,                 estimate emissions of CF4 produced in
                                            within the manufacturer’s specifications                these final rule requirements will be                 hydrocarbon-fuel based combustion
                                            must meet all the operational                           implemented for reports prepared for                  emissions control systems (HC fuel
                                            parameters listed, and we are revising                  RY2025 and submitted March 31, 2026,                  CECS) that are not certified not to
                                            the final rule at 40 CFR 98.96(q)(2) to                 providing adequate time for reporters to              generate CF4. The commenters claimed
                                            add ‘‘which may include, for example,’’                 acquire documentation.                                that the CF4 byproduct emissions from
                                            to clarify that, in order to use the default               The EPA agrees with the                            HC fuel CEC abatement of F2 gas (from
                                            or lower manufacturer-verified                          recommendation to align the rule with                 etch or remote plasma chamber cleaning
                                            destruction or removal efficiency                       the 2019 Refinement with respect to the               processes) are based on limited and
                                            values, operation of the abatement                      uptime factor for interlocked tools and               unverified data. Specifically, the
                                            system must be within those                             abatement systems and is making this                  commenters expressed concern that the
                                            manufacturer’s specifications that apply                change in the final rule. The use of                  values documented within the 2019
                                            for the certification.                                  interlocked tools is already accounted                Refinement and referenced within the
                                                                                                    for in the current rule in the definition             proposal are based on a single,
                                              In the final rule, the EPA is
                                                                                                    of terms ‘‘UTijp’’ and ‘‘UTpf’’ in                    confidential data set from one
                                            maintaining the current certification
                                                                                                    equations I–15 and I–23 (the total time               abatement supplier. One commenter
                                            and documentation requirements for                      in minutes per year in which the                      stated that developing regulatory
                                            older POU abatement devices, although                   abatement system has at least one                     language around this single, unverified
                                            the certification must contain a                        associated tool in operation), which                  data set does not accurately represent
                                            manufacturer-verified DRE value that is                 state that ‘‘[i]f you have tools that are             the CF4 byproduct emissions from the
                                            equal to or higher than the default in                  idle with no gas flow through the tool                uses or generation of F2 and may deliver
                                            order to claim the default DRE; facilities              for part of the year, you may calculate               an advantage to the single emissions
                                            are allowed to claim a lower                            total tool time using the actual time that            control system supplier that provided
                                            manufacturer-verified value if the                      gas is flowing through the tool.’’                    the data.
                                            provided certified DRE is lower than the                However, to clarify and simplify the                     The commenters also listed the
                                            default. The EPA concurs that some                      calculation of uptime where interlocked               following concerns with the information
                                            older POU abatement systems may not                     tools are used, the EPA is revising the               provided within the 2019 Refinement
                                            have full documentation from the                        definition of the term ‘‘UTij’’ in equation           and the proposed rule supporting
                                            manufacturer of the test methods used                   I–15 to say that if all the abatement                 documentation upon which the CF4
                                            and whether testing was conducted                       systems for the relevant input gas and                byproduct (ABCF4,F2 and BF2,NF3) is
                                            under worst-case flow conditions;                       process type are interlocked with all the             based:
                                            however, we believe this documentation                  tools feeding them, the uptime may be                    • The F2 emission values presented in
                                            should be available for most newer                      set to one (1). The revised text specifies            ‘‘Influence of CH4-F2 mixing on CF4
                                            abatement systems. As a result,                         that ‘‘all’’ tools and abatement systems              byproduct formation in the combustive
                                            reporters with the older POU abatement                  for the relevant input gas and process                abatement of F2’’ by Gray & Banu (2018)
                                            devices will not have any additional                    sub-type or type are interlocked because              are based on testing conducted in a lab
                                            documentation requirements beyond                       the numerator and denominator of the                  under conditions that are not found in
                                            those currently in place, except to                     uptime calculation in equations I–15                  actual semiconductor abatement
                                            provide the certified DRE. Following a                  and I–23 are separately summed across                 installations. Test methods do not
                                            review of annual reports submitted                      abatement systems for input gas ‘‘i’’ and             appear to adhere to those specified in
                                            under subpart I, we determined that                     process sub-type or type ‘‘j.’’ Similar               industry standard test methods or the
                                            facilities have historically provided                   changes are made for the same reasons                 EPA DRE Protocol. F2 results are
                                            manufacturer-verified DRE values for all                in the definition of ‘‘UTf’’ in equation I–           measured from a device, the MST
                                            abatement systems for which emission                    23. With the use of an interlock between              Satellite XT, designed to provide
                                            reductions have been claimed.                           the process tool and abatement device,                ‘‘nominal’’ F2 concentrations meant for
                                            Therefore, we have determined that                      the process tool should never be                      health and safety risk management and
                                            these final requirements are reasonable.                operating when the abatement device is                not for environmental emissions
                                            The EPA is finalizing the new                           not operating.                                        measurement.
                                            documentation requirements for POU                         The current rule also accounts for the                • ‘‘FTIR spectrometers measure
                                            abatement devices purchased on or after                 use of redundant abatement systems.                   scrubber abatement efficiencies’’ by Li,
lotter on DSK11XQN23PROD with RULES2




                                            January 1, 2025 under 40 CFR                            Section 98.94(f)(4)(vi) currently states,             et al. (2002) and ‘‘Thermochemical and
                                            98.94(f)(3)(i) and (ii), these additional               ‘‘If your fab uses redundant abatement                Chemical Kinetic Data for Fluorinated
                                            requirements include that the                           systems, you may account for the total                Hydrocarbons’’ by Burgess, et al. (1996)
                                            manufacturer-verified DREs reflect that                 abatement system uptime (that is, the                 provide anecdotal and hypothetical
                                            the abatement system has been tested by                 time that at least one abatement system               emission pathways for the combustion
                                            the manufacturer using a scientifically                 is in operational mode) calculated for a              of fluorinated gases, but do not confirm


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 39 of 164
                                            31834              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            reliable and peer reviewed CF4 emission                 of equation I–9 and associated ABCF4,F2               will use tool counts in this case rather
                                            results from current semiconductor                      and BF2,NF3 data elements; one                        than the usual gas apportioning model.
                                            manufacturing use or generation of F2.                  commenter added that an alternative                   This should be straightforward because
                                               • EPA references a single,                           would be to make changes to HC fuel                   it requires the reporters to: (1) count the
                                            confidential data set from Edwards, Ltd.                CECS requirements to remove confusion                 total number of tools running the
                                            (2018) upon which numerical ABCF4,F2                    and double counting of emissions.                     process type of interest (either RPC NF3
                                            and BF2,NF3 values are based. This single                  Response: The EPA disagrees with the               or F2 in any process type); (2) count the
                                            data set of 15 measurements refers to an                commenter after a thorough review of                  number of tools running that process
                                            RPC NF3 to F2 emission value based on                   the issue, as documented in detail in a               type that are equipped with HC fuel
                                            mass balance. The commenter opposed                     memorandum in the docket for the final                CECs that are not certified not to form
                                            using the data provided by Edwards                      rulemaking.14 The analysis conducted                  CF4; and (3) divide (2) by (1).
                                            confidentially without the ability to                   for the EPA demonstrated that: (1) the                   The EPA is revising the final rule to
                                            review the underlying data and                          formation of CF4 by reaction of CH4 and               require that reporters must only provide
                                            experimental procedure of the 15                        F2 in POU combustion systems is                       estimates of CF4 emissions from HC fuel
                                            measurements upon which the RPC NF3                     thermodynamically favored and that                    CECS purchased and installed on or
                                            to F2 emission factor was based. Mass                   there is no question that CF4 emissions               after January 1, 2025. We recognize that
                                            balance has shown to be a highly                        can be observed if mixing of CH4 and F2               applying the testing, certification, and
                                            conservative method in estimating                       is allowed to occur; (2) that a revised               emissions estimation requirements to
                                            emission factors and this confidential                  BF2,NF3 default emission factor of 0.5 is             older equipment would have expanded
                                            data set lacks visibility into                          well supported by scientific peer-                    the set of equipment for which testing
                                            repeatability, experimental design, and                 reviewed evidence to describe the                     would need to be performed and/or
                                            semiconductor process applicability.                    formation of F2 from NF3-based RPC                    emissions would need to be estimated,
                                               The commenters further contended                     processes; (3) that the proposed default              which may have posed logistical
                                            that the requirement to calculate CF4                   value for ABCF4,F2 of 0.116, describing               challenges, particularly for older
                                            emissions from HC fuel CECS abatement                   the rate of formation of CF4 from F2, is              equipment that may no longer be
                                            of F2, based on equation I–9 if the HC                  well supported by experimental                        manufactured. Making the requirements
                                            fuel CECS is not certified to not convert               evidence under conditions that are                    applicable only to HC fuel CECs
                                            F2 at less than 0.1%, adds complexity to                representative of the designs and use of              purchased and installed on or after
                                            apportioning RPC NF3 and F2 to both                     commercially available POU emissions                  January 1, 2025 ensures that abatement
                                            <0.1% certified and uncertified HC fuel                 control systems in production                         system manufacturers and/or electronics
                                            CECS and will require time and cost                     conditions; (4) that there is strong prima            manufacturers can test the equipment
                                            investments which are not justified by                  facie evidence of the formation of CF4                and measure its CF4 generation rate
                                            data. One commenter added that this                     from within POU emissions control                     from F2 by March 31, 2026, by which
                                            could disincentivize the use of low                     systems during the production of                      time facilities must either certify that
                                            emission NF3 cleans or potentially slow                 semiconductor devices; and (5) that not               the HC fuel CECS do not generate CF4
                                            implementation of F2 processes with                     reporting such CF4 emissions could lead               or quantify CF4 emissions from the HC
                                            zero-GWP potential due to the                           to a significant underestimation of GHG               fuel CECS.
                                            requirement to report CF4 BEF                           emissions from semiconductor                             The EPA recognizes that the new
                                            generation with tools with POU                          manufacturing facilities.                             requirement to report CF4 emissions
                                            abatement. Another commenter added                         Based on the evidence documented in                from HC fuel CECS could lead to a time
                                            that this requirement appears to apply                  the memorandum, the EPA is finalizing                 series inconsistency in reported
                                            to all relevant HC fuel CECS regardless                 as proposed the requirement that the                  emissions. However, such an
                                            of whether a default or measured DRE                    electronic manufacturers estimate and                 inconsistency is not in conflict with the
                                            is claimed for the abatement device. The                report CF4 byproduct emissions from                   overall purpose of the GHGRP to
                                            commenter stated that if HC fuel CECS                   hydrocarbon-fuel-based POU emissions                  accurately estimate GHG emissions. Nor
                                            abatement suppliers and device                          control systems that abate F2 processes               would it be unique to the electronics
                                            manufacturers are not able to provide                   or NF3-based RPC processes.                           industry, because other GHGRP subparts
                                            the required certification to exempt                       The EPA is also requiring that                     have been revised in ways that altered
                                            systems from this added emission, for                   reporters estimate CF4 emissions from                 the time series of the emissions as new
                                            every kilogram of RPC NF3 used, CO2e                    all POU abatement devices that are not                source types were added or more
                                            emissions out of the HC fuel CECS will                  certified not to produce CF4, even if                 accurate methods were adopted. For
                                            increase more than 600% for 200 mm                      they are not claiming a DRE from those                example, in 2015, subpart W was
                                            and more than 400% for 300 mm                           devices, because the CF4 emissions from               updated to include a new source,
                                            processes. Commenters added that this                   HC fuel combustion in the abatement of                completions and workovers of oil wells
                                            jump in CF4 emissions will result in a                  F2 or F–GHG is a separate issue from                  with hydraulic fracturing, in the
                                            time series inconsistency for                           whether or not a DRE is claimed for the               existing Onshore Petroleum and Natural
                                            semiconductor industry greenhouse gas                   same devices. The EPA disagrees that                  Gas Production segment and also added
                                            reporting.                                              the rule is adding unnecessary                        two entirely new segments, the Onshore
                                               One commenter also stated that, if                   complexity to apportion RPC NF3 and F2                Petroleum and Natural Gas Gathering
                                            EPA maintains this requirement, it is                   between POU abatement systems that                    and Boosting and Onshore Natural Gas
                                            unclear if equation I–9 applies in                      are certified not to convert F2 to CF4 and            Transmission Pipelines segments. Such
                                            addition to or in place of existing CF4                 those that are not certified. Reporters               changes in reported emissions are often
                                            byproduct emission factors. The                                                                               documented in the public data,
lotter on DSK11XQN23PROD with RULES2




                                            commenter requested that CF4                              14 Memorandum from Sebastien Raoux to U.S.          including in the EPA’s sector profiles.
                                            emissions from the HC fuel CECS                         EPA. ‘‘CF4 byproduct formation from the                  The EPA is clarifying in this response
                                            abatement of F2, as calculated by                       combustion of CH4 and F2 in Point of Use emissions    to comment that equation I–9 is in
                                                                                                    control systems in the electronics industry.’’
                                            equation I–9, are applied instead of, not               Prepared for the U.S. EPA. May 2023, available in
                                                                                                                                                          addition to, rather than in place of, CF4
                                            in addition to, default CF4 BEFs for RPC                the docket for this rulemaking, Docket ID. No. EPA–   byproduct factors for RPC NF3, because
                                            NF3. Commenters requested the removal                   HQ–OAR–2019–0424.                                     the CF4 byproduct factors for RPC NF3


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 40 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31835

                                            represent emissions from the process                    proposed requirement that the uptime                  includes equation I–9, is one of the
                                            before abatement, and these emissions                   during the stack testing period must                  paragraphs used to calculate emissions
                                            were measured without abatement                         average at least 90 percent for                       based on default gas utilization rates
                                            equipment running.                                      uncertified hydrocarbon-fueled                        and byproduct formations rates.
                                               Comment: One commenter supported                     emissions control systems. The                           Comment: One commenter objected to
                                            using the term ‘‘hydrocarbon-fuel-based                 commenters asserted that uptime                       the EPA’s proposed calibration
                                            combustion emissions control systems’’                  tracking for uncertified abatement                    requirements for abatement systems,
                                            (HC fuel CECS) because it aligns with                   devices is excessive, goes beyond the                 specifically for vacuum pump purge
                                            the nomenclature within 2019                            2019 Refinement requirements, and                     systems. The commenter urged that this
                                            Refinement rather than the less used                    does not improve the accuracy of                      would have significant impacts on the
                                            ‘‘hydrocarbon-fueled abatement                          emissions estimates. The commenter                    semiconductor industry and would
                                            systems’’ or other terms. The commenter                 requested language to limit this                      drive a major increase in pump
                                            explained that semiconductor facilities                 requirement to ‘‘at least 90% uptime of               replacement and tool downtime. The
                                            widely implement large, facility-level                  NF3 remote plasma clean HC fuel CECS                  commenter explained that POU
                                            volatile organic compound abatement                     devices that are not certified to not form            abatement devices and their connected
                                            devices to eliminate and control criteria               CF4 during the test.’’ The commenter                  vacuum pumps are separate systems,
                                            volatile and non-volatile organic                       also requested EPA clarify that equation              and while physically connected, POU
                                            compounds, with no expectation of                       I–9 does not apply in addition to stack               maintenance and pump replacement
                                            fluorinated greenhouse gas emissions.                   testing requirements. The commenter                   schedules are independent of one
                                            The commenter expressed concern that                    requested that CF4 emissions from the                 another. Further, the commenter
                                            the broad definition of HC fuel CECS                    HC fuel CECS abatement of F2, as                      asserted that pump purge flow
                                            may be interpreted to include all                       calculated by equation I–9, be                        calibration is technically and
                                            hydrocarbon-based fuel control systems,                 specifically exempted from the stack                  operationally infeasible for device
                                            not just tool-level POU abatement. The                  testing method as it would double count               manufacturers to perform. The
                                            commenter added that, although not                      CF4 emissions.                                        commenter explained that purge flow
                                            currently implemented, future facility-                    Response: The EPA agrees with the                  indicators are factory calibrated and are
                                            level F–GHG abatement systems could                     commenter that it would be helpful to                 part of the pump installation and
                                            be incorrectly included in the scope of                 clarify of the applicability of the 90-               commissioning; if there is a flow
                                            equation I–9 as it is written. The                      percent uptime requirement for HC fuel                indicator failure, the vacuum pump is
                                            commenter requested that all emissions                  CECS. The EPA is revising the rule                    replaced with a factory-calibrated
                                            control systems language is updated to                  language at 40 CFR 98.94(j)(1) to further             pump. The commenter stated that pump
                                            be consistent. The commenter also                       limit the HC fuel CECS 90-percent                     maintenance and repair is not typically
                                            specifically requested the definition of                uptime requirement to systems that                    performed at the manufacturing tool and
                                            ‘‘hydrocarbon-fuel-based combustion                     were purchased and installed on or after              requires pump disconnection and
                                            emission control systems’’ be tailored to               January 1, 2025 and that are used to                  physical removal, and thus pumps are
                                            specify HC fuel CECS connected to                       control emissions from tools that use                 often repaired off-site. The commenter
                                            manufacturing tools, and include the                    either NF3 in remote plasma cleaning                  stressed that pump manufacturers do
                                            following language: ‘‘and have the                      processes or F2 as an input gas in any                not provide recommendations or
                                            potential to emit fluorinated greenhouse                process type or sub-type. Either of these             specifications for re-calibration of these
                                            gases.’’                                                input gas-process type combinations                   pumps. The commenter added that
                                               Response: The EPA agrees with the                    may exhaust F2 into HC fuel CECS,                     there is no pump redundancy installed
                                            commenter and has revised the                           potentially leading to the formation of               on a tool, and to check the calibration
                                            proposed language to include the term,                  CF4. The qualification ‘‘that are not                 and potentially replace the flow
                                            ‘‘hydrocarbon-fuel-based combustion                     certified not to form CF4’’ is being                  transducer, the vacuum pump must be
                                            emissions control systems’’ (HC fuel                    finalized as proposed.                                shutdown to safely work on it. The
                                            CECS) to align with the nomenclature                       Regarding the commenters’ concerns                 commenter noted that any replacement
                                            within 2019 Refinement. The EPA is                      related to the uptime tracking                        of the pump would require a tool
                                            also clarifying in the final rule that these            requirements for uncertified abatement                shutdown and therefore 12 to 48 hours
                                            requirements apply only to equipment                    devices during stack testing, we reiterate            of downtime for manufacturing
                                            that is connected to manufacturing tools                that the uptime tracking requirement                  requalification.
                                            that have the potential to emit F2 or F–                during stack testing is for hydrocarbon-                 The commenter stated that pumps
                                            GHGs. It is important to include                        fueled abatement devices that are not                 remain continually in service on the
                                            emissions of F2 as well as F–GHGs since                 certified to not form CF4, because these              order of years and asserted that pump
                                            it is F2 that may combine with                          reporters still need to account for CF4               vendors indicate that pumps can remain
                                            hydrocarbon fuels to generate CF4                       emissions even if not accounting the                  in service for many years without
                                            emissions. These changes include                        abatement device’s F–GHG DRE.                         requiring calibration of the pump purge.
                                            revising ‘‘hydrocarbon fuel-based                          The EPA is also clarifying in this                 The commenter provided that pump
                                            emissions control systems’’ to ‘‘HC fuel                response that equation I–9 is not in                  changes and refurbishment costs can be
                                            CECS’’ in the terms ‘‘EABCF4,’’ aF2,j,’’                addition to stack test calculations. The              over $5,000 per occurrence and noted
                                            ‘‘UTF2,j,’’ ‘‘ABCF4,F2,’’ ‘‘aNF3,RPC,’’ ‘‘and           emissions from HC fuel CECS, should                   that pump repair or calibration activities
                                            ‘‘UTNF3,RPC,F2’’ defined in equation I–9.               they occur, will be captured by the stack             can require significant coordination
                                               Comment: One commenter requested                     testing measurements. Because equation                with factory and site operations due to
                                            the EPA specify that HC fuel CECS                       I–9 is not included in or referenced by               the highly specialized equipment and
lotter on DSK11XQN23PROD with RULES2




                                            uptime during stack testing is                          the stack testing section, the regulatory             resources needed. The commenter
                                            ‘‘representative of the emissions stream’’              text in 40 CFR 98.93(i) as currently                  estimated that semiconductor
                                            and the EPA specify that HC fuel CECS                   drafted does not need any additional                  manufacturing sites can have 2,000+
                                            uptime during stack testing applies to                  revision. However, the header paragraph               POU abatement devices as well as
                                            RPC NF3 or input F2 processes only. The                 40 CFR 98.93(a) has been revised to                   4,000+ vacuum pumps in a high-
                                            commenter questioned the EPA’s                          clarify that paragraph (a)(7), which                  volume-manufacturing site. The


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 41 of 164
                                            31836              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            commenter subsequently estimated that                      Response: The EPA acknowledges the                 finalizing revisions to the recordkeeping
                                            the EPA’s proposed revisions could                      commenter’s support and is finalizing                 and reporting requirements of subpart N
                                            result in pump downtime, process                        revisions to 40 CFR 98.96(y) to decrease              as proposed in the 2023 Supplemental
                                            equipment tool downtime, and                            the frequency of submission of                        Proposal. The final revisions add
                                            maintenance costs to the U.S.                           technology assessment reporters to                    reporting provisions at 40 CFR
                                            semiconductor industry of about $40                     every 5 years, as proposed. However,                  98.146(a)(3) and (b)(4) to require the
                                            million annually.                                       because the EPA is not implementing                   annual quantity (in tons), by glass type
                                               The commenter also stated that they                  the final revisions until January 1, 2025             (e.g., container, flat glass, fiber glass, or
                                            believe the existing performance                        (see section V. of this preamble), we                 specialty glass), of cullet charged to
                                            certification of POU emissions control                  have revised the provision to clarify that            each continuous glass melting furnace
                                            devices based on high flow conditions                   the first technology assessment report                and in all furnaces combined, and
                                            are highly protective of POU system                     due after January 1, 2025 is due on                   revises 40 CFR 98.146(b)(9) to require
                                            reliability. The commenter reiterated                   March 31, 2028. Subsequent reports                    the number of times in the reporting
                                            that high flow POU certification is based               must be submitted every 5 years no later              year that missing data procedures were
                                            on maximum device flows, which, for                     than March 31 of the year in which it                 used to measure monthly quantities of
                                            multi-chamber tools, includes all                       is due.                                               cullet used. The final revisions also add
                                            chambers running at once. The                                                                                 recordkeeping provisions to 40 CFR
                                            commenter urged that significant                        H. Subpart N—Glass Production
                                                                                                                                                          98.147(a)(3) and (b)(3) to require the
                                            variations in pump purge flows are                         We are finalizing several amendments               monthly quantity of cullet (in tons)
                                            unlikely and the magnitude of these                     to subpart N of part 98 (Glass                        charged to each continuous glass
                                            variations would be a small component                   Production) as proposed. The EPA                      melting furnace by product type (e.g.,
                                            of overall POU flow volumes. As such,                   received only supportive comments for                 container, flat glass, fiber glass, or
                                            the commenter urged that pump purge                     the proposed revisions to subpart N. See              specialty glass). Differences in the
                                            flows are not necessary to calibrate after              the document ‘‘Summary of Public                      quantities of cullet used in the
                                            initial pump commissioning.                             Comments and Responses for 2024 Final                 production of different glass types can
                                               Response: The EPA agrees with the                    Revisions and Confidentiality                         lead to variations in emissions, and, due
                                            commenter that calibration of N2 purge                  Determinations for Data Elements under                to lower melting temperatures, can
                                            flows is normally done during pump                      the Greenhouse Gas Reporting Rule’’ in                reduce the amount of energy and
                                            service or maintenance, when the                        Docket ID. No. EPA–HQ–OAR–2019–                       combustion required to produce glass.
                                            pumps are typically: (1) disconnected                   0424 for a complete listing of all                    As such, the annual quantities of cullet
                                            from the process tool; (2) replaced by a                comments and responses related to                     used will further improve the EPA’s
                                            new or refurbished pump; and (3)                        subpart N. We are also finalizing as                  understanding of variations and
                                            brought to a ‘‘service center’’ for                     proposed related confidentiality                      differences in emissions estimates,
                                            refurbishment (sometimes on-site,                       determinations for data elements                      industry trends, and verification, as well
                                            sometimes off-site). The EPA also                       resulting from the revisions to subpart               as improve analysis for the Inventory.
                                            concurs with commenters that requiring                  N, as described in section VI. of this                Additional rationale for these
                                            N2 pump purge calibration could be                      preamble.                                             amendments is available in the
                                            disruptive if done outside of ‘‘normal’’                   The EPA is finalizing two revisions to             preamble to the 2022 Data Quality
                                            service periods. Consequently, the EPA                  the recordkeeping and reporting                       Improvements Proposal and 2023
                                            proposed to require that pump purge                     requirements of subpart N of part 98                  Supplemental Proposal.
                                            flow indicators be calibrated ‘‘each time               (Glass Production) as proposed in the
                                            a vacuum pump is serviced or                            2022 Data Quality Improvement                         I. Subpart P—Hydrogen Production
                                            exchanged’’ rather than more frequently.                Proposal. The revisions apply to both                    We are finalizing several amendments
                                            The anticipated frequency of calibration                CEMS and non-CEMS reporters and                       to subpart P of part 98 (Hydrogen
                                            mentioned in the preamble, every six                    require that facilities report and                    Production) as proposed. In some cases,
                                            months, was intended to be descriptive                  maintain records of annual glass                      we are finalizing the proposed
                                            rather than prescriptive. Thus, the EPA                 production by glass type (e.g., container,            amendments with revisions. In other
                                            does not believe that the proposed                      flat glass, fiber glass, specialty glass).            cases, we are not taking final action on
                                            requirement would have the large                        Specifically, the final amendments                    the proposed amendments. Section
                                            economic impacts cited by the                           revise (1) 40 CFR 98.146(a)(2) and (b)(3)             III.I.1. of this preamble discusses the
                                            commenter. Nevertheless, because it                     to require the annual quantity of glass               final revisions to subpart P. The EPA
                                            appears that pumps are typically factory                produced in tons, by glass type, from                 received several comments on the
                                            calibrated when commissioned and are                    each continuous glass melting furnace                 proposed subpart P revisions which are
                                            replaced with factory-calibrated pumps                  and from all furnaces combined; and (2)               discussed in section III.I.2. of this
                                            when the flow indicator fails, a                        40 CFR 98.147(a)(1) and (b)(1), to add                preamble. We are also finalizing related
                                            calibration requirement is not required.                that records must also be kept on the                 confidentiality determinations for data
                                            Therefore, the EPA is not taking final                  basis of glass type. Differences in the               elements resulting from the revisions to
                                            action on the proposed calibration                      composition profile of raw materials,                 subpart P, as described in section VI. of
                                            requirement.                                            use of recycled material, and other                   this preamble.
                                                                                                    factors lead to differences in emissions
                                            b. Comments on Revisions To                             from the production of different glass                1. Summary of Final Amendments to
                                            Streamline and Improve                                  types. Collecting data on the annual                  Subpart P
                                            Implementation for Subpart I                            quantities of glass produced by type will                This section summarizes the final
lotter on DSK11XQN23PROD with RULES2




                                               Comment: One commenter supported                     improve the EPA’s understanding of                    amendments to subpart P. Major
                                            finalizing the amendment to 40 CFR                      emissions variations and industry                     changes to the final rule as compared to
                                            98.96(y) decreasing the frequency of                    trends, and improve verification for the              the proposed revisions are identified in
                                            submission of technology assessment                     GHGRP, as well as provide useful                      this section. The rationale for these and
                                            reports, before the due date for the next               information to improve analysis of this               any other final revisions to 40 CFR part
                                            technology assessment report.                           sector in the Inventory. The EPA is also              98, subpart P can be found in this


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 42 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31837

                                            section and section III.I.2. of this                    ‘‘combustion’’ emission that use a CEMS               III.I.2. of this preamble for additional
                                            preamble. Additional rationale for these                to quantify emissions from the process                information on related comments and
                                            amendments is available in the                          emissions stack. The final amendments                 the EPA’s response.
                                            preamble to the 2022 Data Quality                       at 40 CFR 98.163(c) require reporters to                 In the 2022 Data Quality
                                            Improvements Proposal and 2023                          calculate and report the CO2 emissions                Improvements Proposal, the EPA
                                            Supplemental Proposal.                                  from the hydrogen production unit’s                   proposed several amendments to
                                                                                                    fuel combustion using the mass balance                subpart P to allow the subtraction of the
                                            a. Revisions To Improve the Quality of                                                                        mass of carbon contained in products
                                            Data Collected for Subpart P                            equations (equations P–1 through P–3)
                                                                                                    in addition to calculating and reporting              (other than CO2 or methanol) and the
                                               In the 2023 Supplemental Proposal,                   the process CO2 emissions measured by                 carbon contained in intentionally
                                            the EPA proposed several amendments                     the CEMS. Additional information on                   produced methanol from the carbon
                                            to subpart P of part 98 to expand and                   these revisions and their supporting                  mass balance used to estimate CO2
                                            clarify the source category definition.                 basis may be found in section III.G. of               emissions. The proposed revisions
                                            First, to increase the GHGRP’s coverage                 the preamble to the 2023 Supplemental                 included new equation P–4 to allow
                                            of facilities in the hydrogen production                Proposal. We are adding one additional                facilities to adjust the calculated
                                            sector, we are amending, as proposed,                                                                         emissions from fuel and feedstock
                                                                                                    revision to address the monitoring of
                                            the source category definition in 40 CFR                                                                      consumption in order to calculate net
                                                                                                    stationary combustion units directly
                                            98.160 to include all facilities that                                                                         CO2 process emissions, as well as
                                                                                                    associated with hydrogen production
                                            produce hydrogen gas regardless of                                                                            harmonizing revisions to the
                                                                                                    (e.g., reforming furnaces and hydrogen
                                            whether the hydrogen gas is sold. The                                                                         introductory paragraph of 40 CFR
                                            final revisions will address potential                  production process unit heaters),
                                                                                                                                                          98.163 and 98.163(b) and the reporting
                                            gaps in applicability and reporting,                    following a review of comments
                                                                                                                                                          requirements at 40 CFR 98.167(b)(7).
                                            allowing the EPA to better understand                   received. Based on the EPA’s analysis of
                                                                                                                                                          Following review of comments received
                                            and track emissions from facilities that                reported data, there may be a small
                                                                                                                                                          on similar changes proposed for subpart
                                            do not sell hydrogen gas to other                       number of reporters that may not
                                                                                                                                                          S (Lime Manufacturing), the EPA is not
                                            entities. As proposed, these                            currently measure the fuel use to these
                                                                                                                                                          taking final action at this time on the
                                            amendments categorically exempt any                     combustion units separately. We have
                                                                                                                                                          proposed revisions to allow facilities to
                                            process unit for which emissions are                    decided to add new § 98.164(c) to
                                                                                                                                                          subtract out carbon contained in
                                            currently reported under another                        provide the use of best available
                                                                                                                                                          products other than CO2 or methanol
                                            subpart of part 98, including, but not                  monitoring methods (BAMM) for those                   and the carbon contained in methanol.
                                            necessarily limited to, ammonia                         facilities that may still need to install             See sections III.E., III.I.2., and III.K.2. of
                                            production units that report emissions                  monitoring equipment to measure the                   this preamble for additional information
                                            under subpart G of part 98 (Ammonia                     fuel used by each stationary combustion               on the comments related to subparts G,
                                            Manufacturing), catalytic reforming                     unit directly associated with the                     P and S and the EPA’s response.
                                            units located at petroleum refineries                   hydrogen production process unit. To                  However, the EPA is finalizing the
                                            that produce hydrogen as a byproduct                    be eligible to use BAMM, the stationary               proposed reporting requirement at 40
                                            for which emissions are reported under                  combustion unit must be directly                      CFR 98.166(b)(7) (now 40 CFR
                                            subpart Y of part 98 (Petroleum                         associated with hydrogen production;                  98.166(d)(7)), with minor revisions as a
                                            Refineries), and petrochemical                          the unit must not have a measurement                  result of comments received. See the
                                            production units that report emissions                  device installed as of January 1, 2025;               discussion in this section regarding
                                            under subpart X of part 98                              the hydrogen production unit and the                  subpart P reporting requirements for
                                            (Petrochemical Production). As                          stationary combustion unit are operated               additional information as to why EPA is
                                            proposed, we are also exempting                         continuously; and the installation of a               making revisions as a result of
                                            process units that only separate out                    measurement device must require a                     comments received.
                                            diatomic hydrogen from a gaseous                        planned process equipment or unit                        The EPA is finalizing several
                                            mixture and are not associated with a                   shutdown or only be able to be done                   additional revisions to the subpart P
                                            unit that produces diatomic hydrogen                    through a hot tap. BAMM can be the use                reporting requirements to improve the
                                            created by transformation of feedstocks.                of supplier data, engineering calculation             quality of the data collected based on
                                               The EPA is also amending the source                  methods, or other company records. We                 the 2022 Data Quality Improvements
                                            category definition at 40 CFR 98.160 as                 are not requiring facilities to provide an            Proposal and the 2023 Supplemental
                                            proposed to clarify that stationary                     application to use BAMM that would                    Proposal. The final reporting
                                            combustion sources that are part of the                 require EPA review and approval to                    requirements are reorganized to
                                            hydrogen production unit (e.g.,                         measure the fuel used in the hydrogen                 accommodate the final amendments at
                                            reforming furnaces and hydrogen                         production process combustion unit.                   40 CFR 98.163(c), which require
                                            production process unit heaters) are part               However, we are adding a new                          reporters using CEMS that do not
                                            of the hydrogen production source                       requirement at 40 CFR 98.166(d)(10) to                include combustion emissions from the
                                            category and that their emissions are to                require each facility to indicate in their            hydrogen production unit to calculate
                                            be reported under subpart P. These                      annual report, for each stationary                    and report the CO2 emissions from fuel
                                            amendments, which include a                             combustion unit directly associated                   combustion using the material balance
                                            harmonizing change at 40 CFR                            with hydrogen production, whether                     equations (equations P–1 through P–3)
                                            98.162(a), clarify that these furnaces or               they are using BAMM, the date they                    in addition to the process CO2 emissions
                                            process heaters are part of the hydrogen                began using BAMM, and the anticipated                 measured by the CEMS. The revisions to
                                            production process unit regardless of                   or actual end date of BAMM use.                       40 CFR 98.166 clarify the reporting
lotter on DSK11XQN23PROD with RULES2




                                            where the emissions are exhausted                       Providing the use of BAMM is intended                 elements that must be provided for each
                                            (through the same stack or through                      to reduce the burden associated with                  hydrogen production process unit based
                                            separate stacks). Similarly, we are                     installation of new equipment, and we                 on the calculation methodologies used.
                                            finalizing a clarification for hydrogen                 do not anticipate that the requirement to             Reporters using CEMS to measure
                                            production units with separate stacks                   report the required indicators of BAMM                combined CO2 process and fuel
                                            for ‘‘process’’ emissions and                           will add significant burden. See section              combustion emissions will be required


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 43 of 164
                                            31838              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            to meet the requirements at 40 CFR                      are used to calculate CO2 emissions. We               emissions, but that may use relatively
                                            98.166(b); reporters using only the                     are finalizing revisions that renumber 40             large amounts of off-site energy to
                                            material balance method will be                         CFR 98.166(c) and (d) (now 40 CFR                     power the process (i.e., the emissions
                                            required to meet the requirements at 40                 98.166(d)(6) and (7)), and are finalizing             occurring on-site at these hydrogen
                                            CFR 98.166(c); and reporters using                      paragraph (d)(7) with revisions from                  production facilities may fall below the
                                            CEMS to measure CO2 process                             those proposed to require reporting, on               existing applicability threshold, while
                                            emissions and the material balance                      a unit-level: (1) the quantity of CO2 that            the combined direct emissions (i.e.,
                                            method to calculate emissions from fuel                 is collected and transferred off-site; and            ‘‘scope 1’’ emissions) and emissions
                                            combustion emissions using equations                    (2) the quantity of carbon other than                 attributable to energy consumption (i.e.,
                                            P–1 through P–3 will be required to                     CO2 or methanol collected and                         ‘‘scope 2’’ emissions) could be relatively
                                            meet the requirements of 40 CFR                         transferred off-site, or transferred to a             large), as collecting information from
                                            98.166(b) and (c). If a common stack                    separate process unit within the facility             these kinds of facilities as well is
                                            CEMS is used to measure emissions                       for which GHG emissions associated                    especially important in understanding
                                            from either a common stack for multiple                 with the carbon is being reported under               hydrogen as a fuel source. To reduce the
                                            hydrogen production units or a common                   other provisions of part 98. The final                burden on small producers, the EPA
                                            stack for hydrogen production unit(s)                   rule also requires at 40 CFR 98.166(d)(9)             requested comment on applying a
                                            and other source(s), reporters must also                the reporting of the annual net quantity              minimum annual production quantity
                                            report the estimated fraction of CO2                    of steam consumed by the unit                         within the source category definition to
                                            emissions attributable to each hydrogen                 (proposed as 40 CFR 98.166(c)(9)). This               limit the applicability of the source
                                            production process unit. All other                      value will be a positive quantity if the              category to larger hydrogen production
                                            reporting requirements for each                         hydrogen production unit is a net steam               facilities, such as defining the source
                                            hydrogen production process unit                        user (i.e., uses more steam than it                   category to only include those hydrogen
                                            (regardless of the calculation method)                  produces) and a negative quantity if the              production processes that exceed a
                                            are consolidated under 40 CFR                           hydrogen production unit is a net steam               2,500 metric ton (mt) hydrogen
                                            98.166(d).                                              producer (i.e., produces more steam                   production threshold. The EPA also
                                               As proposed, we are finalizing the                   than it uses).                                        requested comment on potential options
                                            addition of requirements for facilities to                 Finally, for consistency with the final            to require continued reporting from
                                            report the process type for each                        revisions to the reporting requirements               hydrogen production facilities that use
                                            hydrogen production unit (i.e., steam                   for facilities subject to revised 40 CFR              electrolysis or other production
                                            methane reforming (SMR), SMR                            98.163(c), we are making a harmonizing                methods that may have small direct
                                            followed by water gas shift reaction                    change to the recordkeeping                           emissions (i.e., scope 1 emissions) that
                                            (SMR–WGS), partial oxidation (POX),                     requirements at 40 CFR 98.167(a) to                   would likely qualify to cease reporting
                                            partial oxidation followed by WGS                       specify that, if the facility CEMS                    after three to five years under the part
                                            (POX–WGS), Water Electrolysis, Brine                    measures emissions from a common                      98 ‘‘off-ramp’’ provisions of 40 CFR
                                            Electrolysis, or Other (specify)), and the              stack for multiple hydrogen production                98.2(i) (i.e., facilities may stop reporting
                                            purification type for each hydrogen                     units or emissions from a common stack                after three years if their emissions are
                                            production unit (i.e., pressure swing                   for hydrogen production unit(s) and                   under 15,000 mtCO2e or after five years
                                            adsorption (PSA), Amine Adsorption,                     other source(s), reporters must maintain              if their emissions are between 15,000
                                            Membrane Separation, Other (specify),                   records used to estimate the decimal                  and 25,000 mtCO2e), to enable
                                            or none); the final requirements have                   fraction of the total annual CO2                      collection of a more comprehensive data
                                            been moved to 40 CFR 98.166(d)(1) and                   emissions from the CEMS monitoring                    set over time. Following consideration
                                            (2) and paragraph (d)(1) has been                       location attributable to each hydrogen                of comments received, the EPA is not
                                            revised to include ‘‘autothermal                        production unit. We are also finalizing               taking final action on these potential
                                            reforming only’’ and ‘‘autothermal                      as proposed clarifying edits in 40 CFR                revisions in this rule. See section III.I.2.
                                            reforming followed by WGS’’ as                          98.167(e) that retention of the file                  of this preamble for additional
                                            additional unit types.                                  required under that provision satisfies               information on related comments and
                                               We are amending, as proposed,                        the recordkeeping requirements for each               the EPA’s responses. The EPA also
                                            requirements to clarify that the annual                 hydrogen production unit. See section                 considered, but did not propose, further
                                            quantity of hydrogen produced is the                    III.G.1. of the preamble to the 2022 Data             expanding the reporting requirements to
                                            quantity of hydrogen that is produced                   Quality Improvements Proposal and                     include the quantity of hydrogen
                                            ‘‘. . . by reforming, gasification,                     section III.G. of the preamble to the 2023            provided to each end-user (including
                                            oxidation, reaction, or other                           Supplemental Proposal for additional                  both on-site use and delivered
                                            transformations of feedstocks,’’ and to                 information on these revisions and their              hydrogen) and, if the end-user reports to
                                            add reporting for the annual quantity of                supporting basis.                                     GHGRP, the e-GGRT identifier for that
                                            hydrogen that is only purified by each                     In the 2023 Supplemental Proposal,                 customer. The EPA requested comment
                                            hydrogen production unit; the final                     the EPA also requested comment on, but                on the approach to collecting this sales
                                            requirements have been moved to 40                      did not propose, other potential                      information and the burden such a
                                            CFR 98.166(d)(3) and (4).                               revisions to subpart P, including                     requirement may impose in the 2023
                                               We are finalizing a requirement at 40                revisions that would remove the 25,000                Supplemental Proposal. Following
                                            CFR 98.166(c) (proposed 40 CFR                          mtCO2e threshold under 40 CFR                         review of comments received, the EPA
                                            98.166(b)(5)), to report the name and                   98.2(a)(2), which would result in a                   is not taking final action on these
                                            annual quantity (metric tons (mt)) of                   requirement that any facility meeting                 potential revisions in this rule.
                                            each carbon-containing fuel and                         the definition of the hydrogen
lotter on DSK11XQN23PROD with RULES2




                                            feedstock (formerly 40 CFR                              production category in 40 CFR 98.160                  b. Revisions To Streamline and Improve
                                            98.166(b)(7)). For clarity, we have                     report annual emissions to the GHGRP.                 Implementation for Subpart P
                                            revised the text of the requirement at 40               The EPA considered these changes in                      The EPA is finalizing several
                                            CFR 98.166(c) from proposal to specify                  order to collect information on facilities            revisions to subpart P to streamline the
                                            that the information is required                        that use electrolysis or other production             requirements of this subpart and
                                            whenever equations P–1 through P–3                      methods that may have small direct                    improve flexibility for reporters. To


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 44 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31839

                                            address the recent use of low carbon                    modifications to the methods listed in                   Multiple commenters commented on
                                            content feedstocks, the EPA is                          40 CFR 98.164(b)(5)(i) through (xviii)                the EPA’s request for comment
                                            finalizing, with revisions from those                   that are used, and records of the                     regarding removing the threshold for the
                                            proposed, revisions to 40 CFR                           alternative methods used, as applicable.              hydrogen production source category.
                                            98.164(b)(2) and (3) to allow the use of                We are also finalizing a revision to                  One commenter strongly urged the EPA
                                            product specification information                       remove and reserve redundant                          to make subpart P an ‘‘all-in’’ subpart to
                                            annually as specified in the final                      recordkeeping requirements in 40 CFR                  ensure all hydrogen production
                                            provisions for (1) gaseous fuels and                    98.167(c). See section III.G.2. of the                facilities are covered by reporting
                                            feedstocks that have carbon content less                preamble to the 2022 Data Quality                     requirements, including the
                                            than or equal to 20 parts per million by                Improvements Proposal and section                     requirements proposed to report
                                            weight (i.e., 0.00002 kg carbon per kg of               III.G. of the preamble to the 2023                    purchased energy consumption under
                                            gaseous fuel or feedstock) (rather than at              Supplemental Proposal for additional                  proposed subpart B to part 98. The
                                            least weekly sampling and analysis),                    information on these revisions and their              commenter pointed to hydrogen
                                            and (2) for liquid fuels and feedstocks                 supporting basis.                                     electrolysis facilities that may consume
                                            that have a carbon content of less than                                                                       very large amounts of grid electricity
                                            or equal to 0.00006 kg carbon per gallon                2. Summary of Comments and
                                                                                                                                                          that could have significant upstream
                                            of liquid fuel or feedstock (rather than                Responses on Subpart P
                                                                                                                                                          emissions impacts; the commenter
                                            monthly sampling and analysis). As                        This section summarizes the major                   stated that many or most of these
                                            explained in the 2022 Data Quality                      comments and responses related to the                 facilities will already be tracking the
                                            Improvements Proposal, the fuels and                    proposed amendments to subpart P. See                 attributes of the energy they consume to
                                            feedstocks below these concentrations                   the document ‘‘Summary of Public                      qualify for Federal incentives and
                                            have very limited GHG emission                          Comments and Responses for 2024 Final                 investment, and will therefore have this
                                            potential and are currently an                          Revisions and Confidentiality                         information readily available. The
                                            insignificant contribution to the GHG                   Determinations for Data Elements under                commenter stressed that understanding
                                            emissions from hydrogen production.                     the Greenhouse Gas Reporting Rule’’ in                this information and the lifecycle
                                            The revisions from those proposed were                  Docket ID. No. EPA–HQ–OAR–2019–                       emissions of hydrogen production will
                                            included to remove the term ‘‘non-                      0424 for a complete listing of all                    be critical to informing future actions
                                            hydrocarbon’’ because it is not                         comments and responses related to                     under the CAA. The commenter also
                                            necessary since the maximum                             subpart P.                                            supported a production-based reporting
                                            hydrocarbon concentrations that qualify                                                                       threshold to ensure reporting for high
                                                                                                      Comment: Two commenters
                                            for the revised monitoring requirements                                                                       production facilities with lower direct
                                                                                                    recommended expanding the source
                                            are included in 40 CFR 98.164(b)(2) and                                                                       emissions and suggested the production
                                                                                                    category to include all hydrogen
                                            (3).                                                                                                          threshold should at least include at least
                                               The EPA is finalizing, with revisions                production facilities; this would include
                                                                                                    non-merchant producers, facilities that               the top 75 percent of production
                                            from those proposed, the addition of                                                                          facilities. One commenter suggested a
                                            new 40 CFR 98.164(b)(5)(xix) to allow                   use electrolysis or renewable energy,
                                                                                                    and include process units that do not                 hydrogen production threshold of 5,000
                                            the use of modifications of the methods                                                                       mt/year. Another commenter
                                            listed in 40 CFR 98.164(b)(5)(i) through                report to other subparts. Other
                                                                                                    commenters did not oppose expanding                   recommended that the EPA should
                                            (xviii) or use of other methods that are                                                                      implement a threshold to limit the
                                            applicable to the fuel or feedstock if the              the source category to non-merchant
                                                                                                    facilities. One commenter on the 2022                 applicability of the subpart to larger
                                            methods currently in 40 CFR
                                                                                                    Data Quality Improvements Proposal                    hydrogen production facilities. One
                                            98.164(b)(5) are not appropriate because
                                                                                                    stated that the existing definition may               commenter opposed a hydrogen
                                            the relevant compounds cannot be
                                                                                                    cause confusion in situations where the               production threshold, and
                                            detected, the quality control
                                                                                                    hydrogen produced is used on-site or                  recommended that the EPA retain the
                                            requirements are not technically
                                                                                                    otherwise not ‘‘sold as a product to                  existing emissions-based threshold of
                                            feasible, or use of the method would be
                                                                                                    other entities’’ and suggested specific               25,000 mtCO2e; the commenter
                                            unsafe. The revisions from those
                                                                                                    revisions to expand the source category               suggested this would further incentivize
                                            proposed were harmonizing changes to
                                                                                                    to include other types of hydrogen                    the implementation of low GHG
                                            remove the term ‘‘non-hydrocarbon’’
                                            and tie the proposed revisions back                     production plants, including those                    hydrogen manufacturing processes over
                                            more clearly to the specifications in                   using electrolysis. One commenter                     higher emitting processes such as steam
                                            paragraphs (b)(2) and (3).                              stated that reporting energy                          methane reformers.
                                               The final rule also finalizes as                     consumption by hydrogen production                       Several commenters also opposed
                                            proposed, revisions to § 98.164(b)(2)                   sources is necessary to inform                        revisions that would remove the ability
                                            through (4) to specifically state that the              decarbonization strategies, e.g., whether             of sources to off-ramp. One commenter
                                            carbon content must be determined                       producing excessive amounts of green                  offered the following recommendations:
                                            ‘‘. . . using the applicable methods in                 hydrogen may risk delaying fossil fuel                (1) hydrogen production process units
                                            paragraph (b)(5) of this section’’ to                   retirement by diverting renewable                     which produce hydrogen but emit no
                                            clarify the linkage between the                         energy from other uses. The commenter                 direct GHG emissions should become
                                            requirements in § 98.164(b)(2) through                  recommended a threshold for these                     eligible to cease reporting starting
                                            (4) and § 98.164(b)(5).                                 facilities based on energy input. The                 January 1 of the following year after the
                                               Finally, the EPA is finalizing                       commenter added that any hydrogen                     cessation of direct GHG emitting
                                            revisions to the recordkeeping                          production facilities using carbon                    activities associated with the process;
lotter on DSK11XQN23PROD with RULES2




                                            requirements at 40 CFR 98.167(b) to                     capture and sequestration technology                  (2) if the direct GHG emissions remain
                                            refer to paragraph (b) of 40 CFR 98.166.                should be required to report in all                   below 15,000 mtCO2e or between 15,000
                                            For facilities using the alternatives at 40             instances, as emissions data and energy               and 25,000 mtCO2e, reporting would be
                                            CFR 98.164(b)(2), (3) or (5)(xix), these                consumption data from these facilities                required for 3 or 5 years respectively,
                                            requirements include retention of                       will be highly relevant to future                     consistent with the existing off-ramp
                                            product specification sheets, records of                regulatory action.                                    provisions; or (3) if the EPA establishes


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 45 of 164
                                            31840              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            a hydrogen production threshold for                     provisions at 40 CFR 98.2(i)(1) and (2).              subpart P emissions. Our proposed
                                            reporting, then falling below the                       The EPA did not propose or provide for                revisions, therefore, were not a new
                                            production threshold should be the                      review specific revisions to part 98 to               requirement, but a further clarification
                                            trigger for cessation of reporting, either              expand the source category, beyond the                of the existing requirements in subpart
                                            starting January 1 of the following year                inclusion of non-merchant facilities as               P, as we interpret them. Based on
                                            or on a parallel structure to the three                 discussed in section III.I.1. of this                 previous reviews of the emissions
                                            and five year off-ramp emission                         preamble. Therefore, we are not                       intensities from hydrogen production as
                                            thresholds. Two other commenters                        including any revisions to the threshold              compiled from subpart P reported data,
                                            stated that the EPA ignores that the ‘‘off-             to subpart P or to the ability of hydrogen            we estimate that there are only a few
                                            ramp’’ is intended for entities that                    production facilities to off-ramp in this             facilities that do not include the SMR
                                            should no longer be subject to reporting                final rule. However, the EPA may                      furnace or process heaters combustion
                                            requirements by virtue of the fact that                 further consider these comments and                   emissions in their subpart P emission
                                            their emissions fall below a reasonable                 the information provided as we evaluate               totals. To allow time for those facilities
                                            threshold. One commenter stated that it                 next steps concerning the collection of               to measure fuel used in stationary
                                            is unclear how the EPA would have                       information from hydrogen production                  combustion units associated with
                                            authority to continue to require                        facilities and consider approaches to                 hydrogen production (e.g., reforming
                                            reporting for these entities, and the                   improving our understanding of                        furnaces and hydrogen production
                                            commenters said that the EPA should                     hydrogen as a fuel source, including to               process unit heaters), we decided to
                                            justify excluding hydrogen production                   inform any potential future                           include in this final rule a limited
                                            facilities from the off-ramp. The                       rulemakings.                                          allowance for BAMM for those facilities
                                            commenters added that the EPA could                        Comment: Three commenters did not                  that may still need to add appropriate
                                            use other methods to collect this data,                 support the requirement to report                     monitoring equipment (as demonstrated
                                            including proposing a separate standard                 combustion from hydrogen production                   through meeting the specified criteria in
                                            addressing emissions from hydrogen                      process units under subpart P in lieu of              the final provision). We also note that
                                            production under CAA section 111.                       subpart C as proposed in 40 CFR                       subpart C units reporting under the
                                               Response: We agreed with                             98.160(c). Two commenters stated that                 common pipe reporting configuration at
                                            commenters that the language regarding                  these units may not be metered                        40 CFR 98.36(c)(3) may use company
                                            ‘‘hydrogen gas sold as a product to other               separately from other combustion units                records to subtract out the portion of the
                                            entities’’ could cause confusion, as we                 located at an integrated facility, which              fuel diverted to other combustion unit(s)
                                            intended to require non-merchant                        would require additional metering to                  prior to performing the GHG emissions
                                            hydrogen production units to now                        comply with subpart P reporting of                    calculations for the group of units using
                                            report under subpart P. As such, we are                 combustion emissions directly                         the common pipe option. Regarding the
                                            finalizing, as proposed in the 2023                     associated with the hydrogen                          recommendation to implement a
                                            Supplemental Proposal, the language in                  production process. These commenters                  threshold to limit applicability to larger
                                            40 CFR 98.160(a) to focus on hydrogen                   stated that if combustion emissions                   hydrogen production facilities, we are
                                            gas production without referring to the                 directly associated with the hydrogen                 not taking final action on any revisions
                                            disposition of the hydrogen produced.                   production process must be reported                   to the threshold to subpart P, therefore,
                                            In the 2023 Supplemental Proposal, we                   under subpart P, engineering                          facilities with hydrogen production
                                            also proposed to significantly revise                   estimations for fuel consumption should               plants will continue to determine
                                            § 98.160(b) and (c). The supplemental                   be allowed. One commenter
                                                                                                                                                          applicability to part 98 based on the
                                            proposal revisions appear to address                    recommended that EPA implement a
                                                                                                                                                          existing requirements of 40 CFR 98.2(a).
                                            most of the commenter’s suggested                       threshold to limit the applicability of
                                                                                                                                                          A facility that contains a source category
                                            revisions, except that we are not                       the subpart to larger hydrogen
                                                                                                                                                          listed in table A–4 to subpart A of part
                                            including ‘‘electrolysis’’ in the list of               production facilities.
                                                                                                                                                          98 (which includes hydrogen
                                            types of transformations in 40 CFR                         Response: Steam methane reforming
                                                                                                                                                          production) must report only if the
                                            98.160(b) because we consider                           (SMR) is an endothermic process, and
                                                                                                                                                          estimated combined annual emissions
                                            electrolysis as already included under                  heating and reheating of fuels and
                                                                                                                                                          from stationary fuel combustion units,
                                            ‘‘. . . reaction, or other transformations              feedstocks to maintain reaction
                                                                                                                                                          miscellaneous uses of carbonate, and all
                                            of feedstocks.’’ This is also supported by              temperatures is an integral part of the
                                            the inclusion of water electrolysis and                                                                       applicable source categories in tables A–
                                                                                                    steam methane reforming reaction.
                                            brine electrolysis in the list of hydrogen                                                                    3 and table A–4 of part 98 are 25,000
                                                                                                    Therefore, subpart P has always
                                            production unit types in the proposed                                                                         mtCO2e or more. Therefore, the
                                                                                                    required the reporting of ‘‘fuels and
                                            40 CFR 98.166(b)(1)(i) (now 40 CFR                      feedstocks’’ used in the hydrogen                     applicability of the subpart is already
                                            98.166(d)(1)). We agree with                            production unit and subpart C should                  limited to larger hydrogen production
                                            commenters that subpart P should be                     only be used for ‘‘. . . each stationary              facilities.
                                            applicable to non-merchant facilities                   combustion unit other than hydrogen                      Comment: One commenter stated that
                                            and are finalizing the proposed                         production process units’’ (40 CFR                    EPA’s proposed mass balance equation
                                            revisions.                                              98.162(c)). We have long noted that the               under 40 CFR 98.163(d), equation P–4,
                                               The EPA has considered comments                      emissions from most SMR furnaces                      requires further revision to ensure that
                                            both supporting and not supporting                      include a mixture of process and                      it is accurate for refineries that have
                                            changes related to the EPA’s request for                combustion emissions.15 For more                      non-merchant hydrogen plants (such as
                                            information regarding removing the                      accurate comparison of CEMS measured                  those currently reporting under subpart
                                            emissions-based threshold or                            emissions with those estimated using                  Y). The commenter added that to ensure
lotter on DSK11XQN23PROD with RULES2




                                            introducing an alternative production-                  the mass balance method, we required                  proper accounting, the variable
                                            based threshold for the hydrogen                        reporting of the combustion emissions                 ‘‘Coftsite,n’’ should be further revised to
                                            production source category, including                   from the SMR furnace as part of the                   include language for non-merchant
                                            options to require continued reporting                                                                        hydrogen plants as follows: ‘‘Mass of
                                            from hydrogen production facilities by                    15 See, e.g., https://ccdsupport.com/confluence/    carbon other than CO2 or methanol
                                            amending the emissions-based off-ramp                   pages/viewpage.action?pageId=173080691.               collected from the hydrogen production


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 46 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31841

                                            unit and transferred off site or reported               and allow for best available monitoring               based on reported data do not fall
                                            elsewhere by the facility under this part,              methods to be used until installation of              within the expected ranges.
                                            from company records for month n                        necessary monitoring equipment could                  Understanding this could result in less
                                            (metric tons carbon).’’                                 occur.                                                correspondence from the EPA to verify
                                               Response: Following consideration of                    Another commenter was supportive of                these facilities’ reports and therefore
                                            comments on similar proposed revisions                  reporting steam consumption data (i.e.,               reduce the burden to these facilities.
                                            in other subparts, as discussed in                      annual net quantity of steam
                                            section III.K.2. of this preamble, we are               consumed). However, the commenter                     J. Subpart Q—Iron and Steel Production
                                            not taking final action at this time on                 added that there may be situations                       We are finalizing the amendments to
                                            proposed amendments to equation P–4                     where steam is sourced from equipment                 subpart Q of part 98 (Iron and Steel
                                            to allow the subtraction of carbon                      (e.g., a stand-alone boiler) distinct from            Production) as proposed. This section
                                            contained in products other than CO2 or                 a waste heat boiler associated with the               discusses the final revisions to subpart
                                            methanol and the carbon contained in                    SMR process; the commenter stated the                 Q. The EPA received comments on the
                                            methanol from the carbon mass balance                   rule should allow for flexibility in how              proposed requirements for subpart Q;
                                            used to estimate CO2 emissions.                         the steam production and consumption                  see the document ‘‘Summary of Public
                                            However, we acknowledge this concern                    is measured and quantified, including                 Comments and Responses for 2024 Final
                                            and agree that an analogous scenario                    the ability to utilize best available                 Revisions and Confidentiality
                                            may also occur within a facility that                   monitoring methods.                                   Determinations for Data Elements under
                                            contains a captive (non-merchant)                          Other commenters opposed reporting                 the Greenhouse Gas Reporting Rule’’ in
                                            hydrogen production process unit. For                   steam consumption data. One                           Docket ID. No. EPA–HQ–OAR–2019–
                                            example, some hydrogen production                       commenter opposing the requirements                   0424 for a complete listing of all
                                            processes may operate without the                       stated it could result in duplicative                 comments and responses related to
                                            water-gas-shift reaction and produce a                  reporting based on what is proposed to                subpart Q. Additional rationale for these
                                            syngas of hydrogen and carbon                           be reported under subpart B. Two                      amendments is available in the
                                            monoxide. For merchant plants, this                     commenters stated that the EPA failed                 preamble to the 2022 Data Quality
                                            syngas would be sold as a product for                   to provide justification for the                      Improvements Proposal. We are also
                                            use as a fuel or as a feedstock for                     requirement. Two commenters stated                    finalizing as proposed confidentiality
                                            chemical production process. For a non-                 that it may be necessary for the EPA to               determinations for new data elements
                                            merchant plant, the syngas may be used                  issue an additional supplemental notice               resulting from the revisions to subpart Q
                                            on-site as a fuel or feedstock rather than              of proposed rulemaking to take                        as described in section VI. of this
                                            sold off-site as a product. If a captive                comment on any such justification.                    preamble.
                                            hydrogen production unit produces                          Response: Subpart P only provides
                                                                                                    monitoring requirements for fuels and                 1. Revisions To Improve the Quality of
                                            syngas for use as a fuel for an on-site
                                            stationary combustion unit, for example,                feedstocks, it does not specify                       Data Collected for Subpart Q
                                            the rule as proposed would not have                     monitoring requirements for other                        The EPA is finalizing revisions to
                                            allowed the subtraction of the carbon in                reported data, for example, ammonia                   subpart Q, as proposed in the 2022 Data
                                            the syngas from the emissions from the                  and methanol production. There are                    Quality Improvements Proposal, to
                                            hydrogen production unit, resulting in                  often cases in part 98 where there are                enhance the quality and accuracy of the
                                            double counting the CO2 emissions                       reporting elements, but not specific                  data collected. First, we are revising 40
                                            related to this carbon (from both the                   monitoring requirements. In such cases,               CFR 98.176(g) for all unit types (taconite
                                            hydrogen production unit and from the                   company records, engineering estimates,               indurating furnace, basic oxygen
                                            stationary combustion source). Most                     and similar approaches may be used (in                furnace, non-recovery coke oven battery,
                                            refineries with captive hydrogen                        addition to direct measurement                        sinter process, EAF, decarburization
                                            production units seek to produce                        methods) to report these quantities. As               vessel, and direct reduction furnace)
                                            hydrogen for use in their refining                      such, there is no need for BAMM                       and all calculation methods (direct
                                            process units and, therefore, use the                   provisions related to additional                      measurement using CEMS, carbon mass
                                            water-gas-shift reaction to make pure                   reporting requirements that require                   balance methodologies, or site-specific
                                            hydrogen rather than syngas. However,                   separately reporting produced and                     emission factors) to require that
                                            production of syngas is possible under                  purified hydrogen quantities and net                  facilities report the type of unit, the
                                            some circumstances. Although we are                     steam consumption.                                    annual production capacity, and the
                                            not finalizing equation P–4 as proposed,                   We also note that the subpart P                    annual operating hours for each unit.
                                            because the rule currently requires the                 requirement is process unit specific,                    The EPA is also finalizing revisions to
                                            reporting of carbon other than CO2 or                   which is not duplicative of the proposed              correct equation Q–5 in 40 CFR
                                            methanol that is transferred off site, we               subpart B facility- or subpart-level                  98.173(b)(1)(v) to remove an error
                                            have revised the reporting requirements                 reporting requirements. We also                       introduced into the equation in prior
                                            to clarify that the reported value, for                 disagree that we did not provide                      revisions (81 FR 89188, December 9,
                                            non-merchant hydrogen production                        rationale for the proposed requirements.              2016). The final rule corrects the
                                            facilities, should include the quantity of              These requirements (as with many of                   equation to remove an unnecessary
                                            carbon other than CO2 or methanol that                  the other proposed requirements for                   fraction symbol. See section III.H.1. of
                                            is transferred to a separate process unit               subpart P) are aimed to obtain better                 the preamble to the 2022 Data Quality
                                            within the facility for which GHG                       information to verify reported                        Improvements Proposal for additional
                                            emissions associated with this carbon                   emissions. For example, if a facility is              information on these revisions and their
                                            are being reported under other                          a net steam purchaser, some emissions                 supporting basis.
lotter on DSK11XQN23PROD with RULES2




                                            provisions of part 98.                                  resulting from activities that support the
                                               Comment: One commenter supported                     hydrogen production process may occur                 2. Revisions To Streamline and Improve
                                            the separate reporting of hydrogen that                 at the steam production site. Thus,                   Implementation for Subpart Q
                                            is produced and hydrogen that is only                   knowing the net steam consumption                        The EPA is finalizing two revisions to
                                            purified, but requested that the EPA                    may help explain why the emissions to                 subpart Q to streamline monitoring.
                                            provide sufficient implementation time                  production ratios for these facilities                First, we are revising 40 CFR


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 47 of 164
                                            31842              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            98.174(b)(2) to provide the option for                  reporters using the CEMS methodology,                 captured and used in on-site processes,
                                            facilities to determine the carbon                      in order to improve our understanding                 with corresponding revisions to the
                                            content of process inputs and outputs                   of source category emissions and our                  recordkeeping requirements in 40 CFR
                                            by use of analyses provided by material                 ability to verify reported data. The EPA              98.197(c) (to record the monthly amount
                                            recyclers that manage process outputs                   is adding data elements under 40 CFR                  of CO2 from the lime manufacturing
                                            for sale or use by other industries.                    98.196(a) to collect annual averages of               process that is captured for use in all
                                            Material recyclers conduct testing on                   the chemical composition input data on                on-site processes), minor amendments
                                            their inputs and products to provide to                 a facility-basis, including the annual                to the reporting elements in 40 CFR
                                            entities using the materials downstream,                arithmetic average calcium oxide                      98.196(b)(1) (to clarify reporting of
                                            and therefore perform carbon content                    content (mt CaO/mt tons lime) and                     annual net emissions), 40 CFR
                                            analyses using similar test methods and                 magnesium oxide content (mt MgO/mt                    98.196(b)(17) (to clarify reporters do not
                                            procedures as suppliers. The final                      lime) for each type of lime produced, for             need to account for CO2 that was not
                                            revisions include a minor harmonizing                   each type of calcined lime byproduct                  captured but was used on-site), and to
                                            change to 40 CFR 98.176(e)(2) to require                and waste sold, and for each type of                  clarify that reporters must account for
                                            reporters to indicate if the carbon                     calcined lime byproduct and waste not                 CO2 usage from all on-site processes,
                                            content was determined from                             sold. These data elements rely on an                  including for manufacture of other
                                            information supplied by a material                      arithmetic average of the measurements                products, in the total annual amount of
                                            recycler.                                               rather than requiring reporters to weight             CO2 captured. Following consideration
                                               The EPA is also finalizing revisions to              by quantities produced in each month.                 of comments received, the EPA is not
                                            40 CFR 98.174(b)(2) to incorporate a                    Collecting average chemical                           taking final action at this time on the
                                            new test method, ASTM E415–17,                          composition data for CEMS facilities                  proposed revisions to equation S–4, or
                                            Standard Test Method for Analysis of                    will provide the EPA the ability to                   the corresponding revisions to 40 CFR
                                            Carbon and Low-Alloy Steel by Spark                     develop a process emission estimation                 98.196(b)(1) and 98.197(c). We are
                                            Atomic Emission Spectrometry (2017),                    methodology for CEMS reporters, which                 finalizing the clarifying revisions to 40
                                            for carbon content analysis of low-alloy                can be used to verify the accuracy of the             CFR 98.196(b)(17), as proposed. We are
                                            steel. The new method is incorporated                   reported CEMS emission data.                          also finalizing an editorial correction to
                                            by reference in 40 CFR 98.7 and                            The EPA is also finalizing additional              equation S–4 to add a missing equation
                                            98.174(b)(2) for use for steel, as                      data elements for reporters using the                 symbol. See section III.K.2. of this
                                            applicable. The addition of this                        mass balance methodology (i.e.,                       preamble for additional information on
                                            alternative test method will provide                    reporters that comply using the                       related comments and the EPA’s
                                            additional flexibility for reporters. We                requirements at 40 CFR 98.193(b)(2)).                 response.
                                            are also finalizing one harmonizing                     The final rule includes new data
                                            change to the reporting requirements of                 elements under 40 CFR 98.196(b) to                    2. Summary of Comments and
                                            40 CFR 98.176(e)(2), to clarify that the                collect the annual average results of the             Responses on Subpart S
                                            carbon content analysis methods                         chemical composition analysis of all                     This section summarizes the major
                                            available to report are those methods                   lime byproducts or wastes not sold (e.g.,             comments and responses related to the
                                            listed in 40 CFR 98.174(b)(2). See                      a single facility average calcium oxide               proposed amendments to subpart S. See
                                            section III.H.2. of the preamble to the                 content calculated from the calcium                   the document ‘‘Summary of Public
                                            2022 Data Quality Improvements                          oxide content of all lime byproduct                   Comments and Responses for 2024 Final
                                            Proposal for additional information on                  types at the facility), and the annual                Revisions and Confidentiality
                                            these revisions and their supporting                    quantity of all lime byproducts or                    Determinations for Data Elements under
                                            basis.                                                  wastes not sold (e.g., a single facility              the Greenhouse Gas Reporting Rule’’ in
                                                                                                    total calculated as the sum of all                    Docket ID. No. EPA–HQ–OAR–2019–
                                            K. Subpart S—Lime Production                            quantities, in tons, of all lime                      0424 for a complete listing of all
                                               We are finalizing several amendments                 byproducts at the facility not sold                   comments and responses related to
                                            to subpart S of part 98 (Lime                           during the year). These amendments                    subpart S.
                                            Production) as proposed. In some cases,                 will allow the EPA to build verification                 Comment: One commenter opposed
                                            we are finalizing the proposed                          checks for the actual inputs entered                  the proposed modifications to equation
                                            amendments with revisions. Section                      (e.g., MgO content). Because the final                S–4 requiring monthly subtraction of
                                            III.K.1. of this preamble discusses the                 data elements rely on annual averages of              CO2 used on-site, stating it would be
                                            final revisions to subpart S. The EPA                   the chemical composition                              considerably more burdensome for lime
                                            received several comments on the                        measurements and an annual quantity                   producers that currently track and
                                            proposed subpart S revisions which are                  of all lime byproducts or wastes at the               report this usage on an annual basis.
                                            discussed in section III.K.2. of this                   facility, they are distinct from the data             The commenter requested that the EPA
                                            preamble. We are also finalizing as                     entered into the EPA’s verification                   continue to allow the annual reporting
                                            proposed related confidentiality                        software tool. Additional information on              of CO2 usage, and thus implement an
                                            determinations for data elements                        these revisions and their supporting                  annual subtraction from total process
                                            resulting from the revisions to subpart                 basis may be found in section III.I. of the           emissions from all lime kilns combined.
                                            S, as described in section VI. of this                  preamble to the 2022 Data Quality                        Response: The EPA proposed
                                            preamble.                                               Improvements Proposal.                                revisions to subparts G (Ammonia
                                                                                                       In the 2022 Data Quality                           Manufacturing), P (Hydrogen
                                            1. Summary of Final Amendments to                       Improvements Proposal, the EPA                        Production), and S (Lime
                                            Subpart S                                               proposed to improve the methodology                   Manufacturing) that would have
lotter on DSK11XQN23PROD with RULES2




                                               The EPA is finalizing several                        for calculation of annual CO2 process                 required monthly measurement of
                                            revisions to subpart S of part 98 (Lime                 emissions from lime production to                     captured CO2 used to manufacture other
                                            Manufacturing) as proposed to improve                   account for CO2 that is captured from                 products on-site or non-CO2 carbon sent
                                            the quality of the data collected from                  lime kilns and used on-site.                          off-site to external users. It would also
                                            this subpart. First, we are finalizing the              Specifically, we proposed to modify                   have modified the subpart-level
                                            addition of reporting requirements for                  equation S–4 to subtract the CO2 that is              equations to require that these amounts


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 48 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31843

                                            be subtracted from the emissions total.                 to cross-reference 40 CFR 98.253(b) of                production of VCM may be either a
                                            However, the EPA needs additional time                  subpart Y; these revisions clarify that               measured quantity or an estimate; (2)
                                            to consider these comments and                          subpart X reporters are not required to               the amount of EDC withdrawn from the
                                            whether a consistent approach across                    report emissions from combustion of                   process unit as a separate product (i.e.,
                                            these three subparts should be required                 pilot gas and from gas released during                the portion of EDC produced that is not
                                            or whether there are circumstances                      startup, shutdown, and malfunction                    utilized in the VCM production) is to be
                                            where alternative approaches might be                   (SSM) events of <500,000 standard                     measured in accordance with 40 CFR
                                            warranted. Therefore, the EPA is not                    cubic feet (scf)/day that are excluded                98.243(b)(2) or (3); and (3) the sum of
                                            taking final action on these proposed                   from equation Y–3.                                    the two values is to be reported under
                                            revisions to subparts G, P, and S for at                   Next, we are finalizing as proposed                40 CFR 98.246(a)(5) as the total quantity
                                            this time but may consider                              the addition of new reporting                         of EDC petrochemical from an
                                            implementing these or similar revisions                 requirements intended to improve the                  integrated EDC/VCM process unit.
                                            in future rulemakings.                                  quality of the data collected under the                  • We are finalizing a change in 40
                                                                                                    GHGRP. First, we are finalizing                       CFR 98.246(a)(13) to clarify that the
                                            L. Subpart U—Miscellaneous Uses of                      reporting a new data element in 40 CFR                amount of EDC product to report from
                                            Carbonate                                               98.246(b)(7) and (c)(3). For each flare               an integrated EDC/VCM process unit
                                               The EPA is finalizing one minor                      that is reported under the CEMS and                   should be only the amount of EDC, if
                                            change to subpart U of part 98                          optional ethylene combustion                          any, that is withdrawn from the
                                            (Miscellaneous Uses of Carbonate). The                  methodologies, facilities must report the             integrated process unit and not used in
                                            revision in this final rule is a                        estimated fractions of the total CO2,                 the VCM production portion of the
                                            harmonizing change following review of                  CH4, and N2O emissions from each flare                integrated process unit.
                                            comments received on proposed subpart                   that are due to combusting                               • For facilities that use CEMS, we are
                                            ZZ to part 98 (Ceramics Manufacturing)                  petrochemical off-gas. The final rule                 finalizing amendments to 40 CFR
                                            (see section III.EE. of this preamble for               will allow the fractions attributed to                98.246(b)(8) to clarify the reporting
                                            additional information on the related                   each petrochemical process unit that                  requirements for the amount of EDC
                                            comments and the EPA’s response). We                    routes emissions to the flare to be                   petrochemical when using an integrated
                                            are revising the source category                        estimated using engineering judgment.                 EDC/VCM process unit, by removing
                                            definition for subpart U at 40 CFR                      This change will allow more accurate                  language related to considering the
                                            98.210(b) to clarify that ceramics                      quantification of emissions both from                 petrochemical process unit to be the
                                            manufacturing is excluded from the                      individual petrochemical process units                entire integrated EDC/VCM process
                                            source category. Section 98.210(b)                      and from the industry sector as a whole.              unit.
                                            excludes equipment that uses                            Next, the EPA is finalizing addition of                  • For facilities that use the optional
                                            carbonates or carbonate-containing                      a requirement in 40 CFR 98.246(c)(6) to               ethylene combustion methodology to
                                            materials that are consumed in                          report the names and annual quantity                  determine emissions from ethylene
                                            production of cement, glass, ferroalloys,               (in metric tons) of each product                      production process units, we are
                                            iron and steel, lead, lime, phosphoric                  produced in each ethylene production                  finalizing revisions to 40 CFR
                                            acid, pulp and paper, soda ash, sodium                  process for emissions estimated using                 98.246(c)(4) to clarify that the names
                                            bicarbonate, sodium hydroxide, or zinc.                 the optional ethylene combustion                      and annual quantities of feedstocks that
                                            We are adding the text ‘‘or ceramics’’ to               methodology; this improves consistency                must be reported will be limited to
                                            ensure that there is no duplicative                     with the product reporting requirements               feedstocks that contain carbon.
                                            reporting between subpart U and new                     under the CEMS and mass balance                          • We are finalizing changes to 40 CFR
                                            subpart ZZ.                                             reporting options.                                    98.246(a)(15) to more clearly specify
                                                                                                       We are finalizing, as proposed, a                  that molecular weight must be reported
                                            M. Subpart X—Petrochemical
                                                                                                    number of amendments that are                         for gaseous feedstocks and products
                                            Production
                                                                                                    intended to remove redundant or                       only when the quantity of the gaseous
                                               We are finalizing several amendments                 overlapping requirements and to clarify               feedstock or product used in equation
                                            to subpart X of part 98 (Petrochemical                  the data to be reported, as follows:                  X–1 is in standard cubic feet; the
                                            Production) as proposed. This section                      • For facilities that use the mass                 molecular weight does not need to be
                                            summarizes the final revisions to                       balance approach, we are finalizing                   reported when the quantity of the
                                            subpart X. The EPA received only minor                  amendments to 40 CFR 98.246(a)(2) to                  gaseous feedstock or product is in
                                            comments on the proposed                                remove the requirement to report                      kilograms.
                                            requirements for subpart X. See the                     feedstock and product names, which                       Additional information on the EPA’s
                                            document ‘‘Summary of Public                            previously overlapped with reporting                  rationale for these revisions may be
                                            Comments and Responses for 2024 Final                   requirements in 40 CFR 98.246(a)(12)                  found in section III.K. of the preamble
                                            Revisions and Confidentiality                           and (13).                                             to the 2022 Data Quality Improvements
                                            Determinations for Data Elements under                     • We are finalizing revisions to 40                Proposal.
                                            the Greenhouse Gas Reporting Rule’’ in                  CFR 98.246(a)(5) to clarify the                          We are also finalizing as proposed
                                            Docket ID. No. EPA–HQ–OAR–2019–                         petrochemical and product reporting                   confidentiality determinations for new
                                            0424 for a complete listing of all                      requirements for integrated ethylene                  data elements resulting from the
                                            comments and responses related to                       dichloride/vinyl chloride monomer                     revisions to subpart X, as described in
                                            subpart X.                                              (EDC/VCM) process units. The                          section VI. of this preamble.
                                               We are finalizing as proposed several                amendments clarify the rule for
                                            amendments to subpart X to improve                      facilities with an integrated EDC/VCM                 N. Subpart Y—Petroleum Refineries
lotter on DSK11XQN23PROD with RULES2




                                            the quality of data reported and to                     process unit that withdraw small                        We are finalizing several amendments
                                            clarify the calculation, recordkeeping,                 amounts of the EDC as a separate                      to subpart Y of part 98 (Petroleum
                                            and reporting requirements. First, we                   product stream. The final rule is revised             Refineries) as proposed. This section
                                            are finalizing a clarification to the                   at 40 CFR 98.246(a)(5) to specify that (1)            summarizes the final revisions to
                                            emissions calculation requirements for                  the portion of the total amount of EDC                subpart Y. The EPA received several
                                            flares in 40 CFR 98.243(b)(3) and (d)(5)                produced that is an intermediate in the               comment letters on the proposed


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 49 of 164
                                            31844              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            requirements for subpart Y. See the                     98.257(b)(45) and (46) and a                          2. Revisions To Streamline and Improve
                                            document ‘‘Summary of Public                            corresponding recordkeeping                           Implementation for Subpart Y
                                            Comments and Responses for 2024 Final                   requirement at 40 CFR 98.257(b)(53).                     The EPA is finalizing one change to
                                            Revisions and Confidentiality                              To help clarify that the calculation               subpart Y to streamline monitoring. We
                                            Determinations for Data Elements under                                                                        are finalizing an option for reporters to
                                                                                                    methodologies in 40 CFR 98.253(c) and
                                            the Greenhouse Gas Reporting Rule’’ in                                                                        use mass spectrometer analyzers to
                                                                                                    98.253(e) are specific to coke burn-off
                                            Docket ID. No. EPA–HQ–OAR–2019–                                                                               determine gas composition and
                                            0424 for a complete listing of all                      emissions, we are finalizing the addition
                                                                                                    of ‘‘from coke burn-off’’ immediately                 molecular weight without the use of a
                                            comments and responses related to                                                                             gas chromatograph. The final rule adds
                                            subpart Y.                                              after the first occurrence of ‘‘emissions’’
                                                                                                    in the introductory text of 40 CFR                    the inclusion of direct mass
                                              We are also finalizing as proposed
                                                                                                    98.253(c) and 98.253(e).                              spectrometer analysis as an allowable
                                            confidentiality determinations for new
                                                                                                                                                          gas composition method in 40 CFR
                                            data elements resulting from the                           We are also finalizing corrections to
                                            revisions to subpart Y, as described in                                                                       98.254(d). This change will allow
                                                                                                    an inconsistency inadvertently                        reporters to use the same analyzers used
                                            section VI. of this preamble.                           introduced into subpart Y by                          for process control or for compliance
                                            1. Revisions To Improve the Quality of                  amendments published on December 9,                   with continuous sampling which are
                                            Data Collected for Subpart Y                            2016 (81 FR 89188), which created an                  proposed to be provided under the
                                               The EPA is finalizing as proposed                    apparent inconsistency about whether                  National Emissions Standards for
                                            several amendments to subpart Y of part                 to include or exclude SSM events less                 Hazardous Air Pollutants from
                                            98 to improve data collection, clarify                  than 500,000 scf/day in equation Y–3.                 Petroleum Refineries (40 CFR part 63,
                                            rule requirements, and correct an error                 This final rule clarifies in 40 CFR                   subpart CC), to comply with GHGRP
                                            in the rule. First, we are finalizing                   98.253(b) that SSM events less than                   requirements in subpart Y. Additional
                                            amendments to the provisions for                        500,000 scf/day may be excluded, but                  information on these revisions and their
                                            delayed coking units (DCU) to add                       only if reporters are using the                       supporting basis may be found in
                                            reporting requirements for facilities                   calculation method in 40 CFR                          section III.L.2. of the preamble to the
                                            using mass measurements from                            98.253(b)(1)(iii). We are also finalizing             2022 Data Quality Improvements
                                            company records to estimate the amount                  revisions to remove the recordkeeping                 Proposal.
                                            of dry coke at the end of the coking                    requirements in existing 40 CFR                          Consistent with changes we are
                                            cycle in 40 CFR 98.256(k)(6)(i) and (ii).               98.257(b)(53) through (56) and to                     finalizing to subpart P of part 98
                                            These new paragraphs will require                       reserve 40 CFR 98.257(b)(54) through                  (Hydrogen Production) from the 2023
                                            facilities to additionally report, for each             (56). These requirements should have                  Supplemental Proposal, we are
                                            DCU: (1) the internal height of the DCU                                                                       finalizing revisions to remove references
                                                                                                    been removed in the December 9, 2016
                                            vessel; and (2) the typical distance from                                                                     to non-merchant hydrogen production
                                                                                                    amendments, which removed the
                                            the top of the DCU vessel to the top of                                                                       plants in 40 CFR 98.250(c) and to delete
                                                                                                    corresponding requirement in 40 CFR
                                            the coke bed (i.e., coke drum outage) at                                                                      and reserve 40 CFR 98.252(i), 98.255(d),
                                                                                                    98.253(j) to calculate CH4 emissions                  and 98.256(b). We are also finalizing as
                                            the end of the coking cycle (feet). These
                                                                                                    from DCUs using the process vent                      proposed revisions to remove references
                                            new elements will allow the EPA to
                                            estimate and verify the reported mass of                method (equation Y–19). The EPA is                    to coke calcining units in 40 CFR
                                            dry coke at the end of the cooling cycle                also finalizing corrections to an                     98.250(c) and 98.257(b)(16) through (19)
                                            as well as the reported DCU emissions.                  erroneous cross-reference in 40 CFR                   and to remove and reserve 40 CFR
                                               We are also finalizing revisions to                  98.253(i)(5), which inaccurately defines              98.252(e), 98.253(g), 98.254(h),
                                            equation Y–18b in 40 CFR 98.253(i)(2),                  the term ‘‘Mstream’’ in equation Y–18f for            98.254(i), 98.256(i), and 98.257(b)(27)
                                            to include a new variable ‘‘fcoke’’ to                  DCUs, to correct the cross-reference to               through (31). As proposed in the 2023
                                            allow facilities that do not completely                 § 98.253(i)(4) instead of § 98.253(i)(3).             Supplemental Proposal, we are
                                            cover the coke bed with water prior to                  Additional information on the EPA’s                   finalizing the addition of new subpart
                                            venting or draining to accurately                       rationale for these revisions may be                  WW to part 98 (Coke Calciners), and
                                            estimate the mass of water in the drum.                 found in section III.L.1. of the preamble             these provisions are no longer necessary
                                            The ‘‘fcoke’’ variable is defined as the                to the 2022 Data Quality Improvements                 under subpart Y. Additional
                                            fraction of coke-filled bed that is                     Proposal.                                             information on these revisions and their
                                            covered by water at the end of the                                                                            supporting basis may be found in
                                                                                                       The EPA is finalizing as proposed one
                                            cooling cycle just prior to atmospheric                                                                       section III.H. of the preamble to the
                                                                                                    additional revision to improve data
                                            venting or draining, where a value of                                                                         2023 Supplemental Proposal.
                                            one (1) represents cases where the coke                 quality from the 2023 Supplemental
                                            is completely submerged in water. The                   Proposal. Specifically, we are finalizing             O. Subpart AA—Pulp and Paper
                                            second term in equation Y–18b                           the addition of a requirement to report               Manufacturing
                                            represents the volume of coke in the                    the capacity of each asphalt blowing                    We are finalizing the amendments to
                                            drum, and is subtracted from the water-                 unit, consistent with the existing                    subpart AA of part 98 (Pulp and Paper
                                            filled coke bed volume to determine the                 reporting requirements for other                      Manufacturing) as proposed. The EPA
                                            volume of water. We are also finalizing                 emissions units under subpart Y. The                  received no comments regarding the
                                            revisions to the equation terms ‘‘Mwater’’              final rule requires that facilities provide           proposed revisions to subpart AA.
                                            and ‘‘Hwater’’ to add the phase ‘‘or                    the maximum rated unit-level capacity                 Additional rationale for these
                                            draining’’ to specify that these                        of the asphalt blowing unit, measured in              amendments is available in the
lotter on DSK11XQN23PROD with RULES2




                                            parameters reflect the mass of water and                mt of asphalt per day, in 40 CFR                      preamble to the 2023 Supplemental
                                            the height of water, respectively, at the               98.256(j)(2). Additional information on               Proposal. The EPA is revising 40 CFR
                                            end of the cooling cycle just prior to                  the EPA’s rationale for these revisions               98.273 to add a biogenic calculation
                                            atmospheric venting or draining. We are                 may be found in section III.H. of the                 methodology for estimation of CH4,
                                            finalizing harmonizing revisions to the                 preamble to the 2023 Supplemental                     N2O, and biogenic CO2 emissions for
                                            recordkeeping requirements at 40 CFR                    Proposal.                                             units that combust biomass fuels (other


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 50 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31845

                                            than spent liquor solids) from table C–                 Q. Subpart DD—Electrical Transmission                 definition of ‘‘reportable insulating gas,’’
                                            1 to subpart C of part 98 or that combust               and Distribution Equipment Use                        discussed below.
                                            biomass fuels (other than spent liquor                                                                           • Redesignating equation DD–1 as
                                                                                                       We are finalizing several amendments
                                            solids) with other fuels. We are also                                                                         equation DD–4 at 40 CFR 98.303 and
                                                                                                    to subpart DD of part 98 (Electrical
                                            revising 40 CFR 98.276(a) to remove                                                                           revising the equation to estimate
                                                                                                    Transmission and Distribution
                                            incorrect references to biogenic CH4 and                                                                      emissions from all F–GHGs within the
                                                                                                    Equipment Use) as proposed. In some
                                            N2O and correcting a typographical                                                                            existing calculation methodology,
                                                                                                    cases, we are finalizing the proposed
                                            error at 40 CFR 98.277(d), as proposed.                                                                       including F–GHG mixtures. Equation
                                                                                                    amendments with revisions. Section
                                            Additional rationale for these                                                                                DD–4 will maintain the facility-level
                                                                                                    III.Q.1. of this preamble discusses the               mass balance approach of tracking and
                                            amendments is available in the                          final revisions to subpart DD. The EPA
                                            preamble to the 2023 Supplemental                                                                             accounting for decreases, acquisitions,
                                                                                                    received several comments on the                      disbursements, and net increase in total
                                            Proposal.                                               proposed subpart DD revisions which                   nameplate capacity for the facility each
                                            P. Subpart BB—Silicon Carbide                           are discussed in section III.Q.2. of this             year, but will apply the weight fraction
                                            Production                                              preamble. We are also finalizing as                   of each F–GHG to determine the user
                                                                                                    proposed confidentiality determinations               emissions by gas. In the final rule, we
                                               We are finalizing the amendments to                  for new data elements resulting from the              are making two clarifications to
                                            subpart BB of part 98 (Silicon Carbide                  final revisions to subpart DD, as                     equation DD–4 in addition to the
                                            Production) as proposed. The EPA                        described in section VI. of this                      revisions that were proposed. These are
                                            received no comments regarding the                      preamble.                                             discussed further below.
                                            proposed revisions to subpart BB.                       1. Summary of Final Amendments to                        • Updating the monitoring and
                                            Additional rationale for these                          Subpart DD                                            quality assurance requirements at 40
                                            amendments is available in the                                                                                CFR 98.304(b) to account for emissions
                                            preamble to the 2022 Data Quality                         This section summarizes the final                   from additional F–GHGs.
                                            Improvements Proposal. The EPA is                       amendments to subpart DD. Major                          • To address references to F–GHGs
                                            finalizing a reporting requirement at 40                changes to the final rule as compared to              and F–GHG mixtures, we are finalizing
                                            CFR 98.286(c) such that if CH4                          the proposed revisions are identified in              the term ‘‘insulating gas’’ which is
                                                                                                    this section. The rationale for these and             defined as ‘‘any fluorinated GHG or
                                            abatement technology is used at silicon
                                                                                                    any other final revisions to 40 CFR part              fluorinated GHG mixture, including but
                                            carbide production facilities, then
                                                                                                    98, subpart DD can be found in this                   not limited to SF6 and PFCs, that is used
                                            facilities must report: (1) the type of CH4
                                                                                                    section and section III.Q.2. of this                  as an insulating and/or arc quenching
                                            abatement technology used and the date
                                                                                                    preamble. Additional rationale for these              gas in electrical equipment.’’
                                            of installation for each technology; (2)
                                            the CH4 destruction efficiency (percent
                                                                                                    amendments is available in the                           • To clarify which insulating gases
                                                                                                    preamble to the 2022 Data Quality                     are subject to reporting requirements,
                                            destruction) for each CH4 abatement                     Improvements Proposal.                                we are adding the term ‘‘reportable
                                            technology; and (3) the percentage of
                                                                                                    a. Revisions To Improve the Quality of                insulating gas,’’ which is defined as ‘‘an
                                            annual operating hours that CH4
                                                                                                    Data Collected for Subpart DD                         insulating gas whose GWP, as calculated
                                            abatement technology was in use for all
                                                                                                                                                          in equation DD–3, is greater than one. A
                                            silicon carbide process units or                           The EPA is finalizing several                      fluorinated GHG that makes up either
                                            production furnaces combined. For each                  revisions to subpart DD to improve the                part or all of a reportable insulating gas
                                            CH4 abatement technology, reporters                     quality of the data collected under this              is considered to be a component of the
                                            must either use the manufacturer’s                      subpart. First, we are generally                      reportable insulating gas.’’ In many
                                            specified destruction efficiency or the                 finalizing the proposed revisions to the              though not all cases, we are replacing
                                            destruction efficiency determined via a                 calculation, monitoring, and reporting                occurrences of the proposed phrase
                                            performance test; if the destruction                    requirements of subpart DD to require                 ‘‘fluorinated GHGs, including PFCs and
                                            efficiency is determined via a                          reporting of additional F–GHGs, except                SF6’’ with ‘‘fluorinated GHGs that are
                                            performance test, reporters must also                   insulating gases with weighted average                components of reportable insulating
                                            report the name of the test method that                 GWPs less than or equal to one will                   gases.’’
                                            was used during the performance test.                   remain excluded from reporting under                     • Adding harmonizing requirements
                                            Following the initial annual report                     subpart DD. These final amendments                    to the term ‘‘facility’’ in the definitions
                                            containing this information, reporters                  will help to account for use and                      section at 40 CFR 98.308 and the
                                            will not be required to resubmit this                   emissions of replacements for SF6,                    requirements at 40 CFR 98.302, 98.305,
                                            information unless the information                      including fluorinated gas mixtures, with              and 98.306 to require reporters to
                                            changes during a subsequent reporting                   lower but still significant GWPs. We are              account for the mass of each F–GHG for
                                            year, in which case, the reporter must                  revising 40 CFR 98.300(a) to redefine                 each electric power system.
                                            update the information in the submitted                 the source category to include                           As noted above, following
                                            annual report. The final revisions to                   equipment containing ‘‘fluorinated                    consideration of comments received, the
                                            subpart BB also add a recordkeeping                     GHGs (F–GHGs), including but not                      EPA is revising these requirements from
                                            requirement at 40 CFR 98.287(d) for                     limited to sulfur-hexafluoride (SF6) and              proposal to continue to exclude
                                            facilities to maintain a copy of the                    perfluorocarbons (PFCs).’’ These                      insulating gases with weighted average
                                            reported information. Additional                        changes include:                                      100-year GWPs of less than one. Based
                                            rationale for these amendments is                          • Revising the threshold                           on a review of the subpart DD data
                                            available in the preamble to the 2022                   determination in 40 CFR 98.301 by                     submitted to date, the EPA has
lotter on DSK11XQN23PROD with RULES2




                                            Data Quality Improvements Proposal.                     adding new equations DD–1 and                         concluded that excluding insulating
                                            The EPA is also finalizing, as proposed,                equation DD–2 (see section III.Q.1.b. of              gases with GWPs of less than one from
                                            confidentiality determinations for the                  this preamble).                                       reporting under subpart DD will have
                                            additional data elements to be reported                    • Revising the GHGs to report at 40                little effect on the accuracy or
                                            as described in section VI. of this                     CFR 98.302 by adding a new equation                   completeness of the GWP-weighted
                                            preamble.                                               DD–3, which is also used in the                       totals reported under subpart DD or


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00045   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 51 of 164
                                            31846              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            under the GHGRP generally at this time,                 hermetically sealed pressure equipment,                remainder of the equipment’s life.
                                            and will decrease the reporting burden                  with such equipment being included in                  Where a user-measured nameplate
                                            for facilities. See section III.Q.2. of this            terms related to equipment that is                     capacity differs from the rated
                                            preamble for a summary of the related                   transferred while not in use, but                      nameplate capacity by less than two
                                            comments and the EPA’s response.                        excluded from terms related to                         percent, the electrical equipment user
                                               Also as noted above, we are making                   equipment that is transferred while in                 will have the option at 40 CFR
                                            two clarifications to equation DD–4 in                  use. We are also making harmonizing                    98.303(b)(3) to adopt the user-measured
                                            addition to the revisions that were                     changes to the reporting requirements at               nameplate capacity, but if they chose to
                                            proposed. First, to account for the                     40 CFR 98.306, revising paragraphs (f),                do so, they must adopt the user-
                                            possibility that the same fluorinated                   (g), and (i) (to be redesignated as                    measured nameplate capacities for all
                                            GHG could be a component of multiple                    paragraph (k)), and adding paragraphs                  new and retiring equipment whose user-
                                            reportable insulating gases, we are                     (i), (n), and (o). These harmonizing                   measured nameplate capacity differed
                                            inserting a summation sign at the                       revisions do not substantively change                  from the rated nameplate capacity by
                                            beginning of the right side of equation                 the reporting requirements as proposed                 less than two percent.
                                            DD–4 to ensure that emissions of each                   and therefore would not substantively                     With minor changes, the EPA is
                                            fluorinated GHG ‘‘i’’ are summed across                 impact the burden to reporters.                        finalizing the proposed requirements at
                                            all reportable insulating gases ‘‘j.’’                     With minor changes, we are finalizing               40 CFR 98.303(b)(4) and (5) for when
                                            Second, upon further consideration of                   the proposed requirements in 40 CFR                    electrical equipment users measure the
                                                                                                    98.303(b) for users of electrical                      nameplate capacity of new equipment
                                            equation DD–4 and its relationship to
                                                                                                    equipment to follow certain procedures                 that they install and for when they
                                            the newly defined terms ‘‘new
                                                                                                    when they elect to measure the                         measure the nameplate capacity of
                                            equipment’’ and ‘‘retiring equipment,’’
                                                                                                    nameplate capacities (in units of mass of              retiring equipment. These final
                                            we are modifying the terms for
                                                                                                    insulating gas) of new and retiring                    requirements ensure that electrical
                                            acquisitions and disbursements of
                                                                                                    equipment rather than relying on the                   equipment users:
                                            reportable insulating gas j to account for                                                                        • Correctly account for the mass of
                                                                                                    rated nameplate capacities provided by
                                            acquisitions and disbursements of                                                                              insulating gas contained in new
                                                                                                    equipment manufacturers. As proposed,
                                            reportable insulating gas that are linked                                                                      equipment upon delivery from the
                                                                                                    this option will be available only for
                                            to the acquisition or sale of all or part                                                                      manufacturer (i.e., the holding charge),
                                                                                                    closed pressure equipment with a
                                            of an electric power system. These                      voltage capacity greater than 38                       and correctly account for the mass of
                                            include acquisitions or disbursements of                kilovolts (kV), not for hermetically                   insulating gas contained in equipment
                                            reportable insulating gas inside                        sealed pressure equipment or smaller                   upon retirement, measuring the actual
                                            equipment that is transferred while in                  closed-pressure equipment. These                       temperature-adjusted pressure and
                                            use, acquisitions or disbursements of                   procedures are intended to ensure that                 comparing that to the temperature-
                                            insulating gas inside equipment that is                 the nameplate capacity values that                     adjusted pressure that reflects the
                                            transferred from or to entities other than              equipment users measure match the full                 correct filling density of that equipment.
                                            electrical equipment manufacturers and                  and proper charges of insulating gas in                   • Use flowmeters or weigh scales that
                                            distributors while the equipment is not                 the electrical equipment. These                        meet certain accuracy and precision
                                            in use, and acquisitions or                             procedures are similar to and                          requirements to measure the mass of
                                            disbursements of insulating gas in bulk                 compatible with the procedures for                     insulating gas added to or recovered
                                            from or to entities other than chemical                 measuring nameplate capacity adopted                   from the equipment;
                                            producers or distributors. Accounting                   by the California Air Resources Board                     • Use pressure-temperature charts
                                            for these acquisitions and                              (CARB) in its Regulation for Reducing                  and pressure gauges and thermometers
                                            disbursements in equation DD–4                          Greenhouse Gas Emissions from Gas                      that meet certain accuracy and precision
                                            ensures that the terms for acquisitions                 Insulated Switchgear.16                                requirements to fill equipment to the
                                            and disbursements of reportable                            Specifically, electrical equipment                  density specified by the equipment
                                            insulating gas will be mathematically                   users electing to measure the nameplate                manufacturer or to recover the
                                            consistent with other terms in the                      capacities of any new or retiring                      insulating gas from the equipment to the
                                            equation, including the terms for the net               equipment will be required at 40 CFR                   correct blank-off pressure, allowing
                                            increase in total nameplate capacity and                98.303(b)(1) to measure the nameplate                  appropriate time for temperature
                                            the quantity of gas stored in containers                capacities of all eligible new and                     equilibration; and
                                            at the end of the year. The term for the                retiring equipment in that year and in                    • Ensure that insulating gas
                                            net increase in the total nameplate                     all subsequent years. For each piece of                remaining in the equipment, hoses and
                                            capacity will reflect the new definitions               equipment, the electrical equipment                    gas carts is correctly accounted for.
                                            of ‘‘new equipment’’ and ‘‘retiring                     user will be required to calculate the                    After consideration of comments, we
                                            equipment,’’ which include transfers of                 difference between the user-measured                   are including a requirement to follow
                                            equipment while in use. Similarly, the                  and rated nameplate capacities,                        the procedure specified by the
                                            term for the quantity of reportable                     verifying that the rated nameplate                     equipment manufacturer to ensure that
                                            insulating gas stored in containers at the              capacity was the most recent available                 the measured temperature accurately
                                            end of the year will reflect acquisitions               from the equipment manufacturer.                       reflects the temperature of the insulating
                                            or disbursements of reportable                          Where a user-measured nameplate                        gas, e.g., by measuring the insulating gas
                                            insulating gas stored in containers from                capacity differs from the rated                        pressure and vessel temperature after
                                            or to all other entities, including other               nameplate capacity by two percent or                   allowing appropriate time for the
                                            electric power systems. If these                        more, the electrical equipment user will               temperature of the transferred gas to
lotter on DSK11XQN23PROD with RULES2




                                            acquisitions or disbursements of gas in                 be required at 40 CFR 98.303(b)(2) to                  equilibrate with the vessel temperature.
                                            equipment or in bulk are not accounted                  adopt the user-measured nameplate                      Also after consideration of comments,
                                            for in the equation, the result will be                 capacity for that equipment for the                    we are (1) adding a requirement that
                                            incorrect. The revised terms are                                                                               facilities that use flow meters to
                                            consistent with the definitions of ‘‘new’’                16 See https://ww2.arb.ca.gov/sites/default/files/   measure the mass of insulating gas
                                            and ‘‘retired’’ in their treatment of                   barcu/regact/2020/sf6/fro.pdf.                         added to new equipment must keep the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                            Document #2061464                              Filed: 06/24/2024             Page 52 of 164
                                                                Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31847

                                            mass flow rate within the range                           nameplate capacity, facilities would                 it recovered below atmospheric
                                            specified by the flowmeter                                need to recover a quantity of insulating             pressure. However, as noted above, the
                                            manufacturer, and (2) not finalizing the                  gas equivalent to at least 90 percent of             approach can still be used for situations
                                            option to use mass flowmeters to                          the full manufacturer-rated nameplate                where the blank-off pressure of a gas
                                            measure the mass of the insulating gas                    capacity of the equipment, which would               cart is above 3.5 Torr (0.068 psia) but
                                            recovered from equipment. We are                          have provided more flexibility on the                below 5 psia and/or where the starting
                                            making both changes because the                           starting and ending pressures of the                 pressure of the electrical equipment is
                                            accuracy and precision of flowmeters                      equipment during the recovery process.               no more than 5 psi lower than its
                                            can decrease significantly when the                       The proposed requirement was based on                temperature-compensated design
                                            mass flow rate declines below the                         an analysis of the proposed accuracies               operating pressure. (Note that
                                            minimum specified by the flow meter                       and precisions of measuring devices and              equipment whose starting pressure is
                                            manufacturer for accurate and precise                     their impacts on the accuracy and                    above the temperature-compensated
                                            measurements.                                             precision of the mathematical                        design operating pressure will need to
                                               As proposed, we are allowing                           adjustment approach, which indicated                 have the excess gas recovered until it
                                            equipment users to account for any                        that 90 percent of the gas must be                   reaches the design operating pressure, at
                                            leakage from the equipment using one of                   recovered to limit the uncertainty of the            which point the nameplate capacity
                                            two approaches. In both approaches,                       calculation to below 2 percent. We also              measurement can begin.)
                                            users must measure the temperature-                       recognized that departures from the                     We are finalizing as proposed
                                            compensated pressure of the equipment                     ideal gas law could result in additional,            requirements at 40 CFR 98.303(b)(6) that
                                            before they remove the insulating gas                     systematic errors in the mathematical                allow users to measure the nameplate
                                            from that equipment and compare the                       adjustment approach and therefore                    capacity of electrical equipment earlier
                                            measured temperature-compensated                          requested comment on the option of                   during maintenance activities that
                                            pressure to the temperature-                              adding compressibility factors, which                require opening the gas compartment.
                                            compensated pressure corresponding to                     account for these departures, to                     The equipment user will still be
                                            the full and proper charge of the                         equation DD–5 (proposed as equation                  required to follow the measurement
                                            equipment (the design operating                           DD–4). Such compressibility factors are              procedures required for retiring
                                            pressure). If the measured temperature-                   not constant but are functions of the                equipment at 40 CFR 98.303(b)(5) to
                                            compensated pressure is different from                    pressure and temperature of the                      measure the nameplate capacity, and
                                            the temperature-compensated pressure                      insulating gas based on an equation of               the measured nameplate capacity must
                                            corresponding to the full and proper                      state specific to that insulating gas. We            be recorded, but will not be used in
                                            charge of the equipment, the equipment                    did not receive any comment on this                  equation DD–3 until that equipment is
                                            user may either (1) add or remove                         option, and after considering the matter             actually retired.
                                            insulating gas to or from the equipment                                                                           We are finalizing as proposed
                                                                                                      further, we believe that performing
                                            until the equipment reaches its full and                                                                       requirements at 40 CFR 98.303(b)(7) and
                                                                                                      calculations using compressibility
                                            proper charge; recover the gas until the                                                                       (8) to require that, where the electrical
                                                                                                      factors would prove too complex to
                                            equipment reached a pressure of 0.068                                                                          equipment user is adopting the user-
                                                                                                      implement in the field to obtain
                                            pounds per square inch, absolute (psia)                                                                        measured nameplate capacity, the user
                                                                                                      accurate nameplate capacity values.
                                            (3.5 Torr) or less; and weigh the                                                                              must affix a revised nameplate capacity
                                                                                                      Without compressibility factors,
                                            recovered gas (charge adjustment                                                                               label showing the revised nameplate
                                                                                                      departures of the insulating gas from the
                                            approach), or (2) if (a) the starting                                                                          value and the year the nameplate
                                                                                                      ideal gas law limit the reliability of the
                                            pressure of the equipment is between its                                                                       capacity adjustment process was
                                                                                                      mathematical adjustment approach                     performed to the device by the end of
                                            temperature-compensated design
                                                                                                      except within the ranges of starting and             the calendar year in which the process
                                            operating pressure and five (5) pounds
                                                                                                      ending pressures described above.                    was completed. For each piece of
                                            per square inch (psi) below that
                                                                                                      Consequently, we are finalizing the                  electrical equipment whose nameplate
                                            pressure, and (b) the insulating gas is
                                                                                                      mathematical adjustment method as                    capacity is adjusted during the reporting
                                            recovered to a pressure no higher than
                                                                                                      proposed but are restricting its use to              year, the revised nameplate capacity
                                            5 psia (259 Torr),17 recover the gas that
                                                                                                      the specified ranges of starting and                 value must be used in all rule
                                            was already in the equipment; weigh it;
                                                                                                      ending pressures. Under these                        provisions wherein the nameplate
                                            and account mathematically for the
                                            difference between the quantity of gas                    circumstances, any systematic errors in              capacity is required to be recorded,
                                            recovered from the equipment and the                      the mathematical adjustment approach                 reported, or used in a calculation.
                                            full and proper charge (mathematical                      are generally expected to fall below 0.5                To ensure that the mass balance
                                            adjustment approach, equation DD–5).                      percent, leading to maximum total                    method is based on consistent
                                               In the final rule, we are allowing use                 errors (accounting for both departures               nameplate capacity values throughout
                                            of the mathematical adjustment                            from the ideal gas law and limits on the             the life of the equipment, we are
                                            approach in somewhat more limited                         accuracy and precision of measuring                  finalizing at 40 CFR 98.303(b)(9) that
                                            circumstances than proposed. We                           devices) of approximately two percent.               electrical equipment users are allowed
                                            proposed that to use the mathematical                     (For more discussion of this issue, see              to measure and revise the nameplate
                                            adjustment approach to calculate the                      ‘‘Update to the Technical Support for                capacity value of any given piece of
                                                                                                      Proposed Revisions to Subpart DD,                    equipment only once, unless the
                                               17 While the mathematical adjustment approach          Electrical Transmission and Distribution             nameplate capacity itself is likely to
                                            is expected to yield accurate results if the final        Equipment Use,’’ included in the docket              have changed due to changes to the
                                            pressure is 5 psia or less, facilities are encouraged     for this rulemaking, Docket ID. No.                  equipment (e.g., replacement of the
lotter on DSK11XQN23PROD with RULES2




                                            to recover the insulating gas until they reach the
                                            blank-off pressure of the gas cart, which is generally
                                                                                                      EPA–HQ–OAR–2019–0424).                               equipment bushings).
                                            expected to fall below 5 psia. Note that where the           Given these restrictions, the                        To help ensure that electrical
                                            final pressure is equal to or less than 0.068 psia, the   mathematical adjustment approach                     equipment users obtain accurate
                                            gas remaining in the equipment is estimated to
                                            account for a negligible share of the total and
                                                                                                      cannot be used to calculate the                      measurements of their equipment’s
                                            therefore facilities are not required to use the          nameplate capacity of equipment that                 nameplate capacities, we are finalizing
                                            Mathematical Adjustment Method to account for it.         cannot have the insulating gas inside of             requirements at 40 CR 98.303(b)(10) that


                                       VerDate Sep<11>2014    19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00047   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 53 of 164
                                            31848              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            electrical equipment users must use                     being prepared for connection to the                  switchgear in equipment that is
                                            measurement devices that meet the                       electrical power system. Energized                    transferred while in use would trigger
                                            following accuracy and precision                        equipment does not include spare gas                  requirements to inventory the acquired
                                            requirements when they measure the                      insulated equipment (including                        (new) or disbursed (retired)
                                            nameplate capacities of new and retiring                hermetically-sealed pressure                          hermetically-sealed pressure switchgear
                                            equipment:                                              switchgear) in storage that has been                  for purposes of the mass balance
                                               • Flow meters must be certified by                   acquired by the facility, and is intended             calculation (equation DD–4) and the
                                            the manufacturer to be accurate and                     for use by the facility, but that is not              reporting requirements at 40 CFR
                                            precise to within one percent of the                    being used or prepared for connection to              98.306(a)(2) and (4). We did not intend
                                            largest value that the flow meter can,                  the electrical power system.’’ The final              to trigger these requirements for
                                            according to the manufacturer’s                         definition more clearly designates what               hermetically sealed pressure equipment
                                            specifications, accurately record.                      equipment is considered to be installed               that is transferred during use. Such
                                               • Pressure gauges must be certified by               and functioning as opposed to being in                requirements would be inconsistent
                                            the manufacturer to be accurate and                     storage.                                              with the intent and effect of the current
                                            precise to within 0.5 percent of the                                                                          provision at 40 CFR 98.306(a)(1), which
                                                                                                       With two minor changes, we are
                                            largest value that the gauge can,                                                                             excludes existing hermetically-sealed
                                                                                                    finalizing the proposed definition for
                                            according to the manufacturer’s                                                                               pressure switchgear from the
                                                                                                    ‘‘new equipment.’’ ‘‘New equipment’’ is
                                            specifications, accurately record.                                                                            requirement to report the existing
                                               • Temperature gauges must be                         defined as ‘‘either (1) any gas insulated
                                                                                                    equipment, including hermetically-                    nameplate capacity total at the
                                            certified by the manufacturer to be                                                                           beginning of the year. We therefore
                                            accurate and precise to within ±1.0 °F;                 sealed pressure switchgear, that is not
                                                                                                    energized at the beginning of the                     excepted hermetically sealed switchgear
                                            and                                                                                                           from equipment that is transferred while
                                               • Scales must be certified by the                    reporting year but is energized at the
                                                                                                    end of the reporting year, or (2) any gas             in use in both definitions. With these
                                            manufacturer to be accurate and precise                                                                       minor changes, the definitions clarify
                                            to within one percent of the true weight.               insulated equipment other than
                                                                                                    hermetically-sealed pressure switchgear               how the terms ‘‘new’’ and ‘‘retired’’
                                               Additional information on these                                                                            should be interpreted for purposes of
                                            revisions and their supporting basis may                that has been transferred while in use,
                                                                                                                                                          equation DD–3.
                                            be found in section III.N.1. of the                     meaning it has been added to the
                                            preamble to the 2022 Data Quality                       facility’s inventory without being taken              b. Revisions To Streamline and Improve
                                            Improvements Proposal.                                  out of active service (e.g., when the                 Implementation for Subpart DD
                                               We are finalizing at 40 CFR 98.306(r)                equipment is sold to or acquired by the                  The EPA is finalizing several
                                            and (s) (proposed as 40 CFR 98.306(o)                   facility while remaining in place and                 revisions to subpart DD to streamline
                                            and (p)) requirements for equipment                     continuing operation).’’ Similarly, we                requirements. First, we are revising the
                                            users who measure and adopt                             are finalizing the definition for ‘‘retired           applicability threshold of subpart DD at
                                            nameplate capacity values to report the                 equipment’’ with two minor changes.                   40 CFR 98.301 largely as proposed, in
                                            total rated and measured nameplate                      ‘‘Retired Equipment’’ is defined as                   order to align with revisions to include
                                            capacities across all the equipment                     ‘‘either (1) any gas insulated equipment,             additional F–GHGs in subpart DD.
                                            whose nameplate capacities were                         including hermetically-sealed pressure                However, as discussed above, insulating
                                            measured and for which the measured                     switchgear, that is energized at the                  gases with weighted average GWPs less
                                            nameplate capacities have been adopted                  beginning of the reporting year but is                than or equal to 1 will remain excluded
                                            in that year.                                           not energized at the end of the reporting             from reporting under subpart DD. We
                                               We are finalizing requirements in 40                 year, or (2) any gas insulated equipment              are replacing the existing nameplate
                                            CFR 98.307(b) as proposed for                           other than hermetically-sealed pressure               capacity threshold with an emissions
                                            equipment users to keep records of                      switchgear that has been transferred                  threshold of 25,000 mtCO2e per year of
                                            certain identifying information for each                while in use, meaning it has been                     F–GHGs that are components of
                                            piece of equipment for which they                       removed from the facility’s inventory                 reportable insulating gases (i.e.,
                                            measure the nameplate capacity: the                     without being taken out of active service             insulating gases whose weighted
                                            rated and measured nameplate                            (e.g., when the equipment is acquired by              average GWPs, as calculated in equation
                                            capacities, the date of the nameplate                   a new facility while remaining in place               DD–3, are greater than one (1)). To
                                            capacity measurement, the                               and continuing operation).’’ The                      calculate their F–GHG emissions for
                                            measurements and calculations used to                   proposed definitions both included two                comparison with the threshold,
                                            obtain the measured nameplate capacity                  sentences, where the first sentence                   electrical equipment users will use one
                                            (including the temperature-pressure                     specified that the equipment changed                  of two new equations finalized in
                                            curve and/or other information used to                  from ‘‘not energized’’ to ‘‘energized’’ (or           subpart DD at 40 CFR 98.301, equations
                                            derive the initial and final temperature                vice versa), and the second sentence                  DD–1 and DD–2. The equations
                                            adjusted pressures of the equipment),                   preceded the phrase ‘‘that has been                   explicitly include not only the
                                            and whether or not the measured                         transferred while in use’’ with ‘‘This                nameplate capacity of the equipment
                                            nameplate capacity value was adopted                    includes.’’ Upon review of the proposed               but also an updated default emission
                                            for that piece of equipment.                            definitions, we realized that they could              factor and the GWP of each insulating
                                               To clarify the mass balance                          lead to confusion because equipment                   gas.
                                            methodology in 40 CFR 98.303, we are                    that is transferred while in use does not                We are also finalizing revisions to the
                                            adding definitions for ‘‘energized,’’                   change from ‘‘not energized’’ to                      existing calculation, monitoring, and
                                            ‘‘new equipment,’’ and ‘‘retired                        ‘‘energized’’ or vice versa, and therefore            reporting requirements of subpart DD to
lotter on DSK11XQN23PROD with RULES2




                                            equipment,’’ at 40 CFR 98.308 as                        cannot be ‘‘included’’ in the sets of                 require reporting of additional F–GHGs
                                            proposed. We are finalizing the                         equipment that change from ‘‘not                      beyond SF6 and PFCs that are
                                            definition of ‘‘energized’’ as proposed to              energized’’ to ‘‘energized’’ or vice versa.           components of reportable insulating
                                            mean ‘‘connected through busbars or                     We therefore replaced ‘‘This includes’’               gases. The new equations DD–1 and
                                            cables to an electrical power system or                 with ‘‘or.’’ We also realized that                    DD–2 that we are finalizing for the
                                            fully-charged, ready for service, and                   including hermetically-sealed pressure                applicability threshold require potential


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 54 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31849

                                            reporters to account for the total                      ‘‘Disbursements’’ term in equation DD–                circuit breaker is at the proper operating
                                            nameplate capacity of all equipment                     3 (being finalized as equation DD–4) to               pressure.
                                            containing reportable insulating gases                  account for gas ‘‘transferred’’ as well as               Response: The EPA agrees with the
                                            (located on-site and/or under common                    ‘‘sold’’ to ‘‘other entities.’’ As discussed          commenters regarding the language at
                                            ownership or control), including                        in section III.Q.1. of this preamble, we              40 CFR 98.303(b)(5)(ii) and is finalizing
                                            equipment containing F–GHG mixtures,                    are making a number of clarifications to              the requirement as follows: ‘‘Compare
                                            and multiply by the weight fraction of                  the ‘‘Acquisitions’’ and                              the initial system pressure and
                                            each F–GHG (for gas mixtures), the GWP                  ‘‘Disbursements’’ terms in equation DD–               temperature to the equipment
                                            for each F–GHG, and an emission factor                  4 to accommodate the full range of                    manufacturer’s temperature/pressure
                                            of 0.10 (representing an emission rate of               possible acquisitions and disbursements               curve for that equipment and insulating
                                            10 percent).                                            by electric power systems, which will                 gas.’’ Regarding allowing use of an
                                               We are finalizing harmonizing                        improve the accuracy and completeness                 integrated temperature-compensated gas
                                            changes in multiple sections of subpart                 of equation DD–4 and the associated                   pressure gauge, use of such a gauge is
                                            DD to renumber equation DD–1 and                        reporting and recordkeeping                           allowed if the gauge is certified by the
                                            maintain cross-references to the                        requirements.                                         gauge manufacturer to be accurate and
                                            equation. We are also finalizing                           Comment: One commenter suggested                   precise to within 0.5 percent of the
                                            revisions to the existing threshold in 40               that the EPA revise the nameplate                     largest value that the gauge can,
                                            CFR 98.301 and table A–3 to subpart A                   capacity adjustment text as follows:                  according to the manufacturer’s
                                            (General Provisions). Additional                        first, to remove the word ‘‘covered’’                 specifications, accurately record. It is
                                            information on these revisions and their                prior to ‘‘insulating gas’’ in 40 CFR                 EPA’s understanding that many gauges
                                            supporting basis may be found in                        98.303(b)(4)(ii)(A), since ‘‘covered’’ is             that are built into the electrical
                                            section III.N.2. of the preamble to the                 not included in the EPA’s definition of               equipment do not meet these accuracy
                                            2022 Data Quality Improvements                          insulating gas.                                       and precision requirements. However, if
                                            Proposal.                                                  Response: The EPA agrees with the                  they do, the rule does not prohibit their
                                               Finally, we are removing an outdated                 commenter and is revising 40 CFR                      use in nameplate capacity
                                            monitoring provision at 40 CFR                          98.303(b)(4)(ii)(A) as suggested to reflect           measurements.
                                            98.304(a), which reserves a prior                       the language which is used in the                        Comment: One commenter objected to
                                            requirement for use of BAMM that                        definitions and to minimize confusion.                the proposed requirement to recover the
                                            applied solely for RY2011.                              As discussed in section III.Q.1. of this              insulating gas to a blank-off pressure not
                                                                                                    preamble, we are introducing the term                 greater than 3.5 Torr during the
                                            2. Summary of Comments and                              ‘‘reportable insulating gas’’ to                      nameplate capacity measurement. The
                                            Responses on Subpart DD                                 distinguish between insulating gas that               commenter noted that not all facilities
                                               This section summarizes the major                    is included in subpart DD (‘‘reportable’’)            own gas carts capable of reaching 3.5
                                            comments and responses related to the                   because it has a weighted average GWP                 Torr, and, for some GIE, that level of
                                            proposed amendments to subpart DD.                      greater than 1 and insulating gas that is             pressure is not necessary for an accurate
                                            See the document ‘‘Summary of Public                    not reportable because it has a weighted              reading. The commenter recommended
                                            Comments and Responses for 2024 Final                   average GWP of 1 or less.                             that the GIE recovery be performed to
                                            Revisions and Confidentiality                              Comment: Two commenters suggested                  allow for 99.1 percent or greater
                                            Determinations for Data Elements under                  the EPA change the language in 40 CFR                 recovery of the insulating gas.
                                            the Greenhouse Gas Reporting Rule’’ in                  98.303(b)(5)(ii), which was proposed as                  Response: As discussed above, the
                                            Docket ID. No. EPA–HQ–OAR–2019–                         a requirement to ‘‘convert the initial                EPA is finalizing a requirement that
                                            0424 for a complete listing of all                      system pressure to a temperature-                     facilities measuring the nameplate
                                            comments and responses related to                       compensated initial system pressure by                capacity of their equipment recover the
                                            subpart DD.                                             using the temperature/pressure curve                  gas to a pressure of at most 5 psia (258.6
                                                                                                    for that insulating gas.’’ The                        Torr). This will accommodate gas carts
                                            a. Comments on Revisions To Improve                     commenters stated that the temperature/               that are not capable of reaching 3.5 Torr.
                                            the Quality of Data Collected for                       pressure curve is not intended for                    To ensure that the gas remaining in the
                                            Subpart DD                                              conversions of initial system pressure to             equipment at pressures above 3.5 Torr is
                                               Comment: One commenter asked for                     temperature-compensated pressure. The                 accounted for, facilities that recover the
                                            clarification regarding whether the                     commenters suggested that the                         gas to a pressure between 5 psia and 3.5
                                            equipment user needs to account for                     requirement should be to compare the                  Torr will be required to use the
                                            insulating gas remaining inside gas-                    measured initial system pressure and                  mathematical adjustment approach
                                            insulated equipment (GIE) that are                      vessel temperature to the equipment                   (equation DD–5) to calculate the full
                                            transferred to another entity (vendor) for              manufacturer’s temperature-pressure                   nameplate capacity. As discussed in the
                                            repair or salvage. The commenter                        curve specific for the equipment to                   preamble to the proposed rule, the EPA
                                            asserted that since the equipment is                    confirm the equipment is at the proper                estimates that 0.1 percent of the full and
                                            leaving the inventory with gas inside, it               operating pressure, prior to recovery of              proper charge of insulating gas would
                                            should be counted as both retired                       the insulating gas. One commenter                     remain in the equipment at 3.5 Torr
                                            equipment and a gas disbursement. The                   recommended two options for                           (assuming that a full and proper charge
                                            commenter suggested the                                 measuring initial gas pressure: (1) use               has a pressure of 3800 Torr), a negligible
                                            ‘‘Disbursements’’ term in equation DD–                  external pressure and temperature                     fraction. However, the fraction of gas
                                            3 be modified to include similar                        gauges according to 40 CFR                            remaining after recovery of 99.1 percent
                                            language to the ‘‘Acquisitions’’ term, to               98.303(b)(5)(i); or (2) if an integrated              of the gas, 0.9%, is not negligible, but
lotter on DSK11XQN23PROD with RULES2




                                            clarify that gas inside equipment that is               temperature-compensated gas pressure                  represents a significant systematic
                                            transferred to another entity for repair or             gauge was used for the initial gas fill               underestimate compared to the 2%
                                            salvage, in addition to equipment that is               and to monitor and maintain the gas at                tolerance for nameplate capacity
                                            sold, counts as a disbursement.                         the proper operating pressure over the                measurements. Since it is
                                               Response: The EPA agrees with the                    service life of the circuit breaker, use the          straightforward to correct for this
                                            commenter and is revising the                           same gauge to determine whether the                   systematic underestimate by using the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 55 of 164
                                            31850              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            mathematical adjustment approach, we                    recommended removing the option to                    insulating gas recovered from retiring
                                            are requiring use of equation DD–5 in                   use a mass flow meter to measure the                  equipment, the insulating gas is being
                                            such situations.                                        mass of insulating gas recovered from                 transferred from the equipment itself,
                                               Comment: One commenter                               retiring equipment due to the potential               and the recovery process therefore
                                            representing manufacturers of electrical                for errors when a mass flow meter is                  inevitably lowers the mass flow rate
                                            equipment recommended that after                        used in this process. The commenters                  below the minimum level. For this
                                            insulating gas was added to a piece of                  stated that use of a mass flow meter to               reason, we are not taking final action on
                                            electrical equipment, facilities should                 measure the insulating gas recovered is               the option to use flowmeters to measure
                                            allow at least 24 hours to allow the gas                not recommended since a mass flow                     the quantity of insulating gas recovered
                                            to condition itself to its container in                 meter does not accurately measure gas                 from retiring equipment.
                                            order to confirm the correct density has                at low flow rates. Instead, the                          In our analysis of this issue, we
                                            been met.                                               commenters recommended that the gas                   reviewed our proposal at 40 CFR
                                               Response: The EPA is adding a                        container weighing method should be                   98.303(b)(10) that mass flow meters
                                            requirement to 40 CFR 98.303(b)(4)(ii)                  used to accurately measure the total                  must be accurate and precise to within
                                            that facilities follow the procedure                    weight of insulating gas recovered from               one percent of the largest value that the
                                            specified by the electrical equipment                   the equipment. One commenter added                    flow meter can, according to the
                                            manufacturer to ensure that the                         that the process of weighing all gas                  manufacturer’s specifications,
                                            measured temperature accurately                         removed from a GIE and transferred into               accurately record, i.e., the maximum
                                            reflects the temperature of the insulating              a cylinder includes weighing all the gas              full-scale value. This means that the
                                            gas, e.g., by measuring the insulating gas              trapped in hoses and in gas cart, which               relative error of the flowmeter could rise
                                            pressure and vessel temperature after                   would not be accounted for by the flow                hyperbolically from one percent of the
                                            allowing appropriate time for the                       meter; the commenter pointed out that                 measured value (when the measured
                                            temperature of the transferred gas to                   the gas (trapped in hoses and in the gas              value equals the maximum value) to
                                            equilibrate with the vessel temperature.                cart) would need to be moved into                     much higher levels at lower flow rates,
                                            This allows for the possibility that some               cylinders to be accurately weighed with               e.g., 2 percent of the flow rate at half the
                                            electrical equipment, e.g., electrical                  a cylinder scale.                                     maximum, 4 percent of the flow rate at
                                            equipment with smaller charge sizes,                                                                          one quarter of the maximum, 10 percent
                                            may require less than 24 hours for the                     Response: After consideration of these
                                                                                                                                                          of the flow rate at one tenth the
                                            insulating gas temperature to equilibrate               comments, the EPA is finalizing the                   maximum, etc. These rising relative
                                            with the temperature of the vessel.                     proposed provisions for measuring the                 errors lead to overall errors in the mass
                                            Because achieving the correct density of                nameplate capacities of new and retiring              flow measurement that are far above one
                                            the insulating gas in the equipment is                  equipment with two changes. First, we                 percent. Even if the flow meter is
                                            important to the proper functioning of                  are requiring that facilities that use mass           accurate to within one percent of the
                                            the equipment, the guidance provided                    flow meters to measure the mass of                    measured value over a ten-fold range of
                                            by the equipment manufacturer should                    insulating gas added to new equipment                 flow rates, errors at lower flow rates can
                                            be sufficient to ensure that the                        must keep the mass flow rate within the               be significant. In an example provided
                                            appropriate density is achieved for                     range specified by the mass flow meter                to us by a company that provides
                                            purposes of the nameplate capacity                      manufacturer to assure an accurate and                insulating gas recovery equipment (gas
                                            measurement.                                            precise mass flow meter reading.                      carts) and insulating gas recovery
                                               Comment: Commenters representing                     Second, we are removing the option to                 services to electric power systems, the
                                            electrical equipment users and                          use mass flow meters to measure the                   relative error of the measurement of the
                                            manufacturers provided input on the                     quantity of gas recovered from retiring               flow rate rose by a factor of five when
                                            use of mass flow meters to measure the                  equipment. We have analyzed the                       the flow rate fell below 10 percent of the
                                            nameplate capacities of new and retiring                impact of the uncertainty of flowmeters               maximum full-scale value. If the error of
                                            electrical equipment. One commenter                     at low flow rates on overall nameplate                a flowmeter climbed from 1 percent to
                                            provided recommended edits to the                       capacity measurements, and we have                    5 percent when the flow rate fell below
                                            proposed text to add requirements to                    concluded that this impact may lead to                10 percent of the maximum full-scale
                                            ensure that a minimum gas flow is                       large errors under some circumstances.                value, the measurement of the total
                                            maintained while measuring the mass of                  As noted by the commenters, the                       mass recovered would have a maximum
                                            insulating gas being added to new                       relative error for flowmeters can                     uncertainty of 1.4 percent, which can
                                            equipment. The commenter stated that                    increase when the flowmeter is used to                result in overall errors above 2 percent
                                            to ensure that the flowmeter was                        measure mass flow rates below a certain               in the nameplate capacity measurement
                                            properly configured for its application,                fraction of the maximum full-scale                    as a whole (accounting also for the
                                            the maximum and minimum flow rates                      value, and the mass flow rate will                    uncertainties of measured pressures,
                                            of the meter, as well as the displacement               gradually decline as the insulating gas is            etc.).
                                            of the pumps and compressors on the                     transferred from the container to the                    Regarding one commenter’s
                                            gas cart being used, must be taken into                 equipment or vice versa, reducing the                 recommendation that we allow weigh
                                            consideration. The commenter added                      density of the gas inside the source                  scales to be used to measure the
                                            that, in general, mass flow meters                      vessel. For measuring the quantity of                 quantity of gas filled into new
                                            designed for high flow applications will                insulating gas added to new equipment,                equipment, we are finalizing our
                                            not be suitable for low flow conditions                 this issue can be addressed by requiring              proposal at 40 CFR 98.303(b)(4)(ii)(A) to
                                            and meters designed for low flow                        that the mass flow rate be kept within                allow use of weigh scales for this
                                            applications will not be suitable for high              the range specified by the mass flow                  measurement.
lotter on DSK11XQN23PROD with RULES2




                                            flow conditions. This commenter also                    meter manufacturer, which can be                         Comment: Two commenters requested
                                            recommended adding the use of an in-                    accomplished by, e.g., switching to a                 the EPA remove the term ‘‘precise’’ from
                                            calibration cylinder scale as an                        full container when the density of the                proposed 40 CFR 98.303(b)(10). Both
                                            alternative option for measuring the gas                insulating gas in the current container               commenters stressed that accuracy is
                                            transferred during the equipment filling                falls below the minimum level.                        more important. One commenter stated
                                            process. Two commenters                                 However, for measuring the quantity of                that equipment certified to be accurate


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 56 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31851

                                            and precise may be difficult to find, and               totals reported under subpart DD or                   Facilities that have reported have
                                            another additionally asserted there is                  under the GHGRP generally. Between                    calculated their emissions more
                                            little value in precision.                              2011 and 2021, the highest emitting                   precisely using the mass balance
                                               Response: In the final rule, we are                  facilities reporting under subpart DD                 approach. If those calculations have
                                            finalizing as proposed the accuracy and                 reported SF6 emissions ranging from 8                 shown that they are eligible to exit the
                                            precision requirements for gauges, flow                 to 23 mt (unweighted) or 190,000 to                   program under the off-ramp provisions
                                            meters, and weigh scales used to                        540,000 mtCO2e. Over the same period,                 of subpart A of part 98 (40 CFR 98.2(i)),
                                            measure nameplate capacities. To obtain                 total emissions across all facilities have            they do not need to report again unless
                                            an accurate measurement of the                          ranged from 96 to 171 mt (unweighted)                 facility emissions exceed 25,000
                                            nameplate capacity of a piece of                        or 2.3 to 4.1 million mtCO2e. At GWPs                 mtCO2e. On the other hand, if the
                                            equipment, measurement devices must                     of one, these weighted totals would be                calculations have shown that the facility
                                            be both accurate and precise. As                        equivalent to the unweighted quantities               does not meet the existing off-ramp
                                            discussed in the technical support                      reported, which constitute                            conditions to exit the program, they
                                            document for the proposed rule,18 the                   approximately 0.004% (1/23,500) of the                must continue reporting regardless of
                                            term ‘‘accurate’’ indicates that multiple               GWP-weighted totals. This does not                    the results of the threshold calculation
                                            measurements will yield an average that                 account for the fact that for the first few           at 40 CFR 98.301.
                                            is near the true value, while the term                  years it is sold, equipment containing
                                                                                                                                                          R. Subpart FF—Underground Coal
                                            ‘‘precise’’ indicates that multiple                     insulating gases with weighted average
                                                                                                                                                          Mines
                                            measurements will yield consistent                      GWPs of one or less will make up a
                                            results. A measurement device that is                   small fraction of the total nameplate                    We are finalizing the amendments to
                                            accurate without being precise may                      capacity of the electrical equipment in               subpart FF of part 98 (Underground
                                            show inconsistent results from                          use. (Electrical equipment has a lifetime             Coal Mines) as proposed. The EPA
                                            measurement to measurement, and                         of about 40 years, so only a small                    received no comments objecting to the
                                            these individual inconsistent results                   fraction of the total stock of equipment              proposed revisions to subpart FF;
                                            may be significantly different from the                 is retired and replaced each year.) Even              therefore, there are no changes from the
                                            true value even if their average is not.                in a worst-case scenario where the                    proposal to the final rule. The EPA is
                                            Since measurements of nameplate                         annual emission rate of the equipment                 finalizing two technical corrections to:
                                            capacity are generally expected to be                   containing a very low-GWP insulating                  (1) correct the term ‘‘MCFi’’ in equation
                                            taken only once for a particular piece of               gas was assumed to equal the total                    FF–3 to subpart FF to revise the term
                                            equipment, the devices on which the                     nameplate capacity of all the equipment               ‘‘1-(fH2O)1’’ to ‘‘1-(fH2O)i’’, and (2) to
                                            individual measurements are taken                       installed (implying an emission rate of               correct 40 CFR 98.326(t) to add the word
                                            must be both accurate and precise for                   100 percent, higher than any ever                     ‘‘number’’ after the word
                                            the measurements to yield results that                  reported under the GHGRP), the total                  ‘‘identification’’ to clarify the reporting
                                            are near the true values.                               GWP-weighted emissions reported                       requirement. Additional rationale for
                                               Comment: One commenter suggested                     under subpart DD would be                             these amendments is available in the
                                            redefining the definition of ‘‘insulating               considerably smaller than those                       preamble to the 2022 Data Quality
                                            gas’’ to including any gas with a GWP                   reported under any other subpart: total               Improvements Proposal.
                                            greater than one (1) and not any                        unweighted nameplate capacities                       S. Subpart GG—Zinc Production
                                            fluorinated GHG or fluorinated GHG                      reported across all facilities to date have
                                                                                                    ranged between 4,847 and 6,996 mt. At                    This section discusses the final
                                            mixture. The commenter urged that the                                                                         revisions to subpart GG. We are
                                            proposed definition ignores other                       GWPs of 1, these totals would fall under
                                                                                                    the 15,000 and 25,000 mtCO2e                          finalizing amendments to subpart GG of
                                            potential gases that may come onto the                                                                        part 98 (Zinc Production) as proposed.
                                            market that are not fluorinated but still               quantities below which individual
                                                                                                    facilities are eventually allowed to exit             The EPA received only supportive
                                            have a GWP. The commenter stated that                                                                         comments for the proposed revisions to
                                            defining insulating gas to include any                  the program under the off-ramp
                                                                                                    provisions, as applicable.                            subpart GG. See the document
                                            gas with a GWP greater than 1 used as                                                                         ‘‘Summary of Public Comments and
                                            an insulating gas and/or arc quenching                     To monitor trends in the replacement
                                                                                                    of SF6 by insulating gases with weighted              Responses for 2024 Final Revisions and
                                            gas in electrical equipment would                                                                             Confidentiality Determinations for Data
                                            mirror the threshold implemented by                     average GWPs less than one, the EPA
                                                                                                    will continue to track supplies of such               Elements under the Greenhouse Gas
                                            the California Air Resources Board and                                                                        Reporting Rule’’ in Docket ID. No. EPA–
                                            would provide consistency for reporters                 insulating gases under subparts OO and
                                                                                                    QQ and will track deliveries of such                  HQ–OAR–2019–0424 for a complete
                                            across Federal and State reporting rules.                                                                     listing of all comments and responses
                                               Response: In the final rule, the EPA is              insulating gases in equipment or
                                                                                                    containers under subpart SS.                          related to subpart GG. Additional
                                            not requiring electric power systems to                                                                       rationale for these amendments is
                                            track or report emissions of insulating                 b. Comments on Revisions To                           available in the preamble to the 2022
                                            gases with weighted average 100-year                    Streamline and Improve                                Data Quality Improvements Proposal.
                                            GWPs of one or less. Based on a review                  Implementation for Subpart DD                            The EPA is finalizing one revision to
                                            of the subpart DD data submitted to                        Comment: One commenter supported                   add a reporting requirement at 40 CFR
                                            date, the EPA has concluded that                        the proposed threshold for subpart DD                 98.336(a)(6) and (b)(6) for the total
                                            excluding insulating gases with                         but wanted the EPA to clarify that                    amount of electric arc furnace (EAF)
                                            weighted average GWPs of one or less                    reporters that do not think they will fall            dust annually consumed by all Waelz
                                            from reporting under subpart DD will                    below the revised reporting threshold or              kilns at zinc production facilities. The
lotter on DSK11XQN23PROD with RULES2




                                            have little effect on the accuracy or                   are not otherwise using F–GHGs other                  final data elements will only require
                                            completeness of the GWP-weighted                        than SF6 do not need to recalculate their             segregation and reporting of the mass of
                                              18 See ‘‘Technical Support for Proposed Revisions
                                                                                                    emissions to show they must report.                   EAF dust consumed for all kilns. These
                                            to Subpart DD (2021),’’ available in the docket to
                                                                                                       Response: The applicability threshold              requirements apply to reporters using
                                            this rulemaking, Docket ID. No. EPA–HQ–OAR–             is for determining whether entities must              either the CEMS direct measurement or
                                            2019–0424.                                              initially begin reporting to the GHGRP.               mass balance calculation


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00051   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                   USCA Case #24-1216                                     Document #2061464                                           Filed: 06/24/2024                            Page 57 of 164
                                            31852                   Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            methodologies. Reporters currently                                   1. Summary of Final Amendments to                                      International, to Rachel Schmeltz, EPA,
                                            collect information on the EAF dust                                  Subpart HH                                                             ‘‘Multivariate analysis of data reported
                                            consumed on a monthly basis as part of                                  This section summarizes the final                                   to the EPA’s Greenhouse Gas Reporting
                                            their existing operations as a portion of                            amendments to subpart HH. Major                                        Program (GHGRP), Subpart HH
                                            the inputs to equation GG–1 to subpart                               changes to the final rule as compared to                               (Municipal Solid Waste Landfills) to
                                            GG; reporters will only be required to                               the proposed revisions are identified in                               optimize DOC and k values,’’ (June 11,
                                            sum all EAF dust consumed on a                                       this section. The rationale for these and                              2019), available in the docket for this
                                            monthly basis for each kiln and then for                             any other changes to 40 CFR part 98,                                   rulemaking, Docket ID. No. EPA–HQ–
                                            all kilns at the facility for reporting and                          subpart HH can be found in this section                                OAR–2019–0424. The EPA is finalizing
                                            entering the information into e-GGRT.                                and section III.T.2. of this preamble.                                 the following changes as proposed:
                                            Additional rationale for these                                       Additional rationale for these                                            • For the Bulk Waste option,
                                            amendments is available in the                                       amendments is available in the                                         amending the bulk waste DOC value in
                                            preamble to the 2022 Data Quality                                    preamble to the 2022 Data Quality                                      table HH–1 from 0.20 to 0.17.
                                            Improvements Proposal. We are also                                   Improvements Proposal and 2023                                            • For the Modified Bulk Waste
                                            finalizing as proposed confidentiality                               Supplemental Proposal.                                                 option, for bulk MSW waste without
                                                                                                                    The EPA is finalizing several                                       inerts and (C&D) waste, amending the
                                            determinations for new data elements
                                                                                                                 revisions to subpart HH to improve the                                 DOC value from 0.31 to 0.27.
                                            resulting from the final revisions to
                                                                                                                 quality of data collected under the
                                            subpart GG, as described in section VI.                                                                                                        • For the Waste Composition option,
                                                                                                                 GHGRP. First, the EPA is finalizing
                                            of this preamble.                                                                                                                           adding a DOC for uncharacterized MSW
                                                                                                                 revisions to update the factors used in
                                                                                                                 modeling CH4 generation from waste                                     of 0.32, and revising 40 CFR 98.343(a)(2)
                                            T. Subpart HH—Municipal Solid Waste                                                                                                         to reference using this uncharacterized
                                            Landfills                                                            disposed at landfills in table HH–1 to
                                                                                                                 subpart HH. As explained in the 2022                                   MSW DOC value rather than the bulk
                                               We are finalizing several amendments                              Data Quality Improvements Proposal,                                    MSW value for waste materials that
                                                                                                                 subpart HH uses a model to estimate                                    could not be specifically assigned to the
                                            to subpart HH of part 98 (Municipal
                                                                                                                 CH4 generation that considers the                                      streams listed in table HH–1 for the
                                            Solid Waste Landfills) as proposed. In
                                                                                                                 quantity of MSW landfilled, the                                        Waste Composition option.
                                            some cases, we are finalizing the
                                            proposed amendments with revisions.                                  degradable organic carbon (DOC)                                           The EPA is also revising the default
                                            In other cases, we are not taking final                              content of that MSW, and the first order                               decay rate values in table HH–1 for the
                                                                                                                 decay rate (k) of the DOC. Table HH–1                                  Bulk Waste option and the Modified
                                            action on the proposed amendments.
                                                                                                                 to subpart HH provides DOC and k                                       Bulk MSW option and adding k value
                                            Section III.T.1. of this preamble
                                                                                                                 values that a reporter must use to                                     ranges for uncharacterized MSW for the
                                            discusses the final revisions to subpart                                                                                                    Waste Composition Option. The final k
                                                                                                                 calculate their CH4 generation based on
                                            HH. The EPA received several                                                                                                                values, which have been revised from
                                                                                                                 the different categories of waste
                                            comments on proposed subpart HH                                      disposed at that landfill and the climate                              those proposed, are shown in table 4 of
                                            revisions which are discussed in section                             in which the landfill is located. The                                  this preamble. The revised defaults
                                            III.T.2. of this preamble. We are also                               EPA previously conducted a                                             represent the average optimal k values
                                            finalizing as proposed confidentiality                               multivariate analysis of data reported                                 derived through an additional
                                            determinations for new data elements                                 under subpart HH to estimate updated                                   optimization analysis conducted in
                                            resulting from the final revisions to                                DOC and k values for each waste                                        response to comments where the bulk
                                            subpart HH, as described in section VI.                              characterization option. Details of this                               waste DOC value was set to the revised
                                            of this preamble.                                                    analysis are available in the                                          value of 0.17 and optimal k values were
                                                                                                                 memorandum from Meaghan McGrath,                                       determined for each precipitation
                                                                                                                 Kate Bronstein, and Jeff Coburn, RTI                                   category.

                                                                                                                 TABLE 4—REVISED DEFAULT k VALUES
                                                                                                             Factor                                                                                   Subpart HH default                         Units

                                            k values for Bulk Waste option and Modified Bulk MSW option ..........................................................
                                            k (precipitation plus recirculated leachate <20 inches/year) ................................................................                   0.033 ...........................................   yr¥1.
                                            k (precipitation plus recirculated leachate 20–40 inches/year) ............................................................                     0.067 ...........................................   yr¥1.
                                            k (precipitation plus recirculated leachate >40 inches/year) ................................................................                   0.098 ...........................................   yr¥1.
                                            k value range for Waste Composition option .......................................................................................
                                            k (uncharacterized MSW) .....................................................................................................................   0.033 to 0.098 ............................         yr¥1.



                                               The revisions to the DOC and k values                             revisions and their supporting basis may                               events that are not well quantified
                                            in table HH–1 reflect the compositional                              be found in section III.Q. of the                                      under the GHGRP including: (1) a
                                            changes in materials that are disposed at                            preamble to the 2022 Data Quality                                      poorly operating or non-operating gas
                                            landfills. These updated factors will                                Improvements Proposal and in the                                       collection system; and (2) a poorly
                                            allow MSW landfills to more accurately                               memorandum ‘‘Revised Analysis and                                      operating or non-operating destruction
                                            model their CH4 generation. We are also                              Calculation of Optimal k Values for                                    device. The EPA is finalizing, as
lotter on DSK11XQN23PROD with RULES2




                                            clarifying in the final rule that starting                           Subpart HH MSW Landfills Using a 0.17                                  proposed, revisions and additions to
                                            in RY2025 these new DOC and k values                                 DOC Default and Timing                                                 address these scenarios as follows:
                                            are to be applied for disposal years 2010                            Considerations’’ included in Docket ID.                                   • Revising equations HH–7 and HH–
                                            and later, consistent with when the                                  No. EPA–HQ–OAR–2019–0424.                                              8 to more clearly indicate that the ‘‘fRec’’
                                            compositional changes occurred.                                        We are also finalizing, as proposed,                                 term is dependent on the gas collection
                                            Additional information on these                                      revisions to account for CH4 emission                                  system, to clarify how the equation


                                       VerDate Sep<11>2014       19:27 Apr 24, 2024       Jkt 262001     PO 00000       Frm 00052      Fmt 4701      Sfmt 4700     E:\FR\FM\25APR2.SGM            25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024               Page 58 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                31853

                                            applies to landfills that may have more                 monitoring correction term that was                   for estimating annual emissions. We
                                            than one gas collection system and may                  proposed. Instead, we are finalizing the              will continue to review the comments
                                            have multiple measurement locations                     proposed lower collection efficiencies                received along with other studies and
                                            associated with a single gas collection                 in table HH–3 to subpart HH, but                      may amend subpart HH to allow the
                                            system.                                                 applying the reduced collection                       incorporation of additional
                                               • Clarifying in ‘‘fRec’’ that the                    efficiencies for all reporters under                  measurement or monitoring
                                            recovery system operating hours only                    subpart HH. See section III.T.2. of this              methodologies in the future.
                                            include those hours when the system is                  preamble for additional information on
                                            operating normally. Facilities should                   related comments and the EPA’s                        2. Summary of Comments and
                                            not include hours when the system is                    response.                                             Responses on Subpart HH
                                            shut down or when the system is poorly                     The EPA is also finalizing several                    This section summarizes the major
                                            operating (i.e., not operating as                       revisions to the reporting requirements               comments and responses related to the
                                            intended). Poorly operating systems can                 for subpart HH, including more clearly                proposed amendments to subpart HH.
                                            be identified when pressure,                            identifying reporting elements                        See the document ‘‘Summary of Public
                                            temperature, or other parameters                        associated with each gas collection                   Comments and Responses for 2024 Final
                                            indicative of system performance are                    system, each measurement location                     Revisions and Confidentiality
                                            outside of normal variances for a                       within a gas collection system, and each              Determinations for Data Elements under
                                            significant portion of the system’s gas                 control device associated with a                      the Greenhouse Gas Reporting Rule’’ in
                                            collection wells.                                       measurement location. First, we are                   Docket ID. No. EPA–HQ–OAR–2019–
                                               • For equations HH–6, HH–7, and                      finalizing revisions to landfills with gas            0424 for a complete listing of all
                                            HH–8, revising the term ‘‘fDest’’ to clarify            collection systems consistent with the                comments and responses related to
                                            that the destruction device operating                   proposed revisions in the methodology,                subpart HH.
                                            hours exclude periods when the                          i.e., to separately require reporting for                Comment: Numerous commentors
                                            destruction device is poorly operating.                 each gas collection systems and for each              stated that methane detection
                                            Facilities should only include those                    measurement location within a gas                     technology, specifically top-down direct
                                            periods when flow was sent to the                       collection system. We are requiring, for              measurement from aerial studies, has
                                            destruction device and the destruction                  each measurement location that                        greatly improved the ability to observe
                                            device was operating at its intended                    measures gas to an on-site destruction                and quantify emissions from landfills
                                            temperature or other parameter that is                  device, certain information be reported               (e.g., Krautwurst, et al., 2017; Cusworth,
                                            indicative of effective operation. For                  about the destruction device, including:              et al., 2022).19 20 Some commenters
                                            flares, periods when there is no flame                  type of destruction device; the total                 noted that, among several studies in
                                            present must be excluded from the                       annual hours where gas was sent to the                California, Maryland, Texas, and
                                            annual operating hours.                                 destruction device; a parameter                       Indiana, there are discrepancies
                                               Following consideration of comments                  indicative of effective operation, such as            between observed data collected from
                                            received, the EPA is finalizing two                     the annual operating hours where active               these new detection technologies and
                                            minor clarifications of the term ‘‘fDest,n’’            gas flow was sent to the destruction                  the estimated emissions from the
                                            in equations HH–7 and HH–8. First, we                   device and the destruction device was                 models that the EPA currently uses.
                                            are removing the redundant phrase ‘‘as                  operating at its intended temperature;                Several commenters pointed to a recent
                                            measured at the nth measurement                         and the fraction of the recovered                     study (Nesser, et al., 2023) using
                                            location.’’ Second, we are removing the                 methane reported for the measurement                  satellite data that highlighted that at 33
                                            word ‘‘pilot’’ to clarify that for flares               location directed to the destruction                  of 70 landfills studied, U.S. GHG
                                            used as a destruction device, the annual                device. We are also requiring reporting               Inventory landfill emissions are
                                            operating hours must exclude any                        of identifying information for each gas               underestimated by 50 percent when
                                            period in which no flame is present,                    collection system, each measurement                   compared to the current top-down
                                            either pilot or main. These changes                     location within a gas collection system,
                                            account for variances in flare operation,                                                                     approaches.21 These discrepancies
                                                                                                    and each destruction device. We are                   indicate methane emissions from
                                            e.g., flares which may only use a pilot                 also finalizing reporting requirements
                                            on startup. See section III.T.2. of this                                                                      landfills may be considerably higher
                                                                                                    for landfills with gas collection systems             than currently recorded. Some
                                            preamble for additional information on                  to indicate the applicability of the NSPS
                                            related comments and the EPA’s                                                                                commenters stated that advanced
                                                                                                    (40 CFR part 60, subparts WWW or
                                            response.                                                                                                     methane monitoring technology has
                                                                                                    XXX), state plans implementing the EG
                                               In the 2023 Supplemental Proposal,                                                                         improved significantly in effectiveness
                                                                                                    (40 CFR part 60, subparts Cc or Cf), and
                                            we proposed that facilities that conduct                                                                      and cost, and provided specific input
                                                                                                    Federal plans (40 CFR part 62, subparts
                                            surface-emissions monitoring must use                                                                         regarding advanced methane monitoring
                                                                                                    GGG and OOO).
                                            that data and correct the emissions                        In the 2023 Supplemental Proposal,                 technologies available for landfills and
                                            calculated in equations HH–6, HH–7,                     the EPA also sought comment on how                    how their data might enhance subpart
                                            and HH–8 to account for excess                          other CH4 monitoring technologies, e.g.,                 19 Krautwurst, S., et al., (2017). ‘‘Methane
                                            emissions when the measured surface                     satellite imaging, aerial measurement,                emissions from a Californian landfill, determined
                                            methane concentration exceeded 500                      vehicle-mounted mobile measurement,                   from airborne remote sensing and in situ
                                            ppm based on a correction term added                    or continuous sensor networks, might                  measurements.’’ Atmos. Meas. Tech. 10:3429–3452.
                                            to those equations. We also proposed for                enhance subpart HH emissions                          https://doi.org/10.5194/amt-10-3429-2017.
                                                                                                                                                             20 Cusworth, D., et al., (2020). ‘‘Using remote
                                            facilities not conducting surface-                      estimates. The EPA did not propose,                   sensing to detect, validate, and quantify methane
                                            emissions monitoring to use collection                  and therefore is not taking final action              emissions from California solid waste operations.’’
lotter on DSK11XQN23PROD with RULES2




                                            efficiencies that are 10-percentage                     on, any amendments to subpart HH to                   Environ. Res. Lett. 15: 054012.
                                            points lower than the historic collection               this effect. However, the EPA did seek                   21 Nesser, H., et al. 2023. High-resolution U.S.

                                            efficiencies in table HH–3 to subpart                   comment on the availability of existing               methane emissions inferred from an inversion of
                                                                                                                                                          2019 TROPOMI satellite data: contributions from
                                            HH. Following consideration of                          monitoring technologies, and regulatory               individual states, urban areas, and landfills,
                                            comments received, we are not taking                    approaches and provisions necessary to                EGUsphere [preprint], https://doi.org/10.5194/
                                            final action on the surface-emissions                   incorporate such data into subpart HH                 egusphere-2023-946, 2023.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                Page 59 of 164
                                            31854              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            HH emissions reporting. The                             parties, and operators to find and                    identify and measure large emissions
                                            commenters pointed to both screening                    mitigate plumes faster.                               events, their detection limits may be too
                                            and close-range technologies that would                    Several commenters provided                        high to detect emissions from sources
                                            be beneficial for pinpointing leaks or                  recommendations for additional                        with relatively low emission rates or
                                            emission sources, and outlined several                  reporting requirements such as gas                    that are spread across large areas, which
                                            technologies including satellite imaging,               collection and capture system (GCCS)                  is common for landfills.22 This is likely
                                            aerial measurements, vehicle-mounted                    type and design, destruction device type              why only seven percent of the landfills
                                            mobile measurement, and continuous                      and characteristics, monitoring                       in the Duren, et al. (2019) study had
                                            sensor networks. The commenters                         technologies, site cover type,                        detectable emissions. The EPA will
                                            recommended comprehensive                               construction periods, and compliance                  continue to review additional
                                            monitoring with both screening and                      issues which may relate to closures of                information on existing and advanced
                                            close-range technologies to provide full                control devices.                                      methodologies and new literature
                                                                                                       Response: The EPA agrees that recent               studies, and consider ways to effectively
                                            coverage. The commenters suggested the
                                                                                                    aerial studies indicate methane                       incorporate these methods and data in
                                            use of these technologies to catch large
                                                                                                    emissions from landfills may be                       future revisions under subpart HH for
                                            emission events that are not accounted                  considerably higher than bottom-up
                                            for in the existing reporting                                                                                 estimating annual emissions.
                                                                                                    emissions reported under subpart HH                      For the oil and gas sector, the super-
                                            requirements. Commenters noted that                     for some landfills. Emissions may be                  emitter program that allows third-party
                                            the EPA could review submitted reports                  considerably higher due to emissions                  measurement data to be submitted was
                                            and activity data to determine how to                   from poorly operating gas collection                  proposed under 40 CFR part 60, subpart
                                            best quantify the observed large release                systems or destruction devices and                    OOOOb (87 FR 74702, December 6,
                                            events as compared to annual reported                   leaking cover systems. The                            2022). The GHGRP looked to use this
                                            emissions (e.g., updating fRec or fDest                 supplemental proposal included                        information, but we did not develop or
                                            values to account for periods of                        revisions to the monitoring and                       propose such a program under the
                                            downtime or poor performance not                        calculation methodologies in subpart                  GHGRP. As such, this type of program
                                            captured that contributed to a large                    HH to account for these scenarios. In                 is beyond the scope of the proposed
                                            discrepancy).                                           particular, proposed equations HH–6,                  rule. We will consider whether
                                               Other commenters recommended that                    HH–7, and HH–8 included                               developing and implementing a similar
                                            the EPA create a mechanism under                        modifications to incorporate direct                   super-emitter program within subpart
                                            subpart HH for receiving and                            measurement data collected from                       HH of part 98 or the overall GHGRP is
                                            considering third-party observational                   methane surface-emissions monitoring.                 appropriate under future rulemakings.
                                            data that the EPA could then use to                     In the supplemental proposal, we also                    We proposed, and are finalizing,
                                            revise reported emissions as necessary.                 requested information about other direct              several additional reporting elements
                                            Some commenters suggested the EPA                       measurement technologies and how                      including, for landfills with a gas
                                            base a threshold for these sources of 100               their data may enhance emissions                      collection system, information on the
                                            kg/hour. Commenters also                                reporting under subpart HH. We                        applicability of the NSPS (40 CFR part
                                            recommended setting assumptions for                     received many responses to our request.               60, subparts WWW or XXX), state plans
                                            the duration of the emissions similar to                Based on the comments received, we are                implementing the EG (40 CFR part 60,
                                            those proposed for subpart W of part 98                 not taking final action at this time                  subparts Cc or Cf), and Federal plans (40
                                                                                                    regarding the incorporation of other                  CFR part 62, subparts GGG and OOO).
                                            (Petroleum and Natural Gas Systems).
                                                                                                    direct measurement technologies for the               We note that several of the items
                                            Some commenters suggested the EPA
                                                                                                    following reasons. First, most top-down,              suggested are already reporting
                                            should embrace for landfills the same
                                                                                                    facility measurements are taken over                  elements. For example, we already
                                            tiered methane emissions monitoring
                                                                                                    limited durations (a few minutes to a                 require reporting of a description of the
                                            approach as is utilized in its proposed
                                                                                                    few hours) typically during the daylight              gas collection system, such as the
                                            rulemaking for the oil and gas sector.                  hours and limited to times when                       manufacturer, capacity, and number of
                                            Commenters also suggested a tiered                      specific meteorological conditions exist              wells, which provides requested
                                            approach that combines continuous                       (e.g., no cloud cover for satellites;                 information on GCCS type and design.
                                            monitoring ground systems with                          specific atmospheric stability and wind               We also proposed and are finalizing
                                            periodic remote sensing along with                      speed ranges for aerial measurements).                reporting requirements for the type of
                                            approaches for translating methane                      These direct measurement data taken at                destruction device. We already require
                                            concentrations from top-down sources                    a single moment in time may not be                    reporting of cover type. We consider the
                                            to source-specific emission rates.                      representative of the annual CH4                      reporting requirements to be sufficient
                                            Commenters urged that the sooner the                    emissions from the facility, given that               based on the current methodologies
                                            EPA can move toward top-down or                         many emissions are episodic. If                       used to estimate CH4 emissions. We will
                                            facility-wide measurement of emissions                  emissions are found during a limited                  consider the need for additional
                                            for reporting or validation of reported                 duration sampling, that does not                      reporting elements if we incorporate
                                            values, the sooner reported and                         necessarily mean they are present for                 additional measurement or monitoring
                                            measured emissions would be                             the entire year. And if emissions are not             methodologies in future rulemakings.
                                            reconcilable and verifiable. A few                      found during a limited duration                          Comment: Several commentors
                                            commenters also recommended that the                    sampling, that does not mean significant              expressed limited support for the
                                            EPA facilitate the flow of information                  emissions are not occurring at other                  proposed use of surface emission
                                            from other agencies (the National                       times. Extrapolating from limited                     monitoring data to help account for
lotter on DSK11XQN23PROD with RULES2




                                            Aeronautics and Space Administration                    measurements to an entire year
                                            (NASA), National Oceanic and                            therefore creates risk of either over or                22 Duren, et al. 2019. ‘‘California’s methane super-

                                            Atmospheric Administration (NOAA),                      under counting actual emissions.                      emitters.’’ Nature, Vol. 575, Issue 7781, pp. 180–
                                                                                                                                                          184, available at https://doi.org/10.1038/s41586-
                                            National Institute of Standards and                     Second, while top-down measurement                    019-1720-3. Available in the docket for this
                                            Technology (NIST), and U.S.                             methods, including satellite and aerial               rulemaking, Docket ID. No. EPA–HQ–OAR–2023–
                                            Department of Energy (DOE)), third                      methods, have proven their ability to                 0234.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00054   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                             Document #2061464                                 Filed: 06/24/2024                  Page 60 of 164
                                                                 Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                       31855

                                            emissions from cover leaks. These                           concentration term to equations HH–6,                    proposed correction term for equations
                                            commenters either recommended that                          HH–7, and HH–8. This commenter also                      HH–6, HH–7, and HH–8 at this time
                                            the EPA use more quantitative emission                      cited the work of Dr. Tarek Abichou                      while we consider and evaluate other
                                            measurement methods instead of                              (Kormi, et al., 2017 and 2018) for using                 options. The EPA will continue to
                                            surface-emissions monitoring or to                          surface concentration measurements to                    review additional information on
                                            require that the surface-emissions                          estimate emissions.27 28                                 existing and advanced methodologies
                                            monitoring be conducted at 25-foot                             Response: After considering                           and new literature studies and consider
                                            intervals consistent with California and                    comments received and reviewing                          ways to effectively incorporate these
                                            other state requirements, and to use a                      additional studies, including those cited                methods and data in future revisions
                                            lower leaks definition of 25 parts per                      by the commenters, we are not taking                     under subpart HH for estimating annual
                                            million volume (ppmv), rather than                          final action on the proposed surface-                    emissions.
                                            using the proposed 30-meter intervals                       emissions monitoring correction term at                     Comment: Numerous commenters
                                            (about 98-foot intervals) with leaks                        this time.29 Upon review of the                          cited studies suggesting that subpart HH
                                            defined as concentrations of 500 ppmv                       literature studies cited by one                          underestimates the actual methane
                                            or more above background, to help                           commenter (Abichou, et al., 2011;                        emissions released from landfills.31 32
                                            ensure the surface-emissions monitoring                     Abidini, 2014; Lando, et al., 2017;                      These commenters noted that the
                                            identifies all leaks from the landfill’s                    Hettiarachchi, et al., 2023), we                         underestimation in subpart HH
                                            surface. Other commenters opposed the                       confirmed that there is significant                      emissions is primarily due to high
                                            proposed use of a surface-emissions                         variability in measured surface                          default gas collection efficiencies in
                                            monitoring correction term in equations                     concentrations and methane emissions                     subpart HH. Two commenters asserted
                                            HH–6, HH–7, and HH–8. One                                   flux across different landfills. The                     that gas collection efficiencies over 90
                                            commenter noted that the correction                         proposed correction factor, attributed to                percent should not be used. One of
                                            term that the EPA proposed relied on                        Heroux, et al. (2010),30 was the smallest                these commenters noted that despite its
                                            one study conducted over 20 years ago                       of the correlation factors found across                  own two-year study indicating
                                            at one landfill in Canada. This                             the other cited literature studies we                    otherwise, the EPA uses a 95 percent
                                            commenter cited several other studies                       reviewed. Based on a preliminary                         collection efficiency for landfills with
                                            23 24 25 26 that showed significant
                                                                                                        review of the additional study data, a                   final covers.33 Two commenters
                                            variability in correlations between                         more central tendency estimate of the                    opposed the EPA’s use of the Maryland
                                            surface methane concentrations and                          correction factor term would be four to                  landfill data to support the proposed 10-
                                            methane emissions and indicated that                        six times higher than the correction                     percentage point decrease in landfill gas
                                            the EPA should not rely on the results                      term proposed.                                           collection efficiencies, noting that these
                                            of this limited single study. Another                          Due to the high uncertainty in the                    gas collection efficiencies were
                                            commenter suggested that there is                           proposed correction factor, we are                       calculated based on modeled methane
                                            nothing special from a technical                            assessing whether the correction term                    generation rather than actual methane
                                            perspective of 500 ppmv surface                             proposed for equations HH–6, HH–7,                       emissions measurements. One
                                            concentration that should drive a step                      and HH–8 is the most appropriate                         commenter further suggested that the
                                            function change in correcting for                           method for developing a site-specific                    Maryland study was not properly peer-
                                            emissions and surface oxidation, as                         correction for the overall gas collection                reviewed and is not suitable for use by
                                            proposed by the EPA. This commenter                         efficiency for reporters under subpart                   the EPA in rulemaking according to the
                                            indicated that there is already                             HH. The approach presented by Kormi,                     EPA’s Summary of General Assessment
                                            uncertainty in the gas collection                           et al. (2017, 2018) uses a Gaussian                      Factors For Evaluating the Quality of
                                            efficiencies and that including the                         plume model in conjunction with                          Scientific and Technical Information
                                            proposed surface methane concentration                      surface methane concentration                            (hereinafter referred to as ‘‘General
                                            term simply adds to the uncertainty.                        measurements to estimate emissions.                      Assessment Factors’’).34 The commenter
                                            The commenter recommended                                   This approach appears too complex to                     further stated that the Maryland study is
                                            mandating the use of lower collection                       incorporate into subpart HH. We are                      based on a small subset of landfills that
                                            efficiencies when there is evidence of a                    also evaluating other direct                             is likely not representative of the sector
                                            high number of exceedances or a high                        measurement technologies for assessing                   and the EPA’s reliance on that study to
                                            surface methane concentration, rather                       more accurate, landfill-specific gas                     support a change to the default
                                            than adding the surface methane                             collection efficiencies. Therefore, we                   collection efficiency table (table HH–3
                                                                                                        decided not to take final action on the
                                               23 Abichou, T., J. Clark, and J. Chanton. 2011.
                                                                                                                                                                    31 Oonk, H., 2012. ‘‘Efficiency of landfill gas
                                            ‘‘Reporting central tendencies of chamber measured            27 Kormi, T., N.B.H. Ali, T. Abichou, and R.
                                            surface emission and oxidation.’’ Waste                                                                              collection for methane emissions reduction.’’
                                            Management, 31: 1002–1008. https://doi.org/                 Green. 2017. ‘‘Estimation of landfill methane            Greenhouse Gas Measurement and Management,
                                            10.1016/j.wasman.2010.09.014.                               emissions using stochastic search methods.’’             2:2–3, 129–145. https://doi.org/10.1080/20430779.
                                               24 Abedini, A.R. 2014. Integrated Approach for           Atmospheric Pollution Research, 8(4): 597–605.           2012.730798.
                                            Accurate Quantification of Methane Generation at            https://dx.doi.org/10.1016/j.apr.2016.12.020.               32 Nesser, H., et al., 2023. ‘‘High-resolution U.S.
                                                                                                           28 Kormi, T., et al. 2018. ‘‘Estimation of fugitive   methane emissions inferred from an inversion of
                                            Municipal Solid Waste Landfills. Ph.D. thesis, Dept.
                                            of Civil Engineering, University of British                 landfill methane emissions using surface emission        2019 TROPOMI satellite data: contributions from
                                            Columbia.                                                   monitoring and Genetic Algorithms optimization.’’        individual states, urban areas, and landfills.’’
                                               25 Lando, A.T., H. Nakayama, and T. Shimaoka.            Waste Management 2018, 72: 313–328. https://             EGUsphere [preprint], https://doi.org/10.5194/
                                            2017. ‘‘Application of portable gas detector in point       dx.doi.org/10.1016/j.wasman.2016.11.024.                 egusphere-2023-946.
                                                                                                           29 Irandoost, E. (2020). An Investigation on             33 ARCADIS, 2012. Quantifying Methane
                                            and scanning method to estimate spatial
                                            distribution of methane emission in landfill.’’ Waste       Methane Flux in Landfills and Correlation with           Abatement Efficiency at Three Municipal Solid
                                                                                                        Surface Methane Concentration (Master’s thesis,          Waste Landfills; Final Report. Prepared for U.S.
lotter on DSK11XQN23PROD with RULES2




                                            Management, 59: 255–266. https://doi.org/10.1016/
                                            j.wasman.2016.10.033.                                       University of Calgary, Calgary, Canada). Retrieved       EPA, Office of Research and Development, Research
                                               26 Hettiarachchi, H., E. Irandoost, J.P. Hettiaratchi,   from https://prism.ucalgary.ca. http://hdl.              Triangle Park, NC. EPA Report No. EPA/600/R–12/
                                            and D. Pokhrel. 2023. ‘‘A field-verified model to           handle.net/1880/111978.                                  003. January. https://nepis.epa.gov/Exe/ZyPDF.cgi/
                                            estimate landfill methane flux using surface                   30 Héroux, M., C. Guy and D. Millette. 2010. ‘‘A     P100DGTB.PDF?Dockey=P100DGTB.PDF.
                                            methane concentration measurements.’’ J. Hazard.            statistical model for landfill surface emissions.’’ J.      34 Available at https://www.epa.gov/sites/default/

                                            Toxic Radioact. Waste, 27(4): 04023019. https://            of the Air & Waste Management Assoc. 60:2, 219–          files/2015-01/documents/assess2.pdf. Accessed
                                            doi.org/10.1061/JHTRBP.HZENG-1226.                          228. https://doi.org/10.3155/1047-3289.60.2.219.         January 9, 2024.



                                       VerDate Sep<11>2014    19:27 Apr 24, 2024   Jkt 262001    PO 00000    Frm 00055   Fmt 4701    Sfmt 4700   E:\FR\FM\25APR2.SGM     25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 61 of 164
                                            31856              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            to subpart HH) is inappropriate and will                al., 2022 and Nesser, et al., 2023).36 In                 Comment: Several commenters
                                            lead to inaccurate reporting of GHG                     reviewing the data from Nesser, et al.                 provided input on the proposed
                                            emissions from the sector. This                         (2023), including the supplemental                     revisions to equations HH–6 through
                                            commenter stated that the EPA should                    information,37 we found that all 38                    HH–8 to subpart HH to capture
                                            continue to rely on the gas collection                  landfills for which gas collection                     emissions from other large release
                                            efficiencies recommended in the Solid                   systems were reported were subject to                  events. Two commenters suggested that
                                            Waste Industry for Climate Solutions                    the NSPS or EG. Comparing the gas                      the EPA should require monitoring of
                                            (‘‘SWICS’’) white paper entitled Current                collection efficiencies directly reported              both the pilot light and flow rate and
                                            MSW Industry Position and State-of-the-                 in the GHGRP, 35 of the 38 landfills had               that the ‘‘fDest’’ term should be excluded
                                            Practice on LFG Collection Efficiency,                  lower or similar measured gas collection               during any period the combustion
                                            Methane Oxidation, and Carbon                           efficiencies to those reported in subpart              device is not operating properly. The
                                            Sequestration in Landfills.35 According                 HH. With a 10-percentage point                         commenters specified that ‘‘fDest’’
                                            to the commenter, the SWICS white                       decrease in the default gas collection                 should be excluded during any period
                                            paper is more comprehensive and                         efficiencies, measured gas collection                  when the reporter has operational data
                                            relevant than the Maryland study. The                   efficiencies were still at least 10-                   indicating that the combustion device is
                                            commenters noted that the SWICS white                   percentage points lower for 20 of the 38               not operating according to manufacturer
                                            paper is being revised and encouraged                   landfills, approximately equivalent for                specifications or when the reporter has
                                            the EPA to delay revisions to the gas                   13 landfills, and only higher than                     received credible monitoring data
                                            collection efficiency until the revised                 subpart HH proposed lower default                      showing an unlit or malfunctioning
                                            SWICS white paper is released.                          collection efficiencies for 5 of the                   control device.
                                                                                                    landfills. Similar low average collection                 One commenter stated that the
                                               Response: We reviewed the various                    efficiencies were noted by Duan, et al.,               proposed revisions would be difficult to
                                            studies cited by commenters, including                  (2022). Therefore, based on direct                     implement and tend to capture very
                                            available versions of the SWICS white                   measurement data for landfills, we                     limited or marginal data. The
                                            paper. Upon review of these papers and                  determined it is appropriate to finalize               commenter asserted that gas collection
                                            comments received, we maintain our                      the lower default gas collection                       systems by nature require constant
                                            position that the historical collection                 efficiencies and apply the lower gas                   adjustment of temperature, pressure,
                                            efficiencies are overstated and that it is              collection efficiency for all landfills.               and other parameters or may be subject
                                            appropriate to apply the lower                             While the Maryland study data                       to frequent repairs that would not be
                                            collection efficiency to all landfills. In              suggests that the gas collection                       expected to affect the overall control
                                            our review of the SWICS white paper,                    efficiency for voluntary systems may be                efficiency. The commenter asked the
                                            which was the basis for the historical                  lower than for regulated gas collection                EPA to remove ‘‘normally’’ from the first
                                            gas collection efficiencies, we noted that              systems, we agree with commenters that                 sentence of the proposed definition of
                                            data were omitted due to poor operation                 these gas collection efficiencies are                  ‘‘fRec’’ and remove ‘‘or poor operation,
                                            of gas collection system. Thus, we                      based on modeled generation rather                     such as times when pressure,
                                            consider the historical gas collection                  than measured emissions. The DOC                       temperature, or other parameters
                                            efficiencies to be representative of ideal              values for individual landfills can vary               indicative of operation are outside of
                                            gas collection efficiencies. In our                     significantly and the differences                      normal variances,’’ from the second
                                            proposal, we required facilities that                   observed could be due to differences in                sentence.
                                            conduct surface-emission monitoring                     the wastes managed at the different                       The commenter also expressed
                                            data to apply a correction factor that                  Maryland landfills. We could not                       concerns regarding how the proposed
                                            would reduce the overall collection                     identify direct measurement study data                 revisions to ‘‘fDest’’ applies to flares,
                                            efficiency, clearly indicating that we                  by which to support further reductions                 stating that a large portion of landfill
                                            thought the current collection                          in gas collection efficiencies for                     controls use open flares, or are equipped
                                            efficiencies are overstated, even for                   voluntary gas collection systems.                      with automatic shutoffs, which have no
                                            regulated landfills. While we expected                  Therefore, we are providing a single set               parameters for monitoring effective
                                            that the surface emission correction                    of gas collection efficiencies for subpart             operation other than the presence of a
                                            factor would result in lower emissions                  HH reporters to use.                                   flame. The commenter requested the
                                            than those calculated using the 10-                        In conclusion, we are finalizing gas                sentence addressing the pilot flame
                                            percentage point decrease in collection                 collection efficiencies that are lower                 (‘‘For flares, times when there is no pilot
                                            efficiency, based on our review of other                than those historically provided in                    flame present must be excluded from
                                            studies correlating surface methane                     subpart HH by 10-percentage points                     the annual operating hours for the
                                            concentrations with methane flux, a                     based on comments received and review                  destruction device.’’) be removed from
                                            more central tendency correlation factor                of recent landfill methane emission                    the proposed revision of ‘‘fDest,’’ because
                                            is projected to yield emissions similar to              measurement studies for landfills with                 it is confusing, unnecessary, and
                                            a 10-percentage point decrease in                       gas collection systems. We had                         technically incorrect, as a pilot is
                                            collection efficiency. All the                          proposed these collection efficiencies                 typically only required during startup.
                                            measurement study data we reviewed                      for facilities not conducting surface                     One commenter also requested the
                                            suggests that current GHGRP collection                  emission monitoring, but we are now                    EPA remove the phrase ‘‘. . . as
                                            efficiencies are overstated on average by               finalizing these lower gas collection                  measured at the nth measurement
                                            10-percentage points or more (Duan, et                  efficiencies for all landfills.                        location’’ from the first sentence of
                                                                                                                                                           ‘‘fDest’’ description; the commenter
                                                                                                      36 Duan, Z., Kjeldsen, P., & Scheutz, C. (2022).     stated the text adds confusion by
lotter on DSK11XQN23PROD with RULES2




                                              35 SCS Engineers. 2009. Current MSW Industry

                                            Position and State-of-the-Practice on LFG Collection    Efficiency of gas collection systems at Danish         implying that the time gas is sent to the
                                            Efficiency, Methane Oxidation, and Carbon               landfills and implications for regulations. Waste      nth measurement location is equal to
                                            Sequestration in Landfills. Prepared for Solid Waste    management (New York, N.Y.), 139, 269–278.             the time gas is sent to the control
                                            Industry for Climate Solutions (SWICS). Version         https://doi.org/10.1016/j.wasman.2021.12.023.
                                            2.2. https://www.scsengineers.com/wp-content/             37 See https://egusphere.copernicus.org/preprints/   device, which may be incorrect for
                                            uploads/2015/03/Sullivan_SWICS_White_Paper_             2023/egusphere-2023-946/egusphere-2023-946-            measurement locations with more than
                                            Version_2.2_Final.pdf.                                  supplement.pdf.                                        one control device. The commenter also


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00056   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                Page 62 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                31857

                                            proposed a definition striking out ‘‘The                normal operating variance should be                   for bulk MSW (excluding inerts and
                                            annual operating hours for the                          included in the definition of fRec to                 C&D waste) does not comport with how
                                            destruction device should include only                  define periods of poor performance.                   landfills characterize and manage input
                                            those periods when flow was sent to the                    With regards to the commenters’                    waste streams, and the high default DOC
                                            destruction device and the destruction                  input on the definition of fDest, the EPA             value for bulk MSW makes the modified
                                            device was operating at its intended                    agrees with removing ‘‘as measured at                 bulk MSW option unusable. Other
                                            temperature or other parameter                          the nth measurement location’’ from the               commenters opposed the proposed
                                            indicative of effective operation.’’ The                first sentence of the definition as the               reduction in bulk waste and bulk MSW
                                            commenter added that because flares                     commenter notes, ‘‘flares and other                   default DOC values, indicating that this
                                            and other destruction devices are                       destruction devices are designed with                 will lead to lower emissions over the
                                            designed with fail-closed valves or other               fail-closed valves or other devices to                life of the landfill when research
                                            devices to prevent venting of gas when                  prevent venting of gas when they are not              indicates emissions inventories of
                                            they are not operating, applying the                    operating, keeping that phrase can                    landfill emissions underestimate actual
                                            definition as written overestimates                     overestimate emissions when a                         emissions. One commenter referenced a
                                            emissions when a measurement location                   measurement location has more than                    paper (Bahor, et al., 2010) that,
                                            has more than one destruction device                    one destruction device and all devices                according to the commenter, validated
                                            and all devices are not operating at the                are not operating at the same time.’’ We              the default DOC of MSW to be 0.20.39
                                            same time.                                              are revising this sentence to remove ‘‘as             Other commenters noted that many
                                               Response: The EPA agrees with the                    measured at the nth measurement                       landfill reporters were taking advantage
                                            commenters regarding monitoring the                     location.’’ We disagree with removing                 of the composition method by only
                                            flow rate of the landfill gas; however, a               from the definition ‘‘For flares, times               reporting inerts and uncharacterized
                                            change to the proposed rule is not                      when there is no pilot flame present                  wastes. These commenters supported
                                            necessary in this case as the continuous                must be excluded from the annual                      the proposed default value of 0.32 for
                                            monitoring of the gas flow is already                   operating hours for the destruction                   uncharacterized wastes.
                                            required in 40 CFR 98.343. The EPA                      device.’’ Instead, we are revising this                  Response: The EPA included a DOC
                                            disagrees with the comment that ‘‘EPA                   sentence to read ‘‘For flares, times when             of 0.20 for bulk waste in subpart HH
                                            should likewise specify that fDest must                 there is no flame present must be                     because the data we reviewed circa 2000
                                            be excluded during any period when the                  excluded from the annual operating                    to 2010 indicated that was the best fit
                                            pilot light and flow rate are not meeting               hours for the destruction device.’’ We                DOC value.40 As noted in the
                                            manufacturer specifications for                         believe the lack of a flame is an                     memorandum ‘‘Modified Bulk MSW
                                            complete combustion.’’ Adding this                      indication the flare is not operating                 Option Update’’ included in Docket ID.
                                            specification to the rule is not necessary              effectively. Lastly, we disagree with                 No. EPA–HQ–OAR–2019–0424, we have
                                            as the revision to the definition of fDest              removing the sentence, ‘‘The annual                   seen a significant decrease in the
                                            already accounts for this scenario. The                 operating hours for the destruction                   percentage of paper and paperboard
                                            proposed revision to the fDest definition               device should include only those                      products being landfilled due to
                                            in the supplemental proposal states,                    periods when flow was sent to the                     increased recycling of these waste
                                            ‘‘The annual operating hours for the                    destruction device and the destruction                streams. This change in the composition
                                            destruction device should include only                  device was operating at its intended                  of MSW landfilled supports and
                                            those periods when flow was sent to the                 temperature or other parameter                        confirms the drop in DOC from 0.20 to
                                            destruction device and the destruction                  indicative of effective operation.’’ We               0.17 over the time period between 2005
                                            device was operating at its intended                    believe this sentence is necessary to                 and 2011. With respect to the Bahor, et
                                            temperature or other parameter                          ensure the calculation of fDest represents            al. (2010) study, it appears that the HHV
                                            indicative of effective operation.’’ Thus,              proper operation of the destruction                   measurement data was made using data
                                            if the destruction device has                           device.                                               from 1996 to 2006, with biogenic
                                            manufacturer specifications for effective                  Comment: We received several                       correction factors developed over 2007
                                            operation that are not met during its                   comments regarding the revised DOC                    and 2008. Based on the timing of the
                                            operation, the revision to the fDest                    values. Some commenters supported                     measurements made, agreement with
                                            definition requires those periods to be                 lowering of the default DOC for bulk                  the DOC value of 0.20 is not surprising
                                            excluded in the hours for fDest. We will                waste from 0.20 to 0.17, citing similar               and consistent with the findings by
                                            further evaluate how credible                           findings in a 2019 Environmental                      which we originally used a default DOC
                                            monitoring data may be defined and                      Research and Education Foundation                     value of 0.20. We specifically sought to
                                            excluded from fDest in a future                         (EREF) study.38 These commenters                      reassess the average DOC values
                                            rulemaking.                                             generally opposed the proposed default                considering more recent data to account
                                               The EPA disagrees with the proposed                  value of 0.27 for bulk MSW (excluding                 for potential changes in DOC values
                                            edits to the definition of fRec, which are              inerts and construction and demolition                over the past decade. Based on our
                                            to remove the word ‘‘normally’’ from the                (C&D) waste) and the proposed default                 analysis, an average DOC value of 0.17
                                            first sentence and remove the phrase ‘‘or               value of 0.32 for uncharacterized wastes              provides a better fit with current landfill
                                            poor operation, such as times when                      and recommended the use of either the                 practices. Therefore, we are finalizing a
                                            pressure, temperature, or other                         value of 0.19 from the EREF report or                 revision of the default DOC value to
                                            parameters indicative of operation are                  the 0.17 value for bulk wastes for these
                                            outside of normal variances’’ from the                  other general waste categories.                         39 Bahor, Brian, et al. 2010. ‘‘Life-cycle

                                            second sentence. These edits would                      According to these commenters, the                    assessment of waste management greenhouse gas
                                                                                                                                                          emissions using municipal waste combustor data.’’
                                            allow for all operating hours in the                    EPA’s method for determining the DOC
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                                          Journal of Environmental Engineering 136.8 (2010):
                                            calculation regardless of how the system                                                                      749–755. https://doi.org/10.1061/(ASCE)EE.1943-
                                            operated. We asked for comment on                         38 The Environmental Research & Education           7870.0000189.
                                            what set of parameters should be used                   Foundation (2019). ‘‘Analysis of Waste Streams          40 RTI International (2004). Solid Waste Inventory
                                                                                                    Entering MSW Landfills: Estimating DOC Values &       Support—Review Draft: Documentation of Methane
                                            to identify poorly operating periods and                the Impact of Non-MSW Materials.’’ Available in       Emission Estimates. Prepared for U.S. EPA, Office
                                            whether a threshold on the proportion                   the docket to this rulemaking, Docket ID. No. EPA–    of Atmospheric Programs, Washington, DC.
                                            of wells operating outside of their                     HQ–OAR–2019–0424.                                     September 29.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00057   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024                 Page 63 of 164
                                            31858              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            0.17 as proposed. However, we note that                 We disagree that this makes the                       significant variability in the DOC of
                                            the proposed revision was not clear                     modified bulk waste option inaccurate                 bulk waste from landfill to landfill.
                                            regarding how the new DOC value                         or unusable. On the contrary, we find                 There are many cases when the quantity
                                            should be incorporated into the                         that using the bulk waste DOC value in                of landfill gas recovered exceeds the
                                            facility’s emissions estimate. Some                     the modified bulk MSW option would                    modeled methane generation rates. This
                                            reporters may only begin applying the                   be less accurate for predicting the CH4               is a clear indication that the default
                                            new DOC value to new wastes being                       generation for the modified bulk MSW                  DOC (and/or k value) is too low. For
                                            disposed of in 2025 and later years.                    option because the DOC value for bulk                 reporters with high actual CH4
                                            Other reporters may opt to revise the                   waste was determined by the full                      generation rates, as noted by the
                                            DOC value for all wastes disposed of in                 quantity of waste disposed at landfills               quantity of CH4 recovered at the landfill,
                                            the landfill for all previous disposal                  including inerts and C&D waste. We                    we find that the use of the modified
                                            years. This could lead to significant                   also agree with commenters that some                  bulk MSW option is appropriate for
                                            discrepancies between emissions                         reporters are misusing the waste                      these reporters and would likely
                                            reported by reporters with similar                      composition option in order to                        provide a more accurate estimate of
                                            landfills and also between the emissions                separately account for inerts but then                modeled CH4 generation, even if these
                                            reported for different years by a given                 use the bulk waste DOC value for the                  reporters do not have large quantities of
                                            reporter. As noted in this discussion, we               rest of the MSW. We conducted a                       inert or C&D wastes. We encourage
                                            expect that wastes disposed of prior to                 multivariant analysis to project the DOC              reporters that have CH4 recovery rates
                                            2010 are best characterized using a                     of uncharacterized MSW in landfills for               exceeding their modeled CH4 generation
                                            default DOC value of 0.20 and that                      which reporters used the waste                        rates to evaluate and use, as appropriate,
                                            wastes disposed of in 2010 and later                    composition method and the DOC for                    the modified bulk MSW or waste
                                            years are best characterized using a                    this uncharacterized waste was                        composition options in order to more
                                            default DOC of 0.17. Therefore, while                   estimated to be 0.32. This agrees well                accurately estimate modeled methane
                                            we are finalizing a revision in the                     with the proposed DOC value for bulk                  generation.
                                            default bulk waste DOC value to 0.17,                   MSW of 0.27 and confirms that, when                      Comment: Several comments
                                            we are also finalizing clarifications to                facilities separately report inert waste              supported revisions to decay rate
                                            these revisions to incorporate these                    quantities, the DOC for the remaining                 constants (k values) that more closely
                                            revisions consistently across reporters                 MSW (excluding inerts and C&D waste)                  match the IPCC recommendations.
                                            and consistent with the timeframe                       is much higher than suggested by some                 Other comments were critical of the
                                            where the reduction in DOC occurred.                    of the commenters. Consequently, we                   revisions, suggesting the proposed k
                                            Specifically, we are maintaining the                    concluded that our proposed values of                 values were too high. One commenter
                                            historic DOC value of 0.20 for historic                 0.27 for bulk MSW (excluding inerts                   noted that the original k values were
                                            disposal years (prior to 2010) and,                     and C&D waste) and 0.32 for                           developed using a separate analysis
                                            starting with RY2025, requiring the use                 uncharacterized waste should be                       considering the use of the CH4
                                            of the revised DOC value of 0.17 for                    finalized as proposed. Similar to our                 generation potential (Lo, analogous to
                                            disposal years 2010 and later (see                      clarification regarding how the revision              the DOC input for the first order decay
                                            memorandum ‘‘Revised Analysis and                       in bulk waste DOC must be                             model used in subpart HH). The
                                            Calculation of Optimal k values for                     implemented, we are finalizing                        commenter noted that optimizing k and
                                            Subpart HH MSW Landfills Using a 0.17                   requirements to use the current bulk                  DOC values simultaneously can lead to
                                                                                                                                                          extreme and unrealistic values because
                                            DOC Default and Timing                                  MSW (excluding inerts and C&D waste)
                                                                                                                                                          an error in one value causes an
                                            Considerations’’ available in the docket                DOC value of 0.31 for historic disposal
                                                                                                                                                          offsetting error in the other. The
                                            to this rulemaking, Docket ID. No. EPA–                 years (prior to 2010) and requiring the
                                                                                                                                                          commenter also stated that the EPA
                                            HQ–OAR–2019–0424).                                      use of the revised bulk MSW (excluding
                                                                                                                                                          allowed an extremely wide range for the
                                              With respect to the proposed DOC                      inerts and C&D waste) DOC value of
                                                                                                                                                          ‘‘optimized’’ k values (e.g., 0.001 to
                                            value for bulk MSW (excluding inerts                    0.27 for disposal years 2010 and later,
                                                                                                                                                          0.400 for dry climates) and should have
                                            and C&D waste), the approach we used                    consistent with the timeline for which
                                                                                                                                                          constrained the k values to more
                                            to develop the proposed DOC value is                    these values were determined. Because
                                                                                                                                                          realistic values. The commenter also
                                            consistent with the approach we used                    we have no method to indicate a change
                                                                                                                                                          suggested that the EPA rely on its own
                                            when we originally developed and                        in DOC for uncharacterized wastes, we                 research as published in PLoS ONE (Jain
                                            provided the modified bulk waste                        are requiring the use of the new DOC for              et al., 2021).41 Finally, the commenter
                                            option following consideration of                       uncharacterized waste using the                       suggested that multivariant analysis was
                                            comments received (75 FR 66450,                         composition option of 0.32 for all years              not peer-reviewed and therefore does
                                            October 28, 2010). This option was                      for which the composition option was                  not appear to comply with the General
                                            specifically provided to address                        used.                                                 Assessment Factors.
                                            comments that the waste composition                        We also disagree with commenters                      Response: The EPA reviewed the
                                            option was too detailed for most landfill               that having a high bulk MSW default                   documentation supporting the existing
                                            operators to use and that landfill                      DOC value makes the modified bulk                     DOC and k value defaults used for
                                            operators should have the opportunity                   MSW method unusable. Based on waste                   subpart HH (RTI International, 2004).
                                            to characterize some of the waste                       characterization data as reported for                 Importantly, the memorandum
                                            received as inerts under the bulk waste                 RY2022, approximately 23 percent use                  documents that the development of the
                                            option. Because the DOC values for bulk                 the modified bulk MSW method, which                   DOC and k values utilized a two-step
                                            waste option were derived based on the                  suggests a quarter of the reports find the            process. The first step was a
lotter on DSK11XQN23PROD with RULES2




                                            full quantity of waste disposed at                      modified bulk MSW option useful.
                                            landfills, that DOC value for bulk waste                While this option was specifically                      41 Jain, P., et al. 2021. ‘‘Greenhouse gas reporting

                                            intrinsically includes inerts. Therefore,               provided for landfills that accept large              data improves understanding of regional climate
                                                                                                                                                          impact on landfill methane production and
                                            we sought to develop a representative                   quantities of C&D waste or inert waste                collection.’’ PLoS ONE, at 1–3, 10–11 (Feb. 26,
                                            MSW DOC value that excludes inerts for                  streams, we disagree that its use should              2021), available at https://journals.plos.org/
                                            use in the modified bulk MSW option.                    be restricted to that scenario. There is              plosone/article?id=10.1371/journal.pone.0246334.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00058   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                   USCA Case #24-1216                                   Document #2061464                                    Filed: 06/24/2024                     Page 64 of 164
                                                                    Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                           31859

                                            multivariant analysis, similar to the                               default. Therefore, we conducted this                    default k values, indicate that the
                                            analysis conducted in 2019 (McGrath et                              second step of the analysis using the                    optimal k values for dry, moderate, and
                                            al., 2019), which was used to determine                             original data set for facilities using the               wet climates were 0.033, 0.067, and
                                            an optimal DOC value. The second step                               bulk waste approach to determine the                     0.098 yr¥1, respectively (see
                                            was to determine optimal k values for                               optimal k values for these landfills,                    memorandum ‘‘Revised Analysis and
                                            each precipitation range using the                                  given a default DOC value of 0.17 (the                   Calculation of Optimal k Values for
                                            optimal DOC value from the                                          bulk waste DOC value recommended in                      Subpart HH MSW Landfills Using a 0.17
                                            multivariant analysis. At proposal, we                              the McGrath et al. (2019) memo based                     DOC Default and Timing
                                            used the DOC and k values determined                                on the multivariant analysis).                           Considerations’’ available in the docket
                                                                                                                   We also reviewed additional literature
                                            directly from the multivariant analysis.                                                                                     to this rulemaking, Docket ID. No. EPA–
                                                                                                                to assess reasonable ranges for k values.
                                            After consideration of the comments                                                                                          HQ–OAR–2019–0424). These values are
                                                                                                                We found that the lowest allowed k
                                            received and the approach used                                      value of 0.001 yr¥1 was unrealistic and                  lower than those developed from the
                                            historically, we determined that it                                 much lower than any k value reported                     multivariant analysis, but still
                                            would be more appropriate to determine                              in the literature. We identified some                    significantly higher than the current
                                            optimal k values once the default DOC                               studies suggesting a k value of 0.4 yr¥1                 defaults in subpart HH. These values
                                            value is established. We agree with the                             is possible for wet landfills (or landfills              also align well with IPCC recommended
                                            commenter that using a fixed DOC value                              using leachate recirculation). After our                 k value ranges for moderately decaying
                                            (set at the proposed bulk waste DOC                                 review of the additional literature, we                  waste and the k values reported by Jain,
                                            value of 0.17), we expect that the                                  revised the allowable k value range from                 et al. (2021). Table 5 of this preamble
                                            optimal k values in a single-variable                               0.001–0.4 yr¥1 to 0.007–0.3 yr¥1. The                    presents a comparison of the old subpart
                                            analysis would have less variability and                            results of applying this second step of                  HH and revised k values with the values
                                            better predict methane generation across                            the analysis, consistent with the                        recommended by the IPCC and Jain, et
                                            landfills when using the revised DOC                                approach used previously to develop                      al. (2021).

                                                   TABLE 5—COMPARISON OF FINALIZED DECAY RATE CONSTANTS (k VALUES IN YRS¥1) BY PRECIPITATION RANGE
                                                                                                                                                                                  IPCC default
                                                                                                                                              Historic          Revised            decay value          Jain, et al. (2021),
                                                                                                                                            subpart HH         subpart HH         (k) ranges for     recommended k value
                                                                             Precipitation zone                                            and inventory      default decay        moderately         (and 95% confidence
                                                                                                                                           default decay        value (k)            decaying                 range)
                                                                                                                                             value (k)                                 waste

                                            Dry (<20 inches/year) ......................................................................             0.02             0.033           0.04–0.05         0.043 (0.033–0.054)
                                            Moderate (20–40 inches/year) .........................................................                  0.038             0.067            0.04–0.1         0.074 (0.061–0.088)
                                            Wet (>40 inches/year) .....................................................................             0.057             0.098           0.07–0.17         0.090 (0.077–0.105)



                                               Similar to the incorporation of the                              MSW (excluding inerts and C&D waste)                     reviewed indicate that the historic
                                            new DOC values, we note that the                                    k values of 0.033 to 0.098 yr¥1 for                      subpart HH k values are too low and
                                            proposed revision was not clear                                     disposal years 2010 and later, consistent                that the values we determined in our re-
                                            regarding how the new k values for bulk                             with the timeline for which these values                 analysis of the data will provide
                                            waste under the ‘‘Bulk waste option’’                               were determined. Because we have no                      improved methane generation estimates.
                                            and bulk MSW under the ‘‘Modified                                   method to indicate a change in k value                   For these reasons, we are finalizing
                                            bulk MSW option’’ should be                                         for uncharacterized wastes, we are                       revised k values for subpart HH of
                                            incorporated into the facility’s                                    requiring the use of the new k values for                0.033, 0.067, and 0.098 yr¥1 for dry,
                                            emissions estimate. While we are                                    uncharacterized waste using the                          moderate, and wet climates,
                                            finalizing revisions for the default bulk                           composition option of 0.033 to 0.098 for                 respectively. These k values apply to
                                            waste k values for dry, moderate, and                               all years for which the composition                      bulk waste, bulk MSW, and
                                            wet climates as 0.033, 0.067, and 0.098                             option was used.                                         uncharacterized MSW, as proposed.
                                            yr¥1, respectively, we are also finalizing                             With respect to compliance with the
                                            clarifications to these revisions to                                General Assessment Factors, we                           U. Subpart OO—Suppliers of Industrial
                                            incorporate these revisions consistently                            considered a wide variety of                             Greenhouse Gases
                                            across reporters and consistent with the                            information, including peer-reviewed
                                            timeframe where the reduction in DOC                                material, when developing our proposed                     We are finalizing several amendments
                                            occurred. Specifically, starting in                                 and final k values. While our technical                  to subpart OO of part 98 (Suppliers of
                                            RY2025, we are maintaining the historic                             support documents are not formally                       Industrial Greenhouse Gases) as
                                            k values of 0.20, 0.038, and 0.057 yr¥1                             peer reviewed at proposal, we consider                   proposed. Section III.U.1. of this
                                            for historic disposal years (prior to                               the proposal/public review process to be                 preamble discusses the final revisions to
                                            2010) and requiring the use of the                                  an adequate forum for public review of                   subpart OO. The EPA received
                                            revised k values of 0.033, 0.067, and                               our analysis and conclusions. After                      comments on the proposed revisions to
                                            0.098 yr¥1 for disposal years 2010 and                              considering the public comments                          subpart OO which are discussed in
                                            later. We are finalizing requirements                               received, we revised our analysis to                     section III.U.2. of this preamble. We are
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                                            under the modified bulk waste MSW                                   more closely match the original                          also finalizing as proposed
                                            option to use the current bulk MSW                                  approach used to determine default k                     confidentiality determinations for new
                                            (excluding inerts and C&D waste) k                                  values. We also adjusted our allowable                   data elements resulting from the
                                            values of 0.02 to 0.057 yr¥1 for historic                           range for k values based on public                       revisions to subpart OO as described in
                                            disposal years (prior to 2010) and                                  comment and additional literature                        section VI. of this preamble.
                                            requiring the use of the revised bulk                               review. All information we have


                                       VerDate Sep<11>2014       19:27 Apr 24, 2024      Jkt 262001     PO 00000      Frm 00059      Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM    25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 65 of 164
                                            31860              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            1. Summary of Final Amendments to                       Harmonized Tariff System (HTS) code                   2. Summary of Comments and
                                            Subpart OO                                              for each F–GHG, F–HTF, or N2O                         Responses on Subpart OO
                                               This section summarizes the final                    shipped. Reporters will enter the full                   This section summarizes the major
                                            amendments to subpart OO. Major                         10-digit HTS code with decimals, to                   comments and responses related to the
                                            changes to the final rule as compared to                extend to the statistical suffix, as it was           proposed amendments to subpart OO.
                                            the proposed revisions are identified in                entered on related customs forms. See                 See the document ‘‘Summary of Public
                                            this section. The rationale for these and               section III.S. of the preamble to the 2022            Comments and Responses for 2024 Final
                                            any other changes to 40 CFR part 98,                    Data Quality Improvements Proposal for                Revisions and Confidentiality
                                            subpart OO can be found in this section                 additional information on the EPA’s                   Determinations for Data Elements under
                                            and section III.U.2. of this preamble.                  rationale for these changes.                          the Greenhouse Gas Reporting Rule’’ in
                                            Additional rationale for these                             As discussed in section III.A.1.b. of              Docket ID. No. EPA–HQ–OAR–2019–
                                            amendments is available in the                          this preamble, we are finalizing related              0424 for a complete listing of all
                                            preamble to the 2022 Data Quality                       revisions to the definition of                        comments and responses related to
                                            Improvements Proposal and 2023                                                                                subpart OO.
                                                                                                    ‘‘fluorinated HTF,’’ previously included
                                            Supplemental Proposal.                                                                                           Comment: One commenter requested
                                                                                                    in subpart I of part 98 (Electronics                  that we clarify that chemical supply
                                               The EPA is finalizing several
                                            revisions to subpart OO of part 98 that                 Manufacturing), and to move the                       ‘‘end use’’ refers to industry category
                                            will improve the quality of the data                    definition to subpart A of part 98                    only, such as electronics or
                                            collection under the GHGRP. First, we                   (General Provisions), to harmonize with               semiconductor use, and does not refer to
                                            are adding a requirement at 40 CFR                      the changes to subpart OO.                            more specific uses. The commenter
                                            98.417(c)(7) for bulk importers of F–                      Finally, we are finalizing revisions to            recommended that specific purchases
                                            GHGs to include, as part of the                         40 CFR 98.416(c) and (d) to clarify that              and purposes of chemical use should be
                                            information required for each import in                 certain exceptions to the reporting                   considered industry confidential
                                            the annual report, the customs entry                    requirements for importers and                        business information and therefore
                                            number. The customs entry number is                     exporters are voluntary, consistent with              protected from public disclosure. The
                                            provided as part of the U.S. Customs                    our original intent. To implement this                commenter also noted that chemical
                                            and Border Protection (CBP) Form 7501:                  change, we are finalizing revisions to                suppliers or distributors do not typically
                                            Entry Summary and is assigned for each                  insert ‘‘importers may exclude’’ between              have visibility to end use, particularly
                                            filed CBP entry for each shipment. The                  ‘‘except’’ and ‘‘for shipments’’ in the               specific end use categories.
                                            EPA has made one minor clarification                                                                             Response: As discussed in section VI.
                                                                                                    first sentence of § 98.416(c) and (d),
                                            from proposal. We initially proposed                                                                          of this preamble, we are planning to
                                                                                                    deleting the ‘‘for.’’ We are also finalizing
                                            the requirement as the ‘‘customs entry                                                                        finalize our proposed determination that
                                                                                                    revisions to clarify that imports and                 the two new subpart OO data elements
                                            summary number’’; the final rule
                                                                                                    exports of transshipments will both                   (the end use(s) to which the N2O, SF6,
                                            modifies 40 CFR 98.416(a)(7) to clarify
                                            the requirement to the ‘‘customs entry                  have to be either included or excluded                each PFC, or each fluorinated HTF is
                                            number,’’ which is associated with the                  for any given importer or exporter, and               transferred and the aggregated annual
                                            CBP Form 7501, ‘‘Entry Summary.’’                       we are finalizing a similar clarification             quantity of the GHG that is transferred
                                               As proposed, we are adding a                         for heels. These changes ensure that                  to that end use application) are ‘‘Eligible
                                            reporting requirement at 40 CFR                         importers and exporters treat the                     for Confidential Treatment.’’ This will
                                            98.416(k) that suppliers of N2O,                        exceptions consistently. See section                  protect the data from public disclosure.
                                            saturated PFCs, SF6, and fluorinated                    III.K. of the preamble to the 2023                    Regarding suppliers’ knowledge of the
                                            HTFs identify the end uses for which                    Supplemental Proposal for additional                  uses of compounds within each
                                            the N2O, SF6, saturated PFC, or                         information on these revisions and their              industry, suppliers are required to
                                            fluorinated HTF is used and the                         supporting basis.                                     report the end uses only ‘‘if known.’’
                                            aggregated annual quantities of N2O,                       In the 2023 Supplemental Proposal,                 For N2O, SF6, and saturated PFCs, the
                                            SF6, each saturated PFC, or each                        the EPA proposed a requirement at 40                  end uses that we identified in the
                                            fluorinated HTF transferred to each end                 CFR 98.416(c) for bulk importers of F–                proposed rule coincided with
                                            use, if known. As discussed in the                      GHGs to provide, for GHGs that are not                individual industries and not specific
                                            proposed rules, this requirement is                                                                           uses within those industries. For
                                                                                                    regulated substances under 40 CFR part
                                            based on a similar requirement in                                                                             fluorinated HTFs, the end uses that we
                                                                                                    84 (Phasedown of Hydrofluorocarbons),
                                            subpart PP to part 98 (Suppliers of                                                                           identified in the proposed rule
                                                                                                    copies of the corresponding U.S. CBP
                                            Carbon Dioxide) and is intended to                                                                            coincided with some specific uses
                                                                                                    entry forms (e.g., CBP Form 7501) in                  within industries, such as cleaning
                                            provide additional insight into the
                                                                                                    their annual report. Following                        versus temperature control within the
                                            identities and magnitudes of the uses of
                                            these compounds, which are currently                    consideration of public comments                      electronics industry. This was because
                                            less well understood than those of other                received on a similar proposed revision               different end uses, even within the same
                                            industrial GHGs such as HFCs, although                  to subpart QQ of part 98 (Importers and               industry, have different emission
                                            the GWP-weighted totals supplied are                    Exporters of Fluorinated Greenhouse                   patterns, which affect the relationship
                                            relatively large.                                       Gases Contained in Pre-Charged                        between emissions and consumption of
                                               The EPA is also finalizing a                         Equipment and Closed-Cell Foams),                     these compounds. (For example, end
                                            clarification to the reporting                          including concerns regarding the                      uses that quickly emit the F–HTF, such
                                            requirements for importers and                          availability of this information and the              as cleaning, are expected to have
lotter on DSK11XQN23PROD with RULES2




                                            exporters of F–GHGs, F–HTFs, or N2O,                    potential burden of submitting large                  emissions that are close to consumption,
                                            to revise the required reporting of                     volumes of entry forms, the EPA is not                whereas end uses that store the F–HTF,
                                            ‘‘commodity code,’’ which is required                   taking final action on the proposed                   such as process cooling, may have
                                            for importers at 40 CFR 98.416(c)(6) and                revision to subpart OO. See section                   emissions that are less than half of
                                            for exporters at 40 CFR 98.416(d)(4), to                III.W. of this preamble for additional                consumption.) However, the electronics
                                            clarify that reporters should submit the                information.                                          industry, unlike other industries that


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00060   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 66 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31861

                                            use F–HTFs, reports its F–HTF                           from the source materials and the                     category for ‘‘other,’’ the existing rule
                                            emissions to EPA. Thus, in the subpart                  capture process or extracted with the                 already provides flexibility for this
                                            OO electronic reporting form, we are                    carbon dioxide.’’                                     reporting, and we are not taking final
                                            planning to list ‘‘electronics                             We are finalizing harmonizing                      action on the addition of specific end-
                                            manufacturing’’ (including                              changes to 40 CFR 98.422, 98.423,                     use applications to 40 CFR 98.426 at
                                            manufacturing of semiconductors,                        98.426, and 98.427 to add references to               this time. The EPA may consider the
                                            MEMS, photovoltaic cells, and                           DAC into the reporting requirements.                  addition of other end-use applications
                                            displays), and not specific uses within                 The final rule also amends 40 CFR                     in a future rulemaking.
                                            electronics manufacturing, among the                    98.426 as proposed to add additional                     Second, the EPA is finalizing as
                                            end uses whose consumption of the                       reporting requirements in paragraph (i)               proposed that 40 CFR 98.426(h) will
                                            fluorinated HTF will be reported.                       to require DAC facilities to report the               apply to any facilities that capture a CO2
                                                                                                    annual quantities and sources (e.g., non-             stream from a facility subject to 40 CFR
                                            V. Subpart PP—Suppliers of Carbon                       hydropower renewable sources, natural                 part 98 and supply that CO2 stream to
                                            Dioxide                                                 gas, oil, coal) of on-site and off-site               facilities that are subject to either
                                               We are finalizing several amendments                 sourced electricity, heat, and combined               subpart RR (Geologic Sequestration of
                                            to subpart PP of part 98 (Suppliers of                  heat and power used to power the DAC                  Carbon Dioxide) or new subpart VV.
                                            Carbon Dioxide) as proposed. This                       plant. These quantities must represent                The revised paragraph will no longer
                                            section discusses the final revisions to                the electricity and heat used starting                apply only to suppliers that capture CO2
                                            subpart PP. The EPA received                            from the air intake at the facility and               from EGUs subject to subpart D
                                            comments on the proposed revisions to                   ending with the compressed CO2 stream                 (Electricity Generation), but also to
                                            subpart PP. See the document                            (i.e., the CO2 stream ready for supply for            suppliers that capture CO2 from any
                                            ‘‘Summary of Public Comments and                        commercial applications or, if                        direct emitting facility that is subject to
                                            Responses for 2024 Final Revisions and                  maintaining custody of the stream,                    40 CFR part 98 and transfer to facilities
                                            Confidentiality Determinations for Data                 sequestration or injection of the stream              subject to subparts RR or VV. Reporters
                                            Elements under the Greenhouse Gas                       underground). These quantities must be                must provide the facility identification
                                            Reporting Rule’’ in Docket ID. No. EPA–                 provided per energy source, if known.                 number associated with the facility that
                                            HQ–OAR–2019–0424 for a complete                         For electricity provided to the DAC                   is the source of the captured CO2
                                            listing of all comments and responses                   plant from the grid, reporters must                   stream, each facility identification
                                            related to subpart PP.                                  additionally provide identifying                      number associated with the annual GHG
                                               The EPA is finalizing several                        information for the facility and electric             reports for each subpart RR and subpart
                                            revisions to subpart PP to improve the                  utility company. In addition, for on-site             VV facility to which CO2 is transferred,
                                            quality of the data collected from this                 sourced electricity, heat, and combined               and the annual quantity of CO2
                                            subpart. As proposed, we are adding                     heat and power, DAC facilities must                   transferred to each subpart RR and VV
                                            new 40 CFR 98.420(a)(4) and a new                       indicate whether flue gas is also                     facility. See section III.L. of the
                                            definition to 40 CFR 98.6 to explicitly                 captured by the DAC process unit.                     preamble to the 2023 Supplemental
                                            include direct air capture (DAC) as a                   These changes will aid the EPA in                     Proposal for additional information.
                                            capture option under subpart PP. Unlike                 understanding this emerging technology                   The EPA also requested comment on,
                                            conventional capture sources where CO2                  at facilities that utilize DAC and in                 but did not propose, expanding the
                                            is separated during the manufacturing                   better understanding potential net                    requirement at 40 CFR 98.426(h) such
                                            or treatment phase of product stream,                   emissions impacts associated with DAC                 that facilities subject to subpart PP
                                            DAC captures CO2 from ambient air                       facilities (particularly given that interest          would report transfers of CO2 to any
                                            using aqueous or solid sorbents, which                  in DAC is primarily intended to be a                  facilities reporting under 40 CFR part
                                            is then processed into a concentrated                   carbon removal technology to achieve                  98, not just those subject to subparts RR
                                            stream for utilization or injection                     climate benefits). See section III.T. of              and VV. This would include reporting
                                            underground. This final rule provides                   the preamble to the 2022 Data Quality                 the amount of CO2 transferred on an
                                            that DAC, ‘‘with respect to a facility,                 Improvements Proposal for additional                  annual basis as well as the relevant
                                            technology, or system, means that the                   information on the EPA’s rationale for                GHGRP facility identification numbers.
                                            facility, technology, or system uses                    these changes.                                        The EPA further requested comment on
                                            carbon capture equipment to capture                        The EPA is finalizing two additional               whether information regarding
                                            carbon dioxide directly from the air.                   revisions to improve data quality. First,             additional end uses would be available
                                            DAC does not include any facility,                      we are finalizing the addition of a data              to facilities. Following consideration of
                                            technology, or system that captures                     element to 40 CFR 98.426(f) that will                 public comments, we are not extending
                                            carbon dioxide (1) that is deliberately                 require suppliers to report the annual                the reporting requirements at this time
                                            released from a naturally occurring                     quantity of CO2 in metric tons that is                but may consider doing so in a future
                                            subsurface spring or (2) using natural                  transferred for use in geologic                       rulemaking.
                                            photosynthesis.’’                                       sequestration with EOR subject to new                    We are finalizing, with revisions,
                                               The EPA is also finalizing an                        subpart VV to part 98 (Geologic                       related confidentiality determinations
                                            amendment to the definition of ‘‘carbon                 Sequestration of Carbon Dioxide With                  for data elements resulting from the
                                            dioxide stream’’ in 40 CFR 98.6 to add                  Enhanced Oil Recovery Using ISO                       revisions to subpart PP as described in
                                            ‘‘captured from ambient air (e.g., direct               27916). To inform the revision of the                 section VI. of this preamble.
                                            air capture)’’ to the definition so that it             subpart PP electronic reporting form,
                                            reads, ‘‘Carbon dioxide stream means                    the EPA also sought comment on                        W. Subpart QQ—Importers and
                                            carbon dioxide that has been captured                   potential end use applications to add to              Exporters of Fluorinated Greenhouse
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                                            from an emission source (e.g., a power                  40 CFR 98.426(f), such as algal systems,              Gases Contained in Pre-Charged
                                            plant or other industrial facility),                    chemical production, and                              Equipment and Closed-Cell Foams
                                            captured from ambient air (e.g., direct                 mineralization processes, such as the                   We are finalizing the amendments to
                                            air capture), or extracted from a carbon                production of cements, aggregates, or                 subpart QQ of part 98 (Importers and
                                            dioxide production well plus incidental                 bicarbonates. However, because 40 CFR                 Exporters of Fluorinated Greenhouse
                                            associated substances either derived                    98.426(f) already includes a reporting                Gases Contained in Pre-Charged


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00061   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 67 of 164
                                            31862              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Equipment and Closed-Cell Foams) as                     proposed amendments and                               Another commenter noted that in some
                                            proposed. In some cases, we are                         supplemental amendments to subpart                    cases, importers could be required to
                                            finalizing the proposed amendments                      QQ. See the document ‘‘Summary of                     file over 70,000 entries or forms. One
                                            with revisions. Section III.W.1.                        Public Comments and Responses for                     commenter stated that this would
                                            discusses the final revisions to subpart                2024 Final Revisions and                              require at least 1,300 manual searches
                                            QQ. The EPA received several                            Confidentiality Determinations for Data               for the appropriate forms for each entry.
                                            comments on proposed subpart QQ                         Elements under the Greenhouse Gas                     Commenters urged that this would be
                                            revisions which are discussed in section                Reporting Rule’’ in Docket ID. No. EPA–               prohibitively expensive and
                                            III.W.2. We are also finalizing as                      HQ–OAR–2019–0424 for a complete                       burdensome. One commenter pointed
                                            proposed confidentiality determinations                 listing of all comments and responses                 out that this would require substantial
                                            for new data elements resulting from the                related to subpart QQ.                                modifications to automakers’ existing
                                            final revisions to subpart QQ, as                          Comment: Several commenters                        information systems and processes for
                                            described in section VI. of this                        contested the EPA’s proposed                          their GHG and related reporting
                                            preamble.                                               requirements to collect a copy of the                 obligations. Other commenters noted
                                                                                                    corresponding U.S. CBP entry form (e.g.,              that paper form requirements would
                                            1. Summary of Final Amendments to                       Form 7501) for each reported import in                obfuscate industry efforts to further
                                            Subpart QQ                                              40 CFR 98.436. Some commenters                        automate their record-keeping and
                                               This section summarizes the final                    asserted that the information available               reporting systems. One commenter
                                            amendments to subpart QQ. Major                         in the forms is currently provided                    added that the increased volume of
                                            changes to the final rule as compared to                electronically to CBP through the                     documentation would likely put much
                                            the proposed revisions are identified in                Automated Commercial Environment                      more pressure on businesses than they
                                            this section. The rationale for these and               (ACE) and should be available to the                  can manage based on the current
                                            any other changes to 40 CFR part 98,                    EPA within the need for reporters to                  requirement to file data by March 31st
                                            subpart QQ can be found in this section                 develop or submit copies. The                         of the year following the reporting year.
                                            and section III.W.2. of this preamble.                  commenters noted that this information                   One commenter stated that the CBP
                                            Additional rationale for these                          should be sufficient to identify which                forms would merely confirm the amount
                                            amendments are available in the                         entries are subject to data requirements              of foam board imported or exported and
                                            preamble to the 2023 Supplemental                       under subpart QQ. Commenters                          would not validate the F–GHG quantity
                                            Proposal.                                               recommended that the EPA should                       which is the intent of the report. The
                                               We are finalizing two revisions from                 coordinate with CBP through                           commenter continued that, even if
                                            the 2023 Supplemental Proposal. We are                  established bodies (e.g., the Border                  border documents were provided, it
                                            finalizing requirements for importers                   Interagency Executive Council and                     would be impossible for the EPA to
                                            and exporters of fluorinated GHGs                       Commercial Targeting and Analysis                     validate the current reports as the
                                            contained in pre-charged equipment or                   Center, to which the EPA already                      calculations involved to provide the
                                            closed-cell foams to include, for each                  participates) to identify and utilize this            volume of F–gas per board foot would
                                            import and export, the HTS code (for                    data. One commenter specifically                      require detailed technical knowledge,
                                            importers, at 40 CFR 98.436(a)(7)) and                  recommended that the EPA review the                   including density of the foam board.
                                            the Schedule B code (for exporters, at 40               Entry Summary Line Detail Report,                        Some commenters asserted that the
                                            CFR 98.436(b)(7)) used for shipping                     which would show the total quantity                   entry form requirement runs counter to
                                            each equipment type. These                              reported for entry summary lines by                   Executive Order 13659 and 19 U.S.C.
                                            requirements are consistent with the                    tariff number for the reported unit of                1411(d), as amended by sections 106
                                            final revisions to subpart OO of part 98                measure. The commenters stated that                   and 107 of the Trade Facilitation and
                                            (Suppliers of Industrial Greenhouse                     such reports capture the actual data in               Trade Enforcement Act of 2015, which
                                            Gases), which clarify that reporters                    CBP’s system, as filed by importers, and              advance the goal of providing for
                                            should submit the HTS code for each                     should be sufficient to ensure that the               electronic transmission of import data
                                            shipment, as discussed in section III.U.                Agency is able to improve the                         and seek to eliminate the need for
                                            of this preamble. See section III.S. of the             verification and accuracy of the data it              duplicative information submissions
                                            preamble to the 2023 Supplemental                       collects. One commenter expressed that                across U.S. government agencies with
                                            Proposal for additional information on                  if the EPA is unable to identify                      regulatory authority related to goods
                                            the EPA’s rationale for these changes.                  applicable entries through more                       entered or imported into the United
                                               The EPA also proposed to revise 40                   efficient means, importers should only                States.
                                            CFR 98.436 to add a requirement to                      be asked to identify specific entry                      Other commenters questioned the
                                            include collecting copies of the U.S.                   numbers that will allow the EPA to                    EPA’s requirements to require reporting
                                            CBP entry form (e.g., CBP form 7501) for                identify the applicable electronic                    of the HTS) code for each type of pre-
                                            each reported import, which are                         submissions within ACE.                               charged equipment or closed-cell foam
                                            currently maintained as records under                      Commenters objected to the implied                 imported and/or the Schedule B code
                                            40 CFR 98.437(a). Following                             submission of hard-copy entry records                 for each type of pre-charged equipment
                                            consideration of public comments, the                   as an unnecessary administrative                      or closed-cell foam exported. One
                                            EPA is not taking final action on the                   burden. Commenters stated that the                    commenter questioned whether the
                                            proposed requirement to submit copies                   proposed requirement runs counter to                  inclusion of both HTS codes and
                                            of each U.S. CBP entry form. See section                CBP’s longstanding effort to collect                  Schedule B codes is necessary for
                                            III.W.2. of this preamble for a summary                 import data and documents                             validation of the data that is currently
                                            of the related comments and the EPA’s                   electronically. One commenter stated                  collected, as all polystyrene foams use
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                                            response.                                               that submittal of the border crossing                 the same codes. The commenter urged
                                                                                                    document would necessitate a                          that requiring more than one type of
                                            2. Summary of Comments and                              substantial amount of additional work                 document would prove redundant in
                                            Responses on Subpart QQ                                 and resources to comply, including                    showing product type; be burdensome
                                               This section summarizes the major                    gathering documentation from multiple                 for manufacturers and for the EPA; and
                                            comments and responses related to the                   sources prior to annual reporting.                    would not provide any additional


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00062   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 68 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31863

                                            clarity or validation to the current                    Revisions and Confidentiality                         proposed revisions to the calculation,
                                            report.                                                 Determinations for Data Elements under                monitoring, and reporting requirements
                                               Another commenter stated that only                   the Greenhouse Gas Reporting Rule’’ in                of subpart SS (at 40 CFR 98.452, 98.453,
                                            the border crossing document (which                     Docket ID. No. EPA–HQ–OAR–2019–                       98.454, and 98.456) to require reporting
                                            includes the customs tariff number,                     0424 for a complete listing of all                    of additional F–GHGs as defined under
                                            with the first six digits of an HTS and                 comments and responses related to                     40 CFR 98.6, except electrical
                                            Schedule B number) should be required                   subpart RR. Additional rationale for                  equipment manufacturers and
                                            as part of the annual report. The                       these amendments is available in the                  refurbishers will not be required to
                                            commenter noted that these border                       preamble to the 2023 Supplemental                     report emissions of insulating gases
                                            crossing documents share highly                         Proposal.                                             with weighted average GWPs of one (1)
                                            sensitive information such as quantity                     We are adding a definition for                     or less. However, they will be required
                                            and price, so should be handled                         ‘‘offshore’’ to 40 CFR 98.449 to mean                 to report the quantities of insulating
                                            securely. One commenter reiterated that                 ‘‘seaward of the terrestrial borders of the           gases with weighted average GWPs of
                                            all data proposed to be collected is, and               United States, including waters subject               one or less, as well as the nameplate
                                            would be, considered highly                             to the ebb and flow of the tide, as well              capacities of the associated equipment,
                                            confidential business information. The                  as adjacent bays, lakes or other normally             that they transfer to their customers. To
                                            commenter added that access to this                     standing waters, and extending to the                 implement these revisions, we are
                                            type of information is restricted                       outer boundaries of the jurisdiction and              finalizing revisions that redefine the
                                            internally, which adds complexity to                    control of the United States under the                source category at 40 CFR 98.450 to
                                            who could manage and deal with the                      Outer Continental Shelf Lands Act.’’                  include equipment containing
                                            processing of this documentation within                 This definition clarifies the applicability           ‘‘fluorinated GHGs (F–GHG), including
                                            facilities.                                             of subpart RR to offshore geologic                    but not limited to sulfur-hexafluoride
                                               Response: The EPA is revising the                    sequestration activities, including on                (SF6) and perfluorocarbons (PFCs).’’ The
                                            final rule to remove the requirement for                the outer continental shelf. Additional               changes also apply to the threshold in
                                            reporters to submit copies of their U.S.                rationale for these amendments is                     40 CFR 98.451, which we are revising as
                                            CBP form 7501. Following consideration                  available in the preamble to the 2023                 discussed in section III.Y.1. of this
                                            of comments received, it has been                       Supplemental Proposal.                                preamble. Facilities also must consider
                                            determined that annually reporting                                                                            additional F–GHGs purchased by the
                                            these documents could pose a                            Y. Subpart SS—Electrical Equipment                    facility in estimating emissions for
                                            significant burden for many reporters.                  Manufacture or Refurbishment                          comparison to the threshold.
                                            Therefore, the EPA is not adopting the                     We are finalizing several amendments                  The revisions to subpart SS include
                                            proposed data reporting requirement in                  to subpart SS of part 98 (Electrical                  the addition of a new equation SS–1 in
                                            the final rule.                                         Equipment Manufacture or                              the reporting threshold at 40 CFR 98.451
                                               The EPA is finalizing the proposed                   Refurbishment) as proposed. In some                   (discussed in section III.Y.b. of this
                                            requirement to report HTS codes (for                    cases, we are finalizing the proposed                 preamble) and a new equation SS–2 in
                                            imports) and Schedule B codes (for                      amendments with revisions. Section                    the GHGs to report at 40 CFR 98.452.
                                            exports) to assist the Agency in                        III.Y.1. of this preamble discusses the               Equation SS–2 is also used in the
                                            verification of data. This requirement                  substantive final revisions to subpart                definition of ‘‘reportable insulating gas,’’
                                            will allow the EPA to better compare                    SS. The EPA received several comments                 discussed in this section of the
                                            reported GHGRP data with data from                      on the proposed revisions to subpart SS               preamble. We are also making minor
                                            other government sources, specifically                  which are addressed in section III.Q.2.               revisions to equations SS–1 through SS–
                                            CBP records. As only one type of code                   of this preamble. We are also finalizing              6 (which we are renumbering as SS–3
                                            (HTS or Schedule B) will be required                    as proposed confidentiality                           through SS–8 to accommodate new
                                            based on whether the shipment is an                     determinations for new data elements                  equations SS–1 and SS–2) to
                                            import or export, this will not require                 resulting from the revisions to subpart               incorporate the estimation of emissions
                                            the reporting of redundant information                  SS as described in section VI. of this                from all F–GHGs within the existing
                                            to the EPA. Furthermore, we are making                  preamble.                                             calculation methodology. To account for
                                            ‘‘No Determination’’ of confidentiality                                                                       the possibility that the same fluorinated
                                            for this data element. ‘‘No                             1. Summary of Final Amendments to                     GHG could be a component of multiple
                                            Determination’’ means that the EPA is                   Subpart SS                                            reportable insulating gases, we are
                                            not making a confidentiality                               This section summarizes the final                  inserting in the final rule a summation
                                            determination through rulemaking at                     amendments to subpart SS. Major                       sign at the beginning of the right side of
                                            this time. If necessary, the EPA will                   changes to the final rule as compared to              equation SS–3 to ensure that emissions
                                            evaluate and determine the                              the proposed revisions are identified in              of each fluorinated GHG i are summed
                                            confidentiality status of this data on a                this section. The rationale for these and             across all reportable insulating gases j.
                                            per-facility basis in accordance with the               any other final revisions to 40 CFR part              In addition, we are updating the
                                            provisions of 40 CFR part 2, subpart B.                 98, subpart SS can be found in this                   monitoring and quality assurance
                                                                                                    section and section III.Y.2. of this                  requirements to account for emissions
                                            X. Subpart RR—Geologic Sequestration
                                                                                                    preamble. Additional rationale for these              from additional F–GHGs, and
                                            of Carbon Dioxide
                                                                                                    amendments is available in the                        harmonizing revisions to the reporting
                                              We are finalizing amendments to                       preamble to the 2022 Data Quality                     requirements such that reporters
                                            subpart RR of part 98 (Geologic                         Improvements Proposal.                                account for the mass of each F–GHG at
                                            Sequestration of Carbon Dioxide) as                                                                           the facility level.
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                                            proposed. This section discusses the                    a. Revisions To Improve the Quality of                   We are also finalizing the proposed
                                            substantive final revisions to subpart                  Data Collected for Subpart SS                         definition of ‘‘insulating gas’’ and
                                            RR. The EPA received only one                              The EPA is finalizing several                      adding the term ‘‘reportable insulating
                                            supportive comment for subpart RR. See                  revisions to subpart SS to improve the                gas,’’ which is defined as ‘‘an insulating
                                            the document ‘‘Summary of Public                        quality of the data collected from this               gas whose weighted average GWP, as
                                            Comments and Responses for 2024 Final                   subpart. We are generally finalizing as               calculated in equation SS–2, is greater


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00063   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 69 of 164
                                            31864              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            than one. A fluorinated GHG that makes                  gases and multiply the purchases of                   consistency for reporters across Federal
                                            up either part or all of a reportable                   each reportable insulating gas by the                 and State reporting rules.
                                            insulating gas is considered to be a                    GWP for each F–GHG and the emission                      Response: In the final rule, the EPA is
                                            component of the reportable insulating                  factor of 0.10 (or 10 percent). The final             not requiring electrical equipment
                                            gas.’’ This term is intended to                         rule threshold methodology is more                    manufacturers and refurbishers to report
                                            distinguish between insulating gases                    appropriate because it represents the                 emissions of insulating gases with
                                            whose emissions must be reported                        actual fluorinated gases used by a                    weighted average 100-year GWPs of one
                                            under subpart SS and insulating gases                   reporter; these revisions also streamline             or less, but the EPA is requiring such
                                            whose emissions are not required to be                  the reporting requirements to focus                   facilities to report the quantities of
                                            reported under subpart SS (although, as                 Agency resources on the substantial                   insulating gases with GWPs of one or
                                            noted above, the quantities of all                      emission sources within the sector.                   less, as well as the nameplate capacity
                                            insulating gases supplied to customers                  Additionally, the changes revise the                  of the associated equipment, that they
                                            must be reported). In many though not                   inclusion of subpart SS in the existing               transfer to their customers. Based on a
                                            all cases, we are also replacing                        table A–3 to subpart A. Because we are                review of the subpart SS data submitted
                                            occurrences of the proposed phrase                      providing a method for direct                         to date, the EPA has concluded that
                                            ‘‘fluorinated GHGs, including PFCs and                  comparison to the 25,000 mtCO2e                       excluding emissions of insulating gases
                                            SF6’’ with ‘‘fluorinated GHGs that are                  threshold, we are removing subpart SS                 with weighted average GWPs of one or
                                            components of reportable insulating                     from table A–3 and including the                      less from reporting under subpart SS
                                            gases.’’ In addition, we are finalizing                 subpart in table A–4 to subpart A. This               will have little effect on the accuracy or
                                            revisions to add reporting of an ID                     will require facilities to determine                  completeness of the GWP-weighted
                                            number or descriptor for each insulating                applicability according to 40 CFR                     totals reported under subpart SS or
                                            gas and the name and weight percent of                  98.2(a)(2) and consider the combined                  under the GHGRP generally. Between
                                            each insulating gas reported. The EPA                   emissions from stationary fuel                        2011 and 2021, total SF6 and PFC
                                            has also made one minor clarification                   combustion sources (subpart C),                       emissions across all facilities reporting
                                            from proposal. We initially proposed 40                 miscellaneous use of carbonates                       under subpart SS have ranged from 5 to
                                            CFR 98.456(u) to require reporting of an                (subpart U), and other applicable source              15 mt (unweighted) or 120,000 to
                                            ID number or descriptor for each unique                 categories. Including subpart SS in table             350,000 mtCO2e. At GWPs of one, these
                                            insulating gas. To clarify the                          A–4 to subpart A is consistent with                   weighted totals would be equivalent to
                                            applicability of this requirement for                   other GHGRP subparts that use the                     the unweighted quantities reported,
                                            those gases mixed on-site, the final rule               25,000 mtCO2e threshold included                      which constitute approximately 0.004%
                                            clarifies that facilities must report an ID             under 40 CFR 98.2(a)(2) to determine                  (1/23,500) of the GWP-weighted totals.
                                            number or other appropriate descriptor                  applicability. See section III.U.2. of the            Even in a worst-case scenario where the
                                            that is unique to the reported insulating               preamble to the 2022 Data Quality                     annual manufacturer emissions of a very
                                            gas, and for each ID number or                          Improvements Proposal for additional                  low-GWP insulating gas were assumed
                                            descriptor reported, the name and                       information on these revisions and their              to equal the total quantity of that gas
                                            weight percent of each fluorinated gas                  supporting basis.                                     transferred from manufacturers to
                                            in the insulating gas. See section III.U.1.                                                                   customers (implying an emission rate of
                                            of the preamble to the 2022 Data Quality                2. Summary of Comments and                            100%, higher than any ever reported
                                            Improvements Proposal for additional                    Responses on Subpart SS                               under subpart SS), the total GWP-
                                            information on these revisions and their                                                                      weighted emissions reported under
                                                                                                      This section summarizes the major
                                            supporting basis.                                                                                             subpart SS would be considerably
                                                                                                    comments and responses related to the
                                                                                                                                                          smaller than those reported under any
                                            b. Revisions To Streamline and Improve                  proposed amendments to subpart SS.
                                                                                                                                                          other subpart: total unweighted
                                            Implementation for Subpart SS                           See the document ‘‘Summary of Public
                                                                                                                                                          quantities shipped to customers
                                               To account for changes in the usage                  Comments and Responses for 2024 Final                 reported across all facilities to date have
                                            of certain GHGs and reduce the                          Revisions and Confidentiality                         ranged between 196 and 372 mt. At
                                            likelihood that the reporting threshold                 Determinations for Data Elements under                GWPs of 1, these totals would fall well
                                            will cover facilities with emissions well               the Greenhouse Gas Reporting Rule’’ in                below the 15,000- and 25,000 mtCO2e
                                            below 25,000 mtCO2e, we are generally                   Docket ID. No. EPA–HQ–OAR–2019–                       quantities below which individual
                                            finalizing revisions to the applicability               0424 for a complete listing of all                    facilities are eventually allowed to exit
                                            threshold of subpart SS as proposed.                    comments and responses related to                     the program under the off-ramp
                                            (The one change is the introduction of                  subpart SS.                                           provisions of subpart A of part 98 (40
                                            the term ‘‘reportable insulating gas,’’ as                Comment: One commenter suggested                    CFR 98.2(i)), as applicable.
                                            described in this section III.Y. of the                 redefining the definition of ‘‘insulating                While the EPA is not requiring
                                            preamble.) The revisions remove the                     gas’’ to including any gas with a GWP                 electrical equipment manufacturers and
                                            consumption-based threshold at 40 CFR                   greater than one and not any fluorinated              refurbishers to report their emissions of
                                            98.451 and instead require facilities to                GHG or fluorinated GHG mixture. The                   insulating gases with GWPs of one or
                                            estimate total annual GHG emissions for                 commenter urged that the proposed                     less, the EPA is requiring such facilities
                                            comparison to the 25,000 mtCO2e                         definition ignores other potential gases              to report the quantities of insulating
                                            threshold by introducing a new                          that may come onto the market that are                gases with weighted average GWPs of
                                            equation, equation SS–1. The equation                   not fluorinated but still have a GWP                  one or less, as well as the nameplate
                                            SS–1 continues to be based on the total                 potential. The commenter stated that                  capacity of the associated equipment,
                                            annual purchases of insulating gases,                   defining insulating gas under subpart SS              that they transfer to their customers.
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                                            but establishes an updated comparison                   to include any gas with a GWP greater                 Tracking such transfers is important to
                                            to the threshold, and accounts for the                  than one used as an insulating gas and/               understanding the extent to which
                                            additional fluorinated gases reported by                or arc quenching gas in electrical                    substitutes for SF6 are replacing SF6 as
                                            industry. Potential reporters are                       equipment would mirror the threshold                  an insulating gas, which will inform
                                            required to account for the total annual                implemented by the California Air                     future policies and programs under
                                            purchases of all reportable insulating                  Resources Board and would provide                     provisions of the CAA. The EPA


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00064   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 70 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31865

                                            anticipates that tracking transfers to                  AA. Subpart VV—Geologic                               sequester CO2 through EOR operations
                                            customers will involve a lower burden                   Sequestration of Carbon Dioxide With                  may instead opt-in to subpart RR
                                            than tracking emissions and other                       Enhanced Oil Recovery Using ISO                       (Geologic Sequestration of Carbon
                                            quantities in addition to transfers.                    27916                                                 Dioxide). The EPA proposed to add new
                                                                                                       We are finalizing several amendments               subpart VV to require reporting of
                                            Z. Subpart UU—Injection of Carbon
                                                                                                    to add subpart VV (Geologic                           incidental CO2 storage associated with
                                            Dioxide                                                                                                       EOR based on the CSA/ANSI ISO
                                                                                                    Sequestration of Carbon Dioxide With
                                               We are finalizing the amendments to                  Enhanced Oil Recovery Using ISO                       27916:19 standard. We subsequently
                                            subpart UU of part 98 (Injection of                     27916) to part 98 as proposed. Section                received detailed comments saying that
                                            Carbon Dioxide) as revised in the 2023                  III.Z.1. of this preamble discusses the               the applicability of proposed subpart
                                            Supplemental Proposal. This section                     final requirements of subpart VV. The                 VV was unclear, specifically, proposed
                                            discusses the final revisions to subpart                EPA received several comments on the                  40 CFR 98.480 ‘‘Definition of the Source
                                            UU. The EPA received only one                           proposed subpart VV which are                         Category.’’ The commenters were
                                            supportive comments on the proposed                     discussed in section III.V.2. of this                 uncertain whether the EPA had
                                            revision to subpart UU in the 2023                      preamble. We are also finalizing as                   intended to require facilities using CSA/
                                            Supplemental Proposal. See the                          proposed related confidentiality                      ANSI ISO 27916:19 to report under
                                            document ‘‘Summary of Public                            determinations for data elements                      subpart VV or whether facilities that
                                            Comments and Responses for 2024 Final                   resulting from the revisions to subpart               used CSA/ANSI ISO 27916:19 would
                                            Revisions and Confidentiality                           VV as described in section VI. of this                have the option to choose under which
                                            Determinations for Data Elements under                  preamble.                                             subpart they would report to: subpart
                                            the Greenhouse Gas Reporting Rule’’ in                                                                        RR, subpart UU, or subpart VV.
                                            Docket ID. No. EPA–HQ–OAR–2019–                         1. Summary of Final Amendments to                        In the 2023 Supplemental Proposal,
                                            0424 for a complete listing of all                      Subpart VV                                            the EPA subsequently reproposed
                                            comments and responses related to                          This section summarizes the                        §§ 98.480 and 98.481 of subpart VV to
                                            subpart UU.                                             substantive final amendments to subpart               clarify the applicability to each subpart.
                                                                                                    VV. Major changes to the final rule as                As explained in section III.P. of the
                                               The EPA initially proposed
                                                                                                    compared to the proposed revisions are                preamble the 2023 Supplemental
                                            amendments to subpart UU in the 2022
                                                                                                    identified in this section. The rationale             Proposal, the EPA clarified that if a
                                            Data Quality Improvements Proposal
                                                                                                    for these and any other changes to 40                 facility elects to use the CSA/ANSI ISO
                                            that were intended to harmonize with                                                                          27916:19 method for quantifying
                                            revisions to add new subpart VV to part                 CFR part 98, subpart VV can be found
                                                                                                    in this section. Additional rationale for             geologic sequestration of CO2 in
                                            98 (Geologic Sequestration of Carbon                                                                          association with EOR operations, then
                                            Dioxide With Enhanced Oil Recovery                      these amendments is available in the
                                                                                                    preamble to the 2022 Data Quality                     the facility would be required under the
                                            Using ISO 27916). Subpart VV is                                                                               GHGRP to report under new subpart VV
                                            described further in section III.Z. of this             Improvements Proposal 2023
                                                                                                    Supplemental Proposal.                                (unless the facility chooses to report
                                            preamble. However, we received                                                                                under subpart RR and has received an
                                            comments on the 2022 Data Quality                       a. Source Category Definition                         approved Monitoring, Reporting, and
                                            Improvements Proposal saying that the                      In the 2022 Data Quality                           Verification Plan (MRV Plan) from
                                            applicability of proposed subpart VV                    Improvements Proposal, the EPA                        EPA). The EPA further clarified that
                                            was unclear. The EPA subsequently re-                   proposed adding a new source category,                subpart VV is not intended to apply to
                                            proposed revisions to 40 CFR 98.470 in                  subpart VV, to part 98 to add calculation             facilities that use the content of CSA/
                                            the 2023 Supplemental Proposal. As                      and reporting requirements for                        ANSI ISO 27916:19 for a purpose other
                                            described in sections III.O. of the                     quantifying geologic sequestration of                 than demonstrating secure geologic
                                            preamble of the 2023 Supplemental                       CO2 in association with EOR operations,               storage, such as only as a reference
                                            Proposal, the EPA proposed, and is                      which would only apply to facilities                  material or for informational purposes.
                                            finalizing, revisions to § 98.470 of                    that quantify the geologic sequestration              Following review of subsequent
                                            subpart UU of part 98 to clarify the                    of CO2 in association with EOR                        comments received on the reproposed
                                            applicability of each subpart when a                    operations in conformance with the ISO                source category definition, we are
                                            facility quantifies their geologic                      standard designated as CSA/ANSI ISO                   finalizing the definition of the source
                                            sequestration of CO2 in association with                27916:19, Carbon dioxide capture,                     category as proposed in the 2023
                                            EOR operations through the use of the                   transportation and geological storage—                Supplemental Proposal.
                                            CSA/ANSI ISO 27916:19 method.                           Carbon dioxide storage using enhanced
                                            Specifically, we are clarifying that                                                                          b. Reporting Threshold
                                                                                                    oil recovery.42 In our initial proposal,
                                            facilities with a well or group of wells                the EPA outlined the source category                     In the 2022 Data Quality
                                            that must report under subpart VV shall                 definition, rationale for no threshold,               Improvements Proposal, the EPA
                                            not also report data for those same wells               calculation methodology, and                          proposed no threshold for reporting
                                            under subpart UU. These changes also                    monitoring, recordkeeping, and                        under subpart VV (i.e., that subpart VV
                                            clarify how CO2–EOR projects that may                   reporting requirements. We noted at that              would be an ‘‘all-in’’ reporting subpart).
                                            transition to use of the CSA/ANSI ISO                   time that under existing GHGRP                        The EPA also proposed under 40 CFR
                                            27916:19 method during a reporting                      requirements, facilities that receive CO2             98.480(c) that facilities subject only to
                                            year will be required to report for the                 for injection at EOR operations report                subpart VV would not be required to
                                            portion of the reporting year before they               under subpart UU (Injection of Carbon                 report emissions under subpart C or any
                                            began using CSA/ANSI ISO 27916:19                       Dioxide), and facilities that geologically            other subpart listed in 40 CFR 98.2(a)(1)
lotter on DSK11XQN23PROD with RULES2




                                            and for the portion after they began                                                                          or (2), consistent with the requirements
                                            using CSA/ANSI ISO 27916:19.                              42 Although the title of the standard references    for existing reporters under subpart UU.
                                            Additional rationale for these                          only EOR, Clause 1.1 of CSA/ANSI ISO 27916:19         In the 2023 Supplemental Proposal, the
                                            amendments is available in the                          indicates that the standard can apply to enhanced     EPA maintained no threshold is
                                                                                                    gas recovery as well. Therefore, any reference to
                                            preamble to the 2023 Supplemental                       EOR in subpart VV also applies to enhanced gas        required for reporting, but amended the
                                            Proposal.                                               recovery.                                             regulatory text to clarify that all CO2–


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00065   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 71 of 164
                                            31866              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            EOR projects using CSA/ANSI ISO                         e. Procedures for Estimating Missing                  Administrator of its intent to cease
                                            27916:19 as a method of quantifying                     Data                                                  reporting and provide a copy of the
                                            geologic sequestration that do not report                 The EPA is finalizing as proposed the               CO2–EOR project termination
                                            under subpart RR would report under                     requirement for reporters to use the                  documentation.
                                            subpart VV. We also proposed text at 40                 applicable missing data and quality
                                            CFR 98.481(c) to clarify how CO2–EOR                                                                          g. Records That Must Be Retained
                                                                                                    assurance procedures set forth in CSA/
                                            projects previously reporting under                     ANSI ISO 27916:19.                                      The EPA is finalizing as proposed the
                                            subpart UU that begin using CSA/ANSI                                                                          requirement that reporters meet the
                                            ISO 27916:19 part-way through a                         f. Data Reporting Requirements                        record retention requirements of 40 CFR
                                            reporting year must report. The EPA is                     The EPA is finalizing, as proposed,                98.3(g) and the applicable
                                            finalizing these requirements as                        that facilities will report the amount of             recordkeeping retention requirements
                                            reproposed in the 2023 Supplemental                     CO2 stored, inputs included in the mass               set forth in CSA/ANSI ISO 27916:19.
                                            Proposal.                                               balance equation used to determine CO2
                                               Additionally, we are finalizing                      stored using the CSA/ANSI ISO                         2. Summary of Comments and
                                            revisions at 40 CFR 98.481(b) that                      27916:19 methodology, and                             Responses on Subpart VV
                                            facilities subject to subpart VV will not
                                                                                                    documentation providing the basis for                   The EPA received several comments
                                            be subject to the off-ramp requirements
                                                                                                    that determination as set forth in CSA/               for subpart VV; the majority of these
                                            of 40 CFR 98.2(i). Instead, once a facility
                                                                                                    ANSI ISO 27916:19. Documentation                      comments were received on the 2022
                                            opts-in to subpart VV, the owner or
                                                                                                    includes providing the CSA/ANSI ISO                   Data Quality Improvements Proposal
                                            operator must continue for each year
                                                                                                    27916:19 EOR Operations Management                    and were previously addressed in the
                                            thereafter to comply with all
                                                                                                    Plan (OMP), which is required to                      preamble to the 2023 Supplemental
                                            requirements of the subpart, including
                                                                                                    specify: (1) a geological description of              Proposal (see section III.P. of the
                                            the requirement to submit annual
                                                                                                    the site and the procedures for field                 preamble to the 2023 Supplemental
                                            reports, until the facility demonstrates
                                                                                                    management and operational                            Proposal). The EPA received only
                                            termination of the CO2–EOR project
                                            following the requirements of CSA/                      containment during the quantification                 supportive comments on the proposed
                                            ANSI ISO 27916:19. The operator must                    period; (2) the initial containment                   revisions to subpart VV in the 2023
                                            notify the Administrator of its intent to               assurance plan to identify potential                  Supplemental Proposal; see the
                                            cease reporting and provide a copy of                   leakage pathways; (3) the plan for                    document ‘‘Summary of Public
                                            the CO2–EOR project termination                         monitoring of potential leakage                       Comments and Responses for 2024 Final
                                            documentation prepared for CSA/ANSI                     pathways; and (4) the monitoring                      Revisions and Confidentiality
                                            ISO 27916:19.                                           methods for detecting and quantifying                 Determinations for Data Elements under
                                                                                                    losses and how this will serve to                     the Greenhouse Gas Reporting Rule’’ in
                                            c. Calculation Methods                                  provide the inputs into site-specific                 Docket ID. No. EPA–HQ–OAR–2019–
                                               In the 2022 Data Quality                             mass balance equations. Reporters must                0424 for a complete listing of all
                                            Improvements Proposal and 2023                          also specify any changes made to                      comments and responses related to
                                            Supplemental Proposal, the EPA                          containment assurance and monitoring                  subpart VV.
                                            proposed incorporating the                              approaches and procedures in the EOR
                                            quantification methodology of CSA/                      OMP made within the reporting year.                   BB. Subpart WW —Coke Calciners
                                            ANSI ISO 27916:19 for calculation of                       We are also finalizing the reporting of
                                                                                                    the following information per CSA/                       We are finalizing the addition of
                                            emissions. Under CSA/ANSI ISO
                                                                                                    ANSI ISO 27916:19: (1) the quantity of                subpart WW to part 98 (Coke Calciners)
                                            27916:19, the mass of CO2 stored is
                                                                                                    CO2 stored during the year; (2) the                   with revisions in some cases. Section
                                            determined as the total mass of CO2
                                                                                                    formula and data used to quantify the                 III.BB.1. of this preamble discusses the
                                            received minus the total mass of CO2
                                                                                                    storage, including the quantity of CO2                final requirements of subpart WW. The
                                            lost from project operations and the
                                                                                                    delivered to the CO2–EOR project and                  EPA received several comments on the
                                            mass of CO2 lost from the EOR complex.
                                                                                                    losses during the year; (3) the methods               proposed subpart WW which are
                                            The EOR complex is defined as the
                                                                                                    used to estimate missing data and the                 discussed in section III.BB.2. of this
                                            project reservoir, trap, and such
                                                                                                    amounts estimated; (4) the approach                   preamble. We are also finalizing as
                                            additional surrounding volume in the
                                                                                                    and method for quantification utilized                proposed related confidentiality
                                            subsurface as defined by the operator
                                                                                                    by the operator, including accuracy,                  determinations for data elements
                                            within which injected CO2 will remain
                                                                                                    precision and uncertainties; (5) a                    resulting from the revisions to subpart
                                            in safe, long-term containment. Specific
                                                                                                    statement describing the nature of                    WW as described in section VI. of this
                                            losses include those from leakage from
                                                                                                    validation or verification, including the             preamble.
                                            production, handling, and recycling
                                            facilities; from infrastructure (including              date of review, process, findings, and                1. Summary of Final Amendments to
                                            wellheads); from venting/flaring from                   responsible person or entity; and (6) the             Subpart WW
                                            production operations; and from                         source of each CO2 stream quantified as
                                            entrainment within produced gas/oil/                    storage. The final rule also requires that              This section summarizes the
                                            water when this CO2 is not separated                    reporters provide a copy of the                       substantive final amendments to subpart
                                            and reinjected. We are finalizing the                   independent engineer or geologist’s                   WW. Major changes in this final rule as
                                            calculation requirements as proposed.                   certification as part of reporting to                 compared to the proposed revisions are
                                                                                                    subpart VV, if such a certification has               identified in this section. The rationale
                                            d. Monitoring, QA/QC, and Verification                  been made.                                            for these and any other changes to 40
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                                            Requirements                                               Finally, the EPA is finalizing a                   CFR part 98, subpart WW can be found
                                              The EPA is finalizing as proposed the                 notification for project termination. The             in this section. Additional rationale for
                                            requirement for reporters to use the                    final rule specifies that the time for                these amendments is available in the
                                            applicable monitoring and quality                       cessation of reporting under subpart VV               preamble to the 2022 Data Quality
                                            assurance requirements set forth in                     is the same as under CSA/ANSI ISO                     Improvements Proposal and 2023
                                            CSA/ANSI ISO 27916:19.                                  27916:19; the operator must notify the                Supplemental Proposal.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00066   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 72 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31867

                                            a. Source Category Definition                           methodologies are used to estimate CO2                operate, and calibrate the monitoring
                                               The EPA is finalizing the source                     emissions. We are also finalizing, as                 system according to subpart C (General
                                            category definition as proposed, with                   proposed, that coke calciners also                    Stationary Fuel Combustion Sources),
                                            one minor clarification. Specifically, we               estimate process CH4 and N2O                          which is consistent with the current
                                            proposed that the coke calciner source                  emissions based on the total CO2                      requirements for coke calciner CO2
                                                                                                    emissions determined for the coke                     CEMS monitoring requirements within
                                            category consists of process units that
                                                                                                    calciner and the ratio of the default CO2             subpart Y. We are finalizing that all CO2
                                            heat petroleum coke to high
                                                                                                    emission factor for petroleum coke in                 CEMS and flow rate monitors used for
                                            temperatures in the absence of air or
                                                                                                    table C–1 to subpart C of part 98 to the              direct measurement of GHG emissions
                                            oxygen for the purpose of removing
                                                                                                    default CH4 and N2O emission factors                  should comply with QA/QC procedures
                                            impurities or volatile substances in the
                                                                                                    for petroleum products in table C–2 to                for daily calibration drift checks and
                                            petroleum coke feedstock. Following
                                                                                                    subpart C of part 98. Under the final                 quarterly or annual accuracy
                                            review of comments received, the EPA
                                                                                                    methods, petroleum refineries with coke               assessments, such as those provided in
                                            is revising the source category definition
                                                                                                    calciners are able to maintain their                  Appendix F to part 60 or similar QA/QC
                                            from that proposed to remove the
                                                                                                    current calculation methods. Additional               procedures. These requirements ensure
                                            language ‘‘in the absence of air or
                                                                                                    detail on the calculation methods                     the quality of the reported GHG
                                            oxygen.’’ See section III.BB.2. of this                 reviewed are available in section IV.B.               emissions and are consistent with the
                                            preamble for additional information on                  of the preamble to the 2023                           current requirements for CEMS
                                            related comments and the EPA’s                          Supplemental Proposal.                                measurements within subparts A
                                            response. The final definition of the                     Direct measurement using CEMS. The                  (General Provisions) and C of the
                                            coke calciner source category includes,                 CEMS approach directly measures CO2                   GHGRP.
                                            but is not limited to, rotary kilns or                  concentration and total exhaust gas flow                 Carbon balance method. The carbon
                                            rotary hearth furnaces used to calcine                  rate for the combined process and                     mass balance method requires
                                            petroleum coke and any afterburner or                   combustion source emissions. CO2 mass                 monitoring of mass quantities of green
                                            other equipment used to treat the                       emissions are calculated from these                   coke fed to the process, calcined coke
                                            process gas from the calciner. The                      measured values using equation C–6                    leaving the process, and coke dust
                                            source category includes all coke                       and, if necessary, equation C–7 in 40                 removed from the process by dust
                                            calciners, not just those co-located at                 CFR 98.33(a)(4).                                      collection systems. It also requires
                                            petroleum refineries, to provide                          The EPA proposed that the CEMS                      periodic determination of carbon
                                            consistent requirements for all coke                    method under subpart WW would be                      content of the green and calcined coke.
                                            calciners.                                              implemented consistent with subpart Y                 For coke mass measurements, we are
                                            b. Reporting Threshold                                  of part 98 (Petroleum Refineries), which              finalizing that the measurement device
                                                                                                    required reporters to determine CO2                   be calibrated according to the
                                              In the 2023 Supplemental Proposal,                    emissions from auxiliary fuel use                     procedures specified by the updated
                                            the EPA proposed no threshold for                       discharged in the coke calciner exhaust               NIST HB 44–2023: Specifications,
                                            reporting under subpart WW. Because                     stack using methods in subpart C of part              Tolerances, and Other Technical
                                            coke calciners are large emission                       98, and to subtract those emissions from              Requirements For Weighing and
                                            sources, they are expected to emit over                 the measured CEMS emissions to                        Measuring Devices, 2023 edition (we
                                            the 25,000 mtCO2e threshold generally                   determine the process CO2 emissions.                  have clarified the title and publication
                                            required to report under existing                       We are finalizing this requirement.                   date of this method in the final rule) or
                                            GHGRP subparts with thresholds, and                       Carbon balance method. For those                    the procedures specified by the
                                            nearly all of them are also projected to                facilities that do not have a qualified               manufacturer. We are requiring the
                                            exceed the 100,000 mtCO2e threshold.                    CEMS in-place, facilities may use the                 measurement device be recalibrated
                                            Therefore, the EPA projects that there                  carbon mass balance method, using data                either biennially or at the minimum
                                            are limited differences in the number of                that is expected to be routinely                      frequency specified by the
                                            reporting facilities based on any of the                monitored by coke calcining facilities.               manufacturer. These requirements are to
                                            emission thresholds considered. For this                The carbon mass balance method uses                   ensure the quality of the reported GHG
                                            reason, the EPA is finalizing the coke                  the mass of green coke, calcined coke                 emissions and to be consistent with the
                                            calciner source category as an ‘‘all-in’’               and petroleum coke dust removed from                  current requirements for coke calciner
                                            subpart (i.e., regardless of their                      the dust collection system, along with                mass measurements within subpart Y.
                                            emissions profile).                                     the carbon content of the green and                      For carbon content of coke
                                            c. Calculation Methods                                  calcined coke, to estimate process CO2                measurements, the owner or operator
                                                                                                    emissions; the methodology is the same                must follow approved analytical
                                               Coke calciners primarily emit CO2,                   as current equation Y–13 of 40 CFR                    procedures and maintain and calibrate
                                            but also have CH4 and N2O emissions as                  98.253(g)(2) that is used for coke                    instruments used according to
                                            part of the process gas emission control                calcining processes co-located at                     manufacturer’s instructions and to
                                            combustion device operation. The EPA                    petroleum refineries.                                 document the procedures used to ensure
                                            is finalizing, as proposed in the 2023                                                                        the accuracy of the measurement
                                            Supplemental Proposal, that CO2, CH4,                   d. Monitoring, QA/QC, and Verification                devices used. These requirements are to
                                            and N2O emissions from each coke                        Requirements                                          ensure the quality of the reported GHG
                                            calcining unit be estimated.                              The EPA is finalizing the monitoring                emissions and to be consistent with the
                                               The EPA reviewed a number of                         methods to subpart WW as proposed.                    current requirements for coke calciner
                                            different emissions estimation methods                    Direct measurement using CEMS. For                  mass measurements within subpart Y.
lotter on DSK11XQN23PROD with RULES2




                                            for coke calciners. We subsequently                     direct measurement using CEMS, the                    These determinations must be made
                                            proposed, and are finalizing, to require                CEMS method requires both a                           monthly. If carbon content
                                            either one of two separate calculation                  continuous CO2 concentration monitor                  measurements are made more often than
                                            methods, the use of a CEMS or the                       and a continuous volumetric flow                      monthly, all measurements made within
                                            carbon mass balance method for                          monitor. Reporters required to or                     the calendar month must be used to
                                            estimating emissions. Each of these                     electing to use CEMS must install,                    determine the average for the month.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00067   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 73 of 164
                                            31868              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            e. Procedures for Estimating Missing                    meters, and other measurement devices.                calcination are from the combustion of
                                            Data                                                    The estimated accuracy of                             volatiles and carbon in the green coke.
                                                                                                    measurements made with these devices                     Response: We understand that air is
                                               The EPA is finalizing as proposed the
                                                                                                    must also be recorded, and the technical              introduced in the coke calciner to burn
                                            procedures for estimating missing data.
                                                                                                    basis for these estimates must be                     the volatiles from the coke, but the air
                                            For the CEMS methodology, whenever a
                                                                                                    provided.                                             is introduced in a limited fashion
                                            quality-assured value of a required
                                                                                                      For the coke calciners source                       (limited oxygen) so that the complete
                                            parameter is unavailable (e.g., if a CEMS
                                                                                                    category, we are finalizing that the                  combustion of coke in the calciner does
                                            malfunctions during unit operation or if                                                                      not occur. However, we agree with the
                                                                                                    verification software specified in 40
                                            a required fuel sample is not taken), a                                                                       commenter that the phrase ‘‘in the
                                                                                                    CFR 98.5(b) be used to fulfill the
                                            substitute data value for the missing                                                                         absence of air or oxygen’’ may be too
                                                                                                    recordkeeping requirements for the
                                            parameter shall be used in the                                                                                restrictive and we have deleted this
                                                                                                    following five data elements:
                                            calculations. For missing CEMS data,                      • Monthly mass of green coke fed to                 phrase from the proposed source
                                            the missing data procedures in subpart                  the coke calcining unit;                              category description at 40 CFR 98.490(a)
                                            C must be used.                                           • Monthly mass of marketable                        in the final rule.
                                               Under the carbon mass balance                        petroleum coke produced by the coke                      Comment: One commenter stated that
                                            method, for each missing value of mass                  calcining unit;                                       coke calciners that use refinery fuel gas
                                            or carbon content of coke, reporters                      • Monthly mass of petroleum coke                    or natural gas during startup or during
                                            must use the average of the data                        dust removed from the process through                 hot standby should be allowed to report
                                            measurements before and after the                       the dust collection system of the coke                emissions from these fuel gases using a
                                            missing data period. If, for a particular               calcining unit;                                       methodology from subpart C of part 98,
                                            parameter, no quality assured data are                    • Average monthly mass fraction                     separately from the coke calciner
                                            available prior to the missing data                     carbon content of green coke fed to the               emissions. The commenter stated that
                                            incident, the substitute data value must                coke calcining unit; and                              where coke calcining and fuel gas
                                            be the first quality-assured value                        • Average monthly mass fraction                     combustion are occurring
                                            obtained after the missing data period.                 carbon content of marketable petroleum                simultaneously, the fuel gas emissions
                                            Similarly, if no quality-assured data are               coke produced by the coke calcining                   should be subtracted from the emissions
                                            available after the missing data incident,              unit.                                                 that are calculated using CEMS and the
                                            the substitute data value must be the                                                                         proposed stack flow methodology to
                                            most recently acquired quality-assured                  2. Summary of Comments and
                                                                                                    Responses on Subpart WW                               avoid double counting. The commenter
                                            value obtained prior to the missing data                                                                      added that the requirements for fuel gas
                                            period.                                                    This section summarizes the major                  or natural gas composition and heat
                                                                                                    comments and responses related to the                 content use in coke calciners should be
                                            f. Data Reporting Requirements                          proposed subpart WW. The EPA                          the same as required in subpart C.
                                              The EPA is finalizing the data                        previously requested comment on the                      Response: We agree with the
                                            reporting requirements of subpart WW                    addition of coke calciners production                 commenter and the issues identified by
                                            as proposed. For coke calcining units,                  source category as a new subpart to part              the commenter were addressed in the
                                            the owner and operator shall report the                 98 in the 2022 Data Quality                           2023 Supplemental Proposal. We are
                                            coke calciner unit ID number and                        Improvements Proposal. The EPA                        finalizing these provisions for treating
                                            maximum rated throughput of the unit,                   received several comments for subpart                 GHG emissions from auxiliary fuel use
                                            the method used to calculate GHG                        WW on the 2022 Data Quality                           as proposed (see 40 CFR 98.493(b)(1)).
                                            emissions, and the calculated CO2, CH4,                 Improvements Proposal; many of these
                                            and N2O annual emissions for each unit,                 comments were previously addressed in                 CC. Subpart XX—Calcium Carbide
                                            expressed in metric tons of each                        the preamble to the 2023 Supplemental                 Production
                                            pollutant emitted. We are also requiring                Proposal, wherein the EPA proposed to                   We are finalizing the addition of
                                            the owner and operator to report the                    add new subpart WW for coke calciners                 subpart XX (Calcium Carbide
                                            annual mass of green coke fed to the                    (see section IV.B. of the preamble to the             Production) to part 98 as proposed.
                                            coke calcining unit, the annual mass of                 2023 Supplemental Proposal). The EPA                  Section III.CC.1. of this preamble
                                            marketable petroleum coke produced by                   received additional comments regarding                discusses the final requirements of
                                            the coke calcining unit, the annual mass                the proposed subpart WW following the                 subpart XX. The EPA received
                                            of petroleum coke dust removed from                     2023 Supplemental Proposal. See the                   comments on the proposed subpart XX
                                            the process through the dust collection                 document ‘‘Summary of Public                          which are discussed in section III.CC.2.
                                            system of the coke calcining unit, the                  Comments and Responses for 2024 Final                 of this preamble. We are also finalizing
                                            annual average mass fraction carbon                     Revisions and Confidentiality                         as proposed related confidentiality
                                            content of green coke fed to the unit,                  Determinations for Data Elements under                determinations for data elements
                                            and the annual average mass fraction                    the Greenhouse Gas Reporting Rule’’ in                resulting from the addition of subpart
                                            carbon content of the marketable                        Docket ID. No. EPA–HQ–OAR–2019–                       XX as described in section VI. of this
                                            petroleum coke produced by the coke                     0424 for a complete listing of all                    preamble.
                                            calcining unit.                                         comments and responses related to
                                                                                                    subpart WW.                                           1. Summary of Final Amendments to
                                            g. Records That Must Be Retained                           Comment: One commenter stated that                 Subpart XX
                                              The EPA is finalizing the record                      the description of coke calciners may be                 This section summarizes the final
                                            retention requirements of subpart WW                    overly narrow. The commenter                          amendments to subpart XX. Major
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                                            as proposed. Facilities are required to                 contended that the language ‘‘in the                  changes to the final rule as compared to
                                            maintain records documenting the                        absence of air or oxygen’’ is not                     the proposed revisions are identified in
                                            procedures used to ensure the accuracy                  necessarily accurate. The commenter                   this section. The rationale for these and
                                            of the measurements of all reported                     stated that air/oxygen is necessary for               any other changes to 40 CFR part 98,
                                            parameters, including but not limited to,               combustion to occur, and that the high                subpart XX can be found in this section
                                            calibration of weighing equipment, flow                 temperatures required for proper                      and section III.CC.2. of this preamble.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00068   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 74 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31869

                                            Additional rationale for these                          CEMS is in place, the CEMS must be                       Carbon balance method. For facilities
                                            amendments is available in the                          used. Otherwise, the facility can elect to            using the carbon mass balance method,
                                            preamble to the 2022 Data Quality                       either install a CEMS or elect to use the             we are requiring the facility to
                                            Improvements Proposal and 2023                          carbon mass balance method.                           determine the annual mass for each
                                            Supplemental Proposal.                                     Direct measurement using CEMS.                     material used for the calculations of
                                                                                                    Facilities with an existing CEMS that                 annual process CO2 emissions by
                                            a. Source Category Definition
                                                                                                    meet the requirements outlined in                     summing the monthly mass for the
                                               The EPA is finalizing the source                     subpart C of part 98 (General Stationary              material determined for each month of
                                            category definition as proposed. We are                 Fuel Combustion) are required to use                  the calendar year. The monthly mass
                                            defining calcium carbide production to                  CEMS to estimate combined process and                 may be determined using plant
                                            include any process that produces                       combustion CO2 emissions. Facilities                  instruments used for accounting
                                            calcium carbide. Calcium carbide is an                  are required to follow the requirements               purposes, including either direct
                                            industrial chemical manufactured from                   of subpart C to estimate all CO2                      measurement of the quantity of the
                                            lime (CaO) and carbon, usually                          emissions from the industrial source.                 material placed in the unit or by
                                            petroleum coke, by heating the mixture                  Facilities will be required to follow                 calculations using process operating
                                            to 2,000 to 2,100 C (3,632 to 3,812 °F) in              subpart C to estimate emissions of CO2,               information.
                                            an electric arc furnace. During the                     CH4, and N2O from stationary                             For the carbon content of the
                                            production of calcium carbide, the use                  combustion.                                           materials used to calculate process CO2
                                            of carbon-containing raw materials                         Carbon balance method. For facilities              emissions, we are finalizing a
                                            (petroleum coke) results in emissions of                that do not have CEMS that meet the                   requirement that the owner or operator
                                            CO2.                                                    requirements of 40 CFR part 98 subpart                determine the carbon content using
                                               Although we considered accounting                                                                          material supplier information or collect
                                                                                                    C, the alternate monitoring method is
                                            for emissions from the production of                                                                          and analyze at least three representative
                                                                                                    the carbon balance method. For any
                                            acetylene at calcium carbide facilities in                                                                    samples of the material inputs and
                                                                                                    stationary combustion units included at
                                            the 2022 Data Quality Improvements                                                                            outputs each year. The final rule will
                                                                                                    the facility, facilities will be required to
                                            Proposal, we ultimately determined that                                                                       require the carbon content be analyzed
                                                                                                    follow the existing requirements at 40
                                            acetylene is not produced at the one                                                                          at least annually using standard ASTM
                                                                                                    CFR part 98, subpart C to estimate
                                            known plant that produces calcium                                                                             methods, including their QA/QC
                                                                                                    emissions of CO2, CH4, and N2O from
                                            carbide. For this reason, in the 2023                                                                         procedures. To reduce burden, if a
                                                                                                    stationary combustion. Use of facility
                                            Supplemental Proposal we did not                                                                              specific process input or output
                                                                                                    specific information is consistent with
                                            propose, and as such are not taking final                                                                     contributes less than one percent of the
                                                                                                    IPCC Tier 3 methods and is the
                                            action on, inclusion of reporting of CO2                                                                      total mass of carbon into or out of the
                                                                                                    preferred method for estimating
                                            emissions from the production of                                                                              process, the reporter does not have to
                                                                                                    emissions for other GHGRP sectors.
                                            acetylene from calcium carbide under                                                                          determine the monthly mass or annual
                                            subpart XX.                                             d. Monitoring, QA/QC, and Verification                carbon content of that input or output.
                                                                                                    requirements
                                            b. Reporting Threshold                                                                                        e. Procedures for Estimating Missing
                                               In the 2023 Supplemental Proposal,                      The EPA is finalizing the monitoring,              Data
                                            the EPA proposed no threshold for                       QA/QC, and verification requirements                     We are finalizing as proposed the use
                                            reporting under subpart XX. The current                 to subpart XX as proposed. We are                     of substitute data whenever a quality-
                                            estimate of emissions from the single                   finalizing two separate monitoring                    assured value of a parameter is used to
                                            known calcium carbide production                        methods: direct measurement and a                     calculate emissions is unavailable, or
                                            facility in the United States exceeds                   mass balance emission calculation.                    ‘‘missing.’’ If the carbon content
                                            25,000 mtCO2e by a factor of about 1.9.                    Direct measurement using CEMS. For                 analysis of carbon inputs or outputs is
                                            Therefore we are finalizing, as                         facilities where process emissions and/               missing, the substitute data value will
                                            proposed, the calcium carbide source                    or combustion GHG emissions are                       be based on collected and analyzed
                                            category as an ‘‘all-in’’ subpart. For a                contained within a stack or vent,                     representative samples for average
                                            full discussion of the threshold analysis,              facilities can take direct measurement of             carbon contents. If the monthly mass of
                                            please refer to section IV.C. of the                    the GHG concentration in the stack gas                carbon-containing inputs and outputs is
                                            preamble to the 2023 Supplemental                       and the flow rate of the stack gas using              missing, the substitute data value will
                                            Proposal.                                               a CEMS. Under the final rule, if                      be based on the best available estimate
                                                                                                    facilities use an existing CEMS to meet               of the mass of the inputs and outputs
                                            c. Calculation Methods                                  the monitoring requirements, they are                 from all available process data or data
                                               In the 2023 Supplemental Proposal,                   required to use CEMS to estimate CO2                  used for accounting purposes, such as
                                            the EPA reviewed the production                         emissions. Where the CEMS capture all                 purchase records. The likelihood for
                                            processes and available emissions                       combustion- and process-related CO2                   missing process input or output data is
                                            estimation methods for calcium carbide                  emissions, facilities will be required to             low, as businesses closely track their
                                            production including a default emission                 follow the requirements of subpart C to               purchase of production inputs. These
                                            factor methodology, a carbon balance                    estimate emissions.                                   missing data procedures are the same as
                                            methodology (IPCC Tier 3), and direct                      The CEMS method requires both a                    those for the ferroalloy production
                                            measurement using CEMS (see section                     continuous CO2 concentration monitor                  source category, subpart K of part 98,
                                            IV.C.5. of the preamble to the 2023                     and a continuous volumetric flow                      under which the existing U.S. calcium
                                            Supplemental Proposal). We                              monitor. To qualify as a CEMS, the                    carbide production facility currently
lotter on DSK11XQN23PROD with RULES2




                                            subsequently proposed and are                           monitors are required to be installed,                reports.
                                            finalizing two different methods for                    operated, and calibrated according to
                                            quantifying GHG emissions from                          subpart C of part 98 (40 CFR                          f. Data Reporting Requirements
                                            calcium carbide manufacturing,                          98.33(a)(4)), which is consistent with                   The EPA is finalizing, as proposed,
                                            depending on current emissions                          CEMS requirements in other GHGRP                      that each carbon carbide production
                                            monitoring at the facility. If a qualified              subparts.                                             facility report the annual CO2 emissions


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00069   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 75 of 164
                                            31870              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            from each calcium carbide production                    are made, including measurements of                   1. Summary of Final Amendments to
                                            process, as well as any stationary fuel                 quantities of materials used or produced              Subpart YY
                                            combustion emissions. In addition, we                   and the carbon content of process input                 This section summarizes the
                                            are finalizing requirements for facilities              and output materials. The procedures                  substantive final amendments to subpart
                                            to provide additional information that                  for ensuring accuracy of measurement                  YY. Major changes to the final rule as
                                            forms the basis of the emissions                        methods, including calibration, must be               compared to the proposed revisions are
                                            estimates, along with supplemental                      recorded.                                             identified in this section. The rationale
                                            data, so that we can understand and                                                                           for these and any other changes to 40
                                            verify the reported emissions. All                        The final rule also requires the
                                                                                                    retention of a record of the file                     CFR part 98, subpart YY can be found
                                            calcium carbide production facilities                                                                         in this section. Additional rationale for
                                            will be required to report their annual                 generated by the verification software
                                                                                                    specified in 40 CFR 98.5(b) including:                these amendments is available in the
                                            production and production capacity,
                                                                                                                                                          preamble to the 2022 Data Quality
                                            total number of calcium carbide                           • Carbon content (percent by weight
                                                                                                                                                          Improvements Proposal and 2023
                                            production process units, annual                        expressed as a decimal fraction) of the               Supplemental Proposal.
                                            consumption of petroleum coke, each                     reducing agent (petroleum coke), carbon
                                            end use of any calcium carbide                          electrode, product produced, and                      a. Source Category Definition
                                            produced and sent off site, and, if the                 nonproduct outgoing materials; and                       In the 2023 Supplemental Proposal,
                                            facility produces acetylene, the annual
                                                                                                      • Annual mass (tons) of the reducing                the EPA proposed that the caprolactam,
                                            production of acetylene, the quantity of                                                                      glyoxal, or glyoxylic acid source
                                            calcium carbide used for acetylene                      agent (petroleum coke), carbon
                                                                                                    electrode, product produced, and                      category, as defined under subpart YY,
                                            production at the facility, and the end                                                                       would include any facility that
                                            use of the acetylene produced on-site.                  nonproduct outgoing materials.
                                                                                                                                                          produces caprolactam, glyoxal, or
                                            The EPA is also finalizing reporting the                2. Summary of Comments and                            glyoxylic acid.
                                            end use of calcium carbide sent off site,               Responses on Subpart XX                                  Caprolactam is a crystalline solid
                                            as well as acetylene production
                                                                                                                                                          organic compound with a wide variety
                                            information for current or future                         The EPA previously requested
                                                                                                                                                          of uses, including brush bristles, textile
                                            calcium carbide production facilities, to               comment on the addition of a calcium                  stiffeners, film coatings, synthetic
                                            inform future Agency policy under the                   carbide source category as a new                      leather, plastics, plasticizers, paint
                                            CAA.                                                    subpart to part 98 in the 2022 Data
                                               As proposed, we are finalizing                                                                             vehicles, cross-linking for
                                                                                                    Quality Improvements Proposal. The                    polyurethanes, and in the synthesis of
                                            requirements that if a facility uses                    EPA received one comment objecting to
                                            CEMS to measure their CO2 emissions,                                                                          lysine. Caprolactam is primarily used in
                                                                                                    the addition of the proposed source                   the manufacture of synthetic fibers,
                                            they will be required to also report the                category and one comment on the
                                            identification number of each process                                                                         especially Nylon 6.
                                                                                                    potential calculation methodology.                       Glyoxal is a solid organic compound
                                            unit; the EPA is clarifying in the final                Subsequently, the EPA responded to the
                                            rule that if a facility uses CEMS,                                                                            with a wide variety of uses, including as
                                                                                                    comments and proposed to add new                      a crosslinking agent in various polymers
                                            emissions are reported from each CEMS
                                                                                                    subpart XX for calcium carbide (see                   for paper coatings, textile finishes,
                                            monitoring location. If a CEMS is not
                                            used to measure CO2 emissions, the                      section IV.C. of the preamble to the 2023             adhesives, leather tanning, cosmetics,
                                            facility will also report the method used               Supplemental Proposal). The EPA                       and oil-drilling fluids; as a sulfur
                                            to determine the carbon content of each                 received no comments regarding                        scavenger in natural gas sweetening
                                            material for each process unit, how                     proposed subpart XX following the 2023                processes; as a biocide in water
                                            missing data were determined, and the                   Supplemental Proposal. See the                        treatment; to improve moisture
                                            number of months missing data                           document ‘‘Summary of Public                          resistance in wood treatment; and as a
                                            procedures were used.                                   Comments and Responses for 2024 Final                 chemical intermediate in the production
                                                                                                    Revisions and Confidentiality                         of pharmaceuticals, dyestuffs, glyoxylic
                                            g. Records That Must Be Retained                        Determinations for Data Elements under                acid, and other chemicals. It is also used
                                               The EPA is finalizing as proposed the                the Greenhouse Gas Reporting Rule’’ in                as a less toxic substitute for
                                            requirement that facilities maintain                    Docket ID. No. EPA–HQ–OAR–2019–                       formaldehyde in some applications (e.g.,
                                            records of information used to                          0424 for a complete listing of all                    in wood adhesives and embalming
                                            determine the reported GHG emissions,                   comments and responses related to                     fluids).
                                            to allow us to verify that GHG emissions                subpart XX.                                              Glyoxylic acid is a solid organic
                                            monitoring and calculations were done                                                                         compound exclusively produced by the
                                            correctly. If a facility uses a CEMS to                 DD. Subpart YY—Caprolactam,                           oxidation of glyoxal with nitric acid. It
                                            measure their CO2 emissions, they will                  Glyoxal, and Glyoxylic Acid Production                is used mainly in the synthesis of
                                            be required to record the monthly                                                                             vanillin, allantoin, and several
                                            calcium carbide production from each                       We are finalizing the addition of                  antibiotics like amoxicillin, ampicillin,
                                            process unit and the number of monthly                  subpart YY (Caprolactam, Glyoxal, and                 and the fungicide azoxystrobin.
                                            and annual operating hours for each                     Glyoxylic Acid Production) to part 98                    We are finalizing the source category
                                            process unit. If a CEMS is not used, the                with revisions in some cases. Section                 definition to include any facility that
                                            facility will be required to retain records             III.DD.1. of this preamble discusses the              produces caprolactam, glyoxal, or
                                            of monthly production, monthly and                      final requirements of subpart YY. Major               glyoxylic acid as proposed. The source
                                            annual operating hours, monthly                         comments, as applicable, are addressed                category will exclude the production of
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                                            quantities of each material consumed or                 in section III.DD.2. of this preamble. We             glyoxal through the LaPorte process
                                            produced, and carbon content                            are also finalizing as proposed related               (i.e., the gas-phase catalytic oxidation of
                                            determinations.                                         confidentiality determinations for data               ethylene glycol with air in the presence
                                               As proposed, we are finalizing                       elements resulting from the revisions to              of a silver or copper catalyst). As
                                            requirements that the owner or operator                 subpart YY as described in section VI.                explained in the 2023 Supplemental
                                            maintain records of how measurements                    of this preamble.                                     Proposal, the LaPorte process does not


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00070   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 76 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31871

                                            emit N2O and there are no methods for                   N2O control technologies. The volume                  through sales records or by direct
                                            estimating CO2 in available literature.                 or mass of each product is measured                   measurement using flow meters or
                                                                                                    with a flow meter or weigh scales. The                weigh scales.
                                            b. Reporting Threshold
                                                                                                    process-related N2O emissions are                        For determination of the N2O
                                               In the 2023 Supplemental Proposal,                   estimated by multiplying the generation               destruction efficiency, we are finalizing
                                            the EPA proposed no threshold for                       factor by the production and the                      as proposed the requirement that
                                            reporting under subpart YY (i.e., that                  destruction efficiency of any N2O                     reporters estimate the destruction
                                            subpart YY would be an ‘‘all-in’’                       control technology. The EPA is revising               efficiency for each N2O abatement
                                            reporting subpart). The EPA noted that                  the final rule to adjust the N2O                      technology. The destruction efficiency
                                            the total process emissions from current                generation factors (proposed in table 1               can be determined by using the
                                            production of caprolactam, glyoxal, and                 to subpart YY) for glyoxal and glyoxylic              manufacturer’s specific destruction
                                            glyoxylic acid are estimated at 1.2                     acid production to correctly reflect the              efficiency or estimating the destruction
                                            million mtCO2e, largely from two                        conversion of the IPCC default emission               efficiency through process knowledge.
                                            known caprolactam production                            factors, which were intended to be                    Documentation of how process
                                            facilities; although the known universe                 converted from metric tons N2O emitted                knowledge was used to estimate the
                                            of facilities that produce caprolactam,                 per metric ton of product produced to                 destruction efficiency is required.
                                            glyoxal, and glyoxylic acid in the                      kg N2O per metric ton of product                      Examples of information that could
                                            United States is four to six total                      produced using a conversion factor of                 constitute process knowledge include
                                            facilities. We proposed that adding                     1,000 kg per metric ton. The final rule               calculations based on material balances,
                                            caprolactam, glyoxal, and glyoxylic acid                corrects the generation factor for glyoxal            process stoichiometry, or previous test
                                            production as an ‘‘all-in’’ subpart (i.e.,              from 5,200 to 520 and, for glyoxylic                  results provided that the results are still
                                            regardless of the facility emissions                    acid, from 1,000 to 100. The EPA is                   relevant to the current vent stream
                                            profile) is a conservative approach to                  finalizing a minor clarification to                   conditions.
                                            gather information from as many                         equation 1 to 40 CFR 98.513(d)(2)
                                            facilities that produce caprolactam,                                                                             For the caprolactam, glyoxal, and
                                                                                                    (proposed as equation YY–1) to re-order               glyoxylic acid production subpart, we
                                            glyoxal, and glyoxylic acid as possible,                the defined parameters of the equation
                                            especially if production of glyoxal and                                                                       are requiring reporters to perform all
                                                                                                    to follow their order of appearance in
                                            glyoxylic acid increase in the near                                                                           applicable flow meter calibration and
                                                                                                    the equation. The EPA is also finalizing
                                            future. The EPA is finalizing these                                                                           accuracy requirements and maintain
                                                                                                    an additional equation (equation 3 to 40
                                            requirements as proposed.                                                                                     documentation as specified in 40 CFR
                                                                                                    CFR 98.513(f)) from the proposed rule,
                                                                                                                                                          98.3(i).
                                            c. Calculation Methods                                  which sums the monthly process
                                                                                                    emissions estimated by equation 2 to 40               e. Procedures for Estimating Missing
                                               In the 2023 Supplemental Proposal,                   CFR 98.513(e) (proposed as equation                   Data
                                            the EPA reviewed the production                         YY–2) to an annual value. This
                                            processes and available emissions                                                                                For caprolactam, glyoxal, and
                                                                                                    additional equation clarifies the
                                            estimation methods for caprolactam,                                                                           glyoxylic acid production, the EPA is
                                                                                                    methodology for reporting annual
                                            glyoxal, and glyoxylic acid production                  emissions and does not require the                    finalizing as proposed the requirement
                                            and proposed that only N2O emissions                    collection of any additional data.                    that substitute data for each missing
                                            would be estimated from these                              For any stationary combustion units                production value is the best available
                                            processes. The EPA also proposed to                     included at the facility, we proposed                 estimate based on all available process
                                            require the reporting of combustion                     that facilities would be required to                  data or data used for accounting
                                            emissions from facilities that produce                  follow the existing requirements in 40                purposes (such as sales records). For the
                                            caprolactam, glyoxal, and glyoxylic                     CFR part 98, subpart C to calculate                   control device destruction efficiency,
                                            acid, including CO2, CH4, and N2O.                      emissions of CO2, CH4 and N2O from                    assuming that the control device
                                               The EPA reviewed two methods from                    stationary combustion. We are finalizing              operation is generally consistent from
                                            the 2006 IPCC Guidelines,43 including                   the combustion calculation                            year to year, the substitute data value
                                            the Tier 2 and Tier 3 methodologies, for                requirements as proposed.                             should be the most recent quality
                                            calculating N2O emissions from the                                                                            assured value.
                                            production of caprolactam, glyoxal, and                 d. Monitoring, QA/QC, and Verification
                                                                                                    Requirements                                          f. Data Reporting Requirements
                                            glyoxylic acid, and subsequently
                                            proposed the IPCC Tier 2 approach to                       Monitoring is required to comply with                 The EPA is finalizing, as proposed,
                                            quantify N2O process emissions. We are                  the N2O calculation methodologies for                 that facilities must report annual N2O
                                            finalizing the N2O calculation                          reporters that produce caprolactam,                   emissions (in metric tons) from each
                                            requirements as proposed, with minor                    glyoxal, and glyoxylic acid. In the 2023              production line. In addition, facilities
                                            revisions. Following the Tier 2 approach                Supplemental Proposal, the EPA                        must submit the following data to
                                            established by the IPCC, reporters will                 proposed that reporters that produce                  facilitate understanding of the emissions
                                            apply default N2O generation factors on                 caprolactam, glyoxal, and glyoxylic acid              data and verify the reasonableness of the
                                            a site-specific basis. This requires raw                are to determine the monthly and                      reported emissions: number of process
                                            material input to be known in addition                  annual production quantities of each                  lines; annual production capacity;
                                            to a standard N2O generation factor,                    chemical and to determine the N2O                     annual production; number of operating
                                            which differs for each of the three                     destruction efficiency of any N2O                     hours in the calendar year for each
                                            chemicals. In addition, Tier 2 requires                 abatement technologies in use. The EPA                process line; abatement technology used
                                            site-specific knowledge of the use of                   is finalizing as proposed the                         and installation dates (if applicable);
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                                                                                                    requirement for reporters to either                   abatement utilization factor for each
                                              43 IPCC 2006. IPCC Guidelines for National            perform direct measurement of                         process line; number of times in the
                                            Greenhouse Gas Inventories, Volume 3, Industrial        production quantities or to use existing              reporting year that missing data
                                            Processes and Product Use. Chapter 3, Chemical
                                            Industry Emissions. 2006. www.ipcc-
                                                                                                    plant procedures to determine                         procedures were followed to measure
                                            nggip.iges.or.jp/public/2006gl/pdf/3_Volume3/V3_        production quantities. E.g., the                      production quantities of caprolactam,
                                            3_Ch3_Chemical_Industry.pdf.                            production rate can be determined                     glyoxal, or glyoxylic acid (months); and


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00071   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 77 of 164
                                            31872              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            overall percent N2O reduction for each                  preamble to the 2023 Supplemental                     to subpart U in the 2009 Final Rule
                                            chemical for all process lines.                         Proposal). The EPA received no                        based on comments received on the
                                                                                                    comments regarding proposed subpart                   April 10, 2009 proposed rule (74 FR
                                            g. Records That Must Be Retained
                                                                                                    YY following the 2023 Supplemental                    16448), where commenters requested a
                                               The EPA is finalizing as proposed the                Proposal.                                             carbonate use threshold of 2,000 tons in
                                            requirement that facilities maintain                                                                          order to exempt small operations and
                                            records documenting the procedures                      EE. Subpart ZZ—Ceramics
                                                                                                                                                          activities which use carbonates in trace
                                            used to ensure the accuracy of the                      Manufacturing
                                                                                                                                                          quantities. The proposed source
                                            measurements of all reported                               We are finalizing the addition of                  category definition for ceramics
                                            parameters, including but not limited to,               subpart ZZ of part 98 (Ceramics                       manufacturing in the 2023
                                            calibration of weighing equipment, flow                 Manufacturing) with revisions in some                 Supplemental Proposal established a
                                            meters, and other measurement devices.                  cases. Section III.EE.1. of this preamble             minimum production level as a means
                                            The estimated accuracy of                               discusses the final requirements of                   to exclude and thus reduce the reporting
                                            measurements made with these devices                    subpart ZZ. The EPA received a number                 burden for small artisan-level ceramics
                                            must also be recorded, and the technical                of comments on the proposed subpart                   manufacturing processes. We defined a
                                            basis for these estimates must be                       ZZ which are discussed in section                     ceramics manufacturing process unit as
                                            provided. We are also requiring, as                     III.EE.2. of this preamble. We are also               a kiln, dryer, or oven used to calcine
                                            proposed, that facilities maintain                      finalizing as proposed related                        clay or other carbonate-based materials
                                            records documenting the estimate of                     confidentiality determinations for data               for the production of a ceramics
                                            production rate and abatement                           elements resulting from the addition of               product.
                                            technology destruction efficiency                       subpart ZZ as described in section VI.                   The EPA is finalizing the definition of
                                            through accounting procedures and                       of this preamble.                                     the source category with one change.
                                            process knowledge, respectively.                                                                              We are revising the minimum
                                                                                                    1. Summary of Final Amendments to
                                               Finally, the EPA is also requiring, as                                                                     production level in the definition from
                                                                                                    Subpart ZZ
                                            proposed, the retention of a record of                                                                        ‘‘at least 2,000 tons of carbonates or
                                            the file generated by the verification                     This section summarizes the final                  20,000 tons of clay which is heated to
                                            software specified in 40 CFR 98.5(b)                    amendments to subpart ZZ. Major                       a temperature sufficient to allow the
                                            including:                                              changes to the final rule as compared to              calcination reaction to occur’’ to ‘‘at
                                               • Monthly production quantities of                   the proposed revisions are identified in              least 2,000 tons of carbonates, either as
                                            caprolactam from all process lines;                     this section. The rationale for these and             raw materials or as a constituent in clay,
                                               • Monthly production quantities of                   any other changes to 40 CFR part 98,                  which is heated to a temperature
                                            glyoxal from all process lines; and                     subpart ZZ can be found in section                    sufficient to allow the calcination
                                               • Monthly production quantities of                   III.EE.2. of this preamble. Additional                reaction to occur.’’ These final revisions
                                            glyoxylic acid from all process lines.                  rationale for these amendments is                     focus the production level on the
                                               We are revising the final rule to                    available in the preamble to the 2022                 carbonates contained within the raw
                                            clarify that these monthly production                   Data Quality Improvements Proposal                    material rather than the total tons of
                                            quantities must be supplied in metric                   and 2023 Supplemental Proposal.                       clay; the final revisions will provide a
                                            tons and for each process line.                                                                               more accurate means of assessing
                                            Additionally, we are adding a                           a. Source Category Definition
                                                                                                                                                          applicability. Facilities will be required
                                            requirement that facilities maintain                       In the 2023 Supplemental Proposal,                 to estimate their carbonate usage using
                                            records of the destruction efficiency of                the EPA defined the ceramics                          available records to determine
                                            the N2O abatement technology from                       manufacturing source category as any                  applicability. For example, facilities that
                                            each process line, consistent with                      facility that uses nonmetallic, inorganic             use clay as a raw material input could
                                            requirements of equation 2 to 40 CFR                    materials, many of which are clay-                    calculate whether they meet the
                                            98.513(e). Facilities will enter this                   based, to produce ceramic products                    carbonate use threshold by multiplying
                                            information into EPA’s electronic                       such as bricks and roof tiles, wall and               the amount of clay they consume (and
                                            verification software in order to ensure                floor tiles, table and ornamental ware                heat to calcination) annually by the
                                            proper verification of the reported                     (household ceramics), sanitary ware,                  weight fraction of carbonates contained
                                            emission values. Following electronic                   refractory products, vitrified clay pipes,            in the clay. These final revisions add
                                            verification, facilities will be required to            expanded clay products, inorganic                     two harmonizing edits to 40 CFR
                                            retain a record of the file generated by                bonded abrasives, and technical                       98.523(b)(1) and 98.526(c)(2) to clarify
                                            the verification software specified in 40               ceramics (e.g., aerospace, automotive,                that the carbonate-based raw materials
                                            CFR 98.5(b), therefore, no additional                   electronic, or biomedical applications).              include clay.
                                            burden is anticipated.                                     The EPA also proposed that the
                                                                                                    ceramics source category would apply                  b. Reporting Threshold
                                            2. Summary of Comments and                              to facilities that annually consume at                   In the 2023 Supplemental Proposal,
                                            Responses on Subpart YY                                 least 2,000 tons of carbonates or 20,000              the EPA proposed that facilities must
                                               The EPA previously requested                         tons of clay heated to a temperature                  report under subpart ZZ if they met the
                                            comment on the addition of a                            sufficient to allow the calcination                   definition of the source category and if
                                            caprolactam, glyoxal, and glyoxylic acid                reaction to occur, and operate a                      their estimated combined emissions
                                            production source category as a new                     ceramics manufacturing process unit.                  (including from stationary combustion
                                            subpart to part 98 in the 2022 Data                     The proposed definition of ceramics                   and all applicable source categories)
                                            Quality Improvements Proposal. The                      manufacturers as facilities that use at               exceed a 25,000 mtCO2e threshold. We
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                                            EPA received no comments regarding                      least the minimum quantity of                         are finalizing the threshold as proposed.
                                            the addition of the proposed source                     carbonates or clay (2,000 tons/20,000                 The final definition of ceramics
                                            category. Subsequently, the EPA                         tons) was considered consistent with                  manufacturers as facilities that use at
                                            proposed to add new subpart YY for                      subpart U of part 98 (Miscellaneous                   least the minimum quantity of
                                            caprolactam, glyoxal, and glyoxylic acid                Uses of Carbonate). This minimum                      carbonates (2,000 tons, either as raw
                                            production (see section IV.D. of the                    2,000 tons of carbonate use was added                 materials or as a constituent in clay) and


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00072   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 78 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31873

                                            the 25,000 mtCO2e threshold are both                    carbon content and the mass of                        from the industrial source. The CEMS
                                            expected to ensure that small ceramics                  carbonaceous materials input to the                   method requires both a continuous CO2
                                            manufacturers are excluded. It is                       process must be determined. The                       concentration monitor and a continuous
                                            estimated that over 25 facilities will                  facility must measure the consumption                 volumetric flow monitor. To qualify as
                                            meet the definition of a ceramics                       of specific process inputs and the                    a CEMS, the monitors will be required
                                            manufacturer and the threshold of                       amounts of these materials consumed by                to be installed, operated, and calibrated
                                            25,000 mtCO2e for reporting. For a full                 end-use/product type. Carbon contents                 according to subpart C of part 98 (40
                                            discussion of this analysis, section IV.E.              of materials must be determined                       CFR 98.33(a)(4)), which is consistent
                                            of the preamble to the 2023                             through the analysis of samples of the                with CEMS requirements in other
                                            Supplemental Proposal.                                  material or from information provided                 GHGRP subparts.
                                                                                                    by the material suppliers. Additionally,                 Carbon balance method. We are
                                            c. Calculation Methods                                                                                        finalizing the carbon mass balance
                                                                                                    the quantities of materials consumed
                                               In the 2023 Supplemental Proposal,                   and produced during production must                   method as proposed, with one change.
                                            the EPA reviewed the production                         be measured and recorded. CO2                         The carbon mass balance method
                                            processes and available emissions                       emissions are estimated by multiplying                requires monitoring of mass quantities
                                            estimation methods for ceramics                         the carbon content of each raw material               of carbonate-based raw material (e.g.,
                                            manufacturing and proposed that only                    by the corresponding mass, by a                       clay) fed to the process, establishing the
                                            CO2 emissions would be estimated from                   carbonate emission factor, and by the                 mass fraction of carbonate-based
                                            these processes. The EPA also proposed                  decimal fraction of calcination achieved              minerals in the raw material, and an
                                            to require the reporting of combustion                  for that raw material. We are finalizing              emission factor based on the type of
                                            emissions, including CO2, CH4, and N2O                  the carbonate emission factors provided               carbonate consumed. The mass
                                            from the ceramics manufacturing unit                    in table 1 to subpart ZZ of part 98 as                quantities of carbonate-based raw
                                            and other combustion sources on site.                   proposed. These factors, pulled from                  materials consumed by each ceramics
                                               In the 2023 Supplemental Proposal,                   table N–1 to subpart N of part 98, and                process unit can be determined using
                                            the EPA reviewed the production                         from Table 2.1 of the 2006 IPCC                       direct weight measurement of plant
                                            processes and available emissions                       Guidelines,44 are based on                            instruments or techniques used for
                                            estimation methods for ceramics                         stoichiometric ratios and represent the               accounting purposes, such as calibrated
                                            manufacturing including a basic mass                    weighted average of the emission factors              scales, weigh hoppers, or weigh belt
                                            balance methodology that assumed a                      for each particular carbonate. Emission               feeders. The direct weight measurement
                                            fixed percentage for carbonates                         factors provided by the carbonate                     can then be compared to records of raw
                                            consumed (IPCC Tier 1), a carbon                        vendor for other minerals not listed in               material purchases for the year.
                                            balance methodology (IPCC Tier 3)                       table 1 to subpart ZZ may also be used.                  For the carbon content of the
                                            based on carbon content and the mass                      For any stationary combustion units                 materials used to calculate process CO2
                                            of materials input, and direct                          included at the facility, facilities will be          emissions, the final rule requires that
                                            measurement using CEMS (see section                     required to follow subpart C to estimate              the owner or operator determine the
                                            IV.C.5. of the preamble to the 2023                     emissions of CO2, CH4, and N2O from                   carbon mass fraction either by using
                                            Supplemental Proposal). We are                          stationary combustion. Use of facility                information provided by the raw
                                            finalizing, as proposed, two different                  specific information under the carbon                 material supplier, by collecting and
                                            methods for quantifying GHG emissions                   mass balance method is consistent with                sending representative samples of each
                                            from ceramics manufacturing,                            IPCC Tier 3 methods and is the                        carbonate-based material consumed to
                                            depending on current emissions                          preferred method for estimating                       an off-site laboratory for a chemical
                                            monitoring at the facility. If a qualified              emissions for other GHGRP sectors.                    analysis of the carbonate content
                                            CEMS is in place, the CEMS must be                                                                            (weight fraction), or by choosing to use
                                            used. Otherwise, the facility can elect to              d. Monitoring, QA/QC, and Verification                the default value of 1.0. The use of 1.0
                                            either install a CEMS or elect to use the               Requirements                                          for the mass fraction assumes that the
                                            carbon mass balance method.                               The EPA is finalizing, as proposed,                 carbonate-based raw material comprises
                                               Direct measurement using CEMS.                       two separate monitoring methods: direct               100 percent of one carbonate-based
                                            Facilities with a CEMS that meet the                    measurement and a mass balance                        mineral. We are revising the final rule
                                            requirements in subpart C of part 98                    emission calculation.                                 to also state that where it is determined
                                            (General Stationary Fuel Combustion)                      Direct measurement using CEMS. We                   that the mass fraction of a carbonate-
                                            will be required to use CEMS to                         are finalizing the CEMS monitoring                    based raw material is below the
                                            estimate the combined process and                       requirements as proposed. In the case of              detection limit of available testing
                                            combustion CO2 emissions. The CEMS                      ceramics manufacturing, process and                   standards, the facility must assume a
                                            measures CO2 concentration and total                    combustion GHG emissions from                         default of 0.005 for that material.
                                            exhaust gas flow rate for the combined                  ceramics process units are typically                     We are revising the final rule to allow
                                            process and combustion source                           emitted from the same stack. If facilities            facilities that determine the carbonate-
                                            emissions. CO2 mass emissions will be                   use an existing CEMS to meet the                      based mineral mass fractions of a
                                            calculated from these measured values                   monitoring requirements, they will be                 carbonate-based material to use
                                            using equation C–6 and, if necessary,                   required to use CEMS to estimate CO2                  additional sampling and chemical
                                            equation C–7 in 40 CFR 98.33(a)(4). The                 emissions. Where the CEMS capture all                 analysis methods to provide additional
                                            combined process and combustion CO2                     combustion- and process-related CO2                   flexibility for facilities. Specifically, we
                                            emissions will be calculated according                  emissions, facilities will be required to             are revising 40 CFR 98.524(b) from
                                            to the Tier 4 Calculation Methodology                   follow the requirements of subpart C of               requiring sampling and chemical
lotter on DSK11XQN23PROD with RULES2




                                            specified in 40 CFR 98.33(a)(4).                        part 98 to estimate all CO2 emissions                 analysis using consensus standards that
                                            Facilities will be required to use subpart                                                                    specify x-ray fluorescence to requiring
                                                                                                      44 IPCC Guidelines for National Greenhouse Gas
                                            C to estimate emissions of CO2, CH4,                                                                          that facilities use an ‘‘x-ray fluorescence
                                                                                                    Inventories, Volume 3, Industrial Processes and
                                            and N2O from stationary combustion.                     Product Use, Mineral Industry Emissions. 2006.
                                                                                                                                                          test, x-ray diffraction test, or other
                                               Carbon balance method. For facilities                https://www.ipcc-nggip.iges.or.jp/public/2006gl/      enhanced testing method published by
                                            using carbon mass balance method, the                   pdf/3_Volume3/V3_2_Ch2_Mineral_Industry.pdf.          an industry consensus standards


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00073   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 79 of 164
                                            31874              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            organization’’ (e.g., ASTM, American                    based mineral. Missing data procedures                material charged to each ceramics
                                            Society of Mechanical Engineers                         will be applicable for CEMS                           process unit.
                                            (ASME), American Petroleum Institute                    measurements, mass measurements of                       For facilities that use the carbon
                                            (API)). The final rule requires the carbon              raw material, and carbon content                      balance procedure, the final rule
                                            content be analyzed at least annually to                measurements.                                         requires facilities to also maintain
                                            verify the mass fraction data provided                                                                        monthly records of the carbonate-based
                                            by the supplier of the raw material.                    f. Data Reporting Requirements                        mineral mass fraction for each mineral
                                              For the ceramics manufacturing                           The EPA is finalizing the data                     in each carbonate-based raw material.
                                            source category, we are finalizing the                  reporting requirements for subpart ZZ as              Additionally, facilities that use the
                                            QA/QC requirements as proposed.                         proposed, with one minor revision.                    carbon balance procedure will be
                                            Reporters must calibrate all meters or                  Each ceramics manufacturing facility                  required to maintain (1) records of the
                                            monitors and maintain documentation                     must report the annual CO2 process                    supplier-provided mineral mass
                                            of this calibration as documented in                    emissions from each ceramics                          fractions for all raw materials consumed
                                            subpart A of part 98 (General                           manufacturing process, as well as any                 annually; (2) results of all analyses used
                                            Provisions). These meters or monitors                   stationary fuel combustion emissions. In              to verify the mineral mass fraction for
                                            should be calibrated prior to the first                 addition, facilities must report                      each raw material (including the mass
                                            reporting year, using a suitable method                 additional information that forms the                 fraction of each sample, the date of test,
                                            published by a consensus standards                      basis of the emissions estimates so that              test methods and method variations,
                                            organization, and will be required to be                we can understand and verify the                      equipment calibration data, and
                                            recalibrated either annually or at the                  reported emissions. For ceramic                       identifying information for the
                                            minimum frequency specified by the                      manufacturers, the additional                         laboratory conducting the test); and (3)
                                            manufacturer. In addition, any flow rate                information will include: the total                   annual operating hours for each unit. If
                                            monitors used for direct measurement                    number of ceramics process units at the               facilities use the CEMS procedure, they
                                            will be required to comply with QA/QC                   facility and the total number of units                are required to maintain the CEMS
                                            procedures for daily calibration drift                  operating; annual production of each                  measurement records.
                                            checks and quarterly or annual accuracy                 ceramics product for each process unit                   Procedures for ensuring accuracy of
                                            assessments, such as those provided in                  and for all ceramics process units                    measurement methods, including
                                            Appendix F to part 60 or similar QA/QC                  combined; the annual production                       calibration, must be recorded. The final
                                            procedures. We are finalizing these                     capacity of each ceramics process unit;               rule requires records of how
                                            requirements to ensure the quality of the                                                                     measurements are made, including
                                                                                                    and the annual quantity of carbonate-
                                            reported GHG emissions and to be                                                                              measurements of quantities of materials
                                                                                                    based raw material charged to each
                                            consistent with the current                                                                                   used or produced and the carbon
                                                                                                    ceramics process unit and for all
                                            requirements for CEMS measurements                                                                            content of minerals in raw materials.
                                                                                                    ceramics process units combined. The
                                            within subparts A (General Provisions)                                                                           Finally, the final rule requires the
                                                                                                    EPA has revised the final rule to clarify
                                            and C of the GHGRP. For measurements                                                                          retention of a record of the file
                                                                                                    at 40 CFR 98.526(c) that facilities that
                                            of carbonate content, reporters will                                                                          generated by the verification software
                                                                                                    use the carbon balance method must
                                            assess representativeness of the                                                                              specified in 40 CFR 98.5(b) including:
                                                                                                    also report the annual quantity of each
                                            carbonate content received from                                                                                  • Annual average decimal mass
                                                                                                    carbonate-based raw material (including
                                            suppliers with laboratory analysis.                                                                           fraction of each carbonate-based mineral
                                                                                                    clay) charged to each ceramics process
                                                                                                                                                          per carbonate-based raw material for
                                            e. Procedures for Estimating Missing                    unit. This change is consistent with the
                                                                                                                                                          each ceramics process unit (percent by
                                            Data                                                    requirements the EPA proposed for
                                                                                                                                                          weight expressed as a decimal fraction);
                                               We are finalizing the procedures for                 facilities conducting direct                             • Annual mass of each carbonate-
                                            estimation of missing data as proposed.                 measurement using CEMS, and is not                    based raw material charged to each
                                            The final rule requires the use of                      anticipated to substantively impact the               ceramics process unit (tons); and
                                            substitute data whenever a quality-                     burden to reporters as proposed. For                     • The decimal fraction of calcination
                                            assured value of a parameter that is used               ceramic manufacturers with non-CEMS                   achieved for each carbonate-based raw
                                            to calculate emissions is unavailable, or               units, the finalized rules will also                  material for each ceramics process unit
                                            ‘‘missing.’’ For example, if the CEMS                   require reporting of the following                    (percent by weight expressed as a
                                            malfunctions during unit operation, the                 information: the method used for the                  decimal fraction).
                                            substitute data value would be the                      determination for each carbon-based
                                            average of the quality-assured values of                mineral in each raw material; applicable              2. Summary of Comments and
                                            the parameter immediately before and                    test results used to verify the carbonate             Responses on Subpart ZZ
                                            immediately after the missing data                      based mineral mass fraction for each                     This section summarizes the major
                                            period. For missing data on the amounts                 carbonate-based raw material charged to               comments and responses related to the
                                            of carbonate-based raw materials                        a ceramics process unit, including the                proposed subpart ZZ. The EPA
                                            consumed, we are finalizing that                        date of test and test methods used; and               previously requested comment on the
                                            reporters must use the best available                   the number of times in the reporting                  addition of ceramics manufacturing
                                            estimate based on all available process                 year that missing data procedures were                sources category as a new subpart to
                                            data or data used for accounting                        used.                                                 part 98 in the 2022 Data Quality
                                            purposes, such as purchase records. For                 g. Records That Must Be Retained                      Improvements Proposal. The EPA
                                            missing data on the mass fractions of                                                                         received some comments for subpart ZZ
                                            carbonate-based minerals in the                           The EPA is finalizing the record                    on the 2022 Data Quality Improvements
lotter on DSK11XQN23PROD with RULES2




                                            carbonate-based raw materials, reporters                retention requirements of subpart ZZ as               Proposal; the majority of these
                                            will assume that the mass fraction of                   proposed. All facilities are required to              comments were previously addressed in
                                            each carbonate-based mineral is 1.0. The                maintain monthly records of the                       the preamble to the 2023 Supplemental
                                            use of 1.0 for the mass fraction assumes                ceramics manufacturing rate for each                  Proposal, wherein the EPA proposed to
                                            that the carbonate-based raw material                   ceramics process unit and the monthly                 add new subpart ZZ for ceramics
                                            comprises 100 percent of one carbonate-                 amount of each carbonate-based raw                    manufacturing (see section III.E. of the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00074   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024               Page 80 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                               31875

                                            preamble to the 2023 Supplemental                       estimated that based on this                          emissions changes for the ceramics
                                            Proposal). The EPA received additional                  determination, the inclusion of                       industry in the GHG Inventory and
                                            comments regarding the proposed                         carbonate process emissions would only                other EPA analyses. Further, including
                                            subpart ZZ following the 2023                           increase reported emissions from a                    brick manufacturing in the ceramics
                                            Supplemental Proposal. See the                          facility by about 2.10 percent, and few,              source category is consistent with the
                                            document ‘‘Summary of Public                            if any, additional sites not already                  2006 IPCC Guidelines for National
                                            Comments and Responses for 2024 Final                   reporting exceeding the 25,000 mtCO2e                 Greenhouse Gas Inventories.45 While
                                            Revisions and Confidentiality                           reporting threshold would be required                 the commenter asserts that brick
                                            Determinations for Data Elements under                  to report. The commenter added that                   manufacturing is a small percentage of
                                            the Greenhouse Gas Reporting Rule’’ in                  even if facilities do not meet the                    the total national GHG emissions, the
                                            Docket ID. No. EPA–HQ–OAR–2019–                         threshold, the added requirements                     ceramics subpart would cover more
                                            0424 for a complete listing of all                      would impose on all sites additional                  industries than just brick manufacturing
                                            comments and responses related to                       testing and measurement requirements                  and is anticipated to cover emissions
                                            subpart ZZ.                                             to determine if they exceed the                       comparable to other existing subparts.
                                               Comments: One commenter objected                     reporting threshold. The commenter                    We have included both an emissions
                                            to the EPA’s inclusion of the brick                     stated that the associated costs do not               threshold and a carbonate use threshold
                                            manufacturing industry in proposed                      justify the requirements.                             in order to exempt small facilities or
                                            subpart ZZ. The commenter asserted                         The commenter stated that a limited                those with minor emissions.
                                            that GHG emissions from the brick                       number of brickmaking sites add small                    Rather than exempting the brick
                                            industry represent only about 0.027                     amounts of carbonates to some of their                industry from the ceramics subpart
                                            percent of U.S. anthropogenic                           products for various reasons. The                     entirely, we have taken the commenter’s
                                            emissions, stating that any relative                    commenter explained that some                         concerns into account and are
                                            improvement in accuracy of emissions                    manufacturers add barium carbonate to                 modifying the definition of the source
                                            would not change the fact that GHG                      the brick body mix to prevent soluble                 category such that the subpart ‘‘would
                                            emissions from brick manufacturing are                  salts from forming on the final product.              apply to facilities that annually
                                            a very small fraction of the national                   In such cases, the commenter noted that               consume at least 2,000 tons of
                                            total.                                                  barium carbonate is added typically in                carbonates, either as raw materials or as
                                               The commenter provided a number of                   the range of 0.05 to 0.1 percent. The                 a constituent in clay . . .’’. This is in
                                            reasons to exclude brick manufacturing                  commenter also stated that sodium                     contrast to the original proposed
                                            from subpart ZZ. First, the commenter                   carbonate (added in the range of 0.5                  definition which included the phrase
                                            contested the EPA’s assumption that all                 percent) is sometimes used to improve                 ‘‘or 20,000 tons of clay.’’ This revised
                                            ceramics manufacturing use materials                    the uptake of water during the brick                  carbonate use threshold will exclude
                                            with significant carbonate content. The                 forming process. The commenter                        and thus avoid the reporting burden for
                                            commenter stated that the materials                     asserted that in such cases, if the                   facilities that use low annual quantities
                                            used for the production of brick are low                additional usages of carbonates are                   of carbonates, such as brick
                                            carbonate clay and shale materials that                 significant, they already would be                    manufacturers that use low-carbonate
                                            should not be characterized as                          reported under subpart U.                             clay. Facilities could estimate their
                                            ‘‘carbonate-based materials,’’ and that                    The commenter noted that the EPA’s                 carbonate usage to determine their
                                            the various processes used to prepare                   existing methods for estimating GHG                   applicability for whether they meet this
                                            raw materials and to form and fire brick                emissions from the brick manufacturing                carbonate use threshold by multiplying
                                            are such that higher carbonate materials                industry are good enough to adequately
                                                                                                                                                          the annual amount of clay consumed as
                                            cannot be used. The commenter added                     inform the Agency’s policy/regulatory
                                                                                                                                                          a raw material (and heated to
                                            that high carbonate materials can result                decision making and to satisfy the EPA’s
                                                                                                                                                          calcination) by the weight fraction of
                                            in durability problems of the brick,                    desire and obligation to maintain an
                                                                                                                                                          carbonates contained in the clay.
                                            ranging from cosmetic ‘‘lime pops’’ to                  accurate national GHG emissions                          Comment: One commenter objected to
                                            scenarios where the brick can actually                  inventory. The commenter suggested                    the proposed measurement protocols of
                                            fail in service. The commenter further                  that the EPA could, in lieu of annual                 subpart ZZ and indicated that the
                                            stated that the majority production of                  reporting, issue a one-time information
                                                                                                                                                          methods are infeasible for brick
                                            brick in the United States is red bodied                collection request.
                                                                                                                                                          manufacturing materials. The
                                            brick, and therefore the use of                            Response: The EPA has considered
                                                                                                    the information provided by the                       commenter stated that the proposal cites
                                            carbonates including limestone are
                                                                                                    commenter and is finalizing the                       ‘‘suitable chemical analysis methods
                                            undesirable, due to bleaching of the red
                                                                                                    addition of the ceramics category to                  include using an x-ray fluorescence
                                            color during firing.
                                               The commenter explained that the                     include the brick industry. Consistent                standard method.’’ The commenter
                                            EPA’s proposal assumes a carbonate                      with the other source categories of 40                asserted that the use of x-ray
                                            content of 10–15 percent, whereas                       CFR part 98, requiring annual reporting               fluorescence requires a minimum of at
                                            tested averages for brick making                        of data for ceramics facilities is                    least 2.0 percent of any single carbonate
                                            materials average 0.58 percent. The                     preferred to a one-time information                   material to speciate and determine an
                                            commenter provided a table of                           collection request. The collection of                 amount, which is higher than the total
                                            carbonate brick values based on testing                 annual data will help the EPA to                      of all carbonates in brick making
                                            from the NBRC (National Brick Research                  understand changes in industry                        material, which the commenter
                                            Center at Clemson University). The                      emissions and trends over time. The                     45 IPCC Guidelines for National Greenhouse Gas
                                            commenter stated that, as such, the                     snapshot of information provided by a
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                                                                                                                                                          Inventories, Volume 3, Industrial Processes and
                                            actual brick making carbonate                           one-time information collection request               Product Use, Mineral Industry Emissions. 2006.
                                            percentages are only about 3.8–5.8                      would not provide the type of ongoing                 Prepared by the National Greenhouse Gas
                                            percent (0.58 percent divided by 10                     information which could inform                        Inventories Programme, Eggleston H.S., Buendia L.,
                                                                                                                                                          Miwa K., Ngara T. and Tanabe K. (eds). Published:
                                            percent and 15 percent, respectively) of                potential legislation or EPA policy.                  IGES, Japan. www.ipcc-nggip.iges.or.jp/public/
                                            the carbonate material percentages in                   Collecting annual data also allows us to              2006gl/pdf/3_Volume3/V3_2_Ch2_Mineral_
                                            the proposed rule. The commenter                        incorporate accurate time-series                      Industry.pdf.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00075   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 81 of 164
                                            31876              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            provided as 0.58 percent based on                       on a unit-by-unit basis instead of facility           subsequent years (i.e., starting with
                                            testing.                                                wide reporting would impose                           reports submitted for RY2024 on or
                                               The commenter stated that for brick                  unnecessary burdens on the brick                      before March 31, 2025). The revisions to
                                            manufacturing, an alternate                             industry. The commenter asserted that                 GWPs do not affect the data collection,
                                            measurement of total carbonates such as                 most activities (natural gas billing, clay            monitoring, or calculation
                                            ASTM E1915 Standard Test Methods for                    hauling deliveries, material preparation              methodologies used by these existing
                                            Analysis of Metal Bearing Ores and                      logs, etc.) are done on a per-site basis.             reporters. All other final revisions,
                                            Related Materials for Carbon, Sulfur,                   The commenter added that there is no                  which apply to both existing and new
                                            and Acid-Base Characteristics (2020) 46                 benefit to requiring reporting to be done             reporters, will be implemented for
                                            and CO2e calculation would be a                         on a per unit basis, and a per site basis             reports prepared for RY2025 and
                                            necessary option. The commenter                         should be adequate for determining if                 submitted March 31, 2026. Reporters
                                            suggested a simpler option would be to                  emissions exceed the 25,000 metric ton                who are newly subject to the rule
                                            develop a default percentage of                         CO2e reporting threshold.                             (facilities that have not previously
                                            carbonate in brickmaking raw materials,                   Response: The EPA routinely collects                reported to the GHGRP), either due to
                                            or an AP–42, Compilation of Air                         unit-level capacity data for process                  final revisions that change what
                                            Pollutant Emissions Factors type metric                 equipment in 40 CFR part 98. These                    facilities must report under the rule
                                            allowing a direct calculation of CO2e                   unit-level data are essential for                     (e.g., newly subject to subparts I or P or
                                            emissions per product throughput                        quantifying actual GHG emissions from                 subparts WW, XX, YY, or ZZ), or due to
                                            tonnage. The commenter contended that                   the facility (e.g., the carbon balance                the revisions to GWPs in table A–1 to
                                            this would still yield sufficiently                     method for estimating emissions relies                subpart A, will be required to
                                            accurate results and suggested that the                 on the actual quantities of carbonate-                implement all requirements to collect
                                            historical testing data could be the basis              based raw materials charged to the                    data, including any required monitoring
                                            for this option.                                        ceramics process units, not just those                and recordkeeping, on January 1, 2025.
                                               Response: Upon careful review and                    delivered to the facility). Furthermore,
                                            consideration, the EPA has considered                                                                            This final rule includes new and
                                                                                                    we use these data to perform statistical
                                            the information provided by the                                                                               revised requirements for numerous
                                                                                                    analyses as part of our verification
                                            commenter and will finalize 40 CFR                                                                            provisions under various aspects of
                                                                                                    process, which allows us to develop
                                            98.524(b) to allow for other industry                                                                         GHGRP, including revisions to
                                                                                                    ranges of expected emissions by
                                            standards (i.e., x-ray fluorescence test,                                                                     applicability and updates to reporting,
                                                                                                    emission source type and successfully
                                            x-ray diffraction test, or other enhanced               identify outliers in the reported data.               recordkeeping, and monitoring
                                            testing method published by an industry                 We disagree that there will be no benefit             requirements. Further, as explained in
                                            consensus standards organization (e.g.,                 to reporting on a unit-level basis, as this           section I.B. and this section of this
                                            ASTM, ASME, API)) as described in 40                    information will improve the EPA’s                    preamble, it amends numerous sections
                                            CFR 98.524(d) to allow for the flexibility              verification of reported emissions and                of part 98 for various specific reasons.
                                            of using the most appropriate standard                  will provide a more accurate facility-                Therefore, this final rule is a
                                            test method. Furthermore, following                     level and national-level emissions                    multifaceted rule that addresses many
                                            consideration of the commenter’s                        profile for the industry.                             separate things for independent reasons,
                                            recommendation that the EPA include a                                                                         as detailed in each respective section of
                                            default carbonate percentage, we are                    IV. Final Revisions to 40 CFR Part 9                  this preamble. We intended each
                                            revising 40 CFR 98.524(b) to include a                    The EPA is finalizing the proposed                  portion of this rule to be severable from
                                            default value of 0.005 for each carbonate               amendment to 40 CFR part 9 to include                 each other, though we took the
                                            material where it is determined that the                the OMB control number issued under                   approach of including all the parts in
                                            mass fraction is below the detection                    the PRA for the ICR for the GHGRP. The                one rulemaking rather than
                                            limit of available testing standards. The               EPA is amending the table in 40 CFR                   promulgating multiple rules to amend
                                            0.005 value (0.5 percent) is consistent                 part 9 to list the OMB approval number                each part of the GHGRP. For example,
                                            with the example limestone mass                         (OMB No. 2060–0629) under which the                   the following portions of this
                                            fraction that was provided by the Brick                 ICR for activities in the existing part 98            rulemaking are mutually severable from
                                            Industry Association.47 Furthermore,                    regulations that were previously                      each other, as numbered: (1) revisions to
                                            the EPA’s research into carbonate                       approved by OMB have been                             General Provisions, including updates
                                            testing standards revealed that 0.01 (1                 consolidated. The EPA received no                     to GWPs in table A–1 to subpart A of
                                            percent) is an example detection limit                  comments on the proposed amendments                   part 98 in section III.A.1. of this
                                            for existing standards (e.g., ASTM                      to 40 CFR part 9 and is finalizing the                preamble, (2) revisions to applicability
                                            F3419–22, Standard Test Method for                      change as proposed. This codification in              to subparts G (Ammonia
                                            Mineral Characterization of Equine                      the CFR satisfies the display                         Manufacturing), P (Hydrogen
                                            Surface Materials by X-Ray Diffraction                  requirements of the PRA and OMB’s                     Production), and Y (Petroleum
                                            (XRD) Techniques (2022) 48). In                         implementing regulations at 5 CFR part                Refineries) to address non-merchant
                                            scientific settings, it is a common                     1320.                                                 hydrogen production in sections III.E.,
                                            practice to assume that a value of one                                                                        III.I., and III.M.; (3) revisions to
                                            half the detection limit when                           V. Effective Date of the Final                        applicability to subparts Y and WW
                                            concentrations are too low to accurately                Amendments                                            (Coke Calciners) to address stand-alone
                                            measure.                                                  As proposed in the 2023                             coke calcining operations; (4) revisions
                                               Comment: One commenter stated that                   Supplemental Proposal, the final                      to subparts PP (Carbon Dioxide
                                            the proposed rule requirements to report                amendments will become effective on                   Suppliers) and new subpart VV
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                                                                                                    January 1, 2025. As provided under the                (Geologic Sequestration of Carbon
                                              46 Available at https://www.astm.org/e1915-
                                                                                                    existing regulations at 40 CFR 98.3(k),               Dioxide with Enhanced Oil Recovery
                                            20.html. Accessed January 9, 2024.                      the GWP amendments to table A–1 to                    Using ISO 27916) in sections III.V. and
                                              47 See Docket ID. No. EPA–HQ–OAR–2019–0424–

                                            0332 at www.regulations.gov.                            subpart A will apply to reports                       III.Z.; (5) revisions to applicability in
                                              48 Available at https://www.astm.org/f3419-           submitted by current reporters that are               subparts UU (Injection of Carbon
                                            22.html. Accessed January 9, 2024.                      submitted in calendar year 2025 and                   Dioxide) and subpart VV in sections


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00076   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 82 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31877

                                            III.Z. and III.AA., (6) other regulatory                  For all remaining data elements                     Argus Leader standard. So, we
                                            amendments discussed in section III.                    included in the 2022 Data Quality                     evaluated each data element
                                            and IV. of this preamble, and (7)                       Improvements Proposal or 2023                         individually to determine whether the
                                            confidentiality determinations as                       Supplemental Proposal, this section                   information is customarily and actually
                                            discussed in section VI. of this                        identifies any changes to the proposed                treated as private by the reporter and
                                            preamble. Each of the regulatory                        confidentiality determinations,                       proposed a confidentiality
                                            amendments in section III. is severable                 emissions data designations, or                       determination based on that evaluation.
                                            from all the other regulatory                           reporting determinations in the final                    The EPA received several comments
                                            amendments in that section, and each of                 rule.                                                 on its proposed approach in the 2022
                                            the confidentiality determinations in                                                                         Data Quality Improvements Proposal
                                                                                                    A. EPA’s Approach To Assess Data                      and the 2023 Supplemental Proposal.
                                            section VI. is also severable from all the              Elements
                                            other determinations in that section. If                                                                      The commenters’ concerns and the
                                            any of the above portions is set aside by                  In the 2022 Data Quality                           EPA’s responses thereto are provided in
                                            a reviewing court, then we intend the                   Improvements Proposal and the 2023                    the document ‘‘Summary of Public
                                            remainder of this action to remain                      Supplemental Proposal, the EPA                        Comments and Responses for 2024 Final
                                            effective, and the remaining portions                   proposed to assess data elements for                  Revisions and Confidentiality
                                            will be able to function absent any of                  eligibility of confidential treatment                 Determinations for Data Elements under
                                            the identified portions that have been                  using a revised approach, in response to              the Greenhouse Gas Reporting Rule’’ in
                                            set aside. Moreover, this list is not                   Food Marketing Institute v. Argus                     Docket ID. No. EPA–HQ–OAR–2019–
                                            intended to be exhaustive, and should                   Leader Media, 139 S. Ct. 2356 (2019)                  0424. Following consideration of the
                                            not be viewed as an intention by the                    (hereafter referred to as Argus Leader).49            comments received, the EPA is not
                                            EPA to consider other parts of the rule                 The EPA proposed that the Argus                       revising this approach and is continuing
                                            not explicitly listed here as not                       Leader decision did not affect our                    to assess data elements for
                                            severable from other parts of the rule.                 approach to designating data elements                 confidentiality determinations as
                                                                                                    as ‘‘inputs to emission equations’’ or our            described in the 2022 Data Quality
                                            VI. Final Confidentiality                               previous approach for designating new                 Improvements Proposal and the 2023
                                            Determinations                                          and revised reporting requirements as                 Supplemental Proposal. We are also
                                                                                                    ‘‘emission data.’’ We proposed to                     finalizing the specific confidentiality
                                               This section provides a summary of
                                                                                                    continue identifying new and revised                  determinations and reporting
                                            the EPA’s final confidentiality
                                                                                                    reporting elements that qualify as                    determinations as described in section
                                            determinations and emission data
                                                                                                    ‘‘emission data’’ (i.e., data necessary to            VI.B. and VI.C. of this preamble.
                                            designations for new and substantially
                                                                                                    determine the identity, amount,
                                            revised data elements included in these                                                                       B. Final Confidentiality Determinations
                                                                                                    frequency, or concentration of the
                                            final amendments, certain existing part                                                                       and Emissions Data Designations
                                                                                                    emission emitted by the reporting
                                            98 data elements for which no
                                                                                                    facilities) by evaluating the data for                1. Summary of Final Confidentiality
                                            determination has been previously
                                                                                                    assignment to one of the four data                    Determinations
                                            established, certain existing part 98 data
                                                                                                    categories designated by the 2011 Final               a. Final Confidentiality Determinations
                                            elements for which the EPA is
                                                                                                    CBI Rule (76 FR 30782, May 26, 2011)                  for New and Revised Data Elements
                                            amending or clarifying the existing
                                                                                                    to meet the CAA definition of ‘‘emission
                                            confidentiality determination, and the                                                                           The EPA is making final
                                                                                                    data’’ in 40 CFR 2.301(a)(2)(i) (hereafter
                                            EPA’s final reporting determinations for                                                                      confidentiality determinations and
                                                                                                    referred to as ‘‘emission data
                                            inputs to equations included in the final                                                                     emission data designations for new and
                                                                                                    categories’’). Refer to section II.B. of the
                                            amendments. This section also                                                                                 substantially revised data elements
                                                                                                    July 7, 2010 proposal (75 FR 39094) for
                                            summarizes the major comments and                                                                             included in these final amendments.
                                                                                                    descriptions of each of these data
                                            responses related to the proposed                                                                             Substantially revised data elements
                                                                                                    categories and the EPA’s rationale for
                                            confidentiality determinations, emission                                                                      include those data elements where the
                                                                                                    designating each data category as
                                            data designations, and reporting                                                                              EPA is, in this final action, substantially
                                                                                                    ‘‘emission data.’’ For data elements
                                            determinations for these data elements.                                                                       revising the data elements as compared
                                                                                                    designated as ‘‘inputs to emission
                                               The EPA is not taking final action on                equations,’’ the EPA maintained the two               to the existing requirements. Please refer
                                            any requirements for subpart W                          subcategories, data elements entered                  to the preamble to the 2022 Data Quality
                                            (Petroleum and Natural Gas Systems) in                  into e-GGRT’s Inputs Verification Tool                Improvements Proposal or the 2023
                                            this final rule, therefore, we are not                  (IVT) and those directly reported to the              Supplemental Proposal for additional
                                            taking any action on confidentiality                    EPA. Refer to section VI.C. of the                    information regarding the proposed
                                            determinations or reporting                             preamble of the 2022 Data Quality                     confidentiality determinations for these
                                            determinations proposed for data                        Improvements Proposal for further                     data elements.
                                            elements in subpart W of part 98 in the                 discussion of ‘‘inputs to emission                       For subparts A (General Provisions), C
                                            2022 Data Quality Improvements                          equations.’’                                          (General Stationary Fuel Combustion), F
                                            Proposal. See section I.C. of this                         In the 2022 Data Quality                           (Aluminum Production), G (Ammonia
                                            preamble for a discussion of the EPA’s                  Improvements Proposal, for new or                     Manufacturing), H (Cement Production),
                                            actions regarding subpart W.                            revised data elements that the EPA did                P (Hydrogen Production), S (Lime
                                            Additionally, we are not taking any final               not propose to designate as ‘‘emission                Manufacturing), HH (Municipal Solid
                                            action on proposed subpart B (Energy                    data’’ or ‘‘inputs to emission equations,’’           Waste Landfills), OO (Suppliers of
                                            Consumption) in this final rule;                        the EPA proposed a revised approach                   Industrial Greenhouse Gases), and QQ
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                                            therefore we are not taking any action                  for assessing data confidentiality. We                (Importers and Exporters of Fluorinated
                                            on confidentiality determinations                       proposed to assess each individual                    Greenhouse Gases Contained in Pre-
                                            proposed in the 2023 Supplemental                       reporting element according to the new                Charged Equipment or Closed-Cell
                                            Proposal for subpart B. See section III.B.                                                                    Foams), the EPA is not finalizing the
                                            of this preamble for additional                           49 Available in the docket for this rulemaking      proposed confidentiality determinations
                                            information on subpart B.                               (Docket ID. No. EPA–HQ–OAR–2019–0424).                for certain data elements because the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00077   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                   USCA Case #24-1216                                   Document #2061464                               Filed: 06/24/2024            Page 83 of 164
                                            31878                       Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            EPA is not taking final action on the                              final confidentiality determinations or              elements into a different emissions data
                                            requirements to report these data                                  emissions data designations for certain              category than the existing version of the
                                            elements at this time (see section III. of                         data elements from proposal. For                     data elements (i.e., proposed moving the
                                            this preamble for additional                                       subpart PP, following consideration of               data elements from one category of
                                            information). These data elements are                              public comments, the EPA has revised                 emissions data into a different category
                                            listed in table 5 of the memorandum                                its final confidentiality determination              of emissions data). The EPA has
                                            ‘‘Confidentiality Determinations and                               for eight data elements that were                    corrected the placement of these data
                                            Emission Data Designations for Data                                proposed as ‘‘Not Eligible’’ to ‘‘Eligible           elements from ‘‘Facility and Unit
                                            Elements in the 2024 Final Revisions to                            for Confidential Treatment.’’ See section            Identifier Information’’ to ‘‘Emissions.’’
                                            the Greenhouse Gas Reporting Rule,’’
                                                                                                               VI.B.2. of this preamble for a summary               Table 6 of this preamble lists the data
                                            available in the docket to this
                                                                                                               of the related comments and the EPA’s                elements where the EPA has revised its
                                            rulemaking, Docket ID. No. EPA–HQ–
                                            OAR–2019–0424.                                                     response. For subpart C, we identified               final confidentiality determinations or
                                               For subparts C (General Stationary                              two revised data elements where the                  emissions data designations as
                                            Fuel Combustion) and PP (Suppliers of                              EPA had inadvertently proposed to                    compared to the 2022 Data Quality
                                            Carbon Dioxide), the EPA has revised its                           place the revised version of the data                Improvements Proposal.

                                                    TABLE 6—DATA ELEMENTS FOR WHICH THE EPA IS REVISING THE FINAL CONFIDENTIALITY DETERMINATIONS OR
                                                                                    EMISSION DATA DESIGNATIONS
                                                                          Citation in 40 CFR part
                                                  Subpart                                                                                             Data element description
                                                                                     98

                                            C 1 .....................    98.36(c)(1)(vi) ................    When reporting using aggregation of units, if any of the stationary fuel combustion units burn bio-
                                                                                                                mass, the annual CO2 emissions from combustion of all biomass fuels combined (metric tons).
                                            C 1 .....................    98.36(c)(3)(vi) ................    When reporting using the common pipe configuration, if any of the stationary fuel combustion
                                                                                                                units burn biomass, the annual CO2 emissions from combustion of all biomass fuels combined
                                                                                                                (metric tons).
                                            PP 2 ...................     98.426(i)(1) ....................   If you capture a CO2 stream at a facility with a direct air capture (DAC) process unit and elec-
                                                                                                                tricity (excluding combined heat and power (CHP)) is provided to a dedicated meter for the
                                                                                                                DAC process unit: annual quantity of electricity (generated on-site or off-site) consumed for the
                                                                                                                DAC process unit (MWh).
                                            PP 2 ...................     98.426(i)(1)(i)(C) ............     If you capture a CO2 stream at a facility with a DAC process unit and electricity (excluding CHP)
                                                                                                                is provided to a dedicated meter for the DAC process unit: if the electricity is sourced from a
                                                                                                                grid connection, the name of the electric utility company that supplied the electricity as shown
                                                                                                                on the last monthly bill issued by the utility company during the reporting period.
                                            PP 2 ...................     98.426(i)(1)(i)(D) ............     If you capture a CO2 stream at a facility with a DAC process unit and electricity (excluding CHP)
                                                                                                                is provided to a dedicated meter for the DAC process unit: if the electricity is sourced from a
                                                                                                                grid connection, the name of the electric utility company that delivered the electricity.
                                            PP 2 ...................     98.426(i)(1)(i)(E) ............     If you capture a CO2 stream at a facility with a DAC process unit and electricity (excluding CHP)
                                                                                                                is provided to a dedicated meter for the DAC process unit: if the electricity is sourced from a
                                                                                                                grid connection, the annual quantity of electricity consumed for the DAC process unit (MWh).
                                            PP 2 ...................     98.426(i)(1)(ii) ................   If you capture a CO2 stream at a facility with a DAC process unit and electricity (excluding CHP)
                                                                                                                is provided to a dedicated meter for the DAC process unit: if electricity is sourced from on-site
                                                                                                                or through a contractual mechanism for dedicated off-site generation, the annual quantity of
                                                                                                                electricity consumed per applicable source (MWh), if known.
                                            PP 2 ...................     98.426(i)(2) ....................   If you capture a CO2 stream at a facility with a DAC process unit and you use heat, steam, or
                                                                                                                other forms of thermal energy (excluding CHP) for the DAC process unit: the annual quantity of
                                                                                                                heat, steam, or other forms of thermal energy sourced from on-site or through a contractual
                                                                                                                mechanism for dedicated off-site generation per applicable energy source (MJ), if known.
                                            PP 2 ...................     98.426(i)(3)(i) .................   If you capture a CO2 stream at a facility with a DAC process unit and electricity from CHP is
                                                                                                                sourced from on-site or through a contractual mechanism for dedicated off-site generation: the
                                                                                                                annual quantity of electricity consumed for the DAC process unit per applicable energy source
                                                                                                                (MWh), if known.
                                            PP 2 ...................     98.426(i)(3)(ii) ................   If you capture a CO2 stream at a facility with a DAC process unit and you use heat from CHP for
                                                                                                                the DAC process unit: the annual quantity of heat, steam, or other forms of thermal energy from
                                                                                                                CHP sourced from on-site or through a contractual mechanism for dedicated off-site generation
                                                                                                                per applicable energy source (MJ), if known.
                                               1 In the May 26, 2011, final rule (76 FR 30782), this data element was assigned to the ‘‘Emissions Data’’ data category and determined to be
                                            ‘‘Emissions Data.’’ In the 2022 Data Quality Improvements Proposal, the data element was significantly revised, and the EPA proposed that the
                                            revised data element would be assigned to the data category ‘‘Facility and Unit Identifier’’ and would have a determination of ‘‘Emissions Data.’’
                                            We have subsequently determined that the revisions to the data element (revising the language ‘‘if any units burn both fossil fuels and biomass’’
                                            with ‘‘if any of the units burn biomass’’) is a clarifying change and that the data element was incorrectly assigned to a new data category. There-
                                            fore we are finalizing the revised data element in the ‘‘Emissions Data’’ data category and determining that it is ‘‘Emissions Data.’’
                                               2 Revised from ‘‘Not Eligible’’ to ‘‘Eligible for Confidential Treatment’’; see section VI.B.2. of this preamble.
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                                              For subparts I (Electronics                                      propose a determination. These data                  2024 Final Revisions to the Greenhouse
                                            Manufacturing), P (Hydrogen                                        elements are listed in table 7 of this               Gas Reporting Rule,’’ available in the
                                            Production), and ZZ (Ceramics                                      preamble and table 6 of the                          docket to this rulemaking, Docket ID.
                                            Manufacturing), the EPA is finalizing                              memorandum, ‘‘Confidentiality                        No. EPA–HQ–OAR–2019–0424. Because
                                            revisions that include new data                                    Determinations and Emission Data                     the EPA has not proposed or solicited
                                            elements for which the EPA did not                                 Designations for Data Elements in the                public comment on a determination for


                                       VerDate Sep<11>2014        19:27 Apr 24, 2024      Jkt 262001    PO 00000   Frm 00078   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                    USCA Case #24-1216                                   Document #2061464                               Filed: 06/24/2024            Page 84 of 164
                                                                          Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31879

                                            these data elements, we are not                                     finalizing confidentiality determinations
                                                                                                                for these data elements at this time.

                                              TABLE 7—NEW DATA ELEMENTS FROM PROPOSAL TO FINAL FOR WHICH THE EPA IS NOT FINALIZING CONFIDENTIALITY
                                                                        DETERMINATIONS OR EMISSION DATA DESIGNATIONS
                                                                            Citation in 40 CFR part
                                                   Subpart                                                                                             Data element description
                                                                                       98

                                            I .........................    98.96(y)(2)(iv) ................   For electronics manufacturing facilities, for the technology assessment report required under 40
                                                                                                                CFR 98.96(y), for any destruction or removal efficiency data submitted, if you choose to use an
                                                                                                                additional alternative calculation methodology to calculate and report the input gas emission
                                                                                                                factors and by-product formation rates: a complete, mathematical description of the alternative
                                                                                                                method used (including the equation used to calculate each reported utilization and by-product
                                                                                                                formation rate).
                                            P ........................     98.166(d)(10) .................    For each hydrogen production process unit, an indication (yes or no) if best available monitoring
                                                                                                                methods used in accordance with 40 CFR 98.164(c) to determine fuel flow for each stationary
                                                                                                                combustion unit directly associated with hydrogen production (e.g., reforming furnace and hy-
                                                                                                                drogen production process unit heater).
                                            P ........................     98.166(d)(10)(i) ..............    For each hydrogen production process unit, if best available monitoring methods were used in ac-
                                                                                                                cordance with 40 CFR 98.164(c) to determine fuel flow for each stationary combustion unit di-
                                                                                                                rectly associated with hydrogen production, the beginning date of using best available moni-
                                                                                                                toring methods.
                                            P ........................     98.166(d)(10)(ii) .............    For each hydrogen production process unit, if best available monitoring methods were used in ac-
                                                                                                                cordance with 40 CFR 98.164(c) to determine fuel flow for each stationary combustion unit di-
                                                                                                                rectly associated with hydrogen production, the anticipated or actual end date of using best
                                                                                                                available monitoring methods.
                                            ZZ ......................      98.526(c)(2) ...................   For a facility containing a ceramics manufacturing process, for each ceramics manufacturing proc-
                                                                                                                ess unit, if process CO2 emissions are calculated according to the procedures specified in 40
                                                                                                                CFR 98.523(b), annual quantity of each carbonate-based raw material (including clay) charged
                                                                                                                (tons) (no CEMS).



                                               In a handful of cases, the EPA has                               Proposed Revisions to the Greenhouse                 information regarding the proposed
                                            made minor revisions to data elements                               Gas Reporting Rule’’ and ‘‘Proposed                  confidentiality determinations.
                                            in this final action as compared to the                             Confidentiality Determinations and
                                                                                                                                                                     c. Final Confidentiality Determinations
                                            proposed data element included in                                   Emission Data Designations for Data
                                                                                                                                                                     for Existing Data Elements for Which
                                            either the 2022 Data Quality                                        Elements in Proposed Supplemental
                                                                                                                                                                     the EPA is Amending or Clarifying the
                                            Improvements Proposal or the 2023                                   Revisions to the Greenhouse Gas
                                            Supplemental Proposal. For certain                                                                                       Existing Confidentiality Determination
                                                                                                                Reporting Rule,’’ available in the docket
                                            proposed data elements, we have                                     for this rulemaking (Docket ID. No.                     The EPA is finalizing as proposed all
                                            revised the citations from proposal to                              EPA–HQ–OAR–2019–0424).                               confidentiality determinations for other
                                            final. In other cases, the minor revisions                             For all other confidentiality                     part 98 data reporting elements for
                                            include clarifications to the text. The                             determinations for the new or                        which the EPA proposed to amend or
                                            EPA evaluated these data elements and                               substantially revised data reporting                 clarify the existing confidentiality
                                            how they have been clarified in the final                           elements for these subparts, the EPA is              determinations. The EPA received no
                                            rule to verify that the information                                 finalizing the confidentiality                       comments on the proposed
                                            collected has not substantially changed                             determinations as they were proposed.                determinations. Please refer to the
                                            since proposal. These data elements are                             Please refer to the preamble to the 2022             preamble to the 2022 Data Quality
                                            listed in table 7 of the memorandum                                 Data Quality Improvements Proposal or                Improvements Proposal for additional
                                            ‘‘Confidentiality Determinations and                                the 2023 Supplemental Proposal for                   information regarding the proposed
                                            Emission Data Designations for Data                                 additional information regarding these               confidentiality determinations.
                                            Elements in the 2024 Final Revisions to                             confidentiality determinations.
                                                                                                                                                                     2. Summary and Response to Public
                                            the Greenhouse Gas Reporting Rule,’’
                                                                                                                b. Final Confidentiality Determinations              Comments on Proposed Confidentiality
                                            available in the docket to this
                                            rulemaking, Docket ID. No. EPA–HQ–                                  and Emission Data Designations for                   Determinations
                                            OAR–2019–0424. Because the                                          Existing Data Elements for Which EPA                    The EPA received several comments
                                            information to be collected has not                                 Did Not Previously Finalize a                        related to the proposed confidentiality
                                            substantially changed since proposal,                               Confidentiality Determination or                     determinations. The EPA received
                                            we are finalizing the confidentiality                               Emission Data Designation                            minimal comments on the proposed
                                            determinations or emission data                                        The EPA is finalizing all                         confidentiality determinations for all
                                            designations for these data elements as                             confidentiality determinations as they               new or substantially revised data
                                            proposed. For additional information on                             were proposed for other part 98 data                 elements, except certain data elements
                                            the rationales for the confidentiality                              reporting elements for which no                      in subparts PP (Suppliers of Carbon
                                            determinations for these data elements,                             determination has been previously                    Dioxide) and VV (Geologic
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                                            see the preamble to the 2022 Data                                   established. The EPA received no                     Sequestration of Carbon Dioxide With
                                            Quality Improvements Proposal or the                                comments on the proposed                             Enhanced Oil Recovery Using ISO
                                            2023 Supplemental Proposal and the                                  determinations. Please refer to the                  27916) as described in this section.
                                            memoranda ‘‘Proposed Confidentiality                                preamble to the 2022 Data Quality                    Additional comments may be found in
                                            Determinations and Emission Data                                    Improvements Proposal or the 2023                    the EPA’s comment response document
                                            Designations for Data Elements in                                   Supplemental Proposal for additional                 in Docket ID. No. EPA–HQ–OAR–2019–


                                       VerDate Sep<11>2014         19:27 Apr 24, 2024      Jkt 262001    PO 00000   Frm 00079   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 85 of 164
                                            31880              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            0424. For subparts PP and VV, we                        would not be eligible for confidential                except for proposed 40 CFR
                                            received comments questioning the                       treatment. These data elements                        98.426(i)(1)(i)(A) and (B), the state and
                                            proposed confidentiality determination                  included: the annual quantities of on-                county where the DAC process unit is
                                            of certain new and substantially revised                site and off-site electricity consumed for            located, and certain information
                                            data elements in each subpart, including                the DAC process unit; the annual                      reported under 40 CFR 98.426(i)(1)
                                            requests that the data elements be                      quantities of heat, steam, other forms of             through (3), which requires the reporter
                                            treated as confidential. Summaries of                   thermal energy, and combined heat and                 to indicate each applicable energy
                                            the major comments and the EPA’s                        power (CHP) consumed by the DAC                       source type (e.g., natural gas, oil, coal,
                                            responses thereto are provided below.                   process unit; the state and county where              nuclear) and provide an indication of
                                            Additional comments and the EPA’s                       the facility with the DAC process unit                whether flue gas is captured (proposed
                                            responses may be found in the comment                   is located; the name of the electric                  40 CFR 98.426(i)(1)), respectively. The
                                            response document noted above.                          utility company that supplied and                     rule is being finalized with the
                                               Comment: One commenter contended                     delivered the electricity if electricity is           determination that these four data
                                            that public disclosure of the annual                    sourced from a grid connection; the                   elements are not eligible for confidential
                                            quantity of electricity consumed to                     annual quantity of electricity consumed               treatment. The requirements to report
                                            power the DAC process unit and natural                  by the DAC process unit supported by                  the state and county are similar to data
                                            gas used for thermal energy could                       billing statements; the annual quantity               required to be reported under 40 CFR
                                            undermine the commercial deployment                     of electricity, heat, and CHP consumed                98.3(c)(1) that was designated as
                                            of DAC. The commenter stated that this                  for the DAC process unit by each                      ‘‘emission data,’’ which under CAA
                                            information should be kept as                           applicable source; and whether flue gas               section 114 is not entitled to
                                            confidential. The commenter explained                   is also captured by the DAC process unit              confidential treatment (76 FR 30782,
                                            that power in a DAC facility is one of                  when electricity or CHP is generated on-              May 26, 2011; CBI Memo, April 29,
                                            the main operating expenses and power                   site from natural gas, coal, or oil.                  2011). Furthermore, the EPA has
                                            consumption is directly related to                                                                            previously determined that indication of
                                                                                                       The EPA’s proposed determinations
                                            power cost. The commenter stated that                                                                         source is not confidential (77 FR 48072,
                                                                                                    were based on research that indicated
                                            a comprehensive understanding of a                                                                            August 13, 2012). Regarding reporting
                                                                                                    the proposed data elements are not
                                            DAC unit’s power demand, coupled                                                                              whether flue gas is captured, the EPA
                                                                                                    customarily and actually treated as
                                            with a basic understanding of the clean                                                                       has previously determined that an
                                                                                                    private by the reporter. We note that
                                            power markets in the region where the                                                                         indication of flue gas is ‘‘Not Eligible’’
                                            DAC facility is located, could be used to               this, rather than competitive harm, is
                                                                                                    now the standard for treating reported                (76 FR 30782, May 26, 2011). While the
                                            estimate the DAC power cost. The                                                                              source of energy would be ‘‘Not
                                            commenter contended that this                           data elements as ‘‘Eligible for
                                                                                                    Confidential Treatment’’ or ‘‘Not                     Eligible’’ for confidential treatment, the
                                            knowledge, if available to a competitor                                                                       actual quantities of energy reported
                                            or provider of clean power, would affect                Eligible’’ based on the decision in Food
                                                                                                    Marketing Institute v. Argus Leader                   under 40 CFR 98.426(i)(1) through (3)
                                            business-to-business contract                                                                                 would be ‘‘Eligible for Confidential
                                            negotiations, allow for speculation on                  Media, 139 S. Ct. 2356 (2019). While the
                                                                                                    commenter explains that there may be                  Treatment.’’ The EPA will consider
                                            potential profit margins on captured                                                                          revising the confidentiality status of the
                                            CO2 volumes, and negatively impact the                  competitive harm from releasing
                                                                                                    electricity and natural gas consumption               energy consumption data elements in
                                            ability of a DAC operator to procure                                                                          the future, as more DAC facilities begin
                                            clean power at competitive rates.                       data in 40 CFR 98.426, they do not
                                                                                                    clearly demonstrate whether such data                 operating and we have a better
                                               The commenter added that many
                                                                                                    are customarily and actually treated as               understanding of how these data are
                                            carbon capture technologies will utilize
                                                                                                    confidential. Following receipt of public             customarily treated. For example, if
                                            natural gas to provide the thermal
                                            energy needed to drive the CO2 capture                  comment, the EPA conducted additional                 DAC facilities begin customarily sharing
                                            process, including DAC facilities. The                  research on the public availability of                their energy consumption information
                                            commenter explained contract                            energy use data for DAC and other                     to advertise their energy efficiency, we
                                            negotiations for the supply of natural                  facilities, and determined that, with the             may consider revising the
                                            gas for DAC facilities are competitive                  exception of the state and county where               confidentiality status to ‘‘No
                                            and a major operating cost for a DAC                    the DAC facility is located, the other                Determination’’ or ‘‘Not Eligible for
                                            facility and information on the annual                  proposed data elements are not                        Confidential treatment.’’
                                            amount of natural gas consumed by a                     consistently available to the public at                  Comment: The EPA received several
                                            DAC facility, if available to a competitor              this time. As DAC is a nascent field,                 comments regarding the confidential
                                            or natural gas supplier, will affect the                there are not yet many examples of such               treatment of the proposed EOR OMP at
                                            ability of a DAC operator to contract for               facilities to support a determination as              40 CFR 98.488. Several commenters
                                            responsibly sourced natural gas supply                  to whether the other proposed data                    strongly supported the publishing of
                                            at a competitive cost. The commenter                    elements are typically and actually held              non-confidential data related to
                                            requested that natural gas consumption                  confidential. The EPA, therefore,                     anthropogenic CO2 volumes
                                            be declared CBI. The commenter added                    partially agrees with the commenter that              permanently stored in in CO2–EOR
                                            that they still supported the requirement               certain data elements for DAC process                 operations, including the EOR OMP.
                                            to report on whether flue gas is also                   unit energy requirements in 40 CFR                    Commenters compared the EOR OMP to
                                            captured by the DAC process unit as                     98.426(i) may be treated as confidential              the MRV plan issued or required under
                                            this requirement allows for a clear                     by certain facilities. The EPA is,                    subpart RR, noting that the plans serve
                                            distinction of CO2 captured from the                    therefore, making a determination of                  very similar purposes and include a
lotter on DSK11XQN23PROD with RULES2




                                            process versus CO2 captured from the                    ‘‘Eligible for Confidential Treatment’’               geologic characterization of the storage
                                            air, increasing public trust in reported                for certain data elements. Specifically,              location, information about wells within
                                            CO2 volumes.                                            the EPA is finalizing the rule with all               the storage site area, operations history,
                                               Response: The EPA proposed that 12                   new data elements in 40 CFR 98.426(i)                 monitoring programs, and calculation
                                            new subpart PP data elements in 40 CFR                  having the categorical determination of               and quantification methods used to
                                            98.426(i) specific to DAC facilities                    ‘‘Eligible for Confidential Treatment’’               determine the total amount of CO2


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00080   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 86 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31881

                                            stored in the storage site. One                         to the ‘‘Inputs to Emission Equations’’               revised the citations from proposal to
                                            commenter strongly objected to the                      data category. Data assigned to the                   final. In other cases, the minor revisions
                                            public disclosure of the OMP. The                       ‘‘Inputs to Emission Equations’’ data                 include clarifications to the text. The
                                            commenter stated that, unlike an MRV                    category are assigned to one of two                   EPA evaluated these inputs to emissions
                                            which must receive approval by the                      subcategories, including ‘‘inputs to                  equations and how they have been
                                            EPA under subpart RR, there is no such                  emission equations’’ that must be                     clarified in the final rule to verify that
                                            approval required for an OMP under                      directly reported to the EPA, and                     the data element has not substantially
                                            subpart VV, which is appropriate given                  ‘‘inputs to emission equations’’ that are             changed since proposal. These data
                                            the differences in the subpart                          not reported but are entered into the                 elements and how they have been
                                            methodologies. The commenter added                      EPA’s Inputs Verification Tool (IVT).                 clarified in the final rule are listed in
                                            that reporting entities are currently free              The EPA received no comments specific                 table 4 of the memorandum ‘‘Reporting
                                            to exercise discretion to publicly                      to the proposed reporting                             Determinations for Data Elements
                                            disclose their OMPs.                                    determinations for inputs to emission                 Assigned to the Inputs to Emission
                                               Response: The EPA disagrees with the                 equations in the proposed rules.                      Equations Data Category in the 2024
                                            commenter. The EPA’s review and                         Additional information regarding these                Final Revisions to the Greenhouse Gas
                                            approval of a document does not                         reporting determinations may be found                 Reporting Rule,’’ available in the docket
                                            determine whether the document is                       in section VI.C. of the preamble to the               to this rulemaking, Docket ID. No. EPA–
                                            eligible for confidential treatment. The                2022 Data Quality Improvements                        HQ–OAR–2019–0424. Because the input
                                            EPA proposed that the OMP is not                        Proposal and the 2023 Supplemental                    has not substantially changed since
                                            eligible for confidential treatment                     Proposal.                                             proposal, we are finalizing the proposed
                                            because it does not consider the data                      The EPA is finalizing the reporting                reporting determinations for these data
                                            elements in the OMP to be customarily                   determinations for data elements that                 elements as proposed. For additional
                                            and actually treated as confidential. We                the EPA proposed to assign to the                     information on the rationale for the
                                            note that this, rather than whether the                 ‘‘Inputs to the Emission Equation’’ data              reporting determinations for the data
                                            EPA reviews and approves a                              category as they were proposed for all                elements, see the preamble to the 2022
                                            submission, is the standard for                         subparts with the exception of certain                Data Quality Improvements Proposal or
                                            confidentiality of reported data                        records proposed for subparts G                       the 2023 Supplemental Proposal and the
                                            elements based on the Argus Leader                      (Ammonia Production), P (Hydrogen                     memorandums ‘‘Proposed Reporting
                                            decision. For example, the OMP shall                    Production), S (Lime Production), and                 Determinations for Data Elements
                                            include geologic characterization of the                HH (Municipal Solid Waste Landfills).                 Assigned to the Inputs to Emission
                                            EOR complex, a description of the                       For subparts G, P, and S, the new and                 Equations Data Category in Proposed
                                            facilities within the CO2–EOR project, a                substantially revised data elements were              Revisions to the Greenhouse Gas
                                            description of all wells and other                      not proposed to be included in the                    Reporting Rule’’ and ‘‘Proposed
                                            engineered features in the CO2–EOR                      reporting section of those subparts but               Reporting Determinations for Data
                                            project, the operations history of the                  were instead to be retained as records to             Elements Assigned to the Inputs to
                                            project reservoir, descriptions of                      be input into the EPA’s IVT, and the                  Emission Equations Data Category in
                                            containment assurance and the                           EPA did not evaluate these data                       Proposed Supplemental Revisions to the
                                            monitoring plan, mass of CO2                            elements further. The EPA is not taking               Greenhouse Gas Reporting Rule,’’
                                            previously injected and other                           final action on these inputs into IVT                 available in the docket for this
                                            information required in the CSA/ANSI                    because the EPA is not taking final                   rulemaking (Docket ID. No. EPA–HQ–
                                            ISO 27916:19 standard. This                             action on the requirement to retain these             OAR–2019–0424).
                                            information is normally available to the                data elements as records (see section III.               For all other reporting determinations
                                            public through geologic records,                        of this preamble for additional                       for the data elements assigned to the
                                            construction and operating permitting                   information.) For subpart HH, the EPA                 ‘‘Inputs to Emission Equations’’ data
                                            files, well permits, tax records, and                   is not finalizing the proposed reporting              category, the EPA is finalizing the
                                            other public records. Furthermore, such                 determinations for certain data elements              reporting determinations as they were
                                            information is available in EPA-                        because the EPA is not taking final                   proposed. Please refer to the preamble
                                            approved subpart RR MRV plans which                     action on the requirements to report                  to the 2022 Data Quality Improvements
                                            have been determined to be not-                         these data elements at this time (see                 Proposal or the 2023 Supplemental
                                            confidential and are consistently made                  section III. of this preamble for                     Proposal for additional information.
                                            publicly available on the EPA’s website.                additional information). These data
                                                                                                                                                          VII. Impacts and Benefits of the Final
                                            That the EPA does not have a role in                    elements are listed in table 3 of the
                                                                                                                                                          Amendments
                                            approving the OMP does not mean that                    memorandum ‘‘Reporting
                                            the content itself is typically and                     Determinations for Data Elements                         This section of the preamble examines
                                            actually held confidential.                             Assigned to the Inputs to Emission                    the costs and economic impacts of the
                                                                                                    Equations Data Category in the 2024                   final rule and the estimated impacts of
                                            C. Final Reporting Determinations for                                                                         the rule on affected entities, in addition
                                                                                                    Final Revisions to the Greenhouse Gas
                                            Inputs to Emission Equations                                                                                  to the benefits of the final rule. The
                                                                                                    Reporting Rule,’’ available in the docket
                                              In the 2022 Data Quality                              to this rulemaking, Docket ID. No. EPA–               revisions in this final rule are
                                            Improvements Proposal and the 2023                      HQ–OAR–2019–0424.                                     anticipated to increase burden in cases
                                            Supplemental Proposal, the EPA                             In a handful of cases, the EPA has                 where the amendments expand the
                                            proposed to assign several data elements                made minor revisions to data elements                 applicability, monitoring, or reporting
                                            to the ‘‘Inputs to Emission Equation’’                  assigned to the ‘‘Inputs to Emissions                 requirements of part 98. In some cases,
lotter on DSK11XQN23PROD with RULES2




                                            data category. As discussed in section                  Equations’’ data category in this final               the final amendments are anticipated to
                                            VI.B.1. of the preamble to the 2022 Data                action as compared to the proposed data               decrease burden where we streamlined
                                            Quality Improvements Proposal, the                      element included in the 2022 Data                     the rule to remove notification or
                                            EPA determined that the Argus Leader                    Quality Improvements Proposal or the                  reporting requirements or simplify
                                            decision does not affect our approach                   2023 Supplemental Proposal. For                       monitoring and reporting requirements.
                                            for handling of data elements assigned                  certain proposed data elements, we have               The final rule consolidates amendments


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00081   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 87 of 164
                                            31882              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            from the 2022 Data Quality                              revised the final rule requirements and               reflect only those requirements that are
                                            Improvements Proposal and the 2023                      updated the impacts analysis to reflect               being finalized, and is lower than
                                            Supplemental Proposal that revise 32                    these changes.                                        proposed.
                                            subparts that directly affect 30                           As noted in section I.C. of this
                                                                                                                                                             In a few cases, the EPA has adjusted
                                            industries—including revisions to                       preamble, although the EPA proposed
                                                                                                                                                          the burden of the final rule to account
                                            update the GWPs in table A–1 to                         amendments to subpart W (Petroleum
                                                                                                                                                          for additional costs associated with the
                                            subpart A of part 98 that affect the                    and Natural Gas Systems) in the 2022
                                                                                                    Data Quality Improvements Proposal,                   final rule. In these cases, we have made
                                            number of facilities required to report
                                                                                                    this final rule does not address                      minor adjustments to the reporting and
                                            under part 98; revisions to implement
                                                                                                    implementation of these revisions to                  recordkeeping requirements in the final
                                            five new source categories or to expand
                                            existing source categories that may                     subpart W, which the EPA is reviewing                 rule. Specifically, we are finalizing
                                            require facilities to newly report or to                in concurrent rulemakings.                            changes from the proposed rule that
                                            report under new provisions; and                        Additionally, as stated in section III.B.             would add 8 new data elements to
                                            revisions to add new reporting                          of this preamble, the EPA is not taking               subparts I, P, DD, and ZZ (see section
                                            requirements to a number of subparts                    final action on its proposed                          III. of this preamble for additional
                                            that will improve the quality of the data               amendments to add a source category                   information). The final rule burden
                                            collected under part 98. The bulk of                    for collection of data on energy                      estimate has been adjusted to include
                                            costs associated with the final rule                    consumption (subpart B) at this time.                 additional time and labor for these
                                            includes those costs to facilities that                 Accordingly, the impacts of the final                 activities, which the EPA estimates is
                                            would be required to newly report                       rule do not reflect the costs for these               minimal for the reasons described in
                                            under part 98 (subparts I, P, W, DD, HH,                proposed revisions.                                   section III. of this preamble. Finally, the
                                            II, OO, TT, WW, XX, YY, and ZZ).                           For some subparts, we are not taking               burden for the activities in the final rule
                                            However, the majority of subparts                       final action on revisions to calculation,             has been adjusted to reflect updates to
                                            affected will reflect a modest increase in              monitoring, or reporting requirements                 the estimated number of affected
                                            burden to individual reporters. As                      that would have required reporters to                 reporters based on a review of data from
                                            discussed in the preamble to the 2022                   collect or submit additional data. For                RY2022 reporting.
                                            Data Quality Improvements Proposal                      example, for subpart C (General                          As discussed in section V. of this
                                            and the 2023 Supplemental Proposal, in                  Stationary Fuel Combustion), we are not               preamble, the final rule will be
                                            several cases the final rule amendments                 taking final action on proposed                       implemented on January 1, 2025, and
                                            are anticipated to result in a decrease in              revisions to (1) add new reporting for                will apply to RY2025 reports. Costs
                                            burden. In some cases we have                           the unit type, maximum rated heat                     have been estimated over the three years
                                            quantified where the final rule would                   input capacity, and an estimate of the
                                                                                                                                                          following the year of implementation.
                                            result in a decrease in burden for certain              fraction of the total annual heat input
                                                                                                                                                          One-time implementation costs are
                                            reporters, but in other cases we were                   from each unit in either an aggregation
                                                                                                                                                          incorporated into first year costs, while
                                            unable to quantify this decrease. The                   of units or common pipe configuration
                                                                                                                                                          subsequent year costs represent the
                                            final revisions also include minor                      (excluding units less than 10 mmBtu/
                                                                                                                                                          annual burden that will be incurred in
                                            amendments, corrections, and                            hour); and (2) add new reporting to
                                                                                                    identify whether any unit in the                      total by all affected reporters. The
                                            clarifications, including simple                                                                              incremental implementation labor costs
                                            revisions of requirements such as                       configuration (individual units,
                                                                                                    aggregation of units, common stack, or                for all subparts include $2,684,681 in
                                            clarifying changes to definitions,
                                                                                                    common pipe) is an EGU, and, for                      RY2025, and $2,671,831 in each
                                            calculation methodologies, monitoring
                                                                                                    multi-unit configurations, an estimated               subsequent year (RY2026 and RY2027).
                                            and quality assurance requirements, and
                                                                                                    decimal fraction of total emissions from              The incremental implementation labor
                                            reporting requirements. These revisions
                                                                                                    the group that are attributable to EGU(s)             costs over the next three years (RY2025
                                            clarify part 98 to better reflect the EPA’s
                                            intent, and do not present any                          included in the group. For subparts G                 through RY2027) total $8,028,343. There
                                            additional burden on reporters. The                     (Ammonia Production), P (Hydrogen                     is an additional incremental burden of
                                            impacts of the final rule generally reflect             Production), S (Lime Production), and                 $2,733,937 for capital and O&M costs in
                                            an increase in burden for most subparts.                HH (Municipal Solid Waste Landfills)                  RY2025 and in each subsequent year
                                               The EPA received a number of                         we are not taking final action on certain             (RY2026 and RY2027), which reflects
                                            comments on the proposed revisions                      revisions to the calculation                          changes to applicability and monitoring
                                            and the impacts of the proposed                         methodologies that would have revised                 for subparts I, P, W, V, Y, DD, HH, II,
                                            revisions in both the 2022 Data Quality                 how data is collected and reported in e-              OO, TT, UU and new subparts VV, WW,
                                            Improvements Proposal and the 2023                      GGRT. Similarly, we are not taking final              XX, YY, and ZZ. The incremental non-
                                            Supplemental Proposal. See the                          action on certain data elements that                  labor costs for RY2025 through RY2027
                                            document ‘‘Summary of Public                            were proposed to be added to subparts                 total $8,201,812 over the next three
                                            Comments and Responses for 2024 Final                   A (General Provisions), F (Aluminum                   years. The incremental burden is
                                            Revisions and Confidentiality                           Production), G (Ammonia Production),                  summarized by subpart for the rule
                                            Determinations for Data Elements under                  H (Cement Production), P, S (Lime                     changes that are finalized for initial and
                                            the Greenhouse Gas Reporting Rule’’ in                  Production), HH, OO (Suppliers of                     subsequent years in table 8 of this
                                            Docket ID. No. EPA–HQ–OAR–2019–                         Industrial Greenhouse Gases), and QQ                  preamble. Note that subparts A, U, FF,
                                            0424 for a complete listing of all                      (Importers and Exporters of Fluorinated               and RR only include revisions that are
                                            comments and responses related to the                   Greenhouse Gases Contained in Pre-                    clarifications or harmonizing changes
                                            impacts of the proposed rules.                          Charged Equipment and Closed-Cell                     that would not result in any changes to
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                                            Following consideration of these                        Foams). Therefore, the final burden for               burden, and are not included in table 8
                                            comments, the EPA has, in some cases,                   these subparts has been revised to                    of this preamble.




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00082   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                   USCA Case #24-1216                                          Document #2061464                                                 Filed: 06/24/2024                               Page 88 of 164
                                                                      Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                                     31883

                                                                                     TABLE 8—ANNUAL INCREMENTAL BURDEN OF THE FINAL RULE, BY SUBPART
                                                                                                                                                                                                                Labor costs
                                                                                                                                                                        Number of                                                                          Capital
                                                                                                Subpart                                                                  affected                                            Subsequent                   and O&M
                                                                                                                                                                         facilities                Initial year                years

                                            C—General Stationary Fuel Combustion Sources a ........................................                                  ........................   ........................   ........................   ........................
                                            Facilities Reporting only to Subpart C .............................................................                                       133                 ($1,446)                   ($1,446)        ........................
                                            Facilities Reporting to Subpart C plus another subpart ..................................                                                  177                      (979)                      (979)      ........................
                                            G—Ammonia Manufacturing ...........................................................................                                          29                       119                        119      ........................
                                            H—Cement Production ....................................................................................                                     94                    1,999                      1,999       ........................
                                            I—Electronics Manufacturing b c .......................................................................                                      48                  19,651                     18,023                          $62
                                            N—Glass Production .......................................................................................                                 101                     2,074                      2,074       ........................
                                            P—Hydrogen Production b ...............................................................................                                    114                     7,497                      7,497                      2,561
                                            Q—Iron and Steel Production .........................................................................                                      121                     1,485                      1,485       ........................
                                            S—Lime Manufacturing ...................................................................................                                     71                    1,186                      1,186       ........................
                                            V—Nitric Acid Production d e ............................................................................                                      1                 (2,680)                    (2,680)                  (11,085)
                                            W—Petroleum and Natural Gas Systems d .....................................................                                                188              2,433,058                  2,433,058                  2,717,864
                                            X—Petrochemical Production ..........................................................................                                        31                       618                        618      ........................
                                            Y—Petroleum Refineries f ................................................................................                                    57                  (6,133)                    (6,133)                    (3,930)
                                            AA—Pulp and Paper Manufacturing ...............................................................                                                1                      104                        104      ........................
                                            BB—Silicon Carbide Production ......................................................................                                           1                        20                         20     ........................
                                            DD—Electrical Transmission b .........................................................................                                       95                  15,278                     15,278                       3,119
                                            GG—Zinc Production .......................................................................................                                     5                        20                         20     ........................
                                            HH—Municipal Solid Waste Landfills b ............................................................                                       1,129                    84,651                     81,793                          374
                                            II—Industrial Wastewater Treatment d .............................................................                                             2                   5,288                      4,713                      3,077
                                            OO—Suppliers of Industrial Greenhouse Gases a ..........................................                                                   121                     6,884                      6,884                           62
                                            PP—Suppliers of Carbon Dioxide ...................................................................                                           22                       872                        872      ........................
                                            QQ—Importers and Exporters of Fluorinated Greenhouse Gases Contained
                                              in Pre-Charged Equipment or Closed-Cell Foams ......................................                                                       33                     249                        249        ........................
                                            SS—Electrical Equipment Manufacture or Refurbishment ..............................                                                           5                     358                        358        ........................
                                            TT—Industrial Waste Landfills b d ....................................................................                                        1                   4,853                      3,934                            62
                                            UU—Injection of Carbon Dioxide g ..................................................................                                           2                 (1,886)                    (1,886)                        (125)
                                            VV—Geologic Sequestration of Carbon Dioxide with Enhanced Oil Recov-
                                              ery Using ISO 27916 g .................................................................................                                    2                   1,882                      3,443                         250
                                            WW—Coke Calciners ......................................................................................                                    15                  37,847                     34,525                      19,649
                                            XX—Calcium Carbide Production ....................................................................                                           1                   2,849                      2,627                          62
                                            YY—Caprolactam, Glyoxal, and Glyoxylic Acid Production ............................                                                          6                  12,285                     11,089                         374
                                            ZZ—Ceramics Manufacturing ..........................................................................                                        25                  56,678                     52,987                       1,559

                                                  Total ..........................................................................................................   ........................           2,684,681                  2,671,831                  2,733,937
                                               a Reflects reduced burden due to revisions to simplify calculation methods and remove reporting requirements.
                                               b Applies to reporters that may currently report under existing subparts of part 98 and that are newly subject to reporting under part 98.
                                               c Average subsequent year costs for subpart I. Subpart I subsequent year costs include $17,794 in Year 2 and $18,252 in Year 3.
                                               d Reflects burden to reporters estimated to be affected due to revisions to table A–1 to subpart A only.
                                               e Reflects changes to the number of reporters able to off-ramp from reporting under the part 98 source category.
                                              f Reflects changes to the number of reporters with coke calciners reporting under subpart Y that would be required to report under proposed
                                            subpart WW.
                                              g Reflects changes to the number of reporters reporting under subpart UU who will begin submitting reports under new subpart VV in each
                                            year.


                                              Additional details on the EPA’s                                           monitoring, or reporting to provide                                            Because part 98 is a reporting rule, the
                                            review of the impacts may be found in                                       flexibility or increase the efficiency of                                   EPA did not quantify estimated
                                            the memorandum, ‘‘Assessment of                                             data collection. The revisions will                                         emission reductions or monetize the
                                            Burden Impacts for Final Revisions to                                       maintain the quality of the data                                            benefits from such reductions that could
                                            the Greenhouse Gas Reporting Rule,’’                                        collected under part 98 where                                               be associated with the final rule. The
                                            available in Docket ID. No. EPA–HQ–                                         continued collection of information                                         benefits of the final rule are based on its
                                            OAR–2019–0424.                                                              assists in evaluation and support of EPA                                    relevance to policy making,
                                              The implementation of the final rule                                      programs and policies under provisions                                      transparency, and market efficiency.
                                            will provide numerous benefits for                                          of the CAA. In some cases, the                                              The improvements to the GHGRP will
                                            stakeholders, the Agency, industry, and                                     amendments improve the EPA’s ability                                        benefit the EPA, other policymakers,
                                            the general public. The final revisions                                     to assess compliance by revising or                                         and the public by increasing the
                                            include improvements to the                                                 adding recordkeeping or reporting                                           completeness and accuracy of facility
                                            calculation, monitoring, and reporting                                      elements that will allow the EPA to                                         emissions data. Public data on
                                            requirements, incorporate new data and                                      more thoroughly verify GHG data and                                         emissions allows for accountability of
                                            reflect updated scientific knowledge;                                       advance the ability of the GHGRP to                                         emitters to the public. Improved facility-
lotter on DSK11XQN23PROD with RULES2




                                            provide coverage of new emissions                                           provide access to quality data on                                           specific emissions data will aid local,
                                            sources and additional sectors; improve                                     greenhouse gas emissions by adding or                                       state, and national policymakers as they
                                            analysis and verification of collected                                      updating emission factors, revising or                                      evaluate and consider future climate
                                            data; provide additional data to                                            adding calculation methodologies, or                                        change policy decisions and other
                                            complement or inform other EPA                                              adding key data elements to improve the                                     policy decisions for criteria pollutants,
                                            programs; and streamline calculation,                                       usefulness of the data.                                                     ambient air quality standards, and toxic


                                       VerDate Sep<11>2014        19:27 Apr 24, 2024          Jkt 262001       PO 00000       Frm 00083        Fmt 4701       Sfmt 4700       E:\FR\FM\25APR2.SGM              25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 89 of 164
                                            31884              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            air emissions. For example, GHGRP data                  Standards Board (SASB), and will                      can find a copy of the ICR in the docket
                                            on petroleum and natural gas systems                    provide consistency for company                       for this rule, and it is briefly
                                            (subpart W of part 98) were previously                  reporting. Businesses and other                       summarized here. The information
                                            analyzed to inform targeted                             innovators can use the data to determine              collection requirements are not
                                            improvements to the 2016 NSPS for the                   and track their GHG footprints, find                  enforceable until OMB approves them.
                                            oil and gas industry and to update                      cost-saving efficiencies that reduce GHG                 The EPA has estimated that the final
                                            emission factor and activity data used                  emissions and save product, foster                    rule will result in an increase in burden,
                                            for that proposal and the final NSPS, as                technologies to protect public health                 specifically in cases where the
                                            updated in the Inventory (83 FR 52056;                  and the environment, and to reduce                    amendments expand the applicability,
                                            October 15, 2018). Similarly, GHGRP                     costs associated with fugitive emissions.             monitoring, or reporting requirements of
                                            data on municipal solid waste landfills                 The final rule will continue to allow for             part 98. In some cases, the final
                                            (subpart HH of part 98) were previously                 facilities to benchmark themselves                    amendments are anticipated to decrease
                                            used to inform the development of the                   against similar facilities to understand              burden where we streamlined the rule
                                            2016 NSPS and EG for landfills; the EPA                 better their relative standing within                 to remove notification or reporting
                                            was able to update its internal landfills               their industry and achieve and                        requirements or simplify monitoring
                                            data set and consider the technical                     disseminate information about their                   and reporting requirements. The final
                                            attributes of over 1,200 landfills based                environmental performance.                            rule consolidates amendments from the
                                            on data reported under subpart HH. The                     In addition, transparent, standardized             2022 Data Quality Improvements
                                            benefits of improved reporting also                     public data on emissions allows for                   Proposal and the 2023 Supplemental
                                            include enhancing existing voluntary                    accountability of polluters to the public             Proposal that revise 31 subparts that
                                            programs, such as the Landfill Methane                  who bear the cost of the pollution. The               directly affect 30 industries—including
                                            Outreach Program (LMOP), which uses                     GHGRP serves as a powerful data                       revisions to update the GWPs in table
                                            GHGRP data to supplement the LMOP                       resource and provides a critical tool for             A–1 to subpart A of part 98 that affect
                                            Landfill and Landfill Gas Energy Project                communities to identify nearby sources                the number of facilities required to
                                            Database and includes data collected                    of GHGs and provide information to                    report under part 98; revisions to
                                            from LMOP Partners about landfill gas                   state and local governments. As                       implement five new source categories or
                                            energy projects or potential for project                discussed in section II. of this preamble,            to expand existing source categories that
                                            development.                                            GHGRP data are easily accessible to the               may require facilities to newly report;
                                               The final rule would additionally                    public via the EPA’s FLIGHT, which                    and revisions to add new reporting
                                            benefit states by providing improved                    allows users to view and sort GHG data                requirements that will improve the
                                            facility-specific emissions data. Several               by location, industrial sector, and type              quality of the data collected under part
                                            states use GHGRP data to inform their                   of GHG emitted, and includes                          98. The costs associated with the final
                                            own policymaking. For example, the                      demographic data. Although the                        rule largely reflect the costs to facilities
                                            state of Hawaii uses GHGRP data to                      emissions reported to the EPA by                      that would be required to newly report
                                            establish an emissions baseline for each                reporting facilities are global pollutants,           under part 98. However, the majority of
                                            facility subject to their GHG Reduction                 many of these facilities also release                 subparts affected will reflect a modest
                                            Plan and to assess whether facilities                   pollutants that have a more direct and                increase in burden to existing
                                            meet their targets in future years.                     local impact in the surrounding                       individual reporters.
                                               GHGRP data are also used to improve                                                                           Further information on the EPA’s
                                                                                                    communities. Citizens, community
                                            estimates of GHG emissions                                                                                    assessment on the impact on burden can
                                                                                                    groups, and labor unions have made use
                                            internationally. Data collected through                                                                       be found in the memorandum
                                                                                                    of public pollutant release data to
                                            the GHGRP complements the Inventory                                                                           ‘‘Assessment of Burden Impacts for
                                                                                                    negotiate directly with emitters to lower
                                            and are used to significantly improve                                                                         Final Revisions for the Greenhouse Gas
                                                                                                    emissions, avoiding the need for
                                            our understanding of key emissions                                                                            Reporting Rule,’’ available in the docket
                                                                                                    additional regulatory action. The final
                                            sources by allowing the EPA to better                                                                         for this rulemaking (Docket ID. No.
                                                                                                    rule would improve the quality and
                                            reflect changing technologies and                                                                             EPA–HQ–OAR–2019–0424).
                                            emissions from a wide range of                          transparency of this reported data to
                                                                                                    affected communities.                                    Respondents/affected entities:
                                            industrial facilities. Specifically,                                                                          Owners and operators of facilities that
                                            GHGRP data have been used to inform                     VIII. Statutory and Executive Order                   must report their GHG emissions and
                                            several of the updates to emission                      Reviews                                               other data to the EPA to comply with 40
                                            estimation methods included in the                                                                            CFR part 98.
                                            2019 Refinement.                                        A. Executive Order 12866: Regulatory
                                                                                                    Planning and Review and 14094:                           Respondent’s obligation to respond:
                                               Benefits to industry of improved GHG                                                                       The respondent’s obligation to respond
                                            emissions monitoring and reporting                      Modernizing Regulatory Review
                                                                                                                                                          is mandatory and the requirements in
                                            from the amendments include the value                     This action is not a significant                    this rule are under the authority
                                            of having standardized emissions data                   regulatory action as defined in                       provided in CAA section 114.
                                            to present to the public to demonstrate                 Executive Order 12866, as amended by                     Estimated number of respondents:
                                            appropriate environmental stewardship,                  Executive Order 14094, and was                        2,701.
                                            and a better understanding of their                     therefore not subject to a requirement                   Frequency of response: Initially,
                                            emission levels and sources to identify                 for Executive Order 12866 review.                     annually.
                                            opportunities to reduce emissions. For                                                                           Total estimated burden: 25,647 hours
                                            example, the final rule updates the                     B. Paperwork Reduction Act
                                                                                                                                                          (annual average per year). Burden is
                                            global warming potential values used                       The information collection activities              defined at 5 CFR 1320.3(b).
lotter on DSK11XQN23PROD with RULES2




                                            under the GHGRP to reflect values from                  in this rule have been submitted for                     Total estimated cost: $5,410,000
                                            the IPCC AR5 and AR6, which are                         approval to the OMB under the PRA.                    (annual average per year), includes
                                            consistent with the values used under                   The Information Collection Request                    $2,734,000 annualized capital or
                                            several voluntary standards and                         (ICR) document that the EPA prepared                  operation and maintenance costs.
                                            frameworks such as the GHG Protocol                     has been assigned OMB number 2060–                       An agency may not conduct or
                                            and Sustainability Accounting                           0748, EPA ICR number 2773.02. You                     sponsor, and a person is not required to


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00084   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024               Page 90 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31885

                                            respond to, a collection of information                 (April 2023), available in the docket for                Production), DD (Electrical
                                            unless it displays a currently valid OMB                this rulemaking (Docket ID. No. EPA–                     Transmission and Distribution
                                            control number. The OMB control                         HQ–OAR–2019–0424). Based on the                          Equipment Use), HH (Municipal Solid
                                            numbers for the EPA’s regulations in 40                 results of these analyses, we concluded                  Waste Landfills), and ZZ (Ceramics
                                            CFR are listed in 40 CFR part 9. When                   that the 2022 Data Quality                               Manufacturing) to add new data
                                            OMB approves this ICR, the Agency will                  Improvements Proposal and 2023                           elements for annual reporting across
                                            announce that approval in the Federal                   Supplemental Proposal will have no                       these subparts. The estimated costs
                                            Register and publish a technical                        significant regulatory burden for any                    associated with the revisions to these
                                            amendment to 40 CFR part 9 to display                   directly regulated small entities and                    subparts for regulated entities are
                                            the OMB control number for the                          thus would not have a significant                        minimal (less than $100 annually), and
                                            approved information collection                         economic impact on a substantial                         would not result in costs exceeding
                                            activities contained in this final rule.                number of small entities.                                more than one percent of sales in any
                                                                                                       As discussed in sections III. and VII.                firm size category. Details of this
                                            C. Regulatory Flexibility Act (RFA)                     of this preamble, this action finalizes                  analysis are presented in the
                                               I certify that this final action will not            revisions to part 98 as proposed in the                  memorandum ‘‘Assessment of Burden
                                            have a significant economic impact on                   2022 Data Quality Improvements                           Impacts for Final Revisions for the
                                            a substantial number of small entities                  Proposal and the 2023 Supplemental                       Greenhouse Gas Reporting Rule,’’
                                            under the RFA. The small entities                       Proposal, or with minor revisions, and                   available in Docket ID. No. EPA–HQ–
                                            subject to the requirements of this                     we have revised the cost impacts to                      OAR–2019–0424.
                                            action are small businesses across all                  reflect the final rule requirements and
                                            sectors encompassed by the rule, small                  more recent data. For example, we have                      The remaining revisions to the final
                                            governmental jurisdictions, and small                   updated the impacts to better reflect the                rule include minor clarifications or
                                            non-profits. In the development of 40                   number of affected reporters that would                  adjustments to the proposed
                                            CFR part 98, the EPA determined that                    be subject to the final requirements,                    requirements that are not anticipated to
                                            some small entities are affected because                based on a review of RY2022 data.                        increase the burdens estimated for the
                                            their production processes emit GHGs                    These updates also predominantly                         2022 Data Quality Improvements
                                            that must be reported, because they                     include removing or adjusting costs                      Proposal and 2023 Supplemental
                                            have stationary combustion units on site                where the EPA is not taking final action                 Proposal which we previously
                                            that emit GHGs that must be reported,                   on specific proposed revisions,                          determined would not have a significant
                                            or because they have fuel supplier                      including costs associated with the                      impact on a significant number of small
                                            operations for which supply quantities                  addition of proposed subpart B (Energy                   businesses. For these reasons, we have
                                            and GHG data must be reported. Small                    Consumption), certain costs associated                   determined that these final revisions are
                                            governments and small non-profits are                   with proposed revisions to subpart W                     consistent with our prior small entity
                                            generally affected because they have                    (Petroleum and Natural Gas Systems)                      analyses, and would impose no
                                            regulated landfills or stationary                       included in the 2022 Data Quality                        significant regulatory burden on any
                                            combustion units on site, or because                    Improvements Proposal,50 and costs                       directly regulated small entities, and
                                            they own a local distribution company                   associated with certain revisions to                     thus would not have a significant
                                            (LDC).                                                  calculations, monitoring, or reporting                   economic impact on a substantial
                                               The EPA previously conducted                         requirements for subparts A (General                     number of small entities.
                                            screening analyses to identify impacts to               Provisions), C (General Stationary Fuel                     Refer to the memorandum
                                            small entities during the development of                Combustion), F (Aluminum                                 ‘‘Assessment of Burden Impacts for
                                            the 2022 Data Quality Improvements                      Production), G (Ammonia Production),                     Final Revisions for the Greenhouse Gas
                                            Proposal and the 2023 Supplemental                      H (Cement Production), S (Lime                           Reporting Rule,’’ available in Docket ID.
                                            Proposal. The EPA conducted small                       Production), HH (Municipal Waste                         No. EPA–HQ–OAR–2019–0424 for
                                            entity analyses that assessed the costs                 Landfills), OO (Suppliers of Industrial                  further discussion. The EPA continues
                                            and impacts to small entities in three                  Greenhouse Gases), and QQ (Importers                     to conduct significant outreach on the
                                            areas, including: (1) amendments that                   and Exporters of Fluorinated                             GHGRP and maintains an ‘‘open door’’
                                            revise the number or types of facilities                Greenhouse Gases Contained in Pre-                       policy for stakeholders to help inform
                                            required to report (i.e., updates of the                Charged Equipment and Closed-Cell                        the EPA’s understanding of key issues
                                            GHGRP’s applicability to certain                        Foams). Accordingly, the burden of the                   for the industries.
                                            sources), (2) changes to refine existing                final rule is reduced, as compared to the
                                            monitoring or calculation                               proposals, for facilities that may report                D. Unfunded Mandates Reform Act
                                            methodologies that require collection of                for these source categories, including all               (UMRA)
                                            additional data, and (3) revisions to                   direct emitting facilities previously
                                            reporting and recordkeeping                                                                                        This action does not contain an
                                                                                                    proposed to report under subpart B.                      unfunded mandate of $100 million or
                                            requirements for data provided to the                      The EPA has also adjusted the burden
                                            program. The analyses provided the                                                                               more as described in UMRA, 2 U.S.C.
                                                                                                    to account for additional costs from
                                            subparts affected, the number of small                                                                           1531–1538, and does not significantly or
                                                                                                    changes adopted in the final rule.
                                            entities affected, and the estimated                                                                             uniquely affect small governments.
                                                                                                    Specifically, we have adjusted the
                                            impact to these entities based on the                   reporting and recordkeeping                              E. Executive Order 13132: Federalism
                                            total annualized reporting costs of the                 requirements for subparts I (Electronics
                                            proposed rules. Details of these analyses               Manufacturing), P (Hydrogen                                This action does not have federalism
                                            are presented in the memoranda,                                                                                  implications. It will not have substantial
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                                            Assessment of Burden Impacts for                          50 The EPA is not taking final action on any           direct effects on the states, on the
                                            Proposed Revisions for the Greenhouse                   revisions to requirements for subpart W (Petroleum       relationship between the national
                                            Gas Reporting Rule (May 2022) and                       and Natural Gas Systems) in this final rule. See         government and the states, or on the
                                                                                                    sections I.C. and VII. of this preamble for additional
                                            Assessment of Burden Impacts for                        information regarding the EPA’s actions regarding
                                                                                                                                                             distribution of power and
                                            Proposed Supplemental Revisions for                     subpart W and the impacts included in this final         responsibilities among the various
                                            the Greenhouse Gas Reporting Rule                       rule.                                                    levels of government.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00085   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024               Page 91 of 164
                                            31886              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            F. Executive Order 13175: Consultation                  whether there were any tribally owned                 were able to confirm that the costs of the
                                            and Coordination With Indian Tribal                     facilities that are currently reporting               final revisions would not have a
                                            Governments                                             under the GHGRP that will be affected                 significant impact for these sources.
                                               This action has tribal implications.                 by the final revisions. Tribally owned                Further, based on our review of our
                                            However, it will neither impose                         facilities currently subject to part 98               small entity analyses (discussed in
                                            substantial direct compliance costs on                  will only be subject to changes that are              VIII.C. of this preamble), we do not
                                            federally recognized tribal governments,                improvements or clarifications of                     anticipate the final revisions to subparts
                                            nor preempt tribal law. This regulation                 requirements and that, for the most part,             H, DD, or HH will impose substantial
                                            will apply directly to facilities emitting              do not significantly change the existing              direct compliance costs on the
                                            and supplying GHGs that may be owned                    requirements or result in substantial                 remaining tribally owned entities.
                                                                                                    new activities because they do not                       Although few facilities subject to part
                                            by tribal governments that emit GHGs.
                                                                                                    require new equipment, sampling, or                   98 are likely to be owned by tribal
                                            However, it will only have tribal
                                                                                                    monitoring. Rather, tribally owned                    governments, the EPA previously sought
                                            implications where the tribal entity
                                                                                                    facilities would only be subject to new               opportunities to provide information to
                                            owns a facility that directly emits GHGs
                                                                                                    requirements where reporters would                    tribal governments and representatives
                                            above threshold levels; therefore,                                                                            during the development of the proposed
                                                                                                    provide data that is readily available
                                            relatively few (approximately 10) tribal                                                                      and final rules for part 98 subparts that
                                                                                                    from company records. As such, the
                                            facilities will be affected. This                                                                             were promulgated on October 30, 2009
                                                                                                    final revisions will not substantially
                                            regulation is not anticipated to impact                                                                       (74 FR 52620), July 12, 2010 (75 FR
                                                                                                    increase reporter burden, impose
                                            facilities or suppliers of additional                                                                         39736), November 30, 2010 (75 FR
                                                                                                    significant direct compliance costs for
                                            sectors owned by tribal governments.                                                                          74458), and December 1, 2010 (75 FR
                                                                                                    tribal facilities, or preempt tribal law.
                                               In evaluating the potential
                                                                                                       Specifically, we identified ten                    74774 and 75 FR 75076). Consistent
                                            implications for tribal entities, we first              facilities currently reporting to part 98             with the 2011 EPA Policy on
                                            assessed whether tribes would be                        that are owned by six tribal parent                   Consultation and Coordination with
                                            affected by any final revisions that                    companies. For these six parent                       Indian Tribes,51 the EPA previously
                                            expanded the universe of facilities that                companies, we identified facilities in                consulted with tribal officials early in
                                            would report GHG data to the EPA. The                   the stationary fuel combustion (subpart               the process of developing part 98
                                            final rule amendments will implement                    C), cement production (subpart H),                    regulations to permit them to have
                                            requirements to collect additional data                 petroleum and natural gas (subpart W),                meaningful and timely input into its
                                            to understand new source categories,                    electrical transmission and distribution              development and to provide input on
                                            new sources of GHG emissions or                         equipment use (subpart DD), and MSW                   the key regulatory requirements
                                            supply for specific sectors; improve the                landfill (subpart HH) source categories               established for these facilities. A
                                            existing emissions estimation                           that may be affected by the final                     summary of these consultations is
                                            methodologies; and improve the EPA’s                    revisions.                                            provided in section VIII.F. of the
                                            understanding of the sector-specific                       For stationary fuel combustion, the                preamble to the final rule published on
                                            processes or other factors that influence               EPA is not taking final action on                     October 30, 2009 (74 FR 52620), section
                                            GHG emission rates and improve                          proposed revisions to add reporting                   V.F. of the preamble to the final rule
                                            verification of collected data. Of the 254              requirements to subpart C, but is                     published on July 12, 2010 (75 FR
                                            facilities that we anticipate will be                   retaining revisions that would remove                 39736), section IV.F. of the preamble to
                                            newly required to report under the final                certain reporting requirements.                       the re-proposal of subpart W (Petroleum
                                            revisions, we do not anticipate that                    Therefore, the costs for any tribally-                and Natural Gas Systems) published on
                                            there are any tribally owned facilities.                owned facilities currently reporting to               April 12, 2010 (75 FR 18608), and
                                            As discussed in section VII. of this                    subpart C are anticipated to decrease                 section IV.F. of the preambles to the
                                            preamble, we expect the final revisions                 and no facilities are anticipated to be               final rules published on December 1,
                                            to table A–1 to part 98 to result in a                  negatively impacted. For petroleum and                2010 (75 FR 74774 and 75 FR 75076).
                                            change to the number of facilities                      natural gas facilities, the EPA is not                As described in this section, the final
                                            required to report under subparts W                     including any revisions to subpart W in               rule does not significantly revise the
                                            (Petroleum and Natural Gas Systems), V                  this final rule (see section I.C. of this             established regulatory requirements and
                                            (Nitric Acid Production), DD (Electrical                document); therefore, any tribally-                   will not substantially change the
                                            Transmission and Distribution                           owned facilities currently reporting to               equipment, monitoring, or reporting
                                            Equipment Use), HH (MSW Landfills), II                  subpart W are not anticipated to be                   activities conducted by these facilities,
                                            (Industrial Wastewater Treatment), OO                   impacted. Three parent companies                      or result in other substantial impacts for
                                            (Suppliers of Industrial GHGs), and TT                  include existing facilities that report               tribal facilities.
                                            (Industrial Waste Landfills). However,                  only under subparts C or W, which are
                                            we did not identify any potential                       not anticipated to have significant                   G. Executive Order 13045: Protection of
                                            sources in these source categories that                 impacts under this rule for the reasons               Children From Environmental Health
                                            are owned by tribal entities not already                discussed in this section. Therefore, the             Risks and Safety Risks
                                            reporting to the GHGRP. Similarly,                      remaining facilities that could be                      The EPA interprets Executive Order
                                            although we are finalizing amendments                   affected by the final revisions are those             13045 as applying only to those
                                            that will require some facilities in select             that report to subparts H, DD, and HH.                regulatory actions that concern
                                            source categories not currently subject                 For the remaining three parent                        environmental health or safety risks that
                                            to the GHGRP to begin implementing                      companies, we reviewed publicly                       the EPA has reason to believe may
                                            requirements under the program, we                      available sales and revenue data to                   disproportionately affect children, per
lotter on DSK11XQN23PROD with RULES2




                                            have not identified, and do not                         assess whether the costs of the final rule            the definition of ‘‘covered regulatory
                                            anticipate that any of these affected                   would be significant. Under the final
                                            facilities are owned by tribal                          rule, the costs for facilities currently                51 EPA Policy on Consultation and Coordination

                                                                                                    reporting under subparts H, DD, or HH                 with Indian Tribes, May 4, 2011. Available at:
                                            governments.                                                                                                  www.epa.gov/sites/default/files/2013-08/
                                               As a second step to evaluate potential               are anticipated to increase by less than              documents/cons-and-coord-with-indian-tribes-
                                            tribal implications, we evaluated                       $100 per year per subpart. Therefore, we              policy.pdf.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00086   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 92 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31887

                                            action’’ in section 2–202 of the                        forged specimens. (See the end of                     CFR 98.254(i) (subpart Y—Petroleum
                                            Executive order. This action is not                     section VIII.I. of this preamble for                  Refineries). The EPA is allowing the use
                                            subject to Executive Order 13045                        availability information.)                            of the updated versions of these
                                            because it does not concern an                             The EPA is adding new subpart VV to                standards (ASTM D3176–15, ASTM
                                            environmental health risk or safety risk.               part 98 for certain EOR operations that               D5291–16, and ASTM D5373–21) to
                                                                                                    choose to use the co-published ISO/CSA                determine the carbon content of
                                            H. Executive Order 13211: Actions That                  standard designated as CSA/ANSI ISO
                                            Significantly Affect Energy Supply,                                                                           petroleum coke for subpart WW (Coke
                                                                                                    27916:19, Carbon dioxide capture,                     Calciners). ASTM D3176–15 provides
                                            Distribution, or Use                                    transportation and geological storage—                direction for a convenient and uniform
                                              This action is not subject to Executive               Carbon dioxide storage using enhanced                 system of analysis of the ash content
                                            Order 13211, because it is not a                        oil recovery (CO2–EOR), as a means of                 and the content of organic constituents
                                            significant regulatory action under                     quantifying geologic sequestration. The               in coal and coke; this method references
                                            Executive Order 12866.                                  EPA is also clarifying in subpart UU at               the appropriate ASTM methods for
                                            I. National Technology Transfer and                     40 CFR 98.470(c) and subpart VV at 40                 sample collection, preparation, content
                                            Advancement Act and 1 CFR Part 51                       CFR 98.481 that CO2–EOR projects                      determination, and provides
                                                                                                    previously reporting under subpart UU                 consistency measures for calculation
                                               This action involves technical                       that begin using CSA/ANSI ISO                         and reporting of results. ASTM D5291–
                                            standards. The EPA has decided to                       27916:19 part-way through a reporting                 16 provides a series of test methods for
                                            incorporate by reference several                        year must report under subpart UU for                 the simultaneous instrumental
                                            standards in establishing monitoring                    the portion of the year before CSA/ANSI               determination of carbon, hydrogen, and
                                            requirements in these final                             ISO 27916:19 was used and report                      nitrogen in petroleum products and
                                            amendments.                                             under subpart VV for the portion of the
                                               The EPA currently allows for the use                                                                       lubricants such as crude oils, fuel oils,
                                                                                                    year once CSA/ANSI ISO 27916:19                       additives, and residues; the method
                                            of the Protocol for Measuring                           began to be used and thereafter. CSA/
                                            Destruction or Removal Efficiency (DRE)                                                                       allows for a variety of instrumental
                                                                                                    ANSI ISO 27916:19 identifies and                      components and configurations for
                                            of Fluorinated Greenhouse Gas                           quantifies CO2 losses (including fugitive
                                            Abatement Equipment in Electronics                                                                            measurement and calculation of
                                                                                                    emissions) and quantifies the amount of               concentrations of carbon, hydrogen, and
                                            Manufacturing, Version 1, EPA–430–R–                    CO2 stored in association with the CO2-
                                            10–003, March 2010 (EPA 430–R–10–                                                                             nitrogen. ASTM D5373–21 provides a
                                                                                                    EOR project. It also shows how                        methodology for the determination of
                                            003) in other sections of part 98,                      allocation rations can be used to
                                            including subpart I (Electronics                                                                              carbon, hydrogen, and nitrogen content
                                                                                                    account for the anthropogenic portion of              in coal or carbon in coke using furnace
                                            Manufacturing). The EPA is adding the                   the stored CO2. Anyone may access the
                                            use of EPA 430–R–10–003 to subpart I                                                                          combustion and instrument detection
                                                                                                    standard on the CSA group website                     systems; the method addresses the
                                            for use for measurement of DREs from                    (www.csagroup.org/store) for additional
                                            abatement systems, including HC fuel                                                                          determination of carbon in the range of
                                                                                                    information. The standard is available to             54.9 percent m/m to 84.7 percent m/m,
                                            CECS, purchased and installed on or                     everyone at a cost determined by CSA
                                            after January 1, 2025. EPA 430–R–10–                                                                          hydrogen in the range of 3.26 percent
                                                                                                    Group ($225). CSA Group also offers                   m/m to 5.08 percent m/m, and nitrogen
                                            003 provides methods for measuring                      memberships or subscriptions for
                                            abatement system inlet and outlet mass                                                                        in the range of 0.57 percent m/m to 1.76
                                                                                                    reduced costs. Because the use of the                 percent m/m in the analysis sample of
                                            or volume flows for single or multi-                    standard is optional, the cost of
                                            chamber process tools, accounting for                                                                         coal. (See the end of section VIII.I. of
                                                                                                    obtaining this standard is not a
                                            dilution. Anyone may access EPA 430–                                                                          this preamble for availability
                                                                                                    significant financial burden.
                                            R–10–003 at https://www.epa.gov/sites/                     The EPA is adding new subpart WW                   information.)
                                            default/files/2016-02/documents/dre_                    to part 98 (Coke Calciners) and is                       We are allowing the use of the
                                            protocol.pdf. This standard is available                allowing the use of any one of the                    following standard for coke calciners
                                            to everyone at no cost; therefore, the                  following standards for coke calcining                subject to subpart WW: NIST HB 44–
                                            method is reasonably available for                      facilities: (1) ASTM D3176–15 Standard                2023, NIST Handbook 44:
                                            reporters.                                              Practice for Ultimate Analysis of Coal                Specifications, Tolerances, and Other
                                               The EPA is allowing the use of an                    and Coke, (2) ASTM D5291–16                           Technical Requirements For Weighing
                                            alternate method, ASTM E415–17,                         Standard Test Methods for Instrumental                and Measuring Devices, 2023 edition.
                                            Standard Test Method for Analysis of                    Determination of Carbon, Hydrogen,                    The EPA currently allows for the use of
                                            Carbon and Low-Alloy Steel by Spark                     and Nitrogen in Petroleum Products and                an earlier version of the proposed
                                            Atomic Emission Spectrometry (2017),                    Lubricants, and (3) ASTM D5373–21                     standard method, Specifications,
                                            for the purposes of subpart Q (Iron and                 Standard Test Methods for                             Tolerances, and Other Technical
                                            Steel Production) monitoring and                        Determination of Carbon, Hydrogen,                    Requirements For Weighing and
                                            reporting. The EPA currently allows for                 and Nitrogen in Analysis Samples of                   Measuring Devices, NIST Handbook 44
                                            the use of ASTM E415–17 in other                        Coal and Carbon in Analysis Samples of                (2009), for the calibration and
                                            sections of part 98, including under 40                 Coal and Coke. These methods are used                 maintenance of instruments used for
                                            CFR 98.144(b) where it can be used to                   to determine the carbon content of                    weighing of mass of samples of
                                            determine the composition of coal, coke,                petroleum coke. The EPA currently                     petroleum coke in other sections of part
                                            and solid residues from combustion                      allows for the use of an earlier version              98, including 40 CFR 98.244(b) (subpart
                                            processes by glass production facilities.               of these standard methods for the                     X). The EPA is allowing the use of the
                                            Therefore, the EPA is allowing ASTM                     instrumental determination of carbon                  updated version of this standard, NIST
lotter on DSK11XQN23PROD with RULES2




                                            E415–17 to be used in subpart Q. ASTM                   content in laboratory samples of                      HB 44–2023: Specifications, Tolerances,
                                            E415–17 uses spark atomic emission                      petroleum coke in other sections of part              and Other Technical Requirements For
                                            vacuum spectrometry to determine 21                     98, including the use of ASTM D3176–                  Weighing and Measuring Devices, 2023
                                            alloying and residual elements in                       89, ASTM D5291–02, and ASTM                           edition, for performing mass
                                            carbon and low-alloy steels. The method                 D5373–08 in 40 CFR 98.244(b) (subpart                 measurements of petroleum coke for
                                            is designed for chill-cast, rolled, and                 X—Petrochemical Production) and 40                    subpart WW (Coke Calciners). This


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00087   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 93 of 164
                                            31888              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            standard includes specifications on                     offers memberships or subscriptions                   This action does not affect the level of
                                            design of equipment, tolerances to limit                that allow unlimited access to their                  protection provided to human health or
                                            the allowable error, sensitivity                        methods. The cost of obtaining these                  the environment, but instead, addresses
                                            requirements, and other technical                       methods is not a significant financial                information collection and reporting
                                            requirements for weighing and                           burden, making the methods reasonably                 procedures. Although this action does
                                            measuring devices. Anyone may access                    available for reporters.                              not concern human health or
                                            the standards on the NIST website                          The EPA will also make a copy of                   environmental conditions, the EPA
                                            (www.nist.gov/index.html) for                           these documents available in hard copy                identified and addressed environmental
                                            additional information. These standards                 at the appropriate EPA office (see the                justice concerns by promoting
                                            are available to everyone at no cost;                   FOR FURTHER INFORMATION CONTACT                       meaningful engagement from
                                            therefore the methods are reasonably                    section of this preamble for more                     communities in developing the action,
                                            available for reporters.                                information) for review purposes only.                and in developing requirements that
                                               The EPA is adding new subpart XX to                  The EPA is not requiring the use of                   improve the quality of data available to
                                            part 98 (Calcium Carbide Production)                    specific consensus standards for new                  communities. The EPA provided
                                            and is allowing the use of one of the                   subparts YY (Caprolactam, Glyoxal, and                multiple public comment periods on the
                                            following standards for calcium carbide                 Glyoxylic Acid Production) or ZZ                      proposed 2022 Data Quality
                                            production facilities: (1) ASTM D5373–                  (Ceramics Manufacturing), or for other                Improvements Proposal (from June 21,
                                            08 Standard Test Methods for                            amendments to part 98.                                2022 to October 6, 2022) and the 2023
                                            Instrumental Determination of Carbon,                     The following standards appear in the               Supplemental Proposal (May 22, 2023 to
                                            Hydrogen, and Nitrogen in Laboratory                    amendatory text of this document and                  July 21, 2023), and provided
                                            Samples of Coal, or (2) ASTM C25–06,                    were previously approved for the                      opportunities for virtual public
                                            Standard Test Methods for Chemical                      locations in which they appear:                       hearing(s) for members of the public to
                                            Analysis of Limestone, Quicklime, and                     • ASTM D3176–89 (Reapproved                         share information or concerns and
                                            Hydrated Lime. ASTM D5373–08                            2002) Standard Practice for Ultimate                  participate in the decision-making
                                            addresses the determination of carbon                   Analysis of Coal and Coke;                            process. Further, the EPA has developed
                                            in the range of 54.9 percent m/m to 84.7                  • ASTM D5291–02 (Reapproved                         improvements to the GHGRP that
                                            percent m/m, hydrogen in the range of                   2007) Standard Test Methods for                       benefit the public by increasing the
                                            3.25 percent m/m to 5.10 percent m/m,                   Instrumental Determination of Carbon,                 completeness and accuracy of facility
                                            and nitrogen in the range of 0.57 percent               Hydrogen, and Nitrogen in Petroleum                   emissions data. The data collected
                                            m/m to 1.80 percent m/m in the analysis                 Products and Lubricants;                              through this action will provide an
                                            sample of coal. The EPA currently                         • ASTM E1019–08 Standard Test                       important data resource for
                                            allows for the use of ASTM D5373–08                     Methods for Determination of Carbon,                  communities and the public to
                                            in other sections of part 98, including in              Sulfur, Nitrogen, and Oxygen in Steel,                understand GHG emissions, including
                                            40 CFR 98.244(b) (subpart X—                            Iron, Nickel, and Cobalt Alloys by                    requiring reporting of GHG data from
                                            Petrochemical Production), 40 CFR                       Various Combustion and Fusion                         additional emission sources and
                                            98.284(c) (subpart BB—Silicon Carbide                   Techniques;                                           providing more comprehensive coverage
                                            Production), and 40 CFR 98.314(c)                         • Specifications, Tolerances, and                   of U.S. GHG emissions. Transparent,
                                            (subpart EE—Titanium Production) for                    Other Technical Requirements For                      standardized public data on emissions
                                            the instrumental determination of                       Weighing and Measuring Devices, NIST                  allows for accountability of polluters to
                                            carbon content in laboratory samples.                   Handbook 44 (2009);                                   the public who bear the cost of the
                                            Therefore, we are allowing the use of                     • ASTM D6866–16 Standard Test                       pollution. Although the emissions
                                            ASTM D5373–08 for determination of                      Methods for Determining the Biobased                  reported to the EPA by reporting
                                            carbon content of materials consumed,                   Content of Solid, Liquid, and Gaseous                 facilities are global pollutants, many of
                                            used, or produced at calcium carbide                    Samples Using Radiocarbon Analysis).                  these facilities also release pollutants
                                            facilities.                                               • ASTM D7459–08 Standard Practice                   that have a more direct and local impact
                                               The EPA currently allows for the use                 for Collection of Integrated Samples for              in the surrounding communities.
                                            of ASTM C25–06 in other sections of                     the Speciation of Biomass (Biogenic)                  GHGRP data are easily accessible to the
                                            part 98, including in 40 CFR 98.194(c)                  and Fossil-Derived Carbon Dioxide                     public via the EPA’s online data
                                            (subpart S—Lime Production) for                         Emitted from Stationary Emissions                     publication tool (FLIGHT), which
                                            chemical composition analysis of lime                   Sources.                                              allows users to view and sort GHG data
                                            products and calcined byproducts and                      • ASTM D2505–88 (Reapproved                         from over 8,000 entities in a variety of
                                            in 40 CFR 98.184(b) (subpart R—Lead                     2004)e1 Standard Test Method for                      ways including by location, industrial
                                            Production) for analysis of flux                        Ethylene, Other Hydrocarbons, and                     sector, type of GHG emitted, and
                                            materials such as limestone or dolomite.                Carbon Dioxide in High-Purity Ethylene                provides supplementary demographic
                                            ASTM C25–06 addresses the chemical                      by Gas Chromatography.                                data that may be useful to communities
                                            analysis of high-calcium and dolomitic                    • T650 om–05 Solids Content of                      with environmental justice concerns. As
                                            limestone, quicklime, and hydrated                      Black Liquor, TAPPI.                                  described further in sections II. and III.
                                            lime. We are allowing the use of ASTM                                                                         of this preamble, the final rule improves
                                            C25–06 for determination of carbon                      J. Executive Order 12898: Federal
                                                                                                    Actions To Address Environmental                      the quality and transparency of this
                                            content of materials consumed, used, or                                                                       reported data to affected communities
                                            produced at calcium carbide facilities,                 Justice in Minority Populations and
                                                                                                                                                          and enables members of the public to
                                            including analysis of materials such as                 Low-Income Populations
                                                                                                                                                          have access to and improve their
                                            limestone or dolomite.                                     The EPA believes that this type of                 understanding of GHG emissions and
lotter on DSK11XQN23PROD with RULES2




                                               Anyone may access the standards on                   action does not directly concern human                pollutants that may impact them.
                                            the ASTM website (www.astm.org/) for                    health or environmental conditions and
                                            additional information. These standards                 therefore cannot be evaluated with                    K. Congressional Review Act (CRA)
                                            are available to everyone at a cost                     respect to potentially disproportionate                 This action is subject to the CRA, and
                                            determined by the ASTM (between $48                     and adverse effects on communities                    the EPA will submit a rule report to
                                            and $92 per standard). The ASTM also                    with environmental justice concerns.                  each House of the Congress and to the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00088   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 94 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                     31889

                                            Comptroller General of the United                       Reporting and recordkeeping                           (f) * * *
                                            States. This action is not a ‘‘major rule’’             requirements.                                         (1) Calculate the mass in metric tons
                                            as defined by 5 U.S.C. 804(2).                                                                             per year of CO2, N2O, each fluorinated
                                                                                                    40 CFR Part 98
                                            L. Judicial Review                                                                                         GHG, and each fluorinated heat transfer
                                                                                                       Environmental protection,
                                               Under CAA section 307(b)(1), any                     Greenhouse gases, Incorporation by                 fluid that is imported and the mass in
                                            petition for review of this final rule                  reference, Reporting and recordkeeping             metric tons per year of CO2, N2O, each
                                            must be filed in the U.S. Court of                      requirements, Suppliers.                           fluorinated GHG, and each fluorinated
                                            Appeals for the District of Columbia                                                                       heat transfer fluid that is exported
                                            Circuit by June 24, 2024. This final rule               Michael S. Regan,                                  during the year.
                                            establishes requirements applicable to                  Administrator.
                                                                                                                                                       *      *     *     *      *
                                            owners and operators of facilities and                     For the reasons stated in the                      (i) * * *
                                            suppliers in many industry source                       preamble, the Environmental Protection
                                            categories located across the United                    Agency amends title 40, chapter I, of the             (1) If reported CO2e emissions,
                                            States that are subject to 40 CFR part 98               Code of Federal Regulations as follows:            calculated in accordance with
                                            and therefore is ‘‘nationally applicable’’                                                                 § 98.3(c)(4)(i), are less than 25,000
                                            within the meaning of CAA section                       PART 9—OMB APPROVALS UNDER                         metric tons per year for five consecutive
                                            307(b)(1).                                              THE PAPERWORK REDUCTION ACT                        years, then the owner or operator may
                                               Further, pursuant to CAA section                                                                        discontinue complying with this part
                                            307(d)(1)(V), the Administrator has                     ■ 1. The authority citation for part 9
                                                                                                                                                       provided that the owner or operator
                                            determined that this rule is subject to                 continues to read as follows:
                                                                                                                                                       submits a notification to the
                                            the provisions of CAA section 307(d).                      Authority: 7 U.S.C. 135 et seq., 136–136y;      Administrator that announces the
                                            See CAA section 307(d)(1)(V) (the                       15 U.S.C. 2001, 2003, 2005, 2006, 2601–2671; cessation of reporting and explains the
                                            provisions of section 307(d) apply to                   21 U.S.C. 331j, 346a, 31 U.S.C. 9701; 33
                                                                                                    U.S.C. 1251 et seq., 1311, 1313d, 1314, 1318,      reasons for the reduction in emissions.
                                            ‘‘such other actions as the Administrator                                                                  The notification shall be submitted no
                                            may determine’’). Under CAA section                     1321, 1326, 1330, 1342, 1344, 1345(d) and
                                                                                                    (e), 1361; E.O. 11735, 38 FR 21243, 3 CFR,         later than March 31 of the year
                                            307(d)(7)(B), only an objection to this                 1971–1975 Comp. p. 973; 42 U.S.C. 241,             immediately following the fifth
                                            final rule that was raised with                         242b, 243, 246, 300f, 300g, 300g–1, 300g–2,        consecutive year of emissions less than
                                            reasonable specificity during the period                300g–3, 300g–4, 300g–5, 300g–6, 300j–1,
                                            for public comment can be raised during                                                                    25,000 tons CO2e per year. The owner
                                                                                                    300j–2, 300j–3, 300j–4, 300j–9, 1857 et seq.,
                                            judicial review. CAA section                            6901–6992k, 7401–7671q, 7542, 9601–9657,           or operator must maintain the
                                            307(d)(7)(B) also provides a mechanism                  11023, 11048.                                      corresponding records required under
                                            for the EPA to convene a proceeding for                                                                    § 98.3(g) for each of the five consecutive
                                                                                                    ■ 2. Amend § 9.1 by adding an
                                            reconsideration, ‘‘[i]f the person raising              undesignated center heading and an                 years prior to notification of
                                            an objection can demonstrate to EPA                     entry for ‘‘98.1–98.528’’ in numerical             discontinuation of reporting and retain
                                            that it was impracticable to raise such                 order to read as follows:                          such records for three years following
                                            objection within [the period for public                                                                    the year that reporting was
                                            comment] or if the grounds for such                     § 9.1 OMB approvals under the Paperwork discontinued. The owner or operator
                                            objection arose after the period for                    Reduction Act.                                     must resume reporting if annual CO2e
                                            public comment (but within the time                     *      *     *       *         *                   emissions, calculated in accordance
                                            specified for judicial review) and if such                                                                 with paragraph (b)(4) of this section, in
                                            objection is of central relevance to the                                                       OMB control any future calendar year increase to
                                                                                                            40 CFR citation
                                            outcome of the rule.’’ Any person                                                                  No.
                                                                                                                                                       25,000 metric tons per year or more.
                                            seeking to make such a demonstration
                                                                                                                                                          (2) If reported CO2e emissions,
                                            should submit a Petition for                                *         *            *           *       *
                                            Reconsideration to the Office of the                                                                       calculated in accordance with
                                            Administrator, Environmental                               Mandatory Greenhouse Gas Reporting
                                                                                                                                                       § 98.3(c)(4)(i), were less than 15,000
                                            Protection Agency, Room 3000, William                                                                      metric tons per year for three
                                            Jefferson Clinton Building, 1200                        98.1–98.528 ..........................   2060–0629 consecutive years, then the owner or
                                            Pennsylvania Ave. NW, Washington, DC                                                                       operator may discontinue complying
                                            20460, with an electronic copy to the                       *         *            *           *       *   with this part provided that the owner
                                            person listed in FOR FURTHER                                                                               or operator submits a notification to the
                                            INFORMATION CONTACT, and the Associate                  PART 98—MANDATORY                                  Administrator that announces the
                                            General Counsel for the Air and                         GREENHOUSE GAS REPORTING                           cessation of reporting and explains the
                                            Radiation Law Office, Office of General                                                                    reasons for the reduction in emissions.
                                            Counsel (Mail Code 2344A),                              ■ 3. The authority citation for part 98            The notification shall be submitted no
                                            Environmental Protection Agency, 1200                   continues to read as follows:                      later than March 31 of the year
                                            Pennsylvania Ave. NW, Washington, DC                       Authority: 42 U.S.C. 7401–7671q.                immediately following the third
                                            20004. Note that under CAA section                                                                         consecutive year of emissions less than
                                            307(b)(2), the requirements established                 Subpart A—General Provision                        15,000 tons CO2e per year. The owner
                                            by this final rule may not be challenged                                                                   or operator must maintain the
                                                                                                    ■ 4. Amend § 98.2 by:
                                            separately in any civil or criminal                                                                        corresponding records required under
                                                                                                    ■ a. Revising paragraphs (f)(1) and (i)(1)
                                            proceedings brought by the EPA to                                                                          § 98.3(g) for each of the three
                                                                                                    and (2); and
                                            enforce these requirements.
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                                                                                                    ■ b. Adding paragraph (k).                         consecutive years and retain such
                                            List of Subjects                                           The revisions and addition read as              records for three years prior to
                                                                                                    follows:                                           notification of discontinuation of
                                            40 CFR Part 9
                                                                                                    § 98.2 Who must report?
                                                                                                                                                       reporting following the year that
                                              Environmental protection,                                                                                reporting was discontinued. The owner
                                            Administrative practice and procedure,                  *      *     *       *         *



                                       VerDate Sep<11>2014   20:16 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00089   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 95 of 164
                                            31890              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            or operator must resume reporting if                    prescribed by the Administrator prior to              subsequent years. This paragraph (l)
                                            annual CO2e emissions, calculated in                    the expiration of the 45-day period, the              applies to owners or operators of
                                            accordance with paragraph (b)(4) of this                extension request is deemed to be                     facilities or suppliers that first become
                                            section, in any future calendar year                    automatically granted for 30 days. The                subject to any subpart of this part due
                                            increase to 25,000 metric tons per year                 Administrator may grant an additional                 to an amendment to table A–1 to this
                                            or more.                                                extension beyond the automatic 30-day                 subpart, Global Warming Potentials.
                                            *      *     *     *     *                              extension if the owner or operator                       (1) Best available monitoring
                                               (k) To calculate GHG quantities for                  submits a request for an additional                   methods. From January 1 to March 31 of
                                            comparison to the 25,000 metric ton                     extension and the request is received by              the year after the year during which the
                                            CO2e per year threshold under                           the Administrator prior to the expiration             change in GWPs is published in the
                                            paragraph (a)(4) of this section for                    of the automatic 30-day extension,                    Federal Register as a final rulemaking,
                                            facilities that destroy fluorinated GHGs                provided the request demonstrates that                owners or operators subject to this
                                            or fluorinated heat transfer fluids, the                it is not practicable to submit a revised             paragraph (l) may use best available
                                            owner or operator shall calculate the                   report or information under paragraphs                monitoring methods for any parameter
                                            mass in metric tons per year of CO2e                    (h)(1) and (2) of this section within 75              (e.g., fuel use, feedstock rates) that
                                            destroyed as described in paragraphs                    days. The Administrator will approve                  cannot reasonably be measured
                                            (k)(1) through (3) of this section.                     the extension request if the request                  according to the monitoring and QA/QC
                                               (1) Calculate the mass in metric tons                demonstrates to the Administrator’s                   requirements of a relevant subpart. The
                                            per year of each fluorinated GHG or                     satisfaction that it is not practicable to            owner or operator must use the
                                            fluorinated heat transfer fluid that is                 collect and process the data needed to                calculation methodologies and
                                            destroyed during the year.                              resolve potential reporting errors                    equations in the ‘‘Calculating GHG
                                               (2) Convert the mass of each                         identified pursuant to paragraph (h)(1)               Emissions’’ sections of each relevant
                                            destroyed fluorinated GHG or                            or (2) of this section within 75 days. The            subpart, but may use the best available
                                            fluorinated heat transfer fluid from                    Administrator will only approve an                    monitoring method for any parameter
                                            paragraph (k)(1) of this section to metric              extension request for a total of 180 days             for which it is not reasonably feasible to
                                            tons of CO2e using equation A–1 to this                 after the initial notification of a                   acquire, install, and operate a required
                                            section.                                                substantive error.                                    piece of monitoring equipment by
                                               (3) Sum the total annual metric tons                 *      *     *     *     *                            January 1 of the year after the year
                                            of CO2e in paragraph (k)(2) of this                        (k) * * *                                          during which the change in GWPs is
                                            section for all destroyed fluorinated                      (1) A facility or supplier that first              published in the Federal Register as a
                                            GHGs and destroyed fluorinated heat                     becomes subject to part 98 due to a                   final rulemaking. Starting no later than
                                            transfer fluids.                                        change in the GWP for one or more                     April 1 of the year after the year during
                                            ■ 5. Amend § 98.3 by:                                   compounds in table A–1 to this subpart,               which the change in GWPs is published,
                                            ■ a. Revising paragraphs (b)(2), (h)(4),                Global Warming Potentials, is not                     the owner or operator must discontinue
                                            and (k)(1) through (3); and                             required to submit an annual GHG                      using best available methods and begin
                                            ■ b. Revising and republishing                          report for the reporting year during                  following all applicable monitoring and
                                            paragraph (l).                                          which the change in GWPs is published                 QA/QC requirements of this part, except
                                               The revisions and republication read                 in the Federal Register as a final                    as provided in paragraph (l)(2) of this
                                            as follows:                                             rulemaking.                                           section. Best available monitoring
                                                                                                       (2) A facility or supplier that was                methods means any of the following
                                            § 98.3 What are the general monitoring,                 already subject to one or more subparts               methods:
                                            reporting, recordkeeping and verification               of this part but becomes subject to one                  (i) Monitoring methods currently used
                                            requirements of this part?                              or more additional subparts due to a                  by the facility that do not meet the
                                            *      *     *    *       *                             change in the GWP for one or more                     specifications of a relevant subpart.
                                              (b) * * *                                             compounds in table A–1 to this subpart,                  (ii) Supplier data.
                                              (2) For a new facility or supplier that               is not required to include those subparts                (iii) Engineering calculations.
                                            begins operation on or after January 1,                 to which the facility is subject only due                (iv) Other company records.
                                            2010 and becomes subject to the rule in                 to the change in the GWP in the annual                   (2) Requests for extension of the use
                                            the year that it becomes operational,                   GHG report submitted for the reporting                of best available monitoring methods.
                                            report emissions starting the first                     year during which the change in GWPs                  The owner or operator may submit a
                                            operating month and ending on                           is published in the Federal Register as               request to the Administrator to use one
                                            December 31 of that year. Each                          a final rulemaking.                                   or more best available monitoring
                                            subsequent annual report must cover                        (3) Starting on January 1 of the year              methods beyond March 31 of the year
                                            emissions for the calendar year,                        after the year during which the change                after the year during which the change
                                            beginning on January 1 and ending on                    in GWPs is published in the Federal                   in GWPs is published in the Federal
                                            December 31.                                            Register as a final rulemaking, facilities            Register as a final rulemaking.
                                            *      *     *    *       *                             or suppliers identified in paragraph                     (i) Timing of request. The extension
                                              (h) * * *                                             (k)(1) or (2) of this section must start              request must be submitted to EPA no
                                              (4) Notwithstanding paragraphs (h)(1)                 monitoring and collecting GHG data in                 later than January 31 of the year after
                                            and (2) of this section, upon request by                compliance with the applicable subparts               the year during which the change in
                                            the owner or operator, the                              of part 98 to which the facility is subject           GWPs is published in the Federal
                                            Administrator may provide reasonable                    due to the change in the GWP for the                  Register as a final rulemaking.
lotter on DSK11XQN23PROD with RULES2




                                            extensions of the 45-day period for                     annual greenhouse gas report for that                    (ii) Content of request. Requests must
                                            submission of the revised report or                     reporting year, which is due by March                 contain the following information:
                                            information under paragraphs (h)(1) and                 31 of the following calendar year.                       (A) A list of specific items of
                                            (2) of this section. If the Administrator               *      *     *     *     *                            monitoring instrumentation for which
                                            receives a request for extension of the                    (l) Special provision for best available           the request is being made and the
                                            45-day period, by email to an address                   monitoring methods in 2014 and                        locations where each piece of


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00090   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 96 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31891

                                            monitoring instrumentation will be                      beyond December 31 of the year after                  a container for the transportation or
                                            installed.                                              the year during which the change in                   storage of that substance such as
                                               (B) Identification of the specific rule              GWPs is published.                                    cylinders, drums, ISO tanks, and small
                                            requirements (by rule subpart, section,                 ■ 6. Amend § 98.5 by revising paragraph               cans. An industrial gas or CO2 that must
                                            and paragraph numbers) for which the                    (b) to read as follows:                               first be transferred from a container to
                                            instrumentation is needed.                                                                                    another container, vessel, or piece of
                                               (C) A description of the reasons that                § 98.5   How is the report submitted?                 equipment in order to realize its
                                            the needed equipment could not be                       *      *     *    *      *                            intended use is a bulk substance. An
                                            obtained and installed before April 1 of                   (b) For reporting year 2014 and                    industrial GHG or CO2 that is contained
                                            the year after the year during which the                thereafter, unless a later year is                    in a manufactured product such as
                                            change in GWPs is published in the                      specified in the applicable                           electrical equipment, appliances,
                                            Federal Register as a final rulemaking.                 recordkeeping section, you must enter                 aerosol cans, or foams is not a bulk
                                               (D) If the reason for the extension is               into verification software specified by               substance.
                                            that the equipment cannot be purchased                  the Administrator the data specified as               *      *     *     *    *
                                            and delivered by April 1 of the year                    verification software records in each                    Carbon dioxide stream means carbon
                                            after the year during which the change                  applicable recordkeeping section. For                 dioxide that has been captured from an
                                            in GWPs is published in the Federal                     each data element entered into the                    emission source (e.g., a power plant or
                                            Register as a final rulemaking, include                 verification software, if the software                other industrial facility), captured from
                                            supporting documentation such as the                    produces a warning message for the data               ambient air (e.g., direct air capture), or
                                            date the monitoring equipment was                       value and you elect not to revise the                 extracted from a carbon dioxide
                                            ordered, investigation of alternative                   data value, you may provide an
                                            suppliers and the dates by which                                                                              production well plus incidental
                                                                                                    explanation in the verification software              associated substances either derived
                                            alternative vendors promised delivery,                  of why the data value is not being
                                            backorder notices or unexpected delays,                                                                       from the source materials and the
                                                                                                    revised.                                              capture process or extracted with the
                                            descriptions of actions taken to expedite
                                            delivery, and the current expected date                 ■ 7. Amend § 98.6 by:                                 carbon dioxide.
                                            of delivery.                                            ■ a. Revising the definitions ‘‘ASTM’’,               *      *     *     *    *
                                               (E) If the reason for the extension is               ‘‘Bulk’’, and ‘‘Carbon dioxide stream’’;                 Cyclic, in the context of fluorinated
                                            that the equipment cannot be installed                  ■ b. Adding the definitions ‘‘Cyclic’’                GHGs, means a fluorinated GHG in
                                            without a process unit shutdown,                        and ‘‘Direct air capture (DAC)’’ in                   which three or more carbon atoms are
                                            include supporting documentation                        alphabetical order;                                   connected to form a ring.
                                            demonstrating that it is not practicable                ■ c. Removing the definition                          *      *     *     *    *
                                            to isolate the equipment and install the                ‘‘Fluorinated greenhouse gas’’;                          Direct air capture (DAC), with respect
                                            monitoring instrument without a full                    ■ d. Adding the definition ‘‘Fluorinated              to a facility, technology, or system,
                                            process unit shutdown. Include the date                 greenhouse gas (GHG)’’ in alphabetical                means that the facility, technology, or
                                            of the most recent process unit                         order;                                                system uses carbon capture equipment
                                            shutdown, the frequency of shutdowns                    ■ e. Revising the definition                          to capture carbon dioxide directly from
                                            for this process unit, and the date of the              ‘‘Fluorinated greenhouse gas (GHG)                    the air. Direct air capture does not
                                            next planned shutdown during which                      group’’;                                              include any facility, technology, or
                                            the monitoring equipment can be                         ■ f. Adding the definition ‘‘Fluorinated              system that captures carbon dioxide:
                                            installed. If there has been a shutdown                 heat transfer fluids’’ in alphabetic order;              (1) That is deliberately released from
                                            or if there is a planned process unit                   ■ g. Revising the definition                          a naturally occurring subsurface spring;
                                            shutdown between November 29 of the                     ‘‘Greenhouse gas or GHG’’;                            or
                                            year during which the change in GWPs                    ■ h. Removing the definition ‘‘Other                     (2) Using natural photosynthesis.
                                            is published in the Federal Register as                 fluorinated GHGs’’;                                   *      *     *     *    *
                                            a final rulemaking and April 1 of the                   ■ i. Revising the definition ‘‘Process                   Fluorinated greenhouse gas (GHG)
                                            year after the year during which the                    vent’’; and                                           means sulfur hexafluoride (SF6),
                                            change in GWPs is published, include a                  ■ j. Adding definitions ‘‘Remaining                   nitrogen trifluoride (NF3), and any
                                            justification of why the equipment                      fluorinated GHGs’’, ‘‘Saturated                       fluorocarbon except for controlled
                                            could not be obtained and installed                     chlorofluorocarbons (CFCs)’’,                         substances as defined at part 82, subpart
                                            during that shutdown.                                   ‘‘Unsaturated bromochlorofluorocarbons                A of this subchapter and substances
                                               (F) A description of the specific                    (BCFCs)’’, ‘‘Unsaturated                              with vapor pressures of less than 1 mm
                                            actions the facility will take to obtain                bromofluorocarbons (BFCs)’’,                          of Hg absolute at 25 degrees C. With
                                            and install the equipment as soon as                    ‘‘Unsaturated chlorofluorocarbons                     these exceptions, ‘‘fluorinated GHG’’
                                            reasonably feasible and the expected                    (CFCs)’’, ‘‘Unsaturated                               includes but is not limited to any
                                            date by which the equipment will be                     hydrobromochlorofluorocarbons                         hydrofluorocarbon, any
                                            installed and operating.                                (HBCFCs)’’, and ‘‘Unsaturated                         perfluorocarbon, any fully fluorinated
                                               (iii) Approval criteria. To obtain                   hydrobromofluorocarbons (HBFCs)’’ in                  linear, branched or cyclic alkane, ether,
                                            approval, the owner or operator must                    alphabetic order.                                     tertiary amine or aminoether, any
                                            demonstrate to the Administrator’s                         The revisions and additions read as                perfluoropolyether, and any
                                            satisfaction that it is not reasonably                  follows:                                              hydrofluoropolyether.
                                            feasible to acquire, install, and operate                                                                        Fluorinated greenhouse gas (GHG)
                                            a required piece of monitoring                          § 98.6   Definitions.
                                                                                                                                                          group means one of the following sets
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                                            equipment by April 1 of the year after                  *     *     *     *     *                             of fluorinated GHGs:
                                            the year during which the change in                        ASTM means ASTM, International.                       (1) Fully fluorinated GHGs;
                                            GWPs is published in the Federal                        *     *     *     *     *                                (2) Saturated hydrofluorocarbons with
                                            Register as a final rulemaking. The use                    Bulk, with respect to industrial GHG               two or fewer carbon-hydrogen bonds;
                                            of best available methods under this                    suppliers and CO2 suppliers, means a                     (3) Saturated hydrofluorocarbons with
                                            paragraph (l) will not be approved                      transfer of gas in any amount that is in              three or more carbon-hydrogen bonds;


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00091   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 97 of 164
                                            31892              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                               (4) Saturated hydrofluoroethers and                  but do not include other                              HBFCs, unsaturated HBCFCs,
                                            hydrochlorofluoroethers with one                        hydrofluorocarbons.                                   unsaturated halogenated ethers, and
                                            carbon-hydrogen bond;                                   *      *    *      *    *                             unsaturated halogenated esters;
                                               (5) Saturated hydrofluoroethers and                     Greenhouse gas or GHG means carbon                    (12) Fluorotelomer alcohols; or
                                            hydrochlorofluoroethers with two                        dioxide (CO2), methane (CH4), nitrous                    (13) fluorinated GHGs with carbon-
                                            carbon-hydrogen bonds;                                  oxide (N2O), and fluorinated greenhouse               iodine bonds.
                                               (6) Saturated hydrofluoroethers and                  gases (GHGs) as defined in this section.              *     *     *     *    *
                                            hydrochlorofluoroethers with three or                   *      *    *      *    *                                Saturated chlorofluorocarbons (CFCs)
                                            more carbon-hydrogen bonds;                                Process vent means a gas stream that:              means fluorinated GHGs that contain
                                               (7) Saturated chlorofluorocarbons                    Is discharged through a conveyance to                 only chlorine, fluorine, and carbon and
                                            (CFCs);                                                 the atmosphere either directly or after               that contain only single bonds.
                                               (8) Fluorinated formates;                            passing through a control device;                     *     *     *     *    *
                                               (9) Cyclic forms of the following:                   originates from a unit operation,                        Unsaturated bromochlorofluoro-
                                            unsaturated perfluorocarbons (PFCs),                    including but not limited to reactors                 carbons (BCFCs) means fluorinated
                                            unsaturated HFCs, unsaturated CFCs,                     (including reformers, crackers, and                   GHGs that contain only bromine,
                                            unsaturated hydrochlorofluorocarbons                    furnaces, and separation equipment for                chlorine, fluorine, and carbon and that
                                            (HCFCs), unsaturated                                    products and recovered byproducts);                   contain one or more bonds that are not
                                            bromofluorocarbons (BFCs), unsaturated                  and contains or has the potential to                  single bonds.
                                            bromochlorofluorocarbons (BCFCs),                       contain GHG that is generated in the                     Unsaturated bromofluorocarbons
                                            unsaturated hydrobromofluorocarbons                     process. Process vent does not include                (BFCs) means fluorinated GHGs that
                                            (HBFCs), unsaturated                                    safety device discharges, equipment                   contain only bromine, fluorine, and
                                            hydrobromochlorofluorocarbons                           leaks, gas streams routed to a fuel gas               carbon and that contain one or more
                                            (HBCFCs), unsaturated halogenated                       system or to a flare, discharges from                 bonds that are not single bonds.
                                            ethers, and unsaturated halogenated                     storage tanks.                                           Unsaturated chlorofluorocarbons
                                            esters;                                                 *      *    *      *    *                             (CFCs) means fluorinated GHGs that
                                                                                                       Remaining fluorinated GHGs means                   contain only chlorine, fluorine, and
                                               (10) Fluorinated acetates,
                                                                                                    fluorinated GHGs that are none of the                 carbon and that contain one or more
                                            carbonofluoridates, and fluorinated
                                                                                                    following:                                            bonds that are not single bonds.
                                            alcohols other than fluorotelomer
                                            alcohols;                                                  (1) Fully fluorinated GHGs;                        *     *     *     *    *
                                               (11) Fluorinated aldehydes,                             (2) Saturated hydrofluorocarbons with                 Unsaturated hydrobromochloro-
                                            fluorinated ketones and non-cyclic                      two or fewer carbon-hydrogen bonds;                   fluorocarbons (HBCFCs) means
                                            forms of the following: unsaturated                        (3) Saturated hydrofluorocarbons with              fluorinated GHGs that contain only
                                            PFCs, unsaturated HFCs, unsaturated                     three or more carbon-hydrogen bonds;                  hydrogen, bromine, chlorine, fluorine,
                                            CFCs, unsaturated HCFCs, unsaturated                       (4) Saturated hydrofluoroethers and                and carbon and that contain one or more
                                            BFCs, unsaturated BCFCs, unsaturated                    hydrochlorofluoroethers with one                      bonds that are not single bonds.
                                            HBFCs, unsaturated HBCFCs,                              carbon-hydrogen bond;                                    Unsaturated hydrobromofluoro-
                                            unsaturated halogenated ethers, and                        (5) Saturated hydrofluoroethers and                carbons (HBFCs) means fluorinated
                                            unsaturated halogenated esters;                         hydrochlorofluoroethers with two                      GHGs that contain only hydrogen,
                                                                                                    carbon-hydrogen bonds;                                bromine, fluorine, and carbon and that
                                               (12) Fluorotelomer alcohols;
                                                                                                       (6) Saturated hydrofluoroethers and                contain one or more bonds that are not
                                               (13) Fluorinated GHGs with carbon-                   hydrochlorofluoroethers with three or                 single bonds.
                                            iodine bonds; or                                        more carbon-hydrogen bonds;                           *     *     *     *    *
                                               (14) Remaining fluorinated GHGs.                        (7) Saturated chlorofluorocarbons                  ■ 8. Amend § 98.7 by:
                                               Fluorinated heat transfer fluids means               (CFCs);                                               ■ a. Revising the introductory text;
                                            fluorinated GHGs used for temperature                      (8) Fluorinated formates;                          ■ b. Redesignating paragraphs (c)
                                            control, device testing, cleaning                          (9) Cyclic forms of the following:                 through (e) as paragraphs (b) through
                                            substrate surfaces and other parts, other               unsaturated perfluorocarbons (PFCs),                  (d);
                                            solvent applications, and soldering in                  unsaturated HFCs, unsaturated CFCs,                   ■ c. Revising newly redesignated
                                            certain types of electronics                            unsaturated hydrochlorofluorocarbons                  paragraph (d);
                                            manufacturing production processes                      (HCFCs), unsaturated                                  ■ d. Adding new paragraph (e); and
                                            and in other industries. Fluorinated heat               bromofluorocarbons (BFCs), unsaturated                ■ e. Revising paragraphs (i) and (m)(3).
                                            transfer fluids do not include                          bromochlorofluorocarbons (BCFCs),                        The revisions and addition read as
                                            fluorinated GHGs used as lubricants or                  unsaturated hydrobromofluorocarbons                   follows:
                                            surfactants in electronics                              (HBFCs), unsaturated
                                            manufacturing. For fluorinated heat                     hydrobromochlorofluorocarbons                         § 98.7 What standardized methods are
                                            transfer fluids, the lower vapor pressure               (HBCFCs), unsaturated halogenated                     incorporated by reference into this part?
                                            limit of 1 mm Hg in absolute at 25 °C                   ethers, and unsaturated halogenated                     Certain material is incorporated by
                                            in the definition of ‘‘fluorinated                      esters;                                               reference into this part with the
                                            greenhouse gas’’ in this section shall not                 (10) Fluorinated acetates,                         approval of the Director of the Federal
                                            apply. Fluorinated heat transfer fluids                 carbonofluoridates, and fluorinated                   Register under 5 U.S.C. 552(a) and 1
                                            include, but are not limited to,                        alcohols other than fluorotelomer                     CFR part 51. To enforce any edition
                                            perfluoropolyethers (including                          alcohols;                                             other than that specified in this section,
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                                            PFPMIE), perfluoroalkylamines,                             (11) Fluorinated aldehydes,                        the EPA must publish a document in the
                                            perfluoroalkylmorpholines,                              fluorinated ketones and non-cyclic                    Federal Register and the material must
                                            perfluoroalkanes, perfluoroethers,                      forms of the following: unsaturated                   be available to the public. All approved
                                            perfluorocyclic ethers, and                             PFCs, unsaturated HFCs, unsaturated                   incorporation by reference (IBR)
                                            hydrofluoroethers. Fluorinated heat                     CFCs, unsaturated HCFCs, unsaturated                  material is available for inspection at
                                            transfer fluids include HFC–43–10meee                   BFCs, unsaturated BCFCs, unsaturated                  the EPA and at the National Archives


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00092   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                           Document #2061464                              Filed: 06/24/2024             Page 98 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                      31893

                                            and Records Administration (NARA).                      Reformed Gas by Gas Chromatography;                   Relative Density of Gaseous Fuels; IBR
                                            Contact EPA at: EPA Docket Center,                      IBR approved for §§ 98.74(c); 98.164(b);              approved for § 98.254(e).
                                            Public Reading Room, EPA WJC West,                      98.254(d); 98.324(d); 98.344(b);                        (24) ASTM D3682–01 (Reapproved
                                            Room 3334, 1301 Constitution Ave. NW,                   98.354(g); 98.364(c).                                 2006), Standard Test Method for Major
                                            Washington, DC; phone: 202–566–1744;                      (12) ASTM D2013–07, Standard                        and Minor Elements in Combustion
                                            email: Docket-customerservice@epa.gov;                  Practice for Preparing Coal Samples for               Residues from Coal Utilization
                                            website: www.epa.gov/dockets/epa-                       Analysis; IBR approved for § 98.164(b).               Processes; IBR approved for § 98.144(b).
                                            docket-center-reading-room. For                           (13) ASTM D2234/D2234M–07,                            (25) ASTM D4057–06, Standard
                                            information on the availability of this                 Standard Practice for Collection of a                 Practice for Manual Sampling of
                                            material at NARA, visit                                 Gross Sample of Coal; IBR approved for                Petroleum and Petroleum Products; IBR
                                            www.archives.gov/federal-register/cfr/                  § 98.164(b).                                          approved for § 98.164(b).
                                            ibr-locations or email fr.inspection@                     (14) ASTM D2502–04, Standard Test                     (26) ASTM D4177–95 (Reapproved
                                            nara.gov. The material may be obtained                  Method for Estimation of Mean Relative                2005), Standard Practice for Automatic
                                            from the following sources:                             Molecular Mass of Petroleum Oils From                 Sampling of Petroleum and Petroleum
                                            *      *    *     *     *                               Viscosity Measurements; IBR approved                  Products; IBR approved for § 98.164(b).
                                               (d) ASTM International (ASTM), 100                   for § 98.74(c).                                         (27) ASTM D4809–06, Standard Test
                                            Barr Harbor Drive, P.O. Box CB700,                        (15) ASTM D2503–92 (Reapproved                      Method for Heat of Combustion of
                                            West Conshohocken, Pennsylvania                         2007), Standard Test Method for                       Liquid Hydrocarbon Fuels by Bomb
                                            19428–B2959; (800) 262–1373;                            Relative Molecular Mass (Molecular                    Calorimeter (Precision Method); IBR
                                            www.astm.org.                                           Weight) of Hydrocarbons by                            approved for § 98.254(e).
                                               (1) ASTM C25–06, Standard Test                       Thermoelectric Measurement of Vapor                     (28) ASTM D4891–89 (Reapproved
                                            Method for Chemical Analysis of                         Pressure; IBR approved for §§ 98.74(c);               2006), Standard Test Method for
                                            Limestone, Quicklime, and Hydrated                      98.254(d)(6).                                         Heating Value of Gases in Natural Gas
                                            Lime, approved February 15, 2006; IBR                                                                         Range by Stoichiometric Combustion;
                                                                                                      (16) ASTM D2505–88 (Reapproved
                                            approved for §§ 98.114(b); 98.174(b);                                                                         IBR approved for §§ 98.254(e);
                                                                                                    2004)e1, Standard Test Method for
                                            98.184(b); 98.194(c); 98.334(b); and                                                                          98.324(d).
                                                                                                    Ethylene, Other Hydrocarbons, and
                                            98.504(b).                                                                                                      (29) ASTM D5291–02 (Reapproved
                                                                                                    Carbon Dioxide in High-Purity Ethylene
                                               (2) ASTM C114–09, Standard Test                                                                            2007), Standard Test Methods for
                                                                                                    by Gas Chromatography; IBR approved
                                            Methods for Chemical Analysis of                                                                              Instrumental Determination of Carbon,
                                                                                                    for § 98.244(b).
                                            Hydraulic Cement; IBR approved for                                                                            Hydrogen, and Nitrogen in Petroleum
                                                                                                      (17) ASTM D2593–93 (Reapproved
                                            § 98.84(a) through (c).                                                                                       Products and Lubricants; IBR approved
                                                                                                    2009), Standard Test Method for
                                               (3) ASTM D235–02 (Reapproved                                                                               for §§ 98.74(c); 98.164(b); 98.244(b).
                                                                                                    Butadiene Purity and Hydrocarbon                        (30) ASTM D5291–16, Standard Test
                                            2007), Standard Specification for                       Impurities by Gas Chromatography,
                                            Mineral Spirits (Petroleum Spirits)                                                                           Methods for Instrumental Determination
                                                                                                    approved July 1, 2009; IBR approved for               of Carbon, Hydrogen, and Nitrogen in
                                            (Hydrocarbon Dry Cleaning Solvent);                     § 98.244(b).
                                            IBR approved for § 98.6.                                                                                      Petroleum Products and Lubricants,
                                                                                                      (18) ASTM D2597–94 (Reapproved                      approved October 1, 2016; IBR approved
                                               (4) ASTM D240–02 (Reapproved                         2004), Standard Test Method for
                                            2007), Standard Test Method for Heat of                                                                       for § 98.494(c).
                                                                                                    Analysis of Demethanized Hydrocarbon                    (31) ASTM D5373–08, Standard Test
                                            Combustion of Liquid Hydrocarbon                        Liquid Mixtures Containing Nitrogen
                                            Fuels by Bomb Calorimeter; IBR                                                                                Methods for Instrumental Determination
                                                                                                    and Carbon Dioxide by Gas                             of Carbon, Hydrogen, and Nitrogen in
                                            approved for § 98.254(e).                               Chromatography; IBR approved for
                                               (5) ASTM D388–05, Standard                                                                                 Laboratory Samples of Coal, approved
                                                                                                    § 98.164(b).                                          February 1, 2008; IBR approved for
                                            Classification of Coals by Rank; IBR
                                                                                                      (19) ASTM D2879–97 (Reapproved                      §§ 98.74(c); 98.114(b); 98.164(b);
                                            approved for § 98.6.
                                               (6) ASTM D910–07a, Standard                          2007), Standard Test Method for Vapor                 98.174(b); 98.184(b); 98.244(b);
                                            Specification for Aviation Gasolines;                   Pressure-Temperature Relationship and                 98.274(b); 98.284(c) and (d); 98.314(c),
                                            IBR approved for § 98.6.                                Initial Decomposition Temperature of                  (d), and (f); 98.334(b); 98.504(b).
                                               (7) ASTM D1826–94 (Reapproved                        Liquids by Isoteniscope (ASTM D2879),                   (32) ASTM D5373–21, Standard Test
                                            2003), Standard Test Method for                         approved May 1, 2007; IBR approved for                Methods for Determination of Carbon,
                                            Calorific (Heating) Value of Gases in                   § 98.128.                                             Hydrogen, and Nitrogen in Analysis
                                            Natural Gas Range by Continuous                           (20) ASTM D3176–15, Standard                        Samples of Coal and Carbon in Analysis
                                            Recording Calorimeter; IBR approved                     Practice for Ultimate Analysis of Coal                Samples of Coal and Coke, approved
                                            for § 98.254(e).                                        and Coke, approved January 1, 2015;                   April 1, 2021; IBR approved for
                                               (8) ASTM D1836–07, Standard                          IBR approved for § 98.494(c).                         § 98.494(c).
                                            Specification for Commercial Hexanes;                     (21) ASTM D3176–89 (Reapproved                        (33) ASTM D5614–94 (Reapproved
                                            IBR approved for § 98.6.                                2002), Standard Practice for Ultimate                 2008), Standard Test Method for Open
                                               (9) ASTM D1941–91 (Reapproved                        Analysis of Coal and Coke; IBR                        Channel Flow Measurement of Water
                                            2007), Standard Test Method for Open                    approved for §§ 98.74(c); 98.164(b);                  with Broad-Crested Weirs, approved
                                            Channel Flow Measurement of Water                       98.244(b); 98.284(c) and (d); 98.314(c),              October 1, 2008; IBR approved for
                                            with the Parshall Flume, approved June                  (d), and (f).                                         § 98.354(d).
                                            15, 2007; IBR approved for § 98.354(d).                   (22) ASTM D3238–95 (Reapproved                        (34) ASTM D6060–96 (Reapproved
                                               (10) ASTM D1945–03, Standard Test                    2005), Standard Test Method for                       2001), Standard Practice for Sampling of
                                            Method for Analysis of Natural Gas by                   Calculation of Carbon Distribution and                Process Vents With a Portable Gas
lotter on DSK11XQN23PROD with RULES2




                                            Gas Chromatography; IBR approved for                    Structural Group Analysis of Petroleum                Chromatograph; IBR approved for
                                            §§ 98.74(c); 98.164(b); 98.244(b);                      Oils by the n-d-M Method; IBR                         § 98.244(b).
                                            98.254(d); 98.324(d); 98.344(b);                        approved for §§ 98.74(c); 98.164(b).                    (35) ASTM D6348–03, Standard Test
                                            98.354(g).                                                (23) ASTM D3588–98 (Reapproved                      Method for Determination of Gaseous
                                               (11) ASTM D1946–90 (Reapproved                       2003), Standard Practice for Calculating              Compounds by Extractive Direct
                                            2006), Standard Practice for Analysis of                Heat Value, Compressibility Factor, and               Interface Fourier Transform Infrared


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00093   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                   USCA Case #24-1216                                        Document #2061464                                        Filed: 06/24/2024                               Page 99 of 164
                                            31894                    Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            (FTIR) Spectroscopy; IBR approved for                                    Emissions Sources; IBR approved for                                 storage using enhanced oil recovery
                                            § 98.54(b); table I–9 to subpart I of this                               §§ 98.34(d) and (e); 98.36(e).                                      (CO2–EOR), approved August 30, 2019;
                                            part; §§ 98.224(b); 98.414(n).                                             (44) ASTM D7633–10, Standard Test                                 IBR approved for §§ 98.470(c); 98.480(a);
                                              (36) ASTM D6349–09, Standard Test                                      Method for Carbon Black—Carbon                                      98.481(a) through (c); 98.482; 98.483;
                                            Method for Determination of Major and                                    Content, approved May 15, 2010; IBR                                 98.484; 98.485; 98.486(g); 98.487;
                                            Minor Elements in Coal, Coke, and                                        approved for § 98.244(b).                                           98.488(a)(5); 98.489.
                                            Solid Residues from Combustion of Coal                                     (45) ASTM E359–00 (Reapproved                                        Note 1 to paragraph (e)(1): This standard
                                            and Coke by Inductively Coupled                                          2005)e1, Standard Test Methods for                                  is also available from ISO as ISO
                                            Plasma—Atomic Emission                                                   Analysis of Soda Ash (Sodium                                        27916:2019(E).
                                            Spectrometry; IBR approved for                                           Carbonate); IBR approved for § 98.294(a)
                                            § 98.144(b).                                                             and (b).                                                               (2) [Reserved]
                                              (37) ASTM D6609–08, Standard                                             (46) ASTM E415–17, Standard Test                                  *      *    *     *      *
                                            Guide for Part-Stream Sampling of Coal;                                  Method for Analysis of Carbon and                                      (i) National Institute of Standards and
                                            IBR approved for § 98.164(b).                                            Low-Alloy Steel by Spark Atomic                                     Technology (NIST), 100 Bureau Drive,
                                              (38) ASTM D6751–08, Standard                                           Emission Spectrometry, approved May                                 Stop 1070, Gaithersburg, MD 20899–
                                            Specification for Biodiesel Fuel Blend                                   15, 2017; IBR approved for § 98.174(b).                             1070, (800) 877–8339, www.nist.gov/.
                                            Stock (B100) for Middle Distillate Fuels;                                  (47) ASTM E1019–08, Standard Test                                    (1) NIST HB 44–2023: Specifications,
                                            IBR approved for § 98.6.                                                 Methods for Determination of Carbon,                                Tolerances, and Other Technical
                                              (39) ASTM D6866–16, Standard Test                                      Sulfur, Nitrogen, and Oxygen in Steel,                              Requirements For Weighing and
                                            Methods for Determining the Biobased                                     Iron, Nickel, and Cobalt Alloys by                                  Measuring Devices, 2023 edition,
                                            Content of Solid, Liquid, and Gaseous                                    Various Combustion and Fusion                                       approved November 18, 2022; IBR
                                            Samples Using Radiocarbon Analysis,                                      Techniques; IBR approved for                                        approved for § 98.494(b).
                                            approved June 1, 2016; IBR approved for                                  § 98.174(b).                                                           (2) Specifications, Tolerances, and
                                            §§ 98.34(d) and (e); 98.36(e).                                             (48) ASTM E1915–07a, Standard Test                                Other Technical Requirements For
                                              (40) ASTM D6883–04, Standard                                           Methods for Analysis of Metal Bearing                               Weighing and Measuring Devices, NIST
                                            Practice for Manual Sampling of                                          Ores and Related Materials by                                       Handbook 44 (2009); IBR approved for
                                            Stationary Coal from Railroad Cars,                                      Combustion Infrared-Absorption                                      §§ 98.244(b); 98.344(a).
                                            Barges, Trucks, or Stockpiles; IBR                                       Spectrometry; IBR approved for                                      *      *    *     *      *
                                            approved for § 98.164(b).                                                § 98.174(b).                                                           (m) * * *
                                              (41) ASTM D7359–08, Standard Test                                        (49) ASTM E1941–04, Standard Test
                                                                                                                                                                                            (3) Protocol for Measuring Destruction
                                            Method for Total Fluorine, Chlorine and                                  Method for Determination of Carbon in
                                                                                                                                                                                         or Removal Efficiency (DRE) of
                                            Sulfur in Aromatic Hydrocarbons and                                      Refractory and Reactive Metals and
                                                                                                                                                                                         Fluorinated Greenhouse Gas Abatement
                                            Their Mixtures by Oxidative                                              Their Alloys; IBR approved for
                                                                                                                                                                                         Equipment in Electronics
                                            Pyrohydrolytic Combustion followed by                                    §§ 98.114(b); 98.184(b); 98.334(b).
                                                                                                                                                                                         Manufacturing, Version 1, EPA–430–R–
                                            Ion Chromatography Detection                                               (50) ASTM UOP539–97, Refinery Gas
                                                                                                                                                                                         10–003, March 2010 (EPA 430–R–10–
                                            (Combustion Ion Chromatography-CIC)                                      Analysis by Gas Chromatography; IBR
                                                                                                                                                                                         003), approved March 2010; IBR
                                            (ASTM D7359), approved October 15,                                       approved for §§ 98.164(b); 98.244(b);
                                                                                                                                                                                         approved for §§ 98.94(e); 98.94(f) and
                                            2008; IBR approved for § 98.124(e)(2).                                   98.254(d); 98.324(d); 98.344(b);
                                                                                                                                                                                         (g); 98.97(b) and (d); 98.98; appendix A
                                              (42) ASTM D7430–08ae1, Standard                                        98.354(g).
                                                                                                                                                                                         to subpart I of this part; §§ 98.124(e);
                                            Practice for Mechanical Sampling of                                        (e) CSA Group (CSA), 178 Rexdale
                                                                                                                                                                                         98.414(n). (Also available from:
                                            Coal; IBR approved for § 98.164(b).                                      Boulevard, Toronto, Ontario Canada
                                                                                                                                                                                         www.epa.gov/sites/default/files/2016-
                                              (43) ASTM D7459–08, Standard                                           M9W 183; (800) 463–6727; https://
                                                                                                                                                                                         02/documents/dre_protocol.pdf.)
                                            Practice for Collection of Integrated                                    shop.csa.ca.
                                            Samples for the Speciation of Biomass                                      (1) CSA/ANSI ISO 27916:19, Carbon                                 *      *    *     *      *
                                            (Biogenic) and Fossil-Derived Carbon                                     dioxide capture, transportation and                                 ■ 9. Revise table A–1 to subpart A to
                                            Dioxide Emitted from Stationary                                          geological storage—Carbon dioxide                                   read as follows:

                                                               TABLE A–1 TO SUBPART A OF PART 98—GLOBAL WARMING POTENTIALS, 100-YEAR TIME HORIZON
                                                                                                                                                                                                                                           Global
                                                                                                                                                                                                                                          warming
                                                                                    Name                                                      CAS No.                                  Chemical formula                                   potential
                                                                                                                                                                                                                                          (100 yr.)

                                                                                                                                    Chemical-Specific GWPs

                                            Carbon dioxide ......................................................................                124–38–9         CO2 ................................................................                1
                                            Methane .................................................................................             74–82–8         CH4 ................................................................           a d 28

                                            Nitrous oxide ..........................................................................           10024–97–2         N2O ................................................................         a d 265


                                                                                                                                        Fully Fluorinated GHGs

                                            Sulfur hexafluoride .................................................................               2551–62–4         SF6 .................................................................     a d 23,500

                                            Trifluoromethyl sulphur pentafluoride ....................................                           373–80–8         SF5CF3 ..........................................................          d 17,400
lotter on DSK11XQN23PROD with RULES2




                                            Nitrogen trifluoride .................................................................              7783–54–2         NF3 ................................................................       d 16,100

                                            PFC–14 (Perfluoromethane) .................................................                           75–73–0         CF4 ................................................................       a d 6,630

                                            PFC–116 (Perfluoroethane) ..................................................                          76–16–4         C2F6 ...............................................................      a d 11,100

                                            PFC–218 (Perfluoropropane) ................................................                           76–19–7         C3F8 ...............................................................       a d 8,900

                                            Perfluorocyclopropane ...........................................................                    931–91–9         c-C3F6 ............................................................          d 9,200

                                            PFC–3–1–10 (Perfluorobutane) ............................................                            355–25–9         C4F10 .............................................................        a d 9,200

                                            PFC–318 (Perfluorocyclobutane) ..........................................                            115–25–3         c-C4F8 ............................................................        a d 9,540




                                       VerDate Sep<11>2014        19:27 Apr 24, 2024        Jkt 262001      PO 00000       Frm 00094       Fmt 4701   Sfmt 4700    E:\FR\FM\25APR2.SGM              25APR2
                                                  USCA Case #24-1216                                       Document #2061464                                    Filed: 06/24/2024                              Page 100 of 164
                                                                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                             31895

                                                    TABLE A–1 TO SUBPART A OF PART 98—GLOBAL WARMING POTENTIALS, 100-YEAR TIME HORIZON—Continued
                                                                                                                                                                                                                                     Global
                                                                                                                                                                                                                                    warming
                                                                                   Name                                                  CAS No.                                  Chemical formula                                  potential
                                                                                                                                                                                                                                    (100 yr.)

                                            Perfluorotetrahydrofuran ........................................................                773–14–8         c-C4F8O .........................................................        e 13,900

                                            PFC–4–1–12 (Perfluoropentane) ..........................................                         678–26–2         C5F12 .............................................................      a d 8,550

                                            PFC–5–1–14 (Perfluorohexane, FC–72) ...............................                              355–42–0         C6F14 .............................................................      a d 7,910

                                            PFC–6–1–12 ..........................................................................            335–57–9         C7F16; CF3(CF2)5CF3 ....................................                   b 7,820

                                            PFC–7–1–18 ..........................................................................            307–34–6         C8F18; CF3(CF2)6CF3 ....................................                   b 7,620

                                            PFC–9–1–18 ..........................................................................            306–94–5         C10F18 ............................................................        d 7,190

                                            PFPMIE (HT–70) ...................................................................                     NA         CF3OCF(CF3)CF2OCF2OCF3 .......................                             d 9,710

                                            Perfluorodecalin (cis) .............................................................           60433–11–6         Z-C10F18 ........................................................        b d 7,240

                                            Perfluorodecalin (trans) .........................................................             60433–12–7         E-C10F18 ........................................................        b d 6,290

                                            Perfluorotriethylamine ............................................................              359–70–6         N(C2F5)3 ........................................................        e 10,300

                                            Perfluorotripropylamine ..........................................................               338–83–0         N(CF2CF2CF3)3 .............................................                e 9,030

                                            Perfluorotributylamine ............................................................              311–89–7         N(CF2CF2CF2CF3)3 .......................................                   e 8,490

                                            Perfluorotripentylamine ..........................................................               338–84–1         N(CF2CF2CF2CF2CF3)3 ................................                       e 7,260


                                                                                     Saturated Hydrofluorocarbons (HFCs) With Two or Fewer Carbon-Hydrogen Bonds

                                            (4s,5s)-1,1,2,2,3,3,4,5-octafluorocyclopentane .....................                          158389–18–5         trans-cyc (-CF2CF2CF2CHFCHF-) ...............                                e 258

                                            HFC–23 .................................................................................          75–46–7         CHF3 ..............................................................     a d 12,400

                                            HFC–32 .................................................................................          75–10–5         CH2F2 ............................................................         a d 677

                                            HFC–125 ...............................................................................          354–33–6         C2HF5 ............................................................       a d 3,170

                                            HFC–134 ...............................................................................          359–35–3         C2H2F4 ...........................................................       a d 1,120

                                            HFC–134a .............................................................................           811–97–2         CH2FCF3 .......................................................          a d 1,300

                                            HFC–227ca ............................................................................          2252–84–8         CF3CF2CHF2 .................................................               b 2,640

                                            HFC–227ea ...........................................................................            431–89–0         C3HF7 ............................................................       a d 3,350

                                            HFC–236cb ............................................................................           677–56–5         CH2FCF2CF3 .................................................               d 1,210

                                            HFC–236ea ...........................................................................            431–63–0         CHF2CHFCF3 ................................................                d 1,330

                                            HFC–236fa ............................................................................           690–39–1         C3H2F6 ...........................................................       a d 8,060

                                            HFC–329p .............................................................................           375–17–7         CHF2CF2CF2CF3 ...........................................                  b 2360

                                            HFC–43–10mee ....................................................................             138495–42–8         CF3CFHCFHCF2CF3 .....................................                    a d 1,650


                                                                                     Saturated Hydrofluorocarbons (HFCs) With Three or More Carbon-Hydrogen Bonds

                                            1,1,2,2,3,3-hexafluorocyclopentane .......................................                    123768–18–3         cyc (-CF2CF2CF2CH2CH2-) ...........................                          e 120

                                            1,1,2,2,3,3,4-heptafluorocyclopentane ..................................                       15290–77–4         cyc (-CF2CF2CF2CHFCH2-) ..........................                           e 231

                                            HFC–41 .................................................................................         593–53–3         CH3F ..............................................................        a d 116

                                            HFC–143 ...............................................................................          430–66–0         C2H3F3 ...........................................................         a d 328

                                            HFC–143a .............................................................................           420–46–2         C2H3F3 ...........................................................       a d 4,800

                                            HFC–152 ...............................................................................          624–72–6         CH2FCH2F .....................................................                d 16

                                            HFC–152a .............................................................................            75–37–6         CH3CHF2 .......................................................            a d 138

                                            HFC–161 ...............................................................................          353–36–6         CH3CH2F .......................................................                   d4

                                            HFC–245ca ............................................................................           679–86–7         C3H3F5 ...........................................................         a d 716

                                            HFC–245cb ............................................................................          1814–88–6         CF3CF2CH3 ...................................................              b 4,620

                                            HFC–245ea ...........................................................................          24270–66–4         CHF2CHFCHF2 .............................................                    b 235

                                            HFC–245eb ...........................................................................            431–31–2         CH2FCHFCF3 ................................................                  b 290

                                            HFC–245fa ............................................................................           460–73–1         CHF2CH2CF3 .................................................                 d 858

                                            HFC–263fb ............................................................................           421–07–8         CH3CH2CF3 ...................................................                 b 76

                                            HFC–272ca ............................................................................           420–45–1         CH3CF2CH3 ...................................................                b 144

                                            HFC–365mfc ..........................................................................            406–58–6         CH3CF2CH2CF3 ............................................                    d 804


                                                                 Saturated Hydrofluoroethers (HFEs) and Hydrochlorofluoroethers (HCFEs) With One Carbon-Hydrogen Bond

                                            HFE–125 ................................................................................        3822–68–2         CHF2OCF3 .....................................................           d 12,400

                                            HFE–227ea ............................................................................          2356–62–9         CF3CHFOCF3 ................................................                d 6,450

                                            HFE–329mcc2 .......................................................................           134769–21–4         CF3CF2OCF2CHF2 ........................................                    d 3,070

                                            HFE–329me3 .........................................................................          428454–68–6         CF3CFHCF2OCF3 .........................................                    b 4,550

                                            1,1,1,2,2,3,3-Heptafluoro-3-(1,2,2,2-tetrafluoroethoxy)-pro-                                    3330–15–2         CF3CF2CF2OCHFCF3 ...................................                       b 6,490

                                              pane.

                                                                                                     Saturated HFEs and HCFEs With Two Carbon-Hydrogen Bonds

                                            HFE–134 (HG–00) .................................................................               1691–17–4         CHF2OCHF2 ..................................................               d 5,560

                                            HFE–236ca ............................................................................         32778–11–3         CHF2OCF2CHF2 ............................................                  b 4,240

                                            HFE–236ca12 (HG–10) .........................................................                  78522–47–1         CHF2OCF2OCHF2 .........................................                    d 5,350
lotter on DSK11XQN23PROD with RULES2




                                            HFE–236ea2 (Desflurane) .....................................................                  57041–67–5         CHF2OCHFCF3 .............................................                  d 1,790

                                            HFE–236fa .............................................................................        20193–67–3         CF3CH2OCF3 ................................................                  d 979

                                            HFE–338mcf2 ........................................................................          156053–88–2         CF3CF2OCH2CF3 ..........................................                     d 929

                                            HFE–338mmz1 ......................................................................             26103–08–2         CHF2OCH(CF3)2 ...........................................                  d 2,620

                                            HFE–338pcc13 (HG–01) .......................................................                  188690–78–0         CHF2OCF2CF2OCHF2 ..................................                        d 2,910

                                            HFE–43–10pccc (H-Galden 1040x, HG–11) .........................                                  E1730133         CHF2OCF2OC2F4OCHF2 ..............................                          d 2,820

                                            HCFE–235ca2 (Enflurane) ....................................................                   13838–16–9         CHF2OCF2CHFCl ..........................................                     b 583




                                       VerDate Sep<11>2014        19:27 Apr 24, 2024        Jkt 262001     PO 00000       Frm 00095    Fmt 4701   Sfmt 4700    E:\FR\FM\25APR2.SGM             25APR2
                                                  USCA Case #24-1216                                        Document #2061464                                       Filed: 06/24/2024                           Page 101 of 164
                                            31896                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                    TABLE A–1 TO SUBPART A OF PART 98—GLOBAL WARMING POTENTIALS, 100-YEAR TIME HORIZON—Continued
                                                                                                                                                                                                                                          Global
                                                                                                                                                                                                                                         warming
                                                                                    Name                                                      CAS No.                                Chemical formula                                    potential
                                                                                                                                                                                                                                         (100 yr.)

                                            HCFE–235da2 (Isoflurane) ....................................................                      26675–46–7         CHF2OCHClCF3 ............................................                        d 491

                                            HG–02 ...................................................................................         205367–61–9         HF2C-(OCF2CF2)2-OCF2H ............................                          b d 2,730

                                            HG–03 ...................................................................................         173350–37–3         HF2C-(OCF2CF2)3-OCF2H ............................                          b d 2,850

                                            HG–20 ...................................................................................         249932–25–0         HF2C-(OCF2)2-OCF2H ..................................                         b 5,300

                                            HG–21 ...................................................................................         249932–26–1         HF2C-OCF2CF2OCF2OCF2O-CF2H ..............                                     b 3,890

                                            HG–30 ...................................................................................         188690–77–9         HF2C-(OCF2)3-OCF2H ..................................                         b 7,330

                                            1,1,3,3,4,4,6,6,7,7,9,9,10,10,12,12,13,13,15,15-                                                  173350–38–4         HCF2O(CF2CF2O)4CF2H ...............................                           b 3,630

                                              eicosafluoro-2,5,8,11,14-Pentaoxapentadecane.
                                            1,1,2-Trifluoro-2-(trifluoromethoxy)-ethane ............................                           84011–06–3         CHF2CHFOCF3 .............................................                     b 1,240

                                            Trifluoro(fluoromethoxy)methane ...........................................                         2261–01–0         CH2FOCF3 .....................................................                   b 751


                                                                                              Saturated HFEs and HCFEs With Three or More Carbon-Hydrogen Bonds

                                            HFE–143a ..............................................................................              421–14–7         CH3OCF3 .......................................................                  d 523

                                            HFE–245cb2 ..........................................................................              22410–44–2         CH3OCF2CF3 ................................................                      d 654

                                            HFE–245fa1 ...........................................................................             84011–15–4         CHF2CH2OCF3 ..............................................                       d 828

                                            HFE–245fa2 ...........................................................................              1885–48–9         CHF2OCH2CF3 ..............................................                       d 812

                                            HFE–254cb1 ..........................................................................                425–88–7         CH3OCF2CHF2 ..............................................                       d 301

                                            HFE–263fb2 ...........................................................................               460–43–5         CF3CH2OCH3 ................................................                          d1

                                            HFE–263m1; R–E–143a .......................................................                          690–22–2         CF3OCH2CH3 ................................................                        b 29

                                            HFE–347mcc3 (HFE–7000) ..................................................                            375–03–1         CH3OCF2CF2CF3 ..........................................                         d 530

                                            HFE–347mcf2 ........................................................................              171182–95–9         CF3CF2OCH2CHF2 .......................................                           d 854

                                            HFE–347mmy1 ......................................................................                 22052–84–2         CH3OCF(CF3)2 ..............................................                      d 363

                                            HFE–347mmz1 (Sevoflurane) ...............................................                          28523–86–6         (CF3)2CHOCH2F ...........................................                        c 216

                                            HFE–347pcf2 .........................................................................                406–78–0         CHF2CF2OCH2CF3 .......................................                           d 889

                                            HFE–356mec3 .......................................................................                  382–34–3         CH3OCF2CHFCF3 .........................................                          d 387

                                            HFE–356mff2 .........................................................................                333–36–8         CF3CH2OCH2CF3 ..........................................                           b 17

                                            HFE–356mmz1 ......................................................................                 13171–18–1         (CF3)2CHOCH3 ..............................................                        d 14

                                            HFE–356pcc3 ........................................................................              160620–20–2         CH3OCF2CF2CHF2 .......................................                           d 413

                                            HFE–356pcf2 .........................................................................              50807–77–7         CHF2CH2OCF2CHF2 .....................................                            d 719

                                            HFE–356pcf3 .........................................................................              35042–99–0         CHF2OCH2CF2CHF2 .....................................                            d 446

                                            HFE–365mcf2 ........................................................................               22052–81–9         CF3CF2OCH2CH3 ..........................................                           b 58

                                            HFE–365mcf3 ........................................................................                 378–16–5         CF3CF2CH2OCH3 ..........................................                        d 0.99

                                            HFE–374pc2 ..........................................................................                512–51–6         CH3CH2OCF2CHF2 .......................................                           d 627

                                            HFE–449s1 (HFE–7100) Chemical blend .............................                                 163702–07–6         C4F9OCH3 .....................................................                    d 421

                                                                                                                                              163702–08–7         (CF3)2CFCF2OCH3 ........................................          ........................
                                            HFE–569sf2 (HFE–7200) Chemical blend ............................                                 163702–05–4         C4F9OC2H5 ....................................................                      d 57

                                                                                                                                              163702–06–5         (CF3)2CFCF2OC2H5 ......................................           ........................
                                            HFE–7300 ..............................................................................           132182–92–4         (CF3)2CFCFOC2H5CF2CF2CF3 .....................                                    e 405

                                            HFE–7500 ..............................................................................           297730–93–9         n-C3F7CFOC2H5CF(CF3)2 .............................                                 e 13

                                            HG′-01 ...................................................................................         73287–23–7         CH3OCF2CF2OCH3 .......................................                            b 222

                                            HG′-02 ...................................................................................        485399–46–0         CH3O(CF2CF2O)2CH3 ...................................                             b 236

                                            HG′-03 ...................................................................................        485399–48–2         CH3O(CF2CF2O)3CH3 ...................................                             b 221

                                            Difluoro(methoxy)methane ....................................................                        359–15–9         CH3OCHF2 ....................................................                     b 144

                                            2-Chloro-1,1,2-trifluoro-1-methoxyethane ..............................                              425–87–6         CH3OCF2CHFCl ............................................                         b 122

                                            1-Ethoxy-1,1,2,2,3,3,3-heptafluoropropane ...........................                              22052–86–4         CF3CF2CF2OCH2CH3 ...................................                                b 61

                                            2-Ethoxy-3,3,4,4,5-pentafluorotetrahydro-2,5-bis[1,2,2,2-                                         920979–28–8         C12H5F19O2 ...................................................                      b 56

                                              tetrafluoro-1-(trifluoromethyl)ethyl]-furan.
                                            1-Ethoxy-1,1,2,3,3,3-hexafluoropropane ...............................                               380–34–7         CF3CHFCF2OCH2CH3 ..................................                                b 23

                                            Fluoro(methoxy)methane .......................................................                       460–22–0         CH3OCH2F ....................................................                      b 13

                                            1,1,2,2-Tetrafluoro-3-methoxy-propane; Methyl 2,2,3,3-                                             60598–17–6         CHF2CF2CH2OCH3 .......................................                        b d 0.49

                                              tetrafluoropropyl ether.
                                            1,1,2,2-Tetrafluoro-1-(fluoromethoxy)ethane .........................                              37031–31–5         CH2FOCF2CF2H ............................................                        b 871

                                            Difluoro(fluoromethoxy)methane ...........................................                           461–63–2         CH2FOCHF2 ..................................................                     b 617

                                            Fluoro(fluoromethoxy)methane ..............................................                          462–51–1         CH2FOCH2F ..................................................                     b 130


                                                                                                                          Saturated Chlorofluorocarbons (CFCs)

                                            E–R316c ................................................................................            3832–15–3         trans-cyc (-CClFCF2CF2CClF-) .....................                            e 4,230

                                            Z–R316c ................................................................................            3934–26–7         cis-cyc (-CClFCF2CF2CClF-) .........................                          e 5,660


                                                                                                                                         Fluorinated Formates
lotter on DSK11XQN23PROD with RULES2




                                            Trifluoromethyl formate ..........................................................                 85358–65–2         HCOOCF3 ......................................................                   b 588

                                            Perfluoroethyl formate ...........................................................                313064–40–3         HCOOCF2CF3 ...............................................                       b 580

                                            1,2,2,2-Tetrafluoroethyl formate ............................................                     481631–19–0         HCOOCHFCF3 ..............................................                        b 470

                                            Perfluorobutyl formate ...........................................................                197218–56–7         HCOOCF2CF2CF2CF3 ..................................                              b 392

                                            Perfluoropropyl formate .........................................................                 271257–42–2         HCOOCF2CF2CF3 .........................................                          b 376

                                            1,1,1,3,3,3-Hexafluoropropan-2-yl formate ............................                            856766–70–6         HCOOCH(CF3)2 ............................................                        b 333

                                            2,2,2-Trifluoroethyl formate ...................................................                   32042–38–9         HCOOCH2CF3 ...............................................                         b 33




                                       VerDate Sep<11>2014         19:27 Apr 24, 2024        Jkt 262001      PO 00000       Frm 00096      Fmt 4701   Sfmt 4700    E:\FR\FM\25APR2.SGM           25APR2
                                                  USCA Case #24-1216                                     Document #2061464                                      Filed: 06/24/2024                            Page 102 of 164
                                                                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                          31897

                                                   TABLE A–1 TO SUBPART A OF PART 98—GLOBAL WARMING POTENTIALS, 100-YEAR TIME HORIZON—Continued
                                                                                                                                                                                                                                  Global
                                                                                                                                                                                                                                 warming
                                                                                  Name                                                   CAS No.                                 Chemical formula                                potential
                                                                                                                                                                                                                                 (100 yr.)

                                            3,3,3-Trifluoropropyl formate .................................................             1344118–09–7          HCOOCH2CH2CF3 ........................................                     b 17


                                                                                                                                     Fluorinated Acetates

                                            Methyl 2,2,2-trifluoroacetate ..................................................                431–47–0          CF3COOCH3 .................................................                b 52

                                            1,1-Difluoroethyl 2,2,2-trifluoroacetate ..................................                 1344118–13–3          CF3COOCF2CH3 ...........................................                   b 31

                                            Difluoromethyl 2,2,2-trifluoroacetate ......................................                   2024–86–4          CF3COOCHF2 ...............................................                 b 27

                                            2,2,2-Trifluoroethyl 2,2,2-trifluoroacetate ...............................                     407–38–5          CF3COOCH2CF3 ...........................................                       b7

                                            Methyl 2,2-difluoroacetate .....................................................                433–53–4          HCF2COOCH3 ...............................................                     b3

                                            Perfluoroethyl acetate ............................................................          343269–97–6          CH3COOCF2CF3 ...........................................                   bd2

                                            Trifluoromethyl acetate ..........................................................            74123–20–9          CH3COOCF3 .................................................                bd2

                                            Perfluoropropyl acetate .........................................................           1344118–10–0          CH3COOCF2CF2CF3 .....................................                      bd2

                                            Perfluorobutyl acetate ............................................................          209597–28–4          CH3COOCF2CF2CF2CF3 ..............................                          bd2

                                            Ethyl 2,2,2-trifluoroacetate .....................................................              383–63–1          CF3COOCH2CH3 ...........................................                   bd1


                                                                                                                                     Carbonofluoridates

                                            Methyl carbonofluoridate .......................................................               1538–06–3          FCOOCH3 ......................................................             b 95

                                            1,1-Difluoroethyl carbonofluoridate ........................................                1344118–11–1          FCOOCF2CH3 ...............................................                 b 27


                                                                                                        Fluorinated Alcohols Other Than Fluorotelomer Alcohols

                                            Bis(trifluoromethyl)-methanol .................................................                  920–66–1         (CF3)2CHOH ..................................................             d 182

                                            2,2,3,3,4,4,5,5-Octafluorocyclopentanol ................................                       16621–87–7         cyc (-(CF2)4CH(OH)-) ....................................                  d 13

                                            2,2,3,3,3-Pentafluoropropanol ...............................................                    422–05–9         CF3CF2CH2OH ..............................................                 d 19

                                            2,2,3,3,4,4,4-Heptafluorobutan-1-ol .......................................                      375–01–9         C3F7CH2OH ..................................................              b d 34

                                            2,2,2-Trifluoroethanol .............................................................              75–89–8         CF3CH2OH ....................................................              b 20

                                            2,2,3,4,4,4-Hexafluoro-1-butanol ...........................................                     382–31–0         CF3CHFCF2CH2OH ......................................                      b 17

                                            2,2,3,3-Tetrafluoro-1-propanol ...............................................                    76–37–9         CHF2CF2CH2OH ...........................................                   b 13

                                            2,2-Difluoroethanol ................................................................             359–13–7         CHF2CH2OH .................................................                    b3

                                            2-Fluoroethanol ......................................................................           371–62–0         CH2FCH2OH ..................................................              b 1.1

                                            4,4,4-Trifluorobutan-1-ol ........................................................               461–18–7         CF3(CH2)2CH2OH .........................................                 b 0.05


                                                                                                              Non-Cyclic, Unsaturated Perfluorocarbons (PFCs)

                                            PFC–1114; TFE .....................................................................              116–14–3         CF2 = CF2; C2F4 ...........................................             b 0.004

                                            PFC–1216; Dyneon HFP .......................................................                     116–15–4         C3F6; CF3CF = CF2 .......................................                b 0.05

                                            Perfluorobut-2-ene .................................................................             360–89–4         CF3CF = CFCF3 ............................................               b 1.82

                                            Perfluorobut-1-ene .................................................................             357–26–6         CF3CF2CF = CF2 ..........................................                b 0.10

                                            Perfluorobuta-1,3-diene .........................................................                685–63–2         CF2 = CFCF = CF2 .......................................                b 0.003


                                                                            Non-Cyclic, Unsaturated Hydrofluorocarbons (HFCs) and Hydrochlorofluorocarbons (HCFCs)

                                            HFC–1132a; VF2 ...................................................................                75–38–7         C2H2F2, CF2 = CH2 .......................................                b 0.04

                                            HFC–1141; VF .......................................................................              75–02–5         C2H3F, CH2 = CHF .......................................                 b 0.02

                                            (E)-HFC–1225ye ....................................................................             5595–10–8         CF3CF = CHF(E) ...........................................               b 0.06

                                            (Z)-HFC–1225ye ....................................................................             5528–43–8         CF3CF = CHF(Z) ...........................................               b 0.22

                                            Solstice 1233zd(E) ................................................................           102687–65–0         C3H2ClF3; CHCl = CHCF3 ............................                      b 1.34

                                            HCFO–1233zd(Z) ..................................................................              99728–16–2         (Z)-CF3CH = CHCl ........................................                e 0.45

                                            HFC–1234yf; HFO–1234yf ....................................................                      754–12–1         C3H2F4; CF3CF = CH2 ..................................                   b 0.31

                                            HFC–1234ze(E) .....................................................................             1645–83–6         C3H2F4; trans-CF3CH = CHF ........................                       b 0.97

                                            HFC–1234ze(Z) .....................................................................            29118–25–0         C3H2F4; cis-CF3CH = CHF; CF3CH = CHF ..                                  b 0.29

                                            HFC–1243zf; TFP ..................................................................               677–21–4         C3H3F3, CF3CH = CH2 ..................................                   b 0.12

                                            (Z)-HFC–1336 ........................................................................            692–49–9         CF3CH = CHCF3(Z) ......................................                  b 1.58

                                            HFO–1336mzz(E) ..................................................................              66711–86–2         (E)-CF3CH = CHCF3 .....................................                    e 18

                                            HFC–1345zfc .........................................................................            374–27–6         C2F5CH = CH2 ..............................................              b 0.09

                                            HFO–1123 .............................................................................           359–11–5         CHF=CF2 .......................................................         e 0.005

                                            HFO–1438ezy(E) ...................................................................             14149–41–8         (E)-(CF3)2CFCH = CHF .................................                    e 8.2

                                            HFO–1447fz ..........................................................................            355–08–8         CF3(CF2)2CH = CH2 ......................................                 e 0.24

                                            Capstone 42–U ......................................................................           19430–93–4         C6H3F9, CF3(CF2)3CH = CH2 .......................                        b 0.16

                                            Capstone 62–U ......................................................................           25291–17–2         C8H3F13, CF3(CF2)5CH = CH2 ......................                        b 0.11

                                            Capstone 82–U ......................................................................           21652–58–4         C10H3F17, CF3(CF2)7CH = CH2 ....................                         b 0.09

                                            (e)-1-chloro-2-fluoroethene ....................................................                 460–16–2         (E)-CHCl = CHF ............................................             e 0.004
lotter on DSK11XQN23PROD with RULES2




                                            3,3,3-trifluoro-2-(trifluoromethyl)prop-1-ene ...........................                        382–10–5         (CF3)2C = CH2 ...............................................            e 0.38


                                                                                                                             Non-Cyclic, Unsaturated CFCs

                                            CFC–1112 .............................................................................           598–88–9         CClF=CClF ....................................................           e 0.13

                                            CFC–1112a ...........................................................................             79–35–6         CCl2=CF2 .......................................................        e 0.021




                                       VerDate Sep<11>2014        19:27 Apr 24, 2024      Jkt 262001      PO 00000       Frm 00097     Fmt 4701   Sfmt 4700    E:\FR\FM\25APR2.SGM            25APR2
                                                  USCA Case #24-1216                                        Document #2061464                                               Filed: 06/24/2024                              Page 103 of 164
                                            31898                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                    TABLE A–1 TO SUBPART A OF PART 98—GLOBAL WARMING POTENTIALS, 100-YEAR TIME HORIZON—Continued
                                                                                                                                                                                                                                                    Global
                                                                                                                                                                                                                                                   warming
                                                                                    Name                                                         CAS No.                                     Chemical formula                                      potential
                                                                                                                                                                                                                                                   (100 yr.)

                                                                                                                     Non-Cyclic, Unsaturated Halogenated Ethers

                                            PMVE; HFE–216 ...................................................................                        1187–93–5           CF3OCF = CF2 ..............................................                     b 0.17

                                            Fluoroxene .............................................................................                  406–90–6           CF3CH2OCH = CH2 ......................................                          b 0.05

                                            Methyl-perfluoroheptene-ethers .............................................                                   N/A           CH3OC7F13 ....................................................                    e 15


                                                                                                                     Non-Cyclic, Unsaturated Halogenated Esters

                                            Ethenyl 2,2,2-trifluoroacetate .................................................                          433–28–3           CF3COOCH=CH2 ..........................................                        e 0.008

                                            Prop-2-enyl 2,2,2-trifluoroacetate ..........................................                             383–67–5           CF3COOCH2CH=CH2 ...................................                            e 0.007


                                                                                                                            Cyclic, Unsaturated HFCs and PFCs

                                            PFC C–1418 ..........................................................................                     559–40–0           c-C5F8 ............................................................                   d2

                                            Hexafluorocyclobutene ..........................................................                          697–11–0           cyc (-CF=CFCF2CF2-) ...................................                          e 126

                                            1,3,3,4,4,5,5-heptafluorocyclopentene ..................................                                 1892–03–1           cyc (-CF2CF2CF2CF=CH-) ............................                               e 45

                                            1,3,3,4,4-pentafluorocyclobutene ..........................................                               374–31–2           cyc (-CH=CFCF2CF2-) ...................................                           e 92

                                            3,3,4,4-tetrafluorocyclobutene ...............................................                           2714–38–7           cyc (-CH=CHCF2CF2-) ..................................                            e 26


                                                                                                                                       Fluorinated Aldehydes

                                            3,3,3-Trifluoro-propanal .........................................................                        460–40–2           CF3CH2CHO ..................................................                    b 0.01


                                                                                                                                         Fluorinated Ketones

                                            Novec 1230 (perfluoro (2-methyl-3-pentanone)) ...................                                         756–13–8           CF3CF2C(O)CF (CF3)2 .................................                            b 0.1

                                            1,1,1-trifluoropropan-2-one ....................................................                          421–50–1           CF3COCH3 ....................................................                   e 0.09

                                            1,1,1-trifluorobutan-2-one ......................................................                         381–88–4           CF3COCH2CH3 .............................................                      e 0.095


                                                                                                                                       Fluorotelomer Alcohols

                                            3,3,4,4,5,5,6,6,7,7,7-Undecafluoroheptan-1-ol ......................                                 185689–57–0             CF3(CF2)4CH2CH2OH ...................................                           b 0.43

                                            3,3,3-Trifluoropropan-1-ol ......................................................                      2240–88–2             CF3CH2CH2OH .............................................                       b 0.35

                                            3,3,4,4,5,5,6,6,7,7,8,8,9,9,9-Pentadecafluorononan-1-ol ......                                          755–02–2             CF3(CF2)6CH2CH2OH ...................................                           b 0.33

                                            3,3,4,4,5,5,6,6,7,7,8,8,9,9,10,10,11,11,11-                                                           87017–97–8             CF3(CF2)8CH2CH2OH ...................................                           b 0.19

                                              Nonadecafluoroundecan-1-ol.

                                                                                                                   Fluorinated GHGs With Carbon-Iodine Bond(s)

                                            Trifluoroiodomethane .............................................................                       2314–97–8           CF3I ...............................................................             b 0.4


                                                                                                         Remaining Fluorinated GHGs with Chemical-Specific GWPs

                                            Dibromodifluoromethane (Halon 1202) .................................                                      75–61–6           CBr2F2 ...........................................................               b 231

                                            2-Bromo-2-chloro-1,1,1-trifluoroethane (Halon-2311/                                                       151–67–7           CHBrClCF3 ....................................................                    b 41

                                              Halothane).
                                            Heptafluoroisobutyronitrile .....................................................                      42532–60–5            (CF3)2CFCN ..................................................                  e 2,750

                                            Carbonyl fluoride ...................................................................                    353–50–4            COF2 ..............................................................             e 0.14




                                                                                                                                                                                                                                                Global warming
                                                                                                                         Fluorinated GHG group f                                                                                                   potential
                                                                                                                                                                                                                                                   (100 yr.)

                                                                                  Default GWPs for Compounds for Which Chemical-Specific GWPs Are Not Listed Above

                                            Fully fluorinated GHGs g ....................................................................................................................................................................                9,200
                                            Saturated hydrofluorocarbons (HFCs) with 2 or fewer carbon-hydrogen bonds g ............................................................................                                                     3,000
                                            Saturated HFCs with 3 or more carbon-hydrogen bonds g ...............................................................................................................                                          840
                                            Saturated hydrofluoroethers (HFEs) and hydrochlorofluoroethers (HCFEs) with 1 carbon-hydrogen bond g ..................................                                                                      6,600
                                            Saturated HFEs and HCFEs with 2 carbon-hydrogen bonds g .........................................................................................................                                            2,900
                                            Saturated HFEs and HCFEs with 3 or more carbon-hydrogen bonds g ...........................................................................................                                                    320
                                            Saturated chlorofluorocarbons (CFCs) g ............................................................................................................................................                          4,900
lotter on DSK11XQN23PROD with RULES2




                                            Fluorinated formates ..........................................................................................................................................................................                350
                                            Cyclic forms of the following: unsaturated perfluorocarbons (PFCs), unsaturated HFCs, unsaturated CFCs, unsaturated
                                              hydrochlorofluorocarbons (HCFCs), unsaturated bromofluorocarbons (BFCs), unsaturated bromochlorofluorocarbons
                                              (BCFCs), unsaturated hydrobromofluorocarbons (HBFCs), unsaturated hydrobromochlorofluorocarbons (HBCFCs), unsatu-
                                              rated halogenated ethers, and unsaturated halogenated esters g ................................................................................................                                                  58
                                            Fluorinated acetates, carbonofluoridates, and fluorinated alcohols other than fluorotelomer alcohols g .........................................                                                                   25



                                       VerDate Sep<11>2014         19:27 Apr 24, 2024        Jkt 262001      PO 00000       Frm 00098       Fmt 4701       Sfmt 4700      E:\FR\FM\25APR2.SGM              25APR2
                                                  USCA Case #24-1216                                       Document #2061464                                              Filed: 06/24/2024                              Page 104 of 164
                                                                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                        31899

                                                                                                                                                                                                                                            Global warming
                                                                                                                        Fluorinated GHG group f                                                                                                potential
                                                                                                                                                                                                                                               (100 yr.)

                                            Fluorinated aldehydes, fluorinated ketones, and non-cyclic forms of the following: unsaturated perfluorocarbons (PFCs), un-
                                              saturated HFCs, unsaturated CFCs, unsaturated HCFCs, unsaturated BFCs, unsaturated BCFCs, unsaturated HBFCs, un-
                                              saturated HBCFCs, unsaturated halogenated ethers and unsaturated halogenated esters g ......................................................                                                               1
                                            Fluorotelomer alcohols g ....................................................................................................................................................................                1
                                            Fluorinated GHGs with carbon-iodine bond(s) g ................................................................................................................................                               1
                                            Other fluorinated GHGs g ...................................................................................................................................................................             1,800
                                               a The GWP for this compound was updated in the final rule published on November 29, 2013 [78 FR 71904] and effective on January 1, 2014.
                                               b This compound was added to table A–1 in the final rule published on December 11, 2014, and effective on January 1, 2015.
                                               c The GWP for this compound was updated in the final rule published on December 11, 2014, and effective on January 1, 2015.
                                               d The GWP for this compound was updated in the final rule published on April 25, 2024 and effective on January 1, 2025.
                                               e The GWP for this compound was added to table A–1 in the final rule published on April 25, 2024 and effective on January 1, 2025.
                                              f For electronics manufacturing (as defined in § 98.90), the term ‘‘fluorinated GHGs’’ in the definition of each fluorinated GHG group in § 98.6
                                            shall include fluorinated heat transfer fluids (as defined in § 98.6), whether or not they are also fluorinated GHGs.
                                              g The GWP for this fluorinated GHG group was updated in the final rule published on April 25, 2024 and effective on January 1, 2025.




                                            ■ 10. Revise and republish table A–3 to
                                            subpart A to read as follows:

                                                                             TABLE A–3 TO SUBPART A OF PART 98—SOURCE CATEGORY LIST FOR § 98.2(a)(1)
                                            Source Categories a Applicable in Reporting Year 2010 and Future Years:
                                                Electricity generation units that report CO2 mass emissions year round through 40 CFR part 75 (subpart D).
                                                Adipic acid production (subpart E of this part).
                                                Aluminum production (subpart F of this part).
                                                Ammonia manufacturing (subpart G of this part).
                                                Cement production (subpart H of this part).
                                                HCFC–22 production (subpart O of this part).
                                                HFC–23 destruction processes that are not collocated with a HCFC–22 production facility and that destroy more than 2.14 metric tons of
                                                   HFC–23 per year (subpart O of this part).
                                                Lime manufacturing (subpart S of this part).
                                                Nitric acid production (subpart V of this part).
                                                Petrochemical production (subpart X of this part).
                                                Petroleum refineries (subpart Y of this part).
                                                Phosphoric acid production (subpart Z of this part).
                                                Silicon carbide production (subpart BB of this part).
                                                Soda ash production (subpart CC of this part).
                                                Titanium dioxide production (subpart EE of this part).
                                                Municipal solid waste landfills that generate CH4 in amounts equivalent to 25,000 metric tons CO2e or more per year, as determined ac-
                                                   cording to subpart HH of this part.
                                                Manure management systems with combined CH4 and N2O emissions in amounts equivalent to 25,000 metric tons CO2e or more per year,
                                                   as determined according to subpart JJ of this part.
                                            Additional Source Categories a Applicable in Reporting Year 2011 and Future Years:
                                                Electrical transmission and distribution equipment use at facilities where the total estimated emissions from fluorinated GHGs, as deter-
                                                   mined under § 98.301 (subpart DD of this part), are equivalent to 25,000 metric tons CO2e or more per year.
                                                Underground coal mines liberating 36,500,000 actual cubic feet of CH4 or more per year (subpart FF of this part).
                                                Geologic sequestration of carbon dioxide (subpart RR of this part).
                                                Injection of carbon dioxide (subpart UU of this part).
                                            Additional Source Categories a Applicable in Reporting Year 2025 and Future Years:
                                                Geologic sequestration of carbon dioxide with enhanced oil recovery using ISO 27916 (subpart VV of this part).
                                                Coke calciners (subpart WW of this part).
                                                Calcium carbide production (subpart XX of this part).
                                                Caprolactam, glyoxal, and glyoxylic acid production (subpart YY of this part).
                                               a Source categories are defined in each applicable subpart of this part.




                                            ■ 11. Revise and republish table A–4 to
                                            subpart A to read as follows:

                                                                             TABLE A–4 TO SUBPART A OF PART 98—SOURCE CATEGORY LIST FOR § 98.2(a)(2)

                                            Source Categories a Applicable in Reporting Year 2010 and Future Years:
                                                Ferroalloy production (subpart K of this part).
                                                Glass production (subpart N of this part).
lotter on DSK11XQN23PROD with RULES2




                                                Hydrogen production (subpart P of this part).
                                                Iron and steel production (subpart Q of this part).
                                                Lead production (subpart R of this part).
                                                Pulp and paper manufacturing (subpart AA of this part).
                                                Zinc production (subpart GG of this part).
                                            Additional Source Categories a Applicable in Reporting Year 2011 and Future Years:



                                       VerDate Sep<11>2014        19:27 Apr 24, 2024        Jkt 262001      PO 00000       Frm 00099       Fmt 4701       Sfmt 4700      E:\FR\FM\25APR2.SGM             25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 105 of 164
                                            31900              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                             TABLE A–4 TO SUBPART A OF PART 98—SOURCE CATEGORY LIST FOR § 98.2(a)(2)—Continued
                                                Electronics manufacturing (subpart I of this part).
                                                Fluorinated gas production (subpart L of this part).
                                                Magnesium production (subpart T of this part).
                                                Petroleum and Natural Gas Systems (subpart W of this part).
                                                Industrial wastewater treatment (subpart II of this part).
                                                Electrical transmission and distribution equipment manufacture or refurbishment, as determined under § 98.451 (subpart SS of this part).
                                                Industrial waste landfills (subpart TT of this part).
                                            Additional Source Categories a Applicable in Reporting Year 2025 and Future Years:
                                                Ceramics manufacturing facilities, as determined under § 98.520 (subpart ZZ of this part).
                                               a Source categories are defined in each applicable subpart.




                                            Subpart C—General Stationary Fuel                       ■ d. Revising and republishing                        § 98.33    Calculating GHG emissions.
                                            Combustion Sources                                      paragraph (c)(6);                                     *      *     *    *     *
                                                                                                    ■ e. Revising parameter ‘‘R’’ of equation               (a) * * *
                                            ■ 12. Amend § 98.33 by:
                                            ■ a. Revising and republishing                          C–11 in paragraph (d)(1); and                           (3) * * *
                                            paragraph (a)(3)(iii);                                  ■ f. Revising the introductory text of
                                                                                                                                                            (iii) For a gaseous fuel, use equation
                                            ■ b. Revising paragraph (b)(1)(vii);                    paragraphs (e), (e)(1) and (3), and
                                            ■ c. Revising parameter ‘‘EF’’ of
                                                                                                                                                          C–5 to this section.
                                                                                                    paragraph (e)(3)(iv).
                                            equation C–10 in paragraph (c)(4)
                                                                                                      The revisions read as follows:
                                            introductory text;


                                                                                  44               MW
                                                                          CO 2 = -12 * Fuel * CC * - - * 0 001
                                                                                                   MVC    •

                                                                                                                                                                   (Eq. C-5)

                                            Where:                                                      specified in paragraphs (a)(3)(iii)(B)(1)         frequently you perform or receive from
                                            CO2 = Annual CO2 mass emissions from                        and (2) of this section.                          the fuel supplier the results of fuel
                                                combustion of the specific gaseous fuel             MVC = Molar volume conversion factor at               sampling for carbon content. The
                                                                                                        standard conditions, as defined in § 98.6.
                                                (metric tons).                                                                                            methods are specified in paragraphs
                                                                                                        Use 849.5 scf per kg mole if you select
                                            Fuel = Annual volume of the gaseous fuel                                                                      (a)(3)(iii)(A)(1) and (2) of this section, as
                                                                                                        68 °F as standard temperature and 836.6
                                                combusted (scf). The volume of fuel                     scf per kg mole if you select 60 °F as            applicable.
                                                combusted must be measured directly,                    standard temperature.                                (1) If the results of fuel sampling are
                                                using fuel flow meters calibrated                   44/12 = Ratio of molecular weights, CO2 to            received monthly or more frequently,
                                                according to § 98.3(i). Fuel billing meters             carbon.                                           then for each unit with a maximum
                                                may be used for this purpose.                       0.001 = Conversion factor from kg to metric           rated heat input capacity greater than or
                                            CC = Annual average carbon content of the                   tons.                                             equal to 100 mmBtu/hr (or for a group
                                                gaseous fuel (kg C per kg of fuel). The
                                                annual average carbon content shall be
                                                                                                       (A) The minimum required sampling                  of units that includes at least one unit
                                                determined using the procedures                     frequency for determining the annual                  of that size), the annual average carbon
                                                specified in paragraphs (a)(3)(iii)(A)(1)           average carbon content (e.g., monthly,                content for equation C–5 shall be
                                                and (2) of this section.                            quarterly, semi-annually, or by lot) is               calculated using equation C–5A to this
                                            MW = Annual average molecular weight of                 specified in § 98.34. The method for                  section. If multiple carbon content
                                                the gaseous fuel (kg per kg-mole). The              computing the annual average carbon                   determinations are made in any month,
                                                annual average molecular weight shall be            content for equation C–5 to this section              average the values for the month
                                                determined using the procedures                     is a function of unit size and how                    arithmetically.


                                                                     (     )       _ Ir=i (CC)i * (Fuel)i * (MW)JMWC
                                                                         CC annual -     Ir=1 (Fuel)i * (MW)JMVC

                                                                                                                                                                    (Eq. C-5A)

                                            Where:                                                      appropriate substitute data value (kg C              be the arithmetic average of multiple
                                            (CC)annual = Weighted annual average carbon                 per kg of fuel).                                     determinations), or, if applicable, an
lotter on DSK11XQN23PROD with RULES2




                                                content of the fuel (kg C per kg of fuel).          (Fuel)i = Volume of the fuel (scf) combusted             appropriate substitute data value (kg per
                                                                                                                                                                                                          ER25AP24.001</GPH>




                                            (CC)i = Measured carbon content of the fuel,                during the sample period ‘‘i’’ (e.g.,                kg-mole).
                                                for sample period ‘‘i’’ (which may be the               monthly, quarterly, semi-annually, or by          MVC = Molar volume conversion factor at
                                                arithmetic average of multiple                          lot) from company records.                           standard conditions, as defined in § 98.6.
                                                determinations), or, if applicable, an              (MW)i = Measured molecular weight of the                 Use 849.5 scf per kg-mole if you select
                                                                                                                                                             68 °F as standard temperature and 836.6
                                                                                                                                                                                                          ER25AP24.000</GPH>




                                                                                                        fuel, for sample period ‘‘i’’ (which may



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00100   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 106 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31901

                                                scf per kg-mole if you select 60 °F as              the year (including valid samples and                   (1) If the results of fuel sampling are
                                                standard temperature.                               substitute data values under § 98.35).                received monthly or more frequently,
                                            n = Number of sample periods in the year.                  (B) The minimum required sampling                  then for each unit with a maximum
                                                                                                    frequency for determining the annual                  rated heat input capacity greater than or
                                              (2) If the results of fuel sampling are               average molecular weight (e.g., monthly,              equal to 100 mmBtu/hr (or for a group
                                            received less frequently than monthly,                  quarterly, semi-annually, or by lot) is
                                            or, for a unit with a maximum rated heat                                                                      of units that includes at least one unit
                                                                                                    specified in § 98.34. The method for                  of that size), the annual average
                                            input capacity less than 100 mmBtu/hr                   computing the annual average
                                            (or a group of such units) regardless of                                                                      molecular weight for equation C–5 shall
                                                                                                    molecular weight for equation C–5 is a
                                            the carbon content sampling frequency,                                                                        be calculated using equation C–5B to
                                                                                                    function of unit size and how frequently
                                            the annual average carbon content for                                                                         this section. If multiple molecular
                                                                                                    you perform or receive from the fuel
                                            equation C–5 shall either be computed                   supplier the results of fuel sampling for             weight determinations are made in any
                                            according to paragraph (a)(3)(iii)(A)(1)                molecular weight. The methods are                     month, average the values for the month
                                            of this section or as the arithmetic                    specified in paragraphs (a)(3)(iii)(B)(1)             arithmetically.
                                            average carbon content for all values for               and (2) of this section, as applicable.


                                                                                                  Lr i (MW)i * (Fuel)JMVC
                                                                        (MW)annual =                      Ir=i (Fuel)JMVC

                                                                                                                                                                   (Eq. C-5B)

                                            Where:                                                  EF = Fuel-specific emission factor for CH4 or         Similarly sum the annual N2O
                                            (MW)annual = Weighted annual average                        N2O, from table C–2 to this subpart (kg           emissions across all component fuels to
                                                molecular weight of the fuel (kg per kg-                CH4 or N2O per mmBtu).                            obtain the annual N2O emissions for the
                                                mole).                                              *       *     *    *     *                            blend. Report these annual emissions
                                            (MW)i = Measured molecular weight of the                   (6) Calculate the annual CH4 and N2O               totals.
                                                fuel, for sample period ‘‘i’’ (which may            mass emissions from the combustion of
                                                be the arithmetic average of multiple
                                                                                                                                                            (d) * * *
                                                                                                    blended fuels as follows:                               (1) * * *
                                                determinations), or, if applicable, an                 (i) If the mass, volume, or heat input
                                                appropriate substitute data value (kg per                                                                 R = The number of moles of CO2 released per
                                                kg-mole).                                           of each component fuel in the blend is
                                                                                                                                                              mole of sorbent used (R = 1.00 when the
                                            (Fuel)i = Volume of the fuel (scf) combusted            determined before the fuels are mixed                     sorbent is CaCO3 and the targeted acid
                                                during the sample period ‘‘i’’ (e.g.,               and combusted, calculate and report                       gas species is SO2).
                                                monthly, quarterly, semi-annually, or by            CH4 and N2O emissions separately for
                                                                                                                                                          *       *     *     *     *
                                                lot) from company records.                          each component fuel, using the
                                            MVC = Molar volume conversion factor at                                                                          (e) Biogenic CO2 emissions from
                                                                                                    applicable procedures in this paragraph
                                                standard conditions, as defined in § 98.6.                                                                combustion of biomass with other fuels.
                                                                                                    (c).
                                                Use 849.5 scf per kg-mole if you select                (ii) If the mass, volume, or heat input            Use the applicable procedures of this
                                                68 °F as standard temperature and 836.6             of each component fuel in the blend is                paragraph (e) to estimate biogenic CO2
                                                scf per kg-mole if you select 60 °F as                                                                    emissions from units that combust a
                                                standard temperature.
                                                                                                    not determined before the fuels are
                                                                                                    mixed and combusted, a reasonable                     combination of biomass and fossil fuels
                                            n = Number of sample periods in the year.                                                                     (i.e., either co-fired or blended fuels).
                                                                                                    estimate of the percentage composition
                                               (2) If the results of fuel sampling are              of the blend, based on best available                 Separate reporting of biogenic CO2
                                            received less frequently than monthly,                  information, is required. Perform the                 emissions from the combined
                                            or, for a unit with a maximum rated heat                following calculations for each                       combustion of biomass and fossil fuels
                                            input capacity less than 100 mmBtu/hr                   component fuel ‘‘i’’ that is listed in table          is required for those biomass fuels listed
                                            (or a group of such units) regardless of                C–2 to this subpart:                                  in table C–1 to this subpart, MSW, and
                                            the molecular weight sampling                              (A) Multiply (% Fuel)i, the estimated              tires. In addition, when a biomass fuel
                                            frequency, the annual average molecular                 mass, volume, or heat input percentage                that is not listed in table C–1 to this
                                            weight for equation C–5 shall either be                 of component fuel ‘‘i’’ (expressed as a               subpart is combusted in a unit that has
                                            computed according to paragraph                         decimal fraction), by the total annual                a maximum rated heat input greater
                                            (a)(3)(iii)(B)(1) of this section or as the             mass, volume, or heat input of the                    than 250 mmBtu/hr, if the biomass fuel
                                            arithmetic average molecular weight for                 blended fuel combusted during the                     accounts for 10% or more of the annual
                                            all values for the year (including valid                reporting year, to obtain an estimate of              heat input to the unit, and if the unit
                                            samples and substitute data values                      the annual value for component ‘‘i’’;                 does not use CEMS to quantify its
                                            under § 98.35).                                            (B) [Reserved]                                     annual CO2 mass emissions, then,
                                            *      *      *     *     *                                (C) Calculate the annual CH4 and N2O               pursuant to paragraph (b)(3)(iii) of this
                                               (b) * * *                                            emissions from component ‘‘i’’, using                 section, Tier 3 must be used to
                                               (1) * * *                                            equation C–8 (fuel mass or volume) to                 determine the carbon content of the
                                               (vii) May be used for the combustion                 this section, C–8a (fuel heat input) to               biomass fuel and to calculate the
                                            of MSW and/or tires in a unit, provided                 this section, C–8b (fuel heat input) to               biogenic CO2 emissions from
lotter on DSK11XQN23PROD with RULES2




                                            that no more than 10 percent of the                     this section, C–9a (fuel mass or volume)              combustion of the fuel. Notwithstanding
                                            unit’s annual heat input is derived from                to this section, or C–10 (fuel heat input)            these requirements, in accordance with
                                            those fuels, combined.                                  to this section, as applicable;                       § 98.3(c)(12), separate reporting of
                                            *      *      *     *     *                                (D) Sum the annual CH4 emissions                   biogenic CO2 emissions is optional for
                                               (c) * * *                                            across all component fuels to obtain the              the 2010 reporting year for units subject
                                                                                                                                                                                                        ER25AP24.002</GPH>




                                               (4) * * *                                            annual CH4 emissions for the blend.                   to subpart D of this part and for units


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00101   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 107 of 164
                                            31902              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            that use the CO2 mass emissions                         factor of 0.60 and for tires, use a default           (e.g., 1 to 5 cc) in each unit operating
                                            calculation methodologies in part 75 of                 factor of 0.24.                                       hour during the quarter. Separate the
                                            this chapter, pursuant to paragraph                     *     *     *    *      *                             total annual CO2 emissions into the
                                            (a)(5) of this section. However, if the                 ■ 13. Amend § 98.34 by revising
                                                                                                                                                          biogenic and non-biogenic fractions
                                            owner or operator opts to report                        paragraphs (c)(6), (d) and (e) to read as             using the average proportion of biogenic
                                            biogenic CO2 emissions separately for                   follows:                                              emissions of all samples analyzed
                                            these units, the appropriate method(s)                                                                        during the reporting year. Express the
                                            in this paragraph (e) shall be used.                    § 98.34 Monitoring and QA/QC                          results as a decimal fraction (e.g., 0.30,
                                               (1) You may use equation C–1 to this                 requirements.                                         if 30 percent of the CO2 is biogenic).
                                            section to calculate the annual CO2 mass                *      *     *     *     *                            When MSW is the primary fuel for
                                            emissions from the combustion of the                       (c) * * *                                          multiple units at the facility, and the
                                            biomass fuels listed in table C–1 to this                  (6) For applications where CO2                     units are fed from a common fuel
                                            subpart, in a unit of any size, including               concentrations in process and/or                      source, testing at only one of the units
                                            units equipped with a CO2 CEMS,                         combustion flue gasses are lower or                   is sufficient.
                                            except when the use of Tier 2 is                        higher than the typical CO2 span value                   (e) For other units that combust
                                            required as specified in paragraph                      for coal-based fuels (e.g., 20 percent CO2            combinations of biomass fuel(s) (or
                                            (b)(1)(iv) of this section. Determine the               for a coal fired boiler), cylinder gas                heterogeneous fuels that have a biomass
                                            quantity of biomass combusted using                     audits of the CO2 monitor under                       component, e.g., tires) and fossil (or
                                            one of the following procedures in this                 appendix F to part 60 of this chapter                 other non-biogenic) fuel(s), in any
                                            paragraph (e)(1), as appropriate, and                   may be performed at 40–60 percent and                 proportions, ASTM D6866–16 and
                                            document the selected procedures in the                 80–100 percent of CO2 span, in lieu of                ASTM D7459–08 (both incorporated by
                                            Monitoring Plan under § 98.3(g):                        the prescribed calibration levels of 5–8              reference, see § 98.7) may be used to
                                            *      *      *     *    *                              percent and 10–14 percent CO2 by                      determine the biogenic portion of the
                                                                                                    volume.                                               CO2 emissions in every calendar quarter
                                               (3) You must use the procedures in                                                                         in which biomass and non-biogenic
                                            paragraphs (e)(3)(i) through (iii) of this              *      *     *     *     *
                                                                                                       (d) Except as otherwise provided in                fuels are co-fired in the unit. Follow the
                                            section to determine the annual                                                                               procedures in paragraph (d) of this
                                            biogenic CO2 emissions from the                         § 98.33(e)(3)(iv), when municipal solid
                                                                                                    waste (MSW) is either the primary fuel                section. If multiple units at the facility
                                            combustion of MSW, except as                                                                                  are fed from a common fuel source,
                                            otherwise provided in paragraph                         combusted in a unit or the only fuel
                                                                                                    with a biogenic component combusted                   testing at only one of the units is
                                            (e)(3)(iv) of this section. These                                                                             sufficient.
                                            procedures also may be used for any                     in the unit, determine the biogenic
                                            unit that co-fires biomass and fossil                   portion of the CO2 emissions using                    *      *     *      *    *
                                            fuels, including units equipped with a                  ASTM D6866–16 and ASTM D7459–08                       ■ 14. Amend § 98.36 by revising
                                            CO2 CEMS.                                               (both incorporated by reference, see                  paragraphs (c)(1)(vi), (c)(3)(vi),
                                                                                                    § 98.7). Perform the ASTM D7459–08                    (e)(2)(ii)(C) and (e)(2)(xi) to read as
                                            *      *      *     *    *
                                                                                                    sampling and the ASTM D6866–16                        follows:
                                               (iv) In lieu of following the                        analysis at least once in every calendar
                                            procedures in paragraphs (e)(3)(i)                      quarter in which MSW is combusted in                  § 98.36    Data reporting requirements.
                                            through (iii) of this section, the                      the unit. Collect each gas sample during              *       *    *      *    *
                                            procedures of this paragraph (e)(3)(iv)                 normal unit operating conditions for at                  (c) * * *
                                            may be used for the combustion of tires                 least 24 total (not necessarily                          (1) * * *
                                            regardless of the percent of the annual                 consecutive) hours, or longer if the                     (vi) Annual CO2 mass emissions and
                                            heat input provided by tires. The                       facility deems it necessary to obtain a               annual CH4, and N2O mass emissions,
                                            calculation procedure in this paragraph                 representative sample. Notwithstanding                aggregated for each type of fuel
                                            (e)(3)(iv) may be used for the                          this requirement, if the types of fuels               combusted in the group of units during
                                            combustion of MSW if the combustion                     combusted and their relative                          the report year, expressed in metric tons
                                            of MSW provides no more than 10                         proportions are consistent throughout                 of each gas and in metric tons of CO2e.
                                            percent of the annual heat input to the                 the year, the minimum required                        If any of the units burn biomass, report
                                            unit or if a small, batch incinerator                   sampling time may be reduced to 8                     also the annual CO2 emissions from
                                            combusts no more than 1,000 tons per                    hours if at least two 8-hour samples and              combustion of all biomass fuels
                                            year of MSW.                                            one 24-hour sample are collected under                combined, expressed in metric tons.
                                               (A) Calculate the total annual CO2                   normal operating conditions, and                      *       *    *      *    *
                                            emissions from combustion of MSW                        arithmetic average of the biogenic                       (3) * * *
                                            and/or tires in the unit, using the                     fraction of the flue gas from the 8-hour                 (vi) If any of the units burns biomass,
                                            applicable methodology in paragraphs                    samples (expressed as a decimal) is                   the annual CO2 emissions from
                                            (a)(1) through (3) of this section for units            within ±5 percent of the biogenic                     combustion of all biomass fuels from the
                                            using Tier 1, Tier 2, or Tier 3; otherwise              fraction from the 24-hour test. There                 units served by the common pipe,
                                            use the Tier 1 calculation methodology                  must be no overlapping of the 8-hour                  expressed in metric tons.
                                            in paragraph (a)(1) of this section for                 and 24-hour test periods. Document the                *       *    *      *    *
                                            units using either the Tier 4 or                        results of the demonstration in the                      (e) * * *
                                            Alternative Part 75 calculation                         unit’s monitoring plan. If the types of                  (2) * * *
                                            methodologies to calculate total CO2                    fuels and their relative proportions are                 (ii) * * *
lotter on DSK11XQN23PROD with RULES2




                                            emissions.                                              not consistent throughout the year, an                   (C) The annual average, and, where
                                               (B) Multiply the result from paragraph               optional sampling approach that                       applicable, monthly high heat values
                                            (e)(3)(iv)(A) of this section by the                    facilities may wish to consider to obtain             used in the CO2 emissions calculations
                                            appropriate default factor to determine                 a more representative sample is to                    for each type of fuel combusted during
                                            the annual biogenic CO2 emissions, in                   collect an integrated sample by                       the reporting year, in mmBtu per short
                                            metric tons. For MSW, use a default                     extracting a small amount of flue gas                 ton for solid fuels, mmBtu per gallon for


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00102   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 108 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31903

                                            liquid fuels, and mmBtu per scf for                     arithmetic average of multiple                        arithmetic average of multiple
                                            gaseous fuels. Report an HHV value for                  determinations), or, if applicable, an                determinations), or, if applicable, an
                                            each calendar month in which HHV                        appropriate substitute data value                     appropriate substitute data value (kg C
                                            determination is required. If multiple                  (mmBtu per ton) (equation C–2b to                     per gallon of fuel) (equation C–2b to
                                            values are obtained in a given month,                   § 98.33). Annual average HHV of each                  § 98.33—see the definition of ‘‘CC’’ in
                                            report the arithmetic average value for                 solid fuel (mmBtu per ton) (equation C–               equation C–3 to § 98.33).
                                            the month.                                              2a to § 98.33).                                          (21) Annual volume of each gaseous
                                            *      *    *     *     *                                  (10) Measured high heat value of each              fuel combusted (scf/year) (equation C–5
                                               (xi) When ASTM methods D7459–08                      liquid fuel, for month (which may be                  to § 98.33).
                                            and D6866–16 (both incorporated by                      the arithmetic average of multiple                       (22) Annual average carbon content of
                                            reference, see § 98.7) are used in                      determinations), or, if applicable, an                each gaseous fuel (kg C per kg of fuel)
                                            accordance with § 98.34(e) to determine                 appropriate substitute data value                     (equation C–5 to § 98.33). Where
                                            the biogenic portion of the annual CO2                  (mmBtu per gallons) (equation C–2b to                 applicable, monthly carbon content of
                                            emissions from a unit that co-fires                     § 98.33). Annual average HHV of each                  each gaseous (which may be the
                                            biogenic fuels (or partly-biogenic fuels,               liquid fuel (mmBtu per gallons)                       arithmetic average of multiple
                                            including tires) and non-biogenic fuels,                (equation C–2a to § 98.33).                           determinations), or, if applicable, an
                                            you shall report the results of each                       (11) Measured high heat value of each              appropriate substitute data value (kg C
                                            quarterly sample analysis, expressed as                 gaseous fuel, for month (which may be                 per kg of fuel) (equation C–5A to
                                            a decimal fraction (e.g., if the biogenic               the arithmetic average of multiple                    § 98.33).
                                            fraction of the CO2 emissions is 30                     determinations), or, if applicable, an                   (23) Annual average molecular weight
                                            percent, report 0.30).                                  appropriate substitute data value                     of each gaseous fuel (kg/kg-mole)
                                                                                                    (mmBtu per scf) (equation C–2b to                     (equation C–5 to § 98.33). Where
                                            *      *    *     *     *                                                                                     applicable, monthly molecular weight of
                                                                                                    § 98.33). Annual average HHV of each
                                            ■ 15. Amend § 98.37 by revising and                     gaseous fuel (mmBtu per scf) (equation                each gaseous (which may be the
                                            republishing paragraph (b) to read as                   C–2a to § 98.33).                                     arithmetic average of multiple
                                            follows:                                                   (12) Mass of each solid fuel                       determinations), or, if applicable, an
                                            § 98.37   Records that must be retained.
                                                                                                    combusted during month (tons)                         appropriate substitute data value (kg/kg-
                                                                                                    (equation C–2b to § 98.33).                           mole) (equation C–5B to § 98.33).
                                            *      *     *      *      *                               (13) Volume of each liquid fuel                       (24) Molar volume conversion factor
                                               (b) The applicable verification                      combusted during month (gallons)                      at standard conditions, as defined in
                                            software records as identified in this                  (equation C–2b to § 98.33).                           § 98.6 (scf per kg-mole) (equation C–5 to
                                            paragraph (b). For each stationary fuel                    (14) Volume of each gaseous fuel                   § 98.33).
                                            combustion source that elects to use the                combusted during month (scf) (equation                   (25) Identify for each fuel if you will
                                            verification software specified in                      C–2b, equation C–5A, equation C–5B to                 use the default high heat value from
                                            § 98.5(b) rather than report data                       § 98.33).                                             table C–1 to this subpart, or actual high
                                            specified in paragraphs (b)(9)(iii),                       (15) Total mass of steam generated by              heat value data (equation C–8 to
                                            (c)(2)(ix), (e)(2)(i), (e)(2)(ii)(A), (C), and          municipal solid waste or each solid fuel              § 98.33).
                                            (D), (e)(2)(iv)(A), (C), and (F), and                   combustion during the reporting year                     (26) High heat value of each solid fuel
                                            (e)(2)(ix)(D) through (F) of this section,              (pounds steam) (equation C–2c to                      (mmBtu/tons) (equation C–8 to § 98.33).
                                            you must keep a record of the file                      § 98.33).                                                (27) High heat value of each liquid
                                            generated by the verification software                     (16) Ratio of the boiler’s maximum                 fuel (mmBtu/gallon) (equation C–8 to
                                            for the applicable data specified in                    rated heat input capacity to its design               § 98.33).
                                            paragraphs (b)(1) through (37) of this                  rated steam output capacity (MMBtu/                      (28) High heat value of each gaseous
                                            section. Retention of this file satisfies               pounds steam) (equation C–2c to                       fuel (mmBtu/scf) (equation C–8 to
                                            the recordkeeping requirement for the                   § 98.33).                                             § 98.33).
                                            data in paragraphs (b)(1) through (37) of                  (17) Annual mass of each solid fuel                   (29) Cumulative annual heat input
                                            this section.                                           combusted (short tons/year) (equation                 from combustion of each fuel (mmBtu)
                                               (1) Mass of each solid fuel combusted                C–3 to § 98.33).                                      (equation C–10 to § 98.33).
                                            (tons/year) (equation C–1 to § 98.33).                     (18) Annual average carbon content of                 (30) Total quantity of each solid fossil
                                               (2) Volume of each liquid fuel                       each solid fuel (percent by weight,                   fuel combusted in the reporting year, as
                                            combusted (gallons/year) (equation C–1                  expressed as a decimal fraction)                      defined in § 98.6 (pounds) (equation C–
                                            to § 98.33).                                            (equation C–3 to § 98.33). Where                      13 to § 98.33).
                                               (3) Volume of each gaseous fuel                      applicable, monthly carbon content of                    (31) Total quantity of each liquid
                                            combusted (scf/year) (equation C–1 to                   each solid fuel (which may be the                     fossil fuel combusted in the reporting
                                            § 98.33).                                               arithmetic average of multiple                        year, as defined in § 98.6 (gallons)
                                               (4) Annual natural gas usage (therms/                determinations), or, if applicable, an                (equation C–13 to § 98.33).
                                            year) (equation C–1a to § 98.33).                       appropriate substitute data value                        (32) Total quantity of each gaseous
                                               (5) Annual natural gas usage (mmBtu/                 (percent by weight, expressed as a                    fossil fuel combusted in the reporting
                                            year) (equation C–1b to § 98.33).                       decimal fraction) (equation C–2b to                   year, as defined in § 98.6 (scf) (equation
                                               (6) Mass of each solid fuel combusted                § 98.33—see the definition of ‘‘CC’’ in               C–13 to § 98.33).
                                            (tons/year) (equation C–2a to § 98.33).                 equation C–3 to § 98.33).                                (33) High heat value of the each solid
                                               (7) Volume of each liquid fuel                          (19) Annual volume of each liquid                  fossil fuel (Btu/lb) (equation C–13 to
                                            combusted (gallons/year) (equation C–                   fuel combusted (gallons/year) (equation               § 98.33).
lotter on DSK11XQN23PROD with RULES2




                                            2a to § 98.33).                                         C–4 to § 98.33).                                         (34) High heat value of the each liquid
                                               (8) Volume of each gaseous fuel                         (20) Annual average carbon content of              fossil fuel (Btu/gallons) (equation C–13
                                            combusted (scf/year) (equation C–2a to                  each liquid fuel (kg C per gallon of fuel)            to § 98.33).
                                            § 98.33).                                               (equation C–4 to § 98.33). Where                         (35) High heat value of the each
                                               (9) Measured high heat value of each                 applicable, monthly carbon content of                 gaseous fossil fuel (Btu/scf) (equation C–
                                            solid fuel, for month (which may be the                 each liquid fuel (which may be the                    13 to § 98.33).


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00103   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                                Filed: 06/24/2024              Page 109 of 164
                                            31904              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                              (36) Fuel-specific carbon based F-                         (a) CO2 process emissions from steam                ammonia manufacturing unit using the
                                            factor per fuel (scf CO2/mmBtu)                            reforming of a hydrocarbon or the                     procedures in either paragraph (a) or (b)
                                            (equation C–13 to § 98.33).                                gasification of solid and liquid raw                  of this section.
                                              (37) Moisture content used to                            material, reported for each ammonia                   *      *     *    *      *
                                            calculate the wood and wood residuals                      manufacturing unit following the                        (b) Calculate and report under this
                                            wet basis HHV (percent), if applicable                     requirements of this subpart.                         subpart process CO2 emissions using the
                                            (equations C–1 and C–8 to § 98.33).                        *     *     *     *     *                             procedures in paragraphs (b)(1) through
                                                                                                       ■ 17. Amend § 98.73 by revising the                   (4) of this section, as applicable.
                                            Subpart G—Ammonia Manufacturing
                                                                                                       introductory text and paragraph (b) to                  (1) Gaseous feedstock. You must
                                            ■ 16. Amend § 98.72 by revising                            read as follows:                                      calculate, from each ammonia
                                            paragraph (a) to read as follows:                                                                                manufacturing unit, the CO2 process
                                                                                                       § 98.73   Calculating GHG emissions.                  emissions from gaseous feedstock
                                            § 98.72    GHGs to report.                                   You must calculate and report the                   according to equation G–1 to this
                                            *      *     *       *      *                              annual CO2 process emissions from each                section:



                                                                     CO2 G =
                                                                        '
                                                                                   (L n=i -12 * Fdstkn * CCn * -
                                                                                         iZ     44                                 MW)
                                                                                                                                   MVC
                                                                                                                                          * 0.001                         (Eq. G-1)


                                            Where:                                                     MW = Molecular weight of the gaseous                    (2) Liquid feedstock. You must
                                            CO2,G = Annual CO2 emissions arising from                      feedstock (kg/kg-mole).                           calculate, from each ammonia
                                                gaseous feedstock consumption (metric                  MVC = Molar volume conversion factor                  manufacturing unit, the CO2 process
                                                tons).                                                     (849.5 scf per kg-mole at standard
                                                                                                           conditions).
                                                                                                                                                             emissions from liquid feedstock
                                            Fdstkn = Volume of the gaseous feedstock
                                                used in month n (scf of feedstock).                    44/12 = Ratio of molecular weights, CO2 to            according to equation G–2 to this
                                            CCn = Carbon content of the gaseous                            carbon.                                           section:
                                                feedstock, for month n (kg C per kg of                 0.001 = Conversion factor from kg to metric
                                                feedstock), determined according to                        tons.
                                                § 98.74(c).                                            n = Number of month.



                                                                      CO2,L =        (L 12n=112- * Fdstkn * CCn * 0.001
                                                                                                  44                           )                                        (Eq. G-2)


                                            Where:                                                         feedstock) determined according to                  (3) Solid feedstock. You must
                                            CO2,L = Annual CO2 emissions arising from                      § 98.74(c).                                       calculate, from each ammonia
                                                liquid feedstock consumption (metric                   44/12 = Ratio of molecular weights, CO2 to            manufacturing unit, the CO2 process
                                                tons).                                                     carbon.                                           emissions from solid feedstock
                                            Fdstkn = Volume of the liquid feedstock used               0.001 = Conversion factor from kg to metric
                                                in month n (gallons of feedstock).                                                                           according to equation G–3 to this
                                                                                                           tons.
                                            CCn = Carbon content of the liquid feedstock,                                                                    section:
                                                                                                       n = Number of month.
                                                for month n (kg C per gallon of



                                                                      CO 2,s =       (L n=112
                                                                                        12        44
                                                                                           - * Fdstkn * CCn * 0.001            )                                        (Eq. G-3)


                                            Where:                                                     CCn = Carbon content of the solid feedstock,          n = Number of month.
                                            CO2,S = Annual CO2 emissions arising from                      for month n (kg C per kg of feedstock),
                                                                                                           determined according to § 98.74(c).                 (4) CO2 process emissions. You must
                                                solid feedstock consumption (metric                                                                          calculate the annual CO2 process
                                                                                                       44/12 = Ratio of molecular weights, CO2 to
                                                tons).                                                                                                       emissions at each ammonia
                                                                                                           carbon.                                                                                       ER25AP24.006</GPH>

                                            Fdstkn = Mass of the solid feedstock used in               0.001 = Conversion factor from kg to metric           manufacturing unit according to
                                                month n (kg of feedstock).                                 tons.                                             equation G–4 to this section:


                                                                                                                                                               (Eq. G--4)
                                                                                                                                                                                                         ER25AP24.005</GPH>




                                            Where:                                                          tons/yr) as calculated in paragraphs             ■ 18. Amend § 98.76 by revising the
lotter on DSK11XQN23PROD with RULES2




                                            CO2 = Annual CO2 process emissions from                         (b)(1) through (3) of this section.              introductory text and paragraphs (b)(1)
                                                                                                                                                                                                         ER25AP24.004</GPH>




                                                each ammonia manufacturing unit                        p = Index for feedstock type; 1 indicates             and (13) and adding paragraph (b)(16) to
                                                (metric tons).                                              gaseous feedstock; 2 indicates liquid            read as follows:
                                            CO2,p = Annual CO2 process emissions                            feedstock; and 3 indicates solid
                                                arising from feedstock consumption                          feedstock.
                                                based on feedstock type ‘‘p’’ (metric                  *     *     *       *        *
                                                                                                                                                                                                         ER25AP24.003</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00104   Fmt 4701     Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                             Document #2061464                              Filed: 06/24/2024               Page 110 of 164
                                                                Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31905

                                            § 98.76    Data reporting requirements.                    (13) Annual amount of CO2 (metric                    ■ a. Revising paragraph (d)(1);

                                              In addition to the information                         tons) collected from ammonia                           ■ b. Revising parameters ‘‘CKDCaO’’ and
                                            required by § 98.3(c), each annual report                production and consumed on site for                    ‘‘CKDMgO’’ of equation H–4 in paragraph
                                            must contain the information specified                   urea production and the method used to                 (d)(2)(ii)(A); and
                                                                                                     determine the CO2 consumed in urea
                                            in paragraphs (a) and (b) of this section,                                                                      ■ c. Revising paragraph (d)(3).
                                                                                                     production.
                                            as applicable for each ammonia
                                                                                                     *     *     *     *   *                                   The revisions read as follows:
                                            manufacturing unit.
                                                                                                       (16) Annual quantity of excess
                                            *     *    *      *    *                                 hydrogen produced that is not                          § 98.83    Calculating GHG emissions.
                                              (b) * * *                                              consumed through the production of                     *     *     *     *     *
                                              (1) Annual CO2 process emissions                       ammonia (metric tons).                                   (d) * * *
                                            (metric tons) for each ammonia                                                                                    (1) Calculate CO2 process emissions
                                                                                                     Subpart H—Cement Production
                                            manufacturing unit.                                                                                             from all kilns at the facility using
                                            *     *    *      *    *                                 ■ 19. Amend § 98.83 by:                                equation H–1 to this section:


                                                                                                                                                                      (Eq. H-1)

                                            Where:                                                   k = Total number of kilns at a cement                  CKDncMgO = Quarterly non-calcined MgO
                                            CO2 CMF = Annual process emissions of CO2                    manufacturing facility.                               content of CKD not recycled to the kiln,
                                                from cement manufacturing, metric tons.                    (2) * * *                                           wt-fraction.
                                            CO2 Cli,m = Total annual emissions of CO2                      (ii) * * *                                       *      *    *    *     *
                                                from clinker production from kiln m,                       (A) * * *
                                                                                                                                                               (3) CO2 emissions from raw materials
                                                metric tons.                                         CKDncCaO = Quarterly non-calcined CaO                  from each kiln. Calculate CO2 emissions
                                            CO2 rm,m = Total annual emissions of CO2                    content of CKD not recycled to the kiln,
                                                from raw materials from kiln m, metric
                                                                                                                                                            from raw materials using equation H–5
                                                                                                        wt-fraction.
                                                tons.                                                                                                       to this section:
                                                                                                     *        *     *       *      *


                                                                                           M [              44   2000]
                                                                       CO2 rm,m        = Li=1  rm * TOCrm * 12 * 2205                                                  (Eq. H-5)

                                            Where:                                                      (6) Annual arithmetic average of total              recycled to the kiln(s) at the facility, wt-
                                            rm = The amount of raw material i consumed               MgO content of clinker at the facility,                fraction.
                                                annually from kiln m, tons/yr (dry basis)            wt-fraction.                                              (27) Annual facility CKD not recycled
                                                or the amount of raw kiln feed consumed                 (7) Annual arithmetic average of non-               to the kiln(s), tons.
                                                annually from kiln m, tons/yr (dry basis).           calcined MgO content of clinker at the                    (28) The amount of raw kiln feed
                                            CO2,rm,m = Annual CO2 emissions from raw
                                                                                                     facility, wt-fraction.                                 consumed annually at the facility, tons
                                                materials from kiln m.
                                            TOCrm = Organic carbon content of raw                       (8) Annual facility CKD not recycled                (dry basis).
                                                material i from kiln m or organic carbon             to the kiln(s), tons.
                                                content of combined raw kiln feed (dry                  (b) * * *                                           Subpart I—Electronics Manufacturing
                                                basis) from kiln m, as determined in                    (19) Annual arithmetic average of
                                                § 98.84(c) or using a default factor of 0.2                                                                 ■ 21. Revise and republish § 98.91 to
                                                                                                     total CaO content of clinker at the
                                                percent of total raw material weight.                facility, wt-fraction.                                 read as follows:
                                            M = Number of raw materials or 1 if
                                                calculating emissions based on                          (20) Annual arithmetic average of                   § 98.91    Reporting threshold.
                                                combined raw kiln feed.                              non-calcined CaO content of clinker at                   (a) You must report GHG emissions
                                            44/12 = Ratio of molecular weights, CO2 to               the facility, wt-fraction.                             under this subpart if electronics
                                                carbon.                                                 (21) Annual arithmetic average of                   manufacturing production processes, as
                                            2000/2205 = Conversion factor to convert                 total MgO content of clinker at the                    defined in § 98.90, are performed at
                                                tons to metric tons.                                 facility, wt-fraction.                                 your facility and your facility meets the
                                            *      *      *       *      *                              (22) Annual arithmetic average of                   requirements of either § 98.2(a)(1) or (2).
                                                                                                     non-calcined MgO content of clinker at                 To calculate total annual GHG
                                            ■ 20. Amend § 98.86 by adding
                                                                                                     the facility, wt-fraction.                             emissions for comparison to the 25,000
                                            paragraphs (a)(4) through (8) and (b)(19)
                                            through (28) to read as follows:                            (23) Annual arithmetic average of                   metric ton CO2e per year emission
                                                                                                     total CaO content of CKD not recycled                  threshold in § 98.2(a)(2), follow the
                                            § 98.86    Data reporting requirements.                  to the kiln(s) at the facility, wt-fraction.           requirements of § 98.2(b), with one
                                            *      *    *      *   *                                    (24) Annual arithmetic average of                   exception. Rather than using the
                                                                                                     non-calcined CaO content of CKD not                    calculation methodologies in § 98.93 to
                                              (a) * * *
                                                                                                     recycled to the kiln(s) at the facility, wt-           calculate emissions from electronics
lotter on DSK11XQN23PROD with RULES2




                                              (4) Annual arithmetic average of total                 fraction.                                              manufacturing production processes,
                                                                                                                                                                                                           ER25AP24.008</GPH>




                                            CaO content of clinker at the facility,                     (25) Annual arithmetic average of                   calculate emissions of each fluorinated
                                            wt-fraction.                                             total MgO content of CKD not recycled                  GHG from electronics manufacturing
                                              (5) Annual arithmetic average of non-                  to the kiln(s) at the facility, wt-fraction.           production processes by using
                                            calcined CaO content of clinker at the                      (26) Annual arithmetic average of                   paragraph (a)(1), (2), or (3) of this
                                                                                                                                                                                                           ER25AP24.007</GPH>




                                            facility, wt-fraction.                                   non-calcined MgO content of CKD not                    section, as appropriate, and then sum


                                       VerDate Sep<11>2014    19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00105   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 111 of 164
                                            31906              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            the emissions of each fluorinated GHG                   calculate annual production process                   this subpart and equation I–1A to this
                                            and account for fluorinated heat transfer               emissions resulting from the use of each              section, or the consumption of each
                                            fluid emissions by using paragraph                      input gas for threshold applicability                 input gas, the default emission factors
                                            (a)(4) of this section.                                 purposes using either the default                     shown in table I–2 to this subpart, and
                                               (1) If you manufacture                               emission factors shown in table I–1 to                equation I–1B to this section.
                                            semiconductors or MEMS you must


                                                                                                                                                             (Eq. I-lA)

                                            Where:                                                  S = 100 percent of annual manufacturing               GWPi = Gas-appropriate GWP as provided in
                                            Ei = Annual production process emissions of                 capacity of a facility as calculated using             table A–1 to subpart A of this part.
                                                 gas i for threshold applicability purposes             equation I–5 to this section (m2).                0.001 = Conversion factor from kg to metric
                                                                                                    EFi = Emission factor for gas i (kg/m2) shown              tons.
                                                 (metric tons CO2e).
                                                                                                        in table I–1 to this subpart.                     i = Emitted gas.




                                            Where:                                                  (1–Ui), BCF4, and BC2F6 = Default emission            process emissions resulting from the use
                                            Ei = Annual production process emissions                     factors for the gas consumption-based            of each input gas for threshold
                                                 resulting from the use of input gas i for               threshold applicability determination            applicability purposes using either the
                                                 threshold applicability purposes (metric                listed in table I–2 to this subpart.
                                                                                                    GWPi = Gas-appropriate GWP as provided in             default emission factors shown in table
                                                 tons CO2e).
                                            Ci = Annual GHG (input gas i) purchases or                   table A–1 to subpart A of this part.             I–1 to this subpart and equation I–2A to
                                                 consumption (kg). Only gases that are              0.001 = Conversion factor from kg to metric           this section or the consumption of each
                                                 used in semiconductor or MEMS                           tons.                                            input gas, the default emission factors
                                                 manufacturing processes listed at                  i = Input gas.                                        shown in table I–2 to this subpart, and
                                                 § 98.90(a)(1) through (4) must be                                                                        equation I–2B to this section.
                                                 considered for threshold applicability              (2) If you manufacture LCDs, you
                                                 purposes.                                          must calculate annual production


                                                                                                                                                                   (Eq. I-2A)

                                            Where:                                                  S = 100 percent of annual manufacturing               GWPi = Gas-appropriate GWP as provided in
                                            Ei = Annual production process emissions of                 capacity of a facility as calculated using             table A–1 to subpart A of this part.
                                                 gas i for threshold applicability purposes             equation I–5 to this section (m2).                0.000001 = Conversion factor from g to
                                                                                                    EFi = Emission factor for gas i (g/m2).                    metric tons.
                                                 (metric tons CO2e).
                                                                                                                                                          i = Emitted gas.




                                            Where:                                                       considered for threshold applicability             (3) If you manufacture PVs, you must
                                            Ei = Annual production process emissions                     purposes.                                        calculate annual production process
                                                                                                    (1–Ui), BCF4, and BC2F6 = Default emission
                                                 resulting from the use of input gas i for                                                                emissions resulting from the use of each
                                                                                                         factors for the gas consumption-based
                                                 threshold applicability purposes (metric                threshold applicability determination            input gas i for threshold applicability




                                                                                                                                                                                                        ER25AP24.013</GPH>
                                                 tons CO2e).                                             listed in table I–2 to this subpart.             purposes using gas-appropriate GWP
                                            Ci = Annual GHG (input gas i) purchases or              GWPi = Gas-appropriate GWP as provided in             values shown in table A–1 to subpart A
                                                 consumption (kg). Only gases that are                   table A–1 to subpart A of this part.             of this part, the default emission factors
                                                 used in LCD manufacturing processes                0.001 = Conversion factor from kg to metric           shown in table I–2 to this subpart, and
                                                 listed at § 98.90(a)(1) through (4) must be             tons.
                                                                                                                                                          equation I–3 to this section.
                                                                                                                                                                                                        ER25AP24.012</GPH>

                                                                                                    i = Input gas.
                                                                                                                                                                                                        ER25AP24.011</GPH>




                                            Where:                                                       processes listed at § 98.90(a)(1) through        0.001 = Conversion factor from kg to metric
                                            Ei = Annual production process emissions                     (4) must be considered for threshold                  tons.
                                                 resulting from the use of input gas i for               applicability purposes.                          i = Input gas.
lotter on DSK11XQN23PROD with RULES2




                                                                                                    (1 – Ui), BCF4, and BC2F6 = Default emission
                                                 threshold applicability purposes (metric
                                                                                                                                                                                                        ER25AP24.010</GPH>




                                                                                                         factors for the gas consumption-based              (4) You must calculate total annual
                                                 tons CO2e).                                             threshold applicability determination
                                            Ci = Annual fluorinated GHG (input gas i)                                                                     production process emissions for
                                                                                                         listed in table I–2 to this subpart.
                                                 purchases or consumption (kg). Only                                                                      threshold applicability purposes using
                                                                                                    GWPi = Gas-appropriate GWP as provided in
                                                 gases that are used in PV manufacturing                 table A–1 to subpart A of this part.             equation I–4 to this section.
                                                                                                                                                                                                        ER25AP24.009</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00106   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 112 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                             31907

                                                                                                                                                            (Eq. I--4)

                                            Where:                                                        facility. Set equal to 1.1 when equation        Ei = Annual production process emissions of
                                            ET = Annual production process emissions of                   I–4 to this section is used to calculate             gas i for threshold applicability purposes
                                                 all fluorinated GHGs for threshold                       total annual production process                      (metric tons CO2e), as calculated in
                                                 applicability purposes (metric tons                      emissions from semiconductor                         equations I–1a, I–1b, I–2a, I–2b, or I–3 to
                                                                                                          manufacturing. Set equal to 1 when                   this section.
                                                 CO2e).
                                                                                                                                                          i = Emitted gas.
                                            d = Factor accounting for fluorinated heat                    equation I–4 to this section is used to
                                                 transfer fluid emissions, estimated as 10                calculate total annual production process         (b) You must calculate annual
                                                 percent of total annual production                       emissions from MEMS, LCD, or PV                 manufacturing capacity of a facility
                                                 process emissions at a semiconductor                     manufacturing.                                  using equation I–5 to this section.


                                                                                   s = L..x
                                                                                       "'12wX


                                                                                                                                                           (Eq. I-5)

                                            Where:                                                  ■ 23. Amend § 98.93 by:                               paragraph (i) of this section, to calculate
                                            S = 100 percent of annual manufacturing                 ■ a. Revising paragraph (a);                          emissions of each input gas and each
                                                capacity of a facility (m2).                        ■ b. Revising the introductory text of                by-product gas.
                                            Wx = Maximum substrate starts of fab f in               paragraph (e);
                                                month x (m2 per month).                             ■ c. Revising parameters ‘‘UTij’’ and
                                                                                                                                                            (1) If you manufacture
                                            x = Month.                                              ‘‘Tdijp’’ of equation I–15 in paragraph               semiconductors, you must adhere to the
                                            ■ 22. Amend § 98.92 by revising                         (g); and                                              procedures in paragraphs (a)(1)(i)
                                            paragraph (a) introductory text to read                 ■ d. Revising paragraphs (h)(1) and (i).              through (iii) of this section. You must
                                            as follows:                                                The revisions read as follows:                     calculate annual emissions of each
                                                                                                                                                          input gas and of each by-product gas
                                            § 98.92   GHGs to report.                               § 98.93    Calculating GHG emissions.                 using equations I–6, I–7, and I–9 to this
                                               (a) You must report emissions of                       (a) You must calculate total annual                 section. If your fab uses less than 50 kg
                                            fluorinated GHGs (as defined in § 98.6),                emissions of each fluorinated GHG                     of a fluorinated GHG in one reporting
                                            N2O, and fluorinated heat transfer fluids               emitted by electronics manufacturing                  year, you may calculate emissions as
                                            (as defined in § 98.6). The fluorinated                 production processes from each fab (as                equal to your fab’s annual consumption
                                            GHGs and fluorinated heat transfer                      defined in § 98.98) at your facility,
                                            fluids that are emitted from electronics                                                                      for that specific gas as calculated in
                                                                                                    including each input gas and each by-
                                            manufacturing production processes                                                                            equation I–11 to this section, plus any
                                                                                                    product gas. You must use either default
                                            include, but are not limited to, those                                                                        by-product emissions of that gas
                                                                                                    gas utilization rates and by-product
                                            listed in table I–21 to this subpart. You                                                                     calculated under paragraph (a) of this
                                                                                                    formations rates according to the
                                            must individually report, as                            procedures in paragraph (a)(1), (2), (6),             section.
                                            appropriate:                                            or (7) of this section, as appropriate, or
                                            *      *    *     *      *                              the stack test method according to


                                                                                                                                                               (Eq. I-6)

                                            Where:                                                  Eij = Annual emissions of input gas i from                 manufacturing fab and emission
                                            ProcesstypeEi = Annual emissions of input                    process sub-type or process type j as                 calculation methodology. If Eij is
                                                gas i from the process type on a fab basis               calculated in equation I–8A to this                   calculated for a process type j in
                                                                                                         section (metric tons).                                equation I–8A to this section, N = 1.
                                                (metric tons).
                                                                                                    N = The total number of process sub-types j           i = Input gas.
                                                                                                         that depends on the electronics                  j = Process sub-type or process type.
                                                                                                                                                                                                             ER25AP24.017</GPH>



                                                                                       ProcesstypeBEk            = If!, 1 Li BEkii                      (Eq. I-7)

                                            Where:                                                  N = The total number of process sub-types j             (i) You must calculate annual fab-
                                                                                                                                                                                                             ER25AP24.016</GPH>




                                            ProcesstypeBEk = Annual emissions of by-                     that depends on the electronics                  level emissions of each fluorinated GHG
                                                 product gas k from the processes type on                manufacturing fab and emission                   used for the plasma etching/wafer
                                                 a fab basis (metric tons).                              calculation methodology. If BEkij is
                                                                                                                                                          cleaning process type using default
                                            BEkij = Annual emissions of by-product gas                   calculated for a process type j in
lotter on DSK11XQN23PROD with RULES2




                                                 k formed from input gas i used for                      equation I–8B to this section, N = 1.            utilization and by-product formation
                                                                                                                                                                                                             ER25AP24.015</GPH>




                                                 process sub-type or process type j as              i = Input gas.                                        rates as shown in table I–3 or I–4 to this
                                                 calculated in equation I–8B to this                j = Process sub-type, or process type.                subpart, and by using equations I–8A
                                                 section (metric tons).                             k = By-product gas.                                   and I–8B to this section.
                                                                                                                                                                                                             ER25AP24.014</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00107   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 113 of 164
                                            31908              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations


                                                                                                                                                                       (Eq. I-8A)

                                            Where:                                                       abatement systems, on a fab basis                UTij = The average uptime factor of all
                                            Eij = Annual emissions of input gas i from                   (expressed as a decimal fraction).                    abatement systems connected to process
                                                  process sub-type or process type j, on a          dij = Fraction of input gas i destroyed or                 tools in the fab using input gas i in
                                                  fab basis (metric tons).                               removed when fed into abatement                       process sub-type or process type j, as
                                            Cij = Amount of input gas i consumed for                     systems by process tools where process                calculated in equation I–15 to this
                                                  process sub-type or process type j, as                 sub-type, or process type j is used, on a             section, on a fab basis (expressed as a
                                                  calculated in equation I–13 to this                    fab basis, calculated by taking the tool
                                                                                                                                                               decimal fraction).
                                                  section, on a fab basis (kg).                          weighted average of the claimed DREs
                                                                                                         for input gas i on tools that use process        0.001 = Conversion factor from kg to metric
                                            Uij = Process utilization rate for input gas i
                                                  for process sub-type or process type j                 type or process sub-type j (expressed as              tons.
                                                  (expressed as a decimal fraction).                     a decimal fraction). This is zero unless         i = Input gas.
                                            aij = Fraction of input gas i used in process                the facility adheres to the requirements         j = Process sub-type or process type.
                                                  sub-type or process type j with                        in § 98.94(f).



                                                                                                                                                                       (Eq. I-8B)

                                            Where:                                                       sub-type or process type j, on a fab basis       paragraph (a)(6) of this section. If your
                                            BEkij = Annual emissions of by-product gas                   (expressed as a decimal fraction). For           fab uses less than 50 kg of a fluorinated
                                                  k formed from input gas i from process                 this equation, UTkij is assumed to be            GHG in one reporting year, you may
                                                  sub-type or process type j, on a fab basis             equal to UTij as calculated in equation I–
                                                                                                         15 to this section.
                                                                                                                                                          calculate emissions as equal to your
                                                  (metric tons).
                                                                                                    0.001 = Conversion factor from kg to metric           fab’s annual consumption for that
                                            Bkij = By-product formation rate of gas k
                                                  created as a by-product per amount of                  tons.                                            specific gas as calculated in equation I–
                                                  input gas i (kg) consumed by process              i = Input gas.                                        11 to this section, plus any by-product
                                                  sub-type or process type j (kg). If all           j = Process sub-type or process type.                 emissions of that gas calculated under
                                                  input gases consumed by a chamber                 k = By-product gas.                                   this paragraph (a).
                                                  cleaning process sub-type are non-carbon             (ii) You must calculate annual fab-
                                                  containing input gases, this is zero when                                                                  (3)–(5) [Reserved]
                                                  the combination of the non-carbon                 level emissions of each fluorinated GHG                  (6) If you are required, or elect, to
                                                  containing input gas and chamber                  used for each of the process sub-types                perform calculations using default
                                                  cleaning process sub-type is never used           associated with the chamber cleaning                  emission factors for gas utilization and
                                                  to clean chamber walls on equipment               process type, including in-situ plasma
                                                  that process carbon-containing films
                                                                                                                                                          by-product formation rates according to
                                                                                                    chamber clean, remote plasma chamber
                                                  during the year (e.g., when NF3 is used                                                                 the procedures in paragraph (a)(1) or (2)
                                                                                                    clean, and in-situ thermal chamber
                                                  in remote plasma cleaning processes to                                                                  of this section, and default values are
                                                                                                    clean, using default utilization and by-
                                                  only clean chambers that never process                                                                  not available for a particular input gas
                                                  carbon-containing films during the year).
                                                                                                    product formation rates as shown in
                                                                                                                                                          and process type or sub-type
                                                  If all input gases consumed by an etching         table I–3 or I–4 to this subpart, and by
                                                                                                                                                          combination in tables I–3, I–4, I–5, I–6,
                                                  and wafer cleaning process sub-type are           using equations I–8A and I–8B to this
                                                                                                                                                          or I–7 to this subpart, you must use a
                                                  non-carbon containing input gases, this           section.
                                                  is zero when the combination of the non-             (iii) If default values are not available          utilization rate (Uij) of 0.2 (i.e., a 1–Uij
                                                  carbon containing input gas and etching           for a particular input gas and process                of 0.8) and by-product formation rates of
                                                  and wafer cleaning process sub-type is            type or sub-type combination in tables                0.15 for CF4 and 0.05 for C2F6 and use
                                                  never used to etch or wafer clean carbon-         I–3 or I–4, you must follow the                       equations I–8A and I–8B to this section.
                                                  containing films during the year.                                                                          (7) If your fab employs hydrocarbon-
                                            Cij = Amount of input gas i consumed for
                                                                                                    procedures in paragraph (a)(6) of this
                                                  process sub-type, or process type j, as           section.                                              fuel-based combustion emissions
                                                  calculated in equation I–13 to this                  (2) If you manufacture MEMS or PVs                 control systems (HC fuel CECS),
                                                  section, on a fab basis (kg).                     and use semiconductor tools and                       including, but not limited to, abatement
                                            akij = Fraction of input gas i used for process         processes, you may use § 98.3(a)(1) to                systems as defined at § 98.98, that were
                                                  sub-type, or process type j with                  calculate annual fab-level emissions for              purchased and installed on or after
                                                  abatement systems, on a fab basis                 those processes. For all other tools and              January 1, 2025, to control emissions
                                                  (expressed as a decimal fraction).                processes used to manufacture MEMs,                   from tools that use either NF3 in remote
                                            dkij = Fraction of by-product gas k destroyed
                                                  or removed in when fed into abatement
                                                                                                    LCD and PV, you must calculate annual                 plasma cleaning processes or F2 as an
                                                  systems by process tools where process            fab-level emissions of each fluorinated               input gas in any process type or sub-
                                                  sub-type or process type j is used, on a          GHG used for the plasma etching and                   type, you must calculate the amount CF4
                                                  fab basis, calculated by taking the tool          chamber cleaning process types using                  produced within and emitted from such
                                                  weighted average of the claimed DREs              default utilization and by-product                    systems using equation I–9 to this
                                                  for by-product gas k on tools that use            formation rates as shown in table I–5, I–             section using default utilization and by-
                                                  input gas i in process type or process            6, or I–7 to this subpart, as appropriate,            product formation rates as shown in
                                                  sub-type j (expressed as a decimal                and by using equations I–8A and I–8B                  table I–3 or I–4 to this subpart. A HC
lotter on DSK11XQN23PROD with RULES2




                                                  fraction). This is zero unless the facility
                                                                                                    to this section. If default values are not            fuel CECS is assumed not to form CF4
                                                                                                                                                                                                         ER25AP24.019</GPH>




                                                  adheres to the requirements in § 98.94(f).
                                            UTkij = The average uptime factor of all                available for a particular input gas and              from F2 if the electronics manufacturer
                                                  abatement systems connected to process            process type or sub-type combination in               can certify that the rate of conversion
                                                  tools in the fab emitting by-product gas          tables I–5, I–6, or I–7 to this subpart,              from F2 to CF4 is <0.1% for that HC fuel
                                                  k, formed from input gas i in process             you must follow the procedures in                     CECS.
                                                                                                                                                                                                         ER25AP24.018</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00108   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 114 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31909




                                                                                                                                                                                    (Eq. I-9)

                                            Where:                                                       be equal to UTNF3,RPC as calculated in           calculate and report either emissions
                                            EABCF4 = Emissions of CF4 from HC fuel                       equation I–15 to this section.                   from all applications or from only those
                                                  CECS when direct reaction between                 j = Process type or sub-type.                         specified in the definition of fluorinated
                                                  hydrocarbon fuel and F2 is not certified          *      *    *     *     *                             heat transfer fluids in § 98.6.
                                                  not to occur by the emissions control                (e) You must calculate the amount of
                                                  system manufacturer or electronics                                                                      *       *    *     *    *
                                                                                                    input gas i consumed, on a fab basis, for
                                                  manufacturer, kg.                                 each process sub-type or process type j,                 (i) Stack test method. As an
                                            CF2,j = Amount of F2 consumed for process                                                                     alternative to the default emission factor
                                                                                                    using equation I–13 to this section.
                                                  type or sub-type j, as calculated in                                                                    method in paragraph (a) of this section,
                                                  equation I–13 to this section, on a fab           Where a gas supply system serves more
                                                                                                    than one fab, equation I–13 to this                   you may calculate fab-level fluorinated
                                                  basis (kg).
                                            UF2,j = Process utilization rate for F2 for             section is applied to that gas which has              GHG emissions using fab-specific
                                                  process type or sub-type j (expressed as          been apportioned to each fab served by                emission factors developed from stack
                                                  a decimal fraction).                              that system using the apportioning                    testing. In this case, you must comply
                                            aF2,j = Within process sub-type or process              factors determined in accordance with                 with the stack test method specified in
                                                  type j, fraction of F2 used in process tools      § 98.94(c). If you elect to calculate                 paragraph (i)(3) of this section.
                                                  with HC fuel CECS that are not certified                                                                   (1)–(2) [Reserved]
                                                                                                    emissions using the stack test method in
                                                  not to form CF4, on a fab basis, where the
                                                  numerator is the number of tools that are         paragraph (i) of this section and to use                 (3) Stack system stack test method.
                                                  equipped with HC fuel CECS that are not           this paragraph (e) to calculate the                   For each stack system in the fab,
                                                  certified not to form CF4 that use F2 in          fraction each fluorinated input gas i                 measure the emissions of each
                                                  process type j and the denominator is the         exhausted from tools with abatement                   fluorinated GHG from the stack system
                                                  total number of tools in the fab that use         systems and the fraction of each by-                  by conducting an emission test. In
                                                  F2 in process type j (expressed as a              product gas k exhausted from tools with               addition, measure the fab-specific
                                                  decimal fraction).                                abatement systems, you may substitute
                                            UTF2,j = The average uptime factor of all HC                                                                  consumption of each fluorinated GHG
                                                                                                    ‘‘The set of tools with abatement                     by the tools that are vented to the stack
                                                  fuel CECS connected to process tools in
                                                  the fab using F2 in process sub-type or           systems’’ for ‘‘Process sub-type or                   systems tested. Measure emissions and
                                                  process type j (expressed as a decimal            process type’’ in the definition of ‘‘j’’ in          consumption of each fluorinated GHG
                                                  fraction).                                        equation I–13 to this section.                        as specified in § 98.94(j). Develop fab-
                                            ABCF4,F2 = Mass fraction of F2 in process               *      *    *     *     *                             specific emission factors and calculate
                                                  exhaust gas that is converted into CF4 by            (g) * * *                                          fab-level fluorinated GHG emissions
                                                  direct reaction with hydrocarbon fuel in                                                                using the procedures specified in
                                                  a HC fuel CECS. The default value of              UTij = The average uptime factor of all
                                                  ABCF4,F2 = 0.116.                                      abatement systems connected to process           paragraphs (i)(3)(i) through (viii) of this
                                            CNF3,RPC = Amount of NF3 consumed in                         tools in the fab using input gas i in            section. All emissions test data and
                                                  remote plasma cleaning processes, as                   process sub-type or process type j               procedures used in developing emission
                                                  calculated in equation I–13 to this                    (expressed as a decimal fraction). The           factors must be documented and
                                                                                                         average uptime factor may be set to one
                                                  section, on a fab basis (kg).
                                                                                                         (1) if all the abatement systems for the
                                                                                                                                                          recorded according to § 98.97.
                                            BF2,NF3 = By-product formation rate of F2
                                                                                                         relevant input gas i and process sub-type           (i) You must measure the fab-specific
                                                  created as a by-product per amount of
                                                  NF3 (kg) consumed in remote plasma
                                                                                                         or type j are interlocked with all the tools     fluorinated GHG consumption of the
                                                                                                         using input gas i in process sub-type or         tools that are vented to the stack
                                                  cleaning processes (kg).
                                                                                                         type j and feeding the abatement systems         systems during the emission test as
                                            aNF3,RPC = Within remote plasma cleaning
                                                                                                         such that no gas can flow to the tools if
                                                  processes, fraction of NF3 used in                                                                      specified in § 98.94(j)(3). Calculate the
                                                                                                         the abatement systems are not in
                                                  process tools with HC fuel CECS that are                                                                consumption for each fluorinated GHG
                                                                                                         operational mode.
                                                  not certified not to form CF4, where the                                                                for the test period.
                                                                                                    Tdijp = The total time, in minutes, that
                                                  numerator is the number of tools running
                                                                                                         abatement system p, connected to                    (ii) You must calculate the emissions
                                                  remote plasma cleaning processes that
                                                                                                         process tool(s) in the fab using input gas       of each fluorinated GHG consumed as
                                                  are equipped with HC fuel CECS that are
                                                                                                         i in process sub-type or process type j,         an input gas using equation I–17 to this
                                                  not certified not to form CF4 that use NF3
                                                                                                         is not in operational mode, as defined in
                                                  and the denominator is the total number
                                                                                                         § 98.98, when at least one of the tools
                                                                                                                                                          section and each fluorinated GHG
                                                  of tools that run remote plasma clean                  connected to abatement system p is in            formed as a by-product gas using
                                                  processes in the fab that use NF3                      operation. If your fab uses redundant            equation I–18 to this section and the
                                                  (expressed as decimal fraction).                       abatement systems, you may account for           procedures specified in paragraphs
                                            UTNF3,RPC,F2 = The average uptime factor of                  Tdijp as specified in § 98.94(f)(4)(vi).         (i)(3)(ii)(A) through (E) of this section. If
                                                  all HC fuel CECS connected to process
                                                  tools in the fab emitting by-product gas          *     *     *     *     *                             a stack system is comprised of multiple
                                                  F2, formed from input gas NF3 in remote             (h) * * *                                           stacks, you must sum the emissions
                                                  plasma cleaning processes, on a fab basis           (1) If you use a fluorinated chemical               from each stack in the stack system
                                                  (expressed as a decimal fraction). For            both as a fluorinated heat transfer fluid             when using equation I–17 or equation I–
                                                  this equation, UTNF3,RPC,F2 is assumed to         and in other applications, you may                    18 to this section.
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                                                                                          ER25AP24.021</GPH>




                                                                     El·s --      MlAT
                                                                                    vv,1·   * Qs * -sv
                                                                                                     1
                                                                                                       * -101 3 * L....m-1--
                                                                                                                  "°N
                                                                                                                      -
                                                                                                                        Xism
                                                                                                                        10 9
                                                                                                                             * utm
                                                                                                                               A
                                                                                                                                                                     (Eq. I-17)
                                                                                                                                                                                                          ER25AP24.020</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00109   Fmt 4701   Sfmt 4725   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 115 of 164
                                            31910              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Where:                                                  Qs = Flow rate of the stack system s, during               period would consist of at least 8 time
                                            Eis = Total fluorinated GHG input gas i,                    the sampling period (m3/min).                          intervals).
                                                 emitted from stack system s, during the            SV = Standard molar volume of gas (0.0240             1/103 = Conversion factor (1 kilogram/1,000
                                                 sampling period (kg).                                  m3/g-mole at 68 °F and 1 atm).                         grams).
                                            Xism = Average concentration of fluorinated             Dtm = Length of time interval m (minutes).            i = Fluorinated GHG input gas.
                                                 GHG input gas i in stack system s, during              Each time interval in the FTIR sampling           s = Stack system.
                                                 the time interval m (ppbv).                            period must be less than or equal to 60           N = Total number of time intervals m in
                                            MWi = Molecular weight of fluorinated GHG                                                                          sampling period.
                                                                                                        minutes (for example an 8 hour sampling
                                                 input gas i (g/g-mole).                                                                                  m = Time interval.


                                                                     Eks --       MHT
                                                                                    vv 1k *
                                                                                               Qs * -1 * - 1 * L..m-1--
                                                                                                               "1N Xksm
                                                                                                                        * L.ltm
                                                                                                                          A
                                                                                                                                                                      (Eq. I-18)
                                                                                                     sv      10 3          -     10 9


                                            Where:                                                  available and use one-half of the field               GHG input gas consumed (in kg of
                                            Eks = Total fluorinated GHG by-product gas              detection limit you determined for that               fluorinated GHG emitted per kg of input
                                                 k, emitted from stack system s, during             fluorinated GHG according to                          gas i consumed) in the tools that vent to
                                                 the sampling period (kg).                          § 98.94(j)(2) for the value of ‘‘Xism’’ when          stack systems, as applicable, using
                                            Xks = Average concentration of fluorinated              the fluorinated GHG is not detected.
                                                 GHG by-product gas k in stack system s,                                                                  equations I–19A and I–19B to this
                                                                                                       (C) If an expected or possible by-                 section or equations I–19A and I–19C to
                                                 during the time interval m (ppbv).
                                            MWk = Molecular weight of the fluorinated               product, as listed in table I–17 to this              this section. Use equation I–19A to this
                                                 GHG by-product gas k (g/g-mole).                   subpart, is detected intermittently                   section to calculate the controlled
                                            Qs = Flow rate of the stack system s, during            during the sampling period, use the
                                                                                                                                                          emissions for each carbon-containing
                                                 the sampling period (m3/min).                      measured concentration for ‘‘Xksm’’ in
                                                                                                                                                          fluorinated GHG that would result
                                            SV = Standard molar volume of gas (0.0240               equation I–18 to this section when
                                                 m3/g-mole at 68 °F and 1 atm).                     available and use one-half of the field               during the sampling period if the
                                            Dtm = Length of time interval m (minutes).              detection limit you determined for that               utilization rate for the input gas were
                                                 Each time interval in the FTIR sampling            fluorinated GHG according to                          equal to 0.2 (Eimax,f). If SsEi,s (the total
                                                 period must be less than or equal to 60                                                                  measured emissions of the fluorinated
                                                 minutes (for example an 8 hour sampling            § 98.94(j)(2) for the value of ‘‘Xksm’’
                                                                                                    when the fluorinated GHG is not                       GHG across all stack systems, calculated
                                                 period would consist of at least 8 time
                                                 intervals).                                        detected.                                             based on the results of equation I–17 to
                                            1/103 = Conversion factor (1 kilogram/1,000                (D) If a fluorinated GHG is not                    this section) is less than or equal to
                                                 grams).                                            consumed during the sampling period                   Eimax,f calculated in equation I–19A to
                                            k = Fluorinated GHG by-product gas.                     and is an expected by-product gas as                  this section, use equation I–19B to this
                                            s = Stack system.                                       listed in table I–17 to this subpart and              section to calculate the emission factor
                                            N = Total number of time intervals m in                 is not detected during the sampling
                                                 sampling period.
                                                                                                                                                          for that fluorinated GHG. If SsEi,s is
                                                                                                    period, use one-half of the field                     larger than the Eimax,f calculated in
                                            m = Time interval.
                                                                                                    detection limit you determined for that               equation I–19A to this section, use
                                               (A) If a fluorinated GHG is consumed                 fluorinated GHG according to                          equation I–19C to this section to
                                            during the sampling period, but                         § 98.94(j)(2) for the value of ‘‘Xksm’’ in            calculate the emission factor and treat
                                            emissions are not detected, use one-half                equation I–18 to this section.
                                            of the field detection limit you                                                                              the difference between the total
                                                                                                       (E) If a fluorinated GHG is not
                                            determined for that fluorinated GHG                                                                           measured emissions SsEi,s and the
                                                                                                    consumed during the sampling period
                                            according to § 98.94(j)(2) for the value of             and is a possible by-product gas as                   maximum expected controlled
                                            ‘‘Xism’’ in equation I–17 to this section.              listed in table I–17 to this subpart, and             emissions Eimax,f as a by-product of the
                                               (B) If a fluorinated GHG is consumed                 is not detected during the sampling                   other input gases, using equation I–20 to
                                            during the sampling period and                          period, then assume zero emissions for                this section. For all fluorinated GHGs
                                            detected intermittently during the                      that fluorinated GHG for the tested stack             that do not contain carbon, use equation
                                            sampling period, use the detected                       system.                                               I–19B to this section to calculate the
                                            concentration for the value of ‘‘Xism’’ in                 (iii) You must calculate a fab-specific            emission factor for that fluorinated
                                            equation I–17 to this section when                      emission factor for each fluorinated                  GHG.

                                                                                                                                                                   (Eq. I-19A)

                                            Where:                                                  UTf = The total uptime of all abatement                    calculated in equation I–24C to this
                                            Eimax,f = Maximum expected controlled                         systems for fab f, during the sampling               section.
                                                 emissions of gas i from its use an input                 period, as calculated in equation I–23 to       dif = Fraction of fluorinated GHG input gas
                                                 gas during the stack testing period, from                this section (expressed as decimal                   i destroyed or removed when fed into
                                                 fab f (max kg emitted).                                  fraction). If the stack system does not              abatement systems by process tools in
                                            Activityif = Consumption of fluorinated GHG                   have abatement systems on the tools                  fab f, as calculated in equation I–24A to
                                                 input gas i, for fab f, in the tools vented              vented to the stack system, the value of
                                                                                                                                                               this section (expressed as decimal
                                                 to the stack systems being tested, during                this parameter is zero.
                                                                                                                                                               fraction).
lotter on DSK11XQN23PROD with RULES2




                                                 the sampling period, as determined                 aif = Fraction of input gas i emitted from tools
                                                                                                                                                                                                           ER25AP24.023</GPH>




                                                 following the procedures specified in                    with abatement systems in fab f                 f = Fab.
                                                 § 98.94(j)(3) (kg consumed).                             (expressed as a decimal fraction), as           i = Fluorinated GHG input gas.
                                                                                                                                                                                                           ER25AP24.022</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00110   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                                       Filed: 06/24/2024              Page 116 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                        31911

                                                                                                                                                                      (Eq. I-19B)


                                            Where:                                                   UTf = The total uptime of all abatement                        dif = Fraction of fluorinated GHG input gas i
                                            EFif = Emission factor for fluorinated GHG                     systems for fab f, during the sampling                         destroyed or removed when fed into
                                                 input gas i, from fab f, representing 100                 period, as calculated in equation I–23 to                      abatement systems by process tools in
                                                 percent abatement system uptime (kg                       this section (expressed as decimal                             fab f, as calculated in equation I–24A to
                                                 emitted/kg input gas consumed).                           fraction). If the stack system does not                        this section (expressed as decimal
                                            Eis = Mass emission of fluorinated GHG input                   have abatement systems on the tools                            fraction). If the stack system does not
                                                 gas i from stack system s during the                      vented to the stack system, the value of
                                                                                                                                                                          have abatement systems on the tools
                                                 sampling period (kg emitted).                             this parameter is zero.
                                                                                                     aif = Fraction of fluorinated GHG input gas i                        vented to the stack system, the value of
                                            Activityif = Consumption of fluorinated GHG
                                                 input gas i, for fab f during the sampling                exhausted from tools with abatement                            this parameter is zero.
                                                 period, as determined following the                       systems in fab f (expressed as a decimal                 f = Fab.
                                                 procedures specified in § 98.94(j)(3) (kg                 fraction), as calculated in equation I–24C               i = Fluorinated GHG input gas.
                                                 consumed).                                                to this section.                                         s = Stack system.


                                                                                                                                                                      (Eq. I-19C)

                                            EFif = Emission factor for input gas i, from             dif = Fraction of fluorinated GHG input gas                    GHG formed as a by-product (in kg of
                                                  fab f, representing a 20-percent                        i destroyed or removed when fed into                      fluorinated GHG per kg of total
                                                  utilization rate and a 100-percent                      abatement systems by process tools in                     fluorinated GHG consumed) in the tools
                                                  abatement system uptime (kg emitted/kg                  fab f, as calculated in equation I–24A to                 vented to stack systems, as applicable,
                                                  input gas consumed).                                    this section (expressed as decimal
                                                                                                                                                                    using equation I–20 to this section.
                                            aif = Fraction of input gas i emitted from tools              fraction).
                                                                                                     f = Fab.                                                       When calculating the by-product
                                                  with abatement systems in fab f                                                                                   emission factor for an input gas for
                                                                                                     i = Fluorinated GHG input gas.
                                                  (expressed as a decimal fraction), as                                                                             which SsEi,s equals or exceeds Eimax,f,
                                                  calculated in equation I–24C to this                 (iv) You must calculate a fab-specific                       exclude the consumption of that input
                                                  section.                                           emission factor for each fluorinated                           gas from the term ‘‘S(Activityif).’’


                                                                         EF       _                       Ls(Eks)
                                                                                                                                                                             (Eq. I-20)
                                                                              kf -             . .     (                   1-UTf               )
                                                                                      LiAct1v1tyif* UTf+(              (       ct         ))
                                                                                                                 l - akif*          kif


                                            Where:                                                         period as determined following the                            destroyed or removed when fed into
                                            EFkf = Emission factor for fluorinated GHG                     procedures specified in § 98.94(j)(3) (kg                     abatement systems by process tools in
                                                 by-product gas k, from fab f, representing                consumed).                                                    fab f, as calculated in equation I–24B to
                                                 100 percent abatement system uptime                 UTf = The total uptime of all abatement                             this section (expressed as decimal
                                                                                                           systems for fab f, during the sampling                        fraction).
                                                 (kg emitted/kg of all input gases
                                                                                                           period, as calculated in equation I–23 to                f = Fab.
                                                 consumed in tools vented to stack                         this section (expressed as decimal
                                                 systems).                                                                                                          i = Fluorinated GHG input gas.
                                                                                                           fraction).
                                            Eks = Mass emission of fluorinated GHG by-               akif = Fraction of by-product k emitted from                   k = Fluorinated GHG by-product gas.
                                                 product gas k, emitted from stack system                  tools using input gas i with abatement                   s = Stack system.
                                                 s, during the sampling period (kg                         systems in fab f (expressed as a decimal
                                                 emitted).                                                 fraction), as calculated using equation I–                 (v) You must calculate annual fab-
                                            Activityif = Consumption of fluorinated GHG                    24D to this section.                                     level emissions of each fluorinated GHG
                                                 input gas i for fab f in tools vented to            dkif = Fraction of fluorinated GHG by-product                  consumed using equation I–21 to this
                                                 stack systems during the sampling                         gas k generated from input gas i                         section.

                                                                                                                                                                                                                        ER25AP24.027</GPH>

                                                                                                                                                                                 (Eq. I-21)

                                            Where:                                                         year, as calculated using equation I–13 to               dif = Fraction of fluorinated GHG input gas
                                                                                                                                                                                                                        ER25AP24.026</GPH>




                                            Eif = Annual emissions of fluorinated GHG                      this section (kg/year).                                       i destroyed or removed when fed into
                                                 input gas i (kg/year) from the stack                UTf = The total uptime of all abatement                             abatement systems by process tools in
                                                 systems for fab f.                                        systems for fab f, during the reporting                       fab f that are included in the stack testing
                                            EFif = Emission factor for fluorinated GHG                     year, as calculated using equation I–23 to                    option, as calculated in equation I–24A
lotter on DSK11XQN23PROD with RULES2




                                                 input gas i emitted from fab f, as                        this section (expressed as a decimal                          to this section (expressed as decimal
                                                                                                                                                                                                                        ER25AP24.025</GPH>




                                                 calculated in equation I–19 to this                       fraction).                                                    fraction).
                                                 section (kg emitted/kg input gas                    aif = Fraction of fluorinated GHG input gas                    f = Fab.
                                                 consumed).                                                i emitted from tools with abatement                      i = Fluorinated GHG input gas.
                                            Cif = Total consumption of fluorinated GHG                     systems in fab f (expressed as a decimal
                                                 input gas i in tools that are vented to                   fraction), as calculated using equation I–                 (vi) You must calculate annual fab-
                                                                                                                                                                                                                        ER25AP24.024</GPH>




                                                 stack systems, for fab f, for the reporting               24C or I–24D to this section.                            level emissions of each fluorinated GHG


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00111       Fmt 4701        Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                               Filed: 06/24/2024              Page 117 of 164
                                            31912              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            by-product formed using equation I–22
                                            to this section.


                                                                                                                                                                       (Eq. I-22)

                                            Where:                                                        year as calculated using equation I–23 to         f = Fab.
                                            Ekf = Annual emissions of fluorinated GHG                     this section (expressed as a decimal              i = Fluorinated GHG input gas.
                                                 by-product gas k (kg/year) from the stack                fraction).                                        k = Fluorinated GHG by-product.
                                                 for fab f.                                         akif = Estimate of fraction of fluorinated GHG
                                            EFkf = Emission factor for fluorinated GHG                    by-product gas k emitted in fab f from              (vii) When using the stack testing
                                                 by-product gas k, emitted from fab f, as                 tools using input gas i with abatement            method described in this paragraph (i),
                                                 calculated in equation I–20 to this                      systems (expressed as a decimal
                                                                                                                                                            you must calculate abatement system
                                                 section (kg emitted/kg of all fluorinated                fraction), as calculated using equation I–
                                                 input gases consumed).                                   24D to this section.                              uptime on a fab basis using equation I–
                                            Cif = Total consumption of fluorinated GHG              dkif = Fraction of fluorinated GHG by-product           23 to this section. When calculating
                                                 input gas i in tools that are vented to                  k generated from input gas i destroyed or         abatement system uptime for use in
                                                 stack systems, for fab f, for the reporting              removed when fed into abatement                   equation I–19 and I–20 to this section,
                                                 year, as calculated using equation I–13 to               systems by process tools in fab f that are        you must evaluate the variables ‘‘Tdpf’’
                                                 this section.                                            included in the stack testing option, as
                                                                                                                                                            and ‘‘UTpf’’ for the sampling period
                                            UTf = The total uptime of all abatement                       calculated in equation I–24B to this
                                                 systems for fab f, during the reporting                  section (expressed as decimal fraction).          instead of the reporting year.


                                                                                                   LpTdpf
                                                                                  UTf = 1-                                                                   (Eq. I-23)
                                                                                                   Lp UT pf


                                            Where:                                                       determining the amount of tool operating           p = Abatement system.
                                            UTf = The average uptime factor for all                      time, you may assume that tools that
                                                abatement systems in fab f (expressed as                 were installed for the whole of the year              (viii) When using the stack testing
                                                a decimal fraction). The average uptime                  were operated for 525,600 minutes per              option described in this paragraph (i)
                                                factor may be set to one (1) if all the                  year. For tools that were installed or             and when using more than one DRE for
                                                abatement systems in fab f are                           uninstalled during the year, you must              the same input gas i or by-product gas
                                                interlocked with all the tools feeding the               prorate the operating time to account for
                                                                                                                                                            k, you must calculate the weighted-
                                                abatement systems such that no gas can                   the days in which the tool was not
                                                                                                         installed; treat any partial day that a tool       average fraction of each fluorinated
                                                flow to the tools if the abatement systems
                                                are not in operational mode.                             was installed as a full day (1,440                 input gas i and each fluorinated by-
                                            Tdpf = The total time, in minutes, that                      minutes) of tool operation. For an                 product gas k that has more than one
                                                abatement system p, connected to                         abatement system that has more than one            DRE and that is destroyed or removed
                                                process tool(s) in fab f, is not in                      connected tool, the tool operating time is         in abatement systems for each fab f, as
                                                operational mode as defined in § 98.98.                  525,600 minutes per year if there was at           applicable, by using equation I–24A to
                                                If your fab uses redundant abatement                     least one tool installed at all times              this section (for input gases) and
                                                systems, you may account for Tdpf as                     throughout the year. If you have tools
                                                                                                         that are idle with no gas flow through the
                                                                                                                                                            equation I–24B to this section (for by-
                                                specified in § 98.94(f)(4)(vi).
                                            UTpf = Total time, in minutes per year, in                   tool, you may calculate total tool time            product gases) and table I–18 to this
                                                which the tool(s) connected at any point                 using the actual time that gas is flowing          subpart. If default values are not
                                                during the year to abatement system p,                   through the tool.                                  available in table I–18 for a particular
                                                in fab f could be in operation. For                 f = Fab.                                                input gas, you must use a value of 10.

                                                                       D _ Lp(Yi,p"LDREy ni,p,DREy·DREy)+ LDREz DREz-mi,q,DREz
                                                                         if -                        "' y·1,p •n·1,p,a + m·1,q,a
                                                                                                                                                                        (Eq. I-24A)
                                                                                                     L..p


                                                                  D       _ Lp(Yk,i,p"LDREy nk,i,p,DREy·DREy)+ LDREz DREz-mk,i,q,DREz
                                                                      kif -                        ._.. Yk,1,p
                                                                                                           . •nk,1,p,a
                                                                                                                 ·     + mk,1,q,a
                                                                                                                            ·
                                                                                                                                                                        (Eq. I-24B)
                                                                                                   L..p


                                            Where:                                                  ni,p,DREy = Number of tools that use gas i, that              and that are equipped with abatement
                                                                                                          run chamber cleaning process p, and that                systems for gas i.
                                                                                                                                                                                                             ER25AP24.030</GPH>




                                            dif = The average weighted fraction of
                                                 fluorinated GHG input gas i destroyed or                 are equipped with abatement systems for           mi,q,a = Total number of tools that use gas i,
                                                 removed when fed into abatement                          gas i that have the DRE DREy.                           run etch and/or wafer cleaning
                                                 systems by process tools in fab f                  mi,q,DREz = Number of tools that use gas i, that              processes, and that are equipped with
lotter on DSK11XQN23PROD with RULES2




                                                 (expressed as a decimal fraction).                       run etch and/or wafer cleaning                          abatement systems for gas i.
                                                                                                                                                                                                             ER25AP24.029</GPH>




                                            dkif = The average weighted fraction of                       processes, and that are equipped with             nk,i,p,DREy = Number of tools that use gas i,
                                                 fluorinated GHG by-product gas k                         abatement systems for gas i that have the               generate by-product k, that run chamber
                                                 generated from input gas i that is                       DRE DREz.                                               cleaning process p, and that are
                                                 destroyed or removed when fed into                 ni,p,a = Total number of tools that use gas i,                equipped with abatement systems for gas
                                                 abatement systems by process tools in                    run chamber cleaning process type p,                    i that have the DRE DREy.
                                                                                                                                                                                                             ER25AP24.028</GPH>




                                                 fab f (expressed as a decimal fraction).



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00112   Fmt 4701     Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                             Document #2061464                              Filed: 06/24/2024              Page 118 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                            31913

                                            mk,i,q,DREz = Number of tools that use gas i,              gk,i,p = Default factor reflecting the ratio of         (ix) When using the stack testing
                                                  generate by-product k, that run etch and/                   uncontrolled emissions per tool of input      method described in this paragraph (i),
                                                  or wafer cleaning processes, and that are                   gas i from tools running process sub-type     you must calculate the fraction each
                                                  equipped with abatement systems for gas                     p processes to uncontrolled emissions         fluorinated input gas i exhausted in fab
                                                  i that have the DRE DREz.                                   per tool of input gas i from process tools
                                            nk,i,p,a = Total number of tools that use gas i,
                                                                                                                                                            f from tools with abatement systems and
                                                                                                              running process type q processes.             the fraction of each by-product gas k
                                                  generate by-product k, run chamber                   DREy = Default or alternative certified DRE
                                                  cleaning process type p, and that are                                                                     exhausted from tools with abatement
                                                                                                              for gas i for abatement systems               systems, as applicable, by following
                                                  equipped with abatement systems for gas                     connected to CVD tool.
                                                  i.                                                                                                        either the procedure set forth in
                                                                                                       DREz = Default or alternative certified DRE
                                            mk,i,q,a = Total number of tools that use gas                                                                   paragraph (i)(3)(ix)(A) of this section or
                                                                                                              for gas i for abatement systems
                                                  i, generate by-product k, run etch and/or                                                                 the procedure set forth in paragraph
                                                                                                              connected to etching and/or wafer
                                                  wafer cleaning processes, and that are                                                                    (i)(3)(ix)(B) of this section.
                                                  equipped with abatement systems for gas                     cleaning tool.
                                                                                                       p = Chamber cleaning process sub-type.                  (A) Use equation I–24C to this section
                                                  i.                                                                                                        (for input gases) and equation I–24D to
                                            gi,p = Default factor reflecting the ratio of              q = Reference process type. There is one
                                                  uncontrolled emissions per tool of input                    process type q that consists of the           this section (for by-product gases) and
                                                  gas i from tools running process sub-type                   combination of etching and/or wafer           table I–18 to this subpart. If default
                                                  p processes to uncontrolled emissions                       cleaning processes.                           values are not available in table I–18 for
                                                  per tool of input gas i from process tools           f = Fab.                                             a particular input gas, you must use a
                                                  running process type q processes.                    i = Fluorinated GHG input gas.                       value of 10.


                                                                                  A·      = LpYi,p"Ili,p,a+ mi,q,a                                           (Eq. I-24C)
                                                                                   1,f        ._.. y·!,p •n·p+miq
                                                                                              L..p         I,   ,



                                            Where:                                                           processes, and that are equipped with              processes to uncontrolled emissions per
                                            aif = Fraction of fluorinated input gas i                        abatement systems for gas i.                       tool of input gas i from process tools
                                                  exhausted from tools with abatement                  ni,p = Total number of tools using gas i and             running process type q processes.
                                                  systems in fab f (expressed as a decimal                   running chamber cleaning process sub-          p = Chamber cleaning process sub-type.
                                                  fraction).                                                 type p.                                        q = Reference process type. There is one
                                            ni,p,a = Number of tools that use gas i, that run          mi,q = Total number of tools using gas i and             process type q that consists of the
                                                  chamber cleaning process sub-type p,                       running etch and/or wafer cleaning
                                                                                                                                                                combination of etching and/or wafer
                                                  and that are equipped with abatement                       processes.
                                                  systems for gas i.                                   gi,p = Default factor reflecting the ratio of            cleaning processes.
                                            mi,q,a = Number of tools that use gas i, that                    uncontrolled emissions per tool of input
                                                  run etch and/or wafer cleaning                             gas i from tools running process type p


                                                                             A .          = Lp Yk,i,p"Ilk,i,p,a + mk,i,q,a                                      Eq. I-24D
                                                                                  k,1,f       ._..
                                                                                              L..p Yk,l,p
                                                                                                      . ·nk,I,. p + mk,i,q


                                            Where:                                                     q = Reference process type. There is one             applicable, and by using equations I–
                                            ak,i,f = Fraction of by-product gas k exhausted                process type q that consists of the              8A, I–8B, I–9, and I–13 to this section.
                                                   from tools using input gas i with                       combination of etching and/or wafer              If a fluorinated GHG was not being used
                                                   abatement systems in fab f (expressed as                cleaning processes.                              during the stack testing and does not
                                                   a decimal fraction).                                                                                     meet the definition of intermittent low-
                                                                                                          (B) Use paragraph (e) of this section
                                            nk,i,p,a = Number of tools that exhaust by-                                                                     use fluorinated GHG in § 98.98, then
                                                   product gas k from input gas i, that run
                                                                                                       to apportion consumption of gas i either
                                                                                                       to tools with abatement systems and                  you must test the stack systems
                                                   chamber cleaning process p, and that are
                                                   equipped with abatement systems for gas             tools without abatement systems or to                associated with the use of that
                                                   k.                                                  each process type or sub-type, as                    fluorinated GHG at a time when that gas
                                            mk,i,q,a = Number of tools that exhaust by-                applicable. If you apportion                         is in use at a magnitude that would
                                                   product gas k from input gas i, that run            consumption of gas i to each process                 allow you to determine an emission
                                                   etch and/or wafer cleaning processes,               type or sub-type, calculate the fractions            factor for that gas according to the
                                                   and that are equipped with abatement                of input gas i and by-product gas k                  procedures specified in paragraph (i)(3)
                                                   systems for gas k.                                  formed from gas i that are exhausted                 of this section.
                                            nk,i,p = Total number of tools emitting by-                                                                        (5) [Reserved]
                                                   product k from input gas i and running
                                                                                                       from tools with abatement systems
                                                   chamber cleaning process p.                         based on the numbers of tools with and               ■ 24. Amend § 98.94 by:
                                            mk,i,q = Total number of tools emitting by-                without abatement systems within each                ■ a. Revising paragraph (c) introductory
                                                   product k from input gas i and running              process type or sub-type.                            text;
                                                   etch and/or wafer cleaning processes.                  (4) Method to calculate emissions                 ■ b. Adding paragraph (e);
                                            gk,i,p = Default factor reflecting the ratio of            from fluorinated GHGs that are not                   ■ c. Revising paragraphs (f)(3), (f)(4)
                                                   uncontrolled emissions per tool of by-              tested. Calculate emissions from                     introductory text, (f)(4)(iii), (j)(1)
lotter on DSK11XQN23PROD with RULES2




                                                   product gas k from input gas i from tools           consumption of each intermittent low-                introductory text, (j)(1)(i), (j)(3)
                                                                                                                                                                                                          ER25AP24.032</GPH>




                                                   running chamber cleaning process p to
                                                   uncontrolled emissions per tool of by-
                                                                                                       use fluorinated GHG as defined in                    introductory text, and (j)(5); and
                                                   product gas k from input gas i from                 § 98.98 of this subpart using the default            ■ d. Removing and reserving paragraphs
                                                   process tools running etch and/or wafer             utilization and by-product formation                 (j)(6) and (j)(8)(v).
                                                   cleaning processes.                                 rates provided in table I–11, I–12, I–13,               The revisions and addition read as
                                                                                                                                                                                                          ER25AP24.031</GPH>




                                            p = Chamber cleaning process sub-type.                     I–14, or I–15 to this subpart, as                    follows:


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024    Jkt 262001    PO 00000   Frm 00113   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 119 of 164
                                            31914              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            § 98.94 Monitoring and QA/QC                            destruction or removal efficiency values                 (ii) Worst-case flow conditions are
                                            requirements.                                           are specifically designed for fluorinated             defined as the highest total fluorinated
                                            *      *     *     *    *                               GHG or N2O abatement, as applicable,                  GHG or N2O flows through each model
                                               (c) You must develop apportioning                    and provide the abatement system                      of emissions control systems (gas by gas
                                            factors for fluorinated GHG and N2O                     manufacturer-verified DRE value that                  and process type by process type across
                                            consumption (including the fraction of                  meets (or exceeds) the default                        the facility) and the highest total flow
                                            gas consumed by process tools                           destruction or removal efficiency in                  scenarios (with N2 dilution accounted
                                            connected to abatement systems as in                    table I–16 to this subpart for the                    for) across the facility during which the
                                            equations I–8A, I–8B, I–9, and I–10 to                  fluorinated GHG or N2O. For abatement                 abatement system is claimed to be in
                                            § 98.93), to use in the equations of this               systems purchased and installed on or                 operational mode.
                                            subpart for each input gas i, process                   after January 1, 2025, you must also                     (4) If you calculate and report
                                            sub-type, process type, stack system,                   certify and document that the abatement               controlled emissions using neither the
                                            and fab as appropriate, using a fab-                    system has been tested by the abatement               default destruction or removal
                                            specific engineering model that is                      system manufacturer based on the                      efficiency values in table I–16 to this
                                            documented in your site GHG                             methods specified in paragraph (f)(3)(i)              subpart nor an abatement system
                                            Monitoring Plan as required under                       of this section and verified to meet (or              manufacturer-verified lower destruction
                                            § 98.3(g)(5). This model must be based                  exceed) the default destruction or                    or removal efficiency value per
                                            on a quantifiable metric, such as wafer                 removal efficiency in table I–16 for the              paragraph (f)(3) of this section, you must
                                            passes or wafer starts, or direct                       fluorinated GHG or N2O under worst-                   use an average of properly measured
                                            measurement of input gas consumption                    case flow conditions as defined in                    destruction or removal efficiencies for
                                            as specified in paragraph (c)(3) of this                paragraph (f)(3)(ii) of this section. If you          each gas and process sub-type or
                                            section. To verify your model, you must                 use a verified destruction and removal                process type combination, as applicable,
                                            demonstrate its precision and accuracy                  efficiency value that is lower than the               determined in accordance with
                                            by adhering to the requirements in                      default in table I–16 to this subpart in              procedures in paragraphs (f)(4)(i)
                                            paragraphs (c)(1) and (2) of this section.              your emissions calculations under                     through (vi) of this section. This
                                            *      *     *     *    *                               § 98.93(a), (b), and/or (i), you must                 includes situations in which your fab
                                               (e) If you use HC fuel CECS purchased                certify and document that the abatement               employs abatement systems not
                                            and installed on or after January 1, 2025               systems at your facility for which you                specifically designed for fluorinated
                                            to control emissions from tools that use                use the verified destruction or removal               GHG or N2O abatement or for which
                                            either NF3 as an input gas in remote                    efficiency values are specifically                    your fab operates abatement systems
                                            plasma cleaning processes or F2 as an                   designed for fluorinated GHG or N2O                   outside the range of parameters
                                            input gas in any process, and if you use                abatement, as applicable, and provide                 specified in the documentation
                                            a value less than 1 for either aF2,j or                 the abatement system manufacturer-                    supporting the certified DRE and you
                                            aNF3,RPC in equation I–9 to § 98.93, you                verified DRE value that is lower than the             elect to reflect emission reductions due
                                            must certify and document that the                      default destruction or removal                        to these systems. You must not use a
                                            model for each of the systems for which                 efficiency in table I–16 for the                      default value from table I–16 to this
                                            you are claiming that it does not form                  fluorinated GHG or N2O. For abatement                 subpart for any abatement system not
                                            CF4 from F2 has been tested and verified                systems purchased and installed on or                 specifically designed for fluorinated
                                            to produce less than 0.1% CF4 from F2                   after January 1, 2025, you must also                  GHG and N2O abatement, for any
                                            and that each of the systems is installed,              certify and document that the abatement               abatement system not certified to meet
                                            operated, and maintained in accordance                  system has been tested by the abatement               the default value from table I–16, or for
                                            with the directions of the HC fuel CECS                 system manufacturer based on the                      any gas and process type combination
                                            manufacturer. Hydrocarbon-fuel-based                    methods specified in paragraph (f)(3)(i)              for which you have measured the
                                            combustion emissions control systems                    of this section and verified to meet or               destruction or removal efficiency
                                            include but are not limited to abatement                exceed the destruction or removal                     according to the requirements of
                                            systems as defined in § 98.98 that are                  efficiency value used for that                        paragraphs (f)(4)(i) through (vi) of this
                                            hydrocarbon-fuel-based. The rate of                     fluorinated GHG or N2O under worst-                   section.
                                            conversion from F2 to CF4 must be                       case flow conditions as defined in                    *       *     *     *      *
                                            measured using a scientifically sound,                  paragraph (f)(3)(ii) of this section. If you             (iii) If you elect to take credit for
                                            industry-accepted method that accounts                  elect to calculate fluorinated GHG                    abatement system destruction or
                                            for dilution through the abatement                      emissions using the stack test method                 removal efficiency before completing
                                            device, such as EPA 430–R–10–003                        under § 98.93(i), you must also certify               testing on 20 percent of the abatement
                                            (incorporated by reference, see § 98.7),                that you have included and accounted                  systems for that gas and process sub-
                                            adjusted to calculate the rate of                       for all abatement systems designed for                type or process type combination, as
                                            conversion from F2 to CF4 rather than                   fluorinated GHG abatement and any                     applicable, you must use default
                                            the DRE. Either the HC fuel CECS                        respective downtime in your emissions                 destruction or removal efficiencies or a
                                            manufacturer or the electronics                         calculations under § 98.93(i)(3).                     verified destruction or removal
                                            manufacturer may perform the                               (i) For purposes of paragraph (f)(3) of            efficiency, if verified at a lower value,
                                            measurement. The flow rate of F2 into                   this section, destruction and removal                 for a gas and process type combination.
                                            the tested HC fuel CECS may be metered                  efficiencies for abatement systems                    You must not use a default value from
                                            using a calibrated mass flow controller.                purchased and installed on or after                   table I–16 to this subpart for any
                                               (f) * * *                                            January 1, 2025, must be measured                     abatement system not specifically
lotter on DSK11XQN23PROD with RULES2




                                               (3) If you use default destruction and               using a scientifically sound, industry-               designed for fluorinated GHG and N2O
                                            removal efficiency values in your                       accepted measurement methodology                      abatement, and must not take credit for
                                            emissions calculations under § 98.93(a),                that accounts for dilution through the                abatement system destruction or
                                            (b), and/or (i), you must certify and                   abatement system, such as EPA 430–R–                  removal efficiency before completing
                                            document that the abatement systems at                  10–003 (incorporated by reference, see                testing on 20 percent of the abatement
                                            your facility for which you use default                 § 98.7).                                              systems for that gas and process sub-


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00114   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 120 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31915

                                            type or process type combination, as                    the procedures in paragraphs (j)(3)(i)                total CO2e fluorinated GHG use of the
                                            applicable. Following testing on 20                     and (ii) of this section.                             fab) is less than or equal to 15 percent.
                                            percent of abatement systems for that                   *       *      *    *      *                             (B) The relative standard deviation for
                                            gas and process sub-type or process type                   (5) Emissions testing frequency. You               all single fluorinated GHGs that
                                            combination, you must calculate the                     must conduct emissions testing to                     individually accounted for 5 percent or
                                            average destruction or removal                          develop fab-specific emission factors on              more of CO2e emissions were less than
                                            efficiency as the arithmetic mean of all                a frequency according to the procedures               20 percent.
                                            test results for that gas and process sub-              in paragraph (j)(5)(i) or (ii) of this                *      *     *      *     *
                                            type or process type combination, until                 section.                                              ■ 25. Amend § 98.96 by:
                                            you have tested at least 30 percent of all                 (i) Annual testing. You must conduct               ■ a. Revising paragraphs (c)(1) and (2);
                                            abatement systems for each gas and                      an annual emissions test for each stack               ■ b. Adding paragraph (o); and
                                            process sub-type or process type                        system unless you meet the criteria in                ■ c. Revising paragraphs (p)(2), (q)(2)
                                            combination. After testing at least 30                  paragraph (j)(5)(ii) of this section to skip          and (3), (r)(2), (w)(2), (y) introductory
                                            percent of all systems for a gas and                    annual testing. Each set of emissions                 text, (y)(1), (y)(2)(i) and (iv), and (y)(4).
                                            process sub-type or process type                        testing for a stack system must be                       The revisions and addition read as
                                            combination, you must use the                           separated by a period of at least 2                   follows:
                                            arithmetic mean of the most recent 30                   months.
                                            percent of systems tested as the average                   (ii) Criteria to test less frequently.             § 98.96    Data reporting requirements.
                                            destruction or removal efficiency. You                  After the first 3 years of annual testing,            *      *     *    *     *
                                            may include results of testing conducted                you may calculate the relative standard                  (c) * * *
                                            on or after January 1, 2011 for use in                  deviation of the emission factors for                    (1) When you use the procedures
                                            determining the site-specific destruction               each fluorinated GHG included in the                  specified in § 98.93(a), each fluorinated
                                            or removal efficiency for a given gas and               test and use that analysis to determine               GHG emitted from each process type for
                                            process sub-type or process type                        the frequency of any future testing. As               which your fab is required to calculate
                                            combination if the testing was                          an alternative, you may conduct all                   emissions as calculated in equations I–
                                            conducted in accordance with the                        three tests in less than 3 calendar years             6, I–7, and I–9 to § 98.93.
                                            requirements of paragraph (f)(4)(i) of                  for purposes of this paragraph (j)(5)(ii),               (2) When you use the procedures
                                            this section.                                           but this does not relieve you of the                  specified in § 98.93(a), each fluorinated
                                            *       *    *     *     *                              obligation to conduct subsequent annual               GHG emitted from each process type or
                                               (j) * * *                                            testing if you do not meet the criteria to            process sub-type as calculated in
                                                                                                    test less frequently. If the criteria                 equations I–8A and I–8B to § 98.93, as
                                               (1) Stack system testing. Conduct an                                                                       applicable.
                                            emissions test for each stack system                    specified in paragraphs (j)(5)(ii)(A) and
                                            according to the procedures in                          (B) of this section are met, you may use              *      *     *    *     *
                                            paragraphs (j)(1)(i) through (iv) of this               the arithmetic average of the three                      (o) For all HC fuel CECS that were
                                            section.                                                emission factors for each fluorinated                 purchased and installed on or after
                                                                                                    GHG and fluorinated GHG byproduct for                 January 1, 2025, that are used to control
                                               (i) You must conduct an emission test                the current year and the next 4 years                 emissions from tools that use either NF3
                                            during which the fab is operating at a                  with no further testing unless your fab               as an input gas in remote plasma clean
                                            representative operating level, as                      operations are changed in a way that                  processes or F2 as an input gas in any
                                            defined in § 98.98, and with the                        triggers the re-test criteria in paragraph            process type or sub-type and for which
                                            abatement systems connected to the                      (j)(8) of this section. In the fifth year             you are not calculating emissions under
                                            stack system being tested operating with                following the last stack test included in             equation I–9 to § 98.93, certification that
                                            at least 90-percent uptime, averaged                    the previous average, you must test each              the rate of conversion from F2 to CF4 is
                                            over all abatement systems, during the                  of the stack systems and repeat the                   <0.1% and that the systems are
                                            8-hour (or longer) period for each stack                relative standard deviation analysis                  installed, operated, and maintained in
                                            system, or at no less than 90 percent of                using the results of the most recent three            accordance with the directions of the
                                            the abatement system uptime rate                        tests (i.e. , the new test and the two                HC fuel CECS manufacturer.
                                            measured over the previous reporting                    previous tests conducted prior to the 4-              Hydrocarbon-fuel-based combustion
                                            year, averaged over all abatement                       year period). If the criteria specified in            emissions control systems include but
                                            systems. Hydrocarbon-fuel-based                         paragraphs (j)(5)(ii)(A) and (B) of this              are not limited to abatement systems as
                                            combustion emissions control systems                    section are not met, you must use the                 defined in § 98.98 that are hydrocarbon-
                                            that were purchased and installed on or                 emission factors developed from the                   fuel-based. If you make the certification
                                            after January 1, 2025, that are used to                 most recent testing and continue annual               based on your own testing, you must
                                            control emissions from tools that use                   testing. You may conduct more than one                certify that you tested the model of the
                                            either NF3 in remote plasma cleaning                    test in the same year, but each set of                system according to the requirements
                                            processes or F2 as an input gas in any                  emissions testing for a stack system                  specified in § 98.94(e). If you make the
                                            process type or sub-type, and that are                  must be separated by a period of at least             certification based on testing by the HC
                                            not certified not to form CF4, must                     2 months. You may repeat the relative                 fuel CECS manufacturer, you must
                                            operate with at least 90-percent uptime                 standard deviation analysis using the                 provide documentation from the HC
                                            during the test.                                        most recent three tests, including those              fuel CECS manufacturer that the rate of
                                            *       *    *     *     *                              tests conducted prior to the 4-year                   conversion from F2 to CF4 is <0.1%
                                               (3) Fab-specific fluorinated GHG                     period, to determine if you are exempt                when tested according to the
lotter on DSK11XQN23PROD with RULES2




                                            consumption measurements. You must                      from testing for the next 4 years.                    requirements specified in § 98.94(e).
                                            determine the amount of each                               (A) The relative standard deviation of                (p) * * *
                                            fluorinated GHG consumed by each fab                    the total CO2e emission factors                          (2) The basis of the destruction or
                                            during the sampling period for all                      calculated from each of the three tests               removal efficiency being used (default,
                                            process tools connected to the stack                    (expressed as the total CO2e fluorinated              manufacturer-verified, or site-specific
                                            systems under § 98.93(i)(3), according to               GHG emissions of the fab divided by the               measurement according to


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00115   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                             Document #2061464                             Filed: 06/24/2024              Page 121 of 164
                                            31916               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            § 98.94(f)(4)(i)) for each process sub-type              flow and pressure, calorific value, and                default value in table I–16 to this
                                            or process type and for each gas.                        water quality, flow and pressure.                      subpart. If the system is verified at a
                                              (q) * * *                                                 (3) If you use default destruction or               destruction or removal efficiency value
                                                                                                     removal efficiency values in your                      lower than the default value, you may
                                              (2) If you use default destruction or                  emissions calculations under § 98.93(a),               use the verified value.
                                            removal efficiency values in your                        (b), and/or (i), certification that the                *      *     *     *     *
                                            emissions calculations under § 98.93(a),                 abatement systems for which emissions
                                            (b), or (i), certification that the site                 are being reported were specifically                      (r) * * *
                                            maintenance plan for abatement systems                   designed for fluorinated GHG or N2O                       (2) Use equation I–28 to this section
                                            for which emissions are being reported                   abatement, as applicable. You must                     to calculate total unabated emissions, in
                                            contains the manufacturer’s                              support this certification by providing                metric ton CO2e, of all fluorinated GHG
                                            recommendations and specifications for                   abatement system supplier                              emitted from electronics manufacturing
                                            installation, operation, and maintenance                 documentation stating that the system                  processes whose emissions of
                                            for each abatement system. To use the                    was designed for fluorinated GHG or                    fluorinated GHG you calculated
                                            default or lower manufacturer-verified                   N2O abatement, as applicable, and                      according to the stack testing
                                            destruction or removal efficiency                        supply the destruction or removal                      procedures in § 98.93(i)(3). For each set
                                            values, operation of the abatement                       efficiency value at which each                         of processes, use the same input gas
                                            system must be within manufacturer’s                     abatement system is certified for the                  consumption (Cif), input gas emission
                                            specifications, which may include, for                   fluorinated GHG or N2O abated, as                      factors (EFif), by-product gas emission
                                            example, specifications on vacuum                        applicable. You may only use the                       factors (EFkf), fractions of tools abated
                                            pumps’ purges, fuel and oxidizer                         default destruction or removal                         (aif and akif), and destruction efficiencies
                                            settings, supply and exhaust flows and                   efficiency value if the abatement system               (dif and dik) to calculate unabated
                                            pressures, and utilities to the emissions                is verified to meet or exceed the                      emissions as you used to calculate
                                            control equipment including fuel gas                     destruction or removal efficiency                      emissions.


                                                                                        EF·f                           ]
                                                             SFGHG = L [ C c I ct )) * cif * GWPi
                                                                         1- aif* if
                                                                                                                           + Lk [ EFkf * L 1-cakif"
                                                                                                                                               C·f
                                                                                                                                                    ct ) * GWPk
                                                                                                                                                      ik
                                                                                                                                                        I       ]                Eq. I-28

                                            Where:                                                   dik = Fraction of fluorinated GHG byproduct            facility manufactures only 150 mm or
                                            SFGHG = Total unabated emissions of                           k destroyed or removed in abatement               smaller wafers, you are not required to
                                                  fluorinated GHG emitted from                            systems connected to process tools in fab         prepare and submit a technology
                                                  electronics manufacturing processes in                  f, as calculated from equation I–24B to
                                                                                                          § 98.93, which you used to calculate total
                                                                                                                                                            assessment report, but you are required
                                                  the fab, expressed in metric ton CO2e for                                                                 to prepare and submit a report if your
                                                  which you calculated total emission                     emissions according to the procedures in
                                                  according to the procedures in                          § 98.93(i)(3) (expressed as a decimal             facility begins manufacturing wafers 200
                                                  § 98.93(i)(3).                                          fraction).                                        mm or larger during or before the
                                            EFif = Emission factor for fluorinated GHG               GWPi = GWP of emitted fluorinated GHG i                calendar year preceding the year the
                                                  input gas i, emitted from fab f, as                     from table A–1 to subpart A of this part.         technology assessment report is due. If
                                                  calculated in equation I–19 to § 98.93 (kg         GWPk = GWP of emitted fluorinated GHG by-              your semiconductor manufacturing
                                                  emitted/kg input gas consumed).                         product k from table A–1 to subpart A
                                                                                                                                                            facility is no longer required to report to
                                            aif = Fraction of fluorinated GHG input gas                   of this part.
                                                                                                     i = Fluorinated GHG.                                   the GHGRP under subpart I due to the
                                                  i used in fab f in tools with abatement
                                                  systems (expressed as a decimal                    k = Fluorinated GHG by-product.                        cessation of semiconductor
                                                  fraction).                                         *      *     *    *    *                               manufacturing as described in
                                            dif = Fraction of fluorinated GHG i destroyed               (w) * * *                                           § 98.2(i)(3), you are not required to
                                                  or removed in abatement systems                       (2) An inventory of all stack systems               submit a technology assessment report.
                                                  connected to process tools in fab f, as            from which process fluorinated GHG are                   (1) The first technology assessment
                                                  calculated from equation I–24A to                  emitted.
                                                  § 98.93, which you used to calculate total
                                                                                                                                                            report due after January 1, 2025, is due
                                                  emissions according to the procedures in           *      *     *    *    *                               on March 31, 2028, and subsequent
                                                  § 98.93(i)(3) (expressed as a decimal                 (y) If your semiconductor                           reports must be delivered every 5 years
                                                  fraction).                                         manufacturing facility manufactures                    no later than March 31 of the year in
                                            Cif = Total consumption of fluorinated GHG               wafers greater than 150 mm and emits                   which it is due.
                                                  input gas i, of tools vented to stack              more than 40,000 metric ton CO2e of
                                                  systems, for fab f, for the reporting year,                                                                 (2) * * *
                                                                                                     GHG emissions, based on your most
                                                  expressed in metric ton CO2e, which you            recently submitted annual report as                      (i) It must describe how the gases and
                                                  used to calculate total emissions                                                                         technologies used in semiconductor
                                                  according to the procedures in
                                                                                                     required in paragraph (c) of this section,
                                                                                                     from the electronics manufacturing                     manufacturing using 200 mm and 300
                                                  § 98.93(i)(3) (expressed as a decimal                                                                     mm wafers in the United States have
                                                  fraction).                                         processes subject to reporting under this
                                            EFkf = Emission factor for fluorinated GHG               subpart, you must prepare and submit a                 changed in the past 5 years and whether
                                                  by-product gas k, emitted from fab f, as           technology assessment report every five                any of the identified changes are likely
                                                  calculated in equation I–20 to § 98.93 (kg         years to the Administrator (or an                      to have affected the emissions
                                                  emitted/kg of all input gases consumed             authorized representative) that meets                  characteristics of semiconductor
lotter on DSK11XQN23PROD with RULES2




                                                  in tools vented to stack systems).                 the requirements specified in                          manufacturing processes in such a way
                                            akif = Fraction of fluorinated GHG by-product                                                                   that the default utilization and by-
                                                  gas k emitted in fab f from tools using
                                                                                                     paragraphs (y)(1) through (6) of this
                                                                                                     section. Any other semiconductor                       product formation rates or default
                                                  input gas i with abatement systems                                                                        destruction or removal efficiency factors
                                                  (expressed as a decimal fraction), as              manufacturing facility may voluntarily
                                                  calculated using equation I–24D to                 submit this report to the Administrator.               of this subpart may need to be updated.
                                                                                                                                                                                                           ER25AP24.033</GPH>




                                                  § 98.93.                                           If your semiconductor manufacturing                    *      *     *    *     *


                                       VerDate Sep<11>2014    19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00116   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 122 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31917

                                               (iv) It must provide any utilization                 measured, the byproduct formation rates                 (A) All-input gas method. Use
                                            and byproduct formation rates and/or                    measured, the process type, the process               equation I–29A to this section to
                                            destruction or removal efficiency data                  subtype for chamber clean processes,                  calculate the input gas emission factor
                                            that have been collected in the previous                the wafer size, and the methods used for              (1 ¥ Uij) for each input gas in a single
                                            5 years that support the changes in                     the measurements. The report must also                test. If the result of equation I–29A
                                            semiconductor manufacturing processes                   specify the method used to calculate                  exceeds 0.8 for an F–GHG that contains
                                            described in the report. Any utilization                each reported utilization and by-product              carbon, you must use equation I–29C to
                                            or byproduct formation rate data                        formation rate, and provide a unique                  this section to calculate the input gas
                                            submitted must be reported using both                   record number for each data set. For any              emission factor for that F–GHG and
                                            of the methods specified in paragraphs                  destruction or removal efficiency data                equation I–29D to this section to
                                            (y)(2)(iv)(A) and (B) of this section if                submitted, the report must include the                calculate the by-product formation rate
                                            multiple fluorinated input gases are                    input gases used and measured, the                    for that F–GHG from the other input
                                            used, unless one of the input gases does                                                                      gases. Use equation I–29B to this section
                                                                                                    destruction and removal efficiency
                                            not have a reference process utilization                                                                      to calculate the by-product formation
                                                                                                    measured, the process type, the methods
                                            rate in table I–19 or I–20 to this subpart                                                                    rates from each input gas for F–GHGs
                                            for the process type and wafer size                     used for the measurements, and whether                that are not input gases. If a test uses a
                                            whose emission factors are being                        the abatement system is specifically                  cleaning or etching gas that does not
                                            measured, in which case the data must                   designed to abate the gas measured                    contain carbon in combination with a
                                            be submitted using the method specified                 under the operating conditions used for               cleaning or etching gas that does contain
                                            in paragraph (y)(2)(iv)(A) of this section.             the measurement. If you choose to use                 carbon and the process chamber is not
                                            If only one fluorinated input gas is fed                an additional alternative calculation                 used to etch or deposit carbon-
                                            into the process, you must use equations                methodology to calculate and report the               containing films, you may elect to
                                            I–29A and I–29B to this section. In                     input gas emission factors and by-                    assign carbon containing by-products
                                            addition to using the methods specified                 product formation rates, you must                     only to the carbon-containing input
                                            in paragraphs (y)(2)(iv)(A) and (B) of                  provide a complete, mathematical                      gases. If you choose to assign carbon
                                            this section, you have the option to                    description of the alternative method                 containing by-products only to carbon-
                                            calculate and report the utilization or                 used (including the equation used to                  containing input gases, remove the
                                            byproduct formation rate data using any                 calculate each reported utilization and               input mass of the non-carbon containing
                                            alternative calculation methodology.                    by-product formation rate) and include                gases from the sum of Massi and the sum
                                            The report must include the input gases                 the information in this paragraph                     of Massg in equations I–29B and I–29D
                                            used and measured, the utilization rates                (y)(2)(iv).                                           to this section, respectively.


                                                                                                                                                         (Eq. I-29A)

                                            Where:                                                  Ei = The mass emissions of input gas i.               i = Fluorinated GHG.
                                            Uij = Process utilization rate for fluorinated          Massi = The mass of input gas i fed into the          j = Process type.
                                                 GHG i, process type j.                                  process.



                                                                                                                                                         (Eq. I-29B)

                                            Where:                                                  Ek = The mass emissions of by-product gas             i = Fluorinated GHG.
                                            BEFkji = By-product formation rate for gas k                k.                                                j = Process type.
                                               from input gas i, for process type j,                Massi = The mass of input gas i fed into the          k = Fluorinated GHG by-product.
                                               where gas k is not an input gas.                         process.


                                                                                                                                              (Eq. I-29C)
                                                                                                                                                                                                       ER25AP24.037</GPH>


                                            Where:                                                  Uij = Process utilization rate for fluorinated
                                                                                                         GHG i, process type j.
                                                                                                                                                                                                       ER25AP24.036</GPH>




                                                                                                                                                          (Eq. I-29D)
lotter on DSK11XQN23PROD with RULES2




                                            Where:                                                  Massg = The mass of input gas g fed into the            (B) Reference emission factor method.
                                                                                                                                                                                                       ER25AP24.035</GPH>




                                            BEFijg = By-product formation rate for gas i                 process, where g does not equal input            Calculate the input gas emission factors
                                                 from input gas g for process type j.                    gas i.                                           and by-product formation rates from a
                                                                                                    i = Fluorinated GHG.
                                            Ei = The mass emissions of input gas i.                                                                       test using equations I–30A, I–30B, and
                                                                                                    g = Fluorinated GHG input gas, where gas g
                                            Massi = The mass of input gas i fed into the                 is not equal to gas i.                           I–29B to this section, and table I–19 or
                                                 process.                                                                                                 I–20 to this subpart. In this case, use
                                                                                                                                                                                                       ER25AP24.034</GPH>




                                                                                                    j = Process type.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00117   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                             Document #2061464                             Filed: 06/24/2024              Page 123 of 164
                                            31918               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            equation I–30A to this section to                        this section to calculate the by-product
                                            calculate the input gas emission factors                 formation rates.
                                            and use equation I–30B and I–29B to


                                                                  (1-        u..11) = ( 1 - u..IJr ) * [ (Massi* (1- Uijr)+Lg
                                                                                                                          E·          I
                                                                                                                              MassgBEFijgr)
                                                                                                                                            ]                           (Eq. I-30A)

                                            Where:                                                   Ei = The mass emissions of input gas i.                    j, using table I–19 or I–20 to this subpart
                                            Uij = Process utilization rate for fluorinated           Massi = The mass of gas i fed into the                     as appropriate.
                                                 GHG i, process type j.                                   process.                                         i = Fluorinated GHG.
                                                                                                     Massg = The mass of input gas g fed into the          g = Fluorinated GHG input gas, where gas g
                                            Uijr = Reference process utilization rate for
                                                                                                          process, where g does not equal input                 is not equal to gas i.
                                                 fluorinated GHG i, process type j, for                   gas i.
                                                 input gas i, using table I–19 or I–20 to                                                                  r = Reference data.
                                                                                                     BEFijgr = Reference by-product formation rate
                                                 this subpart as appropriate.                             for gas i from input gas g for process type



                                                                      BEf.. = BEf..
                                                                           IJg             IJgr
                                                                                                  * [ (Mass* (1-Uijr)+E·LgMassg BEFijgr) ]
                                                                                                                             I                                        (Eq. I-30B)

                                            Where:                                                      (b) If you use HC fuel CECS purchased              or certified destruction or removal
                                            BEFijg = By-product formation rate for gas i             and installed on or after January 1, 2025,            efficiency values that are lower than the
                                                 from input gas g for process type j, where          to control emissions from tools that use              default values in your emissions
                                                 gas i is also an input gas.                         either NF3 as an input gas in remote                  calculations under § 98.93(a), (b), and/or
                                            BEFijgr = Reference by-product formation rate            plasma cleaning processes or F2 as an                 (i), certification that the abatement
                                                 for gas i from input gas g for process type         input gas in any process, and if you use              systems for which emissions are being
                                                 j from table I–19 or I–20 to this subpart,
                                                                                                     a value less than 1 for either aF2,j or               reported were specifically designed for
                                                 as appropriate.
                                            Uijr = Reference process utilization rate for            aNF3,RPC in equation I–9 to § 98.93,                  fluorinated GHG and N2O abatement, as
                                                 fluorinated GHG i, process type j, for              certification and documentation that the              required under § 98.94(f)(3),
                                                 input gas i, using table I–19 or I–20 to            model for each of the systems that you                certification that the site maintenance
                                                 this subpart, as appropriate.                       claim does not form CF4 from F2 has                   plan includes the abatement system
                                            Ei = The mass emissions of input gas i.                  been tested and verified to produce less              manufacturer’s recommendations and
                                            Massi = The mass of gas i fed into the                   than 0.1% CF4 from F2, and certification              specifications for installation, operation,
                                                 process.                                            that the site maintenance plan includes               and maintenance, and the certified
                                            Massg = The mass of input gas g fed into the             the HC fuel CECS manufacturer’s                       destruction and removal efficiency
                                                 process, where g does not equal input                                                                     values for all applicable abatement
                                                                                                     recommendations and specifications for
                                                 gas i.
                                                                                                     installation, operation, and maintenance              systems. For abatement systems
                                            i = Fluorinated GHG.
                                            j = Process type.                                        of those systems. If you are relying on               purchased and installed on or after
                                            g = Fluorinated GHG input gas, where gas g               your own testing to make the                          January 1, 2025, also include records of
                                                 is not equal to gas i.                              certification that the model produces                 the method used to measure the
                                            r = Reference data.                                      less than 0.1% CF4 from F2, the                       destruction and removal efficiency
                                            *      *     *      *      *                             documentation must include the model                  values.
                                               (4) Multiple semiconductor                            tested, the method used to perform the                *      *      *     *     *
                                            manufacturing facilities may submit a                    testing (e.g., EPA 430–R–10–003,                         (3) Where either the default
                                            single consolidated technology                           modified to calculate the formation rate              destruction or removal efficiency value
                                            assessment report as long as the facility                of CF4 from F2 rather than the DRE),                  or a certified destruction or removal
                                            identifying information in § 98.3(c)(1)                  complete documentation of the results                 efficiency value that is lower than the
                                            and the certification statement in                       of any initial and subsequent tests, and              default is used, documentation from the
                                            § 98.3(c)(9) is provided for each facility               a final report similar to that specified in           abatement system supplier describing
                                            for which the consolidated report is                     EPA 430–R–10–003 (incorporated by                     the equipment’s designed purpose and
                                            submitted.                                               reference, see § 98.7), with appropriate              emission control capabilities for
                                            *      *     *      *      *                             adjustments to reflect the measurement                fluorinated GHG and N2O.
                                            ■ 26. Amend § 98.97 by:
                                                                                                     of the formation rate of CF4 from F2                  *      *      *     *     *
                                            ■ a. Adding paragraph (b);
                                                                                                     rather than the DRE. If you are relying                  (5) * * *
                                            ■ b. Revising paragraphs (d)(1)(iii),                    on testing by the HC fuel CECS                           (i) The number of abatement systems
                                            (d)(3), (d)(5)(i), (d)(6) and (7), and                   manufacturer to make the certification                of each manufacturer, and model
                                            (d)(9)(i);                                               that the system produces less than 0.1%               numbers, and the manufacturer’s
                                            ■ c. Removing and reserving paragraph                    CF4 from F2, the documentation must                   certified fluorinated GHG and N2O
                                            (i)(1); and                                              include the model tested, the method                  destruction or removal efficiency, if any.
                                            ■ d. Revising paragraphs (i)(5) and (9)                  used to perform the testing, and the                  *      *      *     *     *
lotter on DSK11XQN23PROD with RULES2




                                            and (k).                                                 results of the test.                                     (6) Records of all inputs and results of
                                                                                                                                                                                                              ER25AP24.039</GPH>




                                               The addition and revisions read as                    *       *     *     *    *                            calculations made accounting for the
                                            follows:                                                    (d) * * *                                          uptime of abatement systems used
                                                                                                        (1) * * *                                          during the reporting year, in accordance
                                            § 98.97    Records that must be retained.                   (iii) If you use either default                    with equations I–15 or I–23 to § 98.93,
                                                                                                                                                                                                              ER25AP24.038</GPH>




                                            *      *      *       *      *                           destruction or removal efficiency values              as applicable. The inputs should


                                       VerDate Sep<11>2014    19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00118   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                                    Document #2061464                                Filed: 06/24/2024                 Page 124 of 164
                                                                    Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                  31919

                                            include an indication of whether each                                you must include documentation that                   § 98.98    Definitions.
                                            value for destruction or removal                                     demonstrates how the deviations do not                *     *     *     *    *
                                            efficiency is a default value, lower                                 negatively affect the performance or
                                                                                                                                                                         Hydrocarbon-fuel based combustion
                                            manufacturer-verified value, or a                                    destruction or removal efficiency of the
                                                                                                                                                                       emission control system (HC fuel CECS)
                                            measured site-specific value.                                        abatement systems.
                                               (7) Records of all inputs and results of                                                                                means a hydrocarbon fuel-based
                                                                                                                 *      *     *    *     *                             combustion device or equipment that is
                                            calculations made to determine the                                      (i) * * *
                                            average weighted fraction of each gas                                                                                      designed to destroy or remove gas
                                                                                                                    (5) The fab-specific emission factor               emissions in exhaust streams via
                                            destroyed or removed in the abatement                                and the calculations and data used to
                                            systems for each stack system using                                                                                        combustion from one or more
                                                                                                                 determine the fab-specific emission                   electronics manufacturing production
                                            equations I–24A and I–24B to § 98.93, if                             factor for each fluorinated GHG and by-
                                            applicable. The inputs should include                                                                                      processes, and that is connected to
                                                                                                                 product, as calculated using equations                manufacturing tools that have the
                                            an indication of whether each value for                              I–19A, I–19B, I–19C and I–20 to
                                            destruction or removal efficiency is a                                                                                     potential to emit F2 or fluorinated
                                                                                                                 § 98.93(i)(3).                                        greenhouse gases. HC fuel CECs include
                                            default value, lower manufacturer-
                                                                                                                 *      *     *    *     *                             both emission control systems that are
                                            verified value, or a measured site-
                                                                                                                    (9) The number of tools vented to                  and are not designed to destroy or
                                            specific value.
                                                                                                                 each stack system in the fab and all                  remove fluorinated GHGs or N2O.
                                            *      *     *      *    *                                           inputs and results for the calculations
                                               (9) * * *                                                                                                               *     *     *     *    *
                                                                                                                 accounting for the fraction of gas
                                               (i) The site maintenance plan for                                                                                         Operational mode means the time in
                                                                                                                 exhausted through abatement systems
                                            abatement systems must be based on the                                                                                     which an abatement system is properly
                                                                                                                 using equations I–24C and I–24D to
                                            abatement system manufacturer’s                                                                                            installed, maintained, and operated
                                                                                                                 § 98.93.
                                            recommendations and specifications for                                                                                     according to the site maintenance plan
                                            installation, operation, and maintenance                             *      *     *    *     *
                                                                                                                    (k) Annual gas consumption for each                for abatement systems as required in
                                            if you use default or lower                                                                                                § 98.94(f)(1) and defined in
                                            manufacturer-verified destruction and                                fluorinated GHG and N2O as calculated
                                                                                                                 in equation I–11 to § 98.93, including                § 98.97(d)(9). This includes being
                                            removal efficiency values in your                                                                                          properly operated within the range of
                                            emissions calculations under § 98.93(a),                             where your fab used less than 50 kg of
                                                                                                                 a particular fluorinated GHG or N2O                   parameters as specified in the site
                                            (b), and/or (i). If the manufacturer’s                                                                                     maintenance plan for abatement
                                            recommendations and specifications for                               used at your facility for which you have
                                                                                                                 not calculated emissions using                        systems. For abatement systems
                                            installation, operation, and maintenance                                                                                   purchased and installed on or after
                                            are not available, you cannot use default                            equations I–6, I–7, I–8A, I–8B, I–9, I–10,
                                                                                                                 I–21, or I–22 to § 98.93, the chemical                January 1, 2025, this includes being
                                            destruction and removal efficiency                                                                                         properly operated within the range of
                                            values or lower manufacturer-verified                                name of the GHG used, the annual
                                                                                                                 consumption of the gas, and a brief                   parameters specified in the DRE
                                            value in your emissions calculations                                                                                       certification documentation. An
                                            under § 98.93(a), (b), and/or (i). If you                            description of its use.
                                                                                                                                                                       abatement system is considered to not
                                            use an average of properly measured                                  *      *     *    *     *                             be in operational mode when it is not
                                            destruction or removal efficiencies                                  ■ 27. Amend § 98.98 by:                               operated and maintained according to
                                            determined in accordance with the                                    ■ a. Removing the definition                          the site maintenance plan for abatement
                                            procedures in § 98.94(f)(4)(i) through                               ‘‘Fluorinated heat transfer fluids’’;                 systems or, for abatement systems
                                            (vi), the site maintenance plan for                                  ■ b. Adding the definition                            purchased and installed on or after
                                            abatement systems must be based on the                               ‘‘Hydrocarbon-fuel based combustion                   January 1, 2025, not operated within the
                                            abatement system manufacturer’s                                      emission control systems (HC fuel                     range of parameters as specified in the
                                            recommendations and specifications for                               CECs)’’ in alphabetical order; and                    DRE certification documentation.
                                            installation, operation, and                                         ■ c. Revising the definition
                                                                                                                                                                       *     *     *     *    *
                                            maintenance, where available. If you                                 ‘‘Operational mode’’.
                                            deviate from the manufacturer’s                                         The revisions and addition read as                 ■ 28. Revise table I–1 to subpart I to
                                            recommendations and specifications,                                  follows:                                              read as follows:

                                            TABLE I–1 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS FOR MANUFACTURING CAPACITY-BASED THRESHOLD
                                                                                  APPLICABILITY DETERMINATION
                                                                                                                                                           Emission factors EFi
                                                                   Product type
                                                                                                                    CF4          C2F6        CHF3           c-C4F8         C3F8          NF3      SF6       N 2O

                                            Semiconductors (kg/m2) ...................................                  0.9         1.0           0.04            NA           0.05        0.04     0.20          NA
                                            LCD (g/m2) .......................................................        0.65          NA         0.0024           0.00            NA         1.29     4.14        17.06
                                            MEMS (kg/m2) .................................................           0.015          NA             NA          0.076            NA          NA      1.86          NA
                                               Notes: NA denotes not applicable based on currently available information.
lotter on DSK11XQN23PROD with RULES2




                                            ■ 29. Revise table I–2 to subpart I to
                                            read as follows:




                                       VerDate Sep<11>2014       19:27 Apr 24, 2024       Jkt 262001     PO 00000    Frm 00119   Fmt 4701   Sfmt 4700    E:\FR\FM\25APR2.SGM    25APR2
                                                   USCA Case #24-1216                                             Document #2061464                                                 Filed: 06/24/2024                                Page 125 of 164
                                            31920                        Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                   TABLE I–2 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS FOR GAS CONSUMPTION-BASED THRESHOLD
                                                                                      APPLICABILITY DETERMINATION
                                                                                                                                                                                                                                     Process gas i

                                                                                                                                                                                                                Fluorinated GHGs                             N2O

                                            1–Ui ..........................................................................................................................................................                              0.8                               1
                                            BCF4 ........................................................................................................................................................                               0.15                               0
                                            BC2F6 .......................................................................................................................................................                               0.05                               0



                                            ■ 30. Revise table I–3 to subpart I to
                                            read as follows:
                                             TABLE I–3 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-
                                              PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR 150 mm AND 200 mm WAFER SIZES
                                                                                                                                                                               Process gas i
                                                   Process type/sub-type
                                                                                                   CF4          C2F6        CHF3          CH2F2         C2HF5         CH3F         C3F8        C4F8           NF3          SF6          C4F6        C 5F 8      C 4F 8O

                                                                                                                                               Etching/Wafer Cleaning

                                            1–Ui ...........................................         0.73        0.72         0.51          0.13         0.064          0.70         NA         0.14         0.19            0.55       0.083        0.072             NA
                                            BCF4 ..........................................           NA         0.10        0.085         0.079         0.077           NA          NA         0.11       0.0040            0.13       0.095           NA             NA
                                            BC2F6 ........................................          0.041          NA        0.035         0.025         0.024        0.0034         NA        0.037        0.025            0.11       0.073        0.014             NA
                                            BC4F8 ........................................            NA           NA           NA            NA            NA           NA          NA           NA           NA             NA           NA           NA             NA
                                            BC3F8 ........................................            NA           NA           NA            NA            NA           NA          NA           NA           NA             NA           NA           NA             NA
                                            BCHF3 .......................................
                                                                                               I    0.091
                                                                                                            I   0.047
                                                                                                                        I       NA
                                                                                                                                      I    0.049
                                                                                                                                                    I       NA
                                                                                                                                                                  I      NA
                                                                                                                                                                               I     NA
                                                                                                                                                                                           I   0.040
                                                                                                                                                                                                       I       NA
                                                                                                                                                                                                                      I   0.0012
                                                                                                                                                                                                                                    I   0.066
                                                                                                                                                                                                                                                I   0.0039             NA

                                                                                                                                                    Chamber Cleaning

                                                                                                                                               In situ plasma cleaning

                                            1–Ui ...........................................         0.92        0.55          NA            NA            NA            NA         0.40        0.10           0.18          NA           NA           NA             0.14
                                            BCF4 ..........................................           NA         0.19          NA            NA            NA            NA         0.20        0.11           0.14          NA           NA           NA             0.13
                                            BC2F6 ........................................            NA          NA           NA            NA            NA            NA          NA          NA             NA           NA           NA           NA            0.045
                                            BC3F8 ........................................
                                                                                               I      NA
                                                                                                            I     NA
                                                                                                                        I      NA
                                                                                                                                      I      NA
                                                                                                                                                    I      NA
                                                                                                                                                                  I      NA
                                                                                                                                                                               I     NA
                                                                                                                                                                                           I     NA
                                                                                                                                                                                                       I        NA
                                                                                                                                                                                                                      I      NA
                                                                                                                                                                                                                                    I     NA
                                                                                                                                                                                                                                                I      NA              NA

                                                                                                                                              Remote plasma cleaning

                                            1–Ui ...........................................          NA          NA           NA            NA            NA            NA          NA          NA           0.028          NA           NA           NA              NA
                                            BCF4 ..........................................           NA          NA           NA            NA            NA            NA          NA          NA           0.015          NA           NA           NA              NA
                                            BC2F6 ........................................            NA          NA           NA            NA            NA            NA          NA          NA              NA          NA           NA           NA              NA
                                            BC3F8 ........................................            NA          NA           NA            NA            NA            NA          NA          NA              NA          NA           NA           NA              NA
                                            BF2 ............................................
                                                                                               I      NA
                                                                                                            I     NA
                                                                                                                        I      NA            NA            NA

                                                                                                                                               In situ thermal cleaning
                                                                                                                                                                         NA
                                                                                                                                                                               I     NA
                                                                                                                                                                                           I     NA
                                                                                                                                                                                                       I        0.5
                                                                                                                                                                                                                      I      NA
                                                                                                                                                                                                                                    I     NA           NA              NA



                                            1–Ui ...........................................          NA          NA           NA            NA            NA            NA          NA          NA             NA           NA           NA           NA              NA
                                            BCF4 ..........................................           NA          NA           NA            NA            NA            NA          NA          NA             NA           NA           NA           NA              NA
                                            BC2F6 ........................................            NA          NA           NA            NA            NA            NA          NA          NA             NA           NA           NA           NA              NA
                                            BC3F8 ........................................
                                                                                               I      NA
                                                                                                            I     NA
                                                                                                                        I      NA
                                                                                                                                      I      NA
                                                                                                                                                    I      NA
                                                                                                                                                                  I      NA
                                                                                                                                                                               I     NA
                                                                                                                                                                                           I     NA
                                                                                                                                                                                                       I        NA
                                              Notes: NA = Not applicable; i.e., there are no applicable default emission factor measurements for this gas. This does not necessarily imply that a particular gas is
                                                                                                                                                                                                                      I      NA
                                                                                                                                                                                                                                    I     NA
                                                                                                                                                                                                                                                I      NA              NA

                                            not used in or emitted from a particular process sub-type or process type.



                                              31. Revise table I–4 to subpart I to
                                            read as follows:
                                             TABLE I–4 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-
                                              PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR 300 mm AND 450 mm WAFER SIZE
                                                                                                                                                                               Process gas i
                                                   Process type/sub-type
                                                                                                   CF4          C2F6        CHF3          CH2F2         CH3F           C3F8          C4F8          NF3                SF6            C4F6            C5F8          C4F8O

                                                                                                                                               Etching/Wafer Cleaning

                                            1–Ui ...........................................         0.65        0.80          0.37          0.20          0.30            0.30        0.18          0.16             0.30               0.15            0.10          NA
                                            BCF4 ..........................................            NA        0.21        0.076         0.060        0.0291             0.21      0.045          0.044            0.033             0.059             0.11          NA
                                            BC2F6 ........................................          0.058         NA         0.058         0.043         0.009            0.018      0.027         0.045             0.041             0.062           0.083           NA
lotter on DSK11XQN23PROD with RULES2




                                            BC4F8 ........................................         0.0046         NA        0.0027         0.054        0.0070               NA         NA             NA               NA            0.0051              NA           NA
                                            BC3F8 ........................................             NA         NA            NA            NA            NA               NA         NA             NA               NA                NA         0.00012           NA
                                            BCHF3 .......................................           0.012         NA            NA         0.057         0.016           0.012       0.028          0.023          0.0039               0.017         0.0069           NA
                                            BCH2F2 .....................................            0.005         NA        0.0024            NA        0.0033              NA      0.0021       0.00074         0.000020           0.000030              NA           NA
                                            BCH3F .......................................          0.0061         NA         0.027        0.0036            NA         0.00073      0.0063        0.0080            0.0082           0.00065              NA           NA




                                       VerDate Sep<11>2014            19:27 Apr 24, 2024            Jkt 262001     PO 00000        Frm 00120        Fmt 4701      Sfmt 4700        E:\FR\FM\25APR2.SGM              25APR2
                                                   USCA Case #24-1216                                             Document #2061464                                         Filed: 06/24/2024                               Page 126 of 164
                                                                         Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                            31921

                                             TABLE I–4 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-
                                                PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR 300 mm AND 450 mm WAFER
                                                SIZE—Continued
                                                                                                                                                                       Process gas i
                                                   Process type/sub-type
                                                                                                   CF4         C2F6        CHF3        CH2F2     CH3F          C3F8          C4F8            NF3             SF6             C4F6            C5F8             C4F8O

                                                                                                                                                Chamber Cleaning

                                                                                                                                            In situ plasma cleaning

                                            1–Ui ...........................................          NA          NA         NA            NA       NA               NA          NA             0.20               NA              NA               NA            NA
                                            BCF4 ..........................................           NA          NA         NA            NA       NA               NA          NA            0.037               NA              NA               NA            NA
                                            BC2F6 ........................................            NA          NA         NA            NA       NA               NA          NA               NA               NA              NA               NA            NA
                                            BC3F8 ........................................
                                                                                               I      NA
                                                                                                           I      NA
                                                                                                                       I     NA
                                                                                                                                   I       NA       NA

                                                                                                                                           Remote plasma cleaning
                                                                                                                                                                     NA          NA               NA               NA              NA               NA            NA



                                            1–Ui ...........................................          NA          NA         NA            NA       NA           0.063           NA           0.018                NA              NA               NA            NA
                                            BCF4 ..........................................           NA          NA         NA            NA       NA              NA           NA          0.037                 NA              NA               NA            NA
                                            BC2F6 ........................................            NA          NA         NA            NA       NA              NA           NA              NA                NA              NA               NA            NA
                                            BC3F8 ........................................            NA          NA         NA            NA       NA              NA           NA              NA                NA              NA               NA            NA
                                            BCHF3 .......................................             NA          NA         NA            NA       NA              NA           NA       0.000059                 NA              NA               NA            NA
                                            BCH2F2 .....................................              NA          NA         NA            NA       NA              NA           NA        0.00088                 NA              NA               NA            NA
                                            BCH3F .......................................             NA          NA         NA            NA       NA              NA           NA         0.0028                 NA              NA               NA            NA
                                            BF2 ............................................          NA          NA         NA            NA       NA             NA            NA             0.5                NA              NA               NA            NA

                                                                                                                                            In situ thermal cleaning

                                            1–Ui ...........................................          NA          NA         NA            NA       NA               NA          NA             0.28               NA              NA               NA            NA
                                            BCF4 ..........................................           NA          NA         NA            NA       NA               NA          NA            0.010               NA              NA               NA            NA
                                            BC2F6 ........................................            NA          NA         NA            NA       NA               NA          NA               NA               NA              NA               NA            NA
                                            BC3F8 ........................................
                                                                                               I      NA
                                                                                                           I      NA
                                                                                                                       I     NA
                                                                                                                                   I       NA       NA               NA          NA               NA
                                              Notes: NA = Not applicable; i.e., there are no applicable default emission factor measurements for this gas. This does not necessarily imply that a particular gas is
                                                                                                                                                                                                                   NA              NA               NA
                                                                                                                                                                                                                                                          I       NA

                                            not used in or emitted from a particular process sub-type or process type.



                                            ■ 32. Revise table I–8 to subpart I to
                                            read as follows:

                                                    TABLE I–8 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–UN2O,j) FOR N2O UTILIZATION (UN2O,j)
                                                                                                                 Manufacturing type/process type/wafer size                                                                                               N2O

                                            Semiconductor Manufacturing:
                                                 200 mm or Less:
                                                      CVD 1–Ui ...............................................................................................................................................................................                   1.0
                                                      Other Manufacturing Process 1–Ui .......................................................................................................................................                                   1.0
                                                 300 mm or greater:
                                                      CVD 1–Ui ...............................................................................................................................................................................                   0.5
                                                      Other Manufacturing Process 1–Ui .......................................................................................................................................                                   1.0
                                            LCD Manufacturing:
                                                 CVD Thin Film Manufacturing 1–Ui ..............................................................................................................................................                                0.63
                                            All other N2O Processes .....................................................................................................................................................................                        1.0



                                            ■ 33. Revise table I–11 to subpart I to
                                            read as follows:
                                            TABLE I–11 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-
                                             PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR USE WITH THE STACK TEST METHOD
                                                                                                                                       [150 mm and 200 mm Wafers]

                                                                                                                                                             Process gas i
                                               All processes                                                                                                                                        NF3
                                                                             CF4               C2F6        CHF3        CH2F2      C2HF5         CH3F          C3F8        C4F8          NF3                         SF6        C4F6          C5F8             C4F8O
                                                                                                                                                                                                   Remote

                                            1–Ui ....................          0.79          0.55             0.51      0.13       0.064            0.70       0.40          0.12        0.18          0.028         0.58      0.083              0.072          0.14
                                            BCF4 ...................            NA           0.19           0.085      0.079       0.077             NA        0.20          0.11       0.11           0.015         0.13      0.095                NA           0.13
                                            BC2F6 .................           0.027            NA           0.035      0.025       0.024          0.0034        NA         0.019      0.0059              NA         0.10      0.073              0.014         0.045
lotter on DSK11XQN23PROD with RULES2




                                            BC4F8 .................             NA             NA              NA         NA          NA             NA         NA            NA          NA              NA          NA          NA                NA            NA
                                            BC3F8 .................             NA             NA              NA         NA          NA             NA         NA            NA          NA              NA          NA          NA                NA            NA
                                            BC5F8 .................        0.00077             NA          0.0012         NA          NA              NA        NA        0.0043          NA              NA          NA          NA                NA            NA
                                            BCHF3 ................            0.060        0.0020              NA      0.049          NA              NA        NA         0.020          NA              NA       0.0011      0.066             0.0039           NA
                                            BF2 .....................           NA             NA              NA         NA          NA              NA        NA            NA          NA            0.50          NA          NA                 NA           NA
                                              Notes: NA = Not applicable; i.e., there are no applicable emission factor measurements for this gas. This does not necessarily imply that a particular gas is not
                                            used in or emitted from a particular process sub-type or process type.



                                       VerDate Sep<11>2014            19:27 Apr 24, 2024           Jkt 262001     PO 00000        Frm 00121     Fmt 4701   Sfmt 4700       E:\FR\FM\25APR2.SGM              25APR2
                                                   USCA Case #24-1216                                                     Document #2061464                                                  Filed: 06/24/2024                     Page 127 of 164
                                            31922                          Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations


                                            ■ 34. Revise table I–12 to subpart I to
                                            read as follows:
                                            TABLE I–12 TO SUBPART I OF PART 98—DEFAULT EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-
                                             PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR USE WITH THE STACK TEST METHOD
                                                                                                                                                    [300 mm and 450 mm Wafers]

                                                                                                                                                                             Process gas i
                                              All processes                                                                                                           C3F8                                 NF3
                                                                             CF4          C2F6           CHF3            CH2F2           CH3F             C3F8                      C4F8       NF3                      SF6             C4F6              C5F8       C 4 F8 O
                                                                                                                                                                     Remote                               Remote

                                            1–Ui ..................           0.65         0.80            0.37            0.20            0.30              0.30        0.063       0.183        0.19       0.018          0.30          0.15             0.100         NA
                                            BCF4 .................              NA         0.21          0.076            0.060           0.029              0.21          NA        0.045      0.040        0.037        0.033         0.059              0.109         NA
                                            BC2F6 ...............            0.058          NA           0.058            0.043          0.0093              0.18           NA       0.027     0.0204          NA         0.041         0.062              0.083         NA
                                            BC4F6 ...............           0.0083          NA         0.01219               NA           0.001               NA           NA        0.008         NA           NA           NA            NA                NA          NA
                                            BC4F8 ...............           0.0046          NA         0.00272            0.054           0.007               NA           NA           NA         NA           NA           NA        0.0051                 NA         NA
                                            BC3F8 ...............               NA          NA              NA               NA              NA               NA            NA          NA         NA           NA           NA            NA            0.00012         NA
                                            BCH2F2 .............             0.005          NA          0.0024              NA           0.0033               NA           NA       0.0021    0.00034     0.00088     0.000020       0.000030                 NA         NA
                                            BCH3F ..............            0.0061          NA           0.027           0.0036              NA           0.0007           NA       0.0063     0.0036      0.0028        0.0082       0.00065                 NA         NA
                                            BCHF3 ..............             0.012          NA              NA            0.057           0.016            0.012           NA        0.028     0.0106    0.000059        0.0039         0.017             0.0069         NA
                                            BF2 ...................            NA           NA              NA               NA              NA               NA           NA           NA         NA         0.50           NA            NA                 NA         NA



                                            ■ 35. Revise table I–16 to subpart I to
                                            read as follows:

                                               TABLE I–16 TO SUBPART I OF PART 98—DEFAULT EMISSION DESTRUCTION OR REMOVAL EFFICIENCY (DRE) FACTORS
                                                                                  FOR ELECTRONICS MANUFACTURING

                                                                                                                                                                                                                                                          Default DRE
                                                                                                                               Manufacturing type/process type/gas                                                                                            (%)

                                            MEMS, LCDs, and PV Manufacturing .................................................................................................................................................                                             60
                                            Semiconductor Manufacturing:
                                                 CF4 ...............................................................................................................................................................................................                       87
                                                 CH3F .............................................................................................................................................................................................                        98
                                                 CHF3 .............................................................................................................................................................................................                        97
                                                 CH2F2 ...........................................................................................................................................................................................                         98
                                                 C4F8 ..............................................................................................................................................................................................                       93
                                                 C4F8O ...........................................................................................................................................................................................                         93
                                                 C5F8 ..............................................................................................................................................................................................                       97
                                                 C4F6 ..............................................................................................................................................................................................                       95
                                                 C3F8 ..............................................................................................................................................................................................                       98
                                                 C2HF5 ...........................................................................................................................................................................................                         97
                                                 C2F6 ..............................................................................................................................................................................................                       98
                                                 SF6 ................................................................................................................................................................................................                      95
                                                 NF3 ...............................................................................................................................................................................................                       96
                                            All other carbon-based fluorinated GHGs used in Semiconductor Manufacturing .............................................................................                                                                      60
                                            N2O Processes.
                                            CVD and all other N2O-using processes ............................................................................................................................................                                             60



                                            ■ 36. Add table I–18 to subpart I to read
                                            as follows:
                                             TABLE I–18 TO SUBPART I OF PART 98—DEFAULT FACTORS FOR GAMMA (gi,p AND gk,i,p) FOR SEMICONDUCTOR MANUFAC-
                                                TURING AND FOR MEMS AND PV MANUFACTURING UNDER CERTAIN CONDITIONS * FOR USE WITH THE STACK TEST-
                                                ING METHOD

                                                                                       Process type                                                                  In-situ thermal or in-situ plasma cleaning                       Remote plasma cleaning

                                                                                              Gas                                                             CF4            C2F6          c-C4F8        NF3         SF6           C3F8                 CF4          NF3

                                                                                                   If manufacturing wafer sizes ≤200 mm AND manufacturing 300 mm (or greater) wafer sizes

                                            gi ........................................................................................................             13           9.3           4.7         14              11            NA               NA            5.7
                                            gCF4,i ..................................................................................................               NA           23            6.7         63              8.7           NA               NA             58
lotter on DSK11XQN23PROD with RULES2




                                            gC2F6,i .................................................................................................               NA           NA            NA          NA              3.4           NA               NA            NA
                                            gCHF3,i ................................................................................................                NA           NA            NA          NA              NA            NA               NA           0.24
                                            gCH2F2,i ...............................................................................................                NA           NA            NA          NA              NA            NA               NA           111
                                            gCH3F,i ................................................................................................
                                                                                                                                                          I         NA
                                                                                                                                                                         I       NA            NA          NA              NA            NA               NA
                                                                                                                                                                                                                                                                 I       33

                                                                                                              If manufacturing ≤200 mm OR manufacturing 300 mm (or greater) wafer sizes

                                            gi (≤ 200 mm wafer size) ...................................................................                            13           9.3           4.7         2.9             11            NA               NA             1.4



                                       VerDate Sep<11>2014             19:27 Apr 24, 2024              Jkt 262001          PO 00000          Frm 00122         Fmt 4701      Sfmt 4700     E:\FR\FM\25APR2.SGM       25APR2
                                                   USCA Case #24-1216                                               Document #2061464                                             Filed: 06/24/2024                             Page 128 of 164
                                                                         Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                                  31923

                                             TABLE I–18 TO SUBPART I OF PART 98—DEFAULT FACTORS FOR GAMMA (gi,p AND gk,i,p) FOR SEMICONDUCTOR MANUFAC-
                                                TURING AND FOR MEMS AND PV MANUFACTURING UNDER CERTAIN CONDITIONS * FOR USE WITH THE STACK TEST-
                                                ING METHOD—Continued

                                                                                    Process type                                                         In-situ thermal or in-situ plasma cleaning                                 Remote plasma cleaning

                                                                                           Gas                                                    CF4           C2F6             c-C4F8            NF3            SF6           C3F8               CF4              NF3

                                            gCF4,i (≤200 mm wafer size) ..............................................................               NA               23              6.7            110                8.7           NA                NA              36
                                            gC2F6,i (≤200 mm wafer size) ............................................................                NA               NA              NA             NA                 3.4           NA                NA             NA
                                            gi (300 mm wafer size) ......................................................................            NA               NA              NA              26                NA            NA                NA              10
                                            gCF4,i (300 mm wafer size) ................................................................              NA               NA              NA              17                NA            NA                NA              80
                                            gC2F6,i (300 mm wafer size) ..............................................................               NA               NA              NA              NA                NA            NA                NA             NA
                                            gCHF3,i (300 mm wafer size) ..............................................................               NA               NA              NA              NA                NA            NA                NA            0.24
                                            gCH2F2,i (300 mm wafer size) ............................................................                NA               NA              NA              NA                NA            NA                NA             111
                                            gCH3F,i (300 mm wafer size) ..............................................................               NA               NA              NA              NA                NA            NA                NA              33
                                              * If you manufacture MEMS or PVs and use semiconductor tools and processes, you may use the corresponding g in this table. For all other tools and processes, a
                                            default g of 10 must be used.


                                            ■ 37. Add table I–19 to subpart I to read
                                            as follows:
                                             TABLE I–19 TO SUBPART I OF PART 98—REFERENCE EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND
                                             BY-PRODUCT FORMATION RATES (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR 150 MM AND 200 MM WAFER SIZES
                                                                                                                                                                             Process gas i
                                                       Process type/sub-type
                                                                                                           CF4          C2F6        CHF3        CH2F2        C2HF5        CH3F        C3F8         C4F8          NF3          SF6         C4F6         C5F8         C4F8O

                                                                                                                                                Etching/Wafer Cleaning

                                            1–Ui ...................................................        0.73         0.46        0.31         0.37        0.064        0.66           NA         0.21          0.20        0.55        0.086        0.072          NA
                                            BCF4 ..................................................          NA          0.20        0.10        0.031        0.077         NA            NA         0.17       0.0040        0.023       0.0089           NA          NA
                                            BC2F6 ................................................         0.029          NA          NA            NA           NA         NA            NA        0.065           NA           NA        0.045        0.014          NA
                                            BC4F6 ................................................           NA           NA          NA            NA           NA         NA            NA          NA            NA          NA            NA           NA          NA
                                            BC4F8 ................................................           NA           NA          NA            NA           NA         NA            NA          NA            NA          NA            NA           NA          NA
                                            BC3F8 ................................................           NA           NA          NA            NA           NA         NA            NA          NA            NA          NA            NA           NA          NA
                                            BC5F8 ................................................           NA           NA          NA            NA           NA         NA            NA        0.016           NA          NA            NA           NA          NA
                                            BCHF3 ...............................................           0.13          NA          NA            NA           NA         NA            NA           NA           NA           NA           NA       0.0039          NA

                                                                                                                                                  Chamber Cleaning

                                                                                                                                                In situ plasma cleaning

                                            1–Ui ...................................................        0.92         0.55         NA           NA           NA          NA         0.40          0.10         0.18          NA           NA           NA          0.14
                                            BCF4 ..................................................          NA          0.19         NA           NA           NA          NA         0.20          0.11         0.14          NA           NA           NA          0.13
                                            BC2F6 ................................................           NA           NA          NA           NA           NA          NA          NA            NA           NA           NA           NA           NA         0.045
                                            BC3F8 ................................................
                                                                                                       I     NA
                                                                                                                    I     NA
                                                                                                                                I     NA
                                                                                                                                            I      NA
                                                                                                                                                         I      NA
                                                                                                                                                                      I     NA
                                                                                                                                                                                  I     NA
                                                                                                                                                                                               I      NA
                                                                                                                                                                                                            I      NA
                                                                                                                                                                                                                          I     NA
                                                                                                                                                                                                                                      I      NA
                                                                                                                                                                                                                                                   I      NA
                                                                                                                                                                                                                                                                I      NA

                                                                                                                                                Remote plasma cleaning

                                            1–Ui ...................................................         NA           NA          NA           NA           NA          NA            NA          NA         0.028          NA           NA           NA           NA
                                            BCF4 ..................................................          NA           NA          NA           NA           NA          NA            NA          NA         0.015          NA           NA           NA           NA
                                            BC2F6 ................................................           NA           NA          NA           NA           NA          NA            NA          NA            NA          NA           NA           NA           NA
                                            BC3F8 ................................................
                                                                                                       I     NA
                                                                                                                    I     NA
                                                                                                                                I     NA           NA           NA          NA
                                                                                                                                                                                  I       NA
                                                                                                                                                                                               I      NA
                                                                                                                                                                                                            I       NA
                                                                                                                                                                                                                          I     NA
                                                                                                                                                                                                                                      I      NA           NA           NA

                                                                                                                                                In situ thermal cleaning

                                            1–Ui ...................................................         NA           NA          NA           NA           NA          NA            NA          NA           NA           NA           NA           NA           NA
                                            BCF4 ..................................................          NA           NA          NA           NA           NA          NA            NA          NA           NA           NA           NA           NA           NA
                                            BC2F6 ................................................           NA           NA          NA           NA           NA          NA            NA          NA           NA           NA           NA           NA           NA
                                            BC3F8 ................................................
                                                                                                       I     NA
                                                                                                                    I     NA
                                                                                                                                I     NA
                                                                                                                                            I      NA
                                                                                                                                                         I      NA
                                                                                                                                                                      I     NA
                                                                                                                                                                                  I       NA
                                                                                                                                                                                               I      NA
                                                                                                                                                                                                            I      NA
                                                                                                                                                                                                                          I     NA
                                                                                                                                                                                                                                      I      NA
                                                                                                                                                                                                                                                   I      NA
                                                                                                                                                                                                                                                                I      NA



                                            ■ 38. Add table I–20 to subpart I to read
                                            as follows:
lotter on DSK11XQN23PROD with RULES2




                                       VerDate Sep<11>2014            19:27 Apr 24, 2024               Jkt 262001   PO 00000        Frm 00123      Fmt 4701     Sfmt 4700        E:\FR\FM\25APR2.SGM             25APR2
lotter on DSK11XQN23PROD with RULES2




                           TABLE I–20 TO SUBPART I OF PART 98—REFERENCE EMISSION FACTORS (1–Uij) FOR GAS UTILIZATION RATES (Uij) AND BY-PRODUCT FORMATION RATES
                                                              (Bijk) FOR SEMICONDUCTOR MANUFACTURING FOR 300 MM WAFER SIZES
                                                                                                                                                                                                                                                                   31924


                                                                                                                                                                                      Process gas i




VerDate Sep<11>2014
                                                      Process type/sub-type
                                                                                                                              CF4       C2F6     CHF3        CH2F2     CH3F      C 3F 8         C4F8      NF3         SF6         C 4F 6         C 5F 8    C4F8O

                                                                                                                                                   Etching/Wafer Cleaning

                      1–Ui ...............................................................................................       0.68     0.80       0.35       0.15      0.34      0.30          0.16        0.17         0.28        0.17         0.10      NA
                      BCF4 .............................................................................................          NA      0.21     0.073      0.020     0.038       0.21         0.045      0.035       0.0072       0.034          0.11      NA
                      BC2F6 ............................................................................................        0.041      NA      0.040     0.0065    0.0064        0.18        0.030       0.038     0.0017         0.025       0.083       NA




19:27 Apr 24, 2024
                      BC4F6 ............................................................................................      0.0015       NA    0.00010         NA    0.0010         NA       0.00083         NA           NA          NA           NA       NA
                      BC4F8 ............................................................................................      0.0051       NA    0.00061         NA    0.0070         NA            NA         NA           NA          NA           NA       NA
                      BC3F8 ............................................................................................          NA       NA         NA         NA        NA         NA            NA         NA           NA          NA      0.00012       NA
                                                                                                                                                                                                                                                                                                                              USCA Case #24-1216




                      BC5F8 ............................................................................................          NA       NA         NA         NA        NA         NA            NA         NA           NA          NA           NA       NA
                      BCHF3 ...........................................................................................       0.0056       NA         NA      0.033    0.0049      0.012         0.029     0.0065      0.0012        0.019       0.0069       NA




Jkt 262001
                      BCH2F2 .........................................................................................         0.014       NA     0.0026         NA    0.0023         NA        0.0014    0.00086    0.000020     0.000030           NA       NA
                      BCH3F ...........................................................................................      0.00057       NA        0.12        NA        NA    0.00073            NA         NA       0.0082           NA          NA       NA

                                                                                                                                                        Chamber Cleaning




PO 00000
                                                                                                                                                   In situ plasma cleaning

                      1–Ui ...............................................................................................       NA        NA           NA      NA         NA             NA       NA        0.20           NA             NA        NA       NA
                      BCF4 .............................................................................................         NA        NA           NA      NA         NA             NA       NA       0.037           NA             NA        NA       NA




Frm 00124
                      BC2F6 ............................................................................................         NA        NA           NA      NA         NA             NA       NA          NA           NA             NA        NA       NA
                      BC3F8 ............................................................................................         NA        NA           NA      NA         NA             NA       NA          NA           NA             NA        NA       NA

                                                                                                                                                   Remote plasma cleaning




Fmt 4701
                                                                                                                                                                                                                                                                                                                              Document #2061464




                      1–Ui ...............................................................................................       NA        NA           NA      NA         NA       0.063          NA        0.018          NA             NA        NA       NA
                      BCF4 .............................................................................................         NA        NA           NA      NA         NA          NA          NA       0.038           NA             NA        NA       NA
                      BC2F6 ............................................................................................         NA        NA           NA      NA         NA          NA          NA          NA           NA             NA        NA       NA




Sfmt 4700
                      BC3F8 ............................................................................................         NA        NA           NA      NA         NA          NA          NA          NA           NA             NA        NA       NA
                      BCHF3 ...........................................................................................          NA        NA           NA      NA         NA          NA          NA    0.000059           NA             NA        NA       NA
                      BCH2F2 .........................................................................................           NA        NA           NA      NA         NA          NA          NA      0.0016           NA             NA        NA       NA
                      BCH3F ...........................................................................................          NA        NA           NA      NA         NA          NA          NA      0.0028           NA             NA        NA       NA

                                                                                                                                                   In situ thermal cleaning

                      1–Ui ...............................................................................................       NA        NA           NA      NA         NA             NA       NA        0.28           NA             NA        NA       NA
                      BCF4 .............................................................................................         NA        NA           NA      NA         NA             NA       NA       0.010           NA             NA        NA       NA




E:\FR\FM\25APR2.SGM
                      BC2F6 ............................................................................................         NA        NA           NA      NA         NA             NA       NA          NA           NA             NA        NA       NA
                      BC3F8 ............................................................................................         NA        NA           NA      NA         NA             NA       NA          NA           NA             NA        NA       NA
                                                                                                                                                                                                                                                                                                                              Filed: 06/24/2024




25APR2
                                                                                                                                                                                                                                                                   Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations
                                                                                                                                                                                                                                                                                                                              Page 129 of 164
                                                  USCA Case #24-1216                                   Document #2061464                             Filed: 06/24/2024               Page 130 of 164
                                                                    Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                               31925

                                            ■ 39. Add table I–21 to subpart I to read
                                            as follows:

                                                 TABLE I–21 TO SUBPART I OF PART 98—EXAMPLES OF FLUORINATED GHGS USED BY THE ELECTRONICS INDUSTRY
                                                            Product type                                                           Fluorinated GHGs used during manufacture

                                            Electronics .......................................   CF4, C2F6, C3F8, c-C4F8, c-C4F8O, C4F6, C5F8, CHF3, CH2F2, NF3, SF6, and fluorinated HTFs (CF3-(O-
                                                                                                   CF(CF3)-CF2)n-(O-CF2)m-O-CF3, CnF2n+2, CnF2n+1(O)CmF2m+1, CnF2nO, (CnF2n+1)3N).



                                            Subpart N—Glass Production                                      mineral mass fraction for each                        each continuous glass melting furnace
                                                                                                            carbonate-based raw material charged to               (tons).
                                            ■ 40. Revise and republish § 98.146 to                          a continuous glass melting furnace, as                   (3) Monthly amount (tons) of recycled
                                            read as follows:                                                specified in paragraphs (b)(5)(i) through             scrap glass (cullet) charged to each
                                                                                                            (iii) of this section.                                continuous glass melting furnace, by
                                            § 98.146       Data reporting requirements.                        (i) Date of test.                                  glass type.
                                               In addition to the information                                  (ii) Method(s) and any variations used                (4) Data on carbonate-based mineral
                                            required by § 98.3(c), each annual report                       in the analyses.                                      mass fractions provided by the raw
                                            must contain the information specified                             (iii) Mass fraction of each sample                 material supplier for all raw materials
                                            in paragraphs (a) and (b) of this section,                      analyzed.                                             consumed annually and included in
                                            as applicable.                                                     (6) [Reserved]                                     calculating process emissions in
                                               (a) If a CEMS is used to measure CO2                            (7) Method used to determine decimal               equation N–1 to § 98.143, if applicable.
                                            emissions, then you must report under                           fraction of calcination, unless you used                 (5) Results of all tests, if applicable,
                                            this subpart the relevant information                           the default value of 1.0.                             used to verify the carbonate-based
                                            required under § 98.36 for the Tier 4                              (8) Total number of continuous glass               mineral mass fraction for each
                                            Calculation Methodology and the                                 melting furnaces.                                     carbonate-based raw material charged to
                                            following information specified in                                 (9) The number of times in the                     a continuous glass melting furnace,
                                            paragraphs (a)(1) through (3) of this                           reporting year that missing data                      including the data specified in
                                            section:                                                        procedures were followed to measure
                                                                                                                                                                  paragraphs (b)(5)(i) through (v) of this
                                               (1) Annual quantity of each carbonate-                       monthly quantities of carbonate-based
                                                                                                                                                                  section.
                                            based raw material (tons) charged to                            raw materials, recycled scrap glass                      (i) Date of test.
                                            each continuous glass melting furnace                           (cullet), or mass fraction of the                        (ii) Method(s), and any variations of
                                            and for all furnaces combined.                                  carbonate-based minerals for any                      the methods, used in the analyses.
                                               (2) Annual quantity of glass produced                        continuous glass melting furnace                         (iii) Mass fraction of each sample
                                            (tons), by glass type, from each                                (months).                                             analyzed.
                                            continuous glass melting furnace and                            ■ 41. Amend § 98.147 by revising and                     (iv) Relevant calibration data for the
                                            from all furnaces combined.                                     republishing paragraphs (a) and (b) to                instrument(s) used in the analyses.
                                               (3) Annual quantity (tons), by glass                         read as follows:                                         (v) Name and address of laboratory
                                            type, of recycled scrap glass (cullet)                                                                                that conducted the tests.
                                                                                                            § 98.147    Records that must be retained.
                                            charged to each continuous glass                                                                                         (6) The decimal fraction of calcination
                                                                                                            *      *     *     *    *                             achieved for each carbonate-based raw
                                            melting furnace and for all furnaces                               (a) If a CEMS is used to measure
                                            combined.                                                                                                             material, if a value other than 1.0 is
                                                                                                            emissions, then you must retain the                   used to calculate process mass
                                               (b) If a CEMS is not used to determine                       records required under § 98.37 for the
                                            CO2 emissions from continuous glass                                                                                   emissions of CO2.
                                                                                                            Tier 4 Calculation Methodology and the
                                            melting furnaces, and process CO2                                                                                     *       *    *      *    *
                                                                                                            following information specified in
                                            emissions are calculated according to                           paragraphs (a)(1) through (3) of this
                                            the procedures specified in § 98.143(b),                                                                              Subpart P—Hydrogen Production
                                                                                                            section:
                                            then you must report the following                                 (1) Monthly glass production rate for              ■ 42. Revise § 98.160 to read as follows:
                                            information as specified in paragraphs                          each continuous glass melting furnace,
                                            (b)(1) through (9) of this section:                             by glass type (tons).                                 § 98.160    Definition of the source category.
                                               (1) Annual process emissions of CO2                             (2) Monthly amount of each                            (a) A hydrogen production source
                                            (metric tons) for each continuous glass                         carbonate-based raw material charged to               category consists of facilities that
                                            melting furnace and for all furnaces                            each continuous glass melting furnace                 produce hydrogen gas as a product.
                                            combined.                                                       (tons).                                                  (b) This source category comprises
                                               (2) Annual quantity of each carbonate-                          (3) Monthly amount (tons) of recycled              process units that produce hydrogen by
                                            based raw material charged (tons) to all                        scrap glass (cullet) charged to each                  reforming, gasification, oxidation,
                                            furnaces combined.                                              continuous glass melting furnace, by                  reaction, or other transformations of
                                               (3) Annual quantity of glass produced                        glass type.                                           feedstocks except the processes listed in
                                            (tons), by glass type, from each                                   (b) If process CO2 emissions are                   paragraph (b)(1) or (2) of this section.
                                            continuous glass melting furnace and                            calculated according to the procedures                   (1) Any process unit for which
                                            from all furnaces combined.                                     specified in § 98.143(b), you must retain             emissions are reported under another
                                               (4) Annual quantity (tons), by glass                         the records in paragraphs (b)(1) through              subpart of this part. This includes, but
lotter on DSK11XQN23PROD with RULES2




                                            type, of recycled scrap glass (cullet)                          (6) of this section.                                  is not necessarily limited to:
                                            charged to each continuous glass                                   (1) Monthly glass production rate for                 (i) Ammonia production units for
                                            melting furnace and for all furnaces                            each continuous glass melting furnace,                which emissions are reported under
                                            combined.                                                       by glass type (tons).                                 subpart G.
                                               (5) Results of all tests, if applicable,                        (2) Monthly amount of each                            (ii) Catalytic reforming units at
                                            used to verify the carbonate-based                              carbonate-based raw material charged to               petroleum refineries that transform


                                       VerDate Sep<11>2014       19:27 Apr 24, 2024       Jkt 262001   PO 00000   Frm 00125   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 131 of 164
                                            31926              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            naphtha into higher octane aromatics for                that reports CO2 emissions using a                    annually for standard liquid
                                            which emissions are reported under                      CEMS that complies with the Tier 4                    hydrocarbon fuels and feedstocks
                                            subpart Y.                                              Calculation Methodology in subpart C of               having consistent composition, or upon
                                               (iii) Petrochemical process units for                this part, then the owner or operator                 delivery for liquid fuels and feedstocks
                                            which emissions are reported under                      shall report under this subpart the                   delivered by bulk transport (e.g., by
                                            subpart X.                                              combined stack emissions according to                 truck or rail) according to paragraph
                                               (2) Any process unit that only                       the Tier 4 Calculation Methodology in                 (b)(5) of this section. For liquid fuels
                                            separates out diatomic hydrogen from a                  § 98.33(a)(4) and all associated                      and feedstocks that have a maximum
                                            gaseous mixture and is not associated                   requirements for Tier 4 in subpart C of               product specification for carbon content
                                            with a unit that produces hydrogen                      this part. If GHG emissions from a                    less than or equal to 0.00006 kg carbon
                                            created by transformation of one or                     hydrogen production process unit using                per gallon of liquid fuel or feedstock,
                                            more feedstocks, other than those listed                a CEMS that complies with the Tier 4                  you may instead determine the carbon
                                            in paragraph (b)(1) of this section.                    Calculation Methodology in subpart C of               content annually using the product
                                               (c) This source category includes the                this part does not include combustion                 specification’s maximum carbon
                                            process units that produce hydrogen                     emissions from the hydrogen                           content.
                                            and stationary combustion units directly                production unit (i.e. , the hydrogen                     (4) Determine the carbon content of
                                            associated with hydrogen production                     production unit has separate stacks for               coal, coke, and other solid fuels and
                                            (e.g. , reforming furnace and hydrogen                  process and combustion emissions),                    feedstocks at least monthly, except
                                            production process unit heater).                        then the calculation methodology in                   annually for standard solid hydrocarbon
                                            ■ 43. Amend § 98.162 by revising                        paragraph (b) of this section shall be                fuels and feedstocks having consistent
                                            paragraph (a) to read as follows:                       used considering only fuel inputs to                  composition, or upon delivery for solid
                                                                                                    calculate and report CO2 emissions from               fuels and feedstocks delivered by bulk
                                            § 98.162   GHGs to report.                              fuel combustion related to the hydrogen               transport (e.g., by truck or rail)
                                            *     *     *    *     *                                production unit.                                      according to paragraph (b)(5) of this
                                              (a) CO2 emissions from each hydrogen                  ■ 45. Amend § 98.164 by:                              section.
                                            production process unit, including fuel                 ■ a. Revising the introductory text,                     (5) Except as provided in paragraphs
                                            combustion emissions accounted for in                   paragraphs (b)(2) through (4), and (b)(5)             (b)(2) and (3) of this section for fuels
                                            the calculation methodologies in                        introductory text; and                                and feedstocks with a carbon content
                                            § 98.163.                                               ■ b. Adding paragraphs (b)(5)(xix) and                below the specified levels, you must use
                                            *     *     *    *     *                                (c).                                                  the following applicable methods to
                                                                                                       The revisions and additions read as                determine the carbon content for all
                                            ■ 44. Amend § 98.163 by revising the
                                                                                                    follows:                                              fuels and feedstocks, and molecular
                                            introductory text, paragraph (b)
                                            introductory text, and paragraph (c) to                 § 98.164 Monitoring and QA/QC                         weight of gaseous fuels and feedstocks.
                                            read as follows:                                        requirements.                                         Alternatively, you may use the results of
                                                                                                      The GHG emissions data for hydrogen                 chromatographic analysis of the fuel
                                            § 98.163   Calculating GHG emissions.                                                                         and feedstock, provided that the
                                                                                                    production process units must be
                                               You must calculate and report the                    quality-assured as specified in                       chromatograph is operated, maintained,
                                            annual CO2 emissions from each                          paragraph (a) or (b) of this section, as              and calibrated according to the
                                            hydrogen production process unit using                  appropriate for each process unit,                    manufacturer’s instructions; and the
                                            the procedures specified in paragraphs                  except as provided in paragraph (c) of                methods used for operation,
                                            (a) through (c) of this section, as                     this section:                                         maintenance, and calibration of the
                                            applicable.                                                                                                   chromatograph are documented in the
                                                                                                    *     *     *     *     *
                                            *      *    *     *      *                                (b) * * *                                           written monitoring plan for the unit
                                               (b) Fuel and feedstock material                        (2) Determine the carbon content and                under § 98.3(g)(5).
                                            balance approach. Calculate and report                  the molecular weight annually of                      *      *     *     *     *
                                            CO2 emissions as the sum of the annual                  standard gaseous hydrocarbon fuels and                   (xix) For fuels and feedstocks with a
                                            emissions associated with each fuel and                 feedstocks having consistent                          carbon content below the specified
                                            feedstock used for each hydrogen                        composition (e.g., natural gas) according             levels in paragraphs (b)(2) and (3) of this
                                            production process unit by following                    to paragraph (b)(5) of this section. For              section, if the methods listed in
                                            paragraphs (b)(1) through (3) of this                   gaseous fuels and feedstocks that have                paragraphs (b)(5)(i) through (xviii) of
                                            section. The carbon content and                         a maximum product specification for                   this section are not appropriate because
                                            molecular weight shall be obtained from                 carbon content less than or equal to                  the relevant compounds cannot be
                                            the analyses conducted in accordance                    0.00002 kg carbon per kg of gaseous fuel              detected, the quality control
                                            with § 98.164(b)(2), (3), or (4), as                    or feedstock, you may instead determine               requirements are not technically
                                            applicable, or from the missing data                    the carbon content and the molecular                  feasible, or use of the method would be
                                            procedures in § 98.165. If the analyses                 weight annually using the product                     unsafe, you may use modifications of
                                            are performed annually, then the annual                 specification’s maximum carbon content                the methods listed in paragraphs
                                            value shall be used as the monthly                      and molecular weight. For other gaseous               (b)(5)(i) through (xviii) or use other
                                            average. If the analyses are performed                  fuels and feedstocks (e.g., biogas,                   methods that are applicable to your fuel
                                            more frequently than monthly, use the                   refinery gas, or process gas), sample and             or feedstock.
                                            arithmetic average of values obtained                   analyze no less frequently than weekly                   (c) You may use best available
                                            during the month as the monthly                         to determine the carbon content and                   monitoring methods as specified in
lotter on DSK11XQN23PROD with RULES2




                                            average.                                                molecular weight of the fuel and                      paragraph (c)(2) of this section for
                                            *      *    *     *      *                              feedstock according to paragraph (b)(5)               measuring the fuel used by each
                                               (c) If GHG emissions from a hydrogen                 of this section.                                      stationary combustion unit directly
                                            production process unit are vented                        (3) Determine the carbon content of                 associated with hydrogen production
                                            through the same stack as any                           fuel oil, naphtha, and other liquid fuels             (e.g., reforming furnace and hydrogen
                                            combustion unit or process equipment                    and feedstocks at least monthly, except               production process unit heater) that


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00126   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 132 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31927

                                            meets the criteria specified in paragraph                  (d) The information specified in                   reforming furnace and hydrogen
                                            (c)(1) of this section. Eligibility to use              paragraphs (d)(1) through (10):                       production process unit heater).
                                            best available monitoring methods ends                     (1) The type of hydrogen production                  (ii) The anticipated or actual end date
                                            upon the completion of any planned                      unit (steam methane reformer (SMR)                    of using best available monitoring
                                            process unit or equipment shutdown                      only, SMR followed by water gas shift                 methods, as applicable, in accordance
                                            after January 1, 2025.                                  reaction (WGS), partial oxidation (POX)               with § 98.164(c), to determine fuel flow
                                               (1) To be eligible to use best available             only, POX followed by WGS,                            for each stationary combustion unit
                                            monitoring methods, you must meet all                   autothermal reforming only,                           directly associated with hydrogen
                                            criteria in paragraphs (c)(1)(i) through                autothermal reforming followed by                     production (e.g., reforming furnace and
                                            (iv) of this section.                                   WGS, water electrolysis, brine                        hydrogen production process unit
                                               (i) The stationary combustion unit                   electrolysis, other (specify)).                       heater).
                                            must be directly associated with                           (2) The type of hydrogen purification
                                            hydrogen production (e.g., reforming                    method (pressure swing adsorption,                    ■ 47. Amend § 98.167 by:
                                            furnace and hydrogen production                         amine adsorption, membrane                            ■ a. Revising paragraphs (a) and (b);
                                            process unit heater).                                   separation, other (specify), none).
                                                                                                                                                          ■ b. Removing and reserving paragraph
                                               (ii) A measurement device meeting                       (3) Annual quantity of hydrogen
                                                                                                    produced by reforming, gasification,                  (c); and
                                            the requirements in paragraph (b)(1) of
                                            this section is not installed to measure                oxidation, reaction, or other                         ■ c. Revising paragraphs (d) and (e)
                                            the fuel used by each stationary                        transformation of feedstocks (metric                  introductory text.
                                            combustion unit as of January 1, 2025.                  tons).                                                  The revisions read as follows:
                                               (iii) The hydrogen production unit                      (4) Annual quantity of hydrogen that
                                            and associated stationary combustion                    is purified only (metric tons). This                  § 98.167    Records that must be retained.
                                            unit are operated continuously.                         quantity may be assumed to be equal to                *      *     *    *     *
                                               (iv) Installation of a measurement                   the annual quantity of hydrogen in the                  (a) If a CEMS is used to measure CO2
                                            device to measure the fuel used by each                 feedstocks to the hydrogen production                 emissions, then you must retain under
                                            stationary combustion unit that meets                   unit.                                                 this subpart the records required for the
                                            the requirements in paragraph (b)(1) of                    (5) Annual quantity of ammonia                     Tier 4 Calculation Methodology in
                                            this section must require a planned                     intentionally produced as a desired                   § 98.37, and, if the CEMS measures
                                            process equipment or unit shutdown or                   product, if applicable (metric tons).                 emissions from a common stack for
                                            can only be done through a hot tap.                        (6) Quantity of CO2 collected and                  multiple hydrogen production units or
                                               (2) Best available monitoring methods                transferred off site in either gas, liquid,           emissions from a common stack for
                                            means any of the following methods:                     or solid forms, following the                         hydrogen production unit(s) and other
                                               (i) Monitoring methods currently used                requirements of subpart PP of this part.              source(s), records used to estimate the
                                            by the facility that do not meet the                       (7) Annual quantity of carbon other
                                                                                                                                                          decimal fraction of the total annual CO2
                                            specifications of this subpart.                         than CO2 or methanol collected and
                                                                                                                                                          emissions from the CEMS monitoring
                                               (ii) Supplier data.                                  transferred off site or transferred to a
                                                                                                                                                          location attributable to each hydrogen
                                               (iii) Engineering calculations.                      separate process unit within the facility
                                                                                                                                                          production unit.
                                               (iv) Other company records.                          for which GHG emissions associated
                                            ■ 46. Revise § 98.166 to read as follows:               with this carbon is being reported under                 (b) You must retain records of all
                                                                                                    other provisions of this part, in either              analyses and calculations conducted to
                                            § 98.166   Data reporting requirements.                 gas, liquid, or solid forms (metric tons              determine the values reported in
                                               In addition to the information                       carbon).                                              § 98.166(b).
                                            required by § 98.3(c), each annual report                  (8) Annual quantity of methanol                    *      *     *    *     *
                                            must contain the following information                  intentionally produced as a desired                      (d) The owner or operator must
                                            for each hydrogen production process                    product, if applicable, (metric tons) for             document the procedures used to ensure
                                            unit:                                                   each process unit.                                    the accuracy of the estimates of fuel and
                                               (a) The unit identification number.                     (9) Annual net quantity of steam                   feedstock usage in § 98.163(b),
                                               (b) If a CEMS is used to measure CO2                 consumed by the unit, (metric tons).                  including, but not limited to, calibration
                                            emissions, then you must report the                     Include steam purchased or produced                   of weighing equipment, fuel and
                                            relevant information required under                     outside of the hydrogen production                    feedstock flow meters, and other
                                            § 98.36 for the Tier 4 Calculation                      unit. If the hydrogen production unit is              measurement devices. The estimated
                                            Methodology. If the CEMS measures                       a net producer of steam, enter the                    accuracy of measurements made with
                                            emissions from either a common stack                    annual net quantity of steam consumed                 these devices must also be recorded,
                                            for multiple hydrogen production units                  by the unit as a negative value.                      and the technical basis for these
                                            or a common stack for hydrogen                             (10) An indication (yes or no) if best
                                                                                                                                                          estimates must be provided.
                                            production unit(s) and other source(s),                 available monitoring methods were
                                            you must also report the estimated                      used, in accordance with § 98.164(c), to                 (e) The applicable verification
                                            decimal fraction of the total annual CO2                determine fuel flow for each stationary               software records as identified in this
                                            emissions attributable to this hydrogen                 combustion unit directly associated                   paragraph (e). You must keep a record
                                            production process unit (estimated                      with hydrogen production (e.g.,                       of the file generated by the verification
                                            using engineering estimates or best                     reforming furnace and hydrogen                        software specified in § 98.5(b) for the
                                            available data).                                        production process unit heater). If yes,              applicable data specified in paragraphs
                                               (c) If a material balance is used to                 report:                                               (e)(1) through (12) of this section.
lotter on DSK11XQN23PROD with RULES2




                                            calculate emissions using equations P–                     (i) The beginning date of using best               Retention of this file satisfies the
                                            1 through P–3 to § 98.163, as applicable,               available monitoring methods, in                      recordkeeping requirement for the data
                                            report the total annual CO2 emissions                   accordance with § 98.164(c), to                       in paragraphs (e)(1) through (12) of this
                                            (metric tons) and the name and annual                   determine fuel flow for each stationary               section for each hydrogen production
                                            quantity (metric tons) of each carbon-                  combustion unit directly associated                   unit.
                                            containing fuel and feedstock.                          with hydrogen production (e.g.,                       *      *     *    *     *


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00127   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                                 Filed: 06/24/2024             Page 133 of 164
                                            31928              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Subpart Q—Iron and Steel Production                     § 98.173     Calculating GHG emissions.
                                                                                                    *         *    *       *          *
                                            ■ 48. Amend § 98.173 by revising                              (b) * * *
                                            equation Q–5 in paragraph (b)(1)(v) to                        (1) * * *
                                            read as follows:                                              (v) * * *


                                                    CO2 = :: * [(Iron) * (Ciron) + (Scrap) * ( Cscrap) + (Flux) * (CF!ux) + (Electrode) * (Cmectrode) + (Carbon) * (Ccarbon) -

                                                                                                                                                                                        (Eq. Q-5)

                                            *      *     *       *       *                          the average carbon content determined                      (2) Whether the carbon content was
                                            ■ 49. Amend § 98.174 by:                                by collecting and analyzing at least                     determined from information from the
                                            ■ a. Revising paragraph (b)(2)                          three samples each year using the                        supplier, material recycler, or by
                                            introductory text;                                      standard methods specified in                            laboratory analysis, and if by laboratory
                                            ■ b. Redesignating paragraph (b)(2)(vi)                 paragraphs (b)(2)(i) through (vii) of this               analysis, the method used in
                                            as paragraph (b)(2)(vii); and                           section as applicable.                                   § 98.174(b)(2).
                                            ■ c. Adding new paragraph (b)(2)(vi).                   *      *    *     *     *                                *     *     *    *     *
                                              The revision and addition read as                                                                                (g) For each unit, the type of unit, the
                                                                                                      (vi) ASTM E415–17, Standard Test
                                            follows:                                                                                                         annual production capacity, and annual
                                                                                                    Method for Analysis of Carbon and
                                                                                                                                                             operating hours.
                                            § 98.174 Monitoring and QA/QC                           Low-Alloy Steel by Spark Atomic
                                            requirements.                                           Emission Spectrometry (incorporated by                   *     *     *    *     *
                                            *     *      *     *     *                              reference, see § 98.7) as applicable for
                                                                                                                                                             Subpart S—Lime Manufacturing
                                              (b) * * *                                             steel.
                                              (2) Except as provided in paragraph                   *      *    *     *     *                                ■ 51. Amend § 98.193 by revising
                                            (b)(4) of this section, determine the                                                                            equation S–4 in paragraph (b)(2)(iv) to
                                            carbon content of each process input                    ■ 50. Amend § 98.176 by revising
                                                                                                                                                             read as follows:
                                            and output annually for use in the                      paragraphs (e)(2) and adding paragraph
                                            applicable equations in § 98.173(b)(1)                  (g) to read as follows:                                  § 98.193    Calculating GHG emissions.
                                            based on analyses provided by the                       § 98.176     Data reporting requirements.
                                                                                                                                                             *       *    *     *      *
                                            supplier, analyses provided by material                                                                              (b) * * *
                                            recyclers who manage process outputs                    *         *    *       *          *                          (2) * * *
                                            for sale or use by other industries, or by                    (e) * * *                                              (iv) * * *

                                                                             t    12                                              b       12                                    z

                                                       Eco2,net      =   II
                                                                         i=1 n=1
                                                                                       (EFLIME,i,n * MLIME,i,n) +              II i=1 n=1
                                                                                                                                               (EFLKD,i,n * MLKD,i,n) +        L
                                                                                                                                                                               i=1
                                                                                                                                                                                     Ewaste,i



                                                                                                                                                                                      (Eq. S--4)

                                            *     *     *    *    *                                   (9) Annual arithmetic average of                       of calcined lime byproduct/waste not
                                            ■ 52. Amend § 98.196 by:
                                                                                                    calcium oxide content for each type of                   sold (metric tons MgO/metric ton lime)
                                                                                                    lime product produced (metric tons                         (b) If a CEMS is not used to measure
                                            ■ a. Revising paragraph (a) introductory
                                                                                                    CaO/metric ton lime).                                    CO2 emissions, then you must report the
                                            text;
                                                                                                      (10) Annual arithmetic average of                      information listed in paragraphs (b)(1)
                                            ■ b. Adding paragraphs (a)(9) through                                                                            through (23) of this section.
                                                                                                    magnesium oxide content for each type
                                            (14);                                                   of lime product produced (metric tons                    *      *     *     *    *
                                            ■ c. Revising paragraphs (b)                            MgO/metric ton lime).                                      (17) Indicate whether CO2 was
                                            introductory text and (b)(17); and                        (11) Annual arithmetic average of                      captured and used on-site (e.g., for use
                                            ■ d. Adding paragraphs (b)(22) and (23).                calcium oxide content for each type of                   in a purification process, the
                                              The revisions and additions read as                   calcined lime byproduct/waste sold                       manufacture of another product). If CO2
                                            follows:                                                (metric tons CaO/metric ton lime).                       was captured and used on-site, provide
                                                                                                      (12) Annual arithmetic average of                      the information in paragraphs (b)(17)(i)
                                            § 98.196   Data reporting requirements.
                                                                                                    magnesium oxide content for each type                    and (ii) of this section.
                                            *      *     *    *    *                                of calcined lime byproduct/waste sold                      (i) The annual amount of CO2
                                               (a) If a CEMS is used to measure CO2                 (metric tons MgO/metric ton lime).                       captured for use in all on-site processes.
lotter on DSK11XQN23PROD with RULES2




                                            emissions, then you must report under                     (13) Annual arithmetic average of                        (ii) The method used to determine the
                                                                                                                                                                                                          ER25AP24.041</GPH>




                                            this subpart the relevant information                   calcium oxide content for each type of                   amount of CO2 captured.
                                            required by § 98.36 and the information                 calcined lime byproduct/waste not sold                   *      *     *     *    *
                                            listed in paragraphs (a)(1) through (14)                (metric tons CaO/metric ton lime).                         (22) Annual average results of
                                            of this section.                                          (14) Annual arithmetic average of                      chemical composition analysis of all
                                                                                                                                                                                                          ER25AP24.040</GPH>




                                            *      *     *    *    *                                magnesium oxide content for each type                    lime byproducts or wastes not sold.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00128   Fmt 4701    Sfmt 4700    E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 134 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                            31929

                                              (23) Annual quantity (tons) of all lime               process unit (metric tons). If you are                group of units (as applicable) that burns
                                            byproducts or wastes not sold.                          electing to consider the petrochemical                ethylene process off-gas, provide an
                                                                                                    process unit to be the entire integrated              estimate based on engineering judgment
                                            Subpart U—Miscellaneous Uses of                         ethylene dichloride/vinyl chloride                    of the fraction of the total emissions that
                                            Carbonate                                               monomer process, the portion of the                   is attributable to combustion of off-gas
                                                                                                    total amount of ethylene dichloride                   from the ethylene process unit.
                                            ■ 53. Amend § 98.210 by revising
                                                                                                    (EDC) produced that is used in vinyl                     (3) Information listed in § 98.256(e)
                                            paragraph (b) to read as follows:                       chloride monomer (VCM) production                     for each flare that burns ethylene
                                            § 98.210   Definition of the source category.           may be a measured quantity or an                      process off-gas. Additionally, provide
                                            *     *     *    *     *                                estimate that is based on process                     estimates based on engineering
                                              (b) This source category does not                     knowledge and best available data. The                judgment of the fractions of the total
                                            include equipment that uses carbonates                  portion of the total amount of EDC                    CO2, CH4 and N2O emissions that are
                                            or carbonate containing minerals that                   produced that is not utilized in VCM                  attributable to combustion of off-gas
                                            are consumed in the production of                       production must be measured in                        from the ethylene process unit(s) served
                                            cement, glass, ferroalloys, iron and steel,             accordance with § 98.244(b)(2) or (3).                by the flare.
                                            lead, lime, phosphoric acid, pulp and                   Sum the amount of EDC used in the                        (4) Name and annual quantity of each
                                            paper, soda ash, sodium bicarbonate,                    production of VCM plus the amount of                  carbon-containing feedstock (metric
                                            sodium hydroxide, zinc, or ceramics.                    separate EDC product to report as the                 tons).
                                                                                                    total quantity of EDC petrochemical                      (5) Annual quantity of ethylene
                                            *     *     *    *     *                                                                                      produced from each process unit (metric
                                                                                                    from an integrated EDC/VCM
                                            Subpart X-Petrochemical Production                      petrochemical process unit.                           tons).
                                                                                                    *     *      *    *     *                                (6) Name and annual quantity (in
                                            ■ 54. Amend § 98.243 by revising                          (13) Name and annual quantity (in                   metric tons) of each product produced
                                            paragraphs (b)(3) and (d)(5) to read as                 metric tons) of each product included in              in each process unit.
                                            follows:                                                equations X–1, X–2, and X–3 to
                                                                                                    § 98.243. If you are electing to consider             Subpart Y—Petroleum Refineries
                                            § 98.243   Calculating GHG emissions.
                                                                                                    the petrochemical process unit to be the              ■ 57. Amend § 98.250 by revising
                                            *     *    *     *      *                               entire integrated ethylene dichloride/
                                              (b) * * *                                                                                                   paragraph (c) to read as follows:
                                                                                                    vinyl chloride monomer process, the
                                              (3) For each flare, calculate CO2, CH4,               reported quantity of EDC product                      § 98.250    Definition of source category.
                                            and N2O emissions using the                             should include only that which was not                *     *     *     *     *
                                            methodology specified in § 98.253(b).                   used in the VCM process.                                (c) This source category consists of
                                            *     *    *     *      *                               *     *      *    *     *                             the following sources at petroleum
                                              (d) * * *                                               (15) For each gaseous feedstock or                  refineries: Catalytic cracking units; fluid
                                              (5) For each flare, calculate CO2, CH4,               product for which the volume was used                 coking units; delayed coking units;
                                            and N2O emissions using the                             in equation X–1 to § 98.243, report the               catalytic reforming units; asphalt
                                            methodology specified in § 98.253(b).                   annual average molecular weight of the                blowing operations; blowdown systems;
                                            ■ 55. Amend § 98.244 by revising                        measurements or determinations,                       storage tanks; process equipment
                                            paragraph (b)(4)(iii) to read as follows:               conducted according to § 98.243(c)(3) or              components (compressors, pumps,
                                            § 98.244 Monitoring and QA/QC
                                                                                                    (4). Report the annual average molecular              valves, pressure relief devices, flanges,
                                            requirements.                                           weight in units of kg per kg mole.                    and connectors) in gas service; marine
                                                                                                      (b) * * *                                           vessel, barge, tanker truck, and similar
                                            *      *    *     *      *                                (7) Information listed in § 98.256(e)               loading operations; flares; and sulfur
                                              (b) * * *                                             for each flare that burns process off-gas.            recovery plants.
                                              (4) * * *                                             Additionally, provide estimates based
                                              (iii) ASTM D2505–88 (Reapproved                                                                             § 98.252    [Amended]
                                                                                                    on engineering judgment of the fractions
                                            2004)e1 (incorporated by reference, see
                                                                                                    of the total CO2, CH4 and N2O emissions               ■ 58. Amend § 98.252 by removing and
                                            § 98.7).
                                                                                                    that are attributable to combustion of                reserving paragraphs (e) and (i).
                                            *      *    *     *      *                              off-gas from the petrochemical process                ■ 59. Amend § 98.253 by:
                                            ■ 56. Amend § 98.246 by revising                        unit(s) served by the flare.                          ■ a. Revising the introductory text of
                                            paragraphs (a) introductory text, (a)(2),                 (8) Annual quantity of each type of                 paragraphs (b) and (c);
                                            (5), (13) and (15), (b)(7) and (8), and (c)             petrochemical produced from each                      ■ b. Revising and republishing
                                            to read as follows:                                     process unit (metric tons).                           paragraphs (c)(4) and (5);
                                            § 98.246   Data reporting requirements.                 *     *      *    *     *                             ■ c. Revising paragraph (e) introductory
                                                                                                      (c) If you comply with the combustion               text;
                                            *     *     *     *    *                                methodology specified in § 98.243(d),                 ■ d. Removing and reserving paragraph
                                              (a) If you use the mass balance                       you must report under this subpart the
                                            methodology in § 98.243(c), you must                                                                          (g); and
                                                                                                    information listed in paragraphs (c)(1)               ■ e. Revising and republishing
                                            report the information specified in                     through (6) of this section.
                                            paragraphs (a)(1) through (15) of this                                                                        paragraphs (i)(2) and (5).
                                                                                                      (1) The ethylene process unit ID or                   The revisions read as follows:
                                            section for each type of petrochemical                  other appropriate descriptor.
                                            produced, reported by process unit.                       (2) For each stationary combustion                  § 98.253    Calculating GHG emissions.
lotter on DSK11XQN23PROD with RULES2




                                            *     *     *     *    *                                unit that burns ethylene process off-gas              *      *     *     *     *
                                              (2) The type of petrochemical                         (or group of stationary sources with a                   (b) For flares, calculate GHG
                                            produced.                                               common pipe), except flares, the                      emissions according to the requirements
                                            *     *     *     *    *                                relevant information listed in § 98.36 for            in paragraphs (b)(1) through (3) of this
                                              (5) Annual quantity of each type of                   the applicable Tier methodology. For                  section. All gas discharged through the
                                            petrochemical produced from each                        each stationary combustion unit or                    flare stack must be included in the flare


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00129   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                                  Filed: 06/24/2024               Page 135 of 164
                                            31930              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            GHG emissions calculations with the                       malfunction events of 500,000 scf/day                    in paragraphs (c)(1) through (5) of this
                                            exception of the following, which may                     or less.                                                 section.
                                            be excluded as applicable: gas used for                   *      *     *     *     *                               *      *    *      *    *
                                            the flare pilots, and if using the                                                                                    (4) Calculate CH4 emissions using
                                                                                                         (c) For catalytic cracking units and
                                            calculation method in paragraph                                                                                    either unit specific measurement data, a
                                                                                                      traditional fluid coking units, calculate
                                            (b)(1)(iii) of this section, the gas released                                                                      unit-specific emission factor based on a
                                                                                                      the GHG emissions from coke burn-off
                                            during start-up, shutdown, or                                                                                      source test of the unit, or equation Y–
                                                                                                      using the applicable methods described                   9 to this section.


                                                                                  CH
                                                                                       4
                                                                                           = (co 2 * EmF2)
                                                                                                     EmF 1
                                                                                                                                                                   (Eq. Y-9)

                                            Where:                                                    EmF1 = Default CO2 emission factor for                      (5) Calculate N2O emissions using
                                            CH4 = Annual methane emissions from coke                     petroleum coke from table C–1 to subpart              either unit specific measurement data, a
                                                burn-off (metric tons CH4/year).                         C of this part (kg CO2/MMBtu).                        unit-specific emission factor based on a
                                            CO2 = Emission rate of CO2 from coke burn-                EmF2 = Default CH4 emission factor for                   source test of the unit, or equation Y–
                                                off calculated in paragraphs (c)(1), (c)(2),             ‘‘PetroleumProducts’’ from table C–2 to
                                                (e)(1), or (e)(2) of this section, as                                                                          10 to this section.
                                                                                                         subpart C of this part (kg CH4/MMBtu).
                                                applicable (metric tons/year).


                                                                                  N O = (co * EmF3)                                                             (Eq. Y-10)
                                                                                   2              2       EmF1


                                            Where:                                                    EmF3 = Default N2O emission factor for                   described in paragraphs (c)(4) and (5) of
                                            N2O = Annual nitrous oxide emissions from                    ‘‘PetroleumProducts’’ from table C–2 to               this section, respectively.
                                                                                                         subpart C of this part (kg N2O/MMBtu).
                                                coke burn-off (mt N2O/year).                                                                                   *      *     *    *    *
                                            CO2 = Emission rate of CO2 from coke burn-                *      *     *    *     *
                                                off calculated in paragraphs (c)(1), (c)(2),                                                                      (i) * * *
                                                                                                        (e) For catalytic reforming units,
                                                (e)(1), or (e)(2) of this section, as                 calculate the CO2 emissions from coke                       (2) Determine the typical mass of
                                                applicable (metric tons/year).                        burn-off using the applicable methods                    water in the delayed coking unit vessel
                                            EmF1 = Default CO2 emission factor for                    described in paragraphs (e)(1) through                   at the end of the cooling cycle prior to
                                                petroleum coke from table C–1 to subpart              (3) of this section and calculate the CH4                venting to the atmosphere using
                                                C of this part (kg CO2/MMBtu).                        and N2O emissions using the methods                      equation Y–18b to this section.


                                                                    Mwater= Pwater X             (cttwater) X -       TIXD 2
                                                                                                                        4-     -
                                                                                                                                   fcokeXMcoke)
                                                                                                                                     P     .                                (Eq. Y-18b)
                                                                                                                                       particle



                                            Where:                                                          water level at the end of the cooling                    determined in paragraph (i)(1) of this
                                            Mwater = Mass of water in the delayed coking                    cycle just prior to atmospheric venting or               section.
                                                 unit vessel at the end of the cooling cycle                draining (feet) from company records or            ρparticle = Particle density of coke (metric tons
                                                 just prior to atmospheric venting or                       engineering estimates.                                   per cubic feet; mt/ft3). Use the default
                                                 draining (metric tons/cycle).                        fcoke = Fraction of the coke-filled bed that is                value of 0.0382 mt/ft3.
                                            ρwater = Density of water at average                            covered by water at the end of the                 D = Diameter of delayed coking unit vessel
                                                 temperature of the delayed coking unit                     cooling cycle just prior to atmospheric                  (feet).
                                                 vessel at the end of the cooling cycle just                venting or draining. Use 1 if the water
                                                 prior to atmospheric venting (metric tons                  fully covers coke-filled portion of the            *     *    *     *    *
                                                 per cubic feet; mt/ft3). Use the default                   coke drum.                                           (5) Calculate the CH4 emissions from
                                                 value of 0.0270 mt/ft3.                              Mcoke = Typical dry mass of coke in the                  decoking operations at each delayed
                                            Hwater = Typical distance from the bottom of                    delayed coking unit vessel at the end of           coking unit using equation Y–18f to this            ER25AP24.045</GPH>

                                                 the coking unit vessel to the top of the                   the coking cycle (metric tons/cycle) as            section.


                                                                        CH4 = Msteam X EmFocu X N X 0.001                                                               (Eq. Y-18f)
                                                                                                                                                                                                                   ER25AP24.044</GPH>




                                            Where:                                                    EmFDCU = Methane emission factor for                         coking unit vessels associated with the
                                            CH4 = Annual methane emissions from the                       delayed coking unit (kilograms CH4 per                   delayed coking unit during the year.
                                                 delayed coking unit decoking operations                  metric ton of steam; kg CH4/mt steam)                0.001 = Conversion factor (metric ton/kg).
lotter on DSK11XQN23PROD with RULES2




                                                                                                          from unit-specific measurement data. If
                                                                                                                                                                                                                   ER25AP24.043</GPH>




                                                 (metric ton/year).
                                                                                                          you do not have unit-specific                        *        *     *    *      *
                                            Msteam = Mass of steam generated and
                                                 released per decoking cycle (metric tons/                measurement data, use the default value              ■ 60. Amend § 98.254 by:
                                                 cycle) as determined in paragraph (i)(4)                 of 7.9 kg CH4/metric ton steam.
                                                                                                                                                               ■ a. Revising the introductory text of
                                                 of this section.                                     N = Cumulative number of decoking cycles
                                                                                                                                                               paragraphs (d) and (e); and
                                                                                                                                                                                                                   ER25AP24.042</GPH>




                                                                                                          (or coke-cutting cycles) for all delayed



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00130    Fmt 4701    Sfmt 4700      E:\FR\FM\25APR2.SGM    25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 136 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31931

                                            ■ b. Removing and reserving paragraphs                  calculated using equation Y–18a to                    (equations Y–18b and Y–18e to
                                            (h) and (i).                                            § 98.253). If you use mass measurements               § 98.253) for each delayed coking unit.
                                              The revisions read as follows:                        from company records to determine the                   (46) Typical distance from the bottom
                                                                                                    typical dry mass of coke in the delayed               of the coking unit vessel to the top of
                                            § 98.254 Monitoring and QA/QC
                                            requirements.
                                                                                                    coking unit vessel at the end of the                  the water level at the end of the cooling
                                                                                                    coking cycle, you must also report:                   cycle just prior to atmospheric venting
                                            *      *     *     *     *                                 (i) Internal height of delayed coking              or draining (feet) from company records
                                               (d) Except as provided in paragraph                  unit vessel (feet) for each delayed                   or engineering estimates (equation Y–
                                            (g) of this section, determine gas                      coking unit.                                          18b to § 98.253) for each delayed coking
                                            composition and, if required, average
                                                                                                       (ii) Typical distance from the top of              unit.
                                            molecular weight of the gas using any of
                                                                                                    the delayed coking unit vessel to the top             *     *     *     *     *
                                            the following methods. Alternatively,
                                                                                                    of the coke bed (i.e. , coke drum outage)               (53) Fraction of the coke-filled bed
                                            the results of chromatographic or direct
                                                                                                    at the end of the coking cycle (feet) from            that is covered by water at the end of the
                                            mass spectrometer analysis of the gas
                                                                                                    company records or engineering                        cooling cycle just prior to atmospheric
                                            may be used, provided that the gas
                                                                                                    estimates for each delayed coking unit.               venting or draining (equation Y–18b to
                                            chromatograph or mass spectrometer is
                                            operated, maintained, and calibrated                    *       *    *     *     *                            § 98.253) for each delayed coking unit.
                                            according to the manufacturer’s                         ■ 63. Amend § 98.257 by:                              *     *     *     *     *
                                            instructions; and the methods used for                  ■ a. Revising paragraphs (b)(16) through
                                            operation, maintenance, and calibration                 (19);                                                 Subpart AA—Pulp and Paper
                                            of the gas chromatograph or mass                        ■ b. Removing and reserving paragraphs                Manufacturing
                                            spectrometer are documented in the                      (b)(27) through (31);
                                            written Monitoring Plan for the unit                    ■ c. Revising paragraphs (b)(45), (46),               ■ 64. Revise and republish § 98.273 to
                                            under § 98.3(g)(5).                                     and (53); and                                         read as follows:
                                            *      *     *     *     *                              ■ d. Removing and reserving paragraphs
                                                                                                                                                          § 98.273    Calculating GHG emissions.
                                               (e) Determine flare gas higher heating               (b)(54) through (56).
                                                                                                       The revisions read as follows:                        (a) For each chemical recovery
                                            value using any of the following
                                                                                                                                                          furnace located at a kraft or soda
                                            methods. Alternatively, the results of                  § 98.257    Records that must be retained.            facility, you must determine CO2,
                                            chromatographic analysis of the gas may
                                                                                                    *     *     *     *     *                             biogenic CO2, CH4, and N2O emissions
                                            be used, provided that the gas
                                                                                                      (b) * * *                                           using the procedures in paragraphs
                                            chromatograph is operated, maintained,
                                                                                                      (16) Value of unit-specific CH4                     (a)(1) through (4) of this section. CH4
                                            and calibrated according to the
                                                                                                    emission factor, including the units of               and N2O emissions must be calculated
                                            manufacturer’s instructions; and the
                                                                                                    measure, for each catalytic cracking                  as the sum of emissions from
                                            methods used for operation,
                                                                                                    unit, traditional fluid coking unit, and              combustion of fuels and combustion of
                                            maintenance, and calibration of the gas
                                                                                                    catalytic reforming unit (calculation                 biomass in spent liquor solids.
                                            chromatograph are documented in the
                                            written Monitoring Plan for the unit                    method in § 98.253(c)(4)).                               (1) Calculate CO2 emissions from fuel
                                            under § 98.3(g)(5).                                       (17) Annual activity data (e.g. , input             combustion using direct measurement
                                                                                                    or product rate), including the units of              of fuels consumed and default
                                            *      *     *     *     *                              measure, in units of measure consistent               emissions factors according to the Tier
                                            § 98.255   [Amended]                                    with the emission factor, for each                    1 methodology for stationary
                                                                                                    catalytic cracking unit, traditional fluid            combustion sources in § 98.33(a)(1).
                                            ■ 61. Amend § 98.255 by removing and
                                                                                                    coking unit, and catalytic reforming unit             Tiers 2 or 3 from § 98.33(a)(2) or (3) may
                                            reserving paragraph (d).
                                                                                                    (calculation method in § 98.253(c)(4)).               be used to calculate CO2 emissions if the
                                            ■ 62. Amend § 98.256 by:                                  (18) Value of unit-specific N2O                     respective monitoring and QA/QC
                                            ■ a. Removing and reserving paragraphs
                                                                                                    emission factor, including the units of               requirements described in § 98.34 are
                                            (b) and (i);                                            measure, for each catalytic cracking                  met.
                                            ■ b. Adding paragraph (j)(2); and
                                                                                                    unit, traditional fluid coking unit, and                (2) Calculate CH4 and N2O emissions
                                            ■ c. Revising paragraph (k)(6).
                                              The addition and revision read as                     catalytic reforming unit (calculation                 from fuel combustion using direct
                                            follows:                                                method in § 98.253(c)(5)).                            measurement of fuels consumed, default
                                                                                                      (19) Annual activity data (e.g. , input             or site-specific HHV, and default
                                            § 98.256   Data reporting requirements.                 or product rate), including the units of              emissions factors and convert to metric
                                            *       *    *    *     *                               measure, in units of measure consistent               tons of CO2 equivalent according to the
                                               (j) * * *                                            with the emission factor, for each                    methodology for stationary combustion
                                               (2) Maximum rated throughput of the                  catalytic cracking unit, traditional fluid            sources in § 98.33(c).
                                            unit, in metric tons asphalt/stream day.                coking unit, and catalytic reforming unit                (3) Calculate biogenic CO2 emissions
                                            *       *    *    *     *                               (calculation method in § 98.253(c)(5)).               and emissions of CH4 and N2O from
                                               (k) * * *                                            *     *     *     *     *                             biomass using measured quantities of
                                               (6) The basis for the typical dry mass                 (45) Mass of water in the delayed                   spent liquor solids fired, site-specific
                                            of coke in the delayed coking unit vessel               coking unit vessel at the end of the                  HHV, and default emissions factors,
                                            at the end of the coking cycle (mass                    cooling cycle prior to atmospheric                    according to equation AA–1 to this
                                            measurements from company records or                    venting or draining (metric ton/cycle)                section:
lotter on DSK11XQN23PROD with RULES2




                                                             CO 2 , CH 4 , or N2 0 from biomass= (0.90718) *Solids* HHV * EF                                                (Eq. AA-1)

                                            Where:                                                  CO2, CH4, or N2O, from Biomass = Biogenic                  N2O from spent liquor solids combustion
                                                                                                                                                                                                         ER25AP24.046</GPH>




                                                                                                        CO2 emissions or emissions of CH4 or                   (metric tons per year).



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00131   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 137 of 164
                                            31932              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Solids = Mass of spent liquor solids                       (b) For each chemical recovery                     monitoring and QA/QC requirements
                                                combusted (short tons per year)                      combustion unit located at a sulfite or              described in § 98.34 are met.
                                                determined according to § 98.274(b).                 stand-alone semichemical facility, you                  (2) Calculate CH4 and N2O emissions
                                            HHV = Annual high heat value of the spent
                                                                                                     must determine CO2, CH4, and N2O                     from fuel combustion using direct
                                                liquor solids (mmBtu per kilogram)
                                                determined according to § 98.274(b).                 emissions using the procedures in                    measurement of fuels consumed, default
                                            EF = Default emission factor for CO2, CH4, or            paragraphs (b)(1) through (5) of this                or site-specific HHV, and default
                                                N2O, from table AA–1 to this subpart (kg             section:                                             emissions factors and convert to metric
                                                CO2, CH4, or N2O per mmBtu).                           (1) Calculate CO2 emissions from fuel              tons of CO2 equivalent according to the
                                            0.90718 = Conversion factor from short tons              combustion using direct measurement                  methodology for stationary combustion
                                                to metric tons.                                      of fuels consumed and default                        sources in § 98.33(c).
                                              (4) Calculate biogenic CO2 emissions                   emissions factors according to the Tier                 (3) Calculate biogenic CO2 emissions
                                            from combustion of biomass (other than                   1 Calculation Methodology for                        using measured quantities of spent
                                            spent liquor solids) with other fuels                    stationary combustion sources in                     liquor solids fired and the carbon
                                            according to the applicable                              § 98.33(a)(1). Tiers 2 or 3 from                     content of the spent liquor solids,
                                            methodology for stationary combustion                    § 98.33(a)(2) or (3) may be used to                  according to equation AA–2 to this
                                            sources in § 98.33(e).                                   calculate CO2 emissions if the respective            section:


                                                                      Biogenic CO 2 = 44 *Solids* CC* (0.90718)                                                    (Eq. AA-2)
                                                                                                    12


                                            Where:                                                   emissions using the procedures in                    HHV listed in table C–1 to subpart C of
                                            Biogenic CO2 = Annual CO2 mass emissions                 paragraphs (c)(1) through (4) of this                this part and the default CH4 and N2O
                                                for spent liquor solids combustion                   section:                                             emissions factors listed in table AA–2 to
                                                (metric tons per year).                                                                                   this subpart.
                                            Solids = Mass of the spent liquor solids                    (1) Calculate CO2 emissions from fuel
                                                combusted (short tons per year)                      combustion using direct measurement                    (3) Biogenic CO2 emissions from
                                                determined according to § 98.274(b).                 of fuels consumed and default HHV and                conversion of CaCO3 to CaO are
                                            CC = Annual carbon content of the spent                  default emissions factors, according to              included in the biogenic CO2 estimates
                                                liquor solids, determined according to               the Tier 1 Calculation Methodology for               calculated for the chemical recovery
                                                § 98.274(b) (percent by weight, expressed            stationary combustion sources in                     furnace in paragraph (a)(3) of this
                                                as a decimal fraction, e.g. , 95% = 0.95).           § 98.33(a)(1). Tiers 2 or 3 from                     section.
                                            44/12 = Ratio of molecular weights, CO2 to
                                                carbon.                                              § 98.33(a)(2) or (3) may be used to                    (4) Calculate biogenic CO2 emissions
                                            0.90718 = Conversion from short tons to                  calculate CO2 emissions if the respective            from combustion of biomass with other
                                                metric tons.                                         monitoring and QA/QC requirements                    fuels according to the applicable
                                              (4) Calculate biogenic CO2 emissions                   described in § 98.34 are met.                        methodology for stationary combustion
                                            from combustion of biomass (other than                     (2) Calculate CH4 and N2O emissions                sources in § 98.33(e).
                                            spent liquor solids) with other fuels                    from fuel combustion using direct                       (d) For makeup chemical use, you
                                            according to the applicable                              measurement of fuels consumed, default               must calculate CO2 emissions by using
                                            methodology for stationary combustion                    or site-specific HHV, and default                    direct or indirect measurement of the
                                            sources in § 98.33(e).                                   emissions factors and convert to metric              quantity of chemicals added and ratios
                                               (c) For each pulp mill lime kiln                      tons of CO2 equivalent according to the              of the molecular weights of CO2 and the
                                            located at a kraft or soda facility, you                 methodology for stationary combustion                makeup chemicals, according to
                                            must determine CO2, CH4, and N2O                         sources in § 98.33(c); use the default               equation AA–3 to this section:


                                                                                               44                           44    ]                          •
                                                             CO 2 = [ Mccaco 3 ) * -100 + M(Naco 3 ) * -  - * 1000 kg/metnc ton
                                                                                                       105.99
                                                                                                                                                                            (Eq. AA-3)

                                            Where:                                                     (a) Annual emissions of CO2, biogenic              measurement system). If an online
                                            CO2 = CO2 mass emissions from makeup                     CO2, CH4, and N2O (metric tons per                   measurement system is used, you must
                                                chemicals (kilograms/yr).                            year).                                               retain records of the calculations used to
                                            M (CaCO3) = Make-up quantity of CaCO3                    *     *    *     *     *                             determine the annual quantity of spent
                                                used for the reporting year (metric tons                                                                  liquor solids combusted from the
                                                                                                     ■ 66. Amend § 98.277 by revising
                                                per year).                                                                                                continuous measurements.
                                                                                                     paragraph (d) to read as follows:
                                            M (NaCO3) = Make-up quantity of Na2CO3                                                                        *     *     *    *     *
                                                used for the reporting year (metric tons             § 98.277   Records that must be retained.
                                                per year).                                           *     *     *     *     *                            Subpart BB—Silicon Carbide
                                            44 = Molecular weight of CO2.                                                                                 Production
                                                                                                       (d) Annual quantity of spent liquor
                                            100 = Molecular weight of CaCO3.
                                            105.99 = Molecular weight of Na2CO3.
                                                                                                     solids combusted in each chemical                    ■ 67. Amend § 98.286 by revising the
                                                                                                     recovery furnace and chemical recovery               introductory text and adding paragraph
lotter on DSK11XQN23PROD with RULES2




                                            ■ 65. Amend § 98.276 by revising                         combustion unit, and the basis for                   (c) to read as follows:
                                                                                                                                                                                                       ER25AP24.048</GPH>




                                            paragraph (a) to read as follows:                        determining the annual quantity of the
                                                                                                     spent liquor solids combusted (whether               § 98.286    Data reporting requirements.
                                            § 98.276   Data reporting requirements.                  based on T650 om-05 Solids Content of                  In addition to the information
                                            *      *     *       *      *                            Black Liquor, TAPPI (incorporated by                 required by § 98.3(c), each annual report
                                                                                                                                                                                                       ER25AP24.047</GPH>




                                                                                                     reference, see § 98.7) or an online                  must contain the information specified


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00132   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 138 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                          31933

                                            in paragraph (a) or (b) of this section,                § 98.287    Records that must be retained.            equipment and servicing inventory
                                            and paragraph (c) of this section, as                     In addition to the records required by              includes, but is not limited to:
                                            applicable for each silicon carbide                     § 98.3(g), you must retain the records                   (1) Gas-insulated substations.
                                            production facility.                                    specified in paragraphs (a) through (d)                  (2) Circuit breakers.
                                            *      *     *     *    *                               of this section for each silicon carbide
                                               (c) If methane abatement technology                                                                           (3) Switchgear, including closed-
                                                                                                    production facility.
                                            is used at the silicon carbide production                                                                     pressure and hermetically sealed-
                                                                                                    *     *     *     *     *                             pressure switchgear and gas-insulated
                                            facility, you must report the information                 (d) Records of all information
                                            in paragraphs (c)(1) through (3) of this                                                                      lines containing fluorinated GHGs,
                                                                                                    reported as required under § 98.286(c).               including but not limited to SF6 and
                                            section. Upon reporting this information
                                                                                                    ■ 69. Revise and republish subpart DD                 PFCs.
                                            once in an annual report, you are not
                                            required to report this information again               consisting of §§ 98.300 through 98.308                   (4) Gas containers such as pressurized
                                            unless the information changes during a                 to read as follows:                                   cylinders.
                                            reporting year, in which case, the                      Subpart DD—Electrical Transmission                       (5) Gas carts.
                                            reporter must include any updates in                    and Distribution Equipment Use                           (6) Electric power transformers.
                                            the annual report for the reporting year
                                                                                                                                                             (7) Other containers of fluorinated
                                            in which the change occurred.                           Sec.
                                               (1) Type of methane abatement                        98.300 Definition of the source category.
                                                                                                                                                          GHG, including but not limited to SF6
                                            technology used on each silicon carbide                 98.301 Reporting threshold.                           and PFCs.
                                            process unit or production furnace, and                 98.302 GHGs to report.                                   (b) [Reserved]
                                            date of installation for each.                          98.303 Calculating GHG emissions.
                                                                                                    98.304 Monitoring and QA/QC                           § 98.301    Reporting threshold.
                                               (2) Methane destruction efficiency for
                                            each methane abatement technology                            requirements.                                       (a) You must report GHG emissions
                                                                                                    98.305 Procedures for estimating missing
                                            (percent destruction). You must either                                                                        under this subpart if you are an electric
                                                                                                         data.
                                            use the manufacturer’s specified                        98.306 Data reporting requirements.                   power system as defined in § 98.308 and
                                            destruction efficiency or the destruction               98.307 Records that must be retained.                 your facility meets the requirements of
                                            efficiency determined via a performance                 98.308 Definitions.                                   § 98.2(a)(1). To calculate total annual
                                            test. If you report the destruction                                                                           GHG emissions for comparison to the
                                            efficiency determined via a performance                 § 98.300    Definition of the source category.        25,000 metric ton CO2e per year
                                            test, you must also report the test                        (a) The electrical transmission and                emission threshold in table A–3 to
                                            method that was used during the                         distribution equipment use source                     subpart A to this part, you must
                                            performance test.                                       category consists of all electric                     calculate emissions of each fluorinated
                                               (3) Percentage of annual operating                   transmission and distribution                         GHG that is a component of a reportable
                                            hours that methane abatement                            equipment and servicing inventory                     insulating gas and then sum the
                                            technology was in use for all silicon                   insulated with or containing fluorinated              emissions of each fluorinated GHG
                                            carbide process units or production                     GHGs, including but not limited to                    resulting from the use of electrical
                                            furnaces combined.                                      sulfur hexafluoride (SF6) and                         transmission and distribution
                                            ■ 68. Amend § 98.287 by revising the                    perfluorocarbons (PFCs), used within an               equipment for threshold applicability
                                            introductory text and adding paragraph                  electric power system. Electric                       purposes using equation DD–1 to this
                                            (d) to read as follows:                                 transmission and distribution                         section.


                                                                 E = Lj Li NCEPS,j * GHGi,w * GWPi * EF * 0.000453592                                                 (Eq. DD-I)

                                            Where:                                                  GHGi,w = The weight fraction of fluorinated           0.000453592 = Conversion factor from lbs to
                                            E = Annual emissions for threshold                           GHG i in reportable insulating gas j in              metric tons.
                                                applicability purposes (metric tons                      the gas insulated equipment included in
                                                                                                         the total nameplate capacity NCEPS,j,               (b) A facility other than an electric
                                                CO2e).                                                                                                    power system that is subject to this part
                                                                                                         expressed as a decimal fraction. If
                                            NCEPS,j = the total nameplate capacity of                                                                     because of emissions from any other
                                                                                                         fluorinated GHG i is not part of a gas
                                                equipment containing reportable
                                                                                                         mixture, use a value of 1.0.                     source category listed in table A–3 or A–
                                                insulating gas j (excluding hermetically            GWPi = Gas-appropriate GWP as provided in             4 to subpart A of this part is not
                                                sealed-pressure equipment) located                       table A–1 to subpart A of this part.
                                                within the facility plus the total                                                                        required to report emissions under
                                                                                                    EF = Emission factor for electrical                   subpart DD of this part unless the total
                                                nameplate capacity of equipment                          transmission and distribution equipment
                                                containing reportable insulting gas j                    (lbs emitted/lbs nameplate capacity). For
                                                                                                                                                          estimated emissions of fluorinated
                                                (excluding hermetically sealed-pressure                  all gases, use an emission factor or 0.1.        GHGs that are components of reportable
                                                equipment) that is not located within the           i = Fluorinated GHG contained in the                  insulating gases, as calculated in
                                                facility but is under common ownership                   electrical transmission and distribution         equation DD–2 to this section, equals or
                                                or control (lbs).                                        equipment.                                       exceeds 25,000 tons CO2e.


                                                                E   = Lj Li NCother,j * GHGi,w * GWPi * EF * 0.000453592                                               (Eq. DD-2)
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                                                                                        ER25AP24.050</GPH>




                                            Where:                                                  NCother,j = For a facility other than an electric        hermetically sealed-pressure equipment)
                                            E = Annual emissions for threshold                          power system, the total nameplate                    located within the facility (lbs).
                                                applicability purposes (metric tons                     capacity of equipment containing                  GHGi,w = The weight fraction of fluorinated
                                                                                                        reportable insulating gas j (excluding               GHG i in reportable insulating gas j in
                                                CO2e).
                                                                                                                                                                                                        ER25AP24.049</GPH>




                                                                                                                                                             the gas insulated equipment included in



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00133   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 139 of 164
                                            31934              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                 the total nameplate capacity NCother,j,            § 98.302    GHGs to report.                           that are components of insulating gases
                                                 expressed as a decimal fraction. If                                                                      whose weighted average GWPs, as
                                                 fluorinated GHG i is not part of a gas
                                                                                                       You must report emissions of each
                                                                                                    fluorinated GHG, including but not                    calculated in equation DD–3 to this
                                                 mixture, use a value of 1.0.
                                            GWPi = Gas-appropriate GWP as provided in               limited to SF6 and PFCs, from your                    section, are less than or equal to one.
                                                 table A–1 to subpart A of this part.               facility (including emissions from                    For acquisitions of equipment
                                            EF = Emission factor for electrical                     fugitive equipment leaks, installation,               containing or insulated with fluorinated
                                                 transmission and distribution equipment            servicing, equipment decommissioning                  GHGs, you must report emissions from
                                                 (lbs emitted/lbs nameplate capacity). For          and disposal, and from storage                        the equipment after the title to the
                                                 all gases, use an emission factor or 0.1.
                                                                                                    cylinders) resulting from the                         equipment is transferred to the electric
                                            i = Fluorinated GHG contained in the
                                                 electrical transmission and distribution           transmission and distribution servicing               power transmission or distribution
                                                 equipment.                                         inventory and equipment listed in                     entity.
                                            0.000453592 = Conversion factor from lbs to             § 98.300(a), except you are not required
                                                 metric tons.                                       to report emissions of fluorinated GHGs


                                                                                                                                                             (Eq. DD-3)

                                            Where:                                                  GWPi = Gas-appropriate GWP as provided in             § 98.303    Calculating GHG emissions.
                                            GWPj = Weighted average GWP of insulating                    table A–1 to subpart A of this part.                (a) Calculating GHG emissions.
                                               gas j.                                               i = GHG contained in the electrical                   Calculate the annual emissions of each
                                            GHGi,w = The weight fraction of GHG i in                     transmission and distribution                    fluorinated GHG that is a component of
                                               insulating gas j, expressed as a decimal.                 equipment.                                       any reportable insulating gas using the
                                               fraction. If GHG i is not part of a gas                                                                    mass-balance approach in equation DD–
                                               mixture, use a value of 1.0.                                                                               4 to this section:


                                                       User Emissionsi = Ij GHGi,w * [(Decrease in Inventory of Reportable Insulating Gas j) +

                                                    (Acquisitions of Reportable Insulating Gasj)-(Disbursements of Reportable Insulating Gasj)-

                                                    (Net Increase in Total Nameplate Capacity of Equipment Operated Containing Reportable

                                                    Insulating Gas j)]                                                                                                           (Eq. DD--4)

                                            Where:                                                      returned to facility after off-site                    as defined at § 98.308, containing
                                            User Emissionsi = Emissions of fluorinated                  recycling) + (Pounds of reportable                     reportable insulating gas j in
                                                GHG i from the facility (pounds).                       insulating gas j acquired inside                       pounds)¥(Nameplate Capacity of
                                            GHGi,w = The weight fraction of fluorinated                 equipment, except hermetically sealed-                 retiring equipment, as defined at
                                                GHG i in reportable insulating gas j if                 pressure switchgear, that was transferred              § 98.308, containing reportable
                                                reportable insulating gas j is a gas                    while the equipment was in use, e.g.,                  insulating gas j in pounds). (Note that
                                                mixture, expressed as a decimal fraction.               through acquisition of all or part of                  Nameplate Capacity refers to the full and
                                                If fluorinated GHG i is not part of a gas               another electric power system).                        proper charge of equipment rather than
                                                mixture, use a value of 1.0.                        Disbursements of Reportable Insulating gas j               to the actual charge, which may reflect
                                            Decrease in Inventory of Reportable                         = (Pounds of reportable insulating gas j               leakage).
                                                Insulating Gas j = (Pounds of reportable                returned to suppliers) + (Pounds of                 (b) Nameplate capacity adjustments.
                                                insulating gas j stored in containers, but              reportable insulating gas j sent off site for     Users of closed-pressure electrical
                                                not in energized equipment, at the                      recycling) + (Pounds of reportable                equipment with a voltage capacity
                                                beginning of the year)¥(Pounds of                       insulating gas j sent off-site for                greater than 38 kV may measure and
                                                reportable insulating gas j stored in                   destruction) + (Pounds of reportable
                                                                                                        insulating gas j that was sold or
                                                                                                                                                          adjust the nameplate capacity value
                                                containers, but not in energized
                                                equipment, at the end of the year).                     transferred to other entities in bulk) +          specified by the equipment
                                                Reportable insulating gas inside                        (Pounds of reportable insulating gas j            manufacturer on the nameplate attached
                                                equipment that is not energized is                      contained in equipment, including                 to that equipment, or within the
                                                considered to be ‘‘stored in containers.’’              hermetically sealed-pressure switchgear,          equipment manufacturer’s official
                                            Acquisitions of Reportable Insulating gas j =               that was sold or transferred to other             product specifications, by following the
                                                (Pounds of reportable insulating gas j                  entities while the equipment was not in           requirements in paragraphs (b)(1)
                                                purchased or otherwise acquired from                    use) + (Pounds of reportable insulating           through (10) of this section. Users of
                                                chemical producers, chemical                            gas j inside equipment, except                    other electrical equipment are not
                                                distributors, or other entities in bulk) +              hermetically sealed-pressure switchgear,          permitted to adjust the nameplate
                                                (Pounds of reportable insulating gas j                  that was transferred while the equipment
                                                                                                                                                          capacity value of the other equipment.
lotter on DSK11XQN23PROD with RULES2




                                                purchased or otherwise acquired from                    was in use, e.g., through sale of all or
                                                                                                                                                            (1) If you elect to measure the
                                                                                                                                                                                                           ER25AP24.052</GPH>




                                                equipment manufacturers, equipment                      part of the electric power system to
                                                distributors, or other entities with or                 another electric power system).                   nameplate capacity value(s) of one or
                                                inside equipment, including                         Net Increase in Total Nameplate Capacity of           more pieces of electrical equipment
                                                hermetically sealed-pressure switchgear,                Equipment Operated containing                     with a voltage capacity greater than 38
                                                while the equipment was not in use) +                   reportable insulating gas j = (The                kV, you must measure the nameplate
                                                                                                                                                                                                           ER25AP24.051</GPH>




                                                (Pounds of each SF6 insulating gas j                    Nameplate Capacity of new equipment,              capacity values of all the electrical


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00134   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 140 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                       31935

                                            equipment in your facility that has a                   time, transfer the insulating gas to the                 (iii) If the temperature-compensated
                                            voltage capacity greater than 38 kV and                 equipment to reach the temperature-                   initial system pressure of the electrical
                                            that is installed or retired in that                    compensated design operating pressure                 equipment does not match the
                                            reporting year and in subsequent                        per manufacturer specifications. Follow               temperature-compensated design
                                            reporting years.                                        the manufacturer-specified procedure to               operating pressure specified by the
                                               (2) You must adopt the measured                      ensure that the measured temperature                  equipment manufacturer, you may
                                            nameplate capacity value for any piece                  accurately reflects the temperature of                either:
                                            of equipment for which the absolute                     the insulating gas, e.g., by measuring the               (A) Add or remove insulating gas to/
                                            value of the difference between the                     insulating gas pressure and vessel
                                                                                                                                                          from the electrical equipment until the
                                            measured nameplate capacity value and                   temperature after allowing appropriate
                                            the nameplate capacity value most                                                                             manufacturer-specified value is reached,
                                                                                                    time for the temperature of the
                                            recently specified by the manufacturer                                                                        or
                                                                                                    transferred gas to equilibrate with the
                                            equals or exceeds two percent of the                    vessel temperature. Measure and                          (B) If the temperature-compensated
                                            nameplate capacity value most recently                  calculate the total amount of reportable              initial system pressure of the electrical
                                            specified by the manufacturer.                          insulating gas added to the device using              equipment is no higher than the
                                               (3) You may adopt the measured                       one of the methods specified in                       temperature-compensated design
                                            nameplate capacity value for equipment                  paragraphs (b)(4)(ii)(A) and (B) of this              operating pressure specified by the
                                            for which the absolute value of the                     section.                                              manufacturer and no lower than five
                                            difference between the measured                            (A) To determine the amount of                     pounds per square inch (5 psi) less than
                                            nameplate capacity value and the                        reportable insulating gas transferred to              the temperature-compensated design
                                            nameplate capacity value most recently                  the electrical equipment, weigh the gas               operating pressure specified by the
                                            specified by the manufacturer is less                   container being used to fill the device               manufacturer, use equation DD–5 to this
                                            than two percent of the nameplate                       prior to, and after, the addition of the              section to calculate the nameplate
                                            capacity value most recently specified                  reportable insulating gas to the electrical           capacity based on the mass recorded
                                            by the manufacturer, but if you elect to                equipment, and subtract the second                    under paragraph (b)(5)(vi) of this
                                            adopt the measured nameplate capacity                   value (after-transfer gas container                   section.
                                            for that equipment, then you must adopt                 weight) from the first value (prior-to-
                                                                                                                                                             (iv) Weigh the gas container being
                                            the measured nameplate capacity value                   transfer gas container weight). Account
                                            for all of the equipment for which the                                                                        used to receive the gas and record this
                                                                                                    for any gas contained in hoses before
                                            difference between the measured                                                                               value.
                                                                                                    and after the transfer.
                                            nameplate capacity value and the                           (B) Connect a mass flow meter                         (v) Recover insulating gas from the
                                            nameplate capacity value most recently                  between the electrical equipment and a                electrical equipment until five minutes
                                            specified by the manufacturer is less                   gas cart. Transfer gas to the equipment               after the pressure in the electrical
                                            than two percent of the nameplate                       to reach the temperature-compensated                  equipment reaches a pressure of at most
                                            capacity value most recently specified                  design operating pressure per                         five pounds per square inch absolute (5
                                            by the manufacturer. This applies in the                manufacturer specifications. During gas               psia).
                                            reporting year in which you first adopt                 transfer, you must keep the mass flow                    (vi) Record the amount of insulating
                                            the measured nameplate capacity for the                 rate within the range specified by the                gas recovered (pounds) by weighing the
                                            equipment and in subsequent reporting                   mass flow meter manufacturer to assure                gas container that received the gas and
                                            years.                                                  an accurate and precise mass flow meter               subtracting the weight recorded
                                               (4) Users of electrical equipment                    reading. Close the connection to the GIE              pursuant to paragraph (b)(5)(iv)(B) of
                                            measuring the nameplate capacity of                     from the mass flow meter hose and                     this section from this value. Account for
                                            any new electrical equipment must:                      ensure that the gas trapped in the filling            any gas contained in hoses before and
                                               (i) Record the amount of insulating                  hose returns through the mass flow                    after the transfer. The amount of gas
                                            gas in the equipment at the time the                    meter. Calculate the amount of gas                    recovered shall be the measured
                                            equipment was acquired (pounds),                        transferred from the mass reading on the              nameplate capacity for the electrical
                                            either per information provided by the                  mass flow meter.                                      equipment unless the final temperature-
                                            manufacturer, or by transferring                           (iii) Sum the results of paragraphs                compensated pressure of the electrical
                                            insulating gas from the equipment to a                  (b)(4)(i) and (ii) to obtain the measured             equipment exceeds 0.068 psia (3.5 Torr)
                                            gas container and measuring the amount                  nameplate capacity for the new
                                            of insulating gas transferred. The                                                                            or the electrical equipment user is
                                                                                                    equipment.                                            calculating the nameplate capacity
                                            equipment user is responsible for                          (5) Electrical equipment users
                                            ensuring the gas is accounted for                                                                             pursuant to paragraph (b)(5)(iii)(B) of
                                                                                                    measuring the nameplate capacity of
                                            consistent with the methodologies                                                                             this section, in which cases the
                                                                                                    any retiring electrical equipment must:
                                            specified in paragraphs (b)(4)(ii) through                 (i) Measure and record the initial                 measured nameplate capacity shall be
                                            (iii) and (b)(5) of this section. If no                 system pressure and vessel temperature                the result of equation DD–5 to this
                                            insulating gas was in the device when                   prior to removing any insulating gas.                 section.
                                            it was acquired, record this value as                      (ii) Compare the initial system                       (vii) If you are calculating the
                                            zero.                                                   pressure and temperature to the                       nameplate capacity pursuant to
                                               (ii) If insulating gas is added to the               equipment manufacturer’s temperature/                 paragraph (b)(5)(iii)(B) of this section,
                                            equipment subsequent to the acquisition                 pressure curve for that equipment and                 use equation DD–5 to this section to do
                                            of the equipment to energize it the first               insulating gas.                                       so.
lotter on DSK11XQN23PROD with RULES2




                                                                                                                                                          (Eq. DD-5)
                                                                                                                                                                                                      ER25AP24.053</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00135   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 141 of 164
                                            31936              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Where:                                                  paragraph (b) must meet the following                 that is certified to be accurate and
                                            NCC = Nameplate capacity of the equipment               accuracy and precision requirements:                  precise to within 2 pounds of true
                                                 measured and calculated by the                       (i) Flow meters must be certified by                weight and is periodically recalibrated
                                                 equipment user (pounds).                           the manufacturer to be accurate and                   per the manufacturer’s specifications.
                                            Pi = Initial temperature-compensated                    precise to within one percent of the                  All scales used to measure quantities
                                                 pressure of the equipment, based on the            largest value that the flow meter can,                that are to be reported under § 98.306
                                                 temperature-pressure curve for the
                                                 insulating gas (psia).
                                                                                                    according to the manufacturer’s                       must be calibrated using calibration
                                            Pf = Final temperature-compensated pressure             specifications, accurately record.                    procedures specified by the scale
                                                 of the equipment, based on the                       (ii) Pressure gauges must be certified              manufacturer. Calibration must be
                                                 temperature-pressure curve for the                 by the manufacturer to be accurate and                performed prior to the first reporting
                                                 insulating gas (psia). This may be                 precise to within 0.5% of the largest                 year. After the initial calibration,
                                                 equated to zero if the final temperature-          value that the gauge can, according to                recalibration must be performed at the
                                                 compensated pressure of the equipment              the manufacturer’s specifications,                    minimum frequency specified by the
                                                 is equal to or lower than 0.068 psia (3.5          accurately record.                                    manufacturer.
                                                 Torr).                                               (iii) Temperature gauges must be                      (3) Ensure all substations have
                                            PNC = Temperature-compensated pressure of               certified by the manufacturer to be
                                                 the equipment at the manufacturer-
                                                                                                                                                          provided information to the manager
                                                 specified filling density of the equipment
                                                                                                    accurate and precise to within                        compiling the emissions report (if it is
                                                 (i.e., at the full and proper charge, psia).       +/¥1.0 °F.                                            not already handled through an
                                            MR = Mass of insulating gas recovered from                (iv) Scales must be certified by the                electronic inventory system).
                                                 the equipment, measured in paragraph               manufacturer to be accurate and precise                 (d) GHG Monitoring Plans, as
                                                 (b)(5)(vi) of this section (pounds).               to within one percent of the true weight.             described in § 98.3(g)(5), must be
                                              (viii) Record the final system pressure                                                                     completed by April 1, 2011.
                                                                                                    § 98.304 Monitoring and QA/QC
                                            and vessel temperature.                                 requirements.                                         § 98.305 Procedures for estimating
                                              (6) Instead of measuring the                             (a) [Reserved]                                     missing data.
                                            nameplate capacity of electrical                           (b) You must adhere to the following                  A complete record of all measured
                                            equipment when it is retired, users may                 QA/QC methods for reviewing the                       parameters used in the GHG emissions
                                            measure the nameplate capacity of                       completeness and accuracy of reporting:               calculations is required. Replace
                                            electrical equipment during                                (1) Review inputs to equation DD–4 to              missing data, if needed, based on data
                                            maintenance activities that require                     § 98.303 to ensure inputs and outputs to              from equipment with a similar
                                            opening the gas compartment, but they                   the company’s system are included.                    nameplate capacity for fluorinated
                                            must follow the procedures set forth in                    (2) Do not enter negative inputs and               GHGs, and from similar equipment
                                            paragraph (b)(5) of this section.                       confirm that negative emissions are not               repair, replacement, and maintenance
                                              (7) If the electrical equipment will                  calculated. However, the Decrease in                  operations.
                                            remain energized, and the electrical                    fluorinated GHG Inventory and the Net
                                            equipment user is adopting the user-                    Increase in Total Nameplate Capacity                  § 98.306    Data reporting requirements.
                                            measured nameplate capacity, the                        may be calculated as negative numbers.                  In addition to the information
                                            electrical equipment user must affix a                     (3) Ensure that beginning-of-year                  required by § 98.3(c), each annual report
                                            revised nameplate capacity label,                       inventory matches end-of-year                         must contain the following information
                                            showing the revised nameplate value                     inventory from the previous year.                     for each electric power system, by
                                            and the year the nameplate capacity                        (4) Ensure that in addition to                     chemical:
                                            adjustment process was performed, to                    fluorinated GHG purchased from bulk                     (a) Nameplate capacity of equipment
                                            the device by the end of the calendar                   gas distributors, fluorinated GHG                     (pounds) containing each insulating gas:
                                            year in which the process was                           purchased from Original Equipment                       (1) Existing at the beginning of the
                                            completed. The manufacturer’s previous                  Manufacturers (OEM) and fluorinated                   year (excluding hermetically sealed-
                                            nameplate capacity label must remain                    GHG returned to the facility from off-                pressure switchgear).
                                            visible after the revised nameplate                     site recycling are also accounted for                   (2) New hermetically sealed-pressure
                                            capacity label is affixed to the device.                among the total additions.                            switchgear during the year.
                                              (8) For each piece of electrical                         (c) Ensure the following QA/QC                       (3) New equipment other than
                                            equipment whose nameplate capacity                      methods are employed throughout the                   hermetically sealed-pressure switchgear
                                            was adjusted during the reporting year,                 year:                                                 during the year.
                                            the revised nameplate capacity value                       (1) Ensure that cylinders returned to                (4) Retired hermetically sealed-
                                            must be used in all provisions wherein                  the gas supplier are consistently                     pressure switchgear during the year.
                                            the nameplate capacity is required to be                weighed on a scale that is certified to be              (5) Retired equipment other than
                                            recorded, reported, or used in a                        accurate and precise to within 2 pounds               hermetically sealed-pressure switchgear
                                            calculation in this subpart unless                      of true weight and is periodically                    during the year.
                                            otherwise specified herein.                             recalibrated per the manufacturer’s                     (b) Transmission miles (length of lines
                                              (9) The nameplate capacity of a piece                 specifications. Either measure residual               carrying voltages above 35 kilovolts).
                                            of electrical equipment may only be                     gas (the amount of gas remaining in                     (c) Distribution miles (length of lines
                                            adjusted more than once if the physical                 returned cylinders) or have the gas                   carrying voltages at or below 35
                                            capacity of the device has changed (e.g.,               supplier measure it. If the gas supplier              kilovolts).
                                            replacement of bushings) after the initial              weighs the residual gas, obtain from the                (d) Pounds of each reportable
                                            adjustment was performed, in which                      gas supplier a detailed monthly                       insulating gas stored in containers, but
lotter on DSK11XQN23PROD with RULES2




                                            case the equipment user must adjust the                 accounting, within ±2 pounds, of                      not in energized equipment, at the
                                            nameplate capacity pursuant to the                      residual gas amounts in the cylinders                 beginning of the year.
                                            provisions of this paragraph (b).                       returned to the gas supplier.                           (e) Pounds of each reportable
                                              (10) Measuring devices used to                           (2) Ensure that cylinders weighed for              insulating gas stored in containers, but
                                            measure the nameplate capacity of                       the beginning and end of year inventory               not in energized equipment, at the end
                                            electrical equipment under this                         measurements are weighed on a scale                   of the year.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00136   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 142 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31937

                                               (f) Pounds of each reportable                        measured by the user under this subpart                 (6) The name and GWP of each
                                            insulating gas purchased or otherwise                   and for which the user adopted the user-              insulating gas used.
                                            acquired in bulk from chemical                          measured nameplate capacity value                       (7) Nameplate capacity value
                                            producers, chemical distributors, or                    during the year.                                      (pounds), as specified by the equipment
                                            other entities.                                           (2) All retiring equipment whose                    manufacturer. The value must reflect
                                               (g) Pounds of each reportable                        nameplate capacity values were                        the latest value specified by the
                                            insulating gas purchased or otherwise                   measured by the user under this subpart               manufacturer during the reporting year.
                                            acquired from equipment                                 and for which the user adopted the user-                (8) Nameplate capacity value
                                            manufacturers, equipment distributors,                  measured nameplate capacity value                     (pounds) measured by the equipment
                                            or other entities with or inside                        during the year.                                      user.
                                            equipment, including hermetically                         (s) The total of the nameplate capacity               (9) The date the nameplate capacity
                                            sealed-pressure switchgear, while the                   values measured by the electrical                     measurement process was completed.
                                            equipment was not in use.                               equipment user for each of the following                (10) The measurements and
                                               (h) Pounds of each reportable                        groups of equipment:                                  calculations used to calculate the value
                                            insulating gas returned to facility after                 (1) All new equipment whose                         in paragraph (b)(8) of this section.
                                            off-site recycling.                                     nameplate capacity values were                          (11) The temperature-pressure curve
                                               (i) Pounds of each reportable                        measured by the user under this subpart               and/or other information used to derive
                                            insulating gas acquired inside                          and for which the user adopted the user-              the initial and final temperature-
                                            equipment, except hermetically sealed-                  measured nameplate capacity value                     adjusted pressures of the equipment.
                                            pressure switchgear, that was                           during the year.                                        (12) Whether or not the nameplate
                                            transferred while the equipment was in                    (2) All retiring equipment whose                    capacity value in paragraph (b)(8) of this
                                            use, e.g., through acquisition of all or                nameplate capacity values were                        section has been adopted for the piece
                                            part of another electric power system.                  measured by the user under this subpart               of electrical equipment.
                                               (j) Pounds of each reportable                        and for which the user adopted the user-
                                            insulating gas returned to suppliers.                                                                         § 98.308    Definitions.
                                                                                                    measured nameplate capacity value
                                               (k) Pounds of each reportable                        during the year.                                         Except as specified in this section, all
                                            insulating gas that was sold or                           (t) For each reportable insulating gas              terms used in this subpart have the
                                            transferred to other entities in bulk.                  reported in paragraphs (a), (d) through               same meaning given in the Clean Air
                                               (l) Pounds of each reportable                        (o), and (q) of this section, an ID number            Act and subpart A of this part.
                                            insulating gas sent off-site for recycling.                                                                      Facility, with respect to an electric
                                                                                                    or other appropriate descriptor that is
                                               (m) Pounds of each reportable                                                                              power system, means the electric power
                                                                                                    unique to that reportable insulating gas.
                                            insulating gas sent off-site for                                                                              system as set out in this definition. An
                                                                                                      (u) For each ID number or descriptor
                                            destruction.                                                                                                  electric power system is comprised of
                                               (n) Pounds of each reportable                        reported in paragraph (t) of this section
                                                                                                    for each unique insulating gas, the name              all electric transmission and
                                            insulating gas contained in equipment,                                                                        distribution equipment insulated with
                                            including hermetically sealed-pressure                  (as required in § 98.3(c)(4)(iii)(G)(1)) and
                                                                                                    weight percent of each fluorinated gas                or containing fluorinated GHGs that is
                                            switchgear, that was sold or transferred                                                                      linked through electric power
                                            to other entities while the equipment                   in the insulating gas.
                                                                                                                                                          transmission or distribution lines and
                                            was not in use.                                         § 98.307    Records that must be retained.            functions as an integrated unit, that is
                                               (o) Pounds of each reportable                                                                              owned, serviced, or maintained by a
                                                                                                       (a) In addition to the information
                                            insulating gas disbursed inside                                                                               single electric power transmission or
                                                                                                    required by § 98.3(g), you must retain
                                            equipment, except hermetically sealed-                                                                        distribution entity (or multiple entities
                                                                                                    records of the information reported and
                                            pressure switchgear, that was                                                                                 with a common owner), and that is
                                                                                                    listed in § 98.306.
                                            transferred while the equipment was in                                                                        located between:
                                                                                                       (b) For each piece of electrical
                                            use, e.g., through sale of all or part of                                                                        (1) The point(s) at which electric
                                                                                                    equipment whose nameplate capacity is
                                            the electric power system to another                                                                          energy is obtained from an electricity
                                                                                                    measured by the equipment user, retain
                                            electric power system.                                                                                        generating unit or a different electric
                                               (p) State(s) or territory in which the               records of the following:
                                                                                                       (1) Equipment manufacturer name.                   power transmission or distribution
                                            facility lies.
                                               (q) The number of reportable-                           (2) Year equipment was                             entity that does not have a common
                                            insulating-gas-containing pieces of                     manufactured. If the date year the                    owner; and
                                                                                                    equipment was manufactured cannot be                     (2) The point(s) at which any
                                            equipment in each of the following
                                                                                                    determined, report a best estimate of the             customer or another electric power
                                            equipment categories:
                                               (1) New hermetically sealed-pressure                 year of manufacture and record how the                transmission or distribution entity that
                                            switchgear during the year.                             estimated year was determined.                        does not have a common owner receives
                                               (2) New equipment other than                            (3) Manufacturer serial number. For                the electric energy. The facility also
                                            hermetically sealed-pressure switchgear                 any piece of equipment whose serial                   includes servicing inventory for such
                                            during the year.                                        number is unknown (e.g., the serial                   equipment that contains fluorinated
                                               (3) Retired hermetically sealed-                     number does not exist or is not visible),             GHGs.
                                            pressure switchgear during the year.                    another unique identifier must be                        Electric power transmission or
                                               (4) Retired equipment other than                     recorded as the manufacturer serial                   distribution entity means any entity that
                                            hermetically sealed-pressure switchgear                 number. The electrical equipment user                 transmits, distributes, or supplies
                                            during the year.                                        must retain documentation that allows                 electricity to a consumer or other user,
                                               (r) The total of the nameplate capacity              for each electrical equipment to be                   including any company, electric
lotter on DSK11XQN23PROD with RULES2




                                            values most recently assigned by the                    readily identifiable.                                 cooperative, public electric supply
                                            electrical equipment manufacturer(s) to                    (4) Equipment type (i.e., closed-                  corporation, a similar Federal
                                            each of the following groups of                         pressure vs. hermetically sealed-                     department (including the Bureau of
                                            equipment:                                              pressure).                                            Reclamation or the Corps of Engineers),
                                               (1) All new equipment whose                             (5) Equipment voltage capacity (in                 a municipally owned electric
                                            nameplate capacity values were                          kilovolts).                                           department offering service to the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00137   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                              Filed: 06/24/2024              Page 143 of 164
                                            31938              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            public, an electric public utility district,            facility’s inventory without being taken               material in your calculation using
                                            or a jointly owned electric supply                      out of active service (e.g., when the                  equation R–1 to § 98.183.
                                            project.                                                equipment is acquired by a new facility                *     *    *     *    *
                                               Energized, for the purposes of this                  while remaining in place and                           ■ 73. Amend § 98.336 by adding
                                            subpart, means connected through                        continuing operation).
                                            busbars or cables to an electrical power                                                                       paragraphs (a)(6) and (b)(6) to read as
                                            system or fully-charged, ready for                      Subpart FF—Underground Coal Mines                      follows:
                                            service, and being prepared for                                                                                § 98.336    Data reporting requirements.
                                            connection to the electrical power                      ■ 70. Amend § 98.323 by revising
                                                                                                    parameter ‘‘MCFi’’ of equation FF–3 in                 *     *     *    *     *
                                            system. Energized equipment does not                                                                             (a) * * *
                                            include spare gas insulated equipment                   paragraph (b) introductory text to read
                                                                                                    as follows:                                              (6) Total amount of electric arc
                                            (including hermetically-sealed pressure                                                                        furnace dust annually consumed by all
                                            switchgear) in storage that has been                    § 98.323     Calculating GHG emissions.                Waelz kilns at the facility (tons).
                                            acquired by the facility, and is intended
                                                                                                    *         *    *       *      *                          (b) * * *
                                            for use by the facility, but that is not
                                                                                                          (b) * * *                                          (6) Total amount of electric arc
                                            being used or prepared for connection to
                                                                                                    MCFi = Moisture correction factor for the              furnace dust annually consumed by all
                                            the electrical power system.
                                               Insulating gas, for the purposes of this                measurement period, volumetric basis.               Waelz kilns at the facility (tons).
                                            subpart, means any fluorinated GHG or                    = 1 when Vi and Ci are measured on a dry              *     *     *    *     *
                                            fluorinated GHG mixture, including but                     basis or if both are measured on a wet
                                                                                                       basis.                                              Subpart HH—Municipal Solid Waste
                                            not limited to SF6 and PFCs, that is used
                                                                                                     = 1¥(fH2O)i when Vi is measured on a wet              Landfills
                                            as an insulating and/or arc-quenching                      basis and Ci is measured on a dry basis.
                                            gas in electrical equipment.                             = 1/[1¥(fH2O)i] when Vi is measured on a              ■ 74. Amend § 98.343 by revising
                                               New equipment, for the purposes of                      dry basis and Ci is measured on a wet
                                            this subpart, means either any gas                                                                             paragraphs (a)(2) and (c)(3) to read as
                                                                                                       basis.                                              follows:
                                            insulated equipment, including                          *        *     *       *      *
                                            hermetically-sealed pressure switchgear,                                                                       § 98.343    Calculating GHG emissions.
                                                                                                    ■ 71. Amend § 98.326 by revising
                                            that is not energized at the beginning of                                                                        (a) * * *
                                            the reporting year but is energized at the              paragraph (t) to read as follows:
                                                                                                                                                             (2) For years when material-specific
                                            end of the reporting year, or any gas                   § 98.326     Data reporting requirements.              waste quantity data are available, apply
                                            insulated equipment other than                          *     *    *     *    *                                equation HH–1 to this section for each
                                            hermetically-sealed pressure switchgear                   (t) Mine Safety and Health                           waste quantity type and sum the CH4
                                            that has been transferred while in use,                 Administration (MSHA) identification                   generation rates for all waste types to
                                            meaning it has been added to the                        number for this coal mine.                             calculate the total modeled CH4
                                            facility’s inventory without being taken
                                                                                                                                                           generation rate for the landfill. Use the
                                            out of active service (e.g., when the                   Subpart GG—Zinc Production                             appropriate parameter values for k,
                                            equipment is sold to or acquired by the
                                                                                                                                                           DOC, MCF, DOCF, and F shown in table
                                            facility while remaining in place and                   ■ 72. Amend § 98.333 by revising
                                                                                                                                                           HH–1 to this subpart. The annual
                                            continuing operation).                                  paragraph (b)(1) introductory text to
                                               Operator, for the purposes of this                                                                          quantity of each type of waste disposed
                                                                                                    read as follows:
                                            subpart, means any person who operates                                                                         must be calculated as the sum of the
                                            or supervises a facility, excluding a                   § 98.333     Calculating GHG emissions.                daily quantities of waste (of that type)
                                            person whose sole responsibility is to                  *      *     *     *    *                              disposed. You may use the
                                            ensure reliability, balance load or                        (b) * * *                                           uncharacterized MSW parameters for a
                                            otherwise address electricity flow.                        (1) For each Waelz kiln or                          portion of your waste materials when
                                               Reportable insulating gas, for                       electrothermic furnace at your facility                using the material-specific modeling
                                            purposes of this subpart, means an                      used for zinc production, you must                     approach for mixed waste streams that
                                            insulating gas whose weighted average                   determine the mass of carbon in each                   cannot be designated to a specific
                                            GWP, as calculated in equation DD–3 to                  carbon-containing material, other than                 material type. For years when waste
                                            § 98.302, is greater than one. A                        fuel, that is fed, charged, or otherwise               composition data are not available, use
                                            fluorinated GHG that makes up either                    introduced into each Waelz kiln and                    the bulk waste parameter values for k
                                            part or all of a reportable insulating gas              electrothermic furnace at your facility                and DOC in table HH–1 to this subpart
                                            is considered to be a component of the                  for each year and calculate annual CO2                 for the total quantity of waste disposed
                                            reportable insulating gas.                              process emissions from each affected                   in those years.
                                               Retired equipment, for the purposes of               unit at your facility using equation GG–               *     *     *     *     *
                                            this subpart, means either any gas                      1 to this section. For electrothermic                    (c) * * *
                                            insulated equipment including                           furnaces, carbon containing input                        (3) For landfills with landfill gas
                                            hermetically-sealed pressure switchgear,                materials include carbon electrodes and                collection systems, calculate CH4
                                            that is energized at the beginning of the               carbonaceous reducing agents. For                      emissions using the methodologies
                                            reporting year but is not energized at the              Waelz kilns, carbon containing input                   specified in paragraphs (c)(3)(i) and (ii)
                                            end of the reporting year, or any gas                   materials include carbonaceous                         of this section.
                                            insulated equipment other than                          reducing agents. If you document that a                  (i) Calculate CH4 emissions from the
                                            hermetically-sealed pressure switchgear                 specific material contributes less than 1              modeled CH4 generation and measured
lotter on DSK11XQN23PROD with RULES2




                                            that has been transferred while in use,                 percent of the total carbon into the                   CH4 recovery using equation HH–6 to
                                            meaning it has been removed from the                    process, you do not have to include the                this section.




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00138   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                               Filed: 06/24/2024              Page 144 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                31939




                                            Where:                                                            measurement location. If the gas is                intended temperature or other parameter
                                            Emissions = Methane emissions from the                            transported off-site for destruction, use          indicative of effective operation. For
                                                landfill in the reporting year (metric tons                   DE = 1. If the volumetric flow and CH4             flares, times when there is no flame
                                                CH4).                                                         concentration of the recovered gas is              present must be excluded from the
                                            GCH4 = Modeled methane generation rate in                         measured at a single location providing            annual operating hours for the
                                                reporting year from equation HH–1 to                          landfill gas to multiple destruction               destruction device. If the gas is
                                                this section or the quantity of recovered                     devices (including some gas destroyed              transported off-site for destruction, use
                                                CH4 from equation HH–4 to this section,                       on-site and some gas sent off-site for             fDest,n = 1. If the volumetric flow and CH4
                                                whichever is greater (metric tons CH4).                       destruction), calculate DEn as the                 concentration of the recovered gas is
                                            N = Number of landfill gas measurement                            arithmetic average of the DE values                measured at a single location providing
                                                locations (associated with a destruction                      determined for each destruction device             landfill gas to multiple destruction
                                                device or gas sent off-site). If a single                     associated with that measurement                   devices (including some gas destroyed
                                                monitoring location is used to monitor                        location.
                                                                                                                                                                 on-site and some gas sent off-site for
                                                volumetric flow and CH4 concentration                   fDest,n = Fraction of hours the destruction
                                                                                                                                                                 destruction), calculate fDest,n as the
                                                of the recovered gas sent to one or                           device associated with the nth
                                                                                                                                                                 arithmetic average of the fDest values
                                                multiple destruction devices, then N = 1.                     measurement location was operating
                                                                                                              during active gas flow calculated as the           determined for each destruction device
                                            Rn = Quantity of recovered CH4 from
                                                                                                              annual operating hours for the                     associated with that measurement
                                                equation HH–4 to this section for the nth
                                                measurement location (metric tons CH4).                       destruction device divided by the annual           location.
                                            OX = Oxidation fraction. Use the appropriate                      hours flow was sent to the destruction
                                                oxidation fraction default value from                         device. The annual operating hours for          (ii) Calculate CH4 generation and CH4
                                                table HH–4 to this subpart.                                   the destruction device should include         emissions using measured CH4 recovery
                                            DEn = Destruction efficiency (lesser of                           only those periods when flow was sent         and estimated gas collection efficiency
                                                manufacturer’s specified destruction                          to the destruction device and the             and equations HH–7 and HH–8 to this
                                                efficiency and 0.99) for the nth                              destruction device was operating at its       section.


                                                               MG =        [2-
                                                                            CE
                                                                                  L~=1 [L~=l Rx,c] X
                                                                                               fRec,c
                                                                                                               (1 - ox)]                                                            (Eq. HH-7)




                                                    (DEn X foest,n))}]                                                                                                              (Eq. HH-8)

                                            Where:                                                            from table HH–3 to this subpart. If area            arithmetic average of the DE values
                                            MG = Methane generation, adjusted for                             by soil cover type information is not               determined for each destruction device
                                                 oxidation, from the landfill in the                          available, use applicable default value             associated with that measurement
                                                 reporting year (metric tons CH4).                            for CE4 in table HH–3 to this subpart for           location.
                                            Emissions = Methane emissions from the                            all areas under active influence of the       fDest,n = Fraction of hours the destruction
                                                 landfill in the reporting year (metric tons                  collection system.                                  device associated with the nth
                                                 CH4).                                                  fRec,c = Fraction of hours the landfill gas               measurement location was operating
                                                                                                              collection system ‘‘c’’ was operating               during active gas flow calculated as the
                                            C = Number of landfill gas collection systems
                                                                                                              normally (annual operating hours/8760               annual operating hours for the
                                                 operated at the landfill.
                                                                                                              hours per year or annual operating                  destruction device divided by the annual
                                            X = Number of landfill gas measurement
                                                                                                              hours/8784 hours per year for a leap                hours flow was sent to the destruction
                                                 locations associated with landfill gas                       year). Do not include periods of                    device. The annual operating hours for
                                                 collection system ‘‘c’’.                                     shutdown or poor operation, such as                 the destruction device should include
                                            N = Number of landfill gas measurement                            times when pressure, temperature, or                only those periods when flow was sent
                                                 locations (associated with a destruction                     other parameters indicative of operation            to the destruction device and the
                                                 device or gas sent off-site). If a single                    are outside of normal variances, in the             destruction device was operating at its
                                                 monitoring location is used to monitor                       annual operating hours.                             intended temperature or other parameter
                                                 volumetric flow and CH4 concentration                  OX = Oxidation fraction. Use appropriate                  indicative of effective operation. For
                                                 of the recovered gas sent to one or                          oxidation fraction default value from               flares, times when there is no flame
                                                 multiple destruction devices, then N = 1.                    table HH–4 to this subpart.                         present must be excluded from the
                                                 Note that N = S(c=1)C[S(x=1)X[1]].                     DEn = Destruction efficiency, (lesser of                  annual operating hours for the
                                            Rx,c = Quantity of recovered CH4 from                             manufacturer’s specified destruction                destruction device. If the gas is
                                                 equation HH–4 to this section for the xth                    efficiency and 0.99) for the nth                    transported off-site for destruction, use
                                                 measurement location for landfill gas                        measurement location. If the gas is                 fDest,n = 1. If the volumetric flow and CH4
                                                 collection system ‘‘c’’ (metric tons CH4).                   transported off-site for destruction, use           concentration of the recovered gas is
lotter on DSK11XQN23PROD with RULES2




                                            Rn = Quantity of recovered CH4 from                               DE = 1. If the volumetric flow and CH4              measured at a single location providing
                                                                                                                                                                                                                ER25AP24.055</GPH>




                                                 equation HH–4 to this section for the nth                    concentration of the recovered gas is               landfill gas to multiple destruction
                                                 measurement location (metric tons CH4).                      measured at a single location providing             devices (including some gas destroyed
                                            CE = Collection efficiency estimated at                           landfill gas to multiple destruction                on-site and some gas sent off-site for
                                                 landfill, taking into account system                         devices (including some gas destroyed               destruction), calculate fDest,n as the
                                                 coverage, operation, measurement                             on-site and some gas sent off-site for              arithmetic average of the fDest values
                                                                                                                                                                                                                ER25AP24.054</GPH>




                                                 practices, and cover system materials                        destruction), calculate DEn as the                  determined for each destruction device



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000     Frm 00139   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                                Document #2061464                                          Filed: 06/24/2024                                Page 145 of 164
                                            31940                 Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                 associated with that measurement                              (iii) The annual hours the gas                                         (3) The destruction efficiency
                                                 location.                                                  collection system was operating                                        (decimal).
                                            ■ 75. Amend § 98.346 by:                                        normally. Do not include periods of                                       (4) The total annual hours where
                                            ■ a. Redesignating paragraphs (h) and (i)                       shut down or poor operation, such as                                   active gas flow was sent to the
                                            as paragraphs (i) and (j), respectively.                        times when pressure, temperature, or                                   destruction device.
                                            ■ b. Adding new paragraph (h); and                              other parameters indicative of operation
                                            ■ c. Revising newly redesignated                                                                                                          (5) The annual operating hours where
                                                                                                            are outside of normal variances, in the                                active gas flow was sent to the
                                            paragraphs (j)(5) through (7).                                  annual operating hours.
                                              The addition and revisions read as                                                                                                   destruction device and the destruction
                                                                                                               (iv) The number of measurement                                      device was operating at its intended
                                            follows:
                                                                                                            locations associated with the gas                                      temperature or other parameter
                                            § 98.346     Data reporting requirements.                       collection system.                                                     indicative of effective operation. For
                                            *      *    *     *      *                                         (v) For each measurement location                                   flares, times when there is no flame
                                              (h) An indication of the applicability                        associated with the gas collection                                     present must be excluded from the
                                            of part 60 or part 62 of this chapter                           system, report:                                                        annual operating hours for the
                                            requirements to the landfill (part 60,                             (A) A unique name or ID number for                                  destruction device.
                                            subparts WWW and XXX of this                                    the measurement location.                                                 (6) The estimated fraction of the
                                            chapter, approved state plan                                       (B) Annual quantity of recovered CH4                                recovered CH4 reported for the
                                            implementing part 60, subparts Cc or Cf                         (metric tons CH4) calculated using                                     measurement location directed to the
                                            of this chapter, Federal plan as                                equation HH–4 to § 98.343.                                             destruction device based on best
                                            implemented at part 62, subparts GGG                               (C) An indication of whether                                        available data or engineering judgement
                                            or OOO of this chapter, or not subject                          destruction occurs at the landfill                                     (decimal, must total to 1 for each
                                            to part 60 or part 62 of this chapter                           facility, off-site, or both for the                                    measurement location).
                                            municipal solid waste landfill rules),                          measurement location.
                                            and if the landfill is subject to a part 60                                                                                               (7) The following information about
                                                                                                               (D) If destruction occurs at the landfill                           the landfill.
                                            or part 62 of this chapter municipal
                                                                                                            facility for the measurement location (in                                 (i) The surface area (square meters)
                                            solid waste landfill rule, an indication
                                                                                                            full or in part), also report the number                               and estimated waste depth (meters) for
                                            of whether the landfill gas collection
                                                                                                            of destruction devices associated with                                 each area specified in table HH–3 to this
                                            system is required under part 60 or part
                                                                                                            the measurement location that are                                      subpart.
                                            62 of this chapter.
                                                                                                            located at the landfill facility and the
                                            *      *    *     *      *                                                                                                                (ii) The estimated gas collection
                                                                                                            information in paragraphs (j)(6)(v)(D)(1)
                                              (j) * * *                                                                                                                            system efficiency for the landfill.
                                                                                                            through (6) of this section for each
                                              (5) The number of gas collection                                                                                                        (iii) An indication of whether passive
                                                                                                            destruction device located at the landfill
                                            systems at the landfill facility.                                                                                                      vents and/or passive flares (vents or
                                              (6) For each gas collection system at                         facility.
                                                                                                                                                                                   flares that are not considered part of the
                                            the facility report:                                               (1) A unique name or ID number for
                                                                                                                                                                                   gas collection system as defined in
                                              (i) A unique name or ID number for                            the destruction device.
                                                                                                                                                                                   § 98.6) are present at the landfill.
                                            the gas collection system.                                         (2) The type of destruction device
                                              (ii) A description of the gas collection                      (flare, a landfill gas to energy project                               *       *    *    *     *
                                            system (manufacturer, capacity, and                             (i.e., engine or turbine), off-site, or other                          ■ 76. Revise table HH–1 to subpart HH
                                            number of wells).                                               (specify)).                                                            to read as follows:

                                                          TABLE HH–1 TO SUBPART HH OF PART 98—EMISSIONS FACTORS, OXIDATION FACTORS AND METHODS
                                                                                 Factor                                                                  Default value                                               Units

                                            DOC and k values—Bulk waste option:
                                               DOC (bulk waste) for disposal years prior to 2010 ...............                   0.20 ............................................................   Weight fraction, wet basis.
                                               DOC (bulk waste) for disposal years 2010 and later ............                     0.17 ............................................................   Weight fraction, wet basis.
                                               k (precipitation plus recirculated leachate a <20 inches/year)                      0.02 ............................................................   yr–1.
                                                  for disposal years prior to 2010.
                                               k (precipitation plus recirculated leachate a <20 inches/year)                      0.033 ..........................................................    yr–1.
                                                  for disposal years 2010 and later.
                                               k (precipitation plus recirculated leachate a 20–40 inches/                         0.038 ..........................................................    yr–1.
                                                  year) for disposal years prior to 2010.
                                               k (precipitation plus recirculated leachate a 20–40 inches/                         0.067 ..........................................................    yr–1.
                                                  year) for disposal years 2010 and later.
                                               k (precipitation plus recirculated leachate a >40 inches/year)                      0.057 ..........................................................    yr–1.
                                                  for disposal years prior to 2010.
                                               k (precipitation plus recirculated leachate a >40 inches/year)                      0.098 ..........................................................    yr–1.
                                                  for disposal years 2010 and later.
                                            DOC and k values—Modified bulk MSW option:
                                               DOC (bulk MSW, excluding inerts and C&D waste) for dis-                             0.31 ............................................................   Weight fraction, wet basis.
                                                  posal years prior to 2010.
                                               DOC (bulk MSW, excluding inerts and C&D waste) for dis-                             0.27 ............................................................   Weight fraction, wet basis.
lotter on DSK11XQN23PROD with RULES2




                                                  posal years 2010 and later.
                                               DOC (inerts, e.g., glass, plastics, metal, concrete) ...............                0.00 ............................................................   Weight fraction, wet basis.
                                               DOC (C&D waste) .................................................................   0.08 ............................................................   Weight fraction, wet basis.
                                               k (bulk MSW, excluding inerts and C&D waste) for disposal                           0.02 to 0.057 b ............................................        yr–1.
                                                  years prior to 2010.
                                               k (bulk MSW, excluding inerts and C&D waste) for disposal                           0.033 to 0.098 b ..........................................         yr–1.
                                                  years 2010 and later.



                                       VerDate Sep<11>2014     19:27 Apr 24, 2024     Jkt 262001    PO 00000     Frm 00140     Fmt 4701      Sfmt 4700       E:\FR\FM\25APR2.SGM              25APR2
                                                  USCA Case #24-1216                                         Document #2061464                                                Filed: 06/24/2024                                Page 146 of 164
                                                                      Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                             31941

                                                TABLE HH–1 TO SUBPART HH OF PART 98—EMISSIONS FACTORS, OXIDATION FACTORS AND METHODS—Continued
                                                                                        Factor                                                                          Default value                                                    Units

                                                k (inerts, e.g., glass, plastics, metal, concrete) .....................                          0.00 ............................................................    yr–1.
                                                k (C&D waste) .......................................................................             0.02 to 0.04 b ..............................................        yr–1.
                                            DOC and k values—Waste composition option:
                                                DOC (food waste) ..................................................................               0.15 ............................................................    Weight fraction, wet basis.
                                                DOC (garden) ........................................................................             0.2 ..............................................................   Weight fraction, wet basis.
                                                DOC (paper) ..........................................................................            0.4 ..............................................................   Weight fraction, wet basis.
                                                DOC (wood and straw) ..........................................................                   0.43 ............................................................    Weight fraction, wet basis.
                                                DOC (textiles) ........................................................................           0.24 ............................................................    Weight fraction, wet basis.
                                                DOC (diapers) ........................................................................            0.24 ............................................................    Weight fraction, wet basis.
                                                DOC (sewage sludge) ...........................................................                   0.05 ............................................................    Weight fraction, wet basis.
                                                DOC (inerts, e.g., glass, plastics, metal, cement) .................                              0.00 ............................................................    Weight fraction, wet basis.
                                                DOC (Uncharacterized MSW ................................................                         0.32 ............................................................    Weight fraction, wet basis.
                                                k (food waste) ........................................................................           0.06 to 0.185 c ............................................         yr–1.
                                                k (garden) ..............................................................................         0.05 to 0.10 c ..............................................        yr–1.
                                                k (paper) ................................................................................        0.04 to 0.06 c ..............................................        yr–1.
                                                k (wood and straw) ................................................................               0.02 to 0.03 c ..............................................        yr–1.
                                                k (textiles) ..............................................................................       0.04 to 0.06 c ..............................................        yr–1.
                                                k (diapers) ..............................................................................        0.05 to 0.10 c ..............................................        yr–1.
                                                k (sewage sludge) .................................................................               0.06 to 0.185 c ............................................         yr–1.
                                                k (inerts, e.g., glass, plastics, metal, concrete) .....................                          0.00 ............................................................    yr–1.
                                                k (uncharacterized MSW) ......................................................                    0.033 to 0.098 b ..........................................          yr–1.
                                            Other parameters—All MSW landfills:
                                                MCF .......................................................................................       1.
                                                DOCF .....................................................................................        0.5.
                                                F .............................................................................................   0.5.
                                                OX ..........................................................................................     See table HH–4 to this subpart.
                                                DE ..........................................................................................     0.99.
                                              a Recirculated leachate (in inches/year) is the total volume of leachate recirculated from company records or engineering estimates divided by
                                            the area of the portion of the landfill containing waste with appropriate unit conversions. Alternatively, landfills that use leachate recirculation can
                                            elect to use the k value of 0.098 rather than calculating the recirculated leachate rate.
                                              b Use the lesser value when precipitation plus recirculated leachate is less than 20 inches/year. Use the greater value when precipitation plus
                                            recirculated leachate is greater than 40 inches/year. Use the average of the range of values when precipitation plus recirculated leachate is 20 to
                                            40 inches/year (inclusive). Alternatively, landfills that use leachate recirculation can elect to use the greater value rather than calculating the recir-
                                            culated leachate rate.
                                              c Use the lesser value when the potential evapotranspiration rate exceeds the mean annual precipitation rate plus recirculated leachate. Use
                                            the greater value when the potential evapotranspiration rate does not exceed the mean annual precipitation rate plus recirculated leachate. Alter-
                                            natively, landfills that use leachate recirculation can elect to use the greater value rather than assessing the potential evapotranspiration rate or
                                            recirculated leachate rate.


                                            ■ 77. Revise table HH–3 to subpart HH
                                            to read as follows:

                                                                            TABLE HH–3 TO SUBPART HH OF PART 98—LANDFILL GAS COLLECTION EFFICIENCIES
                                                                                                                                                                                                                                                  Landfill gas
                                                                                                                         Description                                                                                           Term ID             collection
                                                                                                                                                                                                                                                   efficiency

                                            A1: Area with no waste in-place .................................................................................................................................             Not applicable; do not use this
                                                                                                                                                                                                                              area in the calculation.

                                            A2: Area without active gas collection, regardless of cover type ..............................................................................                               CE2 ..............     0%.
                                            A3: Area with daily soil cover and active gas collection ............................................................................................                         CE3 ..............     50%.
                                            A4: Area with an intermediate soil cover, or a final soil cover not meeting the criteria for A5 below, and active                                                             CE4 ..............     65%.
                                              gas collection.
                                            A5: Area with a final soil cover of 3 feet or thicker of clay or final cover (as approved by the relevant agency)                                                             CE5 ..............     85%.
                                              and/or geomembrane cover system and active gas collection.

                                            Area weighted average collection efficiency for landfills ............................................................................................                        CEave1 = (A2*CE2 + A3*CE3
                                                                                                                                                                                                                           + A4*CE4 + A5*CE5)/(A2 +
                                                                                                                                                                                                                           A3 + A4 + A5).



                                            ■ 78. Revise footnote ‘‘b’’ to table HH—
lotter on DSK11XQN23PROD with RULES2




                                            4 to subpart HH to read as follows:




                                       VerDate Sep<11>2014         19:27 Apr 24, 2024         Jkt 262001      PO 00000        Frm 00141       Fmt 4701       Sfmt 4700      E:\FR\FM\25APR2.SGM               25APR2
                                                 USCA Case #24-1216                            Document #2061464                                   Filed: 06/24/2024                  Page 147 of 164
                                            31942              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                                  TABLE HH–4 TO SUBPART HH OF PART 98—LANDFILL METHANE OXIDATION FRACTIONS
                                                                                                                                                                                            Use this
                                                                                                                                                                                            landfill
                                            Under these conditions:                                                                                                                         methane
                                                                                                                                                                                            oxidation
                                                                                                                                                                                            fraction:


                                                      *                       *                       *                           *                        *                      *                 *
                                                       *                    *                     *               *                    *                  *                    *
                                              b Methane flux rate (in grams per square meter per day; g/m2/d) is the mass flow rate of methane per unit area at the bottom of the surface
                                            soil prior to any oxidation and is calculated as follows:


                                              For equation HH–5 to § 98.343, or for                       For equation HH–6 to § 98.343,
                                            equation TT–6 to § 98.463,
                                            MF = K × GCH4/SArea




                                               For equation HH–7 to § 98.343,


                                                                                                  MF = K X (~ L~=l [L~=l Rx,c])/sarea
                                                                                                                       CE                 fRec,c



                                               For equation HH–8 to § 98.343,


                                                                                         MF = K X (~EL..c-1
                                                                                                     "'c_ [L~=l
                                                                                                             f Rx,c] - L..n-1
                                                                                                                       "'N- Rn )/sarea
                                                                                                             C               Rec,c


                                            Where:                                                  C = Number of landfill gas collection systems               Subpart OO—Suppliers of Industrial
                                            MF = Methane flux rate from the landfill in                   operated at the landfill.                             Greenhouse Gases
                                                the reporting year (grams per square                X = Number of landfill gas measurement
                                                meter per day, g/m2/d).                                   locations associated with landfill gas
                                                                                                                                                                ■ 79. Amend § 98.416 by revising
                                            K = unit conversion factor = 106/365 (g/                      collection system ‘‘c’’.
                                                metric ton per days/year) or 106/366 for            N = Number of landfill gas measurement
                                                                                                                                                                paragraphs (c) introductory text, (c)(6)
                                                a leap year.                                              locations (associated with a destruction              and (7), (d) introductory text, and (d)(4),
                                            SArea = The surface area of the landfill                      device or gas sent off-site). If a single             and adding paragraph (k) to read as
                                                containing waste at the beginning of the                  monitoring location is used to monitor                follows:
                                                reporting year (square meters, m2).
                                                                                                          volumetric flow and CH4 concentration
                                            GCH4 = Modeled methane generation rate in                                                                           § 98.416    Data reporting requirements.
                                                reporting year from equation HH–1 to                      of the recovered gas sent to one or
                                                                                                          multiple destruction devices, then N = 1.             *      *    *     *    *
                                                § 98.343 or equation TT–1 to § 98.463, as
                                                applicable, except for application with                   Note that N = Sc=1C[Sx=1X[1]].                           (c) Each bulk importer of fluorinated
                                                equation HH–6 to § 98.343 (metric tons              Rx,c = Quantity of recovered CH4 from                       GHGs, fluorinated heat transfer fluids
                                                CH4). For application with equation HH–                   equation HH–4 to § 98.343 for the xth                 (HTFs), or nitrous oxide shall submit an
                                                6 to § 98.343, the greater of the modeled                 measurement location for landfill gas                 annual report that summarizes its
                                                methane generation rate in reporting year                 collection system ‘‘c’’ (metric tons CH4).
                                                from equation HH–1 to § 98.343 or                                                                               imports at the corporate level, except
                                                                                                    Rn = Quantity of recovered CH4 from
                                                equation TT–1 to § 98.463, as applicable,                 equation HH–4 to § 98.343 for the nth
                                                                                                                                                                importers may exclude shipments
                                                and the quantity of recovered CH4 from                    measurement location (metric tons CH4).               including less than twenty-five
                                                equation HH–4 to § 98.343 (metric tons              fRec,c = Fraction of hours the landfill gas                 kilograms of fluorinated GHGs,
                                                                                                                                                                                                              ER25AP24.058</GPH>




                                                CH4).                                                     collection system ‘‘c’’ was operating                 fluorinated HTFs, or nitrous oxide;
                                            CE = Collection efficiency estimated at                                                                             transshipments if the importer also
                                                                                                          normally (annual operating hours/8,760
                                                landfill, taking into account system
                                                                                                          hours per year or annual operating                    excludes transshipments from reporting
                                                coverage, operation, measurement
                                                                                                          hours/8,784 hours per year for a leap                 of exports under paragraph (d) of this
lotter on DSK11XQN23PROD with RULES2




                                                practices, and cover system materials
                                                                                                          year). Do not include periods of                      section; and heels that meet the
                                                                                                                                                                                                              ER25AP24.057</GPH>




                                                from table HH–3 to this subpart. If area
                                                by soil cover type information is not                     shutdown or poor operation, such as                   conditions set forth at § 98.417(e) if the
                                                available, use applicable default value                   times when pressure, temperature, or                  importer also excludes heels from any
                                                for CE4 in table HH–3 to this subpart for                 other parameters indicative of operation              reporting of exports under paragraph (d)
                                                all areas under active influence of the                   are outside of normal variances, in the
                                                                                                                                                                of this section. The report shall contain
                                                                                                                                                                                                              ER25AP24.056</GPH>




                                                collection system.                                        annual operating hours.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000    Frm 00142   Fmt 4701       Sfmt 4700    E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 148 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                         31943

                                            the following information for each                         (2) Mass of CO2 captured from any on-              section. The quantities specified in
                                            import:                                                 site heat and/or electricity generation,              paragraphs (i)(1) through (3) of this
                                            *      *    *     *     *                               where applicable.                                     section must be provided per energy
                                               (6) Harmonized tariff system (HTS)                   ■ 82. Amend § 98.423 by revising                      source if known and must represent the
                                            code of the fluorinated GHGs,                           paragraphs (a)(3)(i) introductory text                electricity and heat used for the DAC
                                            fluorinated HTFs, or nitrous oxide                      and (a)(3)(ii) introductory text to read as           process unit starting with air intake and
                                            shipped.                                                follows:                                              ending with the compressed CO2 stream
                                               (7) Customs entry number and                                                                               (i.e., the CO2 stream ready for supply for
                                            importer number for each shipment.                      § 98.423    Calculating CO2 supply.                   commercial applications or, if
                                            *      *    *     *     *                                 (a) * * *                                           maintaining custody of the stream,
                                               (d) Each bulk exporter of fluorinated                  (3) * * *                                           sequestration or injection of the stream
                                            GHGs, fluorinated HTFs, or nitrous                        (i) For facilities with production                  underground).
                                            oxide shall submit an annual report that                process units, DAC process units, or                     (1) Electricity excluding combined
                                            summarizes its exports at the corporate                 production wells that capture or extract              heat and power (CHP). If electricity is
                                            level, except reporters may exclude                     a CO2 stream and either measure it after              provided to a dedicated meter for the
                                            shipments including less than twenty-                   segregation or do not segregate the flow,             DAC process unit, report the annual
                                            five kilograms of fluorinated GHGs,                     calculate the total CO2 supplied in                   quantity of electricity consumed, in
                                            fluorinated HTFs, or nitrous oxide;                     accordance with equation PP–3a to                     megawatt hours (MWh), and the
                                            transshipments if the exporter also                     paragraph (a)(3)(i) of this section.                  information in paragraph (i)(1)(i) or (ii)
                                            excludes transshipments from reporting                  *      *     *     *     *                            of this section.
                                            of imports under paragraph (c) of this                    (ii) For facilities with production                    (i) If the electricity is sourced from a
                                            section; and heels if the exporter also                 process units or DAC process units that               grid connection, report the following
                                            excludes heels from any reporting of                    capture a CO2 stream and measure it                   information:
                                            imports under paragraph (c) of this                     ahead of segregation, calculate the total                (A) State where the facility with the
                                            section. The report shall contain the                   CO2 supplied in accordance with                       DAC process unit is located.
                                            following information for each export:                  equation PP–3b to paragraph (a)(3)(ii) of                (B) County where the facility with the
                                                                                                    this section.                                         DAC process unit is located.
                                            *      *    *     *     *                                                                                        (C) Name of the electric utility
                                               (4) Harmonized tariff system (HTS)                   *      *     *     *     *                            company that supplied the electricity as
                                            code of the fluorinated GHGs,                           ■ 83. Amend § 98.426 by:                              shown on the last monthly bill issued
                                            fluorinated HTFs, or nitrous oxide                      ■ a. Redesignating paragraphs (f)(12)                 by the utility company during the
                                            shipped.                                                and (13) as paragraphs (f)(13) and (14),              reporting period.
                                            *      *    *     *     *                               respectively;                                            (D) Name of the electric utility
                                               (k) For nitrous oxide, saturated                     ■ b. Adding new paragraph (f)(12);                    company that delivered the electricity.
                                            perfluorocarbons, sulfur hexafluoride,                  ■ c. Revising paragraph (h); and                      In states with regulated electric utility
                                            and fluorinated heat transfer fluids as                 ■ d. Adding paragraph (i).                            markets, this will generally be the same
                                            defined at § 98.6, report the end use(s)                  The additions and revision read as                  utility reported under paragraph
                                            for which each GHG or fluorinated HTF                   follows:                                              (i)(1)(i)(C) of this section, but in states
                                            is transferred and the aggregated annual                                                                      with deregulated electric utility
                                            quantity of that GHG or fluorinated HTF                 § 98.426    Data reporting requirements.
                                                                                                                                                          markets, this may be a different utility
                                            in metric tons that is transferred to that              *       *    *      *    *                            company.
                                            end use application, if known.                             (f) * * *                                             (E) Annual quantity of electricity
                                                                                                       (12) Geologic sequestration of carbon              consumed in MWh, calculated as the
                                            Subpart PP—Suppliers of Carbon                          dioxide with enhanced oil recovery that               sum of the total energy usage values
                                            Dioxide                                                 is covered by subpart VV of this part.                specified in all billing statements
                                            ■ 80. Amend § 98.420 by adding
                                                                                                    *       *    *      *    *                            received during the reporting year. Most
                                            paragraph (a)(4) to read as follows:                       (h) If you capture a CO2 stream from               customers will receive 12 monthly
                                                                                                    a facility that is subject to this part and           billing statements during the reporting
                                            § 98.420   Definition of the source category.           transfer CO2 to any facilities that are               year. Many utilities bill their customers
                                               (a) * * *                                            subject to subpart RR or VV of this part,             per kilowatt-hour (kWh); usage values
                                               (4) Facilities with process units,                   you must:                                             on bills that are based on kWh should
                                            including but not limited to direct air                    (1) Report the facility identification             be divided by 1,000 to report the usage
                                            capture (DAC), that capture a CO2                       number associated with the annual GHG                 in MWh as required under this
                                            stream from ambient air for purposes of                 report for the facility that is the source            paragraph (i)(1)(i)(E).
                                            supplying CO2 for commercial                            of the captured CO2 stream;                              (ii) If electricity is sourced from on-
                                            applications or that capture and                           (2) Report each facility identification            site or through a contractual mechanism
                                            maintain custody of a CO2 stream in                     number associated with the annual GHG                 for dedicated off-site generation, for
                                            order to sequester or otherwise inject it               reports for each subpart RR and subpart               each applicable energy source specified
                                            underground.                                            VV facility to which CO2 is transferred;              in paragraphs (i)(1)(ii)(A) through (G) of
                                            *      *     *     *    *                               and                                                   this section, report the annual quantity
                                            ■ 81. Amend § 98.422 by adding
                                                                                                       (3) Report the annual quantity of CO2              of electricity consumed, in MWh. If the
                                            paragraph (e) to read as follows:                       in metric tons that is transferred to each            on-site electricity source is natural gas,
                                                                                                    subpart RR and subpart VV facility.                   oil, or coal, also indicate whether flue
lotter on DSK11XQN23PROD with RULES2




                                            § 98.422   GHGs to report.                                 (i) If you capture a CO2 stream at a               gas is also captured by the DAC process
                                            *     *    *    *     *                                 facility with a DAC process unit, report              unit.
                                              (e) Mass of CO2 captured from DAC                     the annual quantity of on-site and off-                  (A) Non-hydropower renewable
                                            process units.                                          site electricity and heat generated for               sources including solar, wind,
                                              (1) Mass of CO2 captured from                         each DAC process unit as specified in                 geothermal and tidal.
                                            ambient air.                                            paragraphs (i)(1) through (3) of this                    (B) Hydropower.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00143   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 149 of 164
                                            31944              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                               (C) Natural gas.                                       (B) Geothermal.                                     Subpart SS—Electrical Equipment
                                               (D) Oil.                                               (C) Natural gas.                                    Manufacture or Refurbishment
                                               (E) Coal.                                              (D) Oil.
                                               (F) Nuclear.                                           (E) Coal.                                           Sec.
                                               (G) Other.                                             (F) Nuclear.                                        98.450 Definition of the source category.
                                               (2) Heat excluding CHP. For each                       (G) Other.                                          98.451 Reporting threshold.
                                            applicable energy source specified in                   ■ 84. Amend § 98.427 by revising                      98.452 GHGs to report.
                                            paragraphs (i)(2)(i) through (vii) of this              paragraph (a) to read as follows:                     98.453 Calculating GHG emissions.
                                            section, report the annual quantity of                                                                        98.454 Monitoring and QA/QC
                                                                                                    § 98.427    Records that must be retained.
                                            heat, steam, or other forms of thermal                                                                             requirements.
                                                                                                    *      *    *    *    *                               98.455 Procedures for estimating missing
                                            energy sourced from on-site or through                     (a) The owner or operator of a facility
                                            a contractual mechanism for dedicated                                                                              data.
                                                                                                    containing production process units or                98.456 Data reporting requirements.
                                            off-site generation, in megajoules (MJ). If             DAC process units must retain quarterly
                                            the on-site heat source is natural gas,                                                                       98.457 Records that must be retained.
                                                                                                    records of captured or transferred CO2                98.458 Definitions.
                                            oil, or coal, also indicate whether flue                streams and composition.
                                            gas is also captured by the DAC process                                                                       § 98.450    Definition of the source category.
                                            unit.                                                   *      *    *    *    *
                                               (i) Solar.                                                                                                   The electrical equipment
                                                                                                    Subpart QQ—Importers and Exporters
                                               (ii) Geothermal.                                                                                           manufacturing or refurbishment
                                                                                                    of Fluorinated Greenhouse Gases
                                               (iii) Natural gas.                                   Contained in Pre-Charged Equipment                    category consists of processes that
                                               (iv) Oil.                                            or Closed-Cell Foams                                  manufacture or refurbish gas-insulated
                                               (v) Coal.                                                                                                  substations, circuit breakers, other
                                               (vi) Nuclear.                                        ■ 85. Amend § 98.436 by adding                        switchgear, gas-insulated lines, or
                                               (vii) Other.                                         paragraphs (a)(7) and (b)(7) to read as               power transformers (including gas-
                                               (3) CHP—(i) Electricity from CHP. If                 follows:                                              containing components of such
                                            electricity from CHP is sourced from on-                                                                      equipment) containing fluorinated
                                            site or through a contractual mechanism                 § 98.436    Data reporting requirements.
                                                                                                                                                          GHGs, including but not limited to
                                            for dedicated off-site generation, for                    (a) * * *
                                                                                                      (7) The Harmonized tariff system                    sulfur-hexafluoride (SF6) and
                                            each applicable energy source specified                                                                       perfluorocarbons (PFCs). The processes
                                            in paragraphs (i)(3)(i)(A) through (G) of               (HTS) code for each type of pre-charged
                                                                                                    equipment or closed-cell foam                         include equipment testing, installation,
                                            this section, report the annual quantity
                                                                                                    imported.                                             manufacturing, decommissioning and
                                            consumed, in MWh. If the on-site
                                                                                                      (b) * * *                                           disposal, refurbishing, and storage in
                                            electricity source for CHP is natural gas,
                                                                                                      (7) The Schedule B code for each type               gas cylinders and other containers.
                                            oil, or coal, also indicate whether flue
                                                                                                    of pre-charged equipment or closed-cell
                                            gas is also captured by the DAC process                                                                       § 98.451    Reporting threshold.
                                                                                                    foam exported.
                                            unit.
                                               (A) Non-hydropower renewable                                                                                 You must report GHG emissions
                                                                                                    Subpart RR—Geologic Sequestration
                                            sources including solar, wind,                                                                                under this subpart if your facility
                                                                                                    of Carbon Dioxide
                                            geothermal and tidal.                                                                                         contains an electrical equipment
                                               (B) Hydropower.                                      ■ 86. Amend § 98.449 by adding the                    manufacturing or refurbishing process
                                               (C) Natural gas.                                     definition ‘‘Offshore’’ in alphabetical               and the facility meets the requirements
                                               (D) Oil.                                             order to read as follows:                             of § 98.2(a)(2). To calculate total annual
                                               (E) Coal.                                                                                                  GHG emissions for comparison to the
                                               (F) Nuclear.                                         § 98.449    Definitions.
                                                                                                                                                          25,000 metric ton CO2e per year
                                               (G) Other.                                           *     *      *    *     *                             emission threshold in § 98.2(a)(2),
                                               (ii) Heat from CHP. For each                            Offshore means seaward of the                      follow the requirements of § 98.2(b),
                                            applicable energy source specified in                   terrestrial borders of the United States,
                                                                                                                                                          with one exception. Instead of following
                                            paragraphs (i)(3)(ii)(A) through (G) of                 including waters subject to the ebb and
                                                                                                                                                          the requirement of § 98.453 to calculate
                                            this section, report the quantity of heat,              flow of the tide, as well as adjacent
                                                                                                    bays, lakes or other normally standing                emissions from electrical equipment
                                            steam, or other forms of thermal energy                                                                       manufacture or refurbishment, you must
                                            from CHP sourced from on-site or                        waters, and extending to the outer
                                                                                                    boundaries of the jurisdiction and                    calculate emissions of each fluorinated
                                            through a contractual mechanism for                                                                           GHG that is a component of a reportable
                                            dedicated off-site generation, in MJ. If                control of the United States under the
                                                                                                    Outer Continental Shelf Lands Act.                    insulating gas and then sum the
                                            the on-site heat source is natural gas,
                                                                                                    *     *      *    *     *                             emissions of each fluorinated GHG
                                            oil, or coal, also indicate whether flue
                                                                                                                                                          resulting from manufacturing and
                                            gas is also captured by the DAC process                 ■ 87. Revise subpart SS consisting of
                                                                                                                                                          refurbishing electrical equipment using
                                            unit.                                                   §§ 98.450 through 98.458 to read as
                                               (A) Solar.                                           follows:                                              equation SS–1 to this section.


                                                                   E = Lj Li~ * GHGi,w * GWPi * EF * 0.000453592                                                      (Eq. SS-1)
lotter on DSK11XQN23PROD with RULES2




                                            Where:                                                  Pj = Total annual purchases of reportable             GWPi = Gas-appropriate GWP as provided in
                                            E = Annual production process emissions for                  insulating gas j (lbs).                              table A–1 to subpart A of this part.
                                                threshold applicability purposes (metric            GHGi,w = The weight fraction of fluorinated           EF = Emission factor for electrical
                                                tons CO2e).                                              GHG i in reportable insulating gas j if              transmission and distribution equipment
                                                                                                         reportable insulating gas j is a gas                 (lbs emitted/lbs purchased). For all
                                                                                                                                                                                                           ER25AP24.059</GPH>




                                                                                                         mixture. If not a mixture, use 1.                    gases, use an emission factor of 0.1.



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00144   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 150 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                               31945

                                            i = Fluorinated GHG contained in the                    report emissions of fluorinated GHGs                  Annual emissions from the facility must
                                                 electrical transmission and distribution           that are components of insulating gases               include fluorinated GHG emissions from
                                                 equipment.                                         whose weighted average GWPs, as                       equipment that is installed at an off-site
                                            0.000453592 = Conversion factor from lbs to
                                                 metric tons.                                       calculated in equation SS–2 to this                   electric power transmission or
                                                                                                    section, are less than or equal to one.               distribution location whenever
                                            § 98.452   GHGs to report.                              You are, however, required to report                  emissions from installation activities
                                               (a) You must report emissions of each                certain quantities of insulating gases                (e.g., filling) occur before the title to the
                                            fluorinated GHG, including but not                      whose weighted average GWPs are less                  equipment is transferred to the electric
                                            limited to SF6 and PFCs, at the facility                than or equal to one as specified in                  power transmission or distribution
                                            level, except you are not required to                   § 98.456(f), (g), (k) and (q) through (s).            entity.


                                                                                                                                                             (Eq. SS-2)

                                            Where:                                                  i = GHG contained in the electrical                   § 98.453    Calculating GHG emissions.
                                            GWPj = Weighted average GWP of insulating                    transmission and distribution
                                                                                                         equipment.                                         (a) For each electrical equipment
                                               gas j.
                                                                                                                                                          manufacturer or refurbisher, estimate
                                            GHGi,w = The weight fraction of GHG i in                  (b) You must report CO2, N2O and
                                                                                                                                                          the annual emissions of each fluorinated
                                               insulating gas j, expressed as a decimal.            CH4 emissions from each stationary
                                                                                                                                                          GHG that is a component of any
                                               fraction. If GHG i is not part of a gas              combustion unit. You must calculate
                                               mixture, use a value of 1.0.                         and report these emissions under                      reportable insulating gas using the mass-
                                            GWPi = Gas-appropriate GWP as provided in               subpart C of this part by following the               balance approach in equation SS–3 to
                                               table A–1 to subpart A of this part.                 requirements of subpart C of this part.               this section:


                                                    User emissionsi = rjGHGi,w *

                                                    [(Decrease in Inventory of Reportable Insulating Gas j Inventory)+ (Acquisitions of Reportable

                                                    Insulating Gasj)- (Disbursements of Reportable Insulating Gasj)]                                                                (Eq. SS-3)

                                            Where:                                                      stored in containers at the end of the                 reportable insulating gas j returned to
                                            User emissionsi = Annual emissions of each                  year).                                                 suppliers) + (Pounds of reportable
                                                                                                    Acquisitions of Reportable Insulating Gas j =              insulating gas j sent off site for recycling)
                                                fluorinated GHG i (pounds).
                                                                                                        (Pounds of reportable insulating gas j                 + (Pounds of reportable insulating gas j
                                            GHGi,w = The weight fraction of fluorinated                 purchased from chemical producers or                   sent off-site for destruction).
                                                GHG i in reportable insulating gas j if                 suppliers in bulk) + (Pounds of
                                                insulating gas j is a gas mixture,                      reportable insulating gas j returned by             (b) [Reserved]
                                                expressed as a decimal fraction. If                     equipment users) + (Pounds of reportable            (c) Estimate the disbursements of
                                                fluorinated GHG i is not part of a gas                  insulating gas j returned to site after off-      reportable insulating gas j sent to
                                                mixture, use a value of 1.0.                            site recycling).                                  customers in new equipment or
                                            Decrease in Inventory of Reportable                     Disbursements of Reportable Insulating Gas j
                                                                                                                                                          cylinders or sent off-site for other
                                                Insulating Gas j Inventory = (Pounds of                 = (Pounds of reportable insulating gas j
                                                                                                        contained in new equipment delivered to           purposes including for recycling, for
                                                reportable insulating gas j stored in                                                                     destruction or to be returned to
                                                                                                        customers) + (Pounds of reportable
                                                containers at the beginning of the year)—               insulating gas j delivered to equipment           suppliers using equation SS–4 to this
                                                (Pounds of reportable insulating gas j                  users in containers) + (Pounds of                 section:


                                                                                                                                                          (Eq. SS--4)

                                            Where:                                                      for recycling, for destruction or to be           used to fill equipment or cylinders, or
                                            DGHG = The annual disbursement of                           returned to suppliers.                            by using the nameplate capacity of the
                                                reportable insulating gas j sent to                 n = The number of periods in the year.                equipment.
                                                customers in new equipment or                          (d) Estimate the mass of each                        (e) If the mass of insulating gas j
                                                cylinders or sent off-site for other                insulating gas j disbursed to customers               disbursed to customers in new
                                                                                                                                                                                                               ER25AP24.062</GPH>




                                                purposes including for recycling, for
                                                                                                    in new equipment or cylinders over the                equipment or cylinders over the period
                                                destruction or to be returned to
                                                suppliers.                                          period p by monitoring the mass flow of               p is estimated by weighing containers
                                            Qp = The mass of reportable insulating gas j            each insulating gas j into the new                    before and after gas from containers is
                                                                                                    equipment or cylinders using a                        used to fill equipment or cylinders,
lotter on DSK11XQN23PROD with RULES2




                                                charged into equipment or containers
                                                                                                                                                                                                               ER25AP24.061</GPH>




                                                over the period p sent to customers or              flowmeter, or by weighing containers                  estimate this quantity using equation
                                                sent off-site for other purposes including          before and after gas from containers is               SS–5 to this section:
                                                                                                                                                                                                               ER25AP24.060</GPH>




                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00145   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 151 of 164
                                            31946              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                                                                                                                                            (Eq. SS-5)

                                            Where:                                                  ME = The mass of the contents of the                       container to the equipment or cylinder
                                            Qp = The mass of insulating gas j charged into              containers used to fill equipment or                   that is being filled).
                                                equipment or containers over the period                 cylinders at the end of period p.
                                                p sent to customers or sent off-site for            EL = The mass of insulating gas j emitted               (f) If the mass of insulating gas j
                                                other purposes including for recycling,                 during the period p downstream of the             disbursed to customers in new
                                                for destruction or to be returned to                    containers used to fill equipment or              equipment or cylinders over the period
                                                suppliers.                                              cylinders and in cases where a flowmeter          p is determined using a flowmeter,
                                            MB = The mass of the contents of the                        is used, downstream of the flowmeter
                                                containers used to fill equipment or                    during the period p (e.g., emissions from         estimate this quantity using equation
                                                cylinders at the beginning of period p.                 hoses or other flow lines that connect the        SS–6 to this section:


                                                                                                                                                          (Eq. SS-6)

                                            Where:                                                  EL = The mass of insulating gas j emitted                (g) Estimate the mass of insulating gas
                                            Qp = The mass of insulating gas j charged into              during the period p downstream of the             j emitted during the period p
                                                equipment or containers over the period                 containers used to fill equipment or              downstream of the containers used to
                                                p sent to customers or sent off-site for                cylinders and in cases where a flowmeter          fill equipment or cylinders (e.g.,
                                                other purposes including for recycling,                 is used, downstream of the flowmeter              emissions from hoses or other flow lines
                                                for destruction or to be returned to                    during the period p (e.g., emissions from
                                                suppliers.                                                                                                that connect the container to the
                                                                                                        hoses or other flow lines that connect the        equipment or cylinder that is being
                                            Mmr = The mass of insulating gas j that has
                                                                                                        container to the equipment that is being          filled) using equation SS–7 to this
                                                flowed through the flowmeter during the
                                                period p.                                               filled).                                          section:


                                                                                  EL   = LJ=o Fci * EFci                                                   (Eq. SS-7)

                                            Where:                                                    (h) If the mass of insulating gas j                   (2) If equipment is shipped with a
                                            EL = The mass of insulating gas j emitted               disbursed to customers in new                         partial charge, calculate the partial
                                                during the period p downstream of the               equipment or cylinders over the period                shipping charge by multiplying the
                                                containers used to fill equipment or                p is determined by using the nameplate                nameplate capacity of the equipment by
                                                cylinders and in cases where a flowmeter            capacity, or by using the nameplate
                                                is used, downstream of the flowmeter                                                                      the ratio of the densities of the partial
                                                during the period p (e.g., emissions from           capacity of the equipment and                         charge to the full charge.
                                                hoses or other flow lines that connect the          calculating the partial shipping charge,
                                                                                                                                                            (i) Estimate the annual emissions of
                                                container to the equipment or cylinder              use the methods in either paragraph
                                                                                                    (h)(1) or (2) of this section.                        reportable insulating gas j from the
                                                that is being filled).
                                            FCi = The total number of fill operations over                                                                equipment that is installed at an off-site
                                                                                                      (1) Determine the equipment’s actual
                                                the period p for the valve-hose                                                                           electric power transmission or
                                                                                                    nameplate capacity, by measuring the
                                                combination Ci.
                                                                                                    nameplate capacities of a representative              distribution location before the title to
                                            EFCi = The emission factor for the valve-hose                                                                 the equipment is transferred by using
                                                combination Ci.                                     sample of each make and model and
                                                                                                    calculating the mean value for each                   equation SS–8 to this section:
                                            n=The number of different valve-hose
                                                combinations C used during the period               make and model as specified at
                                                p.                                                  § 98.454(f).


                                                                                                                                                                   Eq.SS-8

                                            Where:                                                  MC = The total annual mass of reportable              precision of ±1 percent of full scale or
                                            EI = Total annual emissions of reportable                   insulating gas j, in pounds, used to              better or scales with an accuracy and
                                                                                                                                                                                                        ER25AP24.066</GPH>


                                                 insulating gas j from equipment                        charge the equipment prior to leaving the         precision of ±1 percent of the filled
                                                                                                        electrical equipment manufacturer                 weight (gas plus tare) of the containers
                                                 installation at electric transmission or
                                                                                                        facility.
                                                 distribution facilities.                           NI = The total annual nameplate capacity of
                                                                                                                                                          of each reportable insulating gas that are
                                            GHGi,w = The weight fraction of fluorinated                 the equipment, in pounds, installed at            typically weighed on the scale. For
                                                                                                                                                                                                        ER25AP24.065</GPH>




                                                 GHG i in reportable insulating gas j if                electric transmission or distribution             scales that are generally used to weigh
                                                 reportable insulating gas j is a gas                   facilities.                                       cylinders containing 115 pounds of gas
                                                 mixture, expressed as a decimal fraction.                                                                when full, this equates to ±1 percent of
                                                 If the GHG i is not part of a gas mixture,         § 98.454 Monitoring and QA/QC                         the sum of 115 pounds and
lotter on DSK11XQN23PROD with RULES2




                                                 use a value of 1.0.                                requirements.                                         approximately 120 pounds tare, or
                                                                                                                                                                                                        ER25AP24.064</GPH>




                                            MF = The total annual mass of reportable                   (a) [Reserved]                                     slightly more than ±2 pounds. Account
                                                 insulating gas j, in pounds, used to fill             (b) Ensure that all the quantities                 for the tare weights of the containers.
                                                 equipment during equipment installation            required by the equations of this subpart             You may accept gas masses or weights
                                                 at electric transmission or distribution           have been measured using either                       provided by the gas supplier (e.g., for
                                                 facilities.
                                                                                                                                                                                                        ER25AP24.063</GPH>




                                                                                                    flowmeters with an accuracy and                       the contents of cylinders containing


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00146   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 152 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                           31947

                                            new gas or for the heels remaining in                   with a partial charge, equal to its partial              (4) Ensure that for each reportable
                                            cylinders returned to the gas supplier) if              shipping charge, equipment samples for                insulating gas, in addition to the
                                            the supplier provides documentation                     conducting the nameplate capacity tests               reportable insulating gas purchased
                                            verifying that accuracy standards are                   must be selected using the following                  from bulk gas distributors, the
                                            met; however, you remain responsible                    stratified sampling strategy in this                  reportable insulating gas returned from
                                            for the accuracy of these masses and                    paragraph (f). For each make and model,               equipment users with or inside
                                            weights under this subpart.                             group the measurement conditions to                   equipment and the reportable insulating
                                               (c) All flow meters, weigh scales, and               reflect predictable variability in the                gas returned from off-site recycling are
                                            combinations of volumetric and density                  facility’s filling practices and conditions           also accounted for among the total
                                            measures that are used to measure or                    (e.g., temperatures at which equipment                additions.
                                            calculate quantities under this subpart                 is filled). Then, independently select
                                            must be calibrated using calibration                    equipment samples at random from                      § 98.455 Procedures for estimating
                                            procedures specified by the flowmeter,                                                                        missing data.
                                                                                                    each make and model under each group
                                            scale, volumetric or density measure                    of conditions. To account for variability,               A complete record of all measured
                                            equipment manufacturer. Calibration                     a certain number of these measurements                parameters used in the GHG emissions
                                            must be performed prior to the first                    must be performed to develop a robust                 calculations is required. Replace
                                            reporting year. After the initial                       and representative average nameplate                  missing data, if needed, based on data
                                            calibration, recalibration must be                      capacity (or shipping charge) for each                from similar manufacturing operations,
                                            performed at the minimum frequency                      make, model, and group of conditions.                 and from similar equipment testing and
                                            specified by the manufacturer.                          A Student T distribution calculation                  decommissioning activities for which
                                               (d) For purposes of equation SS–7 to                 should be conducted to determine how                  data are available.
                                            § 98.453, the emission factor for the                   many samples are needed for each
                                            valve-hose combination (EFC) must be                                                                          § 98.456    Data reporting requirements.
                                                                                                    make, model, and group of conditions as
                                            estimated using measurements and/or                                                                              In addition to the information
                                                                                                    a function of the relative standard
                                            engineering assessments or calculations                                                                       required by § 98.3(c), each annual report
                                                                                                    deviation of the sample measurements.
                                            based on chemical engineering                                                                                 must contain the following information
                                                                                                    To determine a sufficiently precise
                                            principles or physical or chemical laws                                                                       for each chemical at the facility level:
                                                                                                    estimate of the nameplate capacity, the                  (a) Pounds of each reportable
                                            or properties. Such assessments or                      number of measurements required must
                                            calculations may be based on, as                                                                              insulating gas stored in containers at the
                                                                                                    be calculated to achieve a precision of               beginning of the year.
                                            applicable, the internal volume of hose                 one percent of the true mean, using a 95
                                            or line that is open to the atmosphere                                                                           (b) Pounds of each reportable
                                                                                                    percent confidence interval. To estimate              insulating gas stored in containers at the
                                            during coupling and decoupling                          the nameplate capacity for a given make
                                            activities, the internal pressure of the                                                                      end of the year.
                                                                                                    and model, you must use the lowest                       (c) Pounds of each reportable
                                            hose or line, the time the hose or line
                                                                                                    mean value among the different groups                 insulating gas purchased in bulk.
                                            is open to the atmosphere during
                                                                                                    of conditions, or provide justification                  (d) Pounds of each reportable
                                            coupling and decoupling activities, the
                                                                                                    for the use of a different mean value for             insulating gas returned by equipment
                                            frequency with which the hose or line
                                                                                                    the group of conditions that represents               users with or inside equipment.
                                            is purged and the flow rate during
                                                                                                    the typical practices and conditions for                 (e) Pounds of each reportable
                                            purges. You must develop a value for
                                                                                                    that make and model. Measurements                     insulating gas returned to site from off
                                            EFc (or use an industry-developed
                                                                                                    can be conducted using SF6, another                   site after recycling.
                                            value) for each combination of hose and
                                                                                                    gas, or a liquid. Re-measurement of                      (f) Pounds of each insulating gas
                                            valve fitting, to use in equation SS–7 to
                                            § 98.453. The value for EFC must be                     nameplate capacities should be                        inside new equipment delivered to
                                            determined for each combination of                      conducted every five years to reflect                 customers.
                                            hose and valve fitting of a given                       cumulative changes in manufacturing                      (g) Pounds of each insulating gas
                                            diameter or size. The calculation must                  methods and conditions over time.                     delivered to equipment users in
                                            be recalculated annually to account for                    (g) Ensure the following QA/QC                     containers.
                                            changes to the specifications of the                    methods are employed throughout the                      (h) Pounds of each reportable
                                            valves or hoses that may occur                          year:                                                 insulating gas returned to suppliers.
                                            throughout the year.                                       (1) Procedures are in place and                       (i) Pounds of each reportable
                                               (e) Electrical equipment                             followed to track and weigh all                       insulating gas sent off site for
                                            manufacturers and refurbishers must                     cylinders or other containers at the                  destruction.
                                            account for emissions of each reportable                beginning and end of the year.                           (j) Pounds of each reportable
                                            insulating gas that occur as a result of                   (2) [Reserved]                                     insulating gas sent off site to be
                                            unexpected events or accidental losses,                    (h) You must adhere to the following               recycled.
                                            such as a malfunctioning hose or leak in                QA/QC methods for reviewing the                          (k) The nameplate capacity of the
                                            the flow line, during the filling of                    completeness and accuracy of reporting:               equipment, in pounds, delivered to
                                            equipment or containers for                                (1) Review inputs to equation SS–3 to              customers with each insulating gas
                                            disbursement by including these losses                  § 98.453 to ensure inputs and outputs to              inside, if different from the quantity in
                                            in the estimated mass of each reportable                the company’s system are included.                    paragraph (f) of this section.
                                            insulating gas emitted downstream of                       (2) Do not enter negative inputs and                  (l) A description of the engineering
                                            the container or flowmeter during the                   confirm that negative emissions are not               methods and calculations used to
                                            period p.                                               calculated. However, the decrease in the              determine emissions from hoses or other
lotter on DSK11XQN23PROD with RULES2




                                               (f) If the mass of each reportable                   inventory for each reportable insulating              flow lines that connect the container to
                                            insulating gas j disbursed to customers                 gas may be calculated as negative.                    the equipment that is being filled.
                                            in new equipment over the period p is                      (3) Ensure that for each reportable                   (m) The values for EFci of equation
                                            determined by assuming that it is equal                 insulating gas, the beginning-of-year                 SS–7 to § 98.453 for each hose and valve
                                            to the equipment’s nameplate capacity                   inventory matches the end-of-year                     combination and the associated valve
                                            or, in cases where equipment is shipped                 inventory from the previous year.                     fitting sizes and hose diameters.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00147   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 153 of 164
                                            31948              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                               (n) The total number of fill operations              manufacturer or refurbishment facility                  (d) A facility that is subject to this
                                            for each hose and valve combination, or,                as well as the actual quantity of gas, in             part only because it is subject to subpart
                                            FCi of equation SS–7 to § 98.453.                       pounds, charged into equipment at                     UU of this part is not required to report
                                               (o) If the mass of each reportable                   installation.                                         emissions under subpart C of this part
                                            insulating gas disbursed to customers in                  (d) Check-out and weigh-in sheets and               or any other subpart listed in § 98.2(a)(1)
                                            new equipment over the period p is                      procedures for cylinders.                             or (2).
                                            determined according to the methods                       (e) Residual gas amounts, in pounds,                ■ 89. Add subpart VV consisting of
                                            required in § 98.453(h), report the mean                in cylinders sent back to suppliers.                  §§ 98.480 through 98.489, subpart WW
                                            value of nameplate capacity in pounds                     (f) Invoices for gas purchases and                  consisting of §§ 98.490 through 98.498,
                                            for each make, model, and group of                      sales.                                                subpart XX consisting of §§ 98.500
                                            conditions.                                               (g) GHG Monitoring Plans, as
                                                                                                                                                          through 98.508, subpart YY consisting
                                               (p) If the mass of each reportable                   described in § 98.3(g)(5), must be
                                                                                                                                                          of §§ 98.510 through 98.518, and
                                            insulating gas disbursed to customers in                completed by April 1, 2011.
                                                                                                                                                          subpart ZZ consisting of §§ 98.520
                                            new equipment over the period p is                      § 98.458    Definitions.                              through 98.528 to part 98 to read as
                                            determined according to the methods                        Except as specified in this section, all           follows:
                                            required in § 98.453(h), report the                     terms used in this subpart have the
                                            number of samples and the upper and                     same meaning given in the CAA and                     Subpart VV—Geologic Sequestration
                                            lower bounds on the 95-percent                          subpart A of this part.                               of Carbon Dioxide With Enhanced Oil
                                            confidence interval for each make,                         Insulating gas, for the purposes of this           Recovery Using ISO 27916
                                            model, and group of conditions.                         subpart, means any fluorinated GHG or
                                               (q) Pounds of each insulating gas used                                                                     Sec.
                                                                                                    fluorinated GHG mixture, including but                98.480 Definition of the source category.
                                            to fill equipment at off-site electric                  not limited to SF6 and PFCs, that is used             98.481 Reporting threshold.
                                            power transmission or distribution                      as an insulating and/or arc-quenching                 98.482 GHGs to report.
                                            locations, or MF, of equation SS–8 to                   gas in electrical equipment.                          98.483 Calculating CO2 geologic
                                            § 98.453.                                                  Reportable insulating gas, for                          sequestration.
                                               (r) Pounds of each insulating gas used               purposes of this subpart, means an                    98.484 Monitoring and QA/QC
                                            to charge the equipment prior to leaving                insulating gas whose weighted average                      requirements.
                                            the electrical equipment manufacturer                                                                         98.485 Procedures for estimating missing
                                                                                                    GWP, as calculated in equation SS–2 to                     data.
                                            or refurbishment facility, or MC, of                    § 98.452, is greater than one. A
                                            equation SS–8 to § 98.453.                                                                                    98.486 Data reporting requirements.
                                                                                                    fluorinated GHG that makes up either                  98.487 Records that must be retained.
                                               (s) The nameplate capacity of the                    part or all of a reportable insulating gas            98.488 EOR Operations Management Plan.
                                            equipment, in pounds, installed at off-                 is considered to be a component of the                98.489 Definitions.
                                            site electric power transmission or                     reportable insulating gas.
                                            distribution locations used to determine                                                                      § 98.480    Definition of the source category.
                                            emissions from installation, or NI, of                  Subpart UU—Injection of Carbon                           (a) This source category pertains to
                                            equation SS–8 to § 98.453.                              Dioxide                                               carbon dioxide (CO2) that is injected in
                                               (t) For any missing data, you must                                                                         enhanced recovery operations for oil
                                            report the reason the data were missing,                ■ 88. Revise and republish § 98.470 to                and other hydrocarbons (CO2–EOR) in
                                            the parameters for which the data were                  read as follows:                                      which all of the following apply:
                                            missing, the substitute parameters used                                                                          (1) You are using the standard
                                                                                                    § 98.470    Definition of the source category.
                                            to estimate emissions in their absence,                                                                       designated as CSA/ANSI ISO 27916:19,
                                            and the quantity of emissions thereby                      (a) The injection of carbon dioxide                (incorporated by reference, see § 98.7) as
                                            estimated.                                              (CO2) source category comprises any                   a method of quantifying geologic
                                               (u) For each insulating gas reported in              well or group of wells that inject a CO2              sequestration of CO2 in association with
                                            paragraphs (a) through (j) and (o)                      stream into the subsurface.                           EOR operations.
                                            through (r) of this section, an ID number                  (b) If you report under subpart RR of                 (2) You are not reporting under
                                            or other appropriate descriptor unique                  this part for a well or group of wells,               subpart RR of this part.
                                            to that insulating gas.                                 you shall not report under this subpart                  (b) This source category does not
                                               (v) For each ID number or descriptor                 for that well or group of wells.                      include wells permitted as Class VI
                                            reported in paragraph (u) of this section                  (c) If you report under subpart VV of              under the Underground Injection
                                            for each unique insulating gas, the name                this part for a well or group of wells,               Control program.
                                            (as required in § 98.3(c)(4)(iii)(G)(1)) and            you shall not report under this subpart                  (c) If you are subject to only this
                                            weight percent of each fluorinated gas                  for that well or group of wells. If you               subpart, you are not required to report
                                            in the insulating gas.                                  previously met the source category                    emissions under subpart C of this part
                                                                                                    definition for subpart UU of this part for            or any other subpart listed in § 98.2(a)(1)
                                            § 98.457   Records that must be retained.               a project where CO2 is injected in                    or (2).
                                               In addition to the information                       enhanced recovery operations for oil
                                            required by § 98.3(g), you must retain                  and other hydrocarbons (CO2–EOR) and                  § 98.481    Reporting threshold.
                                            the following records:                                  then began using the standard                            (a) You must report under this subpart
                                               (a) All information reported and listed              designated as CSA/ANSI ISO 27916:19                   if your CO2–EOR project uses CSA/
                                            in § 98.456.                                            (incorporated by reference, see § 98.7)               ANSI ISO 27916:19 (incorporated by
                                               (b) Accuracy certifications and                      such that you met the definition of the               reference, see § 98.7) as a method of
                                            calibration records for all scales and                  source category for subpart VV during a               quantifying geologic sequestration of
lotter on DSK11XQN23PROD with RULES2




                                            monitoring equipment, including the                     reporting year, you must report under                 CO2 in association with CO2–EOR
                                            method or manufacturer’s specification                  subpart UU for the portion of the year                operations. There is no threshold for
                                            used for calibration.                                   before you began using CSA/ANSI ISO                   reporting.
                                               (c) Certifications of the quantity of                27916:19 and report under subpart VV                     (b) The requirements of § 98.2(i) do
                                            gas, in pounds, charged into equipment                  for the portion of the year after you                 not apply to this subpart. Once a CO2–
                                            at the electrical equipment                             began using CSA/ANSI ISO 27916:19.                    EOR project becomes subject to the


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00148   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 154 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                             31949

                                            requirements of this subpart, you must                  § 98.482    GHGs to report.                                in the CO2–EOR project (mnative) can be
                                            continue for each year thereafter to                       You must report the following from                      quantified and included in minput.
                                            comply with all requirements of this                                                                          mloss operations = The total mass of CO2 loss
                                                                                                    Clause 8 of CSA/ANSI ISO 27916:19
                                            subpart, including the requirement to                                                                              from project operations (see Clauses
                                                                                                    (incorporated by reference, see § 98.7):                   8.4.1 through 8.4.5 of CSA/ANSI ISO
                                            submit annual reports until the facility                   (a) The mass of CO2 received by the                     27916:19 (incorporated by reference, see
                                            has met the requirements of paragraphs                  CO2–EOR project.                                           § 98.7) and paragraph (d) of this section),
                                            (b)(1) and (2) of this section and                         (b) The mass of CO2 loss from the                       metric tons.
                                            submitted a notification to discontinue                 CO2–EOR project operations.                           mloss EOR complex = The total mass of CO2 loss
                                            reporting according to paragraph (b)(3)                    (c) The mass of native CO2 produced                     from the EOR complex (see Clause 8.4.6
                                            of this section.                                        and captured.                                              of CSA/ANSI ISO 27916:19
                                               (1) Discontinuation of reporting under                  (d) The mass of CO2 produced and                        (incorporated by reference, see § 98.7)),
                                            this subpart must follow the                                                                                       metric tons.
                                                                                                    sent off-site.
                                            requirements set forth under Clause 10                     (e) The mass of CO2 loss from the EOR                 (b) The manner by which associated
                                            of CSA/ANSI ISO 27916:19                                complex.                                              storage is quantified must assure
                                            (incorporated by reference, see § 98.7).                   (f) The mass of CO2 stored in                      completeness and preclude double
                                               (2) CO2–EOR project termination is                   association with CO2–EOR.                             counting. The annual mass of CO2 that
                                            completed when all of the following                                                                           is recycled and reinjected into the EOR
                                            occur:                                                  § 98.483 Calculating CO2 geologic                     complex must not be quantified as
                                                                                                    sequestration.                                        associated storage. Loss from the CO2
                                               (i) Cessation of CO2 injection.
                                               (ii) Cessation of hydrocarbon                          You must calculate CO2 sequestered                  recycling facilities must be quantified.
                                            production from the project reservoir;                  using the following quantification                       (c) You must quantify the total mass
                                            and                                                     principles from Clause 8.2 of CSA/ANSI                of CO2 input (minput) in the reporting
                                                                                                    ISO 27916:19 (incorporated by                         year according to paragraphs (g)(1)
                                               (iii) Wells are plugged and abandoned
                                                                                                    reference, see § 98.7).                               through (3) of this section.
                                            unless otherwise required by the
                                                                                                      (a) You must calculate the mass of                     (1) You must include the total mass of
                                            appropriate regulatory authority.
                                                                                                    CO2 stored in association with CO2–EOR                CO2 received at the custody transfer
                                               (3) You must notify the Administrator
                                                                                                    (mstored) in the reporting year by                    meter by the CO2–EOR project (mreceived).
                                            of your intent to cease reporting and
                                                                                                    subtracting the mass of CO2 loss from                    (2) The CO2 stream received
                                            provide a copy of the CO2–EOR project
                                                                                                    operations and the mass of CO2 loss                   (including CO2 transferred from another
                                            termination documentation.
                                                                                                    from the EOR complex from the total                   CO2–EOR project) must be metered.
                                               (c) If you previously met the source                 mass of CO2 input (as specified in                       (i) The native CO2 recovered and
                                            category definition for subpart UU of                   equation 1 to this paragraph (a)).                    included as mnative must be documented.
                                            this part for your CO2–EOR project and
                                                                                                    Equation 1 to paragraph (a)                              (ii) CO2 delivered to multiple CO2–
                                            then began using CSA/ANSI ISO
                                                                                                                                                          EOR projects must be allocated among
                                            27916:19 (incorporated by reference, see                mstored = minput¥mloss operations¥mloss EOR           those CO2–EOR projects.
                                            § 98.7) as a method of quantifying                            complex                                            (3) The sum of the quantities of
                                            geologic sequestration of CO2 in
                                                                                                    Where:                                                allocated CO2 must not exceed the total
                                            association with CO2–EOR operations
                                                                                                    mstored = The annual quantity of associated           quantities of CO2 received.
                                            during a reporting year, you must report
                                                                                                         storage in metric tons of CO2 mass.                 (d) You must calculate the total mass
                                            under subpart UU of this part for the
                                                                                                    minput = The total mass of CO2 mreceived by the       of CO2 from project operations (mloss
                                            portion of the year before you began                         EOR project plus mnative (see Clause 8.3         operations) in the reporting year as
                                            using CSA/ANSI ISO 27916:19 and                              of CSA/ANSI ISO 27916:19                         specified in equation 2 to this paragraph
                                            report under subpart VV for the portion                      (incorporated by reference, see § 98.7)          (d).
                                            of the year after you began using CSA/                       and paragraph (c) of this section), metric
                                            ANSI ISO 27916:19.                                           tons. Native CO2 produced and captured           Equation 2 to paragraph (d)


                                                               m1oss operations         = m1oss leakage facilites + mloss flare
                                                                                                                          vent + m1oss entrained + m1oss transfer


                                            Where:                                                  § 98.484 Monitoring and QA/QC                         § 98.486    Data reporting requirements.
                                            mloss leakage facilities = Loss of CO2 due to leakage   requirements.
                                                                                                                                                            In addition to the information
                                                 from production, handling, and recycling             You must use the applicable                         required by § 98.3(c), the annual report
                                                 CO2–EOR facilities (infrastructure                 monitoring and quality assurance                      shall contain the following information,
                                                 including wellheads), metric tons.                                                                       as applicable:
                                                                                                    requirements set forth in Clause 6.2 of
                                            mloss vent/flare = Loss of CO2 from venting/
                                                                                                    CSA/ANSI ISO 27916:19 (incorporated                     (a) The annual quantity of associated
                                                 flaring from production operations,
                                                 metric tons.
                                                                                                    by reference, see § 98.7).                            storage in metric tons of CO2 (mstored).
                                            mloss entrained = Loss of CO2 due to entrainment        § 98.485 Procedures for estimating                      (b) The density of CO2 if volumetric
                                                 within produced gas/oil/water when this            missing data.                                         units are converted to mass in order to
                                                 CO2 is not separated and reinjected,                                                                     be reported for annual quantity of CO2
                                                 metric tons.                                         Whenever the value of a parameter is                stored.
                                                                                                    unavailable or the quality assurance
lotter on DSK11XQN23PROD with RULES2




                                            mloss transfer=Loss of CO2 due to any transfer                                                                  (c) The annual quantity of CO2 input
                                                 of CO2 outside the CO2–EOR project,                procedures set forth in § 98.484 cannot               (minput) and the information in
                                                 metric tons. You must quantify any CO2             be followed, you must follow the                      paragraphs (c)(1) and (2) of this section.
                                                 that is subsequently produced from the             procedures set forth in Clause 9.2 of
                                                 EOR complex and transferred offsite.                                                                       (1) The annual total mass of CO2
                                                                                                    CSA/ANSI ISO 27916:19 (incorporated
                                                                                                                                                          received at the custody transfer meter by
                                                                                                    by reference, see § 98.7).
                                                                                                                                                                                                             ER25AP24.067</GPH>




                                                                                                                                                          the CO2–EOR project, including CO2


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00149   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 155 of 164
                                            31950              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            transferred from another CO2–EOR                        ANSI ISO 27916:19 (incorporated by                    ANSI ISO 27916:19 (incorporated by
                                            project (mreceived).                                    reference, see § 98.7).                               reference, see § 98.7)).
                                               (2) The annual mass of native CO2                      (8) Any documentation provided by a                    (5) The total mass of previously
                                            produced and captured in the CO2–EOR                    qualified independent engineer or                     injected CO2 (if any) within the EOR
                                            project (mnative).                                      geologist, who certifies that the                     complex at the beginning of the CO2–
                                               (d) The annual mass of CO2 that is                   documentation provided, including the                 EOR project (see Clause 8.5 and Annex
                                            recycled and reinjected into the EOR                    mass balance calculations as well as                  B of CSA/ANSI ISO 27916:19
                                            complex.                                                information regarding monitoring and                  (incorporated by reference, see § 98.7)).
                                               (e) The annual total mass of CO2 loss                containment assurance, is accurate and                   (c) The EOR operation management
                                            from project operations (mloss operations),             complete.                                             plan in paragraph (a) of this section and
                                            and the information in paragraphs (e)(1)                  (h) Any changes made within the                     initial documentation in paragraph (b)
                                            through (4) of this section.                            reporting year to containment assurance
                                               (1) Loss of CO2 due to leakage from                                                                        of this section must be submitted to the
                                                                                                    and monitoring approaches and                         Administrator with the annual report
                                            production, handling, and recycling                     procedures in the EOR operations
                                            CO2–EOR facilities (infrastructure                                                                            covering the first reporting year that the
                                                                                                    management plan.                                      facility reports under this subpart. In
                                            including wellheads) (mloss leakage facilities).
                                               (2) Loss of CO2 from venting/flaring                 § 98.487    Records that must be retained.            addition, any documentation provided
                                            from production operations (mloss                          You must follow the record retention               by a qualified independent engineer or
                                                                                                    requirements specified by § 98.3(g). In               geologist, who certifies that the
                                            vent/flare).
                                               (3) Loss of CO2 due to entrainment                   addition to the records required by                   documentation provided is accurate and
                                            within produced gas/oil/water when                      § 98.3(g), you must comply with the                   complete, must also be provided to the
                                            this CO2 is not separated and reinjected                record retention requirements in Clause               Administrator.
                                            (mloss entrained).                                      9.1 of CSA/ANSI ISO 27916:19                             (d) If the EOR operations management
                                               (4) Loss of CO2 due to any transfer of               (incorporated by reference, see § 98.7).              plan is updated, the updated EOR
                                            CO2 outside the CO2–EOR project (mloss                                                                        management plan must be submitted to
                                                                                                    § 98.488    EOR Operations Management                 the Administrator with the annual
                                            transfer).
                                               (f) The total mass of CO2 loss from the              Plan.                                                 report covering the first reporting year
                                            EOR complex (mloss EOR complex).                           (a) You must prepare and update, as                for which the updated EOR operation
                                               (g) Annual documentation that                        necessary, a general EOR operations                   management plan is applicable.
                                            contains the following components as                    management plan that provides a
                                            described in Clause 4.4 of CSA/ANSI                     description of the EOR complex and                    § 98.489    Definitions.
                                            ISO 27916:19 (incorporated by                           engineered system (see Clause 4.3(a) of                 Except as provided in paragraphs (a)
                                            reference, see § 98.7):                                 CSA/ANSI ISO 27916:19 (incorporated                   and (b) of this section, all terms used in
                                               (1) The formulas used to quantify the                by reference, see § 98.7)), establishes               this subpart have the same meaning
                                            annual mass of associated storage,                      that the EOR complex is adequate to                   given in the Clean Air Act and subpart
                                            including the mass of CO2 delivered to                  provide safe, long-term containment of                A of this part.
                                            the CO2–EOR project and losses during                   CO2, and includes site-specific and                     Additional terms and definitions are
                                            the period covered by the                               other information including:                          provided in Clause 3 of CSA/ANSI ISO
                                            documentation (see Clause 8 and Annex                      (1) Geologic characterization of the               27916:19 (incorporated by reference, see
                                            B of CSA/ANSI ISO 27916:19                              EOR complex.                                          § 98.7).
                                            (incorporated by reference, see § 98.7)).                  (2) A description of the facilities
                                               (2) The methods used to estimate                     within the CO2–EOR project.                           Subpart WW—Coke Calciners
                                            missing data and the amounts estimated                     (3) A description of all wells and
                                            as described in Clause 9.2 of CSA/ANSI                  other engineered features in the CO2–                 Sec.
                                                                                                    EOR project.                                          98.490 Definition of the source category.
                                            ISO 27916:19 (incorporated by
                                                                                                       (4) The operations history of the                  98.491 Reporting threshold.
                                            reference, see § 98.7).                                                                                       98.492 GHGs to report.
                                               (3) The approach and method for                      project reservoir.                                    98.493 Calculating GHG emissions.
                                            quantification utilized by the operator,                   (5) The information set forth in                   98.494 Monitoring and QA/QC
                                            including accuracy, precision, and                      Clauses 5 and 6 of CSA/ANSI ISO                            requirements.
                                            uncertainties (see Clause 8 and Annex B                 27916:19 (incorporated by reference, see              98.495 Procedures for estimating missing
                                            of CSA/ANSI ISO 27916:19                                § 98.7).                                                   data.
                                            (incorporated by reference, see § 98.7)).                  (b) You must prepare initial                       98.496 Data reporting requirements.
                                               (4) A statement describing the nature                documentation at the beginning of the                 98.497 Records that must be retained.
                                            of validation or verification including                 quantification period, and include the                98.498 Definitions.
                                            the date of review, process, findings,                  following as described in the EOR                     § 98.490    Definition of the source category.
                                            and responsible person or entity.                       operations management plan:
                                               (5) Source of each CO2 stream                           (1) A description of the EOR complex                  (a) A coke calciner is a process unit
                                            quantified as associated storage (see                   and engineered systems (see Clause 5 of               that heats petroleum coke to high
                                            Clause 8.3 of CSA/ANSI ISO 27916:19                     CSA/ANSI ISO 27916:19 (incorporated                   temperatures for the purpose of
                                            (incorporated by reference, see § 98.7)).               by reference, see § 98.7)).                           removing impurities or volatile
                                               (6) A description of the procedures                     (2) The initial containment assurance              substances in the petroleum coke
                                            used to detect and characterize the total               (see Clause 6.1.2 of CSA/ANSI ISO                     feedstock.
                                            CO2 leakage from the EOR complex.                       27916:19 (incorporated by reference, see                 (b) This source category consists of
lotter on DSK11XQN23PROD with RULES2




                                               (7) If only the mass of anthropogenic                § 98.7)).                                             rotary kilns, rotary hearth furnaces, or
                                            CO2 is considered for mstored, a                           (3) The monitoring program (see                    similar process units used to calcine
                                            description of the derivation and                       Clause 6.2 of CSA/ANSI ISO 27916:19                   petroleum coke and also includes
                                            application of anthropogenic CO2                        (incorporated by reference, see § 98.7)).             afterburners or other emission control
                                            allocation ratios for all the terms                        (4) The quantification method to be                systems used to treat the coke calcining
                                            described in Clauses 8.1 to 8.4.6 of CSA/               used (see Clause 8 and Annex B of CSA/                unit’s process exhaust gas.


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00150   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                                    Filed: 06/24/2024              Page 156 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                               31951

                                            § 98.491   Reporting threshold.                         § 98.493     Calculating GHG emissions.                  emissions should be calculated in
                                              You must report GHG emissions                           (a) Calculate GHG emissions required                   accordance with subpart C of this part
                                            under this subpart if your facility                     to be reported in § 98.492(a) using the                  and subtracted from the CO2 CEMS
                                            contains a coke calciner and the facility               applicable methods in paragraph (b) of                   emissions to determine process CO2
                                            meets the requirements of either                        this section.                                            emissions. Other coke calcining units
                                            § 98.2(a)(1) or (2).                                      (b) For each coke calcining unit,                      must either install a CEMS that
                                            § 98.492   GHGs to report.                              calculate GHG emissions according to                     complies with the Tier 4 Calculation
                                              You must report:                                      the applicable provisions in paragraphs                  Methodology in subpart C of this part or
                                              (a) CO2, CH4, and N2O emissions from                  (b)(1) through (4) of this section.                      follow the requirements of paragraph
                                            each coke calcining unit under this                       (1) If you operate and maintain a                      (b)(2) of this section.
                                            subpart.                                                CEMS that measures CO2 emissions                           (2) Calculate the CO2 emissions from
                                              (b) CO2, CH4, and N2O emissions from                  according to subpart C of this part, you                 the coke calcining unit using monthly
                                            auxiliary fuel used in the coke calcining               must calculate and report CO2 emissions                  measurements and equation 1 to this
                                            unit and afterburner, if applicable, or                 under this subpart by following the Tier                 paragraph (b)(2).
                                            other control system used to treat the                  4 Calculation Methodology specified in
                                            coke calcining unit’s process off-gas                   § 98.33(a)(4) and all associated                         Equation 1 to paragraph (b)(2)
                                            under subpart C of this part by                         requirements for Tier 4 in subpart C of
                                            following the requirements of subpart C.                this part. Auxiliary fuel use CO2


                                                                        CO2= 44 X L~=1(Minm X CCGcm - (Moutm + Mdustm) X CCMPcm)
                                                                                    12                      '                 '                 '             '                '


                                            Where:                                                  Mout,m = Mass of marketable petroleum coke               CCMPC,m = Mass fraction carbon content of
                                            CO2 = Annual CO2 emissions (metric tons                     produced by the coke calcining unit in                   marketable petroleum coke produced by
                                                CO2/year).                                              month ‘‘m’’ from facility records (metric                the coke calcining unit in month ‘‘m’’
                                            m = Month index.                                            tons petroleum coke/year).                               from facility measurement data (metric
                                            Min,m = Mass of green coke fed to the coke              Mdust,m = Mass of petroleum coke dust                        ton carbon/metric ton petroleum coke). If
                                                calcining unit in month ‘‘m’’ from                      removed from the process through the                     measurements are made more frequently
                                                facility records (metric tons/year).                                                                             than monthly, determine the monthly
                                                                                                        dust collection system of the coke
                                            CCGC.m = Mass fraction carbon content of                                                                             average as the arithmetic average for all
                                                                                                        calcining unit in month ‘‘m’’ from                       measurements made during the calendar
                                                green coke fed to the coke calcining unit               facility records (metric ton petroleum
                                                from facility measurement data in month                                                                          month.
                                                                                                        coke dust/year). For coke calcining units            44 = Molecular weight of CO2 (kg/kg-mole).
                                                ‘‘m’’ (metric ton carbon/metric ton green
                                                coke). If measurements are made more                    that recycle the collected dust, the mass            12 = Atomic weight of C (kg/kg-mole).
                                                frequently than monthly, determine the                  of coke dust removed from the process
                                                                                                                                                               (3) Calculate CH4 emissions using
                                                monthly average as the arithmetic                       is the mass of coke dust collected less
                                                                                                        the mass of coke dust recycled to the
                                                                                                                                                             equation 2 to this paragraph (b)(3).
                                                average for all measurements made
                                                during the calendar month.                              process.                                             Equation 2 to paragraph (b)(3)


                                                                                                                CH
                                                                                                                     4
                                                                                                                         =   (co 2 X EmF1
                                                                                                                                     EmFz)


                                            Where:                                                  EmF1 = Default CO2 emission factor for                        table C–1)’’ from table C–2 to subpart C
                                            CH4 = Annual methane emissions (metric                     petroleum coke from table C–1 to subpart                   of this part (kg CH4/MMBtu).
                                                tons CH4/year).                                        C of this part (kg CO2/MMBtu).                          (4) Calculate N2O emissions using
                                            CO2 = Annual CO2 emissions calculated in                EmF2 = Default CH4 emission factor for                   equation 3 to this paragraph (b)(4).
                                                paragraph (b)(1) or (2) of this section, as            ‘‘Petroleum Products (All fuel types in
                                                applicable (metric tons CO2/year).                                                                           Equation 3 to paragraph (b)(4)


                                                                                                                N2 O = (co 2 X EmF 3)
                                                                                                                                          EmF 1

                                            Where:                                                  § 98.494 Monitoring and QA/QC                               (b) Determine the mass of petroleum
                                            N2O = Annual nitrous oxide emissions                    requirements.                                            coke monthly as required by equation 1
                                                (metric tons N2O/year).                                                                                      to § 98.493(b)(2) using mass
                                                                                                                                                                                                             ER25AP24.070</GPH>




                                                                                                      (a) Flow meters, gas composition
                                            CO2 = Annual CO2 emissions calculated in                                                                         measurement equipment meeting the
                                                                                                    monitors, and heating value monitors
                                                paragraph (b)(1) or (2) of this section, as                                                                  requirements for commercial weighing
                                                applicable (metric tons CO2/year).
                                                                                                    that are associated with sources that use
                                                                                                    a CEMS to measure CO2 emissions                          equipment as described in NIST HB 44–
                                            EmF1 = Default CO2 emission factor for
lotter on DSK11XQN23PROD with RULES2




                                                                                                    according to subpart C of this part or                   2023 (incorporated by reference, see
                                                petroleum coke from table C–1 to subpart
                                                                                                                                                                                                             ER25AP24.069</GPH>




                                                C of this part (kg CO2/MMBtu).                      that are associated with stationary                      § 98.7). Calibrate the measurement
                                            EmF3 = Default N2O emission factor for                  combustion sources must meet the                         device according to the procedures
                                                ‘‘Petroleum Products (All fuel types in             applicable monitoring and QA/QC                          specified by NIST HB 44–2023
                                                table C–1)’’ from table C–2 to subpart C            requirements in § 98.34.                                 (incorporated by reference, see § 98.7) or
                                                                                                                                                             the procedures specified by the
                                                                                                                                                                                                             ER25AP24.068</GPH>




                                                of this part (kg N2O/MMBtu).



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00151      Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024               Page 157 of 164
                                            31952              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            manufacturer. Recalibrate either                           (a) The unit ID number (if applicable).            calcining unit from facility records
                                            biennially or at the minimum frequency                     (b) Maximum rated throughput of the                (metric tons/year) (equation 1 to
                                            specified by the manufacturer.                          unit, in metric tons coke calcined/                   § 98.493(b)(2)).
                                              (c) Determine the carbon content of                   stream day.                                             (4) Average monthly mass fraction
                                            petroleum coke as required by equation                     (c) The calculated CO2, CH4, and N2O               carbon content of green coke fed to the
                                            1 § 98.493(b)(2) using any one of the                   annual process emissions, expressed in                coke calcining unit from facility
                                            following methods. Calibrate the                        metric tons of each pollutant emitted.                measurement data (metric tons C per
                                            measurement device according to                            (d) A description of the method used               metric ton green coke) (equation 1 to
                                            procedures specified by the method or                   to calculate the CO2 emissions for each               § 98.493(b)(2)).
                                            procedures specified by the                             unit (e.g., CEMS or equation 1 to                       (5) Average monthly mass fraction
                                            measurement device manufacturer.                        § 98.493(b)(2)).                                      carbon content of marketable petroleum
                                              (1) ASTM D3176–15 (incorporated by                       (e) Annual mass of green coke fed to               coke produced by the coke calcining
                                            reference, see § 98.7).                                 the coke calcining unit from facility                 unit from facility measurement data
                                              (2) ASTM D5291–16 (incorporated by                    records (metric tons/year).                           (metric tons C per metric ton petroleum
                                            reference, see § 98.7).                                    (f) Annual mass of marketable                      coke) (equation 1 to § 98.493(b)(2)).
                                              (3) ASTM D5373–21 (incorporated by                    petroleum coke produced by the coke
                                            reference, see § 98.7).                                 calcining unit from facility records                  § 98.498    Definitions.
                                              (d) The owner or operator must                        (metric tons/year).                                     All terms used in this subpart have
                                            document the procedures used to ensure                     (g) Annual mass of petroleum coke                  the same meaning given in the Clean Air
                                            the accuracy of the monitoring systems                  dust removed from the process through                 Act and subpart A of this part.
                                            used including but not limited to                       the dust collection system of the coke
                                            calibration of weighing equipment, flow                 calcining unit from facility records                  Subpart XX—Calcium Carbide
                                            meters, and other measurement devices.                  (metric tons/year) and an indication of               Production
                                            The estimated accuracy of                               whether coke dust is recycled to the                  Sec.
                                            measurements made with these devices                    unit (e.g., all dust is recycled, a portion           98.500 Definition of the source category.
                                            must also be recorded.                                  of the dust is recycled, or none of the               98.501 Reporting threshold.
                                                                                                    dust is recycled).                                    98.502 GHGs to report.
                                            § 98.495 Procedures for estimating
                                                                                                       (h) Annual average mass fraction                   98.503 Calculating GHG emissions.
                                            missing data.
                                                                                                    carbon content of green coke fed to the               98.504 Monitoring and QA/QC
                                               A complete record of all measured                                                                               requirements.
                                            parameters used in the GHG emissions                    coke calcining unit from facility                     98.505 Procedures for estimating missing
                                            calculations is required (e.g.,                         measurement data (metric tons C per                        data.
                                            concentrations, flow rates, fuel heating                metric ton green coke).                               98.506 Data reporting requirements.
                                            values, carbon content values).                            (i) Annual average mass fraction                   98.507 Records that must be retained.
                                            Therefore, whenever a quality-assured                   carbon content of marketable petroleum                98.508 Definitions.
                                            value of a required parameter is                        coke produced by the coke calcining
                                                                                                                                                          § 98.500    Definition of the source category.
                                            unavailable (e.g., if a CEMS                            unit from facility measurement data
                                                                                                    (metric tons C per metric ton petroleum                 The calcium carbide production
                                            malfunctions during unit operation or if                                                                      source category consists of any facility
                                            a required sample is not taken), a                      coke).
                                                                                                                                                          that produces calcium carbide.
                                            substitute data value for the missing                   § 98.497    Records that must be retained.
                                            parameter must be used in the                                                                                 § 98.501    Reporting threshold.
                                                                                                      In addition to the records required by
                                            calculations.                                                                                                   You must report GHG emissions
                                               (a) For missing auxiliary fuel use data,             § 98.3(g), you must retain the records
                                                                                                    specified in paragraphs (a) and (b) of                under this subpart if your facility
                                            use the missing data procedures in                                                                            contains a calcium carbide production
                                            subpart C of this part.                                 this section.
                                                                                                      (a) The records of all parameters                   process and the facility meets the
                                               (b) For each missing value of mass or                                                                      requirements of either § 98.2(a)(1) or (2).
                                            carbon content of coke, substitute the                  monitored under § 98.494.
                                            arithmetic average of the quality-assured                 (b) The applicable verification                     § 98.502    GHGs to report.
                                            values of that parameter immediately                    software records as identified in this                  You must report:
                                            preceding and immediately following                     paragraph (b). You must keep a record                   (a) Process CO2 emissions from each
                                            the missing data incident. If the ‘‘after’’             of the file generated by the verification             calcium carbide process unit or furnace
                                            value is not obtained by the end of the                 software specified in § 98.5(b) for the               used for the production of calcium
                                            reporting year, you may use the                         applicable data specified in paragraphs               carbide.
                                            ‘‘before’’ value for the missing data                   (b)(1) through (5) of this section.                     (b) CO2, CH4, and N2O emissions from
                                            substitution. If, for a particular                      Retention of this file satisfies the                  each stationary combustion unit
                                            parameter, no quality-assured data are                  recordkeeping requirement for the data                following the requirements of subpart C
                                            available prior to the missing data                     in paragraphs (b)(1) through (5) of this              of this part. You must report these
                                            incident, the substitute data value must                section.                                              emissions under subpart C of this part
                                            be the first quality-assured value                        (1) Monthly mass of green coke fed to               by following the requirements of
                                            obtained after the missing data period.                 the coke calcining unit from facility                 subpart C.
                                               (c) For missing CEMS data, you must                  records (metric tons/year) (equation 1 to
                                            use the missing data procedures in                      § 98.493(b)(2)).                                      § 98.503    Calculating GHG emissions.
                                            § 98.35.                                                  (2) Monthly mass of marketable                        You must calculate and report the
                                                                                                    petroleum coke produced by the coke                   annual process CO2 emissions from each
lotter on DSK11XQN23PROD with RULES2




                                            § 98.496   Data reporting requirements.                 calcining unit from facility records                  calcium carbide process unit not subject
                                              In addition to the reporting                          (metric tons/year) (equation 1 to                     to paragraph (c) of this section using the
                                            requirements of § 98.3(c), you must                     § 98.493(b)(2)).                                      procedures in either paragraph (a) or (b)
                                            report the information specified in                       (3) Monthly mass of petroleum coke                  of this section.
                                            paragraphs (a) through (i) of this section              dust removed from the process through                   (a) Calculate and report under this
                                            for each coke calcining unit.                           the dust collection system of the coke                subpart the combined process and


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00152   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                             Document #2061464                             Filed: 06/24/2024              Page 158 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                            31953

                                            combustion CO2 emissions by operating                    balance procedure specified in                        Carbon-containing input materials
                                            and maintaining CEMS according to the                    paragraphs (b)(1) and (2) of this section.            include carbon electrodes and
                                            Tier 4 Calculation Methodology in                          (1) For each calcium carbide process                carbonaceous reducing agents. If you
                                            § 98.33(a)(4) and all associated                         unit, determine the annual mass of                    document that a specific input or output
                                            requirements for Tier 4 in subpart C of                  carbon in each carbon-containing input                material contributes less than 1 percent
                                            this part.                                               and output material for the calcium                   of the total carbon into or out of the
                                              (b) Calculate and report under this                    carbide process unit and estimate                     process, you do not have to include the
                                                                                                                                                           material in your calculation using
                                            subpart the annual process CO2                           annual process CO2 emissions from the
                                                                                                                                                           equation 1.
                                            emissions from the calcium carbide                       calcium carbide process unit using
                                            process unit using the carbon mass                       equation 1 to this paragraph (b)(1).                  Equation 1 to paragraph (b)(1)


                                                                                                        "'i (M                  C                )
                                                                                  Eco2    = 12
                                                                                            44   2000
                                                                                               X 2205 X L..1   reducing agenti X reducing agenti


                                                                                                44    2000         me                                        )
                                                                                           + 12 X 2205 X L1 Melectrodem X Celectrodem

                                                                                     44   2000    k(                                        )
                                                                                   - 12 X 2205 X L1 Mproduct outgoingk X Cproduct outgoingk


                                                                              44   2000    I(                                               )
                                                                            - 12 X 2205 X L1 Mnon-product outgoing1 X Cnon-product outgoing1


                                            Where:                                                       facility used for the production of               used for accounting purposes, including
                                            ECO2 = Annual process CO2 emissions from                     calcium carbide (metric tons).                    either direct measurement of the
                                                 an individual calcium carbide process               ECO2k = Annual process CO2 emissions                  quantity of the material placed in the
                                                 unit (metric tons).                                     calculated from calcium carbide process           unit or by calculations using process
                                            44/12 = Ratio of molecular weights, CO2 to                   unit k calculated using equation 1 to
                                                                                                         paragraph (b)(1) of this section (metric
                                                                                                                                                           operating information.
                                                 carbon.                                                                                                      (b) For each material identified in
                                            2000/2205 = Conversion factor to convert                     tons).
                                                                                                     k = Total number of calcium carbide process           paragraph (a) of this section, you must
                                                 tons to metric tons.
                                                                                                         units at facility.                                determine the average carbon content of
                                            Mreducing agenti = Annual mass of reducing
                                                 agent i fed, charged, or otherwise                                                                        the material consumed, used, or
                                                                                                       (c) If all GHG emissions from a                     produced in the calendar year using the
                                                 introduced into the calcium carbide                 calcium carbide process unit are vented
                                                 process unit (tons).                                                                                      methods specified in either paragraph
                                                                                                     through the same stack as any                         (b)(1) or (2) of this section. If you
                                            Creducing agenti = Carbon content in reducing
                                                 agent i (percent by weight, expressed as            combustion unit or process equipment                  document that a specific process input
                                                 a decimal fraction).                                that reports CO2 emissions using a                    or output contributes less than one
                                            Melectrodem = Annual mass of carbon electrode            CEMS that complies with the Tier 4                    percent of the total mass of carbon into
                                                 m consumed in the calcium carbide                   Calculation Methodology in subpart C of               or out of the process, you do not have
                                                 process unit (tons).                                this part, then the calculation                       to determine the monthly mass or
                                            Celectrodem = Carbon content of the carbon               methodology in paragraph (b) of this
                                                 electrode m (percent by weight,
                                                                                                                                                           annual carbon content of that input or
                                                                                                     section must not be used to calculate                 output.
                                                 expressed as a decimal fraction).                   process emissions. The owner or
                                            Mproduct outgoingk = Annual mass of alloy                                                                         (1) Information provided by your
                                                                                                     operator must report under this subpart               material supplier.
                                                 product k tapped from the calcium
                                                 carbide process unit (tons).
                                                                                                     the combined stack emissions according                   (2) Collecting and analyzing at least
                                            Cproduct outgoingk = Carbon content in alloy             to the Tier 4 Calculation Methodology                 three representative samples of the
                                                 product k (percent by weight, expressed             in § 98.33(a)(4) and all associated                   material inputs and outputs each year.
                                                 as a decimal fraction).                             requirements for Tier 4 in subpart C of               The carbon content of the material must
                                            Mnon-product outgoingl = Annual mass of non-             this part.                                            be analyzed at least annually using the
                                                 product outgoing material l removed                                                                       standard methods (and their QA/QC
                                                 from the calcium carbide unit (tons).               § 98.504 Monitoring and QA/QC
                                                                                                     requirements.                                         procedures) specified in paragraphs
                                            Cnon-product outgoing = Carbon content in non-
                                                 product outgoing material l (percent by                                                                   (b)(2)(i) and (ii) of this section, as
                                                                                                       If you determine annual process CO2
                                                 weight, expressed as a decimal fraction).                                                                 applicable.
                                                                                                     emissions using the carbon mass                          (i) ASTM D5373–08 (incorporated by
                                                                                                     balance procedure in § 98.503(b), you                 reference, see § 98.7), for analysis of
                                              (2) Determine the combined annual
                                                                                                     must meet the requirements specified in               carbonaceous reducing agents and
                                            process CO2 emissions from the calcium
                                                                                                     paragraphs (a) and (b) of this section.               carbon electrodes.
                                            carbide process units at your facility
                                                                                                       (a) Determine the annual mass for                      (ii) ASTM C25–06 (incorporated by
                                            using equation 2 to this paragraph (b)(2).
                                                                                                     each material used for the calculations               reference, see § 98.7) for analysis of
lotter on DSK11XQN23PROD with RULES2




                                            Equation 2 to paragraph (b)(2)                           of annual process CO2 emissions using                 materials such as limestone or dolomite.
                                                                                                     equation 1 to § 98.503(b)(1) by summing
                                            CO2 = S1k ECO2k                                          the monthly mass for the material                     § 98.505 Procedures for estimating
                                            Where:                                                   determined for each month of the                      missing data.
                                            CO2 = Annual process CO2 emissions from                  calendar year. The monthly mass may                     A complete record of all measured
                                                                                                                                                                                                        ER25AP24.071</GPH>




                                                calcium carbide process units at a                   be determined using plant instruments                 parameters used in the GHG emissions


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024    Jkt 262001   PO 00000   Frm 00153   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 159 of 164
                                            31954              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            calculations in § 98.503 is required.                     (h) If a CEMS is not used to measure                   (5) Average carbon content
                                            Therefore, whenever a quality-assured                   CO2 process emissions, and the carbon                 determined and records of the supplier
                                            value of a required parameter is                        mass balance procedure is used to                     provided information or analyses used
                                            unavailable, a substitute data value for                determine CO2 emissions according to                  for the determination for each material
                                            the missing parameter must be used in                   the requirements in § 98.503(b), then                 included for the calculations of annual
                                            the calculations as specified in the                    you must report the information                       process CO2 emissions.
                                            paragraphs (a) and (b) of this section.                 specified in paragraphs (h)(1) through                   (c) You must keep records that
                                            You must document and keep records of                   (3) of this section.                                  include a detailed explanation of how
                                            the procedures used for all such                          (1) Annual process CO2 emissions (in                company records of measurements are
                                            estimates.                                              metric tons) from each calcium carbide                used to estimate the carbon input and
                                               (a) If you determine CO2 emissions for               process unit.                                         output to each calcium carbide process
                                            the calcium carbide process unit at your                  (2) List the method used for the                    unit, including documentation of
                                            facility using the carbon mass balance                  determination of carbon content for                   specific input or output materials
                                            procedure in § 98.503(b), 100 percent                   each input and output material included               excluded from equation 1 to
                                            data availability is required for the                   in the calculation of annual process CO2              § 98.503(b)(1) that contribute less than 1
                                            carbon content of the input and output                  emissions for each calcium carbide                    percent of the total carbon into or out
                                            materials. You must repeat the test for                 process unit (i.e., supplier provided                 of the process. You also must document
                                            average carbon contents of inputs                       information, analyses of representative               the procedures used to ensure the
                                            according to the procedures in                          samples you collected).                               accuracy of the measurements of
                                            § 98.504(b) if data are missing.                          (3) If you use the missing data                     materials fed, charged, or placed in a
                                               (b) For missing records of the monthly               procedures in § 98.505(b), you must                   calcium carbide process unit including,
                                            mass of carbon-containing inputs and                    report for each calcium carbide                       but not limited to, calibration of
                                            outputs, the substitute data value must                 production process unit how monthly                   weighing equipment and other
                                            be based on the best available estimate                 mass of carbon-containing inputs and                  measurement devices. The estimated
                                            of the mass of the inputs and outputs                   outputs with missing data were                        accuracy of measurements made with
                                            from all available process data or data                 determined and the number of months                   these devices must also be recorded,
                                            used for accounting purposes, such as                   the missing data procedures were used.                and the technical basis for these
                                            purchase records.                                                                                             estimates must be provided.
                                                                                                    § 98.507    Records that must be retained.               (d) The applicable verification
                                            § 98.506   Data reporting requirements.
                                                                                                      In addition to the records required by              software records as identified in this
                                               In addition to the information                       § 98.3(g), you must retain the records
                                            required by § 98.3(c), each annual report                                                                     paragraph (d). You must keep a record
                                                                                                    specified in paragraphs (a) through (d)               of the file generated by the verification
                                            must contain the information specified                  of this section for each calcium carbide
                                            in paragraphs (a) through (h) of this                                                                         software specified in § 98.5(b) for the
                                                                                                    process unit, as applicable.                          applicable data specified in paragraphs
                                            section, as applicable:                                   (a) If a CEMS is used to measure CO2
                                               (a) Annual facility calcium carbide                                                                        (d)(1) through (8) of this section.
                                                                                                    emissions according to the requirements               Retention of this file satisfies the
                                            production capacity (tons).                             in § 98.503(a), then you must retain
                                               (b) The annual facility production of                                                                      recordkeeping requirement for the data
                                                                                                    under this subpart the records required               in paragraphs (d)(1) through (8) of this
                                            calcium carbide (tons).
                                               (c) Total number of calcium carbide                  for the Tier 4 Calculation Methodology                section.
                                            process units at facility used for                      in § 98.37 and the information specified                 (1) Carbon content in reducing agent
                                            production of calcium carbide.                          in paragraphs (a)(1) through (3) of this              (percent by weight, expressed as a
                                               (d) Annual facility consumption of                   section.                                              decimal fraction) (equation 1 to
                                            petroleum coke (tons).                                    (1) Monthly calcium carbide process                 § 98.503(b)(1)).
                                               (e) Each end use of any calcium                      unit production quantity (tons).                         (2) Annual mass of reducing agent
                                            carbide produced and sent off site.                       (2) Number of calcium carbide                       fed, charged, or otherwise introduced
                                               (f) If the facility produces acetylene               processing unit operating hours each                  into the calcium carbide process unit
                                            on site, provide the information in                     month.                                                (tons) (equation 1 to § 98.503(b)(1)).
                                            paragraphs (f)(1) through (3) of this                     (3) Number of calcium carbide                          (3) Carbon content of carbon electrode
                                            section.                                                processing unit operating hours in a                  (percent by weight, expressed as a
                                               (1) The annual production of                         calendar year.                                        decimal fraction) (equation 1 to
                                            acetylene at the facility (tons).                         (b) If the carbon mass balance                      § 98.503(b)(1)).
                                               (2) The annual quantity of calcium                   procedure is used to determine CO2                       (4) Annual mass of carbon electrode
                                            carbide used for the production of                      emissions according to the requirements               consumed in the calcium carbide
                                            acetylene at the facility (tons).                       in § 98.503(b)(2), then you must retain               process unit (tons) (equation 1 to
                                               (3) Each end use of any acetylene                    records for the information specified in              § 98.503(b)(1)).
                                            produced on-site.                                       paragraphs (b)(1) through (5) of this                    (5) Carbon content in product (percent
                                               (g) If a CEMS is used to measure CO2                 section.                                              by weight, expressed as a decimal
                                            emissions, then you must report under                     (1) Monthly calcium carbide process                 fraction) (equation 1 to § 98.503(b)(1)).
                                            this subpart the relevant information                   unit production quantity (tons).                         (6) Annual mass of product produced/
                                            required by § 98.36 for the Tier 4                        (2) Number of calcium carbide                       tapped in the calcium carbide process
                                            Calculation Methodology and the                         process unit operating hours each                     unit (tons) (equation 1 to § 98.503(b)(1)).
                                            information specified in paragraphs                     month.                                                   (7) Carbon content in non-product
                                            (g)(1) and (2) of this section.                           (3) Number of calcium carbide                       outgoing material (percent by weight,
lotter on DSK11XQN23PROD with RULES2




                                               (1) Annual CO2 emissions (in metric                  process unit operating hours in a                     expressed as a decimal fraction)
                                            tons) from each CEMS monitoring                         calendar year.                                        (equation 1 to § 98.503(b)(1)).
                                            location measuring process emissions                      (4) Monthly material quantity                          (8) Annual mass of non-product
                                            from the calcium carbide process unit.                  consumed, used, or produced for each                  outgoing material removed from
                                               (2) Identification number of each                    material included for the calculations of             calcium carbide process unit (tons)
                                            process unit.                                           annual process CO2 emissions (tons).                  (equation 1 to § 98.503(b)(1)).


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00154   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                              Filed: 06/24/2024             Page 160 of 164
                                                               Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                        31955

                                            § 98.508   Definitions.                                 the requirements of either § 98.2(a)(1) or            each N2O abatement technology
                                              All terms used of this subpart have                   (2) and the definition of source category             according to paragraph (c)(1) or (2) of
                                            the same meaning given in the Clean Air                 in § 98.510.                                          this section.
                                            Act and subpart A of this part.                                                                                  (1) Use the control device
                                                                                                    § 98.512    GHGs to report.
                                                                                                                                                          manufacturer’s specified destruction
                                            Subpart YY—Caprolactam, Glyoxal,                          (a) You must report N2O process                     efficiency.
                                            and Glyoxylic Acid Production                           emissions from the production of
                                                                                                    caprolactam, glyoxal, and glyoxylic acid                 (2) Estimate the destruction efficiency
                                            Sec.                                                    as required by this subpart.                          through process knowledge. Examples
                                            98.510 Definition of the source category.                                                                     of information that could constitute
                                                                                                      (b) You must report under subpart C
                                            98.511 Reporting threshold.                                                                                   process knowledge include calculations
                                            98.512 GHGs to report.                                  of this part the emissions of CO2, CH4,
                                                                                                    and N2O from each stationary                          based on material balances, process
                                            98.513 Calculating GHG emissions.
                                                                                                    combustion unit by following the                      stoichiometry, or previous test results
                                            98.514 Monitoring and QA/QC
                                                 requirements.                                      requirements of subpart C of this part.               provided the results are still relevant to
                                            98.515 Procedures for estimating missing                                                                      the current vent stream conditions. You
                                                 data.                                              § 98.513    Calculating GHG emissions.                must document how process knowledge
                                            98.516 Data reporting requirements.                       (a) You must determine annual N2O                   (if applicable) was used to determine
                                            98.517 Records that must be retained.                   process emissions from each                           the destruction efficiency.
                                            98.518 Definitions.                                     caprolactam, glyoxal, and glyoxylic acid                 (d) If process line t exhausts to any
                                            Table 1 to Subpart YY of Part 98—N2O
                                                                                                    process line using the appropriate                    N2O abatement technology j, you must
                                                 Generation Factors
                                                                                                    default N2O generation factor(s) from                 determine the abatement utilization
                                            § 98.510   Definition of the source category.           table 1 to this subpart, the site-specific            factor for each N2O abatement
                                               This source category includes any                    N2O destruction factor(s) for each N2O                technology according to paragraph (d)(1)
                                            facility that produces caprolactam,                     abatement device, and site-specific                   or (2) of this section.
                                            glyoxal, or glyoxylic acid. This source                 production data according to paragraphs                  (1) If the abatement technology j has
                                            category excludes the production of                     (b) through (e) of this section.                      no downtime during the year, use 1.
                                            glyoxal through the LaPorte process                       (b) You must determine the total                       (2) If the abatement technology j was
                                            (i.e., the gas-phase catalytic oxidation of             annual amount of product i                            not operational while product i was
                                            ethylene glycol with air in the presence                (caprolactam, glyoxal, or glyoxylic acid)             being produced on process line t,
                                            of a silver or copper catalyst).                        produced on each process line t (metric               calculate the abatement utilization
                                                                                                    tons product), according to § 98.514(b).              factor according to equation 1 to this
                                            § 98.511   Reporting threshold.                           (c) If process line t exhausts to any
                                                                                                                                                          paragraph (d)(2).
                                              You must report GHG emissions                         N2O abatement technology j, you must
                                            under this subpart if your facility meets               determine the destruction efficiency for              Equation 1 to paragraph (d)(2)




                                            Where:                                                       glyoxylic acid), was produced from                  (e) You must calculate N2O emissions
                                            AFj = Monthly abatement utilization factor of                process unit t during which N2O                  for each product i from each process
                                                                                                         abatement technology j was operational
                                                  N2O abatement technology j from process                                                                 line t and each N2O control technology
                                                                                                         (hours).
                                                  unit t (fraction of time that abatement                                                                 j according to equation 2 to this
                                                                                                    Ti = Total number of hours during month that
                                                  technology is operating).                              product i (caprolactam, glyoxal, or              paragraph (e).
                                            Ti,j = Total number of hours during month                    glyoxylic acid), was produced from
                                                  that product i (caprolactam, glyoxal, or               process unit t (hours).                          Equation 2 to paragraph (e)




                                            Where:                                                  DEj = Destruction efficiency of N2O                      (f) You must determine the annual
                                            EN2Ot = Monthly process emissions of N2O,                   abatement technology type j, fraction             emissions combined from each process
                                                 metric tons from process line t.                       (decimal fraction of N2O removed from             line at your facility using equation 3 to
                                            EFi = N2O generation factor for product i                   vent stream).
                                                                                                    AFj = Monthly abatement utilization factor
                                                                                                                                                          this paragraph (f):
                                                 (caprolactam, glyoxal, or glyoxylic acid),
                                                 kg N2O/metric ton of product produced,                 for N2O abatement technology type j,              Equation 3 to paragraph (f)
                                                 as shown in table 1 to this subpart.                   fraction, calculated using equation 1 to
                                                                                                                                                                                                       ER25AP24.074</GPH>




                                            Pi = Monthly production of product i,                       paragraph (d)(2) of this section.
                                                 (caprolactam, glyoxal, or glyoxylic acid),         0.001 = Conversion factor from kg to metric
                                                 metric tons.                                           tons.
lotter on DSK11XQN23PROD with RULES2




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                                                                                                                 N2 0 =      L   1
                                                                                                                                      EN2ot
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                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00155   Fmt 4701   Sfmt 4725   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024                      Page 161 of 164
                                            31956              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            Where:                                                     (2) N2O from glyoxal production                    § 98.517        Records that must be retained.
                                            N2O = Annual process N2O emissions from                 (metric tons).                                           In addition to the information
                                                each process line for product i                        (3) N2O from glyoxylic acid                        required by § 98.3(g), you must retain
                                                (caprolactam, glyoxal, or glyoxylic acid)           production (metric tons).
                                                (metric tons).                                                                                            the records specified in paragraphs (a)
                                                                                                       (c) Annual production quantities from
                                            EN2Ot = Monthly process emissions of N2O                                                                      through (d) of this section for each
                                                                                                    all process lines at the caprolactam,
                                                from each process line for product i                                                                      caprolactam, glyoxal, or glyoxylic acid
                                                                                                    glyoxal, or glyoxylic acid production
                                                (caprolactam, glyoxal, or glyoxylic acid)                                                                 production facility:
                                                (metric tons).                                      facility according to paragraphs (c)(1)
                                                                                                    through (3) of this section.                             (a) Documentation of how accounting
                                            § 98.514 Monitoring and QA/QC                              (1) Caprolactam production (metric                 procedures were used to estimate
                                            requirements.                                           tons).                                                production rate.
                                               (a) You must determine the total                        (2) Glyoxal production (metric tons).                 (b) Documentation of how process
                                            monthly amount of caprolactam,                             (3) Glyoxylic acid production (metric              knowledge was used to estimate
                                            glyoxal, and glyoxylic acid produced.                   tons).                                                abatement technology destruction
                                            These monthly amounts are determined                       (d) Annual production capacity from                efficiency (if applicable).
                                            according to the methods in paragraph                   all process lines at the caprolactam,
                                                                                                                                                             (c) Documentation of the procedures
                                            (a)(1) or (2) of this section.                          glyoxal, or glyoxylic acid production
                                                                                                                                                          used to ensure the accuracy of the
                                               (1) Direct measurement of production                 facility, as applicable, in paragraphs
                                                                                                                                                          measurements of all reported
                                            (such as using flow meters, weigh                       (d)(1) through (3) of this section.
                                                                                                       (1) Caprolactam production capacity                parameters, including but not limited to,
                                            scales, etc.).                                                                                                calibration of weighing equipment, flow
                                               (2) Existing plant procedures used for               (metric tons).
                                                                                                       (2) Glyoxal production capacity                    meters, and other measurement devices.
                                            accounting purposes (i.e., dedicated                                                                          The estimated accuracy of
                                            tank-level and acid concentration                       (metric tons).
                                                                                                       (3) Glyoxylic acid production capacity             measurements made with these devices
                                            measurements).
                                                                                                    (metric tons).                                        must also be recorded, and the technical
                                               (b) You must determine the annual
                                            amount of caprolactam, glyoxal, and                        (e) Number of process lines at the                 basis for these estimates must be
                                            glyoxylic acid produced. These annual                   caprolactam, glyoxal, or glyoxylic acid               provided.
                                            amounts are determined by summing                       production facility, by product, in                      (d) The applicable verification
                                            the respective monthly quantities                       paragraphs (e)(1) through (3) of this                 software records as identified in this
                                            determined in paragraph (a) of this                     section.                                              paragraph (d). You must keep a record
                                            section.                                                   (1) Total number of process lines                  of the file generated by the verification
                                                                                                    producing caprolactam.                                software specified in § 98.5(b) for the
                                            § 98.515 Procedures for estimating                         (2) Total number of process lines                  applicable data specified in paragraphs
                                            missing data.                                           producing glyoxal.                                    (d)(1) through (4) of this section.
                                               A complete record of all measured                       (3) Total number of process lines                  Retention of this file satisfies the
                                            parameters used in the GHG emissions                    producing glyoxylic acid.                             recordkeeping requirement for the data
                                            calculations is required. Therefore,                       (f) Number of operating hours in the               in paragraphs (d)(1) through (4) of this
                                            whenever a quality-assured value of a                   calendar year for each process line at                section.
                                            required parameter is unavailable, a                    the caprolactam, glyoxal, or glyoxylic
                                                                                                    acid production facility (hours).                        (1) Monthly production quantity of
                                            substitute data value for the missing                                                                         caprolactam from each process line at
                                            parameter must be used in the                              (g) N2O abatement technologies used
                                                                                                    (if applicable) and date of installation of           the caprolactam, glyoxal, or glyoxylic
                                            calculations as specified in paragraphs                                                                       acid production facility (metric tons).
                                            (a) and (b) of this section.                            abatement technology at the
                                               (a) For each missing value of                        caprolactam, glyoxal, or glyoxylic acid                  (2) Monthly production quantity of
                                            caprolactam, glyoxal, or glyoxylic acid                 production facility.                                  glyoxal from each process line at the
                                            production, the substitute data must be                    (h) Monthly abatement utilization                  caprolactam, glyoxal, or glyoxylic acid
                                            the best available estimate based on all                factor for each N2O abatement                         production facility (metric tons).
                                            available process data or data used for                 technology for each process line at the                  (3) Monthly production quantity of
                                            accounting purposes (such as sales                      caprolactam, glyoxal, or glyoxylic acid               glyoxylic acid from each process line at
                                            records).                                               production facility.                                  the caprolactam, glyoxal, or glyoxylic
                                               (b) For missing values related to the                   (i) Number of times in the reporting               acid production facility (metric tons).
                                            N2O abatement device, assuming that                     year that missing data procedures were                   (4) Destruction efficiency of N2O
                                            the operation is generally constant from                followed to measure production                        abatement technology from each process
                                            year to year, the substitute data value                 quantities of caprolactam, glyoxal, or                line, fraction (decimal fraction of N2O
                                            should be the most recent quality-                      glyoxylic acid (months).                              removed from vent stream).
                                            assured value.                                             (j) Annual percent N2O emission
                                                                                                    reduction per chemical produced at the                § 98.518        Definitions.
                                            § 98.516   Data reporting requirements.                 caprolactam, glyoxal, or glyoxylic acid
                                                                                                                                                            All terms used in this subpart have
                                               In addition to the information                       production facility, as applicable, in
                                                                                                                                                          the same meaning given in the Clean Air
                                            required by § 98.3(c), each annual report               paragraphs (j)(1) through (3) of this
                                                                                                                                                          Act and subpart A of this part.
                                            must contain the information specified                  section.
                                            in paragraphs (a) through (j) of this                      (1) Annual percent N2O emission
                                            section.                                                reduction for all caprolactam                             TABLE 1 TO SUBPART YY OF PART
                                               (a) Process line identification number.              production process lines.                                  98—N2O GENERATION FACTORS
lotter on DSK11XQN23PROD with RULES2




                                               (b) Annual process N2O emissions                        (2) Annual percent N2O emission
                                            from each process line according to                     reduction for all glyoxal production                                                                       N2O
                                                                                                                                                                            Product                         generation
                                            paragraphs (b)(1) through (3) of this                   process lines.                                                                                           factor a
                                            section.                                                   (3) Annual percent N2O emission
                                               (1) N2O from caprolactam production                  reduction for all glyoxylic acid                       Caprolactam .............................               9.0
                                            (metric tons).                                          production process lines.                              Glyoxal ......................................          520



                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00156   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM     25APR2
                                                 USCA Case #24-1216                                    Document #2061464                             Filed: 06/24/2024              Page 162 of 164
                                                                   Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                            31957

                                              TABLE 1 TO SUBPART YY OF PART at least 2,000 tons of carbonates, either                                               (a) For each ceramics process unit that
                                               98—N2O GENERATION FACTORS— as raw materials or as a constituent in                                                 meets the conditions specified in
                                               Continued                    clay, which is heated to a temperature                                                § 98.33(b)(4)(ii) or (iii), you must
                                                                                                             sufficient to allow the calcination                  calculate and report under this subpart
                                                                                               N2O           reaction to occur, and operate a                     the combined process and combustion
                                                            Product                         generation       ceramics manufacturing process unit.                 CO2 emissions by operating and
                                                                                             factor a          (b) A ceramics manufacturing process               maintaining a CEMS to measure CO2
                                                                                                             unit is a kiln, dryer, or oven used to               emissions according to the Tier 4
                                            Glyoxylic acid ............................                100
                                                                                                             calcine clay or other carbonate-based                Calculation Methodology specified in
                                               a Generation factors in units of kilograms of                 materials for the production of a                    § 98.33(a)(4) and all associated
                                            N2O emitted          per    metric      ton     of   product     ceramics product.                                    requirements for Tier 4 in subpart C of
                                            produced.
                                                                                                                                                                  this part.
                                                                                                             § 98.521   Reporting threshold.
                                            Subpart ZZ—Ceramics Manufacturing                                                                                       (b) For each ceramics process unit
                                                                                                               You must report GHG emissions                      that is not subject to the requirements in
                                            Sec.                                                             under this subpart if your facility                  paragraph (a) of this section, calculate
                                            98.520 Definition of the source category.                        contains a ceramics manufacturing                    and report the process and combustion
                                            98.521 Reporting threshold.                                      process and the facility meets the                   CO2 emissions from the ceramics
                                            98.522 GHGs to report.                                           requirements of either § 98.2(a)(1) or (2).
                                            98.523 Calculating GHG emissions.                                                                                     process unit separately by using the
                                            98.524 Monitoring and QA/QC                                      § 98.522   GHGs to report.                           procedures specified in paragraphs
                                                 requirements.                                                 You must report:                                   (b)(1) through (6) of this section, except
                                            98.525 Procedures for estimating missing                           (a) CO2 process emissions from each                as specified in paragraph (c) of this
                                                 data.                                                                                                            section.
                                            98.526 Data reporting requirements.
                                                                                                             ceramics process unit (e.g., kiln, dryer,
                                                                                                             or oven).                                              (1) For each carbonate-based raw
                                            98.527 Records that must be retained.
                                            98.528 Definitions.                                                (b) CO2 combustion emissions from                  material (including clay) charged to the
                                            Table 1 to Subpart ZZ of Part 98—CO2                             each ceramics process unit.                          ceramics process unit, either obtain the
                                                 Emission Factors for Carbonate-Based                          (c) CH4 and N2O combustion                         mass fractions of any carbonate-based
                                                 Raw Materials                                               emissions from each ceramics process                 minerals from the supplier of the raw
                                                                                                             unit. You must calculate and report                  material or by sampling the raw
                                            § 98.520      Definition of the source category.                                                                      material, or use a default value of 1.0 as
                                                                                                             these emissions under subpart C of this
                                               (a) The ceramics manufacturing                                part by following the requirements of                the mass fraction for the raw material.
                                            source category consists of any facility                         subpart C of this part.                                (2) Determine the quantity of each
                                            that uses nonmetallic, inorganic                                   (d) CO2, CH4, and N2O combustion                   carbonate-based raw material charged to
                                            materials, many of which are clay-                               emissions from each stationary fuel                  the ceramics process unit.
                                            based, to produce ceramic products                               combustion unit other than kilns,                      (3) Apply the appropriate emission
                                            such as bricks and roof tiles, wall and                          dryers, or ovens. You must report these              factor for each carbonate-based raw
                                            floor tiles, table and ornamental ware                           emissions under subpart C of this part               material charged to the ceramics process
                                            (household ceramics), sanitary ware,                             by following the requirements of                     unit. Table 1 to this subpart provides
                                            refractory products, vitrified clay pipes,                       subpart C of this part.                              emission factors based on stoichiometric
                                            expanded clay products, inorganic                                                                                     ratios for carbonate-based minerals.
                                            bonded abrasives, and technical                                  § 98.523   Calculating GHG emissions.
                                                                                                                                                                    (4) Use equation 1 to this paragraph
                                            ceramics (e.g., aerospace, automotive,                             You must calculate and report the
                                                                                                                                                                  (b)(4) to calculate process mass
                                            electronic, or biomedical applications).                         annual process CO2 emissions from each
                                                                                                                                                                  emissions of CO2 for each ceramics
                                            For the purposes of this subpart,                                ceramics process unit using the
                                                                                                                                                                  process unit:
                                            ceramics manufacturing processes                                 procedures in paragraphs (a) through (c)
                                            include facilities that annually consume                         of this section.                                     Equation 1 to paragraph (b)(4)




                                            Where:                                                             (5) Determine the combined annual                    (6) Calculate and report under subpart
                                            ECO2 = Annual process CO2 emissions (metric                      process CO2 emissions from the ceramic               C of this part the combustion CO2
                                                 tons/year).                                                 process units at your facility using                 emissions in the ceramics process unit
                                            Mj = Annual mass of the carbonate-based raw                      equation 2 to this paragraph (b)(5):                 according to the applicable
                                                 material j consumed (tons/year).                                                                                 requirements in subpart C of this part.
                                            2000/2205 = Conversion factor to convert                         Equation 2 to paragraph (b)(5)
                                                 tons to metric tons.                                                                                               (c) A value of 1.0 can be used for the
                                            MFi = Annual average decimal mass fraction                       CO2 = Sk1 ECO2k                                      mass fraction (MFi) of carbonate-based
                                                 of carbonate-based mineral i in                             Where:                                               mineral i in each carbonate-based raw
                                                 carbonate-based raw material j.                             CO2 = Annual process CO2 emissions from              material j in equation 1 to paragraph
                                            EFi = Emission factor for the carbonate-based                                                                         (b)(4) of this section. The use of 1.0 for
                                                                                                                 ceramic process units at a facility (metric
                                                 mineral i, (metric tons CO2/metric ton
                                                                                                                 tons).                                           the mass fraction assumes that the
lotter on DSK11XQN23PROD with RULES2




                                                 carbonate, see table 1 to this subpart).
                                            Fi = Decimal fraction of calcination achieved                    ECO2k = Annual process CO2 emissions                 carbonate-based raw material comprises
                                                 for carbonate-based mineral i, assumed                          calculated from ceramic process unit k           100% of one carbonate-based mineral.
                                                 to be equal to 1.0.                                             calculated using equation 1 to paragraph         As an alternative to the default value,
                                            i = Index for carbonate-based mineral in each                        (b)(4) of this section (metric tons).            you may use data provided by either the
                                                 carbonate-based raw material.                               k = Total number of ceramic process units at         raw material supplier or a lab analysis.
                                                                                                                                                                                                               ER25AP24.075</GPH>




                                            j = Index for carbonate-based raw material.                          facility.



                                       VerDate Sep<11>2014      19:27 Apr 24, 2024        Jkt 262001   PO 00000   Frm 00157   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                 USCA Case #24-1216                            Document #2061464                             Filed: 06/24/2024              Page 163 of 164
                                            31958              Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations

                                            § 98.524 Monitoring and QA/QC                           test, x-ray diffraction test, or other                units and process CO2 emissions are
                                            requirements.                                           enhanced testing method published by                  calculated according to the procedures
                                               (a) You must measure annual amounts                  an industry consensus standards                       specified in § 98.523(b), then you must
                                            of carbonate-based raw materials                        organization (e.g., ASTM, ASME, API).                 report the following information
                                            charged to each ceramics process unit                                                                         specified in paragraphs (c)(1) through
                                            from monthly measurements using plant                   § 98.525 Procedures for estimating
                                                                                                    missing data.
                                                                                                                                                          (7) of this section.
                                            instruments used for accounting                                                                                  (1) Annual process emissions of CO2
                                            purposes, such as calibrated scales or                     A complete record of all measured                  (metric tons) for each ceramics process
                                            weigh hoppers. Total annual mass                        parameters used in the GHG emissions                  unit and for all units combined.
                                            charged to ceramics process units at the                calculations in § 98.523 is required. If                 (2) The annual quantity of each
                                            facility must be compared to records of                 the monitoring and quality assurance                  carbonate-based raw material (including
                                            raw material purchases for the year.                    procedures in § 98.524 cannot be                      clay) charged to each ceramics process
                                               (b) You must use the default value of                followed and data is unavailable, you                 unit and for all units combined (tons).
                                            1.0 for the mass fraction of a carbonate-               must use the most appropriate of the                     (3) Results of all tests used to verify
                                            based mineral, or you may opt to obtain                 missing data procedures in paragraphs                 each carbonate-based mineral mass
                                            the mass fraction of any carbonate-based                (a) and (b) of this section in the                    fraction for each carbonate-based raw
                                            materials from the supplier of the raw                  calculations. You must document and                   material charged to a ceramics process
                                            material or by sampling the raw                         keep records of the procedures used for               unit, as specified in paragraphs (c)(3)(i)
                                            material. If you opt to obtain the mass                 all such missing value estimates.                     through (iii) of this section.
                                            fractions of any carbonate-based                           (a) If the CEMS approach is used to
                                                                                                                                                             (i) Date of test.
                                            minerals from the supplier of the raw                   determine combined process and                           (ii) Method(s) and any variations used
                                            material or by sampling the raw                         combustion CO2 emissions, the missing
                                                                                                                                                          in the analyses.
                                            material, you must measure the                          data procedures in § 98.35 apply.                        (iii) Mass fraction of each sample
                                            carbonate-based mineral mass fractions                     (b) For missing data on the monthly
                                                                                                                                                          analyzed.
                                            at least annually to verify the mass                    amounts of carbonate-based raw
                                                                                                                                                             (4) Method used to determine the
                                            fraction data. You may conduct the                      materials charged to any ceramics
                                                                                                                                                          decimal mass fraction of carbonate-
                                            sampling and chemical analysis using                    process unit, use the best available
                                                                                                                                                          based mineral, unless you used the
                                            any x-ray fluorescence test, x-ray                      estimate(s) of the parameter(s) based on
                                                                                                                                                          default value of 1.0 (e.g., supplier
                                            diffraction test, or other enhanced                     all available process data or data used
                                                                                                                                                          provided information, analyses of
                                            testing method published by an industry                 for accounting purposes, such as
                                                                                                                                                          representative samples you collected, or
                                            consensus standards organization (e.g.,                 purchase records.
                                                                                                       (c) For missing data on the mass                   use of a default value of 0.005 as
                                            ASTM, ASME, API). If it is determined                                                                         specified by § 98.524(b)).
                                            that the mass fraction of a carbonate                   fractions of carbonate-based minerals in
                                                                                                    the carbonate-based raw materials,                       (5) Annual quantity of each type of
                                            based raw material is below the                                                                               ceramics product manufactured by each
                                            detection limit of available industry                   assume that the mass fraction of a
                                                                                                    carbonate-based mineral is 1.0, which                 ceramics process unit and by all units
                                            testing standards, you may use a default                                                                      combined (tons).
                                            value of 0.005.                                         assumes that one carbonate-based
                                                                                                    mineral comprises 100 percent of the                     (6) Annual production capacity for
                                               (c) You must use the default value of                                                                      each ceramics process unit (tons).
                                            1.0 for the mass fraction of a carbonate-               carbonate-based raw material.
                                                                                                                                                             (7) If you use the missing data
                                            based mineral, or you may opt to obtain                 § 98.526    Data reporting requirements.              procedures in § 98.525(b), you must
                                            the mass fraction of any carbonate-based                  In addition to the information                      report for each applicable ceramics
                                            materials from the supplier of the raw                  required by § 98.3(c), each annual report             process unit the number of times in the
                                            material or by sampling the raw                         must contain the information specified                reporting year that missing data
                                            material. If you obtain the mass                        in paragraphs (a) through (c) of this                 procedures were followed to measure
                                            fractions of any carbonate-based                        section, as applicable:                               monthly quantities of carbonate-based
                                            minerals from the supplier of the raw                     (a) The total number of ceramics                    raw materials or mass fraction of the
                                            material or by sampling the raw                         process units at the facility and the                 carbonate-based minerals (months).
                                            material, you must determine the                        number of units that operated during
                                            annual average mass fraction for the                    the reporting year.                                   § 98.527    Records that must be retained.
                                            carbonate-based mineral in each                           (b) If a CEMS is used to measure CO2                  In addition to the records required by
                                            carbonate-based raw material at least                   emissions from ceramics process units,                § 98.3(g), you must retain the records
                                            annually by calculating an arithmetic                   then you must report under this subpart               specified in paragraphs (a) through (d)
                                            average of the data obtained from raw                   the relevant information required under               of this section for each ceramics process
                                            material suppliers or sampling and                      § 98.36 for the Tier 4 Calculation                    unit, as applicable.
                                            chemical analysis.                                      Methodology and the following                           (a) If a CEMS is used to measure CO2
                                               (d) You must use the default value of                information specified in paragraphs                   emissions according to the requirements
                                            1.0 for the calcination fraction of a                   (b)(1) through (3) of this section.                   in § 98.523(a), then you must retain
                                            carbonate-based mineral. Alternatively,                   (1) The annual quantity of each                     under this subpart the records required
                                            you may opt to obtain the calcination                   carbonate-based raw material (including               under § 98.37 for the Tier 4 Calculation
                                            fraction of any carbonate-based mineral                 clay) charged to each ceramics process                Methodology and the information
                                            by sampling. If you opt to obtain the                   unit and for all units combined (tons).               specified in paragraphs (a)(1) and (2) of
                                            calcination fraction of any carbonate-                    (2) Annual quantity of each type of                 this section.
                                            based minerals from sampling, you must                  ceramics product manufactured by each                   (1) Monthly ceramics production rate
lotter on DSK11XQN23PROD with RULES2




                                            determine on an annual basis the                        ceramics process unit and by all units                for each ceramics process unit (tons).
                                            calcination fraction for each carbonate-                combined (tons).                                        (2) Monthly amount of each
                                            based mineral consumed based on                           (3) Annual production capacity for                  carbonate-based raw material charged to
                                            sampling and chemical analysis. You                     each ceramics process unit (tons).                    each ceramics process unit (tons).
                                            may conduct the sampling and chemical                     (c) If a CEMS is not used to measure                  (b) If process CO2 emissions are
                                            analysis using any x-ray fluorescence                   CO2 emissions from ceramics process                   calculated according to the procedures


                                       VerDate Sep<11>2014   19:27 Apr 24, 2024   Jkt 262001   PO 00000   Frm 00158   Fmt 4701   Sfmt 4700   E:\FR\FM\25APR2.SGM   25APR2
                                                  USCA Case #24-1216                                         Document #2061464                                              Filed: 06/24/2024                                Page 164 of 164
                                                                     Federal Register / Vol. 89, No. 81 / Thursday, April 25, 2024 / Rules and Regulations                                                                                             31959

                                            specified in § 98.523(b), you must retain                                  (iii) Mass fraction of each sample                                           (1) Annual average decimal mass
                                            the records in paragraphs (b)(1) through                                analyzed.                                                                    fraction of each carbonate-based mineral
                                            (6) of this section.                                                       (iv) Relevant calibration data for the                                    in each carbonate-based raw material for
                                              (1) Monthly ceramics production rate                                  instrument(s) used in the analyses.                                          each ceramics process unit (specify the
                                            for each ceramics process unit (metric                                     (v) Name and address of laboratory                                        default value, if used, or the value
                                            tons).                                                                  that conducted the tests.                                                    determined according to § 98.524)
                                              (2) Monthly amount of each                                               (5) Each carbonate-based mineral                                          (percent by weight, expressed as a
                                            carbonate-based raw material charged to                                 mass fraction for each carbonate-based                                       decimal fraction) (equation 1 to
                                            each ceramics process unit (metric                                      raw material, if a value other than 1.0                                      § 98.523(b)(4)).
                                            tons).                                                                  is used to calculate process mass                                               (2) Annual mass of each carbonate-
                                              (3) Data on carbonate-based mineral
                                                                                                                    emissions of CO2.                                                            based raw material charged to each
                                            mass fractions provided by the raw
                                                                                                                       (6) Number of annual operating hours                                      ceramics process unit (tons) (equation 1
                                            material supplier for all raw materials
                                                                                                                    of each ceramics process unit.                                               to § 98.523(b)(4)).
                                            consumed annually and included in
                                            calculating process emissions in                                           (c) All other documentation used to                                          (3) Decimal fraction of calcination
                                            equation 1 to § 98.523(b)(4), if                                        support the reported GHG emissions.                                          achieved for each carbonate-based raw
                                            applicable.                                                                (d) The applicable verification                                           material for each ceramics process unit
                                              (4) Results of all tests, if applicable,                              software records as identified in this                                       (specify the default value, if used, or the
                                            used to verify the carbonate-based                                      paragraph (d). You must keep a record                                        value determined according to § 98.524)
                                            mineral mass fraction for each                                          of the file generated by the verification                                    (percent by weight, expressed as a
                                            carbonate-based raw material charged to                                 software specified in § 98.5(b) for the                                      decimal fraction) (equation 1 to
                                            a ceramics process unit, including the                                  applicable data specified in paragraphs                                      § 98.523(b)(4)).
                                            data specified in paragraphs (b)(4)(i)                                  (d)(1) through (3) of this section.
                                                                                                                    Retention of this file satisfies the                                         § 98.528        Definitions.
                                            through (v) of this section.
                                              (i) Date of test.                                                     recordkeeping requirement for the data                                         All terms used of this subpart have
                                              (ii) Method(s), and any variations of                                 in paragraphs (d)(1) through (3) of this                                     the same meaning given in the Clean Air
                                            methods, used in the analyses.                                          section.                                                                     Act and subpart A of this part.

                                                        TABLE 1 TO SUBPART ZZ OF PART 98—CO2 EMISSION FACTORS FOR CARBONATE-BASED RAW MATERIALS
                                                                                                                                                                                                                                                  CO2 emission
                                                                   Carbonate                                                                                     Mineral name(s)                                                                    factor a

                                            BaCO3 .......................................................    Witherite, Barium carbonate ........................................................................................                        0.223
                                            CaCO3 .......................................................    Limestone, Calcium Carbonate, Calcite, Aragonite .....................................................                                      0.440
                                            Ca(Fe,Mg,Mn)(CO3)2 ................................              Ankerite b ......................................................................................................................     0.408–0.476
                                            CaMg(CO3)2 ..............................................        Dolomite .......................................................................................................................            0.477
                                            FeCO3 .......................................................    Siderite .........................................................................................................................          0.380
                                            K2CO3 .......................................................    Potassium carbonate ...................................................................................................                     0.318
                                            Li2CO3 .......................................................   Lithium carbonate .........................................................................................................                 0.596
                                            MgCO3 ......................................................     Magnesite .....................................................................................................................             0.522
                                            MnCO3 ......................................................     Rhodochrosite ..............................................................................................................                0.383
                                            Na2CO3 .....................................................     Sodium carbonate, Soda ash ......................................................................................                           0.415
                                            SrCO3 ........................................................   Strontium carbonate, Strontianite ................................................................................                          0.298
                                               a Emission factors are in units of metric tons of CO emitted per metric ton of carbonate-based material.
                                                                                                   2
                                               b Ankerite emission factors are based on a formula weight range that assumes Fe, Mg, and Mn are present in amounts of at least 1.0 percent.




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                                       VerDate Sep<11>2014        19:27 Apr 24, 2024        Jkt 262001       PO 00000      Frm 00159        Fmt 4701      Sfmt 9990       E:\FR\FM\25APR2.SGM               25APR2
